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                                EXHIBIT B (contd.)

                         Copy of All Filings with State Court
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                                    of 692                      7/13/2018 6:03 PM
                                                                                            Velva L. Price
                                                                                           District Clerk
                                                                                           Travis County
                                    NO. D-1-GN-18-001835                                D-1-GN-18-001835
                                                                                              Terri Juarez
 NEIL HESLIN,                                    $              IN THE DISTRICT COURT OF
                                                 $
        Plaintffi                                $
                                                 $
 V                                               $              TRAVIS COUNTY, TEXAS
                                                 $
 ALEX E. JONES,INFOWARS, LLC,                    $
 FREE SPEECH SYSTEMS, LLC, And                   $
 OWEN SHROYER,                                   $
        Defendants                               $              261't JUDICIAL DISTRICT

                       DEFENDANTS' FIRST AMENDED ANSWER

        COMES NOW, Defendants Alex E. Jones, Info'Wars, LLC, Free Speech Systems,

 LLC, and Owen Shroyer (collectively, the "Defendants"), hereby file this First Amended

 Answer and show the Court the following:

                                                 L

                                    GENERAL DDNIAL

        Pursuant to Rule 92 of the Texas Rules of Civil Procedure, Defendants generally

 deny each and every, all and singular, the material allegations contained in Plaintiffls

 Original Petition and demand strict proof thereof by a preponderance of the evidence.

                                                n.

                       AF'FIRMATIVE AND OTHER DEFENSES

        Pursuant to Rule 94 of the Texas Rules of Civil Procedure, Defendants plead the

 following

        2.01   For fuither answer   if   need be, Defendants allege that Plaintiff s claims are

 barred by the Statute of Limitations

        2.02   For further answer   if   need be, Defendants allege that Plaintiff s claims are


 DEFENDANTS' FIRST AMENDED ANSWER                                                         Page I
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 barred because the alleged defamatory claims/broadcasts constitute Defendants' opinions

        2.03   For further answer    if   need be, Defendants allege that Plaintiff s claims for

 Exemplary Damages are waived and barred by his failure to comply with Texas Civil

 Practice & Remedies Code $73.055(c).

        2.04   For further answer if need be, Defendants allege that they are protected by

 the Statutory Qualif,red Privilege for broadcasters provided in Texas Civil Practice &

 Remedies Code $73.004

        2.05 For further      answer   if need be, Defendants allege that they are protected
 under common law doctrine of 'ofair comment" and Texas Civil Practice              & Remedies
 Code $73.002 because their re-publications involved matters of public concern published

 for general information and were fair, true and impartial accounts and the              ordinary

 listener/viewer could identiS'the statements were made in the original publications.

        2.06   Defendant Infowars, LLC denies that        it is liable in the capacity in which it

 has been sued.

        2.07   For further answer    if   need be, Defendants assert that   Plaintifls claims are

 barred by the Texas Citizens Participation Act. Such defense and evidence is further set

 forth in Exhibit   I attached hereto and is fully incorporated   herein for all purposes as   if   set

 forth verbatim.

        2.08   For further answer if need be, Defendants allege that they are protected by

 the defense of truth and the Statutory Qualified Privilege of Substantial Truth provided in

 Texas Civil Practice & Remedies Code $73.005.




 DEFENDANTS' FIRST AMENDED ANSWER                                                              Page2
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                                            ilI.
                                    RELIEF REQUESTED

        WHEREFORE, PREMISES CONSIDERED, Defendants pray that Plaintiff take

 nothing by his suit and that Defendants be allowed to go hence without day and with all

 costs and that the Court grant such other and further   relief at law or in equity, to which

 Defendants may prove themselves to be justly entitled and for which they    will   ever pray

                                          RESPECTFULLY SUBMITTED,

                                          GLAST, PHILLPS & MURRAY, P.C


                                                 /s/ tul-ørÊ. C.l*nocñ.
                                          Mark C. Enoch
                                          State Bar No. 06630360

                                          14801 Quorum Drive, Suite 500
                                          Dallas, Texas 7 5254-1449
                                          Telephone: 972-419-8366
                                          Facsimile: 972-419-8329
                                          fly63rc@verizon.net

                                          ATTORNEYS FOR DEFENDANTS




 DEFENDANTS' FIRST AMENDED ANSWER                                                        Page 3
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                                CERTIFICATE OF SERVICE

       I hereby certiff that a true and correct copy of the foregoing document   has been
 served upon the parties listed below via email and via efile.txcourts.gov's     e-service
 system on July 13,2018:

 Mark Bankston
 Kyle Farrar
 Kaster, Lynch, Farrar & Ball, LLP.
 1010 Lamar, Suite 1600
 Houston, Texas 77002




                                                     /s/ tulørÊ, C. lÛnocfi
                                               Mark C. Enoch




 DEFENDANTS' FIRST AMENDED ANSWER                                                    Page 4
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                                                     VERIFICATION

    S]"A'I.H OF'TEXAS

    COUNTY OF ÞALLAS


             BHFORII MF. the undersigned autheirity personally appeared Ðavid Jones, who

    treing try rne fìrst duly sworn stated that:

             "My'name is David Jones. I nm the Manager of HR ând Corporate Governance of'

    Free Speech, I.LC and am an authorized agent fur InfulVars,                   LLC. I        have personal

    knowledge and knorvledge based ûn my ¿¡rcsss to and rcview of'corporate records.                    I   am

    over the age             of I S, have nevsr been convicted of a fblony or crime involving mor*l
    turpitude. am ol'sound mind and I have personal knorvledge of'the f'acts herein ståted, I

    have read this First Arnended .Answer and the statement contained in paragraph 2.0ó is

    true and torrect.oo




                                                             David

             SWûRN TO and SIJBSCRIBËL) beflore rne by David Jones nn July
    2018.




                                                               lrlotary Public        for
                                                                    the State of Texas

    My Clomrnission llìxpires:                                                               rRUGE
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                                            NO. D-l-GN-t8-001835

  NEIL HESLIN,                                            $                       TN   THE DISTRICT COURT OF
        Plaintffi                                         $
                                                          $
  V                                                       $                            TRAVIS COLì'NTY, TEXAS
                                                          $
  ALEX E. JONES, TNFOWARS, LLC,                           $
  FREE SPEECH SYSTEMS, LI,C, ANd                          $
  OWEN SHROYER,                                           $
            Defendants                                    $                            26    I't JUDICIAL DISTRICT

                            DEFENDANTS' MOTION TO DISMISS
                      UNDER THE TEXAS CITIZENS PARTICIPATION ACT

            COME NOW, Defendants Alex E. Jones, Infowars, LLC, Free Speech Systems, LLC,

   and Owen Shroyer (collectively, the "Defendants"), and hereby frle this, their Motion to Dismiss

   Under the Texas Citizens Participation Act and in support thereof would respectfully show this

   Honorable Court as follows:

                                                          I.

                                               INTRODUCTION

            This case is not about whether or not the Sandy Hook tragedy happened, nor is this case

   about whether Plaintiff suffered an unthinkable tragedy on the morning                      of December 14, 2012,

   when he lost his son during the Sandy Hook shooting.

            Indeed, while Plaintiff and his counsel have tried to posture this case as a defamation

   case,   in truth, the real purposes of this case are to:      (l) silence the Defendants so they can no
   longer communicate with others about matters of public concern including health, safety, the

   government, public figures and the media's products, goods and services; (2) force Defendants

   off of the internet and radio thereby preventing Defendants and millions of other Americans from

   associating on Defendants' large public media platforms; and (3) prevent Defendants and their

   audience members from communicating              to enlist public participation in their efforts to         cause




   Defcndants' Motion to Dismiss under the Texas Citizens Participation Act   -   Page   1
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governmental bodies and officials to consider issues such as rules and laws consistent with

protection of First and Second Amendment rights.

        Plaintiff and his counsel have constructed their petition specifically to take advantage of

the media’s and many others’ evident harsh disapproval of Defendants’ speech. They, and

perhaps many others, view Defendants’ speech as “fringe” speech wholly unacceptable to the

majority of Americans.

        Accordingly, it is precisely in this kind of case when special attention must be paid to

those rights cited above as contained in the United States and Texas Constitutions. Indeed,

speech at the fringe is exactly what the First Amendment was designed to protect for it is then

that the majority is most likely to use its overwhelming force to silence it.

                                                      II.

                                                SUMMARY

        It is apparent from the face of Plaintiff’s petition and the evidence in this case that the

purpose of this suit is not to recover damages from any legally actionable defamation. Instead its

primary and critical purpose is to silence Alex Jones and those like him.

        Plaintiff’s expressed goals are to silence Alex Jones and to ban assault rifles, certain

ammunition and accessories and to expand federal registration and back ground checks. In

particular he seeks a complete ban on the “Bushmaster” AR-15 assault rifle, high-capacity clip

and its ammunition that was used at Sandy Hook. He is continuing his pursuit of that goal on

multiple fronts; this suit the third of those fronts.

        His first front involved using his notoriety to obtain favorable broadcast and print media

coverage to convince others to help ban this gun. He has lobbied at the federal level to ban the

gun and did not succeed. However, knowing that suits against product manufacturers have been




Defendants’ Motion to Dismiss under the Texas Citizens Participation Act – Page 2
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effectively used to change business practices and restrict or eliminate distribution of products, as

his second front, Plaintiff sued the Bushmaster manufacturer in his efforts to remove that gun

from the market. His goal in that case was to use civil litigation to ‘change business practices and

restrict or eliminate distribution of this product. His goal in this case – his third front - is the

same; to force Jones’ “product” off the market.

          But there is a constitutionally significant difference between using litigation to force a

product off the market and forcing speech off the market. This is especially true when, as here,

the constitutional rights involve criticism of the government and political debate.

          In this case, Plaintiff seeks to force Defendants to change business practices and restrict

or eliminate distribution of Shroyer’s and Jones’ opinions and commentaries, as well as their

large internet forum for others to express theirs. If Plaintiff is successful at this, he will also be

successful in restricting or removing a widely used forum for others with similar political views

to associate and to express their First Amendment rights and petition the government for their

causes.

          The terrible tragedy at Sandy Hook instantly became the center of the political gun rights

debates in this country. It was a watershed moment in that national debate as activists from both

sides immediately became engaged in public debates on gun issues.

          These debates occurred at town halls and in the halls of state houses and congress. Most

of those debates however, were elsewhere among the general population. Among those who

became more active in those national debates was Jones, who used his broadcasts to actively

defend the Second Amendment.

          Whether one considers the opinions of Shroyer or Jones as merely unbelievable

conspiracy theories or as insightful commentaries, there can be no question, after reviewing the




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 entirety of the context of each complained of statement and broadcast, that both men were

 exercising their constitutional rights to associate with others of similar political views,

 petitioning by communicating to enlist more public participation in defending the Second

 Amendment and expressing theirs and others’ opinions about First and Second Amendment

 rights along with the government’s and media’s role in that national debate.

                                                           III.

                                           FACTUAL BACKGROUND

 A.      Alex Jones, Free Speech, Infowars and Owen Shroyer

         For more than twenty years and long before the tragedy at Sandy Hook, Alex Jones has

 been an ardent and vocal supporter of the First and Second Amendments to the United States

 Constitution. He started with a local radio program during which he voiced his opinions and

 comments about various news stories. None of his opinions was more forcefully given than in

 defense of the First and Second Amendments. These forceful opinions and comments provoked

 strong disagreement from those who did not share the same views and thus created controversy.

         His audience grew in large part because many people agreed with his opinions about the

 those rights and his opinion that mainstream media (hereinafter “MSM”) and liberal elected and

 appointed government officials had historically worked to limit gun owners’ rights and to stifle

 free speech dissent from and criticisms about those efforts. Importantly Jones often opined that

 those officials and media representatives used deception and could not be trusted to disclose or

 report accurate facts. He also opined that those deceptive efforts were intended to improperly

 sway public opinion toward limiting those constitutional rights. Accordingly he often urged his

 audience to question official reports and do their own investigations and analyses.




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          As his audience grew, his voice became more powerful. His speech was designed and

 intended to enlist his audiences and the public in general to become active in their cities, states

 and on the national level in defense of the Second Amendment. During his shows, he frequently

 associated with and broadcast opinions and comments of others who held similar viewpoints.

 These associations were helpful to his efforts to enlist support for his political positions and in

 defense of those who attacked him in order to discredit his causes.

          As part of Jones’ efforts and because of similar opinions and distrust of government and

 large media companies, Owen Shroyer was hired as a reporter and often hosted live broadcasts.

 He was part of Jones’ efforts and successes to enlist public support for legislation consistent with

 individual liberty and constitutional rights.

          Jones’ opinions long ago made him a controversial figure in American media. While he

 has millions of viewers who believe him to be insightful and thought provoking, there are also

 millions who, along with MSM and their thousands of reporters, believe Jones is at the ‘fringe’

 of the political right and is neither insightful nor credible. Indeed, CNN so abhors his speech that

 it is pressuring Facebook to censor Jones and remove his webpages.1

          Whether one is a supporter or detractor of Jones is not the relevant issue for the purposes

 of this motion. Rather the relevant point is that the chasm between those with opposite views of

 Jones and his companies has created national controversy for years. That Jones and his views

 have created national controversy is obvious from a google search of the term “Alex Jones

 controversy” that resulted in 4,910,000 articles.2

          Much to the dislike of Plaintiff, his counsel and others who oppose Jones’ views, Jones’

 consistent efforts to raise public awareness about what he believed to be dishonest government

 1
   Exhibit B, D. Jones Aff., and its attached Exhibit B-75. Hereafter, all references to “B” Exhibits are to those
 attached to D. Jones’ Affidavit.
 2
   Exhibit B, at ¶14.


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 officials and media reports gained noteworthy success when then candidate Donald Trump

 showed interest in Jones and apparently agreed with some of his opinions.

            Importantly, it was President Trump’s apparent views of Jones and his companies that

 NBC made the prime focus of its June 18, 2017, broadcast of Kelly’s interview of Jones and

 others. Kelly’s interview of Jones became a national controversy as many believed that it would

 further publicize Jones’ views. In reaction to harsh criticisms of her and NBC and wide spread

 demands to not broadcast the interview in fear of legitimizing Jones’ views, the show was edited

 in such a way as to damn Jones, discredit his opinions and to decrease his influence, whatever it

 was, with the President.

            As Kelly and NBC reported on June 18, 2017, that controversy surrounding Jones has

 been heightened because of Jones’ perceived access to and influence with President Trump.3

 During the NBC broadcast, Kelly stated:

            “He [Jones] and his company Infowars have been steadily gaining followers for
            years, producing radio shows and webcasts which reach millions a month. But
            Jones' influence hit new heights when he attracted a very famous fan, then-
            presidential candidate Donald Trump.”4

            It is clear that Jones and his opinions were public and controversial long before the NBC

 broadcast. It is equally clear that NBC and Kelly intended their broadcast itself to be

 controversial but intended by that broadcast to totally discredit Jones in order to end his

 controversial influence over others, including perhaps the President.

            Plaintiff and his lawyers also want to end Jones’ influence over others because they view

 Jones’ opinions about government and media dishonesty as dangerous “propaganda” that has

 “just got to stop”. Because he is a powerful voice, they view his criticisms of government and



 3
     The President’s name was mentioned more than twenty times during NBC’s broadcast.
 4
     Exhibit B-43.


 Defendants’ Motion to Dismiss under the Texas Citizens Participation Act – Page 6
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 media as the “fuel” for dangerous “conspiracy theories”. In effect, they want to end the

 “controversy” by silencing Shroyer, Jones and his companies.

          Recently, Plaintiff, along with his attorney, appeared on CNN and said, among other

 reasons, that he sued Defendants because hoaxers and conspiracy theorists had been harassing

 people for four and half years to five years and that Alex Jones is the “fuel of the fire.” He then

 said, “[i]t’s just got to stop.”5

          Plaintiff further stated that Jones was still “peddling his propaganda and is “out there with

 his dog and pony show every day with it… It affects the community. It affects the other

 families…and it’s a disrespect to the first responders…community, state police… and the

 FBI…and it’s uncalled for.”6

 B.       Neil Heslin

          Plaintiff lost his son, Jesse Lewis in the Sandy Hook tragedy. Since that time, according

 to the New York Daily News, Plaintiff has been “among the most visible of the Sandy Hook

 parents lobbying for gun restrictions.” He is a “prominent activist…who is often shown on TV

 and in newspapers…” Immediately after this tragedy, Plaintiff began his activism and started

 appearing on nationally televised network programs arguing for stricter gun control.7




 5
   Exhibit B-10 (CNN video interview of Plaintiff).
 6
   Exhibit B-10 (CNN video interview of Plaintiff).
 7
   Exhibit B, D. Jones Aff., at ¶19 and its attached Exhibit B-15.


 Defendants’ Motion to Dismiss under the Texas Citizens Participation Act – Page 7
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                                                                                           8



          He has “embraced” his “high visibility” role in the national gun rights debate.9 His

 dedication to this subject is so great that he missed an important personal court date as he was in

 Washington meeting with United States senators asking them to pass legislation that would have

 included universal background checks.10

          This was not the only time that Plaintiff appeared before U.S. Senators. “Heslin made

 national headlines in late February when he testified”11 before the “deeply divided” Senate

 Judiciary Committee on February 27, 2013, and “pleaded with senators to ban assault

 weapons…”12




 8
   Exhibit B, D. Jones Aff., at ¶19 and its attached Exhibit B-15.
 9
   Exhibit B-14.
 10
    Exhibit B-1.
 11
    Exhibit B-59.
 12
    Exhibit B-2.


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                                                                                             13



          He appeared in support of Senator Feinstein’s bill that would ban such weapons.14 At that

 hearing, Senator Miller stated, “Sandy Hook is an event that calls on us all as policymakers to do

 something…”15

          In his testimony, Plaintiff said that his son lost his life “because of a gun that nobody

 needs and nobody should have a right to have.”16 He further stated “a Bushmaster was brought

 into an elementary school in Sandy Hook Connecticut and killed [twenty] students and six

 educators.”17 That testimony was widely distributed18 and was included among postings on The

 Lede and a New York Times website publication entitled “Latest Updates on the Gun Violence

 Debate.”19




 13
    Exhibit B, at ¶ 15 and its attached Exhibit B-11.
 14
    Exhibit B-2.
 15
    Exhibit B-2.
 16
    Exhibit B-3 (Heslin senate testimony, Feb. 27, 2013).
 17
    Exhibit B-4 (video of Heslin senate testimony).
 18
    Exhibit B-5 (The Guardian).
 19
    Exhibit B-6 (The Lede).


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         He also appeared at a hearing at the Connecticut State House, which “drew hundreds…

 and revealed the sharp divide in public opinion over what should happen next in the massacre’s

 aftermath.”20 CNN reported that, “[a]t one point during the hearing, Neil Heslin…asked why the

 public needed assault weapons and high-capacity magazines. Some people in the crowd then

 interrupted his statement and shouted the Second Amendment shall not be infringed.” Plaintiff is

 reported to have replied “We’re not living in the Wild West. We’re not a Third World nation.

 We have the strongest military in the world. We don’t need to defend homes with weapons like

 that.”21 The New York Times reported that Plaintiff stated at that hearing:

         “The sole purpose of those AR-15s or AK-47s is to put a lot of lead out on the
         battlefield quickly, and that’s what they do and that’s what they did at Sandy
         Hook Elementary School.”22

         In December 2017, People Magazine in an article about Plaintiff and Jesse’s mother,

 Scarlett Lewis, republished a photograph of Plaintiff at a podium next to Vice-President Biden

 with a sign in front of him that stated “DEMAND ACTION TO END GUN VIOLENCE.”23




 20
    Exhibit B-7 (CNN article).
 21
    Exhibit B-7 (CNN article).
 22
    Exhibit B-8 (New York Times).
 23
    Exhibit B-9 (People Magazine).


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                                                                                                24



            After the United States Senate did not pass the bill supported by Plaintiff, he appeared at

 the White House Rose Garden for President Obama’s April 17, 2013 news conference reacting to

 the Senate’s decision.25




                                                                                                     26




 24
      Exhibit B-12.
 25
      Exhibit B-12.


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          Plaintiff willingly became associated with Mayor Bloomberg’s group “National Day of

 Action” and was interviewed in its television advertisement that was aired to persuade United
                                                                                 27
 States Senators in key states to support additional gun legislation.                 Plaintiff also went on a

 national 100 day bus tour as part of “Mayors Against Illegal Guns” and “No More Names:

 National Drive to Reduce Gun Violence.” 28




                                                                                                    29



          As part of this national tour, publicizing his call to enact new gun laws, Plaintiff

 personally appeared and gave speeches in at least twenty-five states.30




 26
    Exhibit B-13.
 27
    Exhibit B-57.
 28
    Exhibit B-61.
 29
    Exhibit B-61.
 30
    Exhibit B-61.


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                                                                                                  31



          Plaintiff’s national travel and intentionally publicized speeches were widely reported. 32

 His vocal and persistent participation in gun control lobbying efforts – specifically using the

 Sandy Hook shootings to incite the public to support gun control - made Plaintiff himself a

 very controversial public figure with some of his critics publicly describing him as a “Gun Ban
                                            33
 Lobbyist” with a “troubled past”                who was “profiting from his advocacy for increased gun

 control.”34 On May 8, 2013, United Press International (UPI) also reported on the controversy

 surrounding Plaintiff as a gun ban advocate after he “came under attack...from [a] gun rights

 group.”35




 31
    Exhibit B-61.
 32
    Exhibit B-62; Exhibit 63; Exhibit 64.
 33
    Exhibit B-58.
 34
    Exhibit B-59.
 35
    Exhibit B-60.


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         Plaintiff remains publicly active in the national gun control debate, as he has joined other

 families in suing the City of Newtown36 and filed suit against the maker of the firearm used to

 kill his child.37 The suit, styled Soto v. Bushmaster Firearms International LLC, garnered wide

 attention and prompted those with differing views in the national gun debate to respond38 and

 was intended to “provide a roadmap to success in court for other victims of mass shootings…”39

         Plaintiff’s suit against the manufacturer continues to command national attention as

 reported by CBS This Morning on November 14, 2017.40 After a lower court dismissed his case41

 citing a federal law granting broad immunity to arms manufacturers, Plaintiff along with the

 other plaintiffs appealed the decision to further his efforts to push for gun-control and keep the

 political debate surrounding the issue in the public view.42 Predictably, the National Rifle

 Association, along with the Connecticut Citizens Defense League,43 is involved in protecting this

 federal law.44

         Plaintiff’s Bushmaster lawsuit suit was and is widely recognized as not just being about

 the Plaintiff’s injuries. Instead, the Bushmaster lawsuit affected how– and if– Remington would

 do business in the future.45 Remington Firearms, the maker of the rifle used at Sandy Hook

 recently filed for bankruptcy.46 Clearly, contrary to his claims, Plaintiff is not simply a “private

 individual.”47




 36
    Exhibit B-22; Exhibit 23; Exhibit 24.
 37
    Exhibit B-25.
 38
    Exhibit B-26 (Gun Owners Foundation May 30, 2017 article).
 39
    Exhibit B-27.
 40
    Exhibit B-28 (video CBS This Morning).
 41
    He was joined with other Sandy Hook victim family members as plaintiffs.
 42
    Exhibit B-29.
 43
    Exhibit B-31.
 44
    Exhibit B-30.
 45
    Exhibit B-32 (video of attorney commentary).
 46
    Exhibit B-29.
 47
    Plaintiff’s Original Petition, at ¶55.


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 C.      The NBC and Megyn Kelly Broadcast of June 18, 2017

         Prior to NBC’s broadcast of June 18, 2017, Megyn Kelly, in a highly publicized move,

 had been hired by NBC away from Fox News. Among her first assignments was to create a

 Sunday Night show in order to compete with CBS’ 60 Minutes. It debuted on June 4, 2017, and

 received a “lukewarm” reception. In fact, it “fell flat.”48

         Kelly hoped the Jones interview would increase the show’s ratings. Kelly and NBC knew

 of and emphasized Jones’ controversial reputation.49 Page Six reported that Kelly and NBC

 “need[ed] the controversy to shake up their Sunday night and bring in new viewers.”50 The

 promotional video clips that NBC televised in an effort to entice people to watch “sparked

 outrage.”51 Kelly used Jones, recognized by National Public Radio as an “internet sensation”52

 and what CNN described as the “Infowars phenomenon,”53 to try to increase her show’s ratings.

         The New York Times reported that the show itself became the center of a national

 controversy in the days leading up to it.54 Indeed, it created a “firestorm” of publicity even before

 its airing according to the Times.55 The Hill reported that her interview of Jones garnered Kelly

 and NBC its second highest ratings that summer.56

         Though Kelly promised Jones that if he agreed to be interviewed, she would fairly

 portray him and that it would not be a “hit piece,”57 instead and in response to the backlash

 surrounding the upcoming controversial broadcast, Kelly and NBC “completely overhauled” the



 48
    Exhibit B-50.
 49
    Kelly began NBC’s broadcast saying, “Jones did what he often does; jumped mouth first into controversy.”
 50
    Exhibit B-55.
 51
    Exhibit B-44.
 52
    Exhibit B-45.
 53
    Exhibit B-46.
 54
    Exhibit B-47.
 55
    Exhibit B-48.
 56
    Exhibit B-49.
 57
    Exhibit B-51.


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                                      58
 show “to be tougher on him.”              Politico Magazine’s Jack Shafer, who is a Jones critic, wrote

 after the broadcast “just short of waterboarding him I don’t what more Kelly could have done to

 expose Jones dark methods.”59

         It was into this controversial ‘hit-piece’ and firestorm of publicity that Plaintiff

 voluntarily stepped when he agreed to be interviewed for the program. Other parents refused to

 be a part of NBC’s broadcast,60 but Plaintiff agreed to insert himself into what he knew was

 certain to be a controversial broadcast seen by millions condemning Jones and his views. By

 doing so, Plaintiff expanded his role as a limited-purpose public figure.

         Plaintiff’s intended goal from the broadcast was the same as Kelly’s; to use this broadcast

 about controversies surrounding Jones to discredit him and diminish his perceived influence with

 millions of others including the President. But these are not the only public controversies in

 which Plaintiff has been fully and voluntarily engaged since Sandy Hook.

 D.      The iBankCoin and Zero Hedge Articles of June 25, 2017

         Just as Kelly’s interview had been controversial even before it was aired, it immediately

 caused additional controversy relating to Jones, Plaintiff and Sandy Hook. Among some, Kelly

 was criticized for being too soft on Jones. On the other end of that spectrum, others viewed her

 interview as a highly edited unfair “hit piece” on Jones in which both she and NBC had failed to

 address factual dissimilarities.

         On June 25, 2017, Zerohedge.com (hereinafter “Zero Hedge”)61 published an article

 entitled “Megyn Kelly Fails To Fact Check Sandy Hook Father’s Contradictory Claim In Alex




 58
    Exhibit B-56.
 59
    Exhibit B-52.
 60
    Exhibit B-45.
 61
    Zero Hedge is a respected blog recognized by Time as the ninth best financial blog in 2011. See Exhibit B-53.


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 Jones Hit Piece.” Zero Hedge credited another article by iBankcoin.com (hereinafter

 “iBankCoin”)62 for the content of its publication.63

          In the iBankCoin and Zero Hedge articles, the authors criticized the Kelly interview of

 Jones as a “tasteless and heavily edited attempt to smear” Jones. The articles further stated while

 referring to Plaintiff that:

          “The lack of preparation was obvious in the Jones interview – as Kelly and NBC
          aired footage of the grieving father of a Sandy hook massacre victim which
          contains a major contradiction to the official story.”64

          Both articles then referred to Plaintiff’s statements made in the Kelly broadcast and cited

 the opinion of Jim Fetzer, a Professor Emeritus of the University of Minnesota, who had

 previously opined that in his view, Plaintiff’s account of the events could not have happened.

 The words “could not have happened” were in bold print in the Zero Hedge article.65

 E.       This Lawsuit

          Plaintiff filed the instant lawsuit on April 16, 2018, against Jones, his companies,

 Infowars, LLC and Free Speech Systems, LLC, and one of Free Speech Systems’ reporters,

 Owen Shroyer.66 The claims in the lawsuit are based entirely on certain commentary and

 statements made by Shroyer and Jones in broadcasts in June and July 2017 (the “Broadcasts”).

 Further, Plaintiff alleges that broadcasts on June 26, 201767 (“June Broadcast”), and July 20,

 2017 (“July Broadcast), in their entirety, are false and defamatory.68


 62
    iBankCoin is also a reputable website and its App is available for download from such reputable sources as
 Cnet.com and the Apple store. Its reports have also been reported in other reputable websites such as
 Marketwatch.com. See Exhibit B-54 (Marketwatch article).
 63
    Exhibit B-55.
 64
    Exhibit D, Shroyer Aff., and its attached Exhibit D-1. Hereafter, all references to “D” Exhibits are those attached
 to Shroyer’s affidavit.
 65
     Exhibit D-1.
 66
    Infowars is owned and operated by Defendant Free Speech Systems, LLC.
 67
    The broadcast about which Plaintiff complains did not occur on June 26. Instead, Shroyer made those statements
 during his Sunday, June 25, 2017, broadcast. See Exhibit D, Shroyer Aff., at ¶3.
 68
    Plaintiff’s Original Petition, at ¶56.


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          1.       The June Broadcast

                   a.       “Exclusive Feds Plan to Drop Russia Investigation Left Plans to Riot”

          Owen Shroyer’s two hour June Broadcast was entitled “Exclusive Feds Plan to Drop

 Russia Investigation Left Plans to Riot.”69As a small segment during this show, Shroyer reported

 and commented on facts and opinions of iBankCoin and Zero Hedge.70 The allegedly defamatory

 statements of Shroyer were his comments made during the June Broadcast and with regard to the

 Zero Hedge article.

          This critical fact is absent from Plaintiff’s Original Petition. In fact, Plaintiff ignores the

 fact that Shroyer was merely commenting on a published news report and Plaintiff’s Original

 Petition is drafted in such a way to create a false impression that Shroyer was the origin of the

 alleged “defamatory” content.71

          Noting what those authors called a contradiction to the official narrative, Shroyer

 criticized Kelly and NBC for not having “familiarized themselves with all sides of the argument

 so they could have identified and explained Heslin’s statement.” Additionally, the articles

 blamed Kelly and NBC for lending credibility to Jim Fetzer and other conspiracy researchers

 who often point to inconsistent reports from the MSM to support their theories.

          Shroyer regularly criticizes the government and MSM for bias and inaccurate reporting.72

 The segment of Shroyer’s broadcast, about which complaint is made, was merely commentary in

 connection with iBankCoin’s and Zero Hedge’s criticisms of NBC’s and Kelly’s reporting in

 what both reports had called a “hit piece” on Jones. In the article described by Shroyer, Zero



 69
    Exhibit D, Shroyer Aff., at ¶3.
 70
    Exhibit D, Shroyer Aff., at ¶4.
 71
    In his Original Petition, Plaintiff stated that “[o]n June 26, 2017, InfoWars’ broadcast featured a segment hosted
 by reporter Owen Shroyer in which Shroyer claimed to have reviewed evidence showing it was impossible for
 Plaintiff to have held his son and see his injury.” See Plaintiff’s Original Petition, at ¶13.
 72
    Exhibit D, Shroyer Aff., at ¶2.


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 Hedge repeated that iBankCoin had criticized NBC’s and Kelly’s inadequate preparation and

 opined that this had created apparent inconsistencies between what Plaintiff had said in the Kelly

 interview and what others had previously reported. The iBankCoin and Zero Hedge reports

 identified statements from a video interview of the medical examiner as well as statements from

 a video interview by Anderson Cooper of other parents of Sandy Hook victims. Both iBankCoin

 and Zero Hedge had also quoted from a recent publication of Professor Fetzer, who had authored

 a book on the Sandy Hook tragedy.

            Shroyer explicitly referred to the Zero Hedge report and showed relevant portions of the

 report on camera, including the portions of the report showing its original publication at

 iBankCoin and showing Professor Fetzer’s opinion that Plaintiff’s account “could not have

 happened.” Shroyer also showed the video interviews cited in the Zero Hedge article as well as

 Plaintiff’s statements made during the NBC/Kelly broadcast.

            Shroyer’s statements in his broadcast about the iBankCoin and Zero Hedge reports and

 Plaintiff’s statements were accurate and truthful. Shroyer stated that others had reported that

 Plaintiff’s account “could not be accurate.” Shroyer clearly identified those opinions as those of

 Professor Fetzer, iBankCoin and Zero Hedge. At the time of his broadcast, Shroyer did not know

 that any of the iBankCoin or the Zero Hedge reports were false.73

            Shroyer was neither claiming that he independently investigated the claims and

 determined that Plaintiff’s statements were inconsistent with the official reports nor that he

 possessed independent knowledge that was not known to the general public. Shroyer was simply

 providing his fair commentary on Zero Hedge’s report.

            Moreover, when reviewing both the broadcast in its entirety, as well as Zero Hedge’s

 report, it is clear that the “gist” of the story was with regard to NBC and Kelly’s as it targeted
 73
      Exhibit D, Shroyer Aff., at ¶4 & 11.


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 their lack of credibility. Specifically, the report upon which Shroyer was providing his

 commentary stated the following:

                    “While it’s entirely possible that Mr. Heslin had access to his son after the
            shooting, given the highly contentious nature of the Sandy Hook massacre in
            which every aspect of the case has been pored over and dissected- it was
            incumbent upon Megyn Kelly and NBC to familiarize themselves with all sides
            of the argument so they could have identified and explained Heslin’s statement.

                    By airing such an obvious contradiction to the official narrative, Megyn
            Kelly and NBC have lent credibility to Fetzer and other conspiracy researches
            who often point to inconsistent reports from the [Main Stream Media] to support
            their theories.

                     She lied…

                     …

                   By failing to identify the obvious contradiction between Neil Heslin’s
            account and the official story, Kelly and her network have fanned the very flames
            of doubt and conspiracy they sought to silence, creating more questions than
            answers.

                    For the sake of all the Sandy Hook parents who weren’t allowed to see
            their deceased children, and to settle this new piece of fodder for conspiracy
            theorists which they aired, Megyn Kelly and NBC have a responsibility to
            address this giant contradiction to the official story.”74

            Zero Hedge’s report, along with the commentary provided by Shroyer, was directed at

 NBC, Kelly and MSM in that there were inconsistencies with regard to the official reports and

 what was being reported by the MSM. Plaintiff attempts to change the “gist” of the broadcast

 into something that was solely directed at him, which is simply not the case.

            In reality, nothing that Plaintiff claims Shroyer said or broadcasted could even be

 considered false. Shroyer’s “statements of fact” quoted in Plaintiff’s Original Petition are self-

 evident. The only true statements that could possibly be considered as “facts” are that Shroyer

 correctly and truthfully reported that according to Zero Hedge’s report “fact-checkers” regarding

 74
      Exhibit D-2 (emphasis in original).


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 Plaintiff’s statements “have said” that his statements “cannot be accurate.”75 That is a true

 statement in that, according to Zero Hedge, fact-checkers have made the claim that Plaintiff’s

 statements could not be possible when they are compared with the official reports of the medical

 examiner.

          2.       The July Broadcast

          Plaintiff’s complaint regarding the July Broadcast is difficult to ascertain. First, Plaintiff

 appears to argue that the July Broadcast is defamatory because it “re-broadcast” the June

 Broadcast.76 Second, Plaintiff again appears to claim that specific statements within the

 broadcast are defamatory. Lastly, Plaintiff argues that the entire broadcast is defamatory. For the

 reasons set forth above with regard to the June Broadcast, the July “rebroadcast” is not

 defamatory because the June Broadcast is not defamatory.

          For more than 20 years, Alex Jones has been an outspoken critic of the attempts of those

 at all levels of government to restrict individual liberties. His strongly stated opinions encompass

 the view that government and MSM, which likewise want to see individual liberties curtailed,

 coordinate mass media coverage of major tragedies in a way to manipulate popular opinion in

 order to amass necessary political support to enact those restrictions. Jones is not alone in this

 view.

          United States Senator Rand Paul once stated during an interview:

          “Well, these are the kind of things that I think some on the left decide and
          manufacture even before the events occur. I mean, this is part of the playbook of
          Rahm Emanuel where they say any crisis should be used to their advantage to
          further their agenda. So I'm not surprised that they do it, I do think they should be
          ashamed of themselves for doing it.”77

          Rahm Emanuel’s exact statement was:

 75
    Plaintiff’s Original Petition, at ¶14.
 76
    Plaintiff’s Original Petition, at ¶22. There was no June 26 broadcast by Shroyer.
 77
    Exhibit B-41 (Factcheck.org article).


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          “You never want a serious crisis to go to waste. And what I mean by that is that
          it’s an opportunity to do things that you think you could not do before.”78

          At the time of this statement, Emanuel was Chief of Staff for incoming President Obama.

 Jones has quoted Emanuel’s statements on numerous occasions during his broadcasts to

 underscore his opinion that evidence exists that some in government try to profit from crises for

 political purposes. Indeed, during the July Broadcast which Plaintiff claims was defamatory,

 Jones referred specifically to that oft-repeated quote.

          Just as Jones repeated these opinions, he also consistently questioned and criticized

 media companies and their reports throughout the July Broadcast. The word media was

 mentioned by Jones fifty-six times in that broadcast alone.79 Jones specifically criticized the June

 18, 2017, NBC/Kelly broadcast and other large media companies for having removed/censored

 some of Defendants’ broadcasts.

          Consistent with his long shared opinions, Jones then opined that the tragedy at Sandy

 Hook had been “used to blame the American people to say gun owners were” to “blame.” He

 further stated his opinion that “saying gun owners are responsible for what somebody on Prozac

 does is… not true.”80

          In his regular daily three hour broadcast on July 20, Jones spoke about a wide range of

 political subjects primarily directed at the claimed wrongs of some in government and others’

 overlooking or assisting in those wrongs. The long list of complaints included, but was not

 limited to, Mueller’s expanded probe into the President’s businesses as being a witch hunt and

 the FBI’s inaction while the Clintons’ made money helping China and North Korea gain nuclear




 78
    Exhibit B-42 (Emanuel video).
 79
    Exhibit B-35; Exhibit B-37.
 80
    Exhibit B-35, at p.46; Exhibit B-37.


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 and ICBM re-entry technology.81 Jones also voiced criticisms of major media outlets because of

 misrepresentation of facts and reporting fake news.

                                                        IV.

                       THE IMPORTANCE OF THE FIRST AMENDMENT

         “At the heart of the First Amendment is the recognition of the fundamental
         importance of the free flow of ideas and opinions on matters of public interest and
         concern. The freedom to speak one’s mind is not only an aspect of individual
         liberty- and thus a good unto itself- but also is essential to the common quest for
         truth and the vitality of society as a whole… The First Amendment recognizes
         no such thing as a ‘false’ idea.”82

         “[B]oth the U.S. Constitution and the Texas Constitution robustly protect freedom of

 speech.”83 The United States Constitution’s protections for speech were “fashioned to assure

 unfettered interchange of ideas for the bringing about of political and social changes desired by

 the people.”84 As the United States Supreme Court has emphasized:

         “The right to think is the beginning of freedom, and speech must be protected…
         because speech is the beginning of thought.”85

         Likewise:

         “The Texas Constitution also explicitly protects freedom of expression, declaring
         that ‘[e]very person shall be at liberty to speak, write or publish his opinions on
         any subject… and no law shall ever be passed curtailing the liberty of speech or
         of the press.”86




 81
    This issue was also discussed by Shroyer during the June Broadcast.
 82
    Hustler Magazine v. Falwell, 485 U.S. 46, 50-51 (1988) (citing Bose Corp. v. Consumers Union of United States,
 Inc., 466 U.S. 485, 503-504 (1984) (emphasis added)).
 83
    D Magazine Partners, L.P., 529 S.W.3d at 431.
 84
    D Magazine Partners, L.P. v. Rosenthal, 529 S.W.3d 429, 433 (Tex. 2017) (citing N.Y. Times Co. v. Sullivan, 376
 U.S. 254, 269, 84 S. Ct. 710, 11 L. Ed. 2d 686 (1964).
 85
    Ashcroft v. Free Speech Coalition, 535 U.S. 234, 253, 122 S. Ct. 1389, 152 L. Ed. 2d 403 (2002) (emphasis
 added).
 86
    D Magazine Partners, L.P., 529 S.W.3d at 433 (citing Tex. Const. art. I §8).


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           “Protections for the press are especially vital because of the pivotal role it plays in the

 dissemination of information to the public.”87 Thus, a “free press” is “essential to a healthy

 democracy.”88 Similarly, one of the “foundational principles of American democracy is the

 freedom to comment on matters of public concern.”89 This “foundational principle” has been

 repeatedly emphasized by the United States Supreme Court.

          In New York Times Co. v. Sullivan90, the Court expressed “a profound national

 commitment to the principle that debate on public issues should be uninhibited, robust, and wide-

 open and that [such debate] may well include vehement, caustic, and sometimes unpleasantly

 sharp attacks on government…”91

          The Court in Rosenblatt v. Baer92 took this viewpoint even further:

          “Criticism of government is at the very center of the constitutionally protected
          area of free discussion. Criticism of those responsible for government operations
          must be free, les criticism of government itself be penalized.”93

          These “foundational principles” are equally protected by Texas law and fall within the

 purview of the TCPA.94




 87
    D Magazine Partners, L.P., 529 S.W.3d at 433 (citing N.Y. Times Co. v. United States, 403 U.S. 713, 717, 91 S.
 Ct. 2140, 29 L. Ed. 2d 822 (1971) (Black, J., concurring) (emphasis added).
 88
    D Magazine Partners, L.P., 529 S.W.3d at 431 .
 89
    D Magazine Partners, L.P., 529 S.W.3d at 433.
 90
    New York Times Co. v. Sullivan, 376 U.S. 254, 270, 84 S. Ct. 710, 11 L. Ed. 2d 686 (1964).
 91
    New York Times Co., 376 U.S. at 270.
 92
    Rosenblatt v. Baer, 383 U.S. 75, 85, 15 L. Ed. 2d 597, 86 S. Ct. 669 (1966).
 93
    Rosenblatt, 383 U.S. at 85 (emphasis added).
 94
    Hersh v. Tatum, 526 S.W.3d 462, 466 (Tex. 2017) (“The stated purpose of the [TCPA] is to ‘encourage and
 safeguard the constitutional rights of persons to petition, speak freely, associate freely, and otherwise participate in
 government to the maximum extent permitted by law...”); see also Foster v. Laredo Newspapers, 541 S.W.2d 809,
 812 (Tex. 1976) (quoting Rosenblatt, 383 U.S. at 85) (“Criticism of government is at the very center of the
 constitutionally protected area of free discussion…”).


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                                                       V.

                          THE TEXAS CITIZENS PARTICIPATION ACT

 A.      The Purpose of the TCPA

         The TCPA “protects citizens who… speak on matters of public concern from retaliatory

 lawsuits that seek to intimidate or silence them”95 and “professes an overarching purpose of

 ‘safeguard[ing] the constitutional rights of persons to petition, speak freely, associate freely, and

 otherwise participate in government” against infringement by meritless lawsuits, and is often

 characterized as an “anti-SLAPP” law.96 The TCPA further directs that it is to be “construed

 liberally to effectuate its purpose and intent fully”97 and it pursues “any such goals chiefly by

 defining a suspect class of legal proceedings that are deemed to implicate free expression,

 making these proceedings subject to threshold testing of potential merit, and compelling rapid

 dismissal- with mandatory cost-shifting and sanctions- for any found wanting.”98

         The Texas Supreme Court in Adams v. Starside Custom Builders, LLC99, recently stated

 that “[t]he TCPA casts a wide net.”100 In fact, the Honorable Bob Pemberton wrote:

         “It is conceivable that the Legislature would see fit to cast this net exceptionally
         widely- opting for a hand grenade rather than a rifle shot- perhaps in
         recognition of a high value being ascribed to constitutionally-protected
         expression that may be subsumed somewhere within the Act’s definitions of
         protected expression, or in an effort to capture expression-targeting ‘legal actions’
         that might otherwise be creatively pleaded so as to avoid the statute’s
         requirements.”101




 95
    In re Lipsky, 460 S.W.3d 579, 579 (Tex. 2015) (citing Tex. Civ. Prac. & Rem. Code §27.001-011).
 96
    Cavin v. Abbott, 2017 Tex. App. LEXIS 6511, *16 (Tex. App.- Austin, July 14, 2017) (emphasis added).
 97
    Cavin, 2017 Tex. App. LEXIS 6511, at *16.
 98
    Cavin, 2017 Tex. App. LEXIS 6511, at *16.
 99
    Adams v. Starside Custom Builders, LLC, No. 16-0786, 2018 Tex. LEXIS 327, at *8 (Tex. 2018).
 100
     Adams, 2018 Tex. LEXIS 327, at *8.
 101
     Cavin v. Abbott, 2017 Tex. App. LEXIS 6511, *42 (Tex. App.- Austin, July 14, 2017) (emphasis added).


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          Under the TCPA, the movant bears the initial burden to show by a preponderance of

 evidence “that the legal action102 is based on, relates to, or is in response to the party’s exercise

 of” certain constitutional rights.103 This first step of the TCPA is a legal question104 and in

 determining whether “a legal action should be dismissed… the court shall consider the

 pleadings and supporting and opposing affidavits stating the facts on which the liability… is

 based.”105

          Once the movant meets this evidentiary burden and proves that the TCPA applies, the

 burden shifts to the nonmovant to establish "by clear and specific evidence a prima facie case for

 each essential element of the claim in question" in order to avoid dismissal.106

          Should the nonmovant meet its statutory burden, the burden shifts back to the movant,

 who may then establish by a preponderance of the evidence each essential element of a valid

 defense which, if established, results in a mandatory dismissal by the court.107

                                                           VI.

                                     ARGUMENT AND AUTHORITIES

 A.       Plaintiff’s “legal action” is based on, related to and in response to Defendants’

 exercise of the Right to Free Speech, Right to Petition and Right of Association

          The TCPA is applicable to this litigation because: (1) Plaintiff’s legal action is factually

 predicated on Defendants’ exercise of their constitutionally protected rights; and (2) Plaintiff’s

 legal action is otherwise “based on, relates to and is in response to” Defendants’ exercise of their

 constitutionally protected rights.

 102
     Pursuant to the statute, a “legal action” can be, among others, a “lawsuit” or “cause of action.” Tex. Civ. Prac. &
 Rem. Code §27.001(6).
 103
     Tex. Civ. Prac. & Rem. Code §27.005(b).
 104
     Whisenhunt v. Lippincott, 416 S.W.3d 689, 695 (Tex. 2013); Epperson v. Mueller, No. 01-15-00231-CV, 2016
 Tex. App. LEXIS 8671 (Tex. App.-Houston [1st Dist.] Aug. 11, 2016).
 105
     Hersh, 526 S.W.3d at 466 (emphasis added); Tex. Civ. Prac. & Rem. Code §27.006(a).
 106
     Tex. Civ. Prac. & Rem. Code §27.005(c).
 107
     Tex. Civ. Prac. & Rem. Code §27.005(d) (“the court shall dismiss…”).


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          1.       Plaintiff’s legal action is factually predicated on Defendants’ exercise of their

          constitutionally protected rights

          The Austin Court of Appeals has long held that the TCPA’s language, “based on, relates

 to, or is in response to” “serves to capture, at a minimum, a ‘legal action’ that is factually

 predicated upon alleged conduct that would fall within the TCPA’s definitions of ‘exercise of the

 right of free speech…”108 As stated above, when making the determination whether a “legal

 action” is based on, related to or in response to a movant’s constitutionally protected right, the

 Texas Supreme Court has observed and stated that:

          “‘[T]he plaintiff’s petition…, as so often has been said, is the ‘best and all
          sufficient evidence of the nature of the action’…When it is clear from the
          plaintiff’s pleadings that the action is covered by the [TCPA], the defendant
          need show no more.”109

          “Communication” is defined as the making or submitting of a statement or video in any

 form or medium, including oral, visual, written, audiovisual, or electronic.110 Furthermore, the

 TCPA defines “[e]xercise of the right of free speech” as “a communication made in connection

 with a matter of public concern.”111 The TCPA states that the “‘[e]xercise of the right of free

 speech means a communication made in connection with a matter of public concern” 112 which

 “includes [among others] an issue related to… health or safety… community well-being… [or]

 the government.”113 Courts have broadly interpreted the TCPA’s application to “matters of

 public concern”114 which, by plain language of the statute, includes an issue related to health or


 108
     Cavin, 2017 Tex. App. LEXIS 6511, at *20.
 109
     Hersh, 526 S.W.3d at 467.
 110
     Tex. Civ. Prac. & Rem. Code §27.001(1).
 111
     Tex. Civ. Prac. & Rem. Code §27.001(3).
 112
     Hersh, 526 S.W.3d at 466.
 113
     Hersh, 526 S.W.3d at 466; Tex. Civ. Prac. & Rem. Code §27.001(7)(A-E).
 114
     See, e.g., Adams, 2018 Tex. LEXIS 327 at *10 (observing that communications by a resident that real estate
 developer had “chopped down trees, generally made life miserable for the residents, and engaged in unspecified
 other corrupt or criminal activity is of public concern”); David Martin Camp v. Patterson, 2017 Tex. App. LEXIS
 7258, at *14 (Tex. App.- Austin 2017, no pet.) (holding that private texts and emails of contractor related to goods


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 safety; environmental, economic, or community well-being; the government; a public official or

 public figure; or a good, product, or service in the marketplace.115 The Third Court of Appeals

 has explained:

          “[T]he TCPA does not require that the statements specifically “mention” health,
          safety, environmental, or economic concerns, nor does it require more than a
          “tangential relationship” to the same; rather, TCPA applicability requires only
          that the defendant’s statements are “in connection with” “issue[s] related to”
          health, safety, environmental, economic, and other identified matters of public
          concern chosen by the Legislature.”116

          The “right to petition” includes: (i) a communication in connection with an issue under

 consideration or review by a legislative, executive, judicial, or other governmental body117; (ii) a

 communication that is reasonably likely to encourage consideration or review of an issue by a

 legislative, executive, judicial, or other governmental body118; (iii) a communication reasonably

 likely to enlist public participation in an effort to effect consideration of an issue by a legislative,

 executive, judicial, or other governmental body; or (iv) any other communication that falls

 within the protection of the right to petition government under the Constitution of the United

 States or the constitution of this state.119 “Right of Association” within the TCPA means a

 “communication between individuals who join together to collectively express, promote, pursue,

 or defend common interests.”120

          There is no dispute that the statements and broadcasts upon which Plaintiff relies upon in

 each of his claims against Defendants constitute a “communication” as defined by the TCPA.



 or products in the marketplace were “matters of public concern”); Warner Bros. Entm’t, Inc. v. Jones, 538 S.W.3d
 781, 798 (Tex. App.- Austin 2017, pet. filed) (statements that former football player tried to hire a hit man to kill his
 agent were a “matter of public concern” because they concerned the safety of the agent).
 115
     Tex. Civ. Prac. & Rem. Code §27.001(7)(A-E).
 116
     Cavin v. Abbott, 2017 Tex. App. LEXIS 6511, at *28 (Tex. App.- Austin July 14, 2017, no pet.) (citing Exxon v.
 Coleman, 512 S.W.3d 895 (Tex. 2017).
 117
     Tex. Civ. Prac. & Rem. Code §27.001(4)(B).
 118
     Tex. Civ. Prac. & Rem. Code §27.001(4)(C).
 119
     Tex. Civ. Prac. & Rem. Code §27.001(4)(D).
 120
     Tex. Civ. Prac. & Rem. Code §27.001(2).


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 Each of the individual statements, as well as the entire broadcasts were Defendants’ “making or

 submitting” a “statement or video” that was oral, visual, audiovisual and electronic. Thus, for

 purposes of this Motion, each of the complained of defamatory claims brought by Plaintiff is

 based upon Defendants’ “communications.”121

                  a.      Right of Free Speech

                  i.      Defendants’ statements and/or broadcasts were made in connection with a

                  matter of public concern

         In deciding whether this lawsuit is related to the exercise of free speech under the broad

 language of the TCPA, this Court “must look to the context of the communication in which the

 allegedly defamatory statement is made.”122 Furthermore, this Court must also “consider the

 broader context of the speech to know whether or not it relates to an issue identified as a matter

 public concern by the legislature.”123 The “broader context” includes not only reviewing the

 entire communication (not just the allegedly defamatory portion), but also reviewing the

 “surrounding circumstances” in which the communication was made.124

         As is apparent from Plaintiff’s Original Petition, each cause of action against Defendants,

 based upon the June Broadcast and July Broadcast, refers entirely to matters of public concern as

 defined by the TCPA. From Plaintiff’s Original Petition, it appears as though he is claiming that

 certain statements in and of themselves are defamatory and, at the same time, arguing that the

 broadcasts in their entirety are defamatory. Neither is true.

         For purpose of this Motion, the issues and statements made and discussed in the June

 Broadcast undoubtedly constitute a “communication made in connection with a matter of public

 121
     Tex. Civ. Prac. & Rem. Code §27.001(1) (“Communication” is defined as the making or submitting of a
 statement or video in any form or medium, including oral, visual, written, audiovisual, or electronic).
 122
     Shipp v. Malouf, 439 S.W.3d 432, 438 (Tex. App.- Dallas 2014, pet. denied).
 123
     Shipp, 439 S.W.3d at 438.
 124
     Shipp, 439 S.W.3d at 438.


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 concern” because Shroyer’ statements within, as well as the entire broadcast, included issues

 “related to” health or safety, environmental, economic, or community well-being, the

 government, a public official or public figure, or a good, product, or service in the market place.

         Shroyer’s statements individually, as well as the broadcast in its entirety, fall within the

 meaning of “communication” as defined in the TCPA.125 Because each of the alleged defamatory

 statements constitutes a “communication,” the only issue left for this Court to resolve is whether

 the “communications” were made in “connection with” an “issue related to” one of the five

 designated topics that the TCPA defines as a “matter of public concern.”

         The complained of statements made by Shroyer during the June Broadcast were made in

 connection with NBC and Kelly’s interview with Jones, which also featured a “reaction”

 interview with the Plaintiff in this lawsuit. The “interview” that was highly edited and published

 by NBC was intended to discredit Jones and his companies. Thus, when Shroyer made his

 statements in connection with the NBC interview, he was commenting on issues related to

 matters of public concern because, first and foremost, Shroyer was commenting on Kelly’s

 alleged failure to conduct a complete interview with Plaintiff.

         Indeed, Shroyer’s comments were made in connection with Zero Hedge’s article that

 simply brought light to contradictions between Plaintiff’s statements made during the Kelly

 interview and the statements made by the medical examiner. Shroyer specifically stated the

 following:

         “One must look at Megyn Kelly and say, ‘Megyn, I think it’s time for you to
         explain this contradiction in the narrative. Because, this is only going to fuel the
         conspiracy theory that you’re trying to put out, in fact.”126



 125
     “‘Communication’ includes the making or submitting of a statement or document in any form or medium,
 including oral, visual, written, audiovisual, or electronic.” Tex. Civ. Prac. & Rem. Code §27.001(1).
 126
     Exhibit B-38, at 6.


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          It is clear that Shroyer’s statements were a “communication” in connection with a matter

 of public concern because Shroyer’s communication was, at the very least, a communication that

 falls within the TCPA’s definition of an “issue related to” a “public figure,” which in this case,

 was Kelly.

          Also, Shroyer’s comments and opinions made in connection with the Zero Hedge article

 likewise fall within the TCPA’s definition of “matter of public concern” because his statements

 encompass issues related to health or safety, community well-being, the government, and a good,

 product or service in the marketplace.127

          Furthermore, Shroyer’s statements also related to Alex Jones, who is also public figure,

 as well as NBC’s “product, good or service” that was broadcast nationally on a very

 controversial subject.

          Likewise, although determining the “gist” of the entire broadcast is nearly impossible as

 the subjects upon which Shroyer comments are vast in that they include various guests that

 discuss different matters, the only “gist” that could be derived from the broadcast in its entirety is

 that the government and MSM should be questioned by American citizens.128

          In fact, toward the beginning of the alleged defamatory broadcast, Shroyer stated:

                  “Meanwhile, this is actually the biggest PSYOP129 I think that’s going on
          right now. You have mainstream news that is trying to not only portray an
          inaccurate picture of Donald Trump. We already know that that’s going on. But
          they also want to dominate you and intimidate you from believing in yourself,
          from believing in the movement, from believing in Donald Trump. That’s what
          they’re trying to do. They’re trying to oppress our victories. They’re trying to
          oppress Donald Trump’s victories. They’re trying to oppress the fact that we are
          taking this country back. We are going in the right direction.


 127
     More specifically, Shroyer’s comments were also directed at the NBC broadcast, which constitutes a “good,
 product, or service in the marketplace,” as NBC’s “good, product, or service” is its broadcast and publication of the
 news.
 128
     Again, issues related to the “government” are also matters of public concern.
 129
     Psychological Operation.


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                      It might be small steps here or there. There might be some big steps here
             or there. There might be some leaves. There might be some knocks back, but
             we’re going in the right direction and Trump is leading it, but don’t want you to
             know that. They don’t want you to believe that. They want to oppress you. They
             want to intimidate you. They want to bully you with fake news and they want to
             tell you that you’re not winning, Trump’s not winning, the investigation is
             ongoing, Trump colluded, he’s getting impeached, assassinate here, assassinate
             there, and it’s all failing. It’s all failing, folks, so just remember that. Fellow
             Americans, we are winning right now. We are kicking ass. The Democrats are
             failing. CNN is failing. Trump is winning. We are winning. That’s the story, not
             what they try to tell you on the fake news.

                      …

                     Do not, do not let the fake news get you down. Do not let the fake news
             control the way you think, feel, and see the way politics are going, the way this
             country is going. They want to bully you. They want to suppress the victories that
             we’re having. This is proven in spades, folks, when you just look at the amount of
             coverage and the type of coverage that Donald Trump gets.”130

             Under the broad application given to the TCPA, Shroyer’s individual comments, as well

 as the entire June Broadcast were communications made in connection with matters of public

 concern. Therefore, the TCPA is applicable to Plaintiff’s entire lawsuit and all causes of action

 asserted by Plaintiff’s that is “based on, related to, or in response to” the June Broadcast.

             Just like the June Broadcast, the statements made by Jones in the July Broadcast were

 made in connection with matters of public concern. The broadcast, as well as the individual

 statements, were made in connection with issues related to health and safety, community well-

 being, the government, a public figure and a good, product or service in the marketplace.

             The complaints asserted by Plaintiff encompass Jones’ statements and opinions with

 regard to the government and MSM’s use of national tragedies to promote and push political

 agendas. Likewise Jones criticized government and MSM for being dishonest when he stated,




 130
       Exhibit B-38, at 1-2.


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 “Uh, but they cannot be honest with us. The politicians and the mainstream media are incapable

 of being honest with us…”131

                       b.   Right of Association

            The TCPA’s definition of “right of association” has a broad application. However, the

 TCPA’s “right of association” as it is applied to the facts presented in this litigation fall clearly

 within its definition and meaning.

            As is made clear by the June and July Broadcasts, the style of broadcast is not that of a

 traditional media outlet. Although Defendants are “media,” they share their platform with guests,

 as well as listeners who are invited to call in and engage in the topic of discussion. In each of the

 complained of broadcasts, Defendants’ were communicating with others “who join together to

 collectively express, promote, pursue or defend common interests.”

            In the June Broadcast, Shroyer’s statements were between “individuals” because Shroyer

 was “communicating” with his listeners, the majority of whom share the same viewpoints as

 those of Defendants. Shroyer was also “communicating” with multiple guests, including Roger

 Stone and Shiva Ayyadurai, as well as Jones, who was not present during the broadcast but

 called in to engage in the debate that was happening on the show. Yet again, as is clear from the

 broadcast, the “individuals” were joining together to collectively express, promote, pursue or

 defend common interests.

            Specifically, a listener of the show named Harold called in during the broadcast to engage

 in the discussion with Shroyer and said:

            “Hey. It’s good to see the wild man beside Alex there. I like the way you deliver the
            news…”




 131
       Exhibit B-35.


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            Therefore, the June broadcast constitutes Defendants’ “exercise of the right of

 association” because the statements made throughout the broadcast were “communications

 between individuals who join together to collectively express, promote, pursue, or defend

 common interests.”

            Similarly, during the July Broadcast, Jones was joined by guests, including Jon

 Rappoport. In fact, immediately after Jones’ discussed the June broadcast, he asked Rappoport’s

 opinions of the controversy. Rappoport stated:

            “Just, a report on the report on the report on the report is suddenly you know,
            licenses to take away access. You can’t do that. Absolutely not. Absolutely
            inappropriate… Because there is an unanswered question. So where does that
            leave us? Well, let’s say that somebody decides to publish on YouTube a whole
            list of the ingredients in vaccines. You know, here it is from the CDC. And I have
            a question because if you’ll notice, there’s aluminum, aluminum, aluminum,
            aluminum, aluminum, and now here is a statement from official organization,
            medical organizations about how neurotoxic aluminum is… being injected this
            way and I’m asking questions about this. Well, that… let’s throw that away, too.
            That’s no good. We can’t have a video like that. We can’t have that either…

            … If they’re going to throw… out that video by Shroyer, then everything is up for
            grabs. You can’t say anything that wouldn’t be censored if somebody wants to
            censor it.”132

            Again, Jones’ alleged defamation falls within the TCPA’s definition of “right of

 association” because Jones’ statements and broadcast, which Plaintiff claims are defamatory,

 were “communications between individuals who join together to collectively express, promote,

 pursue, or defend common interests.”

            Although the complained of statements and broadcasts fall within the TCPA’s definition

 of the “right of association,” the Texas Supreme Court has applied the “right of association” to




 132
       Exhibit B-35, at 46-47.


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 issues much broader than what is before this Court.133 Thus, it is clear that Plaintiff’s legal action

 is also based on, related to, and is in response to Defendants’ right of association.

                   c.        Right to Petition

          The “right to petition under the federal Constitution… ‘is cut from the same cloth as the

 other guarantees of [the First Amendment], and is an assurance of a particular freedom of

 expression’ of the People in a specific context- seeking remedy for grievances and otherwise

 communicating their will to government officials.”134 The “right to petition” is “also said to be

 ‘implicit in [the] very idea of government, republican in form.’”135

          As the Austin Court of Appeals stated:

          “The text of the TCPA as a whole confirms, rather than refutes, that the
          Legislature intended to incorporate this established understanding of this
          constitutional ‘right to petition’ when defining the ‘exercise of the right to
          petition,’ as opposed to creating some sort of sui generis innovation.
          Subparagraphs (B), (C), and (D) of the ‘exercise of the right to petition’ definition
          explicitly contemplate either the direct petitioning of government for action or
          redress on particular ‘issues’ or the sorts of collateral actions aimed at influencing
          public opinion in support of petition that which the U.S. Supreme Court has long
          been held to be within the First Amendment right to petition. Further confirmation
          of the Legislature’s intent is found in subparagraph (E) of the definition, the final
          one, which states that ‘exercise of the right to petition’ includes… any other
          communication that falls within the protection of the right to petition government
          under the Constitution of the United States or the constitution of this state.”136

          Likewise, the Petition Clause of the Texas Constitution “reserves the right to petition the

 government for a redress of grievances” as follows:

          “RIGHT OF ASSEMBLY; PETITION FOR REDRESS OF GRIEVANCES. The
          citizens shall have the right, in a peaceable manner, to assemble together for their




 133
     Elite Auto Body LLC, 520 S.W.3d at 200-204 (holding that an auto-repair business’s internal communications
 incident to alleged misappropriate of trade secrets from a rival sufficed as the “exercise of the right of association”
 as the TCPA defines them).
 134
     Serafine v. Blunt, 466 S.W.3d 352, 380 (Tex. App.- Austin 2015, no pet.).
 135
     Serafine, 466 S.W.3d at 380.
 136
     Serafine, 466 S.W.3d at 380-381.


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         common good; and apply to those vested with the powers of government for
         redress of grievances or other purposes, by petition, address or remonstrance.”137

         Defendants’ statements asserted within the complained of broadcasts, as well as many

 others, were not simply made so Jones and Shroyer could listen to themselves talk. The

 statements made in those broadcasts were intended to elicit and enlist the public’s participation

 in national debates in their effort to positively affect consideration of laws consistent with the

 constitution and to oppose those who advocate against the Constitutional rights of all citizens.

         An example of this fact can be found in the July Broadcast, where Jones stated:

         “… [B]ottom line[,] there was massive PR around [Sandy Hook]. [Sandy Hook]
         was used to blame the American people to say gun owners were at blame for
         this and… that we had killed these children. So that’s why America rejected it
         and said it was fake because in total, saying gun owners are responsible for what
         somebody on Prozac does… is not true. If I kill somebody with a car on purpose,
         it’s not your fault because you own a car that I did something wrong with a car.
         Like, if I stabbed my neighbor with a butcher knife, or you do, then we’re not
         guilty for… what another person does. So we’re sick of this.”138

         These statements within the July Broadcast fall within the statutory definition of “right to

 petition” as defined by the TCPA.139 The gun control issue is at the forefront of the national

 debate. Thus, the July Broadcast and its statements were “communications” that were: made “in

 connection with an issues under consideration or review by a legislative, executive, judicial, or

 other governmental body;” “reasonably likely to encourage consideration or review of an issue

 by a legislative, executive, judicial, or other governmental body;” “reasonably likely to enlist

 public participation in an effort to effect consideration of an issue by a legislative, executive,

 judicial, or other governmental body;” and “fall[] within the protection of the right to petition

 government under the Constitution of the United States or the constitution of this State.” Of

 course, one of the primary issues that Jones’ statements were made in connection with were the

 137
     Clark v. Jenkins, 248 S.W.3d 418, 428 (Tex. App.- Amarillo 2008, pet. denied).
 138
     Exhibit B-35, at 46 (emphasis added).
 139
     Tex. Civ. Prac. & Rem. Code §27.001(4)(B-E).


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 controversies surrounding gun rights and free speech. Thus, Plaintiff’s lawsuit is also, at least in

 part, “based on, related to, and is in response to” Jones’ right to petition.

             Likewise, Shroyer’s statements made in the June broadcast fall within the TCPA’s

 definition of “right to petition.” As is clear from the beginning of the broadcast, Shroyer’s

 statements are intended to get his listeners to reject what many call “fake news” because of how

 President Trump is portrayed.

             “Do not… let the fake news get you down. Do not let the fake news control the
             way you think, feel, and see the way politics are going, the way this country is
             going because they want to paint an inaccurate picture. They want to bully you.
             They want to suppress the victories that we’re having. This is proven in spades,
             folks, when you just look at the amount of coverage and the type of coverage that
             Donald Trump gets.”140

             More specifically, one of the issues Shroyer claims is “fake news” is the ongoing

 investigation of Donald Trump by Robert Mueller. As this Court is aware, just as is the rest of

 America, the Special Counsel investigation of Donald Trump’s 2016 presidential campaign’s

 alleged involvement with the Russian government is being led by Mueller. For purposes of this

 Motion, the details of the investigation need not be elaborated on because Shroyer’s statements

 made with regard to the investigation are what’s important. This Court need only focus on the

 fact that there is currently an “issue” (“Mueller Probe”) within a “legislative, executive, judicial,

 or other governmental body of in another governmental or official proceeding.”

             Shroyer’s statements were as follows:

                      “So you’ve got the Democrats that are absolutely failing right now.
             You’ve got the left media, specifically CNN, that is absolutely failing right now.
             Totally in a tailspin. You’ve got the Russia narrative that is not only collapsing on
             its face, it is not being looked at to be dropped.

                     So you say, ‘Well, wait a second…’ And I was talking with Alex about
             this before the show. Obama, they printed a big story talking about how Obama
             blocked the Russia investigation. The Democrats tried to use this to say, ‘Oh my
 140
       Exhibit B-38, at 2.


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            gosh, there could’ve been more there.’ Now they’re scapegoating Obama. It was
            smarter for him to drop the investigation or stop any investigation at that time
            because it was the Democrats that were actually colluding with Russia. So they’re
            going to play this thing off slowly but surely and the Russia narrative will die.
            Then there might be some hearings for some other collusion that might be going
            on.

                    … I mean, I don’t understand this. If Russia is hacking into our
            infrastructure while Barrack Obama was president and while Hillary Clinton had
            a private server with classified documents that was probably easily accessible and
            access to those accounts, why aren’t they being investigated? Of course, you
            know the answer to that. The deep state doesn’t want to investigate that. The
            whole investigation is a witch hunt into Donald Trump. So keep your eyes for not
            just the Russia narrative to continue to fail, but also to be dropped in the Senate
            and in the House and all of these committees and all of these hearings.

                    So you’ve got that, and meanwhile, you’ve got Trump who is returning the
            energy sector to the United States, saying that he wants to be the global
            dominating force in energy. The Democrats can’t have a victory. This is all going
            on and you wouldn’t even know it. You wouldn’t even know it if you watched
            liberal media. You wouldn’t even know that any of this is going on if you
            watched television news. They’re going to tell you Trump’s getting impeached.
            They’re going to push propaganda to assassinate Trump. That continues to
            happen. The investigation is ongoing. Trump colluded! None of it’s true!”141

            Similar statements are made by Shroyer throughout the June broadcast, as this “theme” is

 not limited to just the opening segment. Under the plain language of the TCPA, which is

 admittedly extremely broad in its application, just like Jones’ July Broadcast, Shroyer’s June

 broadcast falls with the TCPA’s definition of “the exercise of the right to petition.”142 Therefore,

 because Plaintiff’s legal action is “based on, related to and is in response to” Defendants’ right to

 petition, the TCPA is likewise applicable to those claims.

            2.      Plaintiff’s legal action is otherwise “based on, relates to and is in response to”

            Defendants’ exercise of their constitutionally protected rights

            Despite the fact that Plaintiff’s lawsuit and causes of action are “factually predicated” on

 Defendants’ exercise of their constitutional rights, even if the factual predicate was based on

 141
       Exhibit B-38, at 1.
 142
       Tex. Civ. Prac. & Rem. Code §27.001(4)(B-E).


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 conduct and/or statements that were not protected, the TCPA would nonetheless be applicable

 because Plaintiff’s entire lawsuit otherwise “relates to and is in response to” Defendants’

 continued voice and involvement in political issues in this country.

            One of Plaintiff’s attorneys, Bill Ogden, provided a clear admission that this lawsuit is

 intended to suppress Jones’ First Amendment rights.

            “Our main goal is to get Mr. Jones to stop.”143

            Plaintiff and all three of his lawyers have admitted that the primary goal of this lawsuit is

 to prevent Jones and others like him, including Shroyer, from expressing their views. After filing

 this lawsuit, Plaintiff appeared on an MSNBC broadcast with one of his attorneys and admitted

 that the purpose of this suit was to silence Alex Jones and “shut him down.”




                                                                                         144



            During that interview, the host of the program asked Wesley Ball, another one of

 Plaintiff’s attorneys, “[w]hat do you hope to accomplish by suing Alex Jones?” Ball replied:

            “I hope to shut down his hateful rhetoric.145 His intentional conduct in causing
            more problems to these families… I’m hoping to shut him down on that front and
            on as many other fronts as I can because I think he’s a cancer to America…”146
 143
       Exhibit B-17 (Wall Street Journal interview of Bill Ogden).
 144
       Exhibit B-16; Exhibit B-17.


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          Ball further stated that he hoped a Texas jury will “cut at least some of that cancer out of

 our society.” Likewise, Plaintiff himself agreed that the goal of the suit was to “shut down”

 Jones.

          “This lawsuit that I filed, I hope it gives the people, the other people the strength
          to come forward and follow in my steps or my coat tail with going after Alex
          Jones and to shut him down.”147

          In another attempt to publicize his lawsuit in order to encourage others to help him shut

 down Jones, Plaintiff appeared with his third lawyer, Mark Bankston, on the Today Show with

 Kelly. Again, Bankston admitted that the purpose of the lawsuit was to put a “stop” to Jones and

 “end” to his voice.




                                                                                                  148



 Speaking of Jones, Bankston stated:

          “…he’s not going away. He’s been given, just a Washington correspondent, he’s
          given White House credentials…Claims to have the President’s ear…Um, we
          think it’s time for this to end, and that’s why we brought these suits… it’s also



 145
     This “hateful rhetoric” that Plaintiff and his lawyers seek to “shut down” is Jones’ exercise of his constitutionally
 protected rights.
 146
     Exhibit B-16; Exhibit B-17.
 147
     Exhibit B-16; Exhibit B-17.
 148
     Exhibit B-19 (Today Show video); Exhibit B-20.


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          not just about the Sandy Hook parents149, either. You know, these parents have
          seen what happens to them for five years, being tormented. And now they’re
          seeing it happen to the Parkland parents. It’s… time for this to end.”150

          As for Plaintiff himself, when asked by Kelly, “[w]hy after all the years of his attacks on

 you, why now?” Plaintiff answered:

          “Well, it’s accountability and responsibility…it’s been going on for four and a
          half, five years… It’s a total disrespect to myself, my son, the individuals who
          lost their lives that day but it extends so much further than that. It’s a disrespect
          to the community and the law enforcement, the first responders…it’s just not
          right and he needs to - it needs to stop.”151

          Yet again, one of Plaintiff’s attorneys making numerous public appearances on television

 to publicize the lawsuit stated in his interview with the Wall Street Journal:

          “These cases152 are about getting [Jones] to stop and making sure it never happens
          to them again.”153

          That attorney also told the Journal that he “hoped the lawsuits would also combat

 sensationalism in journalism…”154

          Plaintiff’s and his counsel’s stark admissions confirm that this suit is really not about

 alleged defamation in the past year. Rather, it’s about Plaintiff’s fear of Jones’ influence in

 public debate and his expressed desire to end that influence even on subjects not related to

 Plaintiff or Sandy Hook at all.155

          Plaintiff seeks to prevent and silence Jones and his companies and its employees from

 exercising their free speech, right to associate with others to collectively express and defend


 149
     This admission made by Plaintiff’s counsel further establishes that this lawsuit has nothing to do with any alleged
 defamatory statement made within the last year. Instead, this lawsuit is nothing more than Plaintiff’s attempts to
 completely silence and eliminate Jones’ ability to share his viewpoints and influence others.
 150
     Exhibit B-41 (emphasis added).
 151
     Exhibit B-41.
 152
     As mentioned elsewhere in this Motion, Plaintiff’s suit is coordinated with a similar suit also filed in Travis
 County for two other Sandy Hook parents.
 153
     Exhibit B-21.
 154
     Exhibit B-21.
 155
     Exhibit B-41 (emphasis added).


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 common interests and prevent them from publicly participating in political debates that Plaintiff

 deems unworthy of their participation as a result of their viewpoints.156

          This lawsuit, aimed directly at Jones and his companies, is explicitly intended to silence

 them and prevent them from expressing their opinions on matters of public concern. Further, as

 Plaintiff’s counsel said: since Jones now has “the President’s ear,” it’s time to stop him.

 Plaintiff’s position is that Jones, as well as millions of others should simply not be allowed to

 exercise their free speech, associate with others, to promote a common goal, or petition the

 government for issues that Plaintiff and his at lawyers deem improper and hurtful.

          Furthermore, as demonstrated above, Plaintiff has assumed a “prominent” high profile

 status and has fully engaged in the national debate over gun control, and Sandy Hook’s

 relationship to that debate. In fact, when his efforts with legislators and United States Senators to

 use Sandy Hook as a reason for further gun control did not yield a comprehensive ban on assault

 rifles, Plaintiff decided to resort to the judicial system to obtain what he otherwise could not. His

 suit against Remington was designed to accomplish what his legislative efforts failed to do, and

 it might have worked as a result of Remington’s bankruptcy.

          Just as he campaigned against certain firearms and ammunition, Plaintiff has dedicated

 his time and energies to silencing those who express doubts about official reports and discuss

 theories about the events at Sandy Hook that are not consistent with facts that are reported in the

 MSM.

          Plaintiff’s actions included speeches before the Newtown City Council, Connecticut state

 legislature and the United States Congress. He has appeared on camera for nationally televised

 programs on CNN, CBS and other networks, all in his quest to outlaw assault rifles, high-


 156
    Moreover, the fact that Jones’ has “some semblance of influence” with the President is another reason for this
 suit.


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 capacity clips and to increase firearm registration requirements. Plaintiff has sued the maker of

 the firearm used at Sandy Hook, in part, to cause its withdrawal of the bushmaster and other

 assault style weapons from the market.

          As the foregoing demonstrates, Plaintiff has coordinated his efforts with others to ban

 certain weapons, ammunition and accessories and broaden gun owner restrictions. Equally as

 obvious is that Plaintiff has also dedicated himself to stop Jones and others he and his lawyers

 call conspiracy theorists. Indeed, he and his lawyers have gone on a media tour publicizing this

 suit to provoke others to sue Defendants in order to drive them out of business. They have also

 coordinated these efforts and joined forces with others to silence Jones.

          Plaintiff filed this lawsuit on April 16, 2018. On that same day and using the same law

 firm, another lawsuit was filed against Jones by Veronique De La Rosa and Leonard Pozner

 alleging substantially similar facts and claims and seeking similar relief. 157 Like Plaintiff, Pozner

 and De La Rosa have been publicly active in the national debate over guns using Sandy Hook as

 a basis to propel a gun ban across their goal line. And, like Plaintiff, their goal is to silence Jones

 and use their own lawsuit, as well as this lawsuit, to shut down Jones’ internet broadcast platform

 in order to restrict his and millions of others’ ability to speak, associate and petition the

 government.

          This continued coordination between Plaintiff and Pozner and De La Rosa158 is further

 evidence that his and their lawsuits are based on, related to or filed in response to Defendants’

 exercise of their constitutional rights.

          Therefore, even if this Court deemed Plaintiff’s lawsuit and causes of action not being

 “factually predicated” upon Defendants’ exercise of their constitutionally protected rights, the

 157
    Exhibit B-41.
 158
    They also coordinated their efforts and joined forces in lobbying congress and the Connecticut legislature and in
 suing the City of Newtown and the maker of the Bushmaster.


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 lawsuit and causes of action are nonetheless “based on, related to and in response to”

 Defendants’ exercise of their constitutionally protected rights defined under the TCPA as “there

 is some sort of connection, reference, or relationship between them.”159

 B.      Plaintiff cannot establish by clear and specific evidence a prima facie case for each

 essential element of his claims

         Having established that the TCPA applies to Plaintiff’s entire lawsuit as well as each

 individual cause of action, the burden shifts to the Plaintiff to produce “clear and specific”

 evidence of the essential elements of his causes of action for Defamation and Defamation Per Se,

 Conspiracy, Respondeat Superior and Exemplary Damages.160

         The Court in In re Lipsky161 held that “[t]he words ‘clear’ and ‘specific’ in the context of

 this statute have been interpreted respectively to mean, for the former, ‘unambiguous,’ ‘sure,’ or

 ‘free from doubt’ and, for the latter, ‘explicit’ or ‘relating to a particular named thing.’” Plaintiff

 cannot show clear and specific evidence of each essential element of each of his claims.

         1.        Defamation

         Actionable defamation requires: (a) publication of a false statement of fact to a third

 party; (b) that was defamatory concerning the Plaintiff; (c) with the requisite degree of fault, and

 (d) that proximately caused damages.162 Compensatory damages in defamation cases “must

 compensate for ‘actual injuries’ and cannot merely be ‘a disguised disapproval of the

 defendant.’”163

                   a.     There is no clear and specific evidence that Defendants published a false

                   statement of fact to a third party that was defamatory concerning the Plaintiff

 159
     Cavin, 2017 Tex. App. LEXIS 6511, at *39.
 160
     Tex. Civ. Prac. & Rem. Code §27.005(c).
 161
     In re Lipsky, 460 S.W.3d 579, 589 (Tex. 2015).
 162
     Bos v. Smith, 2018 Tex. LEXIS 524, *26 (Tex. 2018).
 163
     Brady v. Klentzman, 515 S.W.3d 878, 886 (Tex. 2017).


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                  i.       Defendants fall within the classification of “media Defendants”

         Defendants in defamation actions are categorized as either media or non-media

 Defendants.164 The term “media Defendant” includes members of the “traditional media,”

 meaning print and broadcast media (e.g., newspapers, television stations, and radio stations)165

 and members of the electronic, or online, media.166

         There is no dispute that the Defendants constitute “media Defendants.” Even Plaintiff’s

 Original Petition acknowledges that the Defendants fall within the classification of “media.”

         “Defendant Alex E. Jones… is the host of radio and web-based news
         programming, ‘The Alex Jones Show,’ and he owns and operates the website
         Infowars.com.”167

         Jones and his companies, Infowars and Free Speech, as well as Shroyer, fall within both

 classifications of “media Defendants” as described above. Defendants’ primary business is

 reporting the news and giving commentary and opinions. The online content involves matters of

 public concern. The Alex Jones channel on YouTube has more than two million subscribers168

 and according to NBC and Kelly, Jones’ YouTube channel as received 1.3 billion views.169

 Likewise, Shroyer is a reporter, commentator and employee of Free Speech.

                  ii.      Defendants did not publish the alleged defamatory statements

         As this Court is aware, to succeed in a claim for defamation, the Plaintiff must prove that

 the Defendant published a defamatory statement.170 In this case, the alleged defamatory June


 164
     Gertz v. Robert Welch, Inc., 418 U.S. 323, 333 (1974).
 165
     Forbes Inc. v. Granada Biosciences, Inc., 124 S.W.3d 167, 170-171 (Tex. 2003) (magazine publisher was print
 media); UTV v. Ardmore, Inc., 82 S.W.3d 609, 610-611 (Tex. App.- San Antonio 2002, no pet.) (television station
 was broadcast media); Greer v. Abraham, 489 S.W.3d 440, 442-443 (Tex. 2016) (trial court found blogger qualified
 as print media).
 166
     Service Empls. Int’l Un. v. Professional Janitorial Serv., 415 S.W.3d 387, 398 (Tex. App.- Houston [1st Dist.]
 2013, pet. denied).
 167
     Plaintiff’s Original Petition, at ¶4.
 168
     Exhibit B-38.
 169
     Exhibit B-43.
 170
     WFAA-TV, Inc., 978 S.W.2d at 571.


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 Broadcast involved only Shroyer’s comments on Zero Hedge’s publication. Shroyer was simply

 commenting on Zero Hedge’s report and Shroyer did not publish any statements of fact.

          In fact, Shroyer made it clear to the listener that he was merely reporting on a third-

 party’s article:

          “So folks now, here’s another story. I don’t even know if Alex knows about this
          to be honest with you… Zero Hedge has just published a story: ‘Megyn Kelly
          fails to fact check Sandy Hook father’s contradictory claim in Alex Jones’ hit
          piece.’ Now again, this broke… I think it broke today. I don’t know what time.”171

          Shroyer clearly identified the source of the article and any reasonable reader would

 understand that he was not asserting anything as a statement of fact, but instead was merely

 commenting and reporting on Zero Hedge’s article.

          However, even if this Court determines that Shroyer’s comments on a third-party’s

 publication constitute a “publication,” there is no question that Jones made no such publication

 because he was not involved in the June Broadcast.172 At the very least, Plaintiff cannot establish

 that Jones published any statement made by Shroyer within the June Broadcast. As a result, all of

 Plaintiff’s claims asserted against Jones that are based upon the June Broadcast fail as a matter of

 law.

                    iii.    Each complained of statement and/or broadcasts was made in connection

                    with matters of public concern

          Whether a statement is a matter of public or private concern is a question of law.173 A

 statement is a matter of public concern if: (1) the statement can be “fairly considered as relating

 to any matter of political, social, or other concern to the community” or (2) the statement

 concerns “a subject of legitimate news interests; that is, a subject of general interests and of


 171
     Exhibit B-38, at 6 (emphasis added).
 172
     Exhibit B-36; see also Exhibit A, A. Jones Aff., at ¶5.
 173
     Conick v. Myers, 461 U.S. 138, 148 n.7 (1983).


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 value and concern to the public.”174 To determine whether a statement involves a matter of

 public concern, the content, form, and context of the statement must be analyzed. 175 In

 considering content, form, and context, no factor is dispositive; all circumstances of the speech

 must be evaluated, including what was said, where it was said, and how it was said. 176 Even if

 some details of the published statement are not a matter of legitimate public concern, they can be

 reasonably included in the statement if there is a logical nexus between those details and the

 general subject matter of the statement.177

          As fully discussed above, the statements made by Shroyer in the June Broadcast and

 Jones in the July Broadcast constitute a matter of public concern. Just as both Broadcasts and the

 statements within the Broadcasts fall within the TCPA’s definition of the right of free speech,

 right of association, and right to petition, for the same reasons set forth above, the June and July

 Broadcasts can be “fairly considered as relating to any matter of political, social, or other

 concern to the community” and they concern “a subject of legitimate news interests” because the

 subject’s discussed are subjects “of general interests and of value and concern to the public.”

          Because each statement and/or broadcast constitutes a matter of public concern, the First

 Amendment provides greater protection to each statement and/or broadcast.178

                   iv.      There are no false statements of fact or false impressions

          Whether a statement was an actionable statement of fact is a question of law for this

 Court to decide.179 A statement of fact “is not actionable unless a reasonable fact-finder could



 174
     Snyder v. Phelps, 562 U.S. 443, 453 (2011); Brady, 515 S.W.3d 878, 884 (Tex. 2017).
 175
     Snyder, 562 U.S. at 453.
 176
     Snyder, 562 U.S. at 454; see, e.g., Givhan v. Western Line Consol. Sch. Dist., 439 U.S. 410, 413-414 (1979).
 177
     Brady, 515 S.W.3d at 885.
 178
     Dun & Bradstreet, Inc. v. Greenmoss Builders, Inc., 472 U.S. 749, 758-759, 105 S. Ct. 2939, 86 L. Ed. 2d 593
 (1985) (plurality opinion) (“[Speech] concerning public affairs is more than self-expression; it is the essence of self-
 government… Accordingly, the Court has frequently reaffirmed that speech on public issues occupies the ‘highest
 rung of the hierarchy of First Amendment values,’ and is entitled to special protection.”).


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 reasonably conclude that the statement implies an assertion of fact, considering the entire context

 of the statement.”180 Likewise, the “statement must also be objectively verifiable as fact.”181

         As the Texas Supreme Court has stated:

         “[E]ven when a statement is verifiable as false, it does not give rise to liability if
         the ‘entire context in which it was made’ discloses that it is merely an opinion
         masquerading as a fact.”182

         There is no clear and specific evidence that any specific statement from the June

 Broadcast and July Broadcast, broadcast constituted a false statement of fact. Likewise, when

 considered in light of the broadcasts in their entirety, there is no clear and specific evidence that

 the broadcasts, as a whole, conveyed a false impression regarding Plaintiff. There is no clear and

 specific evidence that the complained of statements and broadcasts do not constitute Defendants’

 opinion.

         Furthermore, with regard to Plaintiff’s complaints on the June Broadcast, there is nothing

 “false” about what Shroyer stated. When breaking down Plaintiff’s complaints, he argues that the

 following “statements” were defamatory and false because, as Plaintiff argues, they imply that he

 is lying. First, Shroyer reported that Plaintiff stated during the Kelly interview that he held his

 son with a bullet hole through his head. That is a true statement because Plaintiff did make that

 statement during the Kelly interview.

         Second, Shroyer reported that Zero Hedge published an article claiming that fact

 checkers stated that Plaintiff could not have held his child when he claimed that he did because

 the medical examiner stated that the deceased bodies were not released to the parents. Again, that


 179
     Champion Printing & Copying LLC v. Nichols, No. 03-15-00704, 2017 Tex. App. LEXIS 7909, at *52 (Tex.
 App.- Austin 2017, pet. denied) (citing Milkovich v. Lorain Journal Co., 497 U.S. 1, 18-19, 110 S. Ct. 2695, 111 L.
 Ed. 2d 1 (1990).
 180
     Champion Printing & Copying LLC, 2017 Tex. App. LEXIS 7909, at *52.
 181
     Champion Printing & Copying LLC, 2017 Tex. App. LEXIS 7909, at *52.
 182
     Dallas Morning News, Inc. v. Tatum, 2018 Tex. LEXIS 404, at *9-10 (citing Bentley v. Bunton, 94 S.W.3d 561,
 581 (Tex. 2002) (emphasis added).


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 is a true statement because Zero Hedge did publish an article that made those claims. Therefore,

 there is no false statement of fact because Shroyer was simply reporting facts as the existed.

          The Zero Hedge article contained a link to the video press conference of the medical

 examiner. According to the medical examiner’s statements in that video, the victims were not

 released to the parents nor were the parents even given access to see their children at the school.

 Instead, photographs were used to have parents identify their children. The victims remained on

 the school grounds until the next morning when they were transported to another town for

 completion of the autopsies. He also said that the bodies were not released until 1:30 the next day

 and then they were made available to funeral homes.183

          Regardless, despite the fact that Shroyer merely reports third-parties’ claimed

 contradictions between Plaintiff’s statements and those made by the medical examiner, Plaintiff

 argues that Shroyer was directly accusing him of lying about whether within hours he picked up

 his son in a body bag and held him even though Shroyer only spoke of dissimilarities in reports.

                   v.       None of the statements or broadcasts is capable of being defamatory

          In making the initial determination of whether a publication is “capable of a defamatory

 meaning,” this Court must “construe the publication ‘as a whole in light of the surrounding

 circumstances based upon how a person of ordinary intelligence would perceive it.’” 184 Whether

 a publication is “false and defamatory” depends on a “reasonable person’s perception of the

 entirety of a publication and not merely on individual statements.”185 To qualify as defamatory,

 a statement should be derogatory, degrading, somewhat shocking, and contain elements of


 183
     Exhibit B-74 (Medical Examiner’s news conference).
 184
     D Magazine Partners, L.P., 529 S.W.3d at 434.
 185
     D Magazine Partners, L.P., 529 S.W.3d at 434 (citing Bentley v. Bunton, 94 S.W.3d 561, 579 (Tex. 2002)
 .(emphasis added); MKC Energy Invs., Inc. v. Sheldon, 182 S.W.3d 372, 378 (Tex. App.- Beaumont 2005, no pet.)
 (“The statements alleged to be defamatory must be viewed in their context; they may be false, abusive, unpleasant,
 or objectionable to the plaintiff and still not be defamatory in light of the surrounding circumstances… The entire
 communication- not mere isolated sentences or portions- must be considered.”) (emphasis added).


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 disgrace.186 But a communication that is merely unflattering, abusive, annoying, irksome, or

 embarrassing, or that only hurts the Plaintiff’s feelings, is not actionable.187 Further, “it is not

 defamatory to accuse a person of doing that which he has a legal right to do.”188

         The complained of statements by Plaintiff in paragraphs 23-25 of his petition are simply

 not defamatory in any manner. Plaintiff seeks to have this Court completely change the

 unambiguous statements made by Jones and interpret and completely change the meaning of

 what was said.

         In paragraphs 23 and 24, Plaintiff uses to following statements made by Jones to support

 his defamation claim:

         “I could never find out. The stuff I found was they never let them see their bodies.
         That’s kind of what’s weird about this. But maybe they did. So I’m sure it’s all
         real. But for some reason they don’t want you to see [Shroyer’s segment].”189

         “Can I prove that [Newtown]… didn’t happen? No. I’ve said, for years, we’ve
         had debates about it, that I don’t know. But you can’t blame the people for
         asking.”190

 Nothing could make either of those statements defamatory in any manner. Further, Jones also

 made numerous other statements that completely negate the alleged “defamatory meaning that

 Plaintiff asks this Court to draw from the July Broadcast. Specifically, Jones stated:

         “I’m not ready to say kids didn’t die and point my finger at parents and say
         they’re liars.”191

         “… NBC needs to clarify because the coroner said none of the parents were
         allowed to touch the kids or see the kids and maybe they [mean] at the school,
         I’m sure later maybe the parents saw their children. The point is, is that because
         the media lies so much, you can’t blame the public [for] asking questions.”192


 186
     Means v. ABCABCO, Inc., 315 S.W.3d 209, 214 (Tex. App.- Austin 2010, no pet.).
 187
     Means, 315 S.W.3d at 214.
 188
     Means, 315 S.W.3d at 214.
 189
     Plaintiff’s Original Petition, at ¶23 (emphasis added).
 190
     Plaintiff’s Original Petition, at ¶24 (emphasis added).
 191
     Exhibit B-35, at 43.
 192
     Exhibit B-35, at 44 (emphasis added).


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         “The stuff I found was they never let them see their bodies. That’s kind of what’s
         weird about this, but maybe they did.”193

         An objectively reasonable person, when considering the broadcast in its entirety, does not

 place overwhelming emphasis on a[ny] single term,” and does not “‘focus on individual

 statements’ to the exclusion of the entire publication.”194 In this case, no objectively reasonable

 reader would ignore the explicit statements made by Jones in the July Broadcast that completely

 negate the alleged defamatory meaning that Plaintiff attributes to them. Jones specifically stated

 that he was not calling Plaintiff, or any other Sandy Hook parent a liar.

         Despite the fact that Jones also said “I’m sure later maybe the parents saw their children,”

 and that he was not “point[ing] [his] finger at parents” and saying their “liars,” Plaintiff’s lawsuit

 claims that the July Broadcast’s “gist” is that Plaintiff is “lying about whether he actually held

 his son’s body and observes a bullet hold in his head.”195 No objectively reasonable reader would

 come to Plaintiff’s conclusion when the statements made throughout the July Broadcast

 completely negate Plaintiff’s alleged meaning.

                  vi.      Plaintiff’s reliance on “innuendo” cannot expand the plain meaning of

                  words or introduce a new matter

         Only when the Court determines the “language is ambiguous or of doubtful import

 should” innuendo be considered by the fact-finder to determine the statement’s meaning.196

 “[T]he innuendo cannot enlarge or restrict the natural meaning of words, introduce new matter,

 or make certain that which was uncertain, except in so far as it connects the words published




 193
     Exhibit B-35, at 46.
 194
     Dallas Morning News, Inc., 2018 Tex. LEXIS 404, at *28.
 195
     Plaintiff’s Original Petition, at ¶10.
 196
     Musser v. Smith Protective Servs., Inc., 723 S.W.2d 653, 655 (Tex. 1987).


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 with the extrinsic or explanatory circumstances alleged.”197 However, where a “statement cannot

 properly be construed as ambiguous nor in the ordinary and proper meaning convey a

 defamatory interpretation, such meaning cannot be enlarged by claims of innuendo.”198

          “Innuendo… does not permit a plaintiff to change the meaning, extend the
          meaning, or impose a strained construction on the words.”199

          Here, the innuendo that Plaintiff advances from each of the statements and/or broadcasts

 cannot be drawn from the text of the statements and/or evidence used to support such claims.

 Plaintiff impermissibly seeks to “enlarge... the natural meaning of words” and “introduce new

 matter.” His “innuendo” does not seek to explain or identify anything in the broadcasts. Instead,

 the “innuendo” drawn by Plaintiff changes the plain meaning of words and seeks to introduce a

 new matter into language that is manifestly unambiguous.

          Plaintiff attempts to take unambiguous language used by Shroyer in the June Broadcast

 relating to the Zero Hedge article and completely transform those statements into alleged direct

 accusations and false statements of fact that “Plaintiff was lying about the circumstances of his

 son’s tragic death for a nefarious and criminal purpose.”200 Essentially, Plaintiff is arguing that

 Shroyer’s accurate report of the Zero Hedge article was in fact a direct allegation against

 Plaintiff for some alleged “criminal” conspiracy.201

          With regard to the July Broadcast, Plaintiff makes the same attempt by completely

 altering the July Broadcast, and more specifically, the following statement made by Jones:


 197
     Billington v. Hous. Fire & Cas. Ins., 226 S.W.2d 494, 497 (Tex. Civ. App.—Fort Worth 1950, no writ) (quoting
 Moore v. Leverett, 52 S.W.2d 252, 255 (Tex. Com. App. 1932)).
 198
     Overstreet v. Underwood, 300 S.W.3d 905, 910 (Tex. App.- Amarillo 2009, pet. denied).
 199
     Durckel v. St. Joseph Hosp., 78 S.W.3d 576, 585 (Tex. App.- Houston [14th Dist.] 2002, no pet.) (citing ABC,
 Inc., 1 S.W.3d at 236).
 200
     Plaintiff’s Original Petition, at ¶20.
 201
     Plaintiff’s Original Petition, at ¶57 (“The [June] and [July] broadcasts by Defendants, while defamatory in their
 own right, were also continuations and elaborations of an underlying defamatory assertion which Defendants have
 advanced since 2013, namely that Plaintiff has lied to the American people about the death of his son and has
 participated in a horrifying criminal cover-up.”).


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          “I could never find out. The stuff I found was they never let them see their bodies.
          That’s kind of what’s weird about this. But maybe they did. So I’m sure it’s all
          real. But for some reason they don’t want you to see [Shroyer’s segment]. Can I
          prove that [Newtown] didn’t happen? No. So I’ve said, for years, we’ve had
          debates about it, that I don’t know. But you can’t blame people for asking.”202

          Immediately after that statement is quoted in Plaintiff’s petition, Plaintiff states:

          “Mr. Jones was lying. In the five years following the tragedy, he has repeatedly
          and unequivocally called the Sandy Hook shooting a hoax.”203

          In the section immediately following these statements, Plaintiff impermissibly attempts to

 use extrinsic evidence to “explain” why Jones’ statement was allegedly defamatory. This

 “innuendo” that Plaintiff asks this Court to draw from Jones statement is completely

 contradictory to the unambiguous language and clear meaning of the actual statement. Plaintiff

 seeks to transform Jones’ statement from “I can’t prove that Sandy Hook didn’t happen and I

 don’t know if it happened or not” into “Sandy Hook never happened and Mr. Heslin is lying

 when he claims that his son died in the shooting.”

          Such transformation is explicitly forbidden by defamation law. Plaintiff cannot transform

 a statement that is unambiguously not defamatory into something defamatory.204

                   vii.      None of the statements or broadcasts is “of and concerning” the Plaintiff

          Plaintiff must produce clear and specific evidence that “the disputed publications were

 ‘of and concerning’” him.205 In other words, there “must be evidence showing that the attack was




 202
     Plaintiff’s Original Petition, at ¶23-24.
 203
     Plaintiff’s Original Petition, at ¶25.
 204
     Skipper v. Meek, 2006 Tex. App. LEXIS 6309, * (Tex. App.- Austin 2006, no pet.) (“The [Plaintiffs’] assert that
 the statements accuse them of engaging in sexual behavior and promoting pornography to children and that the
 inclusion of copies of the obscenity chapter of the penal code converts the communication into an accusation that
 they have committed a crime. No reasonable person, reading the letter with the attached materials, would conclude
 that the [Plaintiffs] were being accused of engaging in illegal activity. In this case, the trial court properly rejected
 the [Plaintiffs’] attempt to transform permissible speech into actionable defamatory statements.”) (emphasis
 added).
 205
     Cox Tex. Newspapers, L.P. v. Penick, 219 S.W.3d 425, 434 (Tex. App.- Austin 2007, pet. denied).


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 read as specifically directed at the plaintiff.”206 The “settled law requires that the false statement

 point to the plaintiff and to no one else.”207 As the Austin Court of Appeals stated:

         “There must be evidence showing that the attack was read as specifically directed
         at the plaintiff… In other words, the publication ‘must refer to some ascertained
         or ascertainable person and that person must be the plaintiff.’”208

         A “claimed implication is “insufficient to ‘concern’ a defamation plaintiff when it is not

 consistent with the ‘plain language’ and the ‘full import’ of a defendant’s statement.”209

         There is no clear and specific evidence that others would recognize the Plaintiff as the

 object of the alleged defamatory statements and/or broadcasts. With regard to Shroyer’s alleged

 defamatory statements, when analyzing the entire context of the statements, it is clear that

 Shroyer’s reactions to the Zero Hedge article are, just like the actual article, directed at NBC and

 Kelly. The statements were not accusatory of the Plaintiff, but instead, referenced the lack of

 journalistic credibility from Kelly and NBC for their failure to accurately and fairly portray what

 was being reported.

         Likewise, Jones’ broadcast and statements made in the July Broadcast simply cannot be

 “of and concerning” the Plaintiff because the statements were directed at the government and

 MSM. Specifically, Jones stated:

         “… [B]ottom line[,] there was massive PR around [Sandy Hook]. [Sandy Hook]
         was used to blame the American people to say gun owners were at blame for this
         and… that we had killed these children.”210

         “I’m not ready to say kids didn’t die and point my finger at parents and say
         they’re liars… Do they get all these conflicting stories in the media? Absolutely.
         And we have a right to question it. If… [the media] said there were new babies
         thrown out of incubators in some country and we questioned it because they’ve
         lied before and it turned out that they did actually kill babies somewhere, would I

 206
     Cox Tex. Newspapers, L.P., 219 S.W.3d at 433 (emphasis added).
 207
     Kaufman v. Islamic Soc’y of Arlington, 291 S.W.3d 130, 145 (Tex. App.- Fort Worth 2009, pet. denied).
 208
     Cox Tex. Newspapers, L.P., 219 S.W.3d at 434.
 209
     Kaufman, 291 S.W.3d at 145.
 210
     Exhibit B-35, at 46.


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          then hate the families that lost their babies? No. I’m questioning known liars in
          the media.”211

          Even Plaintiff himself admitted that the alleged defamatory statements were not just

 about him. Plaintiff stated that Jones was still “peddling his propaganda and is “out there with his

 dog and pony show every day with it… It affects the community. It affects the other

 families…and it’s a disrespect to the first responders…community, state police… and the

 FBI…and it’s uncalled for.”212 Therefore, there is no clear and specific evidence that the June or

 July Broadcast was “of and concerning” the Plaintiff.

                   c.       There is no clear and specific evidence that Defendants possessed the

                   requisite degree of fault

                   i.       Plaintiff is a limited purpose public figure

          Plaintiff is a limited-purpose public figure relating to subject matter of the statements of

 Jones and Shroyer. He voluntarily became prominent in public discussions and debates about

 circumstances relating to Sandy Hook and the subsequent heated public debate over gun control

 initiatives and the Second Amendment to the U.S. Constitution.

          Limited-purpose public figures are “public figures only for a limited range of issues

 surrounding a particular public controversy.213 According to the Austin Court of Appeals:

          “[Limited-purpose public figures] are persons who ‘thrust themselves to the
          forefront of particular public controversies in order to influence the resolution of

 211
     Exhibit B-35, at 43.
 212
     Exhibit B-10 (CNN video interview of Plaintiff). Indeed, the law against group libel is clear. If a defamatory
 statement refers to a large group of persons, a defamation claim cannot be maintained by the group or by any
 individual in the group. According to Plaintiffs, the alleged statements would have also defamed all first responders,
 volunteers, law enforcement officers, medical professionals and others. Such breadth of a defamation claim is
 impermissible in Texas. Should Plaintiff’s lawsuit have any merit, any person with a direct connection would be
 allowed to bring a defamation claim against any person who disagreed with the official Sandy Hook narrative
 because, according to Plaintiff, that person would be calling them a liar. Such argument has extremely dangerous
 implications that expand far beyond this lawsuit. See Harvest House Publ’rs, 190 S.W.3d at 213 (a defamatory
 statement must refer to an identifiable Plaintiff and not merely to members of a class or group of persons).
 213
     Neyland v. Thompson, No. 03-13-00643-CV, 2015 Tex. App. LEXIS 3337, at *18 (Tex. App.- Austin 2015, no
 pet.).


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          the issues involved… inviting attention and comment,’ who ‘inject[] themselves
          or [are] drawn into a particular public controversy… assum[ing] special
          prominence in the resolution of public questions,’ ‘thrusting [themselves] into the
          vortex of [a] public issues… [or] engag[ing] the public’s attention in an attempt to
          influence its outcome.”214

          The issue of public figure status is a constitutional question for the Court to decide. 215 In

 making this determination, this Court is guided by the Texas Supreme Court’s analysis of the

 Fifth Circuit’s decision in Trotter v. Jack Anderson Enters., Inc.216 To determine whether an

 individual is a limited-purpose public figure, the Texas Supreme Court has followed a three-part

 test: “(1) the controversy at issue must be public both in the sense that people are discussing it

 and people other than the immediate participants in the controversy are likely to feel the impact

 of its resolution; (2) the plaintiff must have more than a trivial or tangential role in the

 controversy; and (3) the alleged defamation must be germane to the plaintiff's participation in the

 controversy.”217

          In this case, Plaintiff is a limited purpose public figure with regard to at least two

 “controversies.” First, Plaintiff is a limited purpose public figure within the controversies

 surrounding the government and MSM’s use of national tragedies in order to push political

 agendas.218 Second, Plaintiff is a limited purpose public figure with regard to the controversies

 surrounding Jones and more specifically, Kelly’s interview with Jones that was aired on NBC for

 the sole purpose of discrediting Jones.

                   (A) The controversy at issue is public both in the sense that people are discussing

                   it and people other than the immediate participants in the controversy are likely to

                   feel the impact of its resolution

 214
     Neyland, 2015 Tex. App. LEXIS 3337, at *18.
 215
     WFAA-TV, Inc. v. McLemore, 978 S.W.2d 568, 571 (Tex. 1998).
 216
     Trotter v. Jack Anderson Enters., Inc., 818 F.2d 431 (5th Cir. 1987).
 217
     WFAA-TV, Inc. v. McLemore, 978 S.W.2d 568, 571-72 (Tex. 1998).
 218
     This also includes Plaintiff’s status in Sandy Hook’s use in the gun control debate.


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                   (1)      Sandy Hook’s controversial relationship to the national gun rights/gun

                   control debate.

          The first controversy mentioned above includes Plaintiff’s voluntary involvement and

 participation in the government and MSM’s use of a tragedy (Sandy Hook) to push various

 political agendas, including limiting Second Amendment rights.219

          There is simply no denying that a large number of Americans distrust the government and

 the MSM. According to a Gallup poll reported September 14, 2016, trust in the media has

 steadily declined since 1976 and then sharply declined in 2016. According to Gallup, trust by

 Democrats and Independents declined but Republicans’ trust in the media “plummeted” to

 14%.220 According to Gallup, the plunge occurred because Republicans viewed the press as

 overly favorable to Ms. Clinton and unfair and negative toward Donald Trump. The ensuing

 controversy over what news constituted “fake news” has only heated up since that time.

          In the aftermath of Sandy Hook, controversies surrounding the tragedy consumed the

 nation. The mass killing was used to encourage people to support more gun control legislation

 and arm advocates to argue in their communities for restricting gun rights. The nation was

 divided with strong advocates on both sides of the argument. Plaintiff, after tragically losing his

 son, understandably took the position in the national debate that the high capacity weapons, such

 as the rifle used in the Sandy Hook shooting, had no place in the hands of the general public.

          On the other hand, many Americans, including Jones and Shroyer, took the position that

 the gun was not at fault in any way, but instead, the person who wielded the weapon was solely

 to blame. The Sandy Hook tragedy resulted in a staunch divide in the nation, as well as the



 219
     In no way does this argument imply that Plaintiff’s participation in this controversy is in any way wrongful or
 improper.
 220
     Exhibit B-73.


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 MSM’s coverage of the shooting and the government officials’ use of the tragedy to push for

 more restrictive gun control.

            Days after the Sandy Hook shooting, President Obama used Sandy Hook to again

 advocate for more restrictive gun control:

                   “I’ve been reflecting on this the last few days, and if we’re honest with
            ourselves, the answer is no. We’re not doing enough. And we will have to
            change.

                   Since I’ve been President, this is the fourth time we have come together to
            comfort a grieving community torn apart by a mass shooting. The fourth time
            we’ve hugged survivors. The fourth time we’ve consoled the families of victims.
            And in between, there have been an endless series of deadly shootings across the
            country, almost daily reports of victims, many of them children, in small towns
            and big cities all across America- victims whose- much of the time, their only
            fault was being in the wrong place at the wrong time.

                   We can’t tolerate this anymore. These tragedies must end. And to end
            them, we must change. We will be told that the causes of such violence are
            complex, and that is true. No single law- no set of laws can eliminate evil from
            the world, or prevent every senseless act of violence in our society.

                     But that can’t be an excuse for inaction. Surely, we can do better than
            this. If there is even one step we can take to save another child, or another parent,
            or another town, from the grief that has visited Tucson, and Aurora, and Oak
            Creed, and Newtown, and communities from Columbine to Blacksburg before
            that- then surely we have an obligation to try.

                    In the coming weeks, I will use whatever power this office holds to engage
            my fellow citizens- from law enforcement to mental health professionals to
            parents and educators- in an effort aimed at preventing more tragedies like this.
            Because what choice to we have? We can’t accept events like this as routine. Are
            we really prepared to say that we’re powerless in the face of such carnage, that the
            politics are too hard? Are we prepared to say that such violence visited on our
            children year after year is somehow the price of our freedom?”221

            Regardless of one’s political beliefs, the Sandy Hook shooting was used by some in the

 government and MSM to jumpstart a hotly contested debate surrounding gun control and the

 Second Amendment. That controversy has not faded.

 221
       Exhibit B-65.


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          As ABC reported, “[s]ince Sandy Hook, there have been 210 laws enacted to strengthen

 gun safety…”222 Further, Laura Cutilleta, who worked at the Law Center to Prevent Gun

 Violence for 15 years, told ABC:

          “The public, even though they’ve always been in support of strengthening gun
          laws, it hasn’t always been obvious to the public just how bad our gun laws are…
          So when Newtown happened, people couldn’t help but notice because it was such
          a horrific event, and people became more educated, more aware, and became
          mobilized to do something about it.”223

          Even former FBI Director James Comey recently used Sandy Hook as a talking point

 when advocating for harsher gun control laws:

          “Surely there are things we can agree upon that relate to who is able to buy a
          weapon, what kind of weapon and at what age, what the capabilities of the
          weapon are, how many rounds does it hold, and things like that, that in no way
          threaten the rights under the U.S. Constitution of people to keep and bear arms…
          One of the worst things that goes on in the US is the current voice of the National
          Rifle Association because it sells fear in the wake of any incident… The single
          largest gun sale month in the history of the U.S. was the month after the [20]
          children were butchered in Sandy Hook, Connecticut, on December 14,
          2012.”224

          Thus, this controversy over the use of Sandy Hook’s tragedy to spark and support gun

 control legislation was and remains “public” in the sense that people were and still are discussing

 it and people other than the immediate participants were and are likely to feel the impact of its

 resolution.

                     (2)   The NBC/Kelly/Jones interview

          Secondly, the issue with regard to Jones and Kelly’s “interview” featuring him was

 likewise publicly discussed. Indeed, numerous protests rang out when word of Kelly’s interview

 with Jones spread. Many within the nation believed that Kelly was giving Jones a national

 platform that he didn’t deserve and that her interview would allow Jones to reach a broader

 222
     Exhibit B-77.
 223
     Exhibit B-77.
 224
     Exhibit B-66.


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 audience, thus resulting in the possibility of influencing more people.225 Those who view Jones

 as a danger to society strongly opposed the possibility of Jones’ following expanding in any

 manner.

          Sandy Hook families’ vehemently advocated against the interview.226 Further, Kelly’s

 interview with Jones resulted in J.P. Morgan Chase pulling their television and digital ads from

 Kelly’s show.227 Likewise, Kelly’s interview caused a Sandy Hook nonprofit gun violence

 prevention group to drop her as the Gala host.228 The group’s co-founder, Nicole Hockley,

 provided the reason:

          “Sandy Hook Promise cannot support the decision by Megyn or NBC to give any
          form of voice or platform to Alex Jones.”229

          As the backlash grew louder, NBC held “crisis meetings about how to handle the

 backlash.”230 NBC made the decision to “overhaul” the interview. Pagesix.com reported:

          “Megyn Kelly has completely overhauled her Sunday night show featuring Alex
          Jones, inviting Sandy Hook families on the program and editing her interview
          with Jones to be tougher on him, following all the backlash this week.”231

          In fact, to mitigate the damages NBC was suffering, Kelly herself reportedly called the

 Sandy Hook families and invited them on the show to “counter Jones’ rhetoric.” The only Sandy

 Hook family member to accept the invitation to publicly comment on Jones was Plaintiff.

          Prior to the backlash, the original interview was, according to Kelly, supposed to be a

 “fun” sit-down with Jones to show “the left” another side of him other than what was reported by

 the MSM. However:



 225
     Exhibit B-71; Exhibit B-67.
 226
     Exhibit B-55.
 227
     Exhibit B-68 (Wall Street Journal).
 228
     Exhibit B-67 (The Cut).
 229
     Exhibit B-67 (The Cut).
 230
     Exhibit B-69; Exhibit B-72.
 231
     Exhibit B-56.


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         “By the time it aired, the interview had been transformed into a sober warning on
         the dangers of letting liars have platforms. Kelly introduced Jones as ‘a radical
         conspiracy theorist’ and a liar. She acknowledged the backlash upfront, saying,
         ‘Some thought we shouldn’t broadcast this interview because his baseless
         allegations aren’t just offensive, they’re dangerous.’ She then justified the
         broadcast by pointing out that ‘Alex Jones isn’t going away and his audience is
         only getting bigger, emboldened by the open support of the president, who has
         consistently praised Jones…”232

         As Rolling Stone wrote, the interview, “framed this way- as a report on the dangerous

 liar who has the ear of the president- the segment felt relevant, even slyly subversive. After all,

 to shed light on Alex Jones’ operation, which she summed up as ‘garbage in, garbage out’ is to

 shed light on Trump’s inner world.”233 Thus, the purpose of the interview went from showing the

 nation who Jones is and why he believes what he believes, to a complete bashing of Jones and

 his viewpoints. One of those viewpoints was Jones’ opinions surrounding the Sandy Hook

 coverage by the MSM and the governments’ use of the event as an avenue to push for restricting

 gun rights.

                  (B)     Plaintiff had more than a trivial or tangential role in the controversy

         To determine whether an individual had more than a trivial or tangential role in the

 controversy, a Court should consider whether the Plaintiff: (1) actively sought publicity

 surrounding the controversy; (2) had access to the media; and (3) voluntarily engaged in

 activities that necessarily involved the risk of increased exposure and injury to reputation.234

         As was detailed above, Plaintiff had more than a trivial or tangential role in this

 controversy. He actively sought publicity surrounding these controversies; had access to the

 media; and voluntarily engaged in activities that necessarily involved the risk of increased

 exposure and injury to his reputation.


 232
     Exhibit B-69.
 233
     Exhibit B- 69 (Rolling Stone).
 234
     Neyland, 2015 Tex. App. LEXIS 3337, at *19 (citing WFAA-TV, Inc., 978 S.W.2d at 572-573).


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          As described fully above, Plaintiff spoke before the Senate Judiciary Committee on

 February 27, 2013, and “pleaded with senators to ban assault weapons.” He also appeared in

 support of Senator Feinstein’s bill that would ban such weapons.235 In his testimony, Plaintiff

 said that his son lost his life “because of a gun that nobody needs and nobody should have a right

 to have.”236 He further stated “a Bushmaster was brought into an elementary school in Sandy

 Hook Connecticut and killed 20 students and six educators.”237 That testimony was widely

 distributed238 and was included among postings on The Lede and a New York Times website

 publication entitled “Latest Updates on the Gun Violence Debate.”239

          Plaintiff had more than a trivial or tangential role in the controversy surrounding the

 government and MSM’s use of a national tragedy, in this case Sandy Hook, to promote and push

 for tougher legislation with regard to gun control. As a result, Plaintiff is a limited purpose public

 figure when it comes to the government and MSM’s portrayal and use of national tragedies and

 Sandy Hook to push political agendas, including stricter gun laws.

          Likewise, in connection with Kelly’s interview of Jones, Plaintiff volunteered to be

 interviewed on camera and volunteered to provide his thoughts on Jones’ opinions. More

 specifically, one of the primary foci of the interview was to discredit Jones entirely and in doing

 so, NBC and Kelly placed a bright spotlight on Jones’ opinions surrounding Sandy Hook.

          Plaintiff actively sought publicity in the controversy because he voluntarily chose to be

 interviewed by Kelly with regard to Jones’ opinions. Clearly, he also had access to the media

 because his interview was broadcast to millions of Americans. Finally, when Plaintiff chose to be

 on camera in front of millions of Americans, those activities necessarily involved the risk of

 235
     Exhibit B-2.
 236
     Exhibit B-3 (Heslin senate testimony, Feb. 27, 2013).
 237
     Exhibit B-4 (video of Heslin senate testimony).
 238
     Exhibit B-5 (The Guardian).
 239
     Exhibit B-6 (The Lede).


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 increased exposure and injury to his reputation. Thus, Plaintiff is a limited purpose public figure

 with regard to the Kelly interview of Jones’ and Jones’ opinions and viewpoints in connection

 with Sandy Hook and its relationship to the national gun debate.

                  (C)     The alleged defamation is germane to the Plaintiff’s participation in the

                  controversy

         It is clear from the nature of the current national controversy surrounding much of the

 subject matter of this litigation, as well as Plaintiff’s repeated and voluntary participation in that

 controversy stemming from the Sandy Hook shootings, that any criticism of him related to facts

 and events related to Sandy Hook and gun control would be germane to his participation in that

 controversy.

         Sandy Hook is the epicenter of gun rights debates over the last five years. Four days after

 the tragedy, President Obama featured his call for greater gun control during his Rose Garden

 address at the Sandy Hook prayer vigil.240 Since that time, 210 new laws have been enacted to

 strengthen gun safety and additional seven more states have background checks.241

         Sandy Hook was widely considered a “watershed moment” in the national gun control

 debate. Retailers stopped selling “assault rifles” and investors pulled their money out of gun

 manufacturers. As West Virginia Senator Joe Manchin stated immediately afterwards, Sandy

 Hook “changed everything.” ABC reported that the debate over gun control was already

 “fierce.”242 That fierce debate has continued unabated and Plaintiff has been active and a public

 participant in that debate.

         Within that controversy reside the hundreds of thousands of opinions and discussions on

 the internet that reflect deep seated distrust of official government accounts of high profile

 240
     Exhibit B-21.
 241
     Exhibit B-22.
 242
     Exhibit B-23 (video ABC News).


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 tragedies. A google search conducted on July 13, 2018, of the term “Sandy Hook cover up”

 generated 36,000,000 articles. On that same day, a search of the term “Sandy Hook conspiracies”

 generated 515,000 articles. Searching “Sandy Hook shootings gun control” yielded more than

 604,000 articles.243

          There can be no doubt that Sandy Hook and subsequent investigations have been at the

 center of gun control debate in this country for years. It is not surprising then that these subjects

 have also been prominent in the debates relating to the Second Amendment in and among

 hundreds of thousands of internet sites and among those who question the governments’

 accounts of it. Contrary to his assertion, Plaintiff has, at all relevant times to this lawsuit, been a

 “limited-purpose public figure” in that debate.

          Of the complaints made by Plaintiff against Jones arising out of the July Broadcast,

 Plaintiff excludes the context of the statements made by Jones. Plaintiff mischaracterizes and

 isolates specific statements and claims that the “gist” of those statements is that Jones’ is

 somehow accusing Plaintiff of being a liar. Numerous times in the complained of broadcast,

 Jones explicitly stated that he was not accusing Plaintiff of lying or being involved in a massive

 government conspiracy. For example, the following statements were made by Jones that clearly

 establish Jones is not accusing Plaintiff of being a liar, but instead, was accusing the government

 and MSM of taking advantage of the Sandy Hook shooting:

                   “I’m not saying it didn’t happen because I’m not sure. I don’t wanna go
          that far. I’ve gotta be sure. I have a right to question that.”244

                 “But they’re using Sandy Hook and they’re using the victims and their
          families as a way to get rid of free speech in America.”245



 243
     Exhibit B, D. Jones Aff., at ¶14.
 244
     Exhibit B-35, at 7.
 245
     Exhibit B-35, at 9.


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                  “And then now they claim that I’m harassing Sandy Hook families
          because the media said I am and the media said I said go harass their families.
          And then they take down our videos where I actually clarify going back three,
          four years ago that I simply questioned because our media lied about dead babies
          in incubators… ‘I’m not ready to say kids didn’t die and point my finger at
          parents and say they’re liars.”246

                  “Is there a blue screen when Anderson Cooper’s face disappearing? Are
          there kids going in circles in the video shots? Did they hold back the helicopters?
          Did they have porta pottys there in an hour and a half? Did they run it like a big
          PR operation? Do they get all these conflicting stories in the media? Absolutely.
          And we have a right to question it. If, if they said there were new babies thrown
          out of incubators in some country and we questioned it because they’ve lied
          before and it turned out that they did actually kill babies somewhere, would I then
          hate the families that lost their babies? No. I’m questioning known liars in the
          media.”247

                 “… So let’s play the [Shroyer] report with Owen Shroyer analyzing other
          people’s reports and playing the anomaly and asking the question and quite
          frankly, the father sees, he needs to clarify, NBC needs to clarify because the
          coroner said none of the parents were allowed to touch the kids or see the kids and
          maybe they’re meaning at the school, I’m sure later maybe the parents saw their
          children. The point is, is that because the media lies so much, you can’t blame
          the public asking questions and you can’t ban free speech of people that are
          asking questions…”248

 After playing the Shroyer broadcast, Jones stated:

                  “And… you know, regardless, Bloomberg said they don’t let a good crisis
          go to waste. So did the White House Chief of Staff Rahm Emanuel at the time.
          And… bottom line there was massive PR around this. [Sandy Hook] was used to
          blame the American people to say gun owners were at blame for this and to,
          and that we had killed these children… If I kill somebody with a car on purpose,
          it’s not your fault because you own a car that I did something wrong with a car.
          Like, if I stabbed my neighbor with a butcher knife, or you do, then we’re not
          guilty for… what another person does. So we’re sick of this.

                 Do mass shootings happen? Absolutely. Can I prove that [Newtown]
          didn’t happen? No. I’ve said for years, we’ve had debates about it, that I don’t
          know, but you can’t blame people for asking…




 246
     Exhibit B-35, at 43.
 247
     Exhibit B-35, at 43.
 248
     Exhibit B-35, at 44.


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                So, I, I’m sure it’s all real. But for some reason, they don’t want you to see
         [Shroyer’s broadcast].”249

         As is clear, the July Broadcast was germane to Plaintiff’s participation in the controversy

 surrounding the government and MSM as described above.

         Likewise, the June 2017, broadcast was also germane to Plaintiff’s participation in the

 controversy surrounding Jones’ opinions and viewpoints. In fact, Plaintiff’s allegation on its face

 establishes that Shroyer’s statements were germane to Plaintiff’s participation because Shroyer

 was simply commenting upon third-party reports that claimed what Plaintiff stated in the Kelly

 interview contradicted what the official medical examiner’s report and other parents had stated.

 It is undeniable that the very basis of the alleged defamatory June Broadcast arose out of

 Plaintiff’s very insertion and publication of his views into the Jones’ controversy.

                  ii.      There is no clear and specific evidence of actual malice

         The distinction between a private plaintiff and a limited-purpose public figure in a

 defamation case is important because, while the private Plaintiff need only show the broadcaster

 of an allegedly defamatory statement “knew of should have known” that the statement was false,

 a limited-purpose public figure must show that the broadcaster had “actual knowledge that is was

 false or the statement was made with reckless disregard of whether it was false or not. 250 In other

 words, because Plaintiff is limited-purpose public figure, he must establish that the Defendants

 acted with actual malice.251

         The Texas Supreme Court has explained that “[a]ctual malice is not ill will; it is the

 making of a statement with knowledge that it is false, or with reckless disregard of whether it is




 249
     Exhibit B-35, at 46.
 250
     WFAA-TC, Inc. v. McLemore, 978 S.W.2d 568, 571 (Tex. 1998)
 251
     Carr v. Brasher, 776 S.W.2d 567, 571 (Tex. 1989).


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 true.”252 In fact, the “constitutional focus is on the defendant’s attitude toward the truth, not his

 attitude toward the plaintiff.”253

           Further, “reckless disregard’ is defined as a high degree of awareness of probable falsity,

 for proof of which the plaintiff must present ‘sufficient evidence to permit the conclusion that the

 defendant in fact entertained serious doubts as to the truth of his publication.’”254

           The “actual malice” standard also differs depending on what Plaintiff alleges was

 defamatory. When a claim for defamation is based on individual statements, actual malice is

 defined as publishing a statement with knowledge of or reckless disregard for its falsity.255

           However, if the defamation claim is based on an entire publication, actual malice is

 defined as publishing a statement that the Defendant knew or strongly suspected could present,

 as a whole, a false and defamatory impression of events.256 As the Texas Supreme Court has

 stated:

           “This rule stems from the actual malice standard’s purpose of protecting innocent
           but erroneous speech on public issues, while deterring ‘calculated falsehood.’” A
           publisher’s presentation of facts may be misleading, even negligently so, but is
           not a ‘calculated falsehood’ unless the publisher knows or strongly suspects that it
           is misleading.”257

           Plaintiff cannot show clear and specific evidence that actual malice was present in any of

 the alleged defamatory statements and/or broadcasts. Furthermore, mere questioning of official

 reports and citing inconsistencies in statements made by others is not evidence of actual

 malice.258 Importantly, none of the Defendants had knowledge that any statement and/or


 252
     Carr, 776 S.W.2d at 571.
 253
     Greer v. Abraham, 489 S.W.3d 440, 444 (Tex. 2016).
 254
     Carr, 776 S.W.2d at 571 (emphasis added).
 255
     Neely, 418 S.W.3d at 69.
 256
     Turner v. KTRK TV, Inc., 38 S.W.3d 103, 120-121 (Tex. 2000).
 257
     Turner, 38 S.W.3d at 120.
 258
     See, e.g., Bose, 466 U.S. at 512-13 (choice of language to describe an “event ‘that bristled with ambiguities’ and
 descriptive challenges for the [speaker] . . . does not place the speech beyond the outer limits of the First
 Amendment’s broad protective umbrella.”).


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 broadcast was false, nor did they entertain serious doubts as to the truth of their statements and

 broadcasts. Further, none of the Defendants knew or strongly suspected that any statement and/or

 broadcast was misleading.259

                   d.        There is no clear and specific evidence that any alleged defamatory

                   publication was the proximate cause of Plaintiff’s injuries

          Finally, there is no clear and specific evidence that each of the alleged defamatory

 publications was the proximate cause of Plaintiff’s injuries.260

          As shown above, Plaintiff and the other Texas Plaintiffs have previously sued the City of

 Newtown as well as Remington for their tremendous loss and mental anguish. The loss of a child

 is cause enough for deep and long lasting mental anguish. But the loss is such a manner and so

 nationally publicized must be even more so. Surely the loss and the anguish remain on a daily

 basis for these parents. But neither the loss nor anguish was caused by Defendants. Indeed, for

 whatever reason, the tragedy at Sandy Hook has been the subject of numerous conspiracies

 described or repeated by thousands of people over the years. Just as it would be impossible for a

 family member to demonstrate harm caused by any particular person who opined that the 9/11

 terrorist attack was a hoax because that hoax theory is so widely discussed, Plaintiff cannot

 show that any harm from the alleged defamation was caused by these Defendants.

          2.       Defamation Per Se

           “Defamation per se refers to statements that are so obviously harmful that general

 damages… may be presumed.”261 A statement is defamatory per se “if the words in and of

 themselves are so obviously hurtful to the person aggrieved by them that they require no proof of

 injury… If the court must resort to innuendo or extrinsic evidence to determine that the statement

 259
     Exhibit A, A. Jones Aff., at ¶5; see also Exhibit D, Shroyer Aff., at ¶13.
 260
     Bos, 2018 Tex. LEXIS 524, at *27.
 261
     Brady v. Klentzman, 515 S.W.3d 878, 886 (Tex. 2017).


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 was defamatory,” then the alleged statement constitutes defamation per quod and “requires proof

 of injury and damages.262

            There is no clear and specific evidence that any of the alleged defamatory statements

 and/or broadcasts, in and of themselves, were so obviously harmful or fall within one of the

 categories of defamation per se. There is no clear and specific evidence that the statements

 and/or broadcasts: (1) injured Plaintiff’s reputation and thus, exposed him to public hatred,

 contempt or ridicule, or financial injury; (2) impeached Plaintiff’s honesty, integrity, virtue, or

 reputation; or (3) published Plaintiff’s natural defects and thus exposed him to public hatred,

 ridicule, or financial injury.

            Further, there is no clear and specific evidence that the statements and/or broadcasts: (1)

 falsely charged Plaintiff with the commission of a crime; (2) injured Plaintiff in his office,

 profession or occupation; (3) imputed that Plaintiff presently has a loathsome disease; or (4)

 imputed sexual misconduct to Plaintiff. Therefore, there is no clear and specific evidence to

 support Plaintiff’s claims for defamation per se.

            3.       Conspiracy

            Under Texas law, an action for civil conspiracy requires five elements: (a) a combination

 of two or more persons; (b) the persons seek to accomplish an object or course of action; (c) the

 persons reach a meeting of the minds on the object or course of action; (d) one or more unlawful,

 overt acts are taken in pursuance of the object or course of action; and (e) damages occur as a

 proximate result.263

                     a.       There is no clear and specific evidence of a combination of two or more

                     persons


 262
       Main v. Royall, 348 S.W.3d 381, 390 (Tex. App.- Dallas 2011, no pet.).
 263
       Tri v. J.T.T., 162 S.W.3d 552, 556 (Tex. 2005).


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         To prove conspiracy, the Plaintiff must establish that the Defendant was a member of a

 combination of two or more persons.264 However, Texas law is clear that a single entity cannot

 conspire with itself.265 Because a corporation cannot conspire with itself, corporate agents cannot

 conspire with each other when they participate in corporate action. 266 Likewise, an agent cannot

 conspire with its principal267 because “the acts of an agent and its principal are the acts of a

 single entity, and cannot constitute conspiracy.”268

         There is no clear and specific evidence that Defendants, either individually or

 collectively, are legally capable of constituting “a combination of two or more persons.”

                  b.       There is no clear and specific evidence that Defendants sought to

                  accomplish an object or course of action

         Plaintiff also must establish that the object of the combination was to accomplish: (i) an

 unlawful purpose; or (ii) a lawful purpose by unlawful means.269 Plaintiff must show that at least

 one of the named Defendants was liable for an underlying tort270 because the basis of a

 conspiracy claim is the damage resulting from the commission of the trot, not the conspiracy

 itself.271 Further, there can be no conspiracy to accomplish a lawful purpose by lawful means,

 even when the Defendants acted with malice, which is not the case here.272


 264
     Firestone Steel Prods. v. Barajas, 927 S.W.2d 608, 614 (Tex. 1996).
 265
     Fisher v. Yates, 953 S.W.2d 370, 382 (Tex. App.- Texarkana 1997, pet. denied); see also Editorial Caballero,
 S.A. de C.V. v. Playboy Enters., 359 S.W.3d 318, 337 (Tex. App.- Corpus Christi 2012, pet. denied) (“[A] company
 cannot conspire with its own employees as a matter of law.”).
 266
     Crouch v. Trinque, 262 S.W.3d 417, 427 (Tex. App- Eastland 2008, no pet.); Wilhite v. H.E. Butt Co., 812
 S.W.2d 1, 5 (Tex. App.- Corpus Christi 1991, no writ) (holding that, as a matter of law, a corporation cannot
 conspire with itself, no matter how many agents of the corporation participate in the alleged conspiracy); Bayou
 Terrace Inv. Corp. v. Lyles, 881 S.W.2d 810, 815 (Tex. App.- Houston [1st Dist.] 1994, no writ) (“[A] corporation
 cannot conspire with its own management personnel or employees when they act within the scope of their
 employment or in an agency relationship.”).
 267
     Bradford v. Vento, 48 S.W.3d 749, 761 (Tex. 2001).
 268
     Lyons v. Lindsey Morden Claims Mgmt., 985 S.W.2d 86, 91 (Tex. App.- El Paso 1998, no pet.).
 269
     ERI Consulting Eng’rs, Inc. v. Swinnea, 318 S.W.3d 867, 881 (Tex. 2010).
 270
     Tilton v. Marshall, 925 S.W.2d 672, 681 (Tex. 1996).
 271
     Schlumberger Well Surv. Corp. v. Nortex Oil & Gas Corp., 435 S.W.2d 854, 856 (Tex. 1968).
 272
     Brown v. American Freehold Land Mortg. Co., 80 S.W. 985, 987 (Tex. 1904).


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          There is no clear and specific evidence that the object of any alleged combination was to

 accomplish an unlawful purpose or a lawful purpose by unlawful means. More specifically,

 because there is no clear and specific evidence to support the elements of Plaintiff’s defamation

 and defamation per se claims, the claim for conspiracy likewise fails.273

                   c.       There is no clear and specific evidence that Defendants reached a

                   meeting of the minds on the object or course of action

          In addition, Plaintiff must also establish that the parties involved has a meeting of the

 minds about the object of their conspiracy.274 To have a meeting of the minds, the conspirators

 must have knowledge of the object and purpose of the conspiracy.275 A Defendant without

 knowledge of the object and purpose of a conspiracy cannot be a conspirator; it cannot agree,

 either expressly or tacitly, to the commission of a wrong of which it is not aware. 276 Likewise,

 “meeting of the minds” means there was an agreement or understanding between conspirators to

 inflict a wrong on another party.277

          There is no clear and specific evidence that there was a “meeting of the minds” on the

 object or course of action between Defendants, irrespective of whether they are legally capable

 of conspiring with one another.

                   d.       There is no clear and specific evidence of one or more unlawful, overt

                   acts that were taken in pursuance of the object or course of action



 273
     MKC Energy Invs., Inc., 182 S.W.3d at 378 (“When non-libel claims are based on a libel cause of action, the
 person claiming a defamatory statement must first establish the libel elements in order to recover on the non-libel
 claims.”). In this case, Plaintiff’s non-defamation claim, conspiracy, rests entirely on their claim for defamation.
 Therefore, without prevailing on their claim for defamation, Plaintiff’s conspiracy claim fails as a matter of law.
 274
     Transport Ins. v. Faircloth, 898 S.W.2d 269, 278 (Tex. 1995).
 275
     Schlumberger Well Surv. Corp., 435 S.W.2d at 857.
 276
     Schlumberger Well Surv. Corp., 435 S.W.2d at 857.
 277
     Chu v. Hong, 249 S.W.3d 441, 446 (Tex. 2008) (“[Conspiracy Defendant] could only be liable for conspiracy if
 he agreed to the injury to be accomplished; agreeing to the conduct ultimately resulting in injury is not enough.”)
 (emphasis in original).


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         Plaintiff must also establish that one of the persons involved committed at least one

 unlawful, overt act in furtherance of the conspiracy.278 There is no clear and specific evidence

 that one or more persons committed at least one unlawful, overt act in furtherance of the alleged

 conspiracy.

                  e.       There is no clear and specific evidence that damages occurred as a

                  proximate result

         Finally, Plaintiff must also establish that he suffered damages as a proximate result of the

 wrongful act underlying the conspiracy.279 Any recovery for a conspiracy is based on the injury

 caused by the underlying tort280 because the conspiracy is not in itself a harm meriting

 damages.281 There is no clear and specific evidence that damages occurred as a proximate result

 of any alleged conspiracy.

         4.       Respondeat Superior

         The elements of respondeat superior are: (a) the Plaintiff was injured as the result of a

 tort; (b) the tortfeasor was an employee of the Defendant; and (c) the tort was committed while

 the employee was acting within the scope of employment.

                  a.       There is no clear and specific evidence that the Plaintiff was injured as a

                  result of a tort

         To hold a Defendant vicariously liable under respondeat superior, the Plaintiff must

 prove that he was injured as the result of a tort.282 There is no clear and specific evidence that the

 Plaintiff was injured as a result of any tort.


 278
     Massey v. Armco Steel Co., 652 S.W2d 932, 934 (Tex. 1982).
 279
     ERI Consulting Eng’rs, Inc., 318 S.W.3d at 881.
 280
     Lesikar v. Rappeport, 33 S.W.3d 282, 301-302 (Tex. App.- Texarkana 2000, pet. denied).
 281
     Deaton v. United Mobile Networks, L.P., 926 S.W.2d 756, 760 (Tex. App.- Texarkana 1996) (no damages for
 conspiracy because it is not independent cause of action), rev’d in part on other grounds, 939 S.W.2d 146 (Tex.
 1997).
 282
     G&H Towing Co. v. Magee, 347 S.W.3d 293, 296 (Tex. 2011).


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                   b.       There is no clear and specific evidence that any alleged tortfeasor was

                   an employee of the Defendants

          The Plaintiff must also establish that the alleged tortfeasor was an employee of the

 Defendant.283 There is no clear and specific evidence that any alleged tortfeasor was an

 employee of the Defendants.

                   c.       There is no clear and specific evidence that any alleged tort was

                   committed while the employee was acting within the scope of employment

          Finally, the Plaintiff must establish that the employee was acting within the scope of

 employment when the tort was committed.284 There is no clear and specific evidence that that

 any alleged employee of the Defendants were acting within the scope of their employment when

 the tort was committed.

          5.       Exemplary Damages

          Pursuant to §73.055(c) of the Texas Civil Practice & Remedies Code:

          “If not later than the 90th day after receiving knowledge of the publication, the
          person does not request a correction, clarification, or retraction, the person may
          not recover exemplary damages.”285

          Plaintiff did not contact Defendants about the Broadcasts with the ninety-day

 requirement. Instead, Plaintiff waited until April 11, 2018, almost a year after the alleged

 defamatory statements and broadcasts were published, and just weeks before filing suit.286

 Accordingly, any claim for exemplary damages is barred.287




 283
     Baptist Mem’l Hosp. Sys. v. Sampson, 969 S.W.2d 945, 947 (Tex. 1998).
 284
     Goodyear Tire & Rubber Co. v. Mayes, 236 S.W.3d 754, 757 (Tex. 2007).
 285
     Tex. Civ. Prac. & Rem. Code §73.055(c).
 286
     Exhibit C, Taube Aff., and its attached Exhibit C-1.
 287
     Tex. Civ. Prac. & Rem. Code §73.055(c). Plaintiff’s Original Petition claims that they are “also entitled to
 exemplary damages because the Defendants acted with malice.” Because of their failure to follow the statutory
 ninety-day requirement as described above, this claim against Defendants is barred as a matter of law.


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 C.      Defendants are entitled to dismissal because they can prove by a preponderance of

 the evidence each essential element of their defenses

         Even if Plaintiff was able to produce clear and specific evidence of each of his claims for

 defamation, defamation per se, conspiracy and respondeat superior, this Court must still

 nonetheless dismiss each of his claims because Defendants can establish one or more valid

 defenses to Plaintiff’s claims by a preponderance of the evidence.288

         1.       Statute of Limitations

         The limitations period for an action for defamation is one year289 and the claim accrues

 when the matter is published or circulated.290 Importantly, the “single publication rule” provides

 that the “publication” is complete on the last day of the mass distribution of copies of the printed

 matter.291 The “single publication rule” applies to online publications, including internet posts

 and television station’s news reports that are publicly available on the internet.292

         To the extent that Plaintiff argues and/or claims that somehow the alleged “long history”

 of defamatory statements described and included in paragraphs 26-48 of Plaintiff’s petition,

 constitute independent claims, such claims are barred by the statute of limitations. The focus of a

 defamation inquiry is whether the alleged defamatory statement/broadcast (in this case, the June

 and July Broadcast) is in and of itself defamatory. Indeed, the Austin Court of Appeals has made

 it clear that “the focus remains on whether the specific publication is defamatory at all…”293




 288
     Tex. Civ. Prac. & Rem. Code §27.005(d).
 289
     Tex. Civ. Prac. & Rem. Code §16.002(a).
 290
     Deaver, 483 S.W.3d at 674.
 291
     Forbes Inc., 124 S.W.3d at 173; Mayfield, 444 S.W.3d at 227.
 292
     Mayfield, 444 S.W.3d at 230; Deaver, 483 S.W.3d at 675-676.
 293
     Cox Tex. Newspapers, L.P., 219 S.W.3d at 436.


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         2.       Opinion

         As stated above, whether a particular statement is a protected expression of opinion or an

 actionable statement of fact is a question of law for this Court. 294 “All assertions of opinion are

 protected by the First Amendment of the United States Constitution and article I, section 8 of the

 Texas Constitution.”295 In determining whether a statement is that of an opinion, “the Court

 should: (1) analyze the common usage of the specific language to determine whether it has a

 precise, well understood core of meaning that conveys facts, or whether the statement is

 indefinite and ambiguous; (2) assess the statement’s verifiability, that is, whether it is objectively

 capable of being prove true or false; (3) consider the entire context of the article column,

 including cautionary language; and (4) evaluate the kind of writing or speech as to its

 presentation as commentary or ‘hard’ news.”296

         Furthermore, when one states a fact upon which he or she bases the opinion, or the

 opinion is based upon facts that are common knowledge, or the facts are readily accessible to the

 recipient, these fall into the category of pure opinion.297 Even if not directed at the MSM, Kelly,

 NBC and the government, as they were, at most these statements were rhetorical hyperbole.298

 Thus, as is clear throughout this Motion and the Broadcasts, Plaintiff cannot prevail on his

 claims because the alleged defamatory statements and broadcasts were Defendants’ opinions.

         3.       Infowars is not liable

         Infowars, LLC has no relationship to Plaintiff’s claims. It does not own or operate the

 domain name or website located at http://www.infowars.com. It has never employed Alex Jones


 294
     Carr, 776 S.W.2d at 570
 295
     Carr, 776 S.W.2d at 570.
 296
     Yiamouyiannis v. Thompson, 764 S.W.2d 338, 341 (Tex. App.- San Antonio 1988, writ denied).
 297
     Lizotte v. Welker, 45 Conn. Supp. 217, 709 A. 2d 50, 59(Conn. Super. Ct 1996) cited by Farias v. Garza, 426
 SW 3d 808, 819 (Tex. – App. San Antonio 2014, pet. denied) .
 298
     Farias v. Garza, 426 SW 3d 808, 819 (“secret, illegal and corrupt” and “blatant coverup attempt” were held to be
 rhetorical hyperbole).


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 or Owen Shroyer. It has never had authority over or control of the content of the broadcasts

 including any of the allegedly defamatory broadcasts.299

          4.       Texas Civil Practice & Remedies Code §73.005: Substantial Truth

          A media Defendant can “defeat a defamation cause of action by establishing the

 ‘substantial truth’ of the broadcast in question.”300 “[A] media defendant’s reporting that a third

 party has made allegations is ‘substantially true’ if, in fact, those allegations have been made and

 their content is accurately reported.”301 Although this doctrine does not necessarily apply to all

 broadcasts that publish third-party reports,302 it is directly on point with the facts before this

 Court.

          In this case, Shroyer accurately reported the allegations and publications of third-parties

 Zero Hedge and iBankCoin. The “gist” of Shroyer’s broadcast, which was a report and

 commentary on the allegations and publications of third-parties, was that Zero Hedge posted an

 article claiming that Kelly and NBC failed to “fact check” Plaintiff’s statements made on the

 NBC broadcast. Shroyer’s broadcast is true because Zero Hedge did post an article making those

 claims as reported by Shroyer. Indeed, the title of the Zero Hedge article was “Megyn Kelly Fails

 To Fact Check Sandy Hook Father’s Contradictory Claim In Alex Jones Hit Piece.”303

          Further, during the June Broadcast, Shroyer stated:

                  “[F]eatured in Megyn Kelly’s expose, Neil Heslin, a father of one of the
          victims, during the interview described what happened the day of the shooting.
          And, basically, what he said, the statement he made, fact checkers on this have
          said, cannot be accurate. He’s claiming that he held his son, and saw the bullet
          hole in his head. That is his claim.


 299
     Exhibit B, D. Jones Aff., at ¶67.
 300
     Avila, 394 S.W.3d at 657 (citing McIlvain v. Jacobs, 794 S.W.2d 14, 15 (Tex. 1990).
 301
     Avila, 394 S.W.3d at 657.
 302
     See Neely, 418 S.W.3d at 65 (“But we do not foreclose the possibility that the gist of some broadcasts may
 merely be allegation reporting, such that one measure for the truth of the broadcast could be whether it accurately
 relayed the allegations of a third party.”).
 303
     Exhibit D-1.


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                 Now, according to a timeline of events, and a coroner’s testimony, that is
          not possible…”304

          The article upon which Shroyer was accurately reporting stated the following:

                “… Kelly and NBC aired footage of the grieving father of a Sandy Hook
          massacre victim which contains a major contradiction to the official story.

                   …

                  Jim Fetzer, Professor Emeritus at the University of Minnesota who wrote a
          book claiming Sandy Hook was staged, notes that based on the facts of the case,
          Heslin’s statement that he ‘held his son with a bullet hole through his hear’ could
          not have happened. According to Coroner Wayne Carver, M.C., the parents of the
          victims weren’t allowed to see their children’s bodies- and were instead show
          pictures to identify the deceased. Anderson Cooper even interviewed the parents
          of one of the victims about not being able to see their child…

                  While it’s entirely possible that Mr. Heslin had access to his son after the
          shooting, given the highly contentious nature of the Sandy Hook massacre in
          which every aspect of the case has been pored over and dissected- it was
          incumbent upon Megyn Kelly and NBC to familiarize themselves with all sides of
          the argument so they could have identified and explained Heslin’s statement.”305

          During Shroyer’s June Broadcast, he also showed the same videos that were cited and

 shown in the Zero Hedge article. Therefore, Shroyer’s broadcast is “substantially true” because

 the allegations made with regard to Plaintiff’s statements were actually made and Shroyer fully

 and accurately reported and portrayed those allegations. Likewise, the July Broadcast was also

 substantially true with regard to his statements made concerning the alleged defamatory June

 Broadcast.

          Regardless, the Texas Supreme Court has made clear that:

          “[A] true account which does not create a false impression by omitting material
          facts or suggestively juxtaposing them is not actionable, regardless of the
          conclusions that people may draw from it.”306



 304
     Exhibit B-36; Exhibit B-38.
 305
     Exhibit D, Shroyer Aff., at ¶7 and its attached Exhibit D-2.
 306
     Turner, 38 S.W.3d at 118.


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 The Court also held that “[l]ibel law cannot require a news organization to air the interviews of

 everyone who might speak on a public figure’s behalf.”307

             Plaintiff’s primary complaint is that Defendants allegedly defamed him by calling him a

 liar with respect to holding his child. Plaintiff’s Petition also claims that:

             “In addition, a minimal amount of research would have caused any competent journalist
             not to publish the defamatory accusation. According to contemporary news accounts, the
             bodies of the victims were released from the medical examiner into the custody of the
             families.”308

             Even if Plaintiff’s allegation is accurate, that there were “contemporary news accounts”

 that stated the bodies of the victims were released, absolutely nothing would have changed with

 regard to the “gist” or theme of either the June or July Broadcast. Regardless of how many “news

 accounts” stated that the bodies were released, Plaintiff cannot avoid the clear fact that there was

 in fact a contradiction arising from the medical examiners statements when he claimed the bodies

 were not released to the parents. Thus, there was no false impression given by Defendants

 because, regardless of what others reported, the medical examiner stated that the bodies were not

 released.

             In fact, according to Plaintiff’s argument, if there was a “contemporary news account”

 that stated the bodies were released, Defendants, as well as all citizens, would be precluded and

 forbidden from questioning that news account. They would simply have to accept what the MSM

 reported as true no matter what, or else they would suffer the same fate that Defendants have and

 would be sued for defamation.

             After all, as Plaintiff argues, if one question’s or criticizes the government or MSM

 regarding a controversial topic, tangential “players” involved in the controversy in any way



 307
       Turner, 38 S.W.3d at 122.
 308
       Plaintiff’s Original Petition, at ¶21.


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 would be able to maintain a defamation action.309 Thus, if that were the case, criticizing the

 government itself would expose any person to a defamation lawsuit by countless individuals who

 are connected in any manner to that which was criticized. Free Speech would be destroyed. This

 cannot be the law:

         “Criticism of government is at the very center of the constitutionally protected
         area of free discussion. Criticism of those responsible for government operations
         must be free, les criticism of government itself be penalized.”310

         5.       Texas Civil Practice & Remedies Code §73.002: Fair Comment Privilege

         The “fair comment privilege” is an affirmative defense to a defamation action, embodied

 in Section 73.002(b)(2) of the Texas Civil Practice & Remedies Code, “provides that a broadcast

 is privileged if it is a ‘reasonable and fair comment on or criticism of an official act of a public

 official or other matter of public concern published for general information.”311 “Comments

 based on substantially true facts are privileged if fair.”312

         As is detailed above, Shroyer’s broadcast was not only substantially true, but his

 comments based on the Zero Hedge article were fair and reasonable. 313 Therefore, Shroyer’s

 statements are privileged because his comments were made as criticism of a matter of public

 concern (the Kelly and NBC broadcast that was criticized by Zero Hedge and iBankCoin) and

 those same comments were published for general information.

         6.       Texas Civil Practice & Remedies Code §73.004: Broadcaster Privilege

         A “broadcaster is not liable in damages for a defamatory statement published or uttered in

 or as a part of a radio or television broadcast by one other than the broadcaster unless the


 309
     Plaintiff’s argument is essentially that any criticism of governmental wrongdoing regarding a national tragedy
 exposes that person to defamation lawsuits to every member of any victim connected to the tragedy.
 310
     Rosenblatt, 383 U.S. at 85 (emphasis added).
 311
     Neely, 418 S.W.3d at 70 (citing Tex. Civ. Prac. & Rem. Code §73.002(b)(2); see also D Magazine Partners, L.P.,
 529 S.W.3d at 441.
 312
     Neely, 418 S.W.3d at 70.
 313
     Exhibit D, Shroyer Aff., at ¶1-10.


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 complaining party proves that the broadcaster failed to exercise due care to prevent the

 publication or utterance of the statement in the broadcast.”314 Even if the Zero Hedge article was

 defamatory toward the Plaintiff, Shroyer is protected by the broadcaster privilege he did not fail

 to exercise due care in his broadcast.

 D.       Attorneys’ Fees and Sanctions

          The TCPA requires the trial court to award court costs, reasonable attorney's fees, and

 other expenses to the movant upon dismissal of a “legal action" under the TCPA.315 Similarly,

 the TCPA requires the Court to award sanctions against the non-movant for the dismissal of a

 legal action.316 The TCPA defines a "legal action" as, among other things, a single cause of

 action.317 Thus, should any one of the numerous causes of action brought by Plaintiff be

 dismissed, an attorneys’ fees and sanctions award is mandatory.

          Accordingly, Defendants request that the Court set a hearing on this Motion to Dismiss

 within sixty days of the date of service of this Motion.318 Defendants further request that upon

 dismissal of Plaintiff’s claims, the Court award them attorney fees and costs incurred in

 defending this civil action.319

                                                         VII.

                                                  CONCLUSION

          The true gravamen of Plaintiff’s claim is that it is simply too hurtful for others, including

 Jones, to question aspects of the events surrounding the most tragic and sorrow-filled day in their

 314
     Tex. Civ. Prac. & Rem. Code §73.004; Avila v. Larrea, 394 S.W.3d 646, 657 (Tex. App.- Dallas 2012, no pet.).
 315
     Tex. Civ. Prac. & Rem. Code §27.009(a)(1); Hawxhurst v. Austin’s Boat Tours, 2018 Tex. App. LEXIS 2081,
 *22-23 (Tex. App.- Austin Mar. 22, 2018, no pet. h.).
 316
     Tex. Civ. Prac. & Rem. Code §27.009(a)(2) (“If the court orders dismissal of a legal action under this chapter, the
 court shall award to the moving party… sanctions against the party who brought the legal action as the court
 determines sufficient to deter the party who brought the legal action from bringing similar actions described in this
 chapter.”).
 317
     Tex. Civ. Prac. & Rem. Code §27.001(6).
 318
     Tex. Civ. Prac. & Rem. Code § 27.004.
 319
     Tex. Civ. Prac. & Rem. Code § 27.009.


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 lives. Others, understandably sympathetic to Plaintiff’s tremendous loss and in admiration of his

 perseverance and pursuit of his goals, likewise may feel repulsed by Jones’ expressions and may

 be supportive of Plaintiff’s claims against Defendants. Clearly, to many, his speech is offensive.

 Just as clearly, speech can never be silenced because it offends or is unpopular.

           During arguments before the United States Supreme Court in the emotion-laden case of

 Albert Snyder for defamation against protesters at his marine son’s funeral, Justice Ginsburg

 asked if the First Amendment must tolerate “exploiting this bereaved family.” The protesters

 carried signs saying, “Thank God for Dead Soldiers” and “You’re Going to Hell.” The case pit

 the right of the father to grieve privately against the protesters’ right to say what they want, no

 matter how offensive. The ACLU’s position was clear even though it abhorred the content of the

 speech.

                   "The First Amendment really was designed to protect a debate at the
           fringes. You don't need the courts to protect speech that everybody agrees with,
           because that speech will be tolerated. You need a First Amendment to protect
           speech that people regard as intolerable or outrageous or offensive- because that
           is when the majority will wield its power to censor or suppress, and we have a
           First Amendment to prevent the government from doing that.320

           Faced with the obvious and critical tension between the father’s right to grieve in private

 and the First Amendment rights of the protesters to say such offensive and vile expressions, the

 Supreme Court held eight to one for the protesters.321 Recognizing this painful conflict between

 free speech and Snyder’s terrible loss, the Court wrote:

                   “If there is a bedrock principle underlying the First Amendment, it is that
           government may not prohibit the expression of an idea simply because society
           finds the idea itself offensive or disagreeable…indeed the point of all speech
           protection…is to shield just those choices of content that in someone’s eyes are
           misguided, or even hurtful.”322

 320
     Exhibit B-40 (ACLU Legal Director Steven Shapiro on NPR) (https://www.aclu.org/blog/free-speech/protecting-
 outrageous-offensive-speech) (emphasis added).
 321
     Snyder v. Phelps, 562 U.S. 443 (2011).
 322
     Snyder, 562 U.S. at 458.


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                   “Speech is powerful. It can stir people to action, move them to tears of
            both joy and sorrow, and – as it did here – inflict great pain. On the facts before
            us, we cannot react to that pain by punishing the speaker. As a nation, we have
            chosen a different course – to protect even hurtful speech on public issues to
            ensure that we do not stifle public debate.”323

            Because this suit is based on, relates to or is in response to the Defendants’ exercise of

 their First Amendment rights, the TCPA applies. Because the Plaintiff cannot provide clear and

 specific evidence of each element of each of his claims, this suit must be dismissed. This is

 especially so because Defendants have produced a preponderance of evidence establishing each

 element of their affirmative defenses.

                                                        VIII.

                                                       PRAYER

            WHEREFORE PREMISES CONSIDERED, Defendants respectfully requests that the

 Motion be granted and the Court grant them such other and further relief as the Court deems

 equitable, just and proper.

                                                       RESPECTFULLY SUBMITTED,

                                                       GLAST, PHILLIPS & MURRAY, P.C.


                                                               /s/ Mark C. Enoch
                                                       Mark C. Enoch
                                                       State Bar No. 06630360
                                                       14801 Quorum Drive, Suite 500
                                                       Dallas, Texas 75254-1449
                                                       Telephone:     972-419-8366
                                                       Facsimile:     972-419-8329
                                                       fly63rc@verizon.net


                                                       ATTORNEY FOR DEFENDANTS



 323
       Snyder, 562 U.S. at 460-461 (emphasis added).


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                                     CERTIFICATE OF SERVICE

         I hereby certify that on this 13th day of July, 2018, the foregoing was sent via
 efiletxcourts.gov’s e-service system to the following:


 Mark Bankston
 Kaster Lynch Farrar & Ball
 1010 Lamar, Suite 1600
 Houston, TX 77002
 713-221-8300
 mark@fbtrial.com



                                                                   /s/ Mark C. Enoch
                                                             Mark C. Enoch




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                                    NO. D-1-cN-18-001835

 NEIL HESLIN,                                  $               IN THE DISTRICT COURT OF
        Plaintffi                              $
                                               $
 V                                             $               TRAVISCOLINTY,TEXAS
                                               $
 ALEX E. JONES, INFOV/ARS, LLC,                $
 FREE SPEECH SYSTEMS, LLC, and                 $
 OWEN SHROYER                                  $
     Defendants                                $                  26 1't   JUDICIAL DISTRICT


                                     AVIT OF ALEX
 STATE OF TEXAS                $
                               $
 COI.'NTY OF TRAVIS            $



        BEFORE ME, the undersigned notary public, on this day personally appeared

 Alex E. Jones, known to me to be the person whose name is subscribed below, and who

 on his oath, deposed and stated as follows:

        L         My name is Alex E. Jones. I am over the age of 2l years, have never been

 convicted of a felony or crime involving moral turpitude, am of sound mind, and am fully

 competent to make this     affidavit. I have personal knowledge of the facts herein    stated

 and they are true antl correct.

        2.        I regularly criticize the mainstream media (MSM) for what I view   as biased

 reporting intended to sway public opinion in a liberal direction. In my JuIy 20, 2017

 broadcast,   I   criticized YouTube and Google for refusing first amendment rights by

 accepting false copyright claims to remove posts.    I   criticized MSM for claiming   I was
 harassing Sandy Hook families and telling others         to harass those families and for
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 removing my own videos.       I then continued to criticize CNN and Anderson         Cooper,

 mentioning that MSM had a history of false reporting. One of the videos that MSM had

 censored was Owen Shroyer's of June 25,2017 in which he reported others' criticisms        of
 NBC and Megyn Kelly for failing to fact check aspects of NBC's broadcast of June          18,

 2017 and sloppy reporting.

          3.     The entire context of my remarks was within my expression of my opinions

 about the lack of honesty and integrity from MSM and our government. This is consistent

 with my firm and long shared beliefs in defending the First and Second Amendments and

 my criticisms of MSM's and the government's exploitation of tragic and notorious

 events, such as the Sandy Hook shootings, to restrict free speech and gun ownership in

 this country. I have long believed and opined that MSM and our government will report

 "fake news" in order to mislead people and manipulate public opinions.

          4.     In addition, NBC's broadcast with Ms. Kelly's voice overs and editing was

 intended to and did unfairly and inaccurately portray and criticize my own beliefs and

 opinions and was also intended        to criticize many   others who similarly question our

 government and MSM reports.      I   also believe that NBC also intended to create and profit

 by controversy surrounding ffie, my companies and my opinions. They intentionally

 fanned this controversy by slanting their reporting       of my interview and by including
 interviews with others to criticize and rebut what they intended to convey to their viewers

 as   my opinions. One of their goals appeared to be to cast my views and reporting as "fake

 news" just as   I have criticized NBC and other MSM companies for reporting fake news.




 AFFIDAVIT OF ALEX E. JONES -Page2
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 What is and is not "fake news" has been an extremely contentious topic and controversy

 in and among the media and general population for the past several years.

         5.     During the July 20,2017 broadcast about which Plaintiff complains,          I did not
 know that any fact I stated was false nor did I intend to convey any false impression with regard

 to Mr. Heslin. Prior to the broadcast, I became aware of Owen Shroyer's comments on June 25,

 2017 when he reported and commented on an article published online by Zerc Hedge entitled

 "Megyn Kelly Fails To Fact Check Sandy Hook Father's Contradictory Claim In Alex Jones Hit

 Piece." Prior to the July 20 broadcast I saw no reports that stated the bodies had been released to

 the families in contradiction to the reports described and referred to in the Zerc Hedge article or

 the videos that Owen showed.   I did not know that the article's reporting or that any source's facts

 contained therein was false when I discussed the Shroyer broadcast and showed it during the July

 20 broadcast nor at the time of the that broadcast did      I   have any serious doubts as to their

 veracity.

         6.      I   am the sole member of Defendant Free Speech Systems, LLC and the

 sole member of Infowars, LLC.

         7.    Neither I nor Owen Shroyer has ever been an employee of Infowars, LLC.

         Further Affiant Sayeth Not.




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              STVORN T() and SUUSCRITSHD hef'rrre me try Alex Ë. Jcnes on July                  &Å"
    ?0r   I



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    My Comrnission Expires:

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                                      NO. D-r-GN-18-001835

   NEIL HESLIN,                                  $              IN THE DISTRICT COURT OF
                                                 $
            Plaintffi                            $
                                                 $
                                                 $              TRAVIS COLTNTY, TEXAS
                                                 $
   ALEX E. JONES, INFOWARS, LLC,                 $
   FREE SPEECH SYSTEMS, LLC, ANd                 $
   OWEN SHROYER,                                 $
            Defendants                            $              26I't JUDICIAL DISTRICT

                                ,AF'F'IDAVIT OF DAVID JONES

   STATE OF TEXAS                $
                                 $
   COLTNTY OF TRAVIS             $



            BEFORE ME, the undersigned notary public, on this day personally appeared

   David Jones, known to me to be the person whose name is subscribed below, and who on

   his oath, deposed and stated as follows:

            1.     My name is David Jones. I am over the age of 2l years, have never      been


   convicted of a felony or crime involving moral turpitude, am of sound mind, and am fully

   competent to make this      affidavit. I have personal knowledge of the facts herein stated

    and they are true and correct.

            2.      In preparing for this affidavit, I reviewed internet websites, articles   and


    videos published on the intemet and found several that are relevant to the issues in this

    case.
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        3.        I downloaded these videos and articles and/or printed them directly from

 the identified internet websites. All of the attached exhibits are true and correct copies of

 the online articles and videos.

        4.        Attached to this affidavit marked as Exhibit B-1 is a true and correct copy

 of an article posted at the url address http://www.nydailynews.com/news/politics/father-

 sandy-hook-victim-faces-criminal-charges-article-1.1338399. This exhibit is a true and

 correct copy of the article on that website as of the date of this affidavit.

        5.        Attached to this affidavit marked as Exhibit B-2 is a true and correct copy

 of an article posted at the url address http://www.dailymail.co.uk/news/article-

 2285516/Neil-Heslin-Father-Sandy-Hook-victim-breaks-senate-committee-pleads-ban-

 assault-rifles.html. This exhibit is a true and correct copy of the article on that website

 as of the date of this affidavit.

        6.        Attached to this affidavit marked as Exhibit B-3 is a true and correct copy

 of an article posted at the url address https://www.judiciary.senate.gov/imo/media/doc/2-

 27-13HeslinTestimony.pdf.           This exhibit is a true and correct copy of the article on that

 website as of the date of this affidavit.

        7.        Attached to this affidavit marked as Exhibit B-4 is a thumb drive containing

 a true and correct copy of a C-Span video of Mr. Heslin posted on the website with the

 url address: https://www.c-span.org/video/?c4459285/testimony-neil-heslin. This exhibit

 is a true and correct copy of the video on that website as of the date of this affidavit.

        8.        Attached to this affidavit marked as Exhibit B-5 is a true and correct copy

 of          an          article          posted         at        the         url         address


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 https://www.theguardian.com/world/2013/feb/27/assault-weapon-ban-senate-hearings-

 live. This exhibit is a true and correct copy of the article on that website as of the date of

 this affidavit.

        9.         Attached to this affidavit marked as Exhibit B-6 is a true and correct copy

 of an article posted at the url address https://thelede.blogs.nytimes.com/2013/03/06/latest-

 updates-on-gun-violence-debate/. This exhibit is a true and correct copy of the article on

 that website as of the date of this affidavit.

        10.        Attached to this affidavit marked as Exhibit B-7 is a true and correct copy

 of an article posted at the url address https://www.cnn.com/2013/01/29/us/connecticut-

 sandy-hook-hearings/index.html. This exhibit is a true and correct copy of the article on

 that website as of the date of this affidavit.

        11.        Attached to this affidavit marked as Exhibit B-8 is a true and correct copy

 of           an         article        posted        at        the        url         address

 https://www.nytimes.com/2013/01/29/nyregion/connecticut-legislature-hearing-on-gun-

 violence.html. This exhibit is a true and correct copy of the article on that website as of

 the date of this affidavit.

        12.        Attached to this affidavit marked as Exhibit B-9 is a true and correct copy

 of an article posted at the url address https://people.com/crime/sandy-hook-victim-jesse-

 lewis-dad-christmas-5-years-later/. This exhibit is a true and correct copy of the article

 on that website as of the date of this affidavit.

        13.        Attached to this affidavit marked as Exhibit B-10 is a thumb drive

 containing a true and correct copy of a video of a CNN interview with Mr. Heslin posted


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 on the website with the url address of https://www.facebook.com/NewDay/videos/sandy-

 hook-parents/1677277062337470/. This exhibit contains a true and correct copy of the

 video on that website as of the date of this affidavit.

        14.     I did a Google search on July 13, 2018 of the term “Sandy Hook

 conspiracies” and it generated 515,000 articles. On that same day, I searched the term

 “Sandy Hook shootings gun control” and that Google search yielded 604,000 articles.

 Also on that date I searched the terms “Neil Heslin gun control” and Google reported

 90,200 articles. On that date I also did a google search of the term “Alex Jones

 controversy” and that resulted in 4,910,000 articles. On that date I also did a Google

 search of the term “Sandy Hook cover up” and that Google search yielded 36,000,000

 articles.

        15.     Attached hereto and marked as Exhibit B-11 is a true and correct copy of a

 screen shot taken from the video of Neil Heslin’s testimony before the Senate Judiciary

 Committee posted at https://www.c-span.org/video/?c4459285/testimony-neil-heslin and

 which is identified in paragraph 7 above.

        16.     Attached hereto and marked as Exhibit B-12 is a true and correct copy of a

 description and photograph of Neil Heslin speaking at a news conference with Vice-

 President Biden and New York Mayor Bloomberg on March 21, 2013 posted at

 http://www.zimbio.com/photos/Neil+Heslin/News+Conference+Federal+Gun+Reform/9

 5cI5zpk0Nu. This exhibit is a true and correct copy of that photograph and description at

 that internet site as of the date of this affidavit.




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           17.      Attached hereto and marked as Exhibit B-13 is a true and correct copy of a

 photograph of Neil Heslin at the President’s news conference on April 17, 2013 and

 description                    of                  same                posted               at

 http://www.zimbio.com/photos/Neil+Heslin/News+Conference+Federal+Gun+Reform/9

 5cI5zpk0Nu. This exhibit is a true and correct copy of that photograph and description at

 that internet site as of the date of this affidavit.

           18.      Attached hereto and marked as Exhibit B-14 is a true and correct copy of an

 article         dated   May     7,    2013        from    the   News    Times    posted     at

 https://www.newstimes.com/policereports/article/Away-from-the-spotlight-Sandy-Hook-

 parent-4496775.php. This exhibit is a true and correct copy of that article posted at that

 internet site as of the date of this affidavit.

           19.      Attached hereto and marked as Exhibit B-15 is a true and correct copy of an

 article and photograph of Mr. Heslin from the Media Research Center posted at

 https://www.mrc.org/biasalerts/advocacy-not-journalism-13-cnn-guests-want-more-gun-

 control-only-2-argue-contrary. This exhibit is a true and correct copy of that article and

 photograph posted at that internet site as of the date of this affidavit.

           20.      Attached hereto and marked as Exhibit B-16 is a thumb drive containing a

 true and correct copy of an MSNBC video interview of Wesley Ball and Neil Heslin

 posted at https://www.msnbc.com/craig-melvin/watch/sandy-hook-dad-alex-jones-doesn-

 t-care-who-he-hurts-1214753859935. The video on the thumb drive is a true and correct

 copy of the video on that website as of the date of this affidavit.




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           21.   Attached hereto and marked as Exhibit B-17 is a true and correct

 transcription of the video attached as B-16. I have watched that video and compared it to

 this exhibit and this exhibit is an accurate transcription of the video interview.

           22.   Attached hereto and marked as Exhibit B-18 is a true and correct copy of an

 article                                        posted                                             at

 http://edition.pagesuite.com/popovers/article_popover.aspx?guid=eee755d0-dd73-4255-

 a465-c03c19dbf153. The exhibit is a true and correct copy of the article on that website

 as of the date of this affidavit.

           23.   Attached hereto and marked as Exhibit B-19 is a thumb drive containing a

 true and correct copy of an NBC Today Show interview of Mark Bankston and Neil

 Heslin posted at https://www.today.com/video/father-of-slain-sandy-hook-student-alex-

 jones-must-come-clean-on-his-lies-1214528067835. The video on the thumb drive is a

 true and correct copy of the video on that website as of the date of this affidavit.

           24.   Attached hereto and marked as Exhibit B-20 is a true and correct

 transcription of the NBC Today Show video attached as B-19. I have watched that video

 and compared it to this exhibit and this exhibit is an accurate transcription of the video

 interview.

           25.   Attached hereto and marked as Exhibit B-21 is a true and correct copy of a

 Wall Street Journal article posted at https://www.wsj.com/articles/sandy-hook-parents-

 sue-radio-host-alex-jones-for-calling-shooting-a-hoax-1524000776. This exhibit is a true

 and correct copy of that article posted at that internet site as of the date of this affidavit.

           26.   Attached to this affidavit marked as Exhibit B-22 is a true and correct copy


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  of an article posted at the url address https://www.newstimes.com/local/article/Newtown-

  families-file-wrongful-death-suit-against-6010819.php. This exhibit is a true and correct

  copy of the article on that website as of the date of this affidavit.

         27.     Attached to this affidavit marked as Exhibit B-23 is a true and correct copy

  of an article at the url address http://wshu.org/post/newtown-asks-judge-dismiss-sandy-

  hook-negligence-suit#stream/0. This exhibit is a true and correct copy of the article on

  that website as of the date of this affidavit.

         28.     Attached to this affidavit marked as Exhibit B-24 is a true and correct copy

  of an article posted at the url address https://newtownbee.com/judge-dismisses-1214-

  wrongful-death-lawsuit/. This exhibit is a true and correct copy of the article on that

  website as of the date of this affidavit.

         29.     Attached to this affidavit marked as Exhibit B-25 is a true and correct copy

  of an article posted at the url address http://www.courant.com/news/connecticut/hc-

  sandy-hook-gun-lawsuit-20141215-story.html. This exhibit is a true and correct copy of

  the article on that website as of the date of this affidavit.

         30.     Attached to this affidavit marked as Exhibit B-26 is a true and correct copy

  of an article posted at the url address https://www.gunowners.com/8-general/100-soto-v-

  bushmaster. This exhibit is a true and correct copy of the article on that website as of the

  date of this affidavit.

         31.     Attached to this affidavit marked as Exhibit B-27 is a true and correct copy

  of an article posted at the url http://www.koskoff.com/Sandy-Hook-Gun-Case-

  News/Assault-Rifle-Maker-Asks-Judge-to-Toss-Sandy-Hook-Massacre-Suit.shtml. This


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  exhibit is a true and correct copy of the article on that website as of the date of this

  affidavit.

         32.       Attached to this affidavit marked as Exhibit B-28 is a thumb drive

  containing a true and correct copy of a video of CBS This Morning posted at the

  following     url      address:       https://www.youtube.com/watch?v=orh-bte19qA        dated

  November 14, 2017. This video is a true and correct copy of the video on that website as

  of the date of this affidavit.

         33.       Attached to this affidavit marked as Exhibit B-29 is a true and correct copy

  of an article posted at the url address http://www.courant.com/news/connecticut/hc-news-

  sandy-hook-lawsuit-bankruptcy-filing-20180326-story.html. This exhibit is a true and

  correct copy of the article on that website as of the date of this affidavit.

         34.       Attached to this affidavit marked as Exhibit B-30 is a true and correct copy

  of an article posted at the url address https://www.bloomberg.com/news/articles/2017-11-

  14/sandy-hook-families-make-last-ditch-plea-to-save-gunmaker-suit. This exhibit is a

  true and correct copy of the article on that website as of the date of this affidavit.

         35.       Attached to this affidavit marked as Exhibit B-31 is a true and correct copy

  of an article posted at the url address http://ccdl.us/blog/2017/06/20/soto-v-bushmaster/.

  This exhibit is a true and correct copy of the article on that website as of the date of this

  affidavit.

         36.       Attached hereto marked as Exhibit B-32 is a thumb drive containing a true

  and    correct      copy   of     a    video   of   the   Sessions   Law   Firm    posted   at

  https://www.thesessionslawfirm.com/takeaways-sandy-hook-victims-lawsuit-remington-


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  bushmaster. This video is a true and correct copy of the video posted at that internet site

  as of the date of this affidavit.

         37.     Attached hereto marked as Exhibit B-33 is a true and correct copy of the

  Original Petition filed in cause number D-1-GN-18-001842, 345th District Court, Travis

  County, Texas, styled “Leonard Pozner and Veronique De La Rosa vs. Alex E. Jones,

  Infowars, LLC, and Free Speech Systems, LLC” filed on April 16, 2018.

         38.     Attached hereto marked as Exhibit B-34 is thumb drive containing a true

  and correct copy of the Defendants’ Motion to Dismiss under the Texas Citizens’

  Participation Act filed in the 345th District Court, Travis County, Texas, in cause number

  D-1-GN-18-001842 on June 26, 2018.

         39.     Attached hereto marked as Exhibit B-35 is a true and correct copy of an

  accurate transcript of the entire July 20, 2017 broadcast with Alex Jones that is the

  subject of Plaintiff’s defamation claim. I have compared this transcript to the video of

  this broadcast and it accurately states what was said in the broadcast.

         40.     Attached hereto marked as Exhibit B-36 is a thumb drive containing a

  video of a true and correct copy of the entire Owen Shroyer broadcast on June 25, 2017

  that is the subject of Plaintiff’s defamation claim.

         41.     Attached hereto marked as Exhibit B-37 is a thumb drive containing a

  video of a true and correct copy of the entire Alex Jones broadcast on July 20, 2017 that

  is the subject of Plaintiff’s defamation claim.

         42.     Attached hereto marked as Exhibit B-38 is a true and correct copy of an

  accurate transcript of the entire June 25, 2017 broadcast with Owen Shroyer. I have


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  compared this transcript to the video of this broadcast and it accurately states what was

  said in the broadcast.

            43.     Attached hereto marked as Exhibit B-39 is a true and correct copy of a

  article         from    the     News      Times      posted     at     the      url     address

  https://www.newstimes.com/local/article/Sandy-Hook-parents-due-Texas-conspiracy-

  extremist-12841014.php. This exhibit is a true and correct copy of the article posted at

  that address as of the date of this affidavit.

            44.     Attached hereto marked as Exhibit B-40 is a true and correct copy of an

  NBC News article posted at the url address https://www.nbcnews.com/news/us-

  news/megyn-kelly-defends-interview-infowars-host-alex-jones-n771516. This exhibit is a

  true and correct copy of the article posted at that address as of the date of this affidavit.

            45.     Attached hereto marked as Exhibit B-41 is a true and correct copy of an

  article posted at the url address https://www.factcheck.org/2011/01/bum-rap-for-rahm/.

  This exhibit is a true and correct copy of the article posted at that address as of the date of

  this affidavit.

            46.     Attached hereto marked as Exhibit B-42 is a thumb drive containing a true

  and correct copy of a video of Rahm Emmanuel posted at the url address:

  https://www.youtube.com/watch?v=Pb-YuhFWCr4. The video on this thumb drive is a

  true and correct copy of the video posted at that address as of the date of this affidavit.

  This video and Mr. Emmanuel’s quote has been used by Alex Jones many times on his

  broadcasts and has been used and quoted many times by others who likewise question

  government and media reports.


  AFFIDAVIT OF DAVID JONES (Heslin) – Page 10
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         47.      Attached hereto marked as Exhibit B-43 is a thumb drive containing a true

  and correct copy of a video of NBC’s and Megyn Kelly’s interview of Alex Jones posted

  at the url address: https://www.nbcnews.com/megyn-kelly/video/megyn-kelly-reports-on-

  alex-jones-and-infowars-970743875859. The video on this thumb drive is a true and

  correct copy of the broadcast and the video posted at that address as of the date of this

  affidavit.

         48.      Attached hereto marked as Exhibit B-44 is a true and correct copy of an

  article posted at the url address http://time.com/4821906/megyn-kelly-alex-jones-

  interview-leaks/. This exhibit is a true and correct copy of the article posted at that

  address as of the date of this affidavit.

         49.      Attached hereto marked as Exhibit B-45 is a true and correct copy of an

  article posted at the url address https://www.npr.org/2017/06/19/533481663/after-much-

  controversy-nbc-airs-megyn-kellys-interview-with-alex-jones. This exhibit is a true and

  correct copy of the article posted at that address as of the date of this affidavit.

         50.      Attached hereto marked as Exhibit B-46 is a true and correct copy of an

  article posted at the url address http://money.cnn.com/2017/06/18/media/megyn-kelly-

  alex-jones-interview-review/index.html?iid=EL. This exhibit is a true and correct copy of

  the article posted at that address as of the date of this affidavit.

         51.      Attached hereto marked as Exhibit B-47 is a true and correct copy of a

  New          York     Times        article      posted        at       the     url     address

  https://www.nytimes.com/2017/06/19/business/media/megyn-kelly-alex-jones-interview-




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  nbc.html. This exhibit is a true and correct copy of the article posted at that address as of

  the date of this affidavit.

         52.     Attached hereto marked as Exhibit B-48 is a true and correct copy of a New

  York         Times            article       posted       at        the         url   address

  https://www.nytimes.com/2017/06/16/business/media/critical-test-looms-for-megyn-

  kelly-and-the-network-that-bet-on-her.html?mcubz=2. This exhibit is a true and correct

  copy of the article posted at that address as of the date of this affidavit.

         53.     Attached hereto marked as Exhibit B-49 is a true and correct copy of a Hill

  article posted at the url address http://thehill.com/homenews/media/344614-sunday-

  night-with-megyn-kelly-ends-limited-summer-run. This exhibit is a true and correct copy

  of the article posted at that address as of the date of this affidavit.

         54.     Attached hereto marked as Exhibit B-50 is a true and correct copy of an

  article posted at the url address https://mic.com/articles/179008/megyn-kellys-return-to-

  television-gets-a-lukewarm-reception#.WNOZV2qR6. This exhibit is a true and correct

  copy of the article posted at that address as of the date of this affidavit.

         55.     Attached hereto marked as Exhibit B-51 is a true and correct copy of a

  Washington           Post         article     posted          at     the       url   address

  https://www.washingtonpost.com/lifestyle/style/did-nbcs-megyn-kelly-promise-no-hit-

  piece-on-conspiracy-monger-alex-jones/2017/06/16/08404ab6-5294-11e7-be25-

  3a519335381c_story.html?utm_term=.121a47479ede. This exhibit is a true and correct

  copy of the article posted at that address as of the date of this affidavit.




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          56.       Attached hereto marked as Exhibit B-52 is a true and correct copy of a

  Politico          Magazine        article       posted         at        the           url         address

  https://www.politico.com/magazine/story/2017/06/18/megyn-kelly-pantses-alex-jones-

  215279. This exhibit is a true and correct copy of the article posted at that address as of

  the date of this affidavit.

          57.       Attached hereto marked as Exhibit B-53, are true and correct copies of the

  first      page      of      a    Time       article     posted     at         the      url        address

  http://content.time.com/time/specials/packages/article/0,28804,2057116_2057307_20573

  09,00.html and the second page of this exhibit is a true and correct copy of another page

  of the posted article which is the part of the article describing ZeroHedge as the 9th best

  financial     blog     in     2011.   This     page      is   located    at      the         url   address

  http://content.time.com/time/specials/packages/article/0,28804,2057116_2057343_20572

  67,00.html and was found by clicking the hyperlink in the first page of the article. Both

  pages of this exhibit are true and correct copies of those pages of the article posted at that

  address as of the date of this affidavit.

          58.       Attached hereto marked as Exhibit B-54 is a true and correct copy of a

  Marketwatch article posted at the url address https://www.marketwatch.com/story/these-

  stocks-have-everything-going-for-them-but-no-one-is-paying-attention-2016-09-14. This

  exhibit is a true and correct copy of the article posted at that address as of the date of this

  affidavit.

          59.       Attached hereto marked as Exhibit B-55 is a true and correct copy of a

  Page Six article posted at the url address https://pagesix.com/2017/06/13/nbc-holding-


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  crisis-meetings-over-megyn-kelly/. This exhibit is a true and correct copy of the article

  posted at that address as of the date of this affidavit.

         60.     Attached hereto marked as Exhibit B-56 is a true and correct copy of a

  Page Six article posted at the url address https://pagesix.com/2017/06/15/megyn-kelly-

  interview-completely-overhauled-after-backlash/. This exhibit is a true and correct copy

  of the article posted at that address as of the date of this affidavit.

         61.     Attached hereto marked as Exhibit B-57 is a true and correct copy of a

  Business        Insider         article       posted         at      the    url    address

  http://www.businessinsider.com/newtown-gun-control-ad-bloomberg-mayors-families-

  neil-heslin-obama-2013-3. This exhibit is a true and correct copy of the article posted at

  that address as of the date of this affidavit.

         62.     Attached hereto marked as Exhibit B-58 is a true and correct copy of an

  Ammoland.com              article         posted        at        the      url     address

  https://www.ammoland.com/2013/05/connecticut-carry-releases-the-troubled-past-of-

  neil-heslin/#axzz5KnQvAY5T. This exhibit is a true and correct copy of the article

  posted at that address as of the date of this affidavit.

         63.     Attached hereto marked as Exhibit B-59 is a true and correct copy of a

  Huffington         Post        article       posted          at     the     url    address

  https://www.huffingtonpost.com/2013/05/08/neil-heslin-smeared-connecticut-

  carry_n_3240591.html. This exhibit is a true and correct copy of the article posted at that

  address as of the date of this affidavit.




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         64.    Attached hereto marked as Exhibit B-60 is a true and correct copy of a

  United Press International article posted at the url address https://www.upi.com/Sandy-

  Hook-dad-offered-plea-deal-on-bad-check-driving-charges/51181368065878/.                  This

  exhibit is a true and correct copy of the article posted at that address as of the date of this

  affidavit.

         65.    Attached hereto marked as Exhibit B-61 is a true and correct copy of a

  KUAR         Morning      Edition      article     posted      at     the     url      address

  http://ualrpublicradio.org/post/group-calls-pryor-drop-opposition-expanding-background-

  checks-guns. This exhibit is a true and correct copy of the article posted at that address as

  of the date of this affidavit. This website article also posted a photograph of the bus used

  in Plaintiff’s tour. By clicking on the first photograph in the internet article, other

  photographs could be accessed. The slide show included the photograph of Plaintiff

  speaking from a podium in Little Rock, Arkansas.

         66.    Attached hereto marked as Exhibit B-62 is a true and correct copy of a

  Louisiana Radio Network article posted at the url address https://www.upi.com/Sandy-

  Hook-dad-offered-plea-deal-on-bad-check-driving-charges/51181368065878/.                  This

  exhibit is a true and correct copy of the article posted at that address as of the date of this

  affidavit.

         67.     I am the Manager of Human Resources and Corporate Governance of Free

  Speech, LLC (“FSS”). I have worked in this position since 2013. In that role I have

  become knowledgeable about FSS’s business activities, operations and staff. I have also

  become familiar with Infowars, LLC’s business structure, activities, operation and


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  ownership. I have personal knowledge and knowledge based on my access to and review

  of corporate records. Defendant Infowars, LLC does not own or operate the domain

  name or website located at http://www.infowars.com. Defendant Infowars, LLC has

  never employed Alex Jones or Owen Shroyer and has never had authority over or control

  of the content of the broadcasts. In particular, Defendant Infowars, LL did not have

  authority over or control of the content of any of the broadcasts which are alleged in

  Plaintiffs’ claims to have been defamatory.

         68.     I also know that the first time Defendants received any letter objecting to

  any of the broadcasts claimed to be defamatory in the suit is on April 11, 2018. A true

  and correct copy of that first letter is attached to the Taube affidavit as Exhibit C-1. Prior

  to that time, neither Plaintiff nor any other person on his behalf complained about the

  broadcasts referred to in Plaintiff’s petition. Exhibit C-1 was received by Defendants

  more than 90 days after the last complained-of broadcast.

         69.     Attached hereto marked as Exhibit B-63 is a true and correct copy of a

  Cision PR Newswire article posted at the url address https://www.prnewswire.com/news-

  releases/father-of-newtown-victim-survivors-of-tucson-mass-shooting-and-mayor-

  rothschild-gather-in-tucson-to-back-common-sense-gun-laws-urge-senator-flake-to-

  support-background-checks-214444251.html. This exhibit is a true and correct copy of

  the article posted at that address as of the date of this affidavit.

         70.     Attached hereto marked as Exhibit B-64 is a true and correct copy of a

  Cision PR Newswire article posted at the url address https://www.prnewswire.com/news-

  releases/father-of-newtown-victim-congressman-price-morrisville-mayor-holcombe-and-


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  local-gun-owners-to-hold-rally-in-raleigh-to-voice-support-for-common-sense-gun-laws-

  that-help-save-lives-212370651.html. This exhibit is a true and correct copy of the article

  posted at that address as of the date of this affidavit.

         71.        Attached hereto marked as Exhibit B-64 is a true and correct copy of a

  Cision PR Newswire article posted at the url address https://www.prnewswire.com/news-

  releases/father-of-newtown-victim-congressman-price-morrisville-mayor-holcombe-and-

  local-gun-owners-to-hold-rally-in-raleigh-to-voice-support-for-common-sense-gun-laws-

  that-help-save-lives-212370651.html. This exhibit is a true and correct copy of the article

  posted at that address as of the date of this affidavit.

         72.        Attached hereto marked as Exhibit B-65 is a true and correct copy of a

  National Public Radio article posted at the url address

  https://www.npr.org/2012/12/16/167412995/transcript-president-obama-at-sandy-hook-

  prayer-vigil. This exhibit is a true and correct copy of the article posted at that address as

  of the date of this affidavit.

         73.        Attached hereto marked as Exhibit B-66 is a true and correct copy of a The

  Blaze article posted at the url address https://www.theblaze.com/news/2018/07/02/james-

  comey-castigates-nra-in-new-interview-organization-sells-fear-in-wake-of-mass-murders.

  This exhibit is a true and correct copy of the article posted at that address as of the date of

  this affidavit.

         74.        Attached hereto marked as Exhibit B-67 is a true and correct copy of a The

  Cut article posted at the url address https://www.thecut.com/2017/06/megyn-kelly-alex-




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  jones-dropped-host-sandy-hook-gala.html. This exhibit is a true and correct copy of the

  article posted at that address as of the date of this affidavit.

         75.     Attached hereto marked as Exhibit B-68 is a true and correct copy of a Wall

  Street Journal article posted at the url address https://www.wsj.com/articles/j-p-morgan-

  removes-nbc-news-ads-over-megyn-kelly-interview-with-alex-jones-1497311738. This

  exhibit is a true and correct copy of the article posted at that address as of the date of this

  affidavit.

         76.     Attached hereto marked as Exhibit B-69 is a true and correct copy of a

  Rolling Stone article posted at the url address https://www.rollingstone.com/tv/tv-

  news/what-nbcs-alex-jones-interview-says-about-megyn-kelly-201885/. This exhibit is a

  true and correct copy of the article posted at that address as of the date of this affidavit.

         77.     Attached hereto marked as Exhibit B-70 is a true and correct copy of a

  Report of the State’s Attorney dated November 25, 2013 posted at the url address

  www.ct.gov/csao/lib/csao/Sandy_Hook_Final_Report.pdf. This exhibit is a true and

  correct copy of the report posted at that address as of the date of this affidavit.

         78.     Attached hereto marked as Exhibit B-71 is a true and correct copy of a New

  York         Magazine         article       posted         at      the       url        address

  http://nymag.com/daily/intelligencer/2017/06/megyn-kelly-isnt-the-first-reporter-to-

  interview-alex-jones.html. This exhibit is a true and correct copy of the article posted at

  that address as of the date of this affidavit.

         79.     Attached hereto marked as Exhibit B-72 is a true and correct copy of a The

  Cut article posted at the url address https://www.thecut.com/2017/06/megyn-kelly-alex-


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  jones-interview-overhauled.html. This exhibit is a true and correct copy of the article

  posted at that address as of the date of this affidavit.

         80.    Attached hereto marked as Exhibit B-73 is a true and correct copy of a

  Gallup Poll article posted at the url address

  https://news.gallup.com/poll/195542/americans-trust-mass-media-sinks-new-low.aspx.

  This exhibit is a true and correct copy of the article on that website as of the date of this

  affidavit.

         81.    Attached hereto marked as Exhibit B-74 is a thumb drive containing a true

  and correct copy of a video news conference of Chief Medical Examiner Wayne Carver

  on December 15, 2012 regarding the Sandy Hook shootings posted at

  https://www.youtube.com/watch?v=zE0OT5od9DA. This exhibit contains a true and

  accurate copy of this video as of the date of this affidavit.

         82.    Attached to this affidavit marked as Exhibit B-75 is a true and correct copy

  of a CNN article posted at the url address:

  https://money.cnn.com/2018/07/11/media/facebook-infowars/index.html. This exhibit is a

  true and correct copy of the article on that website as of the date of this affidavit.

         83.    Attached hereto marked as Exhibit B-76 is a true and correct copy of the

  Original Petition and Request for Disclosure filed in cause number D-1-GN-18-001835,

  261st District Court, Travis County, Texas, styled “Neil Heslin vs. Alex E. Jones,

  Infowars, LLC, Free Speech Systems, LLC, and Owen Shroyer” filed on April 16, 2018.




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7   t1t2014                                           Father of Sandy Hook vict¡m faces cr¡minal charges - NY Daily News
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              Neil Heslin, center, whose 6-year-old son Jesse was killed in the mass shÕoting in Newtown, Conn., êrrives
              w¡th olher victims' famìl¡es to meet pr¡vately with senators on Cap¡tol H¡ll ¡n Wash¡ngton. U. Scott         ym
              Applewhite/AP)




              MILFORD, Conn.              A man whose 6-year-old son was among those killed in the Newtown,
                                      -
              Conn., elementary school massacre was scheduled to appear in Connecticut Superior
              Court Wednesday on larceny and other charges.


              Neil Heslin, who has lobbied Congress and tJre Connecticut legislature for increased gun
              control in the wake ofthe shooting, had five separâte cases listed on the docket in
              Milford Superior Court.


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7t1t2018                                                Father of Sandy Hook victim faces crim¡nal charges - NY Da¡ly News
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           The News-Times of Danbury reports Heslin faces charges that date back to fuly 2011,
           three ofwhich involve allegations he issued bad checks to purchase building materials for
           his construction company.

                                                                                                                             ",\
           The two other cases involve checks on closed accounts that Heslin allegedly used to pay
           for lust over $1,000 worth of home heating oil in fune 2012 and a check for $102.55 worth
           of repairs to his vehicle at an Ansonia tire shop six months earlie¡ the newspaper
           reported.

                                                                                                                             V




           Heslin, who has pleaded not guilty to all the charges, referred questions about the case to
           his attorneys, who did not immediately return calls seeking comment.



           Heslin's son, fesse Lewis, was among 26 people shot to death inside Sandy Hook
           Elementary School on Dec. 14.


           Since then, Heslin has been among the most visible of the Sandy Hook parents lobbying




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              22-01023-hcm Doc#1-4 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 117
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              superior court fudge Frank Iannotti has ordered Heslin to explain wednesday why he was
              not in court on Apríl            1   5.




              Heslin was part of a contingent from Newtown that was meeting with U.S. senators that
              week, asking them to pass legislation that would have included universal background
              checks for gun purchases.



              Heslin was asked by the News-Times if he thought his legal troubles might undermine his
              advocacy efforts.


              "I never gave it much thought. I guess you can look at it either way," he told the

              newspaper. "If there's something to talk about, people are going to talk about it, good or
              bad, no matter what."




         51 Stars Who Died And No One Said Anything
        Therapy Joker



         15 Years After, The World's Strongest Boy ls Now                                            All Grown Up
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         Sailor Comes Home, Sees Pregnant Wife And Rea¡izês She Made A Huge Mistake
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     News


     Suspected Trinitarios who prosecutors believe brutally hacked and stabbed Lesandro
     Guzman-Feliz in mistakenlD murder held without bail - NY Daily News




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     lf You're A Veteran ln Texas, You'd Better Read This
     LondingTree Mortgage Quotê9



     She Adopts a Girl That Nobody Wants. 19 Years Later, She Looks Totally Different
     Parentz Talk



     Trophy Wives Of Older Billionaires
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              NJ. cov. Phil Murphy, Democrats reach budget deal, avoid shutdown
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              pol¡t¡cal star 0easio-Cortez asked about running for pres¡dent on 'The View'

              JUN 30, 2018



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              Judge blocks Kentucky from requiring poor people to get ¡ob to rece¡ve Medica¡d
              luN 30, 2018




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711t2018                                                        Father of Sandy Hook v¡ctim faces criminal charges - NY Daily News
      22-01023-hcm Doc#1-4 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 120
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   Photos Captured Before lt All Went Wrong
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   3 Ways Your Dog Asks For Help

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                                                                     CÕpyright (0 2018, New York Daily News




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         'l'm not here for sympathy, I'm here for
         my son': Father of Sandy Hook victim
                                                                                                                ADVERI]SEMENT

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         breaks down at senate comm¡ttee as                                                                            Dâily l\¡âil                 oaily Mail



         he pleads for a ban on assault rifles                                                                         @DåilyN4ãìl                  Da¡ly Mail



         By ASSOCIATED PRESSj REPOR-IER                                                                                @dailymailuk                 Daily lvlâil
         PUBLISHED: 14126 EDT, 27 February 2013 | UPDATED:16:40 EDT, 27 Februâry 2013
                                                                                                                 FEMAIL TODAY
                                                                                                    106          ) sAlc's K.istin Davis

                                                                                                                 appearancô t¡,ith her
                                                                                                                 båby son.., one month
          Battling tears, the father of one of the first-graders sla¡n at the December elementary
                                                                                                                 ghe hås ådopted for the
          school massacre in Connecticut pleaded with senators on Wednesday to ban assault
          weapons like the gun that killed his 6-year-old son.
                                                                                                                 ) x¡m Kard¿e¡¡¡n
          'l'm not here for sympathy,' Ne¡l Hesl¡n, a 5o-yearold constructìon worker who sa¡d                    time s¡ncs Þoing robbed
          he grew up with guns and had been teaching his son, Jesse, about them.'l'rn here                       atgunpoint Âlmost two
                                                                                                                 yeårs ago as s¡o å¡d
          because of my son.'

          Heslin spoke for 11 minutes, his voice barely audible and breaking at times. to the
                                                                                                                 ) Kylie Jênnerd¡splåyg
          Senate Judiciary Comm¡ttee that is deeply divìded over the ìssue of curbing guns.
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         Tears: Ne¡l Hesl¡n, thefather of six-year-old Jesse Hesl¡nwhowas slain in tho Sandy Hook     ) ashlsy olsen don6
         massåcre ¡n NoMown. holdsa p¡cture of h¡mself w¡th hbson andwlpes his eyê while testify¡ng
         on Capitol H¡ll¡h Wash¡ngtontoday                                                            nâtchhg      pârìlE for â
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         The panelwas holding a hearing on a b¡ll by Sen. D¡anne Feinste¡n. D-Calif.. to bân
         assault weapons and ammun¡tion magazines that can carry more than 1O rounds.

         Fe¡nstein and her allies said her measure would reduce the deaths such high-                  R¡ssing James Frånco

         powered firearms can cause, but Republicans on the panel said the move would
         violate the constitutional right to bear ârms and take guns away from law,abiding            w¡s'not good'åfter
                                                                                                       applauding women who
         citizens who use them for self-defense.                                                       accused lrim misdoing

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         Heslin said he supports sportsmen and the Second Amendment right for cit¡zens to              ) Bellâ Hådid commåndÊ
         have firearms. But he saìd that amendment was written centuries before weapons as             attont¡on ¡n rêd rompe¡
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         deadly as assault weapons were invented.
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         'No person should have to go through what myself' and other v¡ct¡ms' fam¡lies have            Loul€ Vultton Men9wëâr

         had to endure, Heslin told the lawmakers.
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Neil Heslin: Father ofSandy Hook victim breaks down at senate          com...      http:/iwww.dailymail.co.uk/news/article-228551ó,4\eil-Heslin-Father...
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         Grioving: Neil Hesl¡n, father of 6-year-old Newtown vlct¡m Jesse Lewis. cr¡es dur¡ng the Sonâte
         Judic¡ary Comm¡ttee hear¡ng on th€ AssôultWeåpon6 Ban
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         He recalled the morning of Dec.14, when 2o-year-old Adam Lanza used a
         Bushmaster assault weapon to kill 20 first-graders and six staffers at the Sandy Hook
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         Elementary school in Newtown, Conn.                                                               HUNDREO DOLLARS to
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         'He said it's all going to be oK,' Heslin said his son told him when he dropped him off           Willowfor lost tootn




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         at school. He added, 'And it wasn't OK.'
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         Desp¡te Newtown and other mass shoot¡ngs, the bru¡sing, diff¡cult path through                    eã.niñ99 trom Fox to
         congress that gun control legislation faces was underscored Wednesday when the                    m¡grant charit ãs he
         chairman of the House Judiciary Committee said he opposes universal background
         checks for gun purchases, a central p¡ece of Pres¡dent Barack Obêma's plan for
         curbing gun v¡olence.                                                                             ADVERÌ!SEf'¡ENT

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         Rep. Bob coodlatte, R-Va.. told reporters that the proposal could lead to creation of a
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         federal gun registry - which the Obama admin¡stratìon has said w¡ll not hâppen.                    6portcasualtees ånd
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          Gun debate: Hesl¡n, piclur€d. appeared åta heår¡ng on â bill by Sen. D¡anne Fê¡nstsin, D-c¡lif.,
          to ban åssault wespons and altlmunit¡on magazines that can csrry more thsn 1O rcunds




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          son Jesse
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          Wednesday's Senate Judiciary hearing was its third since the Newtown tragedy                        York date n¡ght




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         made gun violence a top-tier national issue.                                                   They've bêen logelher
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        The Judiciary panel could begin wrìting iegislat¡on as early as Thursday, but lhat
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        session is likely to be delayed until next week.

         Numerous relatives and neighbors of vìct¡ms of Newtown, as well as other shootings                                                         Share
         at Aurora, Colo., and Virginiâ Tech filled the large hearing room.
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         At one point, Feinstein played a video showing how a bump fire slide, a pìece of
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         equìpment added to an assault weapon, allows it t9 rapidly fire many rounds of
         ammunition, much as a machÌne gun would,
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         'The need for a federal ban has never been greater,' Feìnstein sâid.
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         J¡llian Soto, r¡ght. listen to test¡mony on Capitol Hill ¡n Wash¡ngton today

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           Hard: The s¡sters ofSandy Hook Elementary teachd Victor¡a Soto, Carloo Soto,left. ând J¡ll¡ãn    ånd Princêss Beåtricê
           Solo. right. w6ro clearly omot¡onal as lawmakers d¡scussed bann¡ng.ssãult weapons                as showbiz and royâlly


           The panel's top Republican, Sen. Charles Grassley of lowa, expressed sympathy for
           gun violence victim, but said existing gun laws are not being adequately enforced,               ) Melånìê Gdrflth, ô0,
                                                                                                            puts on â busty display
           includìng background checks designed to prevent criminals from gettìng weapons.                  in a plunsirig blåck
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           'We should be skeptiÇal about giving the Justice Department more laws to enforce'                    on yachl in Sard¡nia
                                                                                                                Showing off her incredible
           when it's not enforcÌng current ones, Grâssley said.                                                 fgure

           Grassley said he believed Congress w¡ll eventually take action on boost¡ng penalties
                                                                                                                bofld¡ngl Duchess of
           for illegally trafficking guns, on more adequately keeping guns from people wìth
           mental problems, and encourag¡ng states do a better job of reporting mental health
                                                                                                                her VERY glamorou¡
           records of potential gun buyers to the federal background check system.                              oldesl   d   âughter Lady


           At one po¡nt, Sen. Lindsey craham, R-S,c., used his quest¡oning of l\¡¡lwaukee Police
           ch¡ef Edward Flynn to argue that the current background check system ls not be¡ng                    r€v€aþ dåughtêr Norlh,
                                                                                                                5, ls followng ¡n her
           well enforced, since only a handful of the roughly 8O,O0O people annually who fail                   fåsh¡on footsteps as
           those checks are prosecuted for fil¡ng documents saying they qual¡fy to own the
                                                                                                                wãnts to wsar ånd what
           weapons.

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           Vlctims: W¡th photos of Sândy Hook Elementary School v¡ct¡ms ¡n the background, Sonate       Gorg€ous blonde was in
           Judic¡âry Committeo m€mber. Sen. D¡anne Feinste¡n, D"Cal¡f, spesks on on C6p¡tol H¡ll in
           Washington

           Uncharacteristically for a Senate hear¡ng, Flynn ìnterrupted the senator, saying, 'l         makês tråtfic-6topp¡ng

           want to stop 76,000 people from buying guns illegally,'a reference to the gun                flâshès taut toßo and
           purchases that the background check system blocked last year, 'That's what                   legs in crop lop ¡nd

           background check does,'
                                                                                                        Wâtch ths mom€nf å
           His remark drew applause from spectators ìn the room. Across the Capitol, the
                                                                                                           mort¡f¡ed Elue lvy's fåcê
           House Education and Workforce Comm¡ttee plãnned to hear from school safety                   iålls a6 she frant¡cally
                                                                                                           sh¡olds eyes when sêxy
           experts and counselors about how to keep students safe.                                         cllp ot Boyoncó and
                                                                                                           Jay"Z plays ¡t show
           'How can we be confident that something lìke th¡s does not happen a9a¡n?'asked
                                                                                                        )   Iü¡nnie Ðr¡vor stays
           John Kline, R-Minn., the Republican panel's chairman as the meeting began.                      cool ìn stripy 3hlndres6

           H¡s   Democrâtic counterpart, Rep.
           George l¡iller of California, sa¡d school                                                       Snappêd awây on her
           sâfety is linked to firearms.
                                                                                                           I al¡son Brie flasheÊ
           'Sandy Hook ¡s an event that calls us on                                                        cleavage in bluê floral
           us as polìcymakers to do something. ... A
                                                                                                           dazl¡ng ¡n fisry Êd
           school must be a place where children
                                                                                                           Lef the Bow6ry Holel in
           feel secure,' Miller said.'TurnÌng schools
           into armed fortresses ìs not the answer.'
                                                                                                           , sharon Stone culs
                                                                                                           ch¡c flgure in leatlor
           lnsteêd, he said schools need to add                                                            jaclotand   r¡pped wñlte
           counsel¡ng services and mental health                                                           trous€rs a6 6he jâts out
           programs.
           ln their prepared testimony, witnesses
           there were çareful not to endorse the
           NRA's suggestion that armed volunteers                                                          shows off h¡nt of legs ¡n
                                                                                                           quirfiy bus¡noss cåsual
           in schools were a real¡st¡c answer to                                                           outf¡t å3 shÊ ¡tl€nds
           prevent f uture attacks,
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           'l cânnot emphasize enough how critical
                                                           D€d¡cat¡onr Donna soto, mother of slain         t'Snåck Thât'slnser
           it Ìs for officers to be properly selected      sândy Hook Elementary toacher v¡ctoriâ
           and properly trained to function in the         soto, hglds her phonew¡th â photo ol her        own CllY ¡n Scnôgål
           school environment,'said lvlo Canãdy,           daughter on ¡twhlle she listenstotho
                                                                                                            cryptocurfency thåt he




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           executive director of the National               t€stimony
           Association of School Resource Officers.                                                                                  +99

                                                                                                                                             Top
           Desp¡te the raw emotion, Feinstein's effort to ban assault weapons is expected to fall
           short due to opposition by the Nat¡onal R¡fle Association and many Republicans, plus
           wariness by moderate Democrats.                                                                                                 Share
                                                                                                      ADVERTISEMENT

           Feinstein's bill has attrâcted 21 co-sponsors, all Democrats. lnclud¡ng herself, it is
                                                                                                       ¡ 'constå ¡t stfuggle'
           sponsored by eight of the 1O Judiciary panel Þemocrats - precar¡ous for a committee
                                                                                                       ¡uggl¡ng motherhood
           where Democrats outnumber Republicans '1O"8. Democrats on the panel who haven't             ¡od hors¡nginq careor
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           co-sponsored the measure include the chairman, Pat Leahy of Vermont, who sa¡d               f6ol¡ng 'g ui¡ty' for being
           N4onday he hadn't seen the bill.
                                                                                                       ) stårWalE Obìwân ånd
           Obama made bans on assault weapons and large capacity magazines key parts of
           the gun curbs he proposed in January in response to the Connecticut school
           massacre.

           The cornerstone of his pâckage is a call for un¡versal background checks for gun
           buyers, some version of which seems to have a slronger chance of mov¡ng through             ) Kylìo Jrnnsr 3¡nss
                                                                                                       âlong to beâü Travi6
           congress. currently, only sales by federally licensed gun dealers require such              Scott as sñe shows her
           checks, which are designed to prevent criminals and others from obta¡ning firearms.         6upport for rupper ât

                                                                                                       She deliverÊd his
           Feinstein's bìll would ban future sales of assault weapons and magazines carry¡ng           daughler in Feþruary
           more than 10 rounds of ammunitìon but exempt those that aiready exist. lt would bar
           sales, manufacturing and imports of sem¡automatic rifles and pistols that can use
           detachable magazlnes and have threaded barrels or other military features. The              renomrçd soccffsl¡ììs
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           measure speclf¡aâlly bans'157 firearms but excludes 2,258 others in an effort to avoid      Ae¡jing.., as Victoriâ
           barring hunt¡ng and sporting weapons.
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            VIDEO Watch Neil Heslin's full address to senators here                                    numberatprs-BET

            The full heartbreaking testimony of Sandy Hook dad on gun control                          The star pul on a very
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          ADVERIISEMENÌ

              I My fair leghar? Or
              h0w audrey Hepburn
              has bêên the Dù¿hêas'
              rot€ ¡rodol ' ånd th.¡r
              l¡ves hãve ùñcatrny

              StnKng resemblanc€

              ) Ivleghån 2.0! Nlåkeup

              intothe Duchêss or
              SuÊsêx on hêrwedding
              day ' complete with låks




              Broohå Slìl6ldr an.l
              Helêoå Christonsen




              tWWE star vader d€alt
                  åt age 63 ¡fter lo3ing
                  tr¡vo-y€ar long battle
                  w¡th congsstive heårt

                  EX-NFL stâr playeó for


                  , Jennìfèr Lopez wraps

                  soxy legg¡ngs whllo
                  golf¡ng with bosu Alex

                  She played a round on


                  , N¡kk¡ Bett. 'canl
                  bel¡eve ehe sets to be      a
                  mom now John Csnå
                  lìå! ågrèèd to rcvêrsê
                  his vasectomy and give

                  \ rwE Diva is overjoy€d

                  > Lâdy K¡tty Spêncer
                  livs6 up to her soc¡al¡te
                  stårus as she çtepÂ oùt



                  Lâdy M.ry chårteris

                  I Cård¡E sâyÊ she wss


                  c¿rêer.. as she posès
                  with Oftsat lor Rot¡¡ng

                   Preqnanl mÞped slar




                   wôrhout ôs 3¡ê $¡åtchês
                   over piz¿a oven ¡n6iâll
                   The 33-yeaFold is þack in
                   LA åfler giving birth

                   t Anselinã Jolìe   'fu rio us'

                   allo'¡¡¡ Sh¡¡on ând Knor




 15   of 32                                                                                                                     6/21,2018,l0:l I AM
Neil Heslin: Father of Sandy Hook victim breaks down at senate   com...   http://www.dail).mail.co.uk/news/article-22855l6,Neil-Heslin-Father...
                     22-01023-hcm Doc#1-4 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 136
                                                          of 692
            to apPeâr ¡n [1ålef¡cent       !
            ås custody wãr'råge6
                                                                                                                           +99
             Things arc gert¡ng ugly
                                                                                                                                   loô


                                                                                                                                 Share
            ADVERIISEMENf

             I Madon na, 59, llâû nts
             Iter ample cleãvage



             Took to lnslagram to pose


             , Kim Kardåshlån's fåns
             lìne up outs¡de ¡er new
             LA pop-up 6tore to win


             Selling hêr KKW 8eauly


             Ils Cr¡sriano Ronaldo
             ENGAGED? Gêorgina
             Rôd¡gue?flås¡ìss a
             HUGÊ dlåmoîd on her
             r'ñg lingor llt¡¡e
             s¡rpporting Portugal at


             t ExctusrvEi        ¡,t¡ss

             Abedìr ditches ñor old
             âpa.lmenl for new d¡gs
             and is spott€d ¡år1gh¡ñg
             with my6tery m¿n and
             tot¡ng $3,000 Pråda bag

             , cla¡ro 0ãnås drapê6
             hêrqrowing baby brmp
                 in g.êy mâxi-dress wh¡le
                 strorlinq around Nsw

                 The expecring aclress


                 ) Kate Hudson shows
                 of' h€rgþwing båby

                 bitin¡top on hol¡dåy
                 with fâmily in Grôece
                 Thê 39 yêarold äctress


                 t Ashley Grahãm the jet

                 ¡rriv6s home kr NYC
                 åfter two week8 ãway
                 Bul she was heading þåck
                 ro   workaÍerjusr three



                 Fêlic¡tv Haywård h¡ts
                 båck ¿tskargsrwho
                 rold her she wås'too fâl'
                 to !vaå.a crop top by
                 posl¡nq a defiant snap


                 t Bârbra Strê¡sãnd criod

                 'Grandn a' bracolet rro m
                 her srêpson J€h Êrolìn

                 Kathryn wrlwelcomê a


                 IJên nÌfèr A n istÒh's êr
                 Justin lheroux flexes
                 his pumpêd up bìcêps




 l6 of 32                                                                                                                     6/21,2018,10:l I AM
Neil Heslin: Father ofSandy Hook victim breaks down at senate   com...   http://www.dailymail.co.uk/news/article-2285516,^Jeil-Heslin-Father..
                22-01023-hcm Doc#1-4 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 137
                                                     of 692
              Acror,46, geared up for å

                                                                                                                         +99

                                                                                                                                 Top



                                                                                                                               Share
              )BlacCnyna,30,


              clìngy gymweâras $he
              shows åx YBN Alm'g¡ty

              missing a few dåys âfter


              t San.lrã Eulrocfi rocks


              with O¿ê¿n's 8 costâr

              The leading ladies were


              I Singer,15, who wa6
              cruolly büllìed leåv€s
              AGT judqes ¡n aw€ with

              Womån    -   even earninq



              t Cr¡st¡ano Ronaldo ånd

              noln¡nated for ESPYs-..



              beau Ben also made cul

              ,lgqy Azalea slm¡ês her
              thon9{låd bacþido ¡n
              the kitcnen during se¡y


              Rapper pul on a sexy


              ) From rsålity qleê¡Ê       1s
              'real wodd' sa¡â.ies:
              Whål lhe Kardåshien-


              êr.l6d tömorrow - and
              Xim wo(ld måke LEAST

              t Pâtrick Stêwã.t   mey

              ?4 yêåß as CåS
              expa nd6 lranch ise w¡ih

              Rumblings 77 yeaÊold




              q¡vee b¡dh to hêr lirêr
              child as she welcomes
              'bêautitul blershg' baby
              boy Såntiago Fnriqus



              t Lucy Hale show6     oí
              ¡mpressivê cÍrYes...

              ¡nÌerv¡ewwhere sh6




              ) Bêttâ Hâd¡d tooks

              trendsêttè. å3 3hé r¡k6s

              lwo stylis¡ ensembles




 l7 of   32                                                                                                                6/21/2018,l0;l I AM
Neil Hesiin: Father ofSandy Hook victim breaks down at senate   com...   http://www.dailymail.co.uk/news/a¡ticle-2285516/Neil-Heslin-Father..
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                                                    of 692
           Showed ofi her sartorial
           flarr
                                                                                                                         +99


                                                                                                                     *f'ü*       rop


                                                                                                                               Share
           I Jånet Jåckson,52,


           after 'inten Êe' struggle

           Feels like life is stårling
           agåin ¡fì her 50s

           , Commutors are lelt
           Þaffled by myster¡o0s
           mast€d duo wlo write
           POË[1S on whitsboards

           stâtlons (and eveñ Katy


           > Oemi Lovãto 6hãres
           fåcy ¡ñage whefe she s
           touching tongL¡ôs      ì¡r¡th
           båckup dãncor Ðåni


           holding hârìds



           claims herVERY rvelle
           2003 physiqu6 wâs'å
           body do!ble'... âs fang
           brðnd th€ curvy rtår
           'self-dêplêcal¡ng ånd


           ) Tor! Spell¡ng shows         oft
           h€r postbaby body in
           bilìnitop ând $horls on
           tânÌlygetaway to Pãlm
           sprin9s
            Spending lime with the¡r


           t Outla¡ìdefs Sophie
           Skel¡on lìaunts [er legs
           ¡n a tllrly rut-oùtd.ess
            at Ed¡nbursh




            ,Arìån¿ crarde rnd
            Pet€ Dåvidson's naw

            Êngðged couplê movê

            bedroorn ãpârimert
            worth å whopp¡ns $16M


            Êr¡ziliâñ modelSofiå

            exrlusive five-piêce
            6'¡vimwÞar liû6 d€s¡oned
            to mâke you. backËide




               criticized her for post¡ns
               h¿ppy lñst¡grårn picl¡rrè

               Anthony Bounlåiñ's




 l8 of32                                                                                                                       6/21/2018,l0:ll AM
Neil Heslin: Falher of Sândy Hook victim breaks down at senate   com...   http://www.dail).rnail.co.uk/news/a¡ticle-2285516Neìl-Heslin-Father..
                      22-01023-hcm Doc#1-4 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 139
                                                           of 692
              I Ellz¡berh Pêrk¡ns,        57,
                                                                                                                           +99
              reve¡ls slìe has been
              balllirq lype      1 diabêtes
                                                                                                                                   Top
              for 13 yeårs ând åi oñê
              point it mad€ hergain
              40tbs
                                                                                                                                 Share
              |   Ðuå    l¡pa leaves little
              to ths inråginat¡on in
              VERY riÊqué thlgl-åpl¡t
              dreEs as she steps out
              ¡n NYC


              wârdrobe maliunclion


              looks breathtaking in             a
              flowiîg blue gown           ås

              brunch at Cãnnos Lions
              Piayed Ollvia Pope in
              Scãndalfo.7 seãso¡s

              ) Roþert Zemo.kis in
              'f inal negôaiâaìors' to




              Plans on sticking closêr to


              t AmyAdamå eays her
              exper¡ences with ssxual
              iaraÊsmênt mâde her
              oñlywantto'p¡åy nuns


                  supporler of Time s UP

                  , How Europoân royåls
                  ¡ncluding Pr¡r¡cess Sofiå

                  Sþp¡¡nis ot [Iónaco
                  Lady Amel¡a Windsor
                  dirplâys her ink¡ngs

                  ) [,]¡kins room ror tlr6
                  gråndklds? Plåns in
                  place lor ån exl6n3ion
                  tû å lodge on Frince66

                  daughrerZarå
                  welcomss a baby girl

                  t   Kå¡â cerberchannels

                  shô.ts ånd b¡â2ê. ås she
                  $tep3 our wìtl¡ lradiåon




                                         Hu9h


                  ãn   eâfy morning wa¡l




                  Laresr Roc(y    lick   hils
                  lh€alers November2l

                  ) Êdñ¿ê Lôùis wìll be
                  chrisienêd n6xi monttr:

                  ånnounce the fifth in
                  r¡n€ lo ahs throne wi¡lbe
                  Þapt¡zed at The Chap€l




 l9 of   32                                                                                                                      6/21/2018,l0:ll AM
Neil Heslin: Father ofSandy Hook victim breaks down               at senate   com...   http://www.dail¡.rnail.co.uk/news/article-228551óNeil-Heslin-Father.
               22-01023-hcm Doc#1-4 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 140
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                                                                                                                                        +99

                                                                                                                                                 lop


                                                                                                                                              Share
           ) eeam¡ng ouoen
           Elizabeth leåds þyats
           on thok secoflrl dây åt
           Ascot - bul L.dy luck

           Sophio Wæsêx who
           sâw NONE ol her horsås



           revesls Kanyewesl told

           srylê'ånd ådmits she


           He cleâred out her closêt

               Aen Alfleck steps   oul
           'lvith gklf r¡end Lindsay
           Shookus... atter fork¡ng
           out f19m¡ll¡on for LA

           Pair spent pârt of Fathêis
           Daytogethor

           ) G¡vsnchy dðsignêr
           Clare !Vûight Kêller
           prå¡ses Megban Malkle

           sknds up for women's
           rights'. åtter Duche3s
           chooses ¡ãbe¡agåi¡

           t   So who is w¡nning thô


           g¡rlfriênds båttlo it out
           ìn VrFY glamoroùs
           ln*tâgram po6t6 from


           , Bod6 M¡llêråñd w¡f€

           thank¡ns lriends and
           rans fortheirsuppôrt
           åner thêy lost the¡r'19-
            month-old dslghGr in â


           t Furious Belgiâns   h¡t
            Irac¡( åt John Clð6$o
            åliêr Fåwlty TÕwers stâa
            slamâ them as'l¿zy,lat

            lollolv¡ng dlsappo¡nting


            ¡Ble¡d¡ng inl M¡chelle
            Obama steps out for




                                            À¡]vt¡&i:.,
                                           AR}W'IEFË,
                                         &Êtl,:l¡       rllrr I
                                         tit't Yüln   tPiií:tlt
                                         T:TV T Fûñ IñET
                                           FOÉ ðÕ û.ñaS I'


           AOVERI]SEMEN'T


               DON'T MISS




 20 o132                                                                                                                                      612l/2018, l0:l   I AM
Neil Heslin: Father of Sandy Hook victim breaks down at senate   com...   http://www.dailymail.co.uk/news/article-22855l6A,leil-Heslin-Father.
                   22-01023-hcm Doc#1-4 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 141
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           Fel¡c¡ty Haywård hitê
           õãct al strange. lvho
           tolal her.ho was 'too faf                                                                                       +99
           to w€âr å c.op top ¡y
           post¡¡q a.lefiant sflåÞ


                                                                                                                                 Share
           I sofìå      R¡ch¡e tegs ¡1to
           lunch wìth pål¡n Dåisy

           top ¡n tssvarly H¡llg
           It was reported that she ¡s
           back l¡ving wilh boyfriend
           Scoit oisick

           ,       Do thê ¿rchiiêcts   ¡now
           somêthina ws donrt?

           Meghån's Cots\À!ldÊ

           srylishly{râssed yo!ng
           woman pushing            r þåby
           I why Meghån ÞlÐN'l
           weår her nama badge at

           though Kâtê always
           wears hers (ãnd ¡tç åll
           to d0 with the del¡cate


           t Multip¡o women claim
           lr0ntmân of emô rÞck
           bând Aidan'ãmot¡onâlly

           d€manded they Ê¡gn



           )Cher        ¡s forcêd   tô èål
           COW TONGUE after


           3tomach-churning game
           ôn Jåmes Corden's The


           , Kylie Jénner holds
           dåu 9hter Stormi c 106ely
               ågôinst chGsl as sne
               boardË prÍvãt6 jêr witlÌ
               Tmv¡s Scott ånd frionds
               [/ake,up mogulcuddled


               I Aclor Pot€r Fonda
               såys A¿rþn lrump, 12,
               6hoü¡d be l¡pped lrom


               pedophil€s'in Twitter


               )ntoNY stars n¡mona
               Singsr and Dorinds
               Med¡ey puck6r up a¡
               char¡ty event ir¡ NYc

               Ronald [¡cDonald House


               I Karl¡ê Klôss sl¡mned
               aÕr tôllirìg pêop'a to 9e1


               to e¡i.l fåmifies being
               sepårâted ¡t border

               Jarsd Kushners bmth€r




2l of 32                                                                                                                     6/21'2018, l0:1   I AM
Neil Heslin: Father ofSandy Hook victim brcaks down at senate   com...   http://www.dailymail.co.uk/news/axticle-2285516nleil-Heslin-Father..
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                                                      of 692
            breåkã down in teå16
            whire report¡ng that                                                                                         +99
            ¡mm¡grânt bãb¡ês ¿re
            bói¡s hêld iî shêlters                                                                                               Top

            separatêd from parsnrs
                                                                                                                               Share
            ) Hollywood's båcXlash




            'd¡sgû6tinE' côvsråqe ot


            ) Gr6y's Anãtomy står

            orderèd to pây S50,629
            A IìONTH in ch¡¡d
            support åÍd $?70,000 in
            logâlteê$ to h¡s êr-wife


            I   ts vlegtan moaeting


            Duchosã' Ascat oulfit
            êôhoêd a VERY similar



            ) andy cohen conf¡lmÊ
            ie ¡s îotdâting'swet




            matchês w¡th Lady Kitty

            dåring undçrþoob tårloo




            Þullèts and tsar gas as
            v¡gilforsla¡rr rappsr
            XXXTantãcion g€ls oul
            of controlånd f.ns leap



            ) scgll Baio    13   ctôarcd

            ¿llegåtions ãllo. tho LA
            county DistÌ¡ct Aliorney
            REJECTED Nicolê
            Êggêrts claiñs agô¡trst
                h¡m

            ) stôphanie Prâr !hows
            oí her lisûrê in skimpy
                påisl€y two-piece a6 sbo
                5o¿ks uplhe sun on fte

                Topped up her lan and




                s¡immed down figure on

                Has he stoppêd enjoying
                the Íuirs of his lâbol¿




 22 of 32                                                                                                                  6/2112018,l0:l I AM
Neil Heslin: Father ofSandy Hook victim breaks down at senate   com...   http://www.dail)..rnail.co.uk/news/article-22855l6Neil-Heslin-Father..,
                22-01023-hcm Doc#1-4 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 143
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           t   Nåoûn cåmple¡t,48,

                                                                                                                           +99
           juñpsuil as slß brings
           sorño gtânourro tha                                                                                                     Top
           Çånnos L¡ons Festivãl

                                                                                                                                 Share
           I   Setena colnez steps




           'usly'

           t    No búll¿r hotes, no

           rãppêr xxxTsntåc ¡on
           Þ¿liêvê he is stilläl¡ve

           shooting ås a'puþlic¡ly
           stunt' in bizañe theory

           I    K¡m Krrdashian dareÊ

           þrâletlr afid und8rw€år

           break vÍìi'e'påcking' in

           c¡olrriíg


           shåres sm¡ling shol or


           l4olher ol two showed lhe
           youngsierwiih a cast on


           ) J6ssiria Albñ SlowB

             ronth-old so¡ H¿yes
           ì¡¡ork in Lo$ Angelés




           ) Brooklyn Beckham


               photographer, 19,
               âíerds V&A Sùmmê.


               ) G\rynðth Pâ¡trow'sêt

               Falchui on the ground6
               ôr her Hamptons lìomê
               át thê énd ôf sûñm¿a
               Her year gol ofi to quilo
               the exc¡ling slårl




               arûefìto posts blunl




               ) Elle [lacphêrson,54,


               encou€qing women to

               wsisht ånd qet'beach


               ) Alexa Chung tops up
               her lâÍ in ôlivô green
               bik¡r¡   âå shê tåkês å

               ¿ru¡se with c¡ose lri€nd
               Pjrio Geldof ¡n Måjorcã




23 of 32                                                                                                                     621/2018,10:l I AM
Neil Heslin: Father of Sandy Hook victim breaks down at senate   com...   http://www.dailymail.co,uk/news/article-22855l6Neil-Heslin-Father...
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                                                                                                                        +99




                                                                                                                              Share

            abs  justlWO months
            âfter giv¡íg b¡rth as sb€
            dcclar€s båbywe¡ghl is

            Gruellìng filness regime

            ) Gwen St6fan¡ fl¿shès

            weå¡jng a þikin¡lop and


            The   pai   ênjoyed sunsel


            ) MêlB celeÞ.ãtoe ¡sr
            daugñlêr Angel's ll th

            West Holly\rood bash
            âs she 3hows ofi her
            trim figurè h all-wh¡te


            t Koudnêy Kardãsh¡an
            stêals sasrer Kim'r sryls
            as she f¡ðu tc hèr pêrt

            bicycle shorts ìn Rome

            incr€dibly fil l¡gu.e

            >   N¡cii fi,linaj viciously
            clâp3 brek ãt eritics



            The rapper uploaded a




            recycling acß? JùdgE
            preteñds not to know
            Wês'P on America's Got

            å¡lpear¡ng on 5 versions


            ) Pr'yânka choprå lôoks

            colourrulshirt dress

            NYC-,.    åfterdi9cussi¡g

            Jonas.låt¡ng rumors

            ) Eva Lonsoriã slash6s
            $3M     ofi mågnifiêent

             hìdeaway boro.e gÌvjng
             b¡rth to ñer f¡rst chlld
             Jusl splurged on $13.5




             l¡åx¡rnô Þ.eak9 si¡onco


             suicide - and sãys the

             rhe has found Pêâce




 24 of 32                                                                                                                     6121120t8,l0:l I AM
Neil Heslin: Father ofSandy Hook victim breaks down at senate   com...   http://www.dailymail.co.uk/newsiarticle-2285516Nei1-Heslin-Father.,
                22-01023-hcm Doc#1-4 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 145
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           I ExcLUstvE:      1 lêer
           bette.ånd comfortrble

           ÞâGon reveals why
           åhe strippod down tô                                                                                               Top
           hor birthdåy    ¡uitas she
                                                                                                                           Share
           t   Red HorChil¡Peppers


           Frã¡líe Rayder listthêir
           sttrn¡inq 1930s Los
           angêles hômo for $2,97


           t Tha Bea¡ies lcoñ Sir
           Paul McCårtnoy,76,
           minqles with to!ristÈ ag
           l¡s join3 elçg¿nt
           Nåncy Shevell,50,'¡Yif6
                                for a



           >Teên ¡¡om Z st¡rLeatr
           Mess€r admlts ¡o rècent

           husband Jêremy Calven
           Wenl to crcative lengths




           t A royal procession of
           h¡s owñl Prince Phtllp,
           97, ônjoys a hors€ ãnd
           carriâgê nde ãt WirdEor

           opening day ot Ascol
           for socond yêår runnìng


           ch¡c pântsu¡t ås she
           promotes show The

           calllng Kim Ksrdåshiåfi
           'brohèn forconstanliy


           > Kou.tnay l(ardash¡ân
           flåshê8 åmple asseG ¡n
           black brâiette aã she
           ho¡ds handÊ wìth þôåu
           Younes Bendj¡ma in



           ) Emily Rãtãjkolrski




               I xxxlent¡c¡o¡  s ox,
               girlfriênd, who he'beât
               ând choked wiilê she
               was prégnånt with his
               êh¡ld, rêvôåls sho wås
               run our ot hiÊ v¡gil by



               NYPD captain in movie
               directêd by Þêefcake êr-
               Xånys West þodyquard




25 of 32                                                                                                                  6,21,2018,l0:114M
Neil Heslin: Father of Sandy Hook victim brçaks down at senate   com...   http://r.rrvw.dailynail.co.uk/news/article-2285   5 t   6./Neil-Heslin-Father..
                 22-01023-hcm Doc#1-4 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 146
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                                                                                                                                  +99
            Sc¡wazeneggë r 5 paaks
            oul ¡gainsrTruûps
                                                                                                                                          Top


                                                                                                                                        Share
            ) Khlo€ Kardashiãn and
            lnstãn lhornpsoû p¡ck
            üp iood ¡tå drivê ihru...
            ãsil6.evêåled Khlo8
            WILL årldre8s cheatlng



            t Blåc Çhynä shrugs     in
            sryl¡sn lnslågrãm photo
            6hoot.. butleepÊ quiet



            brcakup on social media

            ) Têa for Twol Molan¡a
            hoste Ouee¡ Lêtlzíâ of
            Spåin rort3â as the two
            lâshioñ¡st¿s 9rêeteðch
            oth€rwårmly and ¡$
            their s¡gnatùre sr¡letios
            Joined by lheir hubbies

            tA¡ìne Halhaway ríltns
            ec¡ion-pâcked scenes
            for upcorn¡iB dråm¡
            Tne Lasl lhing Ho

            Plâys rcporterwho tumg


            ) Kristeñ Bolldåzzlêå Ìn
            he¿ven¡y wh¡to coát ånd

            screên¡nq of The Good

            Screening of her comed¡c-


            ) çourteney cox looks

            jäcket as s¡e's jo¡ned
            by daughtûrçoca,14,          ¡t
            ¿h¡.lty gig ¡n Londor
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                                            Testimony of Neil Heslin

             Senate Judiciary Committee Hearing on the Assault Weapons Ban of 2013

                                               February 27,2013

           My name is Neil Heslin. Jesse Lewis was my son. He was a boy that loved life and lived

   it to the fullest. He was my best friend. On December 14, he lost his life at Sandy Hook

   Elementary because of a gun that nobody needs anil nobody should have a right to have.         I'm   here

   to tell his story. I know what I am doing here toclay won't bring my son back, but I hope that

   maybe   if you listen to what I say today    and you do something about   it-maybe nobody else will

   have to experience what I have experienced.

           On December 14, Jesse got up and got ready for school. He was always exoited to go to

   school. I remember on that day we stopped by Misty Vale Deli. It's funny the things you

   remember. I remember Jesse got the sausage, egg and cheese he always gets, with some hot

   chocolate. And I remember the hug he gave me when I dropped him off. Hejust held me, and he

   rubbed my back. I can still feel that hug.

           And .lesse said "lt's going to be alright. Everything's going to be okay, Dad." Looking

   back it makes me wonder. What did he know? Did he have some idea about what was about to

   happen? But at the tirne I didn't think much of it. I just thought he was being sweet.

           [Ie was always being sweet like that. He was the kind of kid who used to leave me voice

    messages where he'd sing me happy birthday even when          it wasn't my birthday. I'd ask him

    about it, and he'd say   "ljusr   wanted to make you feel happy." Half the time I felt like he was the

    parent and I was å¡,ç son.

            He   just had so much wisdom. He would know things, and I would have no idea how he

    knew. But whatever he said, it was always right. He would remember things we'd done and
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   places we'd been that I had completely forgotten about. I used to think          ofhim   as a   tiny adult. He

   had this inner calm and maturity that.iust made me feel so much better when I was around him.

             Other people felt it, too. Teachers would tell me about his laugh, how he made things at

   school more fun just by being there.        If   somebody was ever unhappy, Jesse would find a way to

   make him feel better. If he heard a baby crying he wouldn't stop until he got the kid to smile.            I


   remember him jiggling keys and standing on his head. Anything to make that crying baby feel

   better.

             Jessejust had this idea that you never leave people hurt.     If you   oan help somebody, you

   do it. Ifyou can make somebody feel better, you do it. If you can leave somebody a little better

   off, you do it.

             They tell me that's how he died. I guess we still don't know exactly what happened at

   that school. Maybe we'll never know. But what people tell me is that Jesse did something

    different. When he heard the shooting, he didn't run and hide. He started yelling. People disagree

    on the last thing he said. One person who was there says he yelled "run." Another person said he

    told everybody to "run now," Ten kids from my son's class made it to safety. I hope to God

    something Jesse did helped them survive that day.

             What I know is that Jesse wasn't shot in the back. He took two bullets. The first one

    grazed lhe side   ofhis   head, but that   didn't stop him from yelling. The other hit him in the

    florehead. Both bullets were fired from the front. That means the last thing my son did was look

    Adam Lanza straight in the face and screarì to his classmates to run. The last thing he saw was

    that coward's eyes.

             Jesse grew up    with guns,just like I did. I started shooting skeet when I was eight years

    old. My dad was a vice president for years at a local gun club. He started taking me shooting
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   when I was eight. When I tumed ten he started taking me hunting. He taught me to respect guns,

   just like I taught   Jesse.

           Jesse actually had an interest in guns. He had a bb gun.      I watched over him like a hawk

   with that. t taught him gun safety. He knew it. He could recite it to you. He got it. And I think he

   would have got what we are talking about today. He liked looking at pictures of army guns, but

   he knew those weren't for him. Those were for       killing people.

           Some guns just don't have any place in the hands       ofcivilians. The assault weapons we're

   talking about today, their sole purpose is to put a lot of lead out in a battlefield quiokly. That's

   what they do. That's what they did at Sandy Hook Elementary. That wasn't a killing; it was a

   massacre, Those guns and those clips let Adam Lanzâ massacre those kids. And my son was one

    of them.

            I wish I wasn't here with you today. The best day of my life was the day my son was

    born. The worst day was the day he died. I don't want to relive that day talking to you here about

    it. It would be easier for me just to stay home.

            But I know that's not what Jesse would do. Jesse died screaming at a man with a gun, He

    died yelling at the top of his lungs so maybe some    ofhis   classmates could get to safety.   l'm not

    going to scream at you, but I hope that maybe I can use my voice like my son used his. Maybe          if
    I make enough noise a few beautiful innocent children like my Jesse won't have to die.

               I'm not real political. Half the time I think it doesn't matter which group ofyou    guys runs

    things out here, no offense. l've always thought it wasn't a real good idea for people to be

    walking around the streets with military weapons, but I probably wouldn't have said anything

    about it.
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             But right now this isn't about politics. The day my son died I was supposed to see him in

   the aftemoon. His mom and I were going to go meet hirn at school and we were going to make

   gingerbread houses with his class. I love that stuff, just having that extra time with my kid.

             So I guess I was in a pretty good mood when I started to hear about a shooting. And at

   first I didn't really know what that meant. You know, we all try to look on the bright side. So

   when I heard abouf a shooting I thought, maybe it"s another town. And then when I heard it was

   Newtown I thought it probably wouldn't affect me. Even when they said it was a school I figured

   it was probably a domestic dispute or something. Maybe it was a suicide.

             I hate to say it but even when you know your community has been hit you hope and pray

    it wasn't your boy. They had us all go to a fire station to wait and see if our kids would make it

   out ofthe school. By 3:30, maybe 4:00, they told us there were no more survivors, I should have

    realized. They'd basically told me my son was dead, but I waited. I told the people what to look

    for, what he'd been wearing that day. He had this striped shirt and Carhartt jacket, and these

    pants that   fit him in September, but then     he hit a growth spurt.   I gave the description and I waited

    some more. I waited and I hoped,         until 1:30 in the moming. That's when they told me he was

    wasn't coming.

             So the reason   I say this isn't about politics is because what I lelt on that day, and what

    I've felt since, doesn't have anything to do with politics. In politics, people like to debate and       say

    if we   banned the weapon Adam Lanza used would he have just found something else. But let me

    tell you, when you're sitting at a firehouse and it's one in the morning and you're hoping against

    hope that your son is still hiding somewhere in that school, you want any change that makes            it

    one bit more    likely you'lì   see   your boy again, If keeping those unnecessary weapons offthe

    street would have let one more ofthose children leave that school building,           it might have been
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   my Jesse. If Adarn Lanza had been able to shootjust one fewer bullet, maybe my son would be

   with me today.

          Bef'ore he died, Jesse and I used to talk about maybe coming to Washington someday. He

   wanted to go up the Washington monument. When we talked about it last year Jesse asked if we

   could come and meet the President.

          I said earlier that I can be a little cynical about politicians. Buf Jesse believed in you.     FIe


   learned about you in school and he believed in you. I want to believe in you, too. I know you

   can't give me Jesse back. Believe me, if I thought you could I'd be asking you for that. But I

   want to believe that you   will think   about what I told you hear today. I want to believe   you'll

   think about it and then you'll do something about it, \¡/hatever you can do to make sure no other

   father has to see what I've seen. You can start by passing this assault weapons ban and taking

   these senseless \¡r'eapons out   ofthe hands ofpeople like Adam Lanza.

           Thank you for listening to my story.
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 Exhibit B-4 is    a   thumb drive containing a true and correct copy of a c-span video of Mr.

 Heslin posted            on the          website    with the url   address: https://www.c-
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Feinstein pushes assault weapons ban in Senate showdown
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             Feinstein pushes assault weapons ban in
             Senate showdown - as it happened
               Newtown father Neil Heslin talks about bans t57 weapons, high-capacity
             magazines GOP senators say enforcement of background checks needed Police
             chief: 'We don't chase paper, we chase armed criminals'




             US Senate  intettigence comm¡ttee chairman Dianne Fe¡nstein àt the Senatejudiciary comm¡ttee hearing on the assault weapons
             ban of 20l3 on Câpitol. Hil.L. Photograph; Yuri Gripas/Reuters

             TomMcCarthy inNewYork
             Wed 27 Feb 2O131O.22 EsT

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             Summarv
             We're going tó wrap up our live blog coverage of the Senate hearing on                           S.   r 50, the proposed
             assault weapons ban. Here's a summary of where things stand:

                California Democrat Dianne Feinstein explained her proposed law, which would ban


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        157 weapons and large-capacity magazines. The bill doesn't conflscate existing weapons
        and names 2,ooo makes of guns that would stay legal. Feinstein admitted the new weapons
        ban faced an "uphill battle" for passage into law.

          Newtown father Neil Heslin talked about losing his son, Jesse Lewis, 6, in wrenching
        testimony.

           Milwaukee police chief Edward Flynn won applause for pushing back against Lindsey
        Graham and other GOP senators who argued that prosecution ofbackground-check
        falsiflcation is needed before a gun ban. 'We don't chase paper, we chase armed criminals,'
        Flynn said.

           Philadelphia Mayor Michael Nutter called the idea that assault weapons are used for
        self-defense "absurd." Senator Al Franken said "I can imagine those hypothetical cases but
        I'm not sure what value that holds. But I don't have to imagine someone using a 3o-round
        magazine, or several, to kill zo children, because that happened,"

            Chances for passage of a new assault weapons ban are indeed slim, Ewen MacAskill
        reports.
         6.29pm

        Feinstein is wrapping up. She defends the 1994 assault weapons ban, which she wrote.

         "I believe it made a difference," she says. "I believe it did just begin to dry up the supply."

         Feinstein says assault weapons have no place in society,

         "I do not know why as a matter of public policy we can't say, 'They don't belong."'

         "I just want to say, the courage that it took for people from Sandy Hook to be here today,                 I
         want to say thank you. Neil Heslin, I thank you. With a little help from the people of
         America, we might be able to pass that.

         "It's an uphill battle all the way."

         Feinstein adjourns the hearing.
         31 Dec
         1969

         Since you're here ... we have a small fa1)our to ask. More people are reading the Guardian than
         ever but advertising revenues across the media are falling fast. And unlike many news
         organisations, we haven't put up a paywall - we want to keep our journalism as open as we
         can, So you can see why we need to askfor jtour help. The Guardian's independent,
         investigative journalism takes a lot of time, money and hard work to produce. But we do it
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         more secure. For as little as $t, you can sryport the Guardian - andit only takes aminute.


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              Make a contribution. - Guardian HQ
              6.l3pm

              Senator Franken says he hasn't seen any evidence of an AR-i"s being used, ever, for self
              defense.

              Mayor Nutter says assault weapons are not for self-defense.

              "The idea that these weapons are for selfdefense, based on our experience, is completely
              absurd," Nutter says.
              6.11pm

              Neil Heslin begins to talk about the shot that killed his son, Jesse Lewis, 6, inside Sandy
              Hook elementary.

              Heslin says witnesses said Jesse's last words were either "run" or "run now" The boy died
              from a shot to the forehead.

              "Jesse looked that coward Adam Lanza in the eyes," Heslin says. "He saw his face and he
              saw the end of that barrel. He didn't run and he didn't turn his back. That was the fatal shot
              that killed Jesse."
              6.O4pm

              "What has become common in America is unacceptable in a civilized country," Durbin says

              The crowd applauds. Feinstein gavels.
              6.O2pm

              Graham going on about background checks.

              "I would suggest that in some situations six bullets is not enough for a person defending
              their family," Graham says.

              He poses a question to Hardy, the Tucson gun advocate:

              "If you had a lawless situation, let's say there's a natural disaster somewhere. Unfortunately
              these things do happen," Graham says. "And there's three homes One without a gun, one
              with a shotgun and one with an AR-15. If there's a gang roaming around the neighborhood,
              which home is best protected in a situation like that?"

              Hardy says the home with the AR-r5 would be best protected in such a up_datgqat6                  06pm GMT

              5.55pm

              Begg presents a horrible video in which a ballistics expert demonstrates what a bullet from
              an AR-15 can do.

              The expert in the video shoots       a   block of gelatin{ike matedal - flesh'like material - with a


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        .22 rif\e. Then he shoots one with an AR-15. The .zz bullet passes cleanly through. The
        AR-r5 bullet goes in and then explodes.
        5.5Opm

        Dr Begg says he treated Sandy Hook victims at the Newtown ER on the day of the shooting.

        But not many victims made it to the ER.

        "We had such ho¡riñc injuries to           little bodies, that's what happens, they don't even make it
        to the hospital," Begg said.
        5.48pm

        "The time for political courage is noq" Nutter says. "How many more children, how many
        more police omcers do we have to lose?"
        5.48pm

        The Guardian's Washington bureau chief Ewen MacAskill is inside the hearing:

        The   father of Newtown victimJesse Lewß, NeiI Haslin, wept as he testified at the Senate
        hearing on legßIation to ban assault weapons.

        Television showed his tears. What it did not show was the tears of many sitting on the public
        benches,

        His words were barely audible in the Senate room but enough could be heard to chill those
        present. Such raw emotion is seldom heard at these hearings and there was an uncomfortable
        silence, with some squirming in their seats.

        5.45pm

        Now Philadelphia Mayor Michael Nutter, president of the US conference of mayors,
        testifres.

        "The f,rst police officer my city lost after I took office in 2oo8 was killed by an AK-+7 type
        weapon," Nutter says. The officer was responding on a weekend morning to an incident at a
        supermarket.

        Nutter says some statements the committee has heard have been "dispassionately
        disrespectful" to Neil Heslin, the father of Newtown victim Jesse Lewis, and other victims'
        families.

         The ¡emark draws applause. Feinstein gavels.

         Nutter's point is, how can you rattle off statistics about flring rates and pistol grips when
         you're sitting in the same room with somesne who has paid such a personal price.
         5.33pm

         Now David Hardy,        a   gun advocate - a lawyer, literally - from Tucson, Arizona.


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              He says the   bill, S.rSo (full text here), incoherently discriminates among various guns.
              Sr5o would ban more guns than any ban ever in the history of the republic he says. He
              means it as a bad thing.

              He talks about different features     ofdifferent guns. He's there to address provisions ofthe
              bill that ban "military features."
              5.28pm

              Up next is Nicholas Johnson, law professor at Fordham University, who is testifying that
              the assault weapons ban would be UN-constitutional.

              Emotionally speaking it's a difücult argument to make after the testimony the committee
              just heard. He begins by saying so:

              "When one listens to victims of events like this, the impulse is to give them anything they
              want," Johnson says. "And I understand that impulse.

              "Mine is a counsel of despair. My core point here is that the classiflcations established by
              [the law] are unsustainable under the lowest category of constitutional review."

              He's talking very quickly, explaining why the country can't ban assault weapons.

              5.22pm

              "This is a tipping point," Begg, the Newtown EMS director, says. "This is             a   tipping point and
              this is a public health issue. Please make the right decision."
              5.2Opm

              Begg asks for "real research on gun violence in this country,"

              Gun advocates have successfully lobbied the federal government to stop funding research
              on gun deaths.
              5J6pm

              "When lthe second amendment] was written almost 3OO yeats ago, we didn't have these
              weapons that we have today," Heslin says. "They had muskets and cannons.

              "I feel these so-called assault weapons... should fall in that category and be banned."

              He's flnished.

              Feinstein thanks Heslin.

              The next witness, Dr. William Begg, EMS Medical Director in Newtown, is sniffling as he
              begins speaking. The whole room seemed to be crying.
              5'l4pm                                                                               updated at 5.23pm GMT




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        Neil Heslin was a state champion skeet shooter, he says. He says his son was interested Ín
        guns.

        "I have   a   broad knowledge of weapons, including military weapons."

        "Ironically flve days before Jesse passed away my mother passed away. Jesse had an
        interest in the military. Jesse had an interest in guns, he asked a lot of questions about
        them,"

        The night before he died, Heslin says, Jesse was looking at a weapons magazines. On one
        page was pictured "a Bushmaster, a Glock and a Sig handgun."

         "He asked me about those weapons, and I explained them to him. What they were used for,
        their capability.
         "His response was, 'It's a gun that's used to kill people.'

         "I said yes, Jesse, that's what it's used for.

         "Jesse had a BB gun. I bought              it for him for Christmas a year ago.
        "He knew all the safety precautions. He could recite them to you, the same way that I could
        when I was his age."
         5.lOpm

         Terribly wrenching testimony from Neil Heslin about losing his son.
         "I waited in that flrehouse         till   one o'clock in the morning          till I knew that Jesse was
         conflrmed dead,
         "No person should have to go with what myself and what the other victims' families had to
         go through and what Newtown had to go through."

         "It was 9.04 when I dropped Jesse off. The school clock. Jesse gave me a hug and a kiss at
         that time. He gave me a hug and a kiss and said goodbye, I love you. He stopped and said 'I
         love mom too."

         "Prior to getting out ofthe truck he stopped and he hugged me.

         "That hug I can still feel."

         "I have to go home at night to an empty house without my son. Something that never
         should have happened at an elementary school.

         "People argue about the second amendment. Well the second amendment says a well-
         regulated militia. ... It hasn't been           well-regulated." updated at s lopm GN4r

         5.06pm
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         Neil Heslin, father of Newtown victim Jesse Lewis, 6, is testifying.

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         "I'm here to speak up for my son."

         He is weeping. Wrenching.

         4.55pm

         Chief Flynn gets more applause. "Is zo babies not enough?" he asks. "When was that gun
         bought?"
         4.52pm

         The Guardian's Ewen MacAskill is at the hearing. It will take a legislative godsend for
         Feinstein's proposed assault weapons ban to pass, he notes:

         The highlight of the Senate hearing on an assault weapons ban so far was a heated exchange
         betweenRepublicanLindsey Graham, opposed, andMilwaukeepolice chief EdwardFþnn, in
         favor.
         If avote on thebiII, whichwouldban about t6o dffirent types of military-style assault
         weapons, was to be held among visitors packed into the hearing, including families of victims
         of mass shootings, it would sail through. Fþnn was loudly applauded during his exchanges
         with Graham. Such applause ß rare: Senate hearings are sryposed to be lßtened to in silence.

         But it is the Senate, not the public at the hearing, that will decide on the bill introduced by the
         iudiciary committee chairwoman Dianne Feinstein. Comments by Republicans on the
         committee make it clear that it has no chance of getÍing through. The line from Republican
         after Republican on the committee ß that they view the bill as tokenßm and that a similar ten-
         year ban on automatic assault weapons introduced in the Tggos had no irnpact.

         Graham, in hß exchanges with Flynn, summed up the Republican view. The need ß to enforce
         exßting laws, not introduce new ones, he said.

         The Senate arithmetíc is in the Republicans' favour. The Democrats do not have the 60 votes
         needed to overturn a Republican rtHbuster. Republicans have already delayed progress on the
         bill by a week and wiII delay it further.

         The hearing is a chance for opponents of assault weapons in civilian hands to voice their case.
         But for all the emotion displayed in the committee, the reality is that thß bill has no chance.
         The Senate is holding this hearing not to help frame legßlation but primarily as a courtesy to
         Feinstein.                                                                    Updated at 4 53Pm GMT


         4.49pm




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               John Watsh, US attorney for the distr¡ct of Colorâdo, test¡fies
               before the Senatejud¡c¡4ry comm¡ttee. Photograph: Yuri
               Gr¡pas/Reuters

               4.47pri

               Walsh says he's not aware of any incident in which a potential victim has not had to flre
               more than 10 shots in self-defense.

               "I'm not aware of any such instance actually happening," he says.
               4.36pm

               AI Franken gets into the fantasy land ofgun advocates who argue that people need AR-rss
               for self defense in scenarios with multiple attackers and who knows what else.
               "I can imagine those hypothetical cases but I'm not sure what value that holds," Franken
               says. "But I don't have to imagine someone using a 3o-round magazine, or several, to kill 20
               children, because that happened."                                       updated at4'38pm GMT


               4.27pm

               Chief Flynn is a wit. He says data on whether the last assault weapons ban worked can be
               spun either way because there wasn't an experimental control group in which assault
               weapons were distributed in one area and erased from another.

               "It all depends on how you want to spin the data," Flynn says. "And that is a cottage
               industry all by itself." As for himself, he flnds the daring notion that removing assault rifles
               from the streets will correlate with a decline in mass shootings to be persuasive.

                Now it's Senator Ted Cruz:

                "I'd like to begin by thanking the victims of violence who have come here."

                There's a lot of sympathy in the room                  today.                         updated at 4'29pm GMT


                4.18pm

                Republic Senator John Cornyn is hammering on background checks too. He says they're
                not enforced or prosecuted, The argument is that an assault weapons ban shouldn't be the


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            flrst step. The ñrst step should be tougher law enforcement.
            It's as if the two sides are looking at a run-down house and arguing over what needs f,xing
            flrst, the roofor the plumbing. They keep arguing. Nothing gets flxed.

            Walsh objects strongly to the notion that the justice department isn't enforcing gun laws.
            One in 5 offederal cases in Colorado are guns cases, he says. "As a prosecutor, we go for the
            worst of the worst. And the worst of the worst are the cases in which a bad guy has actually
            got a gun."

            "Lying on forms [meaning background checks] is also a federal crime," he says, but it can't
            be an enforcement pdority.

            4.13pm

            The logic is bulletproof.                                                           updated at 4.13pm GMI

            4.O8pm

            Walsh, the Colorado district attorney, says all the shootÍng in Newtown happened in "less
            than 4 minutes."

            You can't stop all attacks but you can take steps to       limit casualties, he says.
            "These events happen very quickly," he says. "There is no way that we are going to prevent
            people from engaging in these sorts of attacks completely. What we can do with a ban on
            high-capacity magazines is we can limit the damage and horriflc casualties that these
            people cause when they take these actions."
            4.O5pm

            The National Rifle Association brags on Twitter about the pace ofweapons sales:
            4.O2pm

            Chief Flynn gets into it with Graham.

            Graham wants to know why the cops aren't arresting people who fail background checks.

            Flynn says they're not going for enforcement on paper. They're trying to stop crime.

            "We don't make those cases. We have priorities. We make gun cases. We're not in a paper
            chase."

            G¡aham and Flynn are talking over each other. Flynn actually manages to shout him down.

            "We don't chase paper, we chase armed criminals!"

            The audience applauds the police chief.

            Graham uses the word       "bailiwick."                                             updated at 4.o2pm GMr




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          Graham: "I own an AR-15. I passed the background check." If there are 4m AR-15s owned
          by people like me, I think [it's in common use].

          Feinstein has to gavel the room to order.
          3.58pm

          Sen. Lindsey Graham is speaking.

              "To the victims of all these shootings, I don't know what to say but, 'I'm sorry,"' he begins.

          Then he says less than 3% of all homicides in the US are committed with rifles. "Twice as
          many are killed with bare hands."

              He points out that background checks aren't enforced. He grills Walsh about how many
              people he prosecutes for failing background checks.

              It never happens.

              "I'm  bit frustrated that we'd say one thing, but in the real world we do nothing to enforce
                     a
              laws on the books."
              3.52pm

              The Guardian's Ewen MacAskill captures two snapshots from inside the hearing:

              An effective moment at the Senate hearing committee: when chairwoman Dianne Feinstein
              said the support for ban on automatic assault weapons came from law enforcement chiefs
              across the country, She asked them to stand up and about e score rose.

              Also effective is footage of a man firing an automatic weapon. The steady shots lístened to           in
              total silence. Must be hard for families from mass shootings to hear.

              Feinstein has a special interest in this ßsue. She was the drivingforce behind an assault
              weapons ban in the 799os that was allowed to løpse ten years later during the Bush
              administration.
              3.46pm

              Grassley asks Walsh about the constitutionality of the assault-weapons ban.

              Walsh has done his homework. The supreme court has established three standards for
              constutionality ofsuch a ban, he says.
              To be subject to ban, the weapon must be in common use;    it must be a dangerous and
              unusual weapon of the kind that's traditionally regulated; and the ban must not contravene
              the core of the second amendment right, which is self-defense.
              3.42pm

              Feinstein asks Walsh about keeping schools safe.


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        "The presence of armed guards in schools is not sufficient to prevent the kind of horrors
        we've seen in past years," Walsh says.

        "It's an extraordinary cost and no guarantee," Flynn adds. I don't know who's going to pay
        for all ofthese guards.

        "Security is part of the solution, but if we not do something about the weapons and
        implements that enable people to slaughter zO people at a time, then we are not doing
        enough."
        3.38pm

            "It's time for Congress to pick a side," Flynn concludes. "This time I hope it's law
            enforcement."
            3.36pm

            Edward Flynn, police chief of the Milwaukee Police Department, is now testifying.

            "I've been a police officer for over 40 years," he says. "Among the most difficult challenges I
            continue to face is the flrearms violence exacerbated by high-capacity mâgazines and
            assault weapons."

            "These weapons are designed for combat," he says. In less than three years, seven of his
            officers were shot with assault rifles or semiautomatic pistols,

            He describes incidents of fatal gun violence in cities involving assault weapons.

            3.33pm

            Now testifying: John Walsh, US Attorney for the Colorado district.

            He says the state has been shaken by the July 2012 movie theater shooting in Aurora and
            the 1999 Columbine school shooting.

            "As a longtime federal prosecutor, I share the view that shutting                         offthe flow of [assault
            weaponsl is a top public safety priority," he says.

            He says high-capacity magazines can turn any weapon into a tool of mass violence. Such
            magazines are not required for protecting a home or for hunting, he says.
            3.29pm

            Grassley says the 1994 assault weapons ban didn't work. The implication being that a new
            ban wouldn't work.

            "The assault weapons ban did not prevent the school shooting at Columbine," Grassley
            says. "When something has been tried and found not to work, we should try different
            approaches."

            In addition to relying on     a   tendentious interpretation ofthe old ban's efficacy, Grassley


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             doesn't allow for the possibility that the ban simply wasn't strong enough.

             "Experts who have studied the law tend to agree that it was rife with loopholes and
             generally ineffective at curbing gun violence - though it might well have reduced mass
             shootings," Brad Plumer wrote in the Washington Post in December:

             In crafting the 7994 ban, Iawmakers mainly focused on t8 specirtc rtrearm, as well as certain
             military-type features on guns. Complicated flow charts laid it aII ouL Certain models of
             AR-.15s and AK-47s were banned. Any semiautomatic rifle with apistol grip and abayonet
             mount was an "assault weapon." But a semiautomatic rifle with just a pistol grip might be
             okay. It was complicated. And its cornplexity mad.e it easy to evade.

             The current ban would apply to 157 weapons, instead of r8.
             3.22pm

             Senator Chuck Grassley, Republican oflowa, makes his opening statement.

             "There is much that can be done to protect public safety that is not being done," Grassley
             says.

             Such as an gun ban? No, turns out that's not what he has in mind. He mentions video games
             and mental health records.
             3.19pm

             Feinstein plays footage of people flring semiautomatic weapons.

             "The need for a federal ban has never been greater," she says.

             She says California's assault weapons ban has not stopped such guns from coming in                     from
             Arizona.

             "It is clear that we need   a   national solution," she says.

             Feinstein says the new ban would:

             Ban the sale, transfer, importation andmanufacture of t57 specirtcally named assault
             weapons.

             Ban any weapon that is semi-automa.ric, has a detachable magazine and has at least one
             milit ary characteristic.

             Ban large-capacity ammunition feeding devices capable of accepting more than i-o rounds.

             Protect rights of legitimate hunters by specifi.cally excluding over 2,ooe rtrearms usedfor
             hunting or sporting.

             Not take away any weapons that arryone owns today,

             Ban   future sale or transfer of large-capacity magazines.

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        Feinstein wants to address assettion that the ban would be unconstitutional.

        "The original federal assault weapons ban was challenged repeatedly in federal court,"
        Feinstein says. "Each and every time, these challenges were rejected, and the ban was
        upheld.
        3.13pm

        The Guardian's Ewen MacAskill is at the hearing:

            There ß no sign of interest in the guns issue beginning to wane, at least judging from the
            turnout for this morning's Senate judiciary hearing. The judiciary committee has chosen one
            of the biggest rooms available in the Hart building and still managed tu rtII it. Journalists out
            in force too, aII cosily crammed in, occupying both sides of long tables lodged against the walls.

            Famiþ and teachers from Newtown are present to hear a host of witnesses, including John
            Walsh, US attorney from Colorado, and Edward Flynn, chief of Milwaukee police department.
            Journalßts have just been handed biographies dnd statements from the witnesses, a thick
            tome that would take almost the whole the hearing to read.

            3.O9pm

            Good morning and lvelcome to our live blog coverage of the push for a new assault
            weapons ban. This morning the Senate Judiciary committee, chaired by Dianne Feinstein,
            Democrat of California, will hear testimony from law enforcement about their encounters
            with assault weapons.
            Later the panel will hear from        a   group including Philadelphia mayor Michael Nutter.

            The Assault Weapons Ban of zor3 would ban 157 kinds of "military-style" assault
            weapons. "I recognize it's an uphill battle, but I also know that these events are going to
            continue and America has to step up," Feinstein, told MSNBC on Monday. "I think we will
            make the case that this is constitutional, I think we will make the case that these weapons
            do not belong on the streets ofour cities."

            Topics
            ¡ Gun crime
            .    USpolitics
            ¡    Obama administration




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                  Latest Updates on the Gun Violence Debate
                  Jennifer Preston


                  President Obama travels to Connecticut Monday, where lawmakers last week
                  approved stricter gun laws nearly four months after zo children and six
                  educators were shot and killed in Newtown, Conn.

                   S:go P.M. Video of Obama Speaking in Hartford, CT




                   President Obama travels to Connecticut to taìk about gun control.

                   As our colleague, Jackie Calmes reported, President Obama traveled to Hartford,
                   Conn. on Monday to press his case on reducing gun violence with new federal
                   gun measures expected to be considered bv the Senate.

                   Last    wee\ Governor Dannel P. Malloy signednew gun legislation into law that
                   included extending background checks and closing loopholes in the state's
                   assault weapons ban aìmost four months after a mass shooting at a Newtown,
                   Conn, elementary school left zo children and six educators dead.

                   April   F. 2or-qsorne States Expand Gun Rights as Others Impose New Laws

                   As my colleague, Trip Gabriel reported. Maryland lawmakers gave final approval
                   Thursday night to new gun restrictions, becoming the fourth state to impose


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                  sweeping new restrictions on gun owners and purchases since the Dec. 14 mass
                  shooting at an elementary school in Newtorvn, Conn.

                  But as the Senate returns from recess next week to debate federal legislation that
                  includes extending bacþround checks, some state lawmakers are looking to
                  expand rights of gun owners and loosen regulations governing purchases.

                  In Utah, as the Lede previously reported, lawmakers approved a bill that made               it
                  no longer necessary to get a permit to carry a concealed weapon.
                  Gov. Gary Herbert decided to veto the legislation, saying that the requirement
                  for a concealed weapons permit did not hinder anyone's rights.

                  Other states are moving ahead with laws to expand the rights to carry arms, as
                  the Wall Street Journal has reported. They point to Tennessee allowing workers
                  to bring guns to work and store them in their vehicles. South Dakota lawmakers
                  voting to allow school boards to arm teachers. And the decision in Arkansas
                  allowing people to take their guns to churches and on college campuses.

                   For example,

                  April s. zorqFact Checking the Gun Debate

                   The Washington Post's Glenn Kessler has this roundup of claims made about
                   guns and gun violence since the Newtown, Conn., shootings.

                   Anril ¿. zortConn. Governor Signs New Gun Bills into Law




                   Gov. Dannel P. Malloy signs new gun legislation into law



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                  Gov. Dannel P. Malloy signed into law new gun measures that he described as
                  the most comprehensive package of new gun laws in the nation.

                  Mr. Malloy was joined at the bill signing ceremony with family members who
                  lost loved ones, including zo small children, in the mass shooting on Dec. 14 at
                  Sandy Hook Elementary School in Nerntown, Conn. Mr. Malloy broke the news
                  about the deaths of zo children and six educators to parents and famiþ
                  members waiting in the town's firehouse that day.

                   "This is a profoundly emotional day, I think, for everyone in this room and
                   everyone watching what is transpiring today in the state of Connecticut," Mr.
                   Malloy said

                   Under the new laws, Connecticut has expanded its ban on assault weapons,
                   prohibited the sale of high-capacity magazines that hold more than ro bullets,
                   required gun owners to register assault rifles and other ammunition and extend
                   bacþround checks, making it more difficult for people with a history of mental
                   illness to purchase a gun. Most of the law's provisions will take effect on August
                   1, the governor said, but some aspects of the law go into effect right away,

                   The legislation was approved by the House earþ Thursday morning, as our
                   colleague Peter Applebome reported. after it was approved by the Senate on
                   Wednesday.




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                                            ffi
                   Video of the House vote early Thursday.

                   April   ¿..   2oßMaryland Lawmakers Approve Assault Weapons Ban




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                   Television news report from WJI,A-TV in Washington, D.C. on Maryland
                   lawmakers voting to approve a ban on assault weapons and other new
                   restrictions on guns.

                   Maryland lawmakers approved a ban on assault weapons, limits on the size of
                   high-capacity magazines and new requirements, including a license to buy a
                   handgun and fingerprinting during bacþround checks.

                   The vote in the state's House of Delegates came on Wednesday after the Senate
                   had approved similar legislation. The House Speaker said that he would work
                   with his colleagues in the Senate to resolve differences in the versions during the
                   next two days.

                   Gov. Martin O'Malley, a Democrat who has made tougher gun laws a top priority
                   of his legislative agenda, said that he would sign the package of bills into law.

                    "Maryland has stood up as a state to say that this is not acceptable and that
                    military assault weapons have no place in a civil society," Mr. O'Malley said in a
                    statement.

                    The proposed gun legislation met with strong opposition from advocates ofgun
                    rights who poured into the state capital of Annapolis multiple times in recent
                    months as the gun legislation was considered.

                    April 4. 2oßConnecticut Lawmakers Approve Comprehensive Gun Package




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                   A report on the state legislature's vote on gun measures     eaÙ Thursday from
                   WTNH-TV, Channel B in Connecticut.

                   After 13 hours of debate, Connecticut's lawmakers approved a package of new
                   restrictions on gun owners and gun purchases at 2:3o Thursday morning, almost
                   four months after a mass shooting at a Newtown, Conn. elementary school killed
                   zo children and six educators.

                   As our colleague, Peter Applebome reported, "the vote came in a deeply divided
                   Capitol packed with angry and frustrated gun owners who arrived in buses and
                   vans carrying signs reading "Connecticut the Un-Constitution State," "N.R.A.
                   Stand and Fight" and "Shall Not Be Infringed." And it came in a state that has
                   historically been at the heart of the American gun manufacturing industry.

                   Gov. Dannel P. Malloy, a Democrat, said he would sign the legislation at a
                   ceremony scheduled for noon on Thursday. The package ofbills include
                   restrictions on the sale of high-capacþ magazines, expanding the number of
                   weapons covered under the state's existing assault weapons band, extending
                   bacþround checks, limiting gun sales to people with mental illness and
                   requiring gun owners to register weapons with high-capacity magazines.

                   AÞulj,_aa!3colorado Sheriffs Oppose Gun Control During Obama Visit




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                   Colorado county sheriffs object to new state laws restricting gun owners and gun
                   purchases.

                   A few hours before President Obama spoke at a police academy in Colorado, as
                   our colleague Michael D. Shear reported. to draw attention to the state's newly
                   approved restrictions on guns, more than a dozen of the state's county sheriffs
                   gathered at a nearby park a few hours earlier to sharply criticize the new laws.

                   The nation's police chiefs have been a key component of Mr. Obama's lobbying
                   effort for tougher federal gun measures and the state's police chiefs organization
                   supported Colorado's newly signed legislation that extends bacþround checks
                   to private gun sales and limits the sale ofhigh-capacity magazines. But several of
                   Colorado's sheriffs, speaking Wednesday, at a news conference said that the new
                   laws would do little to avert another mass shooting and impose unnecessary
                   restrictions on gun owners..

                   And they complained that the state lawmakers and the governor did not listen to
                   their concerns.

                   "If the issue that we're focusing on is community safety and reducing violence, it
                   could have been done without some of these very serious impositions on our
                   citizens," said Justin Smith, Larimer County Sheriff. "The fact they ignored that
                   and the president showed up for a victory lap, I think, is a slap in the face to
                   Coloradans."

                   Terry Maketa, the sheriff from El Paso County, said the new laws "criminalize
                   law-abiding citzens." He cited a provision that bans sales ofgun magazines that
                   can hold more than 15 rounds. The new law would allow people to keep a
                   magazine that can hold more than r5 rounds but face a misdemeanor charge if


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                  they sold it or gave it away.

                   "These laws will haven no deterrent effect whatsoever on the tragedy that
                   occurred in Aurora," he said.

                  At a police academy, surrounded by law enforcement ofñcers, communþ
                  leaders and family members who lost loved ones to grrn violence, President
                  Obama praised the state's lawmakers and Gov. John W. Hickenlooper for
                  approving what he called "common-sense" gun legislation.




                   President Obama talks about the need for stricter laws on guns in a speech to a
                   police training academy in Colorado Wednesday.

                   As Mr. Shear reported, Mr. Obama's trip was an "attempt to resuscitate support
                   for his gun-control legislation and press Congress on the issue before it returns
                   to the capital next week."

                   Colorado has experienced two of the nation's worst mass shootings, in 1999 at
                   Columbine High School and last summer at a suburban Denver movie theater.
                   At the law signing ceremony, the sister of one of the rz people who died in the
                   movie theater, where 7o others were wounded, said she believed the law banning
                   the sale of high capacity magazines could have saved her brother and other
                   victims. Now, a state known for its staunch support for sportsmen and the
                   Second Amendment, Colorado has the tightest restrictions on gun owners and
                   gun purchases outside of New York, Connecticut and other northeastern states.

                    In his remarks, Mr. Obama emphasized the importance of universal background
                    checks.




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                As Mr. Shear reported on T\resda)¡. independent researchers say that
                strengthening bacþround checks on gun sales would have more potentiaÌ
                impact on gun violence than any other federal measure that President Obama
                has recommended.

                  Mr. Obama's trip to Colorado and a scheduled visit next week to Connecticut,
                  where he will appear with famiþ members of some of the children and teachers
                  killed in the Dec. 14 Sandy Hook Elementary school shooting, come as the
                  Senate is expected to consider a less restrictive package ofgun laws next week.

                  Anril q. sorgConnecticut Governor Will Sign New Gun Measures




                   Gov. Dannel P. Malloy at a news conference on new gun laws

                   Governor Dannel P. Malloy of Connecticut said that he would sign into law the
                   bipartisan package of new gun measures that the state's lawmakers are expected
                   to approve on Wednesday, The Hardord Couranl¡eparls.

                   "I think it demonstrates once again that we can do things on a bipartisan basis in
                   Connecticut that simply cant be gotten done in Washington or other state
                   capitals," Governor Malloy said at a news conference.

                   Describing Connecticut's package of bills the most restrictive in the nation, the
                   National Rifle Association urged members to travel to Haftford to protest the
                   bills that were still being debated Wednesday afternoon.

                   Mr. Malloy initially wanted a statewide ban on high-capacity magazines, similar
                   to a law enacted in New York. The package of bills include extending bacþround
                   checks, banning the purchase of new high-capacity magazines and other


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                  measures intended to strengthen school security and address mental health
                  concerns. "It is a very strong statement to the rest ofthe country," he said.

                  When asked about threats from gun makers leaving the state because ofthe new
                  legislation, Mr. Malloy said that he thought about jobs all the time as a governor
                  but his primary concern was safety.

                  When asked about concerns fiom gun owners over imposing new restrictions,
                  which they view as unnecessary, he told reporters:

                   "There are weapons that are inherentþ more dangerous than others. When you
                   can walk into a school and kill zo children and six adults in less than five
                   minutes and get off r54 rounds in that school, that is a dangerous weapon.
                   Interestingly enough, we have had an assault weapons ban in tggz. But it was
                   drafted in such a way that you could drive a truck through those loopholes.
                   Those loopholes are now closed."

                   The vote comes three months after the mass shooting at Sandy Hook Elementary
                   School that left zo children and six educators dead in Newtown, Conn., and
                   amid a national debate over whether stricter gun measures are needed to help
                   avoid further gun violence.President Obama is expected to visit Connecticut
                   earþ next week as part of his campaign to press members of Congress to
                   approve new gun restrictions. The Senate is expected to consider limited
                   restrictions next week.

                   MeanwhiÌe, the expectation of new limits on gun purchases and ammunition
                   prompted a surge ofnew sales and activity at Connecticut's gun shops, as our
                   colleague, Peter Applebome, reports.

                   Aoril a. eor3Ner,ltown Parent Supports N.R,A, School Safety Plan

                   As our coÌleague, Sheryl Gay Stolberg. reported, the National Rifle Association's
                   school safety task force unveiled its plan T\resday to develop a plan to train and
                   equip security guards at schools across the country.

                   With the Senate vote on new gun restrictions approaching next week, former
                   Representative Asa Hutchinson, a Republican from Arkansas, issued a zzs-page
                   reÞort and eight recomm              at also called for more federal funds to
                   train and equip school personnel with firearms.

                   Mark Mattioli, whose six-year-old son, James, was among the zo children slain
                   at Sandy Hook Elementary School in Newtown, Conn. joined Mr. Hutchinson at
                   the announcement in Washington. "This is a comprehensive program," Mr.
                   Mattioli said, calling the recommendations "real solutions."
                   "I applaud everyone for their input," he said. He added, "I also want to         say   that
                   politics need to be set aside here."

                   Mr. Mattioli said that parents are sending their children offto school with


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                  "certain expectations." "And obviously in Sandy Hook, those expectations were
                  not met," he said.

                  He also said that he believed that concern about mental health issues needed to
                  be addressed. "If you look what took place in Sandy Hook, mental health is a
                  huge component of that," he said.

                  The recommendations include a call for schools to develop "a threat assessment
                  team, which will work in coordination with mental health professionals."

                   "The purpose is to create a positive school environment that encourages sharing
                   information on early warning signs and reducing incidences of bullying or other
                   anti- social behavior," according to the report.

                   Other excerpts from the National Rifle Association's recommendatíons on
                   school safety:

                          No. r: Training: A model-training program has been developed by the
                          NSS Task Force for the professional training of armed personnel in
                          the school environment....This training wiÌl only be open to those
                          who are designated by school officials and qualified by appropriate
                          background investigation, testing and relevant experience.

                          The National School Shield initiative should adopt this model-
                          training program for armed ofñcers or personnel in the schools as a
                          best practice. The N.R.A. has the nationally recognized expertise to
                          develop and implement the stringent training courses required by
                          this model program. It is recommended that the professional
                          training programs that are approved by the states for armed school
                          personnel use private sector approved and certified trainers as well
                          as traditional state law enforcement trainers.

                          No. z: Adoption of Model Law for Armed School Personnel: Many
                          states prohibit anyone other than a sworn law-enforcement offìcer or
                          licensed security guard to carry a firearm in a public or non-public
                          school. In order for a seìected school staff member to be designated,
                          trained and armed on school property, the states will have to change
                          current legal restrictions.

                          No. 3: School Resource Ofñcer: Each school that employs an S.R.O.
                          should have a Memorandum of Understanding (M.O.U.), or an
                          "interagency agreement," between the appropriate law-enforcement
                          agency and the school district. This contract should define the duties
                          and responsibilities of the SRO, as well as the applicable laws, rules
                          and reguÌations. The objective of the S.R.O. is not to increase juvenile
                          arrests within a school, but to provide security and to support the
                          normal disciplinary policies of a school consistent with the M.O.U.

                           No. 4: Online Self-Assessment Tool: An internet-based self-


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                         assessment tool has been created to alÌow any school (whether
                         public, private or parochial) to have secure access to
                         comprehensively evaluate and assess the security gaps and
                         '"ulnerabilities of each school. The National School Shield initiative
                         should pilot this self-assessment tool in three school districts of
                         different sizes in order to per{ect the questions and scoring. After the
                         pilot projects are completed, this assessment tool should be deployed
                         in a secure fashion on the N.S.S. Web site for free access by all
                         schools who obtain authorization codes.

                          No. 5: State Education Adequacy Requirement: State standards
                          related to school security vary from non-existent to stringent.
                          Although state responses to school securþ will naturaþ vary, there
                          should be a common element that requires all public schools to
                          participate in an assessment and develop a security plan based on the
                          unique requirements of that particular institution.

                          No. 6: Federal Coordination and Funding: Either through legislation
                          or executive action, a lead agency should be designated to coordinate
                          the federal programs and funding of local school safety efforts. The
                          Department of Homeland Security should be designated as the lead,
                          supported by the Department of Education and Department of
                          Justice. It is recommended that the Department of Homeland
                          Security grants should be open for school security programs such as
                          training, risk assessment and security response planning. This would
                          not involve any additional federal funds, but would open up schools
                          as a potential recipient of the Homeland Security grants.

                          No. 7: Umbrella National Organization to Advocate and Support
                          School Safety: Because ofthe limitations of federal, state and local
                          funding for school safety, there is an
                          important role that can be filled by a private non-profit advocacy and
                          education organization. The National School Shield is in a position
                          with adequate funding and support from the N.R.A. to fulfill this
                          important national mission. The N.S.S. mission would: (a) provide
                          national advocacy for school safety; (b) supply ongoing online self-
                          assessment and other tools for public, private and parochial schools;
                          (c) make available best practices in school safety to help guide
                          schools in the development of school safety and security policies; (d)
                          fund innovative pilot projects and training costs for armed school
                          personnel; and (e) provide state-of-the-art training programs in the
                          area of school safety and security.

                           No. 8: Specific Pilot Program on Threat Assessments and Mental
                           Health. As part of its comprehensive security plan, each school
                           should develop a threat assessment team, which will work in
                           coordination with mental health professionals. The purpose is to
                           create a positive school environment that encourages sharing



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                           information on early warning signs and reducing incidences of
                           buþng or other anti- social behavior. The team should coordinate
                           with any current crisis response protocols, and should be responsible
                           for assessing the emotionâl climate of the school by reviewing all
                           relevant policies, rules and regulations that affect the educational
                           environment. The team will be responsible for evaluating alÌ threats,
                           including the surrounding circumstances, and conducting an
                           investigation to determine whether the threat is serious. After aìl
                           appropriate assessments have been made, the team should create a
                           written safety plan by integrating all relevant findings, and should
                           determine whether to refer the student to a school psychologist for a
                            mental health assessment and, if necessary, to the school resource
                            ofñcer for a law-enforcement investigation.

                   April z. zo$Georgia Town Votes to Require Gun Ovr'nership

                   In              about 5o miles north of Atlanta, Georgia, the Cþ Council
                        a small tonryr
                   approved an ordinance Monday night requiring the head of households to
                   "maintain a firearm, together with ammunition," as reported by the Associated
                   Press.

                   But the City Council members, voting 5-o, made exceptions for people who do
                   not approve of gun ownership, convicted felons and those who suffer from
                   physical or mental disabilities.

                   Duane Cribuc, the council member who sponsored the measure, told the
                   Associated Press it was like putting up a "security sign" for his town of about
                   r,5oo people "Basically, it was a deterrent ordinance to teÌl potential criminals
                   they might want to go on down the road a little bit."

                   April    1.   2oßConnecticut Lawrnakers Approve Tough New Gun Measures




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                   Television news report on Connecticut lawmakers reaching agreement on new
                   gun measures

                   Connecticut lawmakers are expected to vote Wednesday on what they described
                   as some of the toughest gun laws in the country that would include extending
                   background checks to private gun sales and expanding the state's assault
                   weapons ban.

                   As our colleague, Peter Applebome reports, the package of new laws include a
                   ban on the ammunition magazine that was used to kjll zo children and six staff
                   members at Sandy Hook Elementary School. The legislative agreement also
                   would require gun buyers to obtain a new state-issued certificate before
                   purchasing any rifle, shotgun or ammunition. To get a certificate, buyers would
                   need to be fingerprinted, take a firearms training course, undergo national
                   criminal bacþround check and a review to determine whether they had been
                   committed on an involuntary or voluntary basis to a psychiatric hospital.

                   Despite a dramatic plea from relatives of victims killed at Sandy Hoo\ as Mr.
                   AppÌebome notes, the legislation did not include a complete ban on high-
                   capacity magazines, although it did include a halt on future sales of high-
                   capacity magazines with more than ro bullets. In New Yor\ larvmakers and
                   Governor Cuomo approved a bill that would ban ownership of high-capacity
                   magazines that goes into effect next Jamrary.

                    "I wake up in the morning and put this green ribbon and pin on my jacket lapel
                    to remember those we've lost," said John McKinney, a Republican who
                    represents Newtown and is the Senate minority leader. "And what I'm proud of
                    is that all ofus, Republicans and Democrats, understood that some issues, and
                    this one particularþ, should rise above politics."


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                March 2q. 2olgAntigun Video Campaign Features Forrner President Reagan




                   A new antigun online video campaign features former President Ronald Reagan.

                   With the United States Senate expected to consider new gun measures after the
                   Easter recess, gun control advocates are hoping the words of former President
                   Reagan will help build support for expanding background checks to private gun
                   shows and sales.

                   A group, based in Alabama, released a video Friday with footage of the
                   attempted assassination of Mr. Reagan and then quotes the former president's
                   support in favor of background checks in a rggr op-ed. published in The New
                   lo¡þll!¡qss in favor of the Brady bilÌ.
                   "President Reagan believed something could have prevented the attac\" says
                   the narrator of the video. "Ten years later, he n'rote the attack might never have
                   happened if a bill requiring bacþround checks had been law."

                   The ad was uploaded by what appears to be a recently formed group, calling
                   itself the United Network of Rational Americans. The activist behind the
                   organization is Scott Crider, the same person who created "Dogs Against
                   Romney" an online effort waged against Mitt Romney during the zorz
                   campaign. The goal was to draw attention to how the Mr. Romney's dog traveled
                   on the roof of the car during a family vacation. A Facebook page devoted to this
                   effort has more than roo,ooo likes and is now being used to promote the online
                   video promoting bacþround checks.

                   It was 3z years ago this week that John HincHey Jr. shot President Reagan, Jim
                   Brady and others. The ad notes that Mr. Reagan, who suffered a punctured lung,


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                  was shot despite the presence of armed Secret Service agents and police. Mr.
                  Brady was paralyzed.

                  Mr. Hinckley nas found not guilty by reason of insanity in the shooting.

                  In the op-ed, President Reagan praises the legislation requiring a bacþround
                  check on individuals who purchase weapons from a federally licensed dealer.
                  Under the legislation being considered in the Senate, bacþround checks would
                  be extended to gun shows and private gun purchases.

                   6:o8 P.M.President Obama: Tears Are Not Enough for Newtown

                          Video

                          Obama Renews Plea on Gun Control

                          Standing with gun victims' mothers, President Obama made a push
                          to lawmakers to pass his gun-control legislation next month.

                          By Ben Werschkul on Publish Date March         28,2or3.
                   Standing with a group of mothers who lost their children to gun violence,
                   President Obama said Thursday that tears for gun victims in Newtown and
                   elsewhere were not enough and called on Americans to urge their lawmakers to
                   adopt new gun lar,vs.

                   "Tears aren't enough," he said. "Expressions of sympathy aren't enough.
                   Speeches aren't enough, We've cried enough. We've knorvn enough heartbreak.
                   What we're proposing is not radical. It's not taking away anybody's gun rights.
                   It's something that if we are serious, we will do. No¡n/s the time to turn that
                   heartbreak into something real."

                   Our colleague Peter Baker reported that Mr. Obama expressed irritation in his
                   remarks, "in a way that the generally reserved president does not often do. At
                   some moments, he paused and took a breath as if collecting himself and circled
                   back to some of his points for emphasis."

                   Mr. Obama made his impassioned plea         as   the Senate prepares to begin a floor
                   debate next week on the new gun laws.

                   Across the country, gun control advocates also sought to regain momentum for
                   their campaign for new restrictions, designating Thursday as the National Da!' to
                   Demand Action. Bvents were organized by various groups, including Mayors
                   fuainst Illegal Guns, which is heavily supported by Mayor Michael R.
                   Bloomberg.

                   In his remarks, Mr. Obama expressed irritation at the notion that his
                   administration had not acted swiftly enough and that the horror of what
                   happened in Newtown had faded.


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                  "Less than 1oo days ago that happened, and the entire country was shocked and
                  the entire country pledged we would do something about it and this time would
                  be different," Mr. Obama said. "Shame on us if weTe forgotten. I haven't
                  forgotten those kids. Shame on us if we've forgotten."

                   "The notion that two months or three months after something as horrific as what
                   happened in Newtown happens and we've moved on to other things?" he said.
                   "That's not who we are. That's not who we are. And I want to make sure every
                   American is listening today."

                   "We need everybody to remember how we felt roo days ago and make sure that
                   what we said at that time nasn't just a bunch of platitudes, that we meant it," he
                   added. To lawmakers, he said, "Don't get squishy because time has passed and
                   maybe it's not on the news every single day."

                   An advocacy group led by Mr. Bloomberg and the mayor of Boston, Thomas M.
                   Menino, said it was convening 12o events across the nation in support ofgun
                   measures. The group, Mayors Against Illegal Guns, also broadcast ads in
                   Connecticut featuring relatives of Sandy Hook victims calling for expanded
                   background checks and other measures.

                   Mr. Obama failed to persuade his own parly's leader in the Senate to include an
                   assault weapon ban in the gun measure being sent to the floor. Senator Harry
                   Reid of Nevada, the Democratic leader, refused to include the ban, although he
                   has said he will allow supporters to offer it as an amendment with an up-or-
                   dor¡¿n vote. Supporters acknowledge they do not have enough votes to pass it.

                   Senator Charles E. Grassley of Iowa, the senior Republican on the Judiciary
                   Committee, is preparing his own bill as an alternative to Mr. Reid's measure,
                   Politico reported. Mr. Grassley supported school safety measures and tougher
                   penalties for straw purchases but opposed the assault weapon ban and the
                   expanded bacþround checks.

                   r:rr P.M.North Dakota Senator to Mayor Bloombergs Butt Out

                   A United States senator from North Dakota questioned Mayor Michael R.
                   Bloomberg's decision to spend $156,ooo on television advertising to promote
                   gun control measures in her state, saying he could have put the money to better
                   use than "attacking a way of life he clearþ does not understand."

                   Senator Heidi Heitkamp, a Democrat and former state attorney general, also
                   said that she did not need "someone from New York City to tell me how to
                   handle crime in our state."

                   "Gun ovrnership in North Dakota comes down to growing up in a culture where
                   those rights come with an ingrained responsibility taught at a young age," Ms.
                   Heitkamp said in a statement. "We are proud of our outdoor heritage and will
                   continue to protect the rights of our hunters and sport shooters, the rights of our
                   farmers and ranchers to protect their crops and livestock from wildlife, and the


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                  rights of responsible, law abiding citizens to protect themselves and their
                  homes."

                  She also said that she agreed that guns must be kept out of the hands        of
                  "criminals and the dangerously mentaþ i11."

                  "That is why I support each state fuþ reporting into the F.B.L's National Instant
                  Criminal Bacþround Check System," she said.

                  Mayor Bloomberg is financing a $rz million national television advertising
                  campaign for the Ma)¡ors Against Illegal Guns that is scheduled to run during the
                  Easter recess in North Dakota and a dozen other states. The ads are running in
                  states with lar¡¿makers the group believes can be persuaded to favor bacþround
                  checks and "influence the upcoming Senate vote."

                  The organization pasted_ate o:lits_nq{_ads on YouTube on Thursday that
                  features parents and relatives of the Connecticut children and teachers killed at
                  Sandy Hook Elementary School calling for stricter gun measures.




                   A television advertisement from the Mayors Against Illegal Guns group with
                   parents and relatives of children and teachers killed at Sandy Hook Elementary
                   School.

                   Ms. Heitkamp is not alone in her objections to the ad campaign. This wee\
                   Senator Mark Pryor, a Democrat from Arkansas, posted on TWitter:

                          I've gotten a lot of questions about NYC Mayor gun ad. My response?
                          I don't take gun advice from the Mayor of NYC. I listen to Arkansans.




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                             Senator Mark Pryor (@SenMarkPryor) zS Mar rg
                         -
                   1o:4o A.M.Warrants Reveal Large Cache of Weapons Found in Lanza Home

                   Our colleague Ra]¡ Rivera reports that an extensive assortment of ammunition
                   and weapons, including rifles, knives and samurai swords, were among an
                   inventory of items the police found in the home where Adam Lanza plotted one
                   ofthe deadliest school shootings in the nation's history, according to search
                   warrants of the home unsealed for the first time since the Newtown massacre in
                   December.

                   The search warrants, which a judge agreed to partly redact at the request of
                   prosecutors, shed a glimmer of light on Mr. Lanza's inner world that, more than
                   three months after the tragedy, has largely remained a mystery. The documents'
                   release comes as state lawmakers in HarLford have been meeting daiþ in an
                   effort to wite a bipartisan bill that addresses gun violence and mental health
                   issues. Read more...

                   March 26. 2ollDocuments Released in T\rcson Shooting

                   The sheriffs ofñce that responded to the zorr shooting in Tucson, Arizona, that
                   wounded former Representative Gabrielle Giffords, released more than2.Too
                   pages of documents on Wednesday related to its investigation. As our colleagues
                   Sarah Garrecht Gassen and Timotly Williams report, the documents provide
                   new insight into how the shooting occurred and the motivations behind gunman
                   Jared Loughner. One of the main themes to emerge was his increasingly erratic
                   behavior, perhaps summed up best by his father as he told investigators: He
                   'Just doesn't seem right Ìately."

                   March 26, 2ol3Delaware Considers Bacþround Checks on Thursday

                   Visit NBCNews.com for      ,

                   While the gun debate is stalìed in Washington, governors and state lawmakers
                   around the country are taking up measures similar to what President Obama
                   and Vice President Joseph R. Biden Jr. have proposed, including an expansion
                   of bacþround checks and limits on the amount of ammunition loaded into a
                   rifle.

                   Appearing on MSNBC's Morning Joe on Wednesday, Delaware's Gov. John
                   Markell said that national public opinion polls have showed public support for a
                   "number of these really common sense proposals."

                   "But so many folks in Washington just don't want to hear it," he said. "We are
                   hopeful that in Dover, Delaware, it will be a different situation."

                    On Thursday, Mr. MarkeÌl said the state's General Assembly is expected to vote
                    on legislation that would extend bacþround checks to private sales and he


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                  acknowledged it wasn't going to be easy winning passage of gun measures, even
                  with overwhelming public support for background checks.

                  "It doesn't sound       making sure you're checking things out before
                                        so bad
                  somebody gets a weapon," he said. "The other side immediately says you're
                  infringing on our Second Amendment rights.

                   Mr. Markell echoed concerns during the interview of some gun rights advocates,
                   as reported by Poìitico that, the window for winning passage of new gun
                   restrictions may have passed four months after the shooting in Newtorvn.

                   "Many of us thought after Sandy Hook, Connecticut, that the moment was right
                   to focus on some reaþ common-sense proposals," he said. "It's not clear that it's
                   shaking out that way."

                   March 25. 2ol"Mayor Bloomberg's Anti-Gun Advertising Spots Begin Today




                   A television advertisement from Mayor Michael R. Bloomberg's $rz million
                   national antigun campaign that was launched on Monday.

                   As our colleague, Michael Barbaro reported, Mayor Michael R. Bloomberg is
                   financing a $rz million national advertising campaign that began Monday to
                   help build support for a package of new gun restrictions under consideration in
                   the U.S. Senate.

                   To help win passage of the legislation, Mr. Bloomberg is running the campaign
                   in :.3 states, represented by U.S. Senators he "believes might be persuaded to
                   support" the package. The states include Ohio, Pennsylvania, North Carolina
                   and Arizona.


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                  "The N.R.A. has just had this field to itself," Mr. BÌoomberg said in an interview
                  with Mr. Barbaro. "It's the only one that's been speaking out. It's time for
                  another voice."

                  On Sunday's NBC-TVs Meet the Press. Wayrre LaPierre, chief executive ofücer
                  of the National Rifle Association, criticized Mr. Bloomberg, saying he could not
                   "buyAmerica."

                   "He's going to find out this is a country of the people, by the people, and for the
                   people," Mr. LaPierre said on the program, which also included an appearance
                   from Mr. Bloomberg. "And he can't spend enough of his $27 billion to try to
                   impose his will on the American public. They don't want him in their
                   restaurants, they don't want him in their homes, they don't want him telling
                   what food to eat, they sure don't want him telling what self-defense firearms to
                   own and he can't buy America."

                   March 22. 2ol3Yoko Ono Weighs In on Gun Debate

                   Yoko Ono explains in an interview why she posted an image ofthe bloodied
                   glasses that her husband, John lænnon was wearing when he was shot and killed
                   in December, r98o.

                   March zr. zorsVideo: Newtown Parents Call on Senate to Act




                   Vice President Joseph R. Biden Jr., Mayor Michael R, Bloomberg and parents of
                   children killed in Newtown, Conn., called on lawmakers to impose new
                   restrictions on guns.




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                  As my colleague Ray Rivera reports, Vice President Joseph R. Biden Jr. and
                  Mayor Michael R. Bloomberg of New York were joined by parents from
                  Newtown, Conn., on Thursday to push federal lawmakers to support new gun
                  restrictions.

                  Just days after Senate leaders said they would not bring the proposed assault
                  weapons ban to the floor for a vote, the mayor, the vice president and the
                  parents whose children died in Newtorvn gathered at New York's City Hall to call
                  on politicians to take action.

                   Mr. Bloomberg noted that thousands of people had died as a result of gun
                   violence since the Newtown mass shooting. "It is up to us to convince members
                   of Congress to act now," he said.

                   Mr. Biden called on members of Congress to think about Newtown as they
                   weighed their decision on various gun measures, ranging from universal
                   bacþround checks to an assault weapons ban. "For all those who say we
                   shouldn't and can't ban assault weapons, for all those who say the politics are
                   too hard, how can they say that?" Mr. Biden said. "You take a look at those zo
                   beautiful babies, and what happened, and those 6 teachers and administrators."

                   Taking the microphone in City Hall's Blue Room, Lynn McDonnell, whose
                   daughter, Grace, 7, was shot and killed in Newtown, said that she and her
                   husband, Chris, felt "an immense responsibility to our daughter Grace" to speak
                   out and call for stricter gun measures.

                   "We ask everyone who has the power to influence this legislation" to do
                   something, she said.

                   "There was a sense of what happened in our town might be a tipping point and
                   that real meaningñrl progress in the area of gun safety might result," Ms.
                   McDonnell said. "We know that a lot of good people are trying to make things
                   happen."

                   looking into the camera, she said that people should "ask themselves if they are
                   doing enough to bring about real and meaningful change." If not, she said,
                   people should ask, "Why not?"

                   March zr. gorrlines Forrn Outside Gun Shops in Colorado

                    On the day after Gov. John W. Hickenlooper of Colorado signed into law
                    sweeping new restrictions on ammunition and firearm sales, long lines formed
                    outside some gun stores, as people sought to make purchases before the law
                    takes effect, The Denver Post reports.

                    "I've been coming here every other day for new mags," Alex Weldon told a
                    reporter while shopping at a gun store in Aurora, the Denver suburb where 75
                    people were shot in a movie theater last July. "I'm hoarding as many as I can."



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                  Under the new law, the size of a magazine has been limited to 15 rounds, which
                  law enforcement officials said would help them battle an active shooter because
                  he would need to reload.

                  March zo. zor3Colorado Governor Signs New Gun Restrictions

                  After an emotional and bitter debate in the state lægislature over proposed gun
                  measures, Gov. John W. Hickenlooper of Colorado signed into law on
                  Wednesday a package of new restrictions on ammunition and firearm sales.

                   Lobblsts for the National Rifle Association, now battling proposed state gun
                   laws around the country after the school shooting in Connecticut, had expressed
                   concern this month about the prospect of a Western state with strong support
                   for gun ownership approving new restrictions.

                   Outside the state Capitol on Wednesday, there were only a few protesters.

                   Gun rights advocates are already considering Ìawsuits and steps to try to change
                   the law through public referendum. They have also vowed to defeat supporters
                   of the Ìegislation in coming elections. Some county sheriffs said they would not
                   enforce all aspects of the new law.

                   Mr. Hickenlooper signed the bills into law hours after learning that Tom
                   Clements, the state's prison chie{ was shot dead when he answered the door of
                   his home on T\resday night. Ofñcials said that the widow of Mr. Clements had
                   urged the governor to proceed with the bill-signing ceremony, which had been
                   previously scheduled.

                   As our colleague Jack Healy¡cpotts-Mr. Clements was the executive director              of
                   the Department of Corrections, overseeing more than zo,ooo inmates in the
                   state's prison and parole systems. The police were still trying to identifu a
                   suspect and a motive.




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                   Governor Hickenlooper discussing the killing ofTom Clements, his prison chief,
                   who was shot to death when he answered the door of his home Tiresday night.

                   Only eight months before, Governor Hickenlooper stood before the cameras
                   after a heavily armed gunman shot more than 75 people at an Aurora movie
                   theater, killing rz.

                   One of the bills he signed into law would ban ammunition magazines that hold
                   more than 15 rounds. Another new law expands bacþround checks for private
                   and online gun sales.

                   Not all gun measures have reached the governor's desk. A ban on gun ownership
                   by people accused of domestic-violence crimes is pending in the lægislature.
                   Another bill that would eliminate online-only safety training for people seeking
                   concealed-weapons permits is also pending.

                    Two other bills were withdrawn from consideration, including a ban on
                    concealed weapons on public college campuses.

                    March rg. zorg U.S. Senate Will Not Consider Assault Weapons Ban

                    As our colleague, Jennifer Steinhauer reper[s,
                    the Senate will not consider reinstating the assault weapons ban when it votes
                    on gun measures next month.

                    "How many assault weapons do you need circulating?" Senator Dianne
                    Feinstein, a Democrat from California, said to reporters, after learning that the
                    ban has been removed. "To have these mass killings is such a blight on
                    everything that America stands for."


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                  The assault weapons ban had no hope of getting approved in the Republican-
                  controlled House.

                  Senator Harry Reid, a Democrat from Nevada, citing not enough support,
                  explains to reporters in this video from CBS News why the assault weapons ban
                  would not be considered.

                   On Twitter, people called for lobbying Mr. Reid to include the measure while
                   gun-rights advocates expressed victory.

                   March 18. 2olgShould Guns be Relinquished in Domestic Violence Cases?

                   Our colleague, Michael Luo reports, on how the National Rifle Association and
                   other gun-rights advocates have been able to help quash legislative efforts in the
                   past that would require people in domestic abuse cases to relinquish their
                   firearms when a judge issues an order of protection.

                   Only a handful of states now include strict laws governing firearms and
                   protective orders. Advocates for domestic violence victims said the laws are
                   necessary because data shows most women who die in a domestic violence
                   situation are killed by guns.

                   But, the influence of gun rights advocates is now being tested as states consider
                   new gun measures, in the aftermath of the school shooting in Newtown.

                   In Colorado last week, the Senate apprcled ¿ rneasulqthat would require
                   domestic abusers to relinquish their guns. Republicans opposed the legislation,
                   saying that the law amounted to confiscation of guns.

                   Your thoughts?

                   March 18. 2orqNRA's Wayne LaPierre Delivers Rousing Speech at CPAC




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                   Walme laPierre, head of the National Rifle Association, addresses the crowd at
                   the zor3 Conservative Political Action Conference in Washington, D.C.

                   Speaking to attendees of the zor3
                   Conservative Political Action Conference (CPAC), gathered in Maryland on
                   Friday, Walme IaPierre, chief executive officer of the National Rifle Association,
                   warned against federal legislation that would impose universal background
                   checks.

                   "There are only two reasons for government to create that federal registry of gun
                   owners - to tax them and to take them," Mr. LaPierre said, vowing the NRA
                   would fìght against the multiple gun control measures now being considered at
                   the state and federal level in the aftermath of the school shooting in Newtown.

                   Mr. LaPierre received six standing ovations during his speech

                   March rs. zor¡New York Gun Show Operators Agree to Track Sales

                   As our colleague, Thomas Kaplan repqrts, almost two dozen gun show operators
                   in New York State agreed to tighten their procedures to help ensure bacþround
                   checks are performed before gun purchases.

                   Bacþround checks have been required under state law since 2ooo, but
                   undercover agents from the state attorney general's ofüce were able to buy
                   weapons, including three AR-r5 rifles, without any screening at half a dozen gun
                   shows around the state.

                   Under the agreement with the state attorney general, z3 gun show operators will
                   put in place a new process and procedures, including tracking firearms sold at


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                  their shows.

                  A Colorado bill to require bacþround checks for evety gun purchase passed a
                  vote Friday, and will probably be signed into law by the state's governor, a
                  Democrat, according to news reports.

                  The Los Angeles Times described the orocess:

                         Earlier this wee\ state lawmakers passed a bill that bans the
                         purchase of ammunition magazines of more than 15 rounds. It now
                         awaits the governor's signature. The legislation requiring universal
                         background checks, House Bill rzz9, had also passed but was
                         returned to the legislature so it could be amended to define how
                         organizations such as gun trusts would act during gun transfers. The
                         amended bill passed the Senate on a 19-14 vote. It passed the House
                         36 to z7 a few hours later.

                  My colleague Jack Healy reported on the debate within the state, and the
                  bacþround to the proposed laws earlier this month.
                   _ RAWSOMAIYA

                   March   14.   2onvideo of Senators Feinstein and Cruz in Heated Exchange




                   Video of heated exchange between Senator Dianne Feinstein and Senator Ted
                   Cruz during Senate Judiciary Committee hearing on gun measures.

                   As our colleague Jennifer Steinhauer reports, the Senate Judiciary Committee
                   voted ro to B on Thursday to pass a bill that would ban assault weapons. The


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                  measure, which would also limit the size of ammunition magazines to ro rounds,
                  faces a tough fight in the full Senate.

                  In debating the measure, Senator Dianne Feinstein, Democrat of California, the
                  sponsor ofthe bill, and Senator Ted Cruz, Republican of Texas, engaged in a
                  spirited debate, with Mr. Cruz challenging Ms. Feinstein on her constitutional
                  knowledge.

                  Ms. Feinstein, who later said she found the Senator's remarks patronizing,
                  responded forcefully, telling him she fuþ understood the constitution and
                  added: "I am not a sixth grader." She also asked that people, with differing
                  views, respect each other's perspective. Then she spoke of how the gun debate
                  was personal for her. She recalled how she put her fìnger in a bullet wound,
                  referring to when she found the body of Harvey Milk, a city supervisor in San
                  Francisco who was shot and killed, along with the mayor, George Moscone, by a
                  former supervisor on Nov. 27,1978.

                   March r& sorzUtalì Lawnakers Approve Concealed Weapons Without Permit

                   The state Senate in Utah voted 22 to 7 on Wednesday to approve a bill that
                   would allow residents to carry a concealed weapon without a permit.

                   The legislation, which would make Utah a "Constitutional carry state," has
                   already been passed by the state House of Representatives and is now headed to
                   Gov. Gary Herbert for consideration.

                   State Senator Allen Christensen, a Republican and sponsor of the bill, told Fox
                   News that he and his supporters have enough votes in the Senate to override a
                   gubernatorial veto.

                   "We have a Constitutional majority on the vote now, and the final step is for the
                   governor's signature, and I think that will come," Mr. Christensen said. "I
                   honestly can't put words in the governor's mouth, but I think he will see the
                   value of this bill."

                   In other news about gun measures being debated around the country, Colorado
                   lawmakers gave final approval to a bill that would limit the size of a gun
                   magazine to r5. It is part ofa package of legislation that includes extending
                   bacþround checks to private gun purchases that has been approved in recent
                   days following bitter and emotional testimony from gun rights advocates.

                   In Oklahoma, lawmakers voted to allow teachers to carry guns in schools.

                   March 11. 2olsProvisions for Gun Rights Advocates Added to Gun Bills

                   Amendments to financing bills on behalf of gun rights owners through the
                   Senate Appropriations Committee are quietly being added as gun-control
                   measures, approved by the Senate Judiciary Committee on T\resday, head to the



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                   floor

                   Gun dealers would not have to conduct annual inventories for lost or stolen guns
                   and the definition of "antique" guns would be broadened under provisions added
                   to a committee financing bill, as our colleague, Jennifer Steinhauer reported.

                   Members of the Senate Appropriations Committee have also quietly added
                   provisions that would restrict the Bureau ofAlcohol, Tobacco, Firearms and
                   Explosives from refusing to renew a dealer's license for lack ofbusiness. And, as
                   Ms. Steinhauer notes, another measure that would
                   "require the agency to attach a disclaimer to data about guns to indicate that it
                   'cannot be used to draw broad conclusions about fire-arms-related crimes."'

                   March tz. zottPew Poll: Protection Is Main Reason People Ov,'n Firearrns

                   Why do people own firearms? ln tggg, people cited hunting, target shooting and
                   other activities as the top reasons for owning a firearm. Now they say that
                   protection is the main reason they own a gun, according to a new poll by the Pew
                   Research Center released on T\resday.

                   The poll, conducted in mid-February of 1,504 adults across the country, found
                   that 48 percent ofgun owners said they owned a firearm for protection while 32
                   percent said their main reason for owning a gun vrras for hunting. A significant
                   shift has taken place since 1999, when an ABC News and Washington Post poll
                   found that z6 percent of gun owners interviewed said they owned a gun for
                   protection, while 49 percent cited hunting.

                   Meanwhile, non-gun owners reported that safety was a main reason for not
                   owning a gun. The poll noted that 39 percent said that accidents involving a
                   firearm was their biggest concern. Nearly 58 percent of those in households
                   without guns volunteered that they would be uncomfortable having a gun in
                   their homes.

                   Over all, 57 percent of Americans said they did not have a gun in their
                   household. Nearþ a quarter of Americans said they owned a gun, rifle or pistol
                   while another 13 percent said another person in their household had a gun.
                   There are more gun owners in rural than suburban and urban areas.

                   As reported in previous polls, 54 percent said they believed that stricter gun laws
                   would reduce the number of deaths caused by mass shootings, while 43 percent
                   said new laws would not make a difference.

                    (Earlier on Tiresday, the Senate Judiciary Committee approved a measure to
                    extend bacþround checks to private grrn sales. The committee is expected to
                    consider a proposal to reinstate a ban on assault weapons later this week.)

                    At the same time, 58 percent of those polled agreed that new restrictive gun laws
                    would make it more difÊcult for people to protect their homes and families; 39
                    percent disagreed that new lar,rrs would leave their families with Ìess protection.


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                The poll also showed that the gap between the views shared by Republicans and
                 Democrats has grown over the years.

                  The poll also asked about membership in the National Rifle Association and
                  found:

                  March rz. zorsVideo of Holmes at Colorado Court Hearing




                   James E. Holmes at a court hearing on charges that he shot 12 people and
                   wounded more than 7o others on July 2o,2o12, at a suburban Denver movie
                   theater.

                   As our colleague Jack Healy reports, a judge entered a not guilty plea on
                   Tuesday for the former neuroscience student arrested on charges that he shot
                   and killed rz people and wounded more than 7o others in a suburban Denver
                   movie theater.

                   The judge, William B. Sylvester, entered the plea after the lawyers for James E.
                   Holmes, now wearing a beard, said in court on T\resday that they were not
                   prepared to enter any pÌea.

                   The judge said Mr. Holmes might change his plea to not guilty by reason            of
                   insanity at a later time.

                   Seated in the front of the courtroom were his parents, James and Arlene
                   Holmes.

                   Victims wounded in the shooting were joined by family and friends of those who
                   died in the July 20, 2012, attack.


29 of 30                                                                                                          '7   ll/2018,9:41 AM
Latest Updates on the Gun Violence Debate
             22-01023-hcm Doc#1-4 Filed 04/18/22 Enteredhttps:i/thelede.blogs.nytimes.com/2013/03/06/latest-updates-on-gun-v..
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                   After the hearing, one of the victims, Marcus Weaver, who was shot in the arm,
                   told reporters that he was grateful that the judge was moving the proceedings
                   forward, according to The Denver Post.

                    Seeing Holmes "in the courtroom today, he is human just like we all are         *
                                                                                                    he
                    does deserve a fair trial," Mr. Weaver told The Post. "There isn't a second that
                    goes by that we don't feel the sting of his actions. Justice will be served in the
                    end."

                    Prosecutors have said that on April r, they will announce whether or not they
                    would seek the death penaþ in the case. The trial is scheduled for August.

                    On Monday, the Colorado Senate approved five gun-related measures, including
                    a bill that would extend bacþround checks to private gun purchasers, limit the
                    number of rounds in a magazine to 15 and require gun purchasers to pay the
                    costs of their own background checks. Some of the measures need to be
                    approved by the House before they go to Gov. John W. Hickenlooper for
                    consideration.

                    The vote in the Senate followed a bitter and emotional debate last week when the
                    new gun restrictions were approved by a legislative committee.




 30   of30                                                                                                      711/2018,9:41 AM
Sandy Hook hearing reveals sharp divide on gun control - CNN
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        SähbV Hook hearing reveals sharp divid$""dh gun
 control
 By 0âvid Ariosto, CNN
 0 Up*ateO 8:09 pM ÊT, Tue January 29, 2013




 Audience members during dad,s remârks: 'Second Amendment!' 02:Og

                                                   H¡s voice wavering, Mark Mattloli w¡ped away tears
 Story highlights                                  as he recalled the day his 6-year-old son d¡ed when
                                                   a man w¡elding an AR-15 semi-automat¡c rifle broke
 Mark Mattioli, a parent of a Sandy Hook victim,   into Sandy Hook Elementary School and began
 says there are more than enough gun laws          shooting.

                                                   His son, James, was among the 20 children and
 "The time is now" to strengthen gun laws, says
                                                   seven adults killed by Adam Lanza on December 14
 Veronique Pozner, another parent                  in Newtown, Connect¡cut.- an event so horrific that
                                                   it has since spawned a federal task force and k¡ck-
 Crowd interrupts the statement of a parent of     started a nat¡onal conversation about gun control.
 a slain child
                                                   But unlike the handful of other parents who test¡fjed
                                                   Monday at the emotionally charged hearing in
 Connecticut has some of the nation,s strictest    Hartford, Connecticut, Mattioli said there are more
 gun laws                                          than enough gun laws on the books. He called
                                                   instead for a closer look at mental health polic¡es.




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Sandy Hook hearing reveals sharp divide on gun control - CNN                       2 of
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 Why new laws could miss America's bigger gun problem
            U,S. +                                                                         LiVe TV
 "l don't care if you named it 'James' law,' I don't want (another law)," he said during ihe Íirsi oi a series
 of meetings set up by a Iegislative task force assigned to review the state's gun laws.

 "l th¡nk there's much more promise for a solution in identifying, researching and creating solutions along
 the lines of mental health,"

                                                         Connecticut's medical examiner said he was told
                                                         that Lanza, 20, had Asperger's syndrome.
                                                         Research has not shown a l¡nk bet\¡/een that
                                                         condition and violence.

                                                         The hearing drew hundreds to the Connecticul
                                                         state house and revealed the sharp divide in public
                                                         opinìon over what should happen next in the
                                                         massacre's aftermath.

                                                         "The time is now," said Veronique Pozner, whose
                                                         son, Noah, was also killed, referring to a
 Photos: React¡on to Newtown school                      strengthening of the nation's gun laws.

 killings                                                Sancly Hook probe to extend until summer

                                                         With a framed photo of her slain 6-year-old
                                                         propped up beside her, Pozner called on
                                                         Connecticut to become "an agent for change
                                                         across the country.

                                                         During her testimony, she held up a crayon
                                                         drawing that Noah once scrawled on
                                                         Thanksgiving.

                                                         "l am thanKul for the lìfe I live," he wrote.

                                                         At one point during the hearing, Neil Heslin, father
                                                         of a 6-year-old boy named Jesse who was also
                                                         gunned down that day, asked why the public
 Photos: Mass shootings: A timeline of
                                                         needed assault weapons and high-capacity
 legislatìon                                             magazines.

                                               Some people in the crowd then interrupted his
 statement and shouted the "second Amendment shall not be infringed."

  "We're not living in the Wild West. We're not a Third World nation," Heslln continued. "We have the
  strongest military in the wofd. We don't need to defend our homes with weapons like that."

  Connecticut already has some of the nation's strictest gun laws.

  Gov. Dannel Malloy, a first-term Democrat, has also vowed to address the factors that led to last
  month's massacre and set up a 16-member panel of experts to come up wìth recommendations. lt
  includes experts who reviewed policies after mass shootings in Colorado and at V¡rginia Tech.




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Sandy Hook hearing
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 The panel must meet a March 15 deadline for its initial report, which Malloy ¡s expected to use in
 drafting irliti&ivès aìmed at reducing gunviolence.                                    Live I V

 Newtown parents learn comforting cietails about son's death




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 Entire pol¡ce force of                            The truth behind this photo
 Mexico town detained after                        of an 'immigrant child'




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 Trump, savoring h¡s              Paris Jackson shares final        capital Gazette suspect
 success, leaves much of          moments w¡th grandfather          blocked entrance, then
 world wondering what's           Joe Jackson                                        and k¡il¡ns,'
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  [Gallery] Look Closer To See                     Walmart's Amazing Grocery
  What's Wrong ln These                            Prices Are Now Online!
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Sandy Hook hearing reveals sharp divide on gun control - CNN                                 5 of
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 7 Sk¡n & Hair Care Products
 the Experts Swear By
                                  Hanacure: The Creepy Facial
                                  Tak¡ng Over The Beauty
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 $ponðored: Allure                World                              yes
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  Pa¡d Content                                       More from CNN

 Dallas, Texas: This Tiny, Unknown Company          Japanese Princess Ayako to marry shipp¡ng
 ls Disrupting A S200... F.verQuore                 employee, leave royal...

 These Germany River Cruises Are Like               A white woman allegedly hit a black teen,
 Nothing Else You've Seen yånoo/ search             used racial slurs and...

 Maryland teenager'frustrated with liberals',       'l do care' shirts troll Melania Trump at
 threatens to shoot... KFt ATú 64a - stuy           immigration protests
 Connected in LA and OC
                                                    One word shows how much we've changed
 These Are 2018's Best Luxury Vehicles for          the way we talk about race
 Seniors Faqeo

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   Agung forced flight delays
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                  Connecticut Legislature Hearing on Gun Violence
                  Rag Riuera and Peter Applebome



                         Photo




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                        Detective Barbara J. Mattson of the Connecticut State Police held up a Bushmaster AR-15 rifle, the
                        same tlTe used in the Sandy Hook School attac\ during a legislative hearing Monday on gun violence.
                        Credit Jessica Hill/Associated Press

                 IIARTFORD - Victims of gun violence, burþ men clad in hunting jackets and National Rifle Association hats,
                 mothers wearing stickers reading "We Demand Change Now"

                 They were among hundreds of people who packed into the State Capitol on Monday for a charged and often
                 emótional hearing on gun laws. The turnout highlighted the deep divisions in a state that has become a focal point
                 of the national gun control debate since the shootings at Sandy Hook Elementary in Newtown last month that
                 killed zo children and 6 adult staff members.

                 Among those to testiff Monday were parents of some of the youngest Newtown victims, who took opposing sides.

                 "The sole purpose of those AR-r5s or AK-47s is to put a lot of lead out on the battlefield quicHy, and that's what
                 they do and tñat s what they did at Sandy Hook Elementary School," said Neil Heslin, whose 6-year-old son, Jesse
                 Lewis, was a victim. Mr. Heslin told lawmakers that he had grown up around guns and was the son of an avid
                 hunter, but that he believed that there was no reason any citizen should have an assault-style weapon like the one
                 used to kill his son.

                 "That wasn't just a killing. That was a massacre," he said. "Those children and those victims were shot apart. And
                 my son was one of them."

                 Continue reading the main story

                 But Mark Mattioli, whose son James, 6. was also killed at Sandy Hook Elementary on Dec. 14, said: "I believe in a
                 few simple gun laws. I think we have more than enough on the books. We should hold people individually
                 accountable for their actions."

                 Mr. Mattioli said he also thought some liberals were using the attack in Nerrtown to spread fear on gun issues.

                 "The problem is not gun laws," he added. "The problem is a lack of civility."

                 The hearing, one of several scheduled by the legislature's Bipartisan Task Force on Gun Violence Prevention and
                 Children's Safetv, was expected to run deep into the night. Nearly r,5oo people, including famiþ members, gun
                 control advocates, gun rights advocates and gun industry representatives, had signed up or were invited to testifu,
                 although it was noiclear ho* many would get the chance. The task force hopes to have legislation prepared for


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                 passage by the end of February.

                 Outside the buitding, people braved frigid temperatures and driving snow while waiting to pass through metal
                 detectors, part of tire heightened security measures for the hearing. Women from groups like March for Change
                 and One Million Moms for Gun Control, which are calling for stúcter gun ìaws, stood far outnumbered by gun
                 rights supporters, most of them men.

                 One man carried a sign reading "Gun Control Does Not Make You Safer." Another wore a jacket that said "N.R.A.
                 Empowerment Member."

                 David Gentry, a personal trainer from Stamford, wore a holster on his waist with a copy of the Constitution tucked
                 in it. "I just feel that's where the conversation should start," he said.

                       Photo




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                       "The sole purpose of those AR-ISs or AK-47s is to put a lot of lead out on the battlefield quickly, and
                       that's what thãy do and that's what they did at Sandy Hook Elementary School," testiñed Neil Heslin,
                       whose 6-year-old son was among the z6 children and staff members killed. Credit .Iessica
                       Hill/Associated Press

                 Mr. Gentry, a father of two, said he was saddened by the Newtown massacre but also worried about "knee-jerk
                 reactions;to it. Immediateþ after the attack, he said, he renewed his N.R.A. membership, bought four N.R.A.
                 T-shirts and decided to attend the hearing on Monday to oppose stricter gun proposals.

                 "There are things we can do in this country to help secure our children and improve firearms safety," he said.
                 "Better training, securing ñrearms, yet not making them inaccessible to authorized owners."

                 Kori Hammel,     a   musician and mother from Stratford, came with March for Change.

                 "Sandy Hook was 10 minutes from where I grew up," she said. "I just cant act like everything is O.K."

                 Inside the hearing room, gun rights supporters wore round yellow stickers reading "Another Responsible Gun
                 Owner." people on the other side of the issue wore green ribbons, which have become a s)¡mbol of the Newtown
                 tragedy.

                 Connecticut is considered to have some of the strictest gun control laws in the country. But gun ownership has
                 been on the rise, and the gun industry and pro-gun gtoups have flexed more muscle in HarLford in recent years.
                 Last year, gun rights advocates showed up by the hundreds at a hearing to oppose legislation that would have
                 restricted high-capacity ammunition magazines like the ones used by Adåm Lanza in the Newtown massacre.

                 On Monday, the state's gun manufacturers said they supported stricter bacþround checks but warned the task
                 force against legislation they said could harm the state's historic gun industry. Connecticut is the nation's seventh-
                 largest maker of ûrearms.

                 "We have a reason to consider the ramifications on the firearms industry that has contributed much to the state's
                 history and culture and continues to play a vital role," said Dennis Veilleux, president and chief executive of Colt
                 Manufacturing, which has been based in Connecticut since the mid-19th century.

                 Robert Croo\ president of the Coalition of Connecticut Sportsmen, a gun rights lobbying group, said none of the
                 gun control bilis floating around Hardord would have stopped Mr. l¿nza and would instead restrict the rights of
                 lawfül gun owners.



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                 "Remember, gun owners are the good guys," he said.

                 The testimony was marked by plenty of poignant moments.

                 Veronique Pozner, whose son Noah died in the attack, showed task force members the last picture taken ofher son
                 the night before the shooting as she urged broad new restrictions.

                 She recalled her son's inquisitive nature. "He used to ask,   'If there are bad guys out there, why can't they just all
                 wake up one day and decide to be good?' "

                 Ms. Pozner said she did not always have an answer.

                 Continue reading the main story




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              Sandy Hook Victirn Jesse Lewis' Dad on Coping                                                                    S   Years Later
              KC    aaket


              ,tesse Lewis alwa)€ looked        foft"rd   to the holidays, his dad says, no matter the occasion.

              "Easter or Fourth of July, Halloween, Thanksgiving, hejust lor€d the holidays, one as much as the other," says Neil Heslin of his son. "But whât
              makes this hoìidây seâson, Christmas, Thanksgiving to the New Year, harder is thât's when the trâgedy occur¡ed."

              It   hâs been five   yeffs   sinc€ Jesse, 6, wås slâughtered   with   25   othe$   -   including    19   other childr€n   -   in a gr¡Dman's rampâge ât Sar¡dy Hook
              Elementâry Schooì on Dec. 14, 2012.

              The time since the massacle has been an odd thing for Heslin, with at once feeling 60 short ("some of it seems like it wasjust happened yeste¡day'')
              and "so long.'

              "It's been ajoumey. so much hæ happened, so much has changed in                        a   five-yeâ¡ p€riod, in my life an .l\åy," Heslin tells PFOPLE. "And l've
              experienc€d so ¡nuch,"

              One thing that hasn't ehanged is Jes6e's deåth.

              "The pain and suffering do€sn't get any bettd, doesr¡'t go ahãy, doesn't get any easie¡                     as   tim€ goes on," HesÌin sa)ß. "l guess it gets more distant and
              it's rìot as raw, but it's alw¿ys an open wound. The¡e s alwä's rcminders of the loss."

              . Watch the/úll episode øfPeople F€aturcs: Rernernbellng Sandy Hook Elementa¡y
                                                                                                       - 5 YeåÉ Låþr, súreaming nor¡, on
              People'Iv, co to Peot le.corn/a9apþþ, ot ¿loùtrr.loail the øpp on gour'î.\torite stt:eØl¡-ìn.g deùice.




                   J€ss€ l.€wis

                   courtesy Scârletl l¿wis

                   Dec. q is pnticulâdy paiûtuÌ: Heslin lost his son on that ¿lay in 2012 and, five years earlier, lost his mother oD tle same                  ¿låy.   "It's like   a day you   iìrst
                   don't even feel lik€ getting out ofbed or you'¡e âfraid to get out of bed, stâtistically it being a tragic day," h€ says.

                   Whil€ he t¡ies "go through the motions for the holidays," one thing Heslin will not be doing this yea¡ i6 putting up a Chdstmâs tree. lt'6 only this yeâr
                   that he took down his last one - the sâme tree thât Jess€ helped him set up before the mass shooting.

                   "I had one up for five years thât Jessie and I - four years - Jessie and I set r¡p and never got a chance to decoÉte. I didn't have the hearl to take                          it
                   down," Heslin says. "I didnl have the heart to look at it, quite frankly. This past,€a¡ I took it


                   "I'm not putting another Ch¡istmas tree up. I just don't         have   it in me."




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              Jesse's loving personality inspired bis mom,Scâ ett l,€wis, to lâunch the Jq{so I¡\'is Choose l¡vc Mov€ment to help kids wiih social arìd enotionâl
              leaming. Her older soû, J.T. [êwis, Jessds brothe¡, was honored ìast yeâr ât the Teen Clìoic€ Awards for founding Newtown HelÞEl¡da¡da

              "It's been five years, unbeìie!âbly, sinc! the tmgÊdy ... and not a day goes by, not even a minute, wherc J.T. and I don't think about Jesse, and miss
              him," Scãlett tells PEOPLE. "And of course, I spend almost every r ,âki¡g momenl uying to be palt oJ the solution that caused the iragedy iû the fißt
              plâce."




               Neiì Heslin, Jesse tÆwis' father, in March 2013

               John Moore/Getty




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              Scarleti l€wis, Jesse lÆwis' ¡nom

              Peter Klalner/NBC/NBC Newswire/Getty

              Echoing the sorrow of hel son's father, Sca ett say.s Jesse's death was "ìike losing a limb."

              "He's   stil   always witb me, even thougb it's     ki¡d of spi¡itually,"   she sâys. "But you alwåys have that longing. Aha?ys. It's aìways, every dây."

              The pain do€sn't     ùr   ,   but they persevere.

              "J.T. and I try to honor Jesse's memory together by having a lot of fun," Sca¡lett say6. "Jess€ left a litlle Dote fo¡ J.T. It r,lãs Âbout this big, ånd it was
              folded up, and on J.Î.'s d€sk. A¡¡d J.T. came back to the house after the trâgedy, ând found this little note and unfoìded it, and it said, 'Have a lot of


              "One of the key things fol me, I knew I had lo accept what happened ând move forwâ¡d aûd to be âble to go on day by dåy," Heslin says. "And I
              aclepted it right when it happened. I didn'l like it, I lclew I couldn't change it, but I v,asn't going to let il ruin my life or destroy my life a!)aûore thân
              it already has."

              "lt's r€ally important to stay busy, keep your rnind actil€,"        he såys,'even though     rou   Âlwâys   lind yourself in the distânce   a   lotjust thinking about




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  Exhibit B-10 is a thumb drive containing a true and correct copy of a video of a cNN

  interview   with Mr. Heslin posted on the website with the url           address of

  https:/Âvrvw.facebook.comÀJewDav/videos/sandy-hook-parents/1677277062337470l
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           Neil Heslin
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       News Conference on Federâl Gun Reform
                                                                                                            Show Nell Heslin With:
       ln This   Photo: M¡chael Bloomberg, Joo Bldon, NEil Hesl¡n
       Neil Hesi¡n, lather of Newtown shooting v¡ctirn Jesse Lewis, 6, speaks out for gun reform ât
       a press conference on ¡,4arch 21, 2013 in New York City. Heslin and other family members of
       Now¡own vict¡ms we¡e joined by Vice President Joe Biden (L) and New York City Mayor
       M¡chael Bloomberg (R) at the c¡ty hall event.
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            Senate Gun Control Vote Angers State Offrcials, Newtown
            Families
                By STJSAN HAIGH and LeArìne Gen(ireau
                Published al 1 0 36 Àî\¡ EDT on Apr 'i 8. 20   r   3   Upítâled at I   1 I t ?i   AM t-nÌ cn Apr I   B,   ?0 t 3



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                  Ptesident Earack Obama gestures as he speaks during a news conference in the Rose carden of
                  lhe White House, Wednesday, April l-7, 2013, in Washington, aboul mêâsures to reduce gun
                  violeñce, as he isjoined by toíner Rep. cabby Giffords, second from left, Vice president Joe Biden,
                  and NeMown family members from left, Neil Heslìn, lather of Jesse Lewis; Jimmy Greene, tather of
                  Ana; Nicole Hockley, mother of Dy¡an; tvark and Jackie Barden, with their chitdren Natalie and
                  Jâmes, who lost Daniel; and Jeremy Rìchrnan, father of Avielle, behind the Bârden's. (AP
                  Photo/Carolyn KasteÐ
                                                                                                                                                      ffi                       ñ"n,i'*''*'"""

                  Connecticut off¡cials are reâct¡ng with shock and anger âfter the U.S. Senate                                                           WEATHER FORECASÏ
                  rejected gun control leg¡slat¡on insp¡red by the school massacre ¡n the state,
                  including tightened background checks.                                                                                                  I        wr¡rue¡¡renrs

                                                                                                                                                                        Windsor Locks, CT
                  "Yesterday was a shameful day," Congresswoman Êl¡zabeth Esry sa¡d on te floor                                                                                             Broken
                  of the U.S. Senate on ïhursday morning. "l'm outraged that 46 Senators                                                                             4,,
                  prevented a compromise to reduce gun violence which 92yo of the American                                                                                    91"           ii::1Ì'"'"


                                                                                                                                                                                m
                  people support. 46 Senators ignore the voices of the courageous Newtown
                  families who have paid the ultimate pr¡ce of polit¡cal ¡nact¡on,"


                  Meanwhile, the families of Newtown who have urged federal lawmakêts to                                                                                         Fo¡ecast       [¡ops

                  strengthen gun laws say they will carry on their work to reduce gun vìolence.
                                                                                                                                                      :

                  Statê lawmakers recently passed a sweoping b¡partisan package of measures
                                                                                                                                                      .       WHAT DO YOU THINK?

                  including a ban on h¡glì-capac¡ty ammunit¡on magazines and an expanded assault                                                              With GM and Hadey-Dav¡dson
                  weapons ban.                                                                                                                                wamlng of layoffs due to Presidênt
                                                                                                                                                              Ttumpb trado war, what ¡s your
                                                                                                                                                              op¡n¡on?
                   State Republican House Leader Lawrence Cafero Jr. appeared stunned the U.S.
                   Senate couldn't pass a bâckground checks compromise, He says "l just don't                                                                        lusêd to thiìkthâl trade wårs arc good,
                   understand how you could vote no."                                                                                                          .\    bul reâlize nôwlhat it willcåuse
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             Democratic Gov. Dannel P. l\4alloy said senators who voted
                                                                                                        ,... t atwâys thoughf rhål b ad€ wars årc
             "should be ashamed ol lhemselves "                                                              bad.hisjusr co"¿i¡ms ir


               Mark Barden's son Danìetwa$ kitted on Dec. J.4 ¡n rhe massacre. He             appeared                  , ï;:f          ?:"Ti;ì;""ri"#t "'t
               wìth President Barack Obama following the vote Wednesday. He said famalies are
               retuming honre "disappo¡nted but not       defeated."                                               a;       llo opìnion

                                                                                                                   ,-   ,   l'll aìways support Trump no mðlter the
               "l join tlìe message of the Sandy Hook Pronlise and Mark Barden who lost his               son      '   '/   out"om"

               Daniel in the ùagedy at Sandy Hook ElemenÞry. Our hearls are broken, our spirit
               is not.," Esty said.

                                                                                                                   ìñs ghls pÒwèred bycrvÉScie¡cê         j ,ivacy Pol'cy
               "As l\¡ark Barden, one of the NeMown parents who has made gun safety ând
               school secur¡ty his mission, sa¡d after today's vote: 'Our hearts are broken. Our
               spirits are not.'These parents and family members have been courageous and
               strong throughout this effort. Today ¡s certainly a disappointment for them and me,                 NÊWSLETTERS
               but the push for common sense background checks does not end today. As history                          Fecovolhe þl{ì$ klcaìlUpdit(!ì          i   yl)!, nbox
               has shown lime and time again, great causes l¡ke civil rights--rauses wo¡"th
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               f¡ghting for-have taken time to pass and overcome the cynical abuse of Senate
                                                                                                                                  P¡iv¿cy Þotrcy I More N€wsle1þrs
               rules. The exarnple of leadership set by the Newtown famil¡es w¡ll preva¡l al the
               end of the day," Congressman Joe Courtney sa¡d in a statement released on
               Wednesday.


               You can read Barden's tull remarks, as prepared, on the Sandy Hook Promise
               Web s¡te.


               "Desp¡te polls showing more than 90t/û ot Americans favor clos¡ng loopholes lhat
               allow crùì]inals to purchase deadly firearms without any background check, the
               Senate fell 6 votes short ot the 60 needed to end the filibuster of the comprotnise
               proposed by Senators N¡anchin (D-WV) and Toomey (R-PA). The bipar¡isan
               proposalwould have required thal instant criminal background checks be
               performed on those buying guns ofi the internet or at gun shows," the statement
               from Sandy Hook Prom¡se states.




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                 Remember The'Feral Kid'From'lvlad Max'? Iake A Deep Breâth Before You See What He


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                 Away from the spotlight, Sandy Hook parent
                 battles cr¡minal charges
                 John Pirro Updated 10:04 pm, Tuesday, May 7,2013
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                  IMAGE 1 OF 12

                 President Barack Obama and Vice President Joe B¡den arrive as Mark Barden, the father of Newtown
                 shooting victim Dan¡el, lower right, speaks during a news conference in the Rose Garden of the \Mite
                 House, ... more




                         Neil Heslin, father of a slain Sandy Hook first-grade¡ has appeared before
                         Congress and the state Legislature urging the passage of tough gun-control




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               measures.


                 But on Wednesday he will make an appearance of another kind, this time before a
                 state Super¡or Gourt judge in Milford, to answer a variety of criminal and motor
                 vehicle charges ranging from operating with a suspended license to issuing bad
                 checks to larceny.


                 Reached by telephone on Tuesday, Heslin, who lives in Shelton, said he couldn't
                 discuss the five cases dating back to July 201 1 that will require him to be in court.
                 He referred all comment to the lawyers representing him.


                 "You're welcome to call my attorneys and get their comments. I have no
                 objections to that, but I have representation," he said.


                 Calls to both lawyers weren't returned on Tuesday



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                 Heslin's status as a father of a murdered child in one of the country's most
                 notorious sprees of gun violence has turned the self-employed, 50-year-old
                 contractor into a prominent activist, one who is often shown on TV and in
                 newspâpers displaying the portra¡t of his murdered son, Jesse Lewis.


                 It's made his legal troubles fodder for gun-rights websites, conspiracy buffs and
                 so-called truthers, who claim the massacre of 20 first-graders and six adults on
                 Dec. l4 was part of a government plot. And it illustrates how the high-visibility
                 roles embraced by Heslin and some others from Newtown have put their private
                 lives squarely into public view.


                  "One crooked gun control hero" and "Heckled Sandy Hook dad has sordid past,"
                 are typ¡cal of the headl¡nes on several lnternet art¡cles seeking to discredit Heslin




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                 for his alleged "criminal associations."


                 ADVÉRTISEMENT




                 The allegations against Heslin, if true, mostly paint a p¡cture of a man struggling
                 with his business finances and stiffing his creditors.

                 Three of the cases ¡nvolved writing bad checks, the largest fot 52,424, which he
                 used to buy building materials he purchased for a job that his company, V&H
                 Construction, was doing in Oxford.


                 Court documents indicate that when the supplier, O&G Construction of Torrington,
                 delivered the material on Sept. I 9, 201 1, Heslin initially sa¡d he forgot his
                 checkbook but provided the salesman with a check later the same week. After the
                 check, which also included a disconnected phone number for Heslin's business
                 and an invalid driver's license number, was returned for insufficient funds, an O&G
                 representative contacted State Police.


                 Heslin promised to make good on it but never did, police said


                 ln addition to passing a bad check, a misdemeanor, he was charged with third-
                 degree larceny in that case,


                 The two other cases involve checks on closed accounts that Heslin allegedly used
                 to pay for just over $1 ,000 worth of home heating oil in June 2Oi2 and a check for
                 $102.35 worth of repairs to his vehicle at an Ansonia tire shop six months earlier.


                 He has pleaded not guilty to all charges


                 The motor vehicle charges were the result of stops by Shelton police in July and



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                 August 201 |. The operating under suspension counts indicate that his license had
                 been suspended for a previous drunken-driving conviction, but there was no
                 information ava¡lable about that case in state Superior Court records. He also was
                 charged with failure to display plates, carry registration and carry insurance as a
                 result of the July stop.


                 Former state Victim Advocate Michelle Cruz, now in private practice in Hartford,
                 said Tuesday that pointing out past indiscretions "is often used as a way to
                 undermine a victim's credibility," Heslin's legal problems, she said, have nothing to
                 do with his work on gun control.


                 "Whether someone has a pending matter shouldn't invalidate what someone is
                 saying about their victimization," she said. "This parent may have a larceny charge
                 that they have to deal with, but that has nothing to do with a child being
                 murdered," she said.


                 Cruz added that the publicity about Heslin's charges                     -- most of which      are at a
                 level that rarely draws news media scrutiny                  -- also po¡nt to why some victims
                 shun the spotlight.


                 "Victims are sometimes reluctant to come forward out of fear of being ridiculed,
                 but they often have valid points about what they want to see happen and how the
                 situation has affected them," she said.

                  Heslin has been among the most forceful and visible of the Sandy Hook parents
                  pushing for gun restrictions. "l'm really ashamed to see that Congress doesn't
                  have the guts to stand up and make a change and put a ban on these types of
                 weapons," Heslin said at a news conference with Vice President Joe Biden and
                  New York City Mayor Mike Bloomberg after the Senate failed to enact a ban on
                  assault weapons.


                  Court records indicate that Heslin apparently drew the ire of Judge Frank lannotti
                  for not showing up an appearance in state Superior Court in Derby, where the five
                  cases were being heard on April I5.


                  Heslin wouldn't say Tuesday why he wasn't present, but according to several news


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                 reports he was in Wash¡ngton, D.C., with several other Newtown families,
                 unsuccessfully lobbying the Senate to pass a var¡ety of gun-control bills, including
                 one that would have instituted universal background checks for firearms
                 purchases.


                 lannotti ordered Heslin to bring proof of his whereabouts on April I5 to court in
                 Milford, where the judge will sit Wednesday.


                 Heslin didn't want to discuss whether his legal problems might undermine his
                 advocacy efforts.


                 "l never gave ¡t much thought. I guess you can look at it either way," he said. "lf
                 there's something to talk about, people are going to talk about it, good or bad, no
                 matter what. I don't really have any comment on that part of it either. Down the
                 road, I may be able to."


                  Staff writer Dirk Perrefort contributed to this story. jpirro@newstimes.com;
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      Advocacy, Not Journalism: 13 CNN Guests Want
      More Gun Control, Only 2 Argue to the Contrary
      Commemorating the one month anniversary of the Newtown
      shooting, CNN stacked its Monday line-up with gun control
      advocates and Democratic politicians.


      Over the course of the entire day, CNN interviewed guests about
      the gun issue. l3 guests were gun control advocates, including
      five Democratic politicians. Only two Republican guests went on to oppose further gun control
      measures or defend the NRA's proposal for armed guards in schools.

      And CNN host Piers Morgan himself pushed for stricter gun laws. "I'm in favor of a
      nationwide ban on military-style semi-automatic assault weapons and high-capacity
      magazines. I want to close the gun show loopholes and require private dealers to run
      background checks on all buyers at gun shows," he announced at the beginning of his show.

       As NewsBusters reported (http://newsbusters.org/blogs/matt-hadro/20l3l0Ill4lcentrist-news-
       network-cnn-loads-programming-gun-control-advocates) yesterda¡ eight of the nine guests
       CNN hosted to talk about guns between the 5 a.m. and 3 p.m. news hours were in favor of more
       gun control.

       Then, beginning with the 4 p.m. hov of The Situøtion Room and continuing through the 9 p.m.
       hour of Piers Morgan Tonight, fiveof the eight guests interviewed about guns wanted stricter
       gun laws. Only one guest stood by the gun lobby; former GOP congressman Asa Hutchinson
       defended the NR {'s proposal for armed guards in schools.

       Of the frve pro-gun control guests, one was the father of a Newtown shooting victim, another
       was the host of America's Most Wønted, another was the husband of former Democratic
       congresswoman Gabrielle Giffords, and the other two were Democratic politicians.

       For instance, Neil Heslin, whose son died in the Newtown shooting, told CNN's Piers Morgan:
       "I think there should be stricter gun control. I'm not in favor ofbanning weapons or guns, but
       I'm definitely in favor of much more stricter background checks, regulations for gun owners. As
       for the assault rifles or the Bushmaster military-style rifle, I really can't see why somebody
       would need to own a weapon like that."

       fohn Walsh, host of the show America's Most Wanted, told Morgan: "No one is ever going to
       take my guns away. There is no dictator. There is no foreign country that is going to take over
       America and take our guns away. This is reasonable, thoughtful - the ban
       is a reasonable start."

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7   t1t2018             Advoc¿cy, Not Journâlism: 13 CNN Guests Want More Gun Control, Only 2 Argue to the Contrary I Media Research Center
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      Connecticut Governor Dan Malloy (D) pushed for an assault weapons ban on Anderson Cooper
      360: "[W]e have to have an assault weapons ban that works, and has a broad definition so
      manufacturers don't sneak things by them,"

      He added that "Almost everybody in their right mind agrees that you should have a
      background check to buy a firearm. Almost everybody in this country within their right minds
      agrees that we shouldn't have 30-magazine clips."


      Mark Kell¡ husband of former Democratic congresswoman Gabrielle Giffords, wanted a
      "universal background check" and pushed against access to "high-capacity magazines" and
      "assault weapons."


      When Delaware Attorney General Beau Biden (D) appeared on The Situation Room, co-anchor
      Kate Bolduan described his list of proposals: "It almost looks like a wish list for a national
      change to gun laws. As foe was listing out, background checks, tightening background checks,
      an assault weapons ban, ban on high capacity magazines."

      Two other guests did not openly make the case for gun control, including Hollywood actor Rob
      Lowe who personally approved of an assault weapons ban but added that "I do think that the
      last thing viewers want is another Hollywood actor telling them anlthing about guns pro or
      con."

      In addition, CNN hosted two roundtable segments on guns or the state of gun laws. Erln
      Burnett OutFront included conservative Erick Erickson of RedState.com, former Obama
      administration official Rosa Brooks, and CNN legal contributor Paul Callan. A 10 a.m. EST
      CNN N¿wsroo m panel featured Democratic strategist Maria Cardona and GOP strategist Alex
       Castellanos.

       CNN also cut in to anti-gun Mayor Bloomberg's address at a summit on gun violence at johns
       Hopkins University on Monday. CNN aired over two minutes of his speech.
       Other guests were brought on to talk about multiple issues and were asked about gun control.
       For instance, Los Angeles Mayor Antonio Villaraigosa (D) told CNN that "we need an assault
       weapons ban. We need to ban high-capacity magazines. We need universal background
       checks."

       -- Møtt Hødro is a News Analyst at the Media Reseørch Center



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  20.     Attached hereto and marked as Exhibit B-16 is a thumb drive containing a true and
  correct copy of an MSNBC video interview of Wesley Ball and Neil Heslin posted at
  https://www.msnbc.com/craig-melvin/watch,/sandy-hook-dad-alex-j ones-doesn-t-care-
  who-he-hurts- 1214753 859935. The video on the thumb drive is a true and correct copy of
  the video on that website as of the date of this affidavit.
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  Speaker 1:         Two families who lost the¡r children in the Sandy Hook Elementary massacre are
                     now suing right wing radio host Alex iones for defamation. The controversial
                     radio host has questioned for years whether the shooting was faked, possibly
                     even staged by the government. One of those parents suing is a man named
                     Neil Heslin, he lost his six year old son Jesse in that shooting. Jones alleged that
                     Neil Heslin lied when he made these comments.

  Neil Heslin        Ilost my son. I buried my son. I held my son with a bullet hole through his head.
                     Idropped him off at 9:04, that's when we dropped him off at school w¡th his
                     book bag. Hours later lwas picking him up in a body bag.

  Speaker 1:         Alex Jones attacked Heslin for those remarks days later last June.

  Speaker 3:         Fact checkers on this have said cannot be accurate. He's claiming that he held
                     his son and saw the bullet hole in his head. That ¡s his claim. Now accord¡ng to a
                     t¡meline of events and a coroner's testimony, that ¡s not possible.

  Alex Jones:        The coroner said none of the parents were allowed to touch the kids or see the
                     kids and maybe they ... Meaning at the school. I'm sure later maybe the parents
                     saw their children, the point ¡s, is that because the media lies so much, you can't
                     blame the public asking questions and you can't ban free speech of people that
                     are ask¡ng questions.

  Speaker 1:         Earlier this week, Alex Jones responding to the lawsuit.

  Alex Jones:        But l've been tell¡ng the parents for years I bel¡eve the¡r children died and quite
                     frankly they know that. So I don't know why I continually then see them on the
                     news saying, "Why does Alex Jones say my child didn't die?" When I'm not
                     saying that.

  Speaker 1:         Neil Heslin joins me now along with this attorney Wesley Ball. Neil you've heard
                     what Alex Jones has said over the years, you heard what he said there. Jones
                     has also said, "Sandy Hook is a synthet¡c, completely fake with actors, They
                     staged Sandy Hook, the evidence is overwhelm¡ng. lt just pretty much d¡dn't
                     happen." And then Alex Jones has said that some of th¡s stuff has been taken
                     out of context. What do you believe in terms of h¡s motivat¡ons?

  Neil Heslin:       H¡s motivations? I can't even begin to figure it out. He's out peddling lies and his
                     propaganda and false news to profit off of it but with that false news, he just
                     doesn't care who he hurts. The impact that it has on people who already had
                     the worst thing that could ever happen in your life, to lose a child. Whether it be
                     Sandy Hook, Parkland. To attack them and profit off of ¡t, ¡t's totally wrong and
                     to d¡spute my statements and my remarks and call me a liar and accuse me of
                     making comments for criminal reasons, it's just crazy. lt's ludicrous and I'm
                     done. l'm done dealing with it, I'm don't listen¡ng to it and I'm putting an end to
                     it.
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  Speaker 1:         Why now? I mean this is something that's been going on for a while. What is ¡t
                     about the tim¡ng?

  Neil Heslin:       Well I guess it had been going on for four years, you hope that'll die out, ¡t'll go
                     away but it hasn't and he just doesn't let up on it. He's relentless w¡th it and it's
                     a fight that he started and it's a fight that I'm gonna fÌnish and I'm not backing
                     down.

  Speaker 1:         Has he ever contacted you? Has Alex Jones ever reached out?


  Ne¡l Heslin:       Not personally, no.

  Speaker 1:         Never contacted you and said come on the show and explain to me precisely
                     what happened?

  Neil Heslin:       No, but he did make a broad, in h¡s interview, invitation to parents but beyond
                     that, no.

  Speaker 1:         Wesley this  ¡s the first civ¡l suit against Alex Jones as ¡t relates to th¡s particular
                     matter. As I understand ¡t, you guys are seeking a million dollars in damages.
                     Jones ¡nsists that this is a case w¡thout merit. What do you hope to accomplish
                     by suing Alex Jones?


  Wesley Ball:       I hope to shut down his hateful rhetoric. His intentional conduct and causing
                     more problem to these families. He is nothing more than a conspiracy theorist
                     and that's fine. You can be a conspiracy theorist in your country and you can put
                     out kooky conspiracy theories but you can't go from a consp¡racy theory to
                     malicious conduct, that's what he's done and I'm hop¡ng to shut him down on
                     that front and as many other fronts as I can because I think he has cancer to
                     America. He's already tried to say that this is, this lawsu¡t in one way or another
                     is funded by the Cl¡ntons or funded by George Soros, or all kinds of other stupid
                     kooky things.

                     It's not a first amendment issue, ¡t's not a second amendment issue, it's the
                     seventh amendment ¡ssue. A right to a tr¡al by jury and that's what we're gonna
                     get in Texas, we're gonna get that in Travis County and the jurors are ¡n Travis
                     County are gonna be able to look at him as the¡r peers and what I believe tell
                     him he is wrong and punish him for doing what he has done and hopefully cut at
                     least some of that cancer out of our society.

  Speaker 1:         Neil, what was your l¡ttle boy like? What was Jesse like?

  Neil Hesl¡n        He was a force, energetic, happy. Just wisdom beyond his years, people
                     described him as a 40 year old m¡dget but he was my whole life. He was my only
                     biological family I had left, my parents are gone and he was everything I had. My
                     whole world. There's just no words for it, but with this lawsuit that I filed, I hope



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                     it gives other people the strength to come forward and follow in my steps or my
                     coatta¡l w¡th going after Alex Jones and to shut h¡m down.

  Speaker 1:         We're go¡ng to cent¡nue to follow the story very closely.

  Neil Heslin:       Okay, thank you.

  Spea ker 1         Thank you.




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           Newtown families take on Alex Jones's
           pernicious lies




            InfoWars host Alex Jones arrives at          a   courthouse in Austin, Texas, in 2017. (Tamir Kalifa/Austin
            Arnericen-Statesman via A'P)


            By Margery Eagan

            Families of six more Sandy Hookvictims filed a defamation
            Alex Jones, the nation's premier conspiracy peddler, with millions of followers on his
            far-right InfoWars website.

            That's because Jones has repeatedly said the 2012 Newtown massacre that killed zo


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          first-graders and six educators was staged. And his followers have repeatedly attacke(
          the families of the dead as liars, and worse.

          This latest suit joins two more already filed against Jones in Texas by two other
           families. The suits are long shots, legal analysts say. But how great it would be if thest
           families prevail, if they force Jones to admit publicþ that he perpetuated a sadistic lie
           How great, not just for Newtown, but for the rest of us.

           We're swimming in an ever larger, seamier sea of bizarre conspirary theories and lies
           pushed not just by Jones but also, to name a few, by Sean Hannity at Fox News,
           Dinesh D'Souza, Gateway Pundit, Roseanne Barr, as we learned in detail last week,
           and by the president himself and his closest aides. Conspiracy theories and lies about
           Newtown, Parkland, Columbine, Las Vegas, birtherism, vaccines and autism,
           pedophile rings led by Hillary Clinton. About the "criminal deep state" running
           America. About the "globalists" running the world. Jones and others say gltLwas an
           inside job. Ditto Oklahoma City and the Boston Marathon bombings. Jones actually
           talks about chemicals in water turning frogs gay.

           Conspiratorialists feed off one another. President Trump watches "Fox & Friends" an
           talks with Hannity. As a candidate, Trump praised Jones's "amazing" reputation, wer
           on his show, and raised InfoWars'profile. Jones and Trump are Roseanne fans. Her
           tweet wasn't racist, according to them. "Absoluteþ just ridiculous," said Jones. Trum'
           didn't denounce it either.

           Meanwhile the president has succeeded, with no evidence, in convincing growing
           numbers of Americans that Robert Mueller, a war hero, is tainted, even corrupt, and
           that the FBI planted a "spy" in his campaign.

           Are we too far gone? Have we totally lost our ability to detect "fake" news?

           Or is it possible, just possible, that lawsuits and a public shaming of Alex Jones could
           help those now living in never-never land return to planet Earth?


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           It's not clear how much Jones himself actually believes of what he spews. During
          Jones's custody battle with his ex-wife (he lost), his lawyer said the InfoWars star is a
           performance artist "playing a character."

           Maybe Jones is just about the money: The barrel chested, hyper-macho broadcaster,
           who routinely appears shirtless in ads, reportedly makes millions on dietary
           supplements like InfoWars Life Brain Force and Life Liver Shield.

           "It's a brilliant business model," wrote Seth Brown in New York magazine. "If you car
           be convinced that President Obama was a member of Al Qaeda, perhaps you will buy
           two ounces of InfoWars Life Super Male Vitality drops for $SS.SS."

           But the Newtorvn lawsuits are aimed at ending something more sinister: the twisted
           behavior that Jones's conspiratorialist claptrap inspires. That is, "the unconscionable
           campaign of harassment, lies, and abuse [these families] have suffered at t]re hands o
           Alex Jones and his co-conspirators," as Matt Blumenthal of the Connecticut law firm
           Koskoff, Koskoff& Bieder puts it.

           Last year Jones devotee Lucy Richards, a woman with significant mental health
           problems, was sentenced to five months in prison for repeated death threats against
           Leonard Pozner, father of murdered 6-year-old Noah Pozner. Other families have
           reported being chased through town by Sandy Hook deniers demanding proof of thei:
           children's deaths. One frightened famiþ moved from their home to a gated
           community, where they check door and window locks nightly before bed.

           The families "tried to ignore [Jones]. They thought he'd go away, but he didn't," said
           Bill Ogden of the Houston law firm Farrar & Ball, which is also suing Jones. "They've
           gone through almost five years now having to relive the most tragic moments anyone
           could imagine because it produced ratings for a YouT\.rbe channel and a website."

           In other words, fake stories about dead first-graders have helped Alex Jones stay rich




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           "Our main goal," said Ogden, "is to get Mr. Jones to stop."

           Margery Eøgqnis cohost of WGBH's *Boston Public Radio."


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       Attached hereto and marked as Exhibit B-19 is a thumb drive containing a true and
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       conect copy of and NBC Today Show interview of Mark Bankston and Neil Heslin
       posted at https://www.today.com/video/father-of-slain-sandy-hook-student-alex-jones-
       must-come-clean-on-his-lies- 1214528067835. The video on the thumb drive is a true and
       correct copy of the video on that website as of the date of this affidavit.
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  Megan Kelly:       00:00        (Crowd cheering)

                                  Good morning, everyone. Welcome to the program. I'm Megan
                                  Kelly, and we begin this Thursday morn¡ng with a story that
                                  shook the nation to the core, and is now back in the headlines.

                                  Two fam¡lies of Sandy Hook victims have just filed two sepãrate
                                  defamation lawsuits, taking a stand about controversial info
                                  wars, radio host, Alex Jones. One lawsu¡t was filed by the
                                  parents of Noah Pozner. The other was filed by Neil Heslin,
                                  whose son, Jesse, was just six years old when he was killed.

                                  The parents are fìghting back, now, about what they say has
                                  been years of mental anguish, caused, they say, by Jones's long
                                  history of harassing the Sandy Hook fam;lies. For years, Jones
                                  has been making cla¡ms that the Sandy Hook massacre was a
                                  hoax, and that the parents and the med¡a were acting, and it is
                                  not just Sandy Hook.

                                  James has taunted many othêr gr¡eving families over the years.
                                  He has said that the September 11th terror attacks were an
                                  inside job, more recently he claimed that Parkman's Stoneman
                                  Douglas shooting, that the surv¡vor, David Hog, he says was a
                                  cr¡s¡s actor. Dur¡ng the 2016 campa¡gn, President Trump
                                  adm¡tted that he was a fan of Alex Jones's, and even appeared
                                  on his radio program.

                                  Pr¡or to our NBC news piece on Jones last summer, the Trump
                                  White House had actually been pushing out information taken
                                  directly from lnfo Wars. ln their newly f¡led lawsu¡t, Noah
                                  Pozner's parents say that lnfo Wars defamed them by claiming
                                  that Noah's mother faked an interview in New Town w¡th CNN'S
                                  Anderson Cooper, just a week after the shooting.

                                  Alex Jones repeatedly claimed that Anderson Cooper was not
                                  actually even in New Town, Connecticut, conducting interviews
                                  with the griev¡ng parents, and less than a year ago, Jones was
                                  st¡ll, still calling into question the credibil¡ty oÎ those interviews.
                                  Watch.

  Alex Jones:        01:52       They glitch, their recycling of a green screen behind him, when
                                 he turns, his nose disappears repeatedly because the green
                                 screen isn't set right.

  Megan Kelly:       02:05       Something that can happen to any anchor when you're
                                 reporting live from the field, there's a video glitch, ¡t has nothing
                                 to do with the green screen. Neil Heslin, too, has been a
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                                  repeated target of lnfo Wars and had a message for Alex Jones
                                  when I interviewed Neil last July.

  Neil Heslin:       02:22        Ilost my son. I buried my son. I held my son with a bullet hole
                                  through his head. I dropped him off at 9:04, that's when we
                                  dropped him off at school. With his book bag. Um, hours later,         I

                                  was, picking him up in a body bag.

  Megan Kelly:       02:44        Because nothing ¡s sacrosanct to Alex Jones, he and his team
                                  renewed their attacks on Heslin and others last summer, again
                                  claim¡ng that Ne¡l is a liar. Take a listen to their show.

  Speaker 4:         02:58       Fact checkers on this have said, can not be accurate. He's
                                 claiming that he held his son and saw the bullet hole in his head,
                                 That ¡s his claim. Now, according to a timeline of events, and a
                                 coroner's test¡mony, that is not possible.

  Alex Jones:        03:18       The coroner said none of the parents were allowed to touch the
                                 kids or see the kids, and maybe they're meaning at the school.
                                 l'm sure, later, maybe the parents saw their children. The point
                                 is, that, because the media lies so much, you can't blame the
                                 public asking questions, and you can't ban free speech of people
                                 who are asking questions.

  Megan Kelly:       03:37       Joining me now for his first interv¡ew s¡nce filing his lawsu¡t. Ne¡l
                                 Heslin, along with his attorney, Mark Bankston. Thank you both
                                 so much for being here, Neil. Good to see you again.

  Neil Heslin:       03:45       You're welcome, thanks.

  Megan Kelly:       03:46       So, why now? Why after all the years of his attacks on you? Why
                                 now?

  Ne¡l Hesl¡n:       03:52       Well, it-it's kind of building responsibility. lt's going on for four
                                 and a half, fìve years, uh, the lies, uh¡ the trauma that he
                                 imposes, the pain and suffering with, uh, with the lies he
                                 peddles, and uh, to say that Sandy Hook was a hoax, and it
                                 never happened, it's an outright lie. lt's a total, d¡srespect
                                 mysell my son, the individuals who lost their lives that day.

                                 But it extends so much further than that. lt, ¡t's a disrespect to
                                 the commun¡ty, and the law enforcement, the f¡rst responders.
                                 Um, it just, it's not right, and he needs to, it needs to stop.

  Megan Kelly:       O4:40       Mark, as we just said, it's not just Sandy Hook, but he has been
                                 going after the Sandy Hook parents from the beginning. And I
                                 know that the Pozners have been, a woman went to jail for


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                                 issuing death threats to them, after listen¡ng to Jones on lnfo
                                 Wars.

                                 She's been banned from listening to them anymore, to Alex
                                 Jones, and she's sent to prison, and even that hasn't stopped
                                 him.

  Mark Bankston:     05:05       No, it has not. There's no sign that he's going away. You know,
                                 these fam¡l¡es tried to ignore him for years. Thought that, that
                                 would be the good strategy, not give h¡m any air. And we see
                                 that doesn't work, because he's not going away. He's been
                                 given, just a Washington correspondent, he's given White
                                  House press credentials.

                                 Cla¡ms   to have the president's ear. Um, we, we th¡nk ¡t's time
                                 for this to end, and that's why we brought these su¡ts. Because
                                 it's also just not about the Sandy Hook parents, either. You
                                 know, these parents have seen what happens to them for five
                                 years, being tormented. And now they're seeing it happen to
                                 the Parkland parents.

                                  It's, it's time for this to end, and that's why we've brought this
                                 suit.

  Megan Kelly:       05:38       So,  what do you want out of it, Neil? I mean, are, are you
                                  looking for money damages from him, or what would you like?

  Neil Heslin:       05:44       l, I want h¡m to clearthe a¡r on it, come clean w¡th the whole
                                 th¡ng. lwant an apology, um, lwant my name cleared by him,
                                 and not just to his followers, to society ¡n general.

                                 And, uh, a letter of retraction was sent to h¡m w¡th no other
                                 claims that it d¡d not happen, I want him to admit to it, and,
                                 come clean on his iies.

  Megan Kelly:       06:L2        Because what he does, I believe, to protect himself, he tries to
                                  protect h¡mself legally, ¡s, he equ¡vocates. He says, I believe the
                                  whole thing is a hoax, and then he says, but, it might've
                                  happened. But some people didn't believe it didn't, and he tries
                                  to go back and forth, and, and I believe, having practiced law for
                                  a decade, Mark, you tell me, that's him trying to cover his
                                  backside, for when people like you file a complaint.

                                  So he can say, I never said it was factual, it was a matter   of
                                  opinion, first amendment, free speech.




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  Mark Bankston:     06:42       You know, I don't know if you, if, you saw h¡s 10, 12 minute rant
                                 that he posted after these lawsuits were filed, but ¡t was exactly
                                 that, Megan. lt, you know, you look at that, and what it was was
                                 just a l¡e on top of a lie. To say that he's never said this, when he
                                 has, repeatedly, for five years.


                                  He keeps saying his words are taken out of context, but you can
                                  listen to him fot lO, t2 m¡nutes at a time, just rail about these
                                  insane theories. And what you heard yesterday, you d¡dn't hear
                                  anything that was taking responsibility for his actions.

  Megan Kelly:       07:09        No, he doesn't do that.

  Mark Bankston:     07   ito    That's not in his playbook. What that was, and you heard him
                                 mention, l've spoken to my lawyers, no less than 10 times. That
                                 statement was nothing more than an attempt to avoid his
                                 responsibility, and we are not go¡ng to let that happens.

  Megan Kelly:       07:21        He says, he talks about how, it didn't happen, it d¡dn't happen,
                                  playing devil's advocate. Devil's advocate, wh¡ch truer words
                                  were never spoken. I mean, that's exactly what he, what he is
                                  doing.

                                 What has ¡t done to your life? I mean, what happens when he
                                 goes on these terrors?

  Neil Heslin:       07:38       Well, emotionally it bothers you. lt's hurtful. Um, it opens,
                                 continues to open the wound more and more, uh, but, you
                                 know, to have somebody come up to me, and, and say how
                                 sorry they are about my loss, and then, a second later, look me
                                 in the eye, and say, do lthink Sandy Hook really happened.

                                 l, I mean, this is, it's someth¡ng that shouldn't happen. And, uh,
                                 but it becomes a public threat, and, uh, you know, a safety of
                                 society. He's out peddling these lies like a carnival barker, and,
                                 it, it, puts people like mysell the Pozners, and other famil¡es at
                                  risk.

  Megan Kelly:       08:26        ln danger. ln danger,

  Neil Heslin:       08:28        No, where, Lucy Richard, she acted out, um.

  Megan Kelly:       08:31       That's the woman that went to jail.

  Neil Heslin:       08:32       Went to jail.

  Megan Kelly:       08:33       For threatening the Pozners.


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  Neil Heslin:       08:34        Yeah, and she threatened, uh, you know, death.


  Megan Kelly:       08:39        He, he's ginned up a lot, a lot of hate. Um, one man, after, after
                                  watching lnfo Wars and listening to Alex Jones, went up, with a
                                  gun, to Comet P¡zza, ¡n Washington DC. Remember that? I
                                  remember this guy in DC, in the pizzeria, because he was
                                  bel¡eving that th¡s was some pedophile ring, run by Hillary
                                  Cl¡nton and John Pedesta, this happened during the 2016
                                  campa¡gn.

                                  l, I know, Mark, do you represent this other, this other man that
                                  went to Charlottesville as a counter protester to fight aga¡nst
                                  the white supremacists, who Alex Jones dismissed as, working
                                  for George Soros, and a paid actor. I mean, over and over, he
                                  disparages people, and then, it, there have, there are real life
                                  consequences to these people.

  Mark Bankston      09:18        Well, actually, Megan, um, uh, the Georgetown school of Law, is
                                  help¡ng out w¡th the representat¡on of Mr. G¡lmore up in
                                  V¡rginia, and they filed a suit not too long ago. Uh, and our firm
                                  has actually filed an additional suit, where a poor young man in
                                  Boston was falsely accused of being the Parkland shooter, and
                                  his picture spread across the internet.

                                  And he's been suffering for harassment, and this is a young man
                                  who's never even been to Florida.

  Megan Kelly:       09:4I       But what about, you know, as a, defamation is very hard to
                                 prove, um, because the first amendment is so strong and
                                 cherished ¡n our country. So, what about the defense? 'Cause, if
                                 you can prove it was just opin¡on, and you weren't stating it as a
                                 matter of fact, it can be a defense in defamation?

                                 So, how do you get past that?

  Mark Bankston:     09:58       Well, first of all, I would say that, you know, we like to
                                 encourage debate in this country, and if you have something to
                                 say about public figures, or people who are involved in making
                                 policy for this country, have at it, say whatever you want. You
                                 know, Alex Jones has said in the past, and, and that's fine. lt's,
                                 it's what our country's about.

                                 But when it comes to private individuals, you can't just lie about
                                 them. You cannot just spread l¡es that hurt the¡r lives. And, in
                                 this case, sure, defamation ¡s sometimes hard to prove against
                                 media outlets, because most media outlets have some
                                 semblance of journalistic integrity.


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                                 Here, this    textbook defamation. He made unequivocal false
                                              ¡s
                                 statements about both of our clients. Uh, and then, then, the
                                 consequences of that are so severe, that I don't believe I've ever
                                 seen anything like this, and in our opinion, that this is our most
                                 vile act of defamation in the history of American media.

  Megan Kelly:       10:45       l'm sure, I hardly need to say that there is zero question you
                                 held your son just as you told me, and every clear thinking
                                 American out there, believes that, Neil. We all believe that.

                                 Hold on, because ljust want to tell the audience that, we did
                                 reach out to Alex Jones for reaction, uh, to Neil's appearance
                                 and these lawsuits filed against him and his company, uh, we
                                 received no response. Uh, he did address the lawsuits on
                                 Tuesday on his YouTube channel, here's what he said.

  Alex Jones:        7l:.14       I had many debates, and    that, both sides of the discussion on,
                                 and would, state, devil's advocate, that it happened exactly as
                                 they said ¡t happened. But I've been tell¡ng the parents for
                                 years, I believe their children died, and quite frankly, they
                                 knows that.

                                 So, I don't know why I continually, then, see them on the news,
                                 saying, why does Alex Jones say, my child didn't die, when l'm
                                 not say¡ng that, The media continues to m¡srepresent what I've
                                 said. Especially ¡n the last four years. The lawsu¡ts that have
                                 been f¡led, my lawyers have actually reviewed allthe v¡deos,
                                  prev¡ous to this, because we knew this was coming, and, the
                                  suits will be thrown out.

                                 They will be dropped, because they have no merit.

  Megan Kelly:       7l:57        I'll give you the last word, Ne¡|.

  Neil Heslin        t2:OO        l, I want to add to that, too, with the lies, and, the propaganda
                                  he peddle. He makes a lot of money off that. And prof¡ts off of
                                  it, and, uh, he's profiting off of my loss, and a tragedy that,
                                  affected me. That's not right, e¡ther. Um, but I'm not, I'm not
                                  backing out of this lawsu¡t, I'm, if it comes to a knockdown drag
                                  out fight in the Travis County Courthouse, that's what it'll be.

  Megan Kelly:       t2:37        And there ¡s a real question about how long he can continue
                                  this w¡thin [inaud¡ble 00:12:36]. Thank you.

                                  (Audience clapp¡ng).




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            Sandy Hook Parents Sue Radio Host Alex
            Jones for Calling Shooting a Hoax
            Parents of two boys killed in 2012 massacre sue lnfowars host for defamation




                Alex Jones arriving at the courthouse ¡n Austin, Texas, in Apr¡l 2017 PHOTO:TAMIR KALIFA/AUSTIN AMERICAN-
                STATESMAN/ASSOCIATED PRESS


            By Leslie Brody
             Updated AprillZ 2018 7:54p.m.ET

            Parents of two 6-year-old boys killed at Sandy Hook Elementary School in 2012 have
             sued the radio host Alex Jones for defamation, saying he repeatedly called the shooting
            fake and said they were liars.


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Sandy Hook Parents Sue Radio Host Alex Jones for Calling
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        Mr. Jones, a gun-rights advocate who propagates conspiracies, operates the website
        Infowars. Two lawsuits said he repeatedly accused parents who lost children in the
        Newtown, Conn., massacre of being part of a hoax. Twenty children and six adults were
        killed in the shooting.

        Parents of two boys shot that day sued Mr. Jones in Travis County District Court in
        Texas on Monday, saying they were anguished by his bogus allegations that they were
        frauds and part of a conspiracy. The suits said at many points since the tragedy, Mr.
        Jones said the school shooting didn't happen or was staged by the government using
        actors.

        Mr. Jones said on Infowars Tuesday evening his lawyers were conûdent the lawsuits
        were frivolous and would be dismissed. He said the suits and mainstream media quoted
        him out of context.

        He said although at flrst he questioned the public relations "talking points" about the
        massacre, soon afterward he said he believed that it happened, and told the parents of
        victims so, "I believe your children died and I'm sorry they died but I didn't kill them,"
        he said.

        Mr. Jones said he held debates on his show including people who said the Sandy Hook
        shooting happened and those who disputed it. "It is every American's right to question
        any big event, especially when it's seized on to take the basic liberties of Americans,
        Iike the Second Amendment and First Amendment," he said.

        William Ogden, a lawyer for the parents, said they endured the grief of losing their
        children, and Mr. Jones's false claims made them feel more pain over and over.

         "These cases are about getting him to stop and making sure it never happens to them
         again," Mr. Ogden said. He added that he hoped the lawsuits would also combat
         sensationalism in journalism in an era when many outlets rush to promote stories with
         shock value without regard to the facts. Infowars "keeps saying this one because it's so
         vile, it generates tons of views, which is how they make money," he said.

         One suit involves     plaintiff Leonard Pozner and his former wife, Veronique De La Rosa.
         Mr. Jones's video called "Sandy Hook Vampires Exposed" said Ms. De La Rosa
         participated in a faked interview with journalist Anderson Cooper, the suit said,

         The second suit, on behalf of plaintiff Neil Heslin, involves an Infowars segment
         claiming Mr. Heslin was lying when he said he held his son's body and saw a bullet hole
         in his head. "This heartless and vile act ofdefamation reignited the Sandy Hook'false


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Sandy Hook Parents Sue Radio Host Alex Jones for Calling
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              flag' conspiracy and tore open the emotional wounds that plaintiff has tried so
              desperately to heal," the suit said.

              Mr. Heslin also sued an Infowârs reporter, Owen Shroyer, for defamation for asserting
              it wasn't possible that the plaintiffheld his son in his arms, because a Iocal medical
              examiner told media that the slain students were initially identified using photographs
              rather than in person. Mr. Shroyer couldn't be reached for comment.

              Write to Leslie Brody at leslie.brody@wsj.com



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             Newtown families file wrongful death suit against
             town, school board
             Lawsuit against town, school board calls security measures inadequate
             By Rob       Ry$er Updated 12:00 am, Tuesday, January 13,2015
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              IMAGE 1 OF 8

              Ne¡l Heslin and Scarlett Lewis, parents and co-administrators of the estate of Jesse Mccord Lewis, are plaint¡ffs
              in a c¡vil lawsu¡t against the town of Newtown, the Board of Educat¡on and the Sandy Hook
              ... more




                          The parents of two first-graders killed in the Sandy Hook Elementary School
                          shootings have filed a wrongful death lawsuit against the town and the Board of
              Education, alleging security measures were inadequate.

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7t2t201A                                     Nowtown families fìle wrongful death su¡t against town, school board   , NewsTimes
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             The 66-page lawsuit was filed by the parents of slain first-graders Jesse Lewis and Noah
             Pozner. The town was served with the lawsuit on Friday.


             The suit claims the school's lockdown and evacuation plan was practiced, but never
             implemented on the day of the shoot¡ng, which "resulted in the death of 20 students." The
             suit also alleges the school failed to train a substitute teacher about the lockdown
             procedure and didn't give her a key that would have allowed her to lock the classroom
             once she heard gunshots being fired on the morning of Dec. 14, 201 2.


             The substitute, Lauren Rousseau, and all but one of her students were killed when 20-
             year-old Adam Lanza entered the unlocked classroom with a semi-automatic rifle. Lanza
             killed 20 students and six educators before shooting himself.


             The lawsuit argues that Lanza was able to get into the locked building because he was
             able to shoot his way through a large plate-glass window next to the locked front doors.



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             As a result, the lawsuit says, the locked front doors were irrelevant.


             The suit also faults the school for having classroom doors that could only be locked from
             the outside with keys, leaving teachers vulnerable to the intruder.


             The lawsuit seeks more than $15,000 in damages.



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7t2t2018                                     Newtown famil¡es file wrongful death su¡t aga¡nst town, school board - NewsTimes
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             The plaintiffs in the lawsuit are the estates of Lewis and pozner. Their parents, Neil
             Heslin, scarlett Lewis and Leonard Pozner are the administrators. They could not be
             reached Monday for comment.


             "we are hopeful that the town of Newtown's elected and hired representatives willwork
             with these families, who have already suffered, and continue to suffer unimaginable loss,
             to help resolve this matter in the most efficient and constructive way possible," said
             Donald Papcsy, a Norwalk lawyer and Sandy Hook resident who is representing the
             families.


             "As residents of the town, we all either have, or are going to have, students in our Sandy
             Hook schools, and we promote the idea of learning from the past and protecting our
             children in the future."


             First Selectman Pat Llodra declined to comment on the lawsuit, except to say it had been
             referred to the town's insurance company and the town attorney.


             Town Attorney David Grogins also declined to comment. School board members did not
             immediately respond Monday to requests for comment.


             The estates of Lewis and Pozner were among nine families of victims killed at Sandy
             Hook and one teacher who was injured who filed a lawsuit last month in state court
             against the maker and sellers of the Bushmaster AR-1 5 rifle that Lanza used in the
             shooting, saying the gun should not have been sold for civilian use because of its
             overwhelming firepower.


             Reports by state police and the state child advocate said Lanza's parents, educators and
             others missed signs of how deeply troubled he was and opportunities to steer him toward
             more appropriate treatment for his mental health problems.


             Lanza's obsessions with firearms, death and mass shootings have been documented by
             police files, and investigators previously concluded the motive for the shootings may
             never be known.


             The Newtown Board of Selectmen voted last week to recommend demolishing the
             Lanza home, which the town acquired last month from the bank that was holding the
             mortgage. The town's Legislative Council is expected to discuss the issue at its next
             meeting on Jan. 2l         .




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            The Associated Press contributed to this report. rryser@newstimes.com; 203-731-3342




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             Storm aftermath: What you need to know



             At least 2 killed as violent storm wallops Danbury area



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 Newtown Asks Judge To Dismiss Sandy Hook
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  By DAVIS DUNAVIN_(/PEoPLE/DAVIS-DUNAV|N)             .   JAN 10,2018

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Veronique Pozner places her hand next to artwork made by her son Nooh before o 2073 legislative subcommittee reviewing
gun laws in Hortford. Nooh Pozner was omong those killed ín the 2O72 moss shooting dt 5øn dy Hook Elementory School in
Newtown.
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A superior court judge in Connecticut is deciding whether to toss out a lawsuit filed by parents of two
children killed in the 2OI2 Newtown school shooting. The suit says Newtown and its school district were
negligent in its response to the shooting.

The plaintiffs are the parents of Jesse Lewis and Noah Pozner, two frrst-graders killed in the shooting.
Their lawsuit alleges the school failed to order a lockdown, which might have saved lives.

Lawyers for the town sa¡d in court Monday that teachers were forced to make split-second decisions in a
harrowing situation and said it was insulting to blame them for the deaths. Twenty children and six
educators were killed in the shooting at Sandy Hook Elementary School on December 14,2OI2.
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           NEW HAVEN                    A Superior Court judge this week dismissed              a longstanding   wrongful death lawsuit stemming from
                                  -
           the December 2012 shooting incident at S¿ndy Hook School. Tkough that lawsuit, the estâtes of two                          oflhe first graders
           killed in the incident sought money damages in                    a   liability claim against the Town of Newtown and the Newtown Board
           ofEducation.

           In a summary judgement dated May 7, Judge Robin Wilson \Vlote "Emergencies, by their very nature, are sudden and
           often rapidly evolving events, and a response can never be one hundred percent scripted and directed, and is a specific
           reason why police officers have been afforded broad discretion. .. To say that the faculty and staff of the school were to
           act in a prescribed manner in responding to an emergency situation would likewise be illogical and in direct
           contradiction to the very purpose of govemmental immunity: allowing for the exercise ofjudgement without fear                          of
           second-guessing."

           In her 29-page decision, Judge Wilson concluded that "The defendants are immune from liability."

           Of the lawsuit's dismissal, First Selectman Dan Rosenthal said May 9, "Our counsel is in the process reviewing the
           judge's ruling, and as it is still arguably a pending legal matter, it wouldn't be appropriate for me to comment at this
           time."

           Attomey Donald Papcs¡ who represents the plaintiffs, which are the Estates ofNoah Pozner and Jesse Lewis, said thât
           the plaintiffs        will   appeal Judge Wilson's decision. Attorney Devin Janosov also represented the plaintiffs.

           In a stâtement, Mr Papcsy said, "This ruling, which every parent should read, should serve as notice to all paxents of
           young boys and girls: Our children are not safe in public schools."

           "From our neighbors in Sandy Hook, to the young men and women of Parkland, the legislatures and judicial systems
           have decided for all ofus that, even when the facts support a total breakdown of school security protocol, the

           'immunity' Iaws are used             as an excuse to prevent parents from holding them accountable,"              Mr Papcsy added.




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       "We brought                                                  of 692who lost their children's lives in the Sandy Hook
                        this action to charge that, notjust for the parents
       incident, but for all child¡en. We       will continue to fight for this   cause so that, someday, we can live in a world \ryhere we
       know our children are going to come home at the end ofthe school day," Mr Papcsy said.

       ln June 2017, the defendants sought to have the wrongful death lawsuit dismissed.

       In the defendants' motion to dismiss the lawsuit, attomey Charles f)eluca, representing the defendants, wrote, in part,
       "The defendants are entitled to govemmental immunity pursua¡t to [applicable state law]." Also, the defendants
       claimed that "The plaintiffs have failed to produce the requisite expert testimony to support their claims." Attorney
       Monte Frank also represented the defendants.

       The plaintiffs requested a¡d received repeated delays in responding to the defendants' motion to dismiss.

       "The plaintiffs acknowledge that the... case is one ofunprecedented notoriety, as well as camage, speculation, press
       coverage.. . Howeve¡ [the] plaintiffs believe that          if [applicable] law is followed    as drafted, and the court refrâins from

       attempting to answer the questions of mateÌial fact that exist in the. .. case, and instead just seeks to determine if such
       questions of fact exist, as the law in Connecticut dictates, that it        will   be clear that the plaintiffs should be permitted to
       proceed on their claims to ajury for a determination ofthe multitude of factual issues which exist in the... case,"
       according to plaintiffs' objection to defendants' motion to dismiss the lawsuit.

       In the shooting incident, a 20-year-old gunmar shot his way into the school on the morning ofDecember 14, 2012,
       where he killed 20 first graders and six adults. The gumnan then shot and killed himself as police approached. Before
       going to the school, the gunman had shot and killed his mother at their Saady Hook home. The plaintiffs hled the
       lawsuit in January 2015.

       In June 2016, the estates ofPozner and Lewis offered to settle the larrsuit provided that each plaintiff ¡eceived                a

       payment of $5.5 million from the defendants. The defendants did not accept tlìat offer.

       The Pozner-Lewis lawsuit alleged there \ryas insufhcient secuxity in place in the school and its grounds, allowing the
       shooter to forcibly enter the building and then enter two classrooms and shoot and                kill people within   those classrooms.

       The 66-page lawsuit lists a variety ofreasons why the plaintiffs consider the school system to have been negligent on
       December 14, 2012, resulting in the many deaths there. The various allegations focus on the school system not having
       sufficient security measures in place to prevent the deaths.

       The lawsuit states, "They fofficials] failed to provide a security guard or any other type             oflaw enforcement personnel to
       assist in the implementationofthe lsecu ty] policies md procedures should an intruder enter the building, while
       leaving a large enough non-safety glass window directly to the right of the locked outer doors ofthe school, making
        access to the   building relatively simple, and [making] successful lockdown ofthe building virtually impossible."

       The wrongful death lawsuit lodged by the estates ofPozner and Lewis is a sepaxate lawsuit ftom another wrongful death
        lawsuit, which has been lodged by ten plaintiffs against Remingfon Outdoor Company, Inc, the manufacturer of the
        semiâutomatic rifle that the gunman used in the shooting iûcident. The estates ofPozner and Lewis, however, are
        plaintiffs in both lawsuits,

        The plaintiffs in the gun lawsuit are now seeking to have the state Supreme Court retum that legal action to state
        Superior Court for    a   jury tdal. A Superior Court judge had dismissed that lawsuit in the fall of 2016, resulting in the
        plaintiffs' Supreme Court appeal. The Supreme Court court heard oral arguments in the case in November 2017.




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      However, Remington having entered bankrùptcy proceedings
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Sandy Hook Families' Suit Against Gun Maker
Will Test Federal Law




    Stâle polÌce Det. Bârbara Mattson displays a Bushmaster semi-automatic weapon at a hearing ãt the Leg¡slat¡ve Office Building in Hartford
    on Jan. 28, 2013. (Cloe Poisson)




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    Nowtown fãmil¡es sue gun manufåclurer over $andy l-look school shooting



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    tTt   h" lawsuit filed Monday by victims of the Sandy Hook scho<¡l shooting, seeking to hold liable the
     I-   manufacturer of the Bushmaster AR-r5 used in the massacre, will test the zoo5 federal law designed to
    protect gun companies by using an exemption normaþ applied to car accident cases.


                                                       :ì i..: :-.   a-:.--r'rir.",   I one   surviving teacher who was shot several times
                                                                                      .igent entrustment exemption to the law. In a

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negligent entmstment case, a party cân be held liable
                                                   of for
                                                      692entmsting a product, in this case the Bushmaster rifle,
to another party who then causes harm to a third party,

"The court needs to decide whether they want to extend negligent entrustment from a retailer selling a gun to
someone standing right in front ofthem to the theory that the manufacturer of the weapon is also responsible
when the weapon they made is then sold by another party to a third person," Albany Law School Professor
Timothy Lltton said Monday.

Lytton, who has written a book about the history of lawsuits against gun companies, said an example of
negligent entrustment would be the sale of a weapon by a gun retaiÌer to a suicidal person. A negìigent
entrustment lawsuit would claim the retailer should have known not to sell that person a gun.

Extending that to the gun manufacturer is unprecedented. Because it has never before been brought before a
court, it is difficult to predict what will happen, according to Dennis Henigan, former vice president of the
Brady Campaign to Prevent Gun Violence.

"Most state judges will want to find a way to allow these victims their day in court," Henigan said.

The wrongful death lawsuit filed at Superior Court in Bridgeport claims that the Bushmaster AR-t5 used by
Lanza to kill z6 people, including zo first-graders on Dec. t4, 2ot2, inside Sancþ Ho<lk Elementary Sr:hgol,
should not be sold to the public because it is a military assault weapon designed for war.

In addition to Bushmaster, the lawsuit names Camfour,  firea¡ms distributor, and Riverview Gun Sales, where
                                                                                         a
Nancy Lanza, the shooter's mother, purchased tlre Bushmaster in zoro.

"The AR-r5 was specifically engineered for the U.S. military to meet the needs of changing warfare," said lawyer
Josh Koskoff of Koskoff, Koskoff & Beider of Bridgeport. "The weapon was not designed for home defense or
hunting. This weapon was designed to efñcientþ kill othe¡ human beings in combat."

But the lawsuit claims that Bushmaster is clearly aware that the AR-r5 has become the weapon of choice for
mass shootings.


"Time and again, mentally unstable individuals and criminals have acquired an AR-r5 with ease, and they have
unleashed the rifle's lethal power on our streets, our malls, our places ofworship, and our schools," the lawsuit
said.

Adam Lanza used the Bushmaster to shoot his way through the front glass of the school on Dec. 74, 2ot2. He
was immediately confronted by school Principal Dalvn Hochsprung and school psychologist Mary Scherlach. He
killed them both as they ran into the hallway from a meeting room just outside the main office.

                                                                                             veral times but managed to crawl back into the
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Lanza then entered two first-grade classrooms, where  692kilied eo first-graders and fou¡ more school personnel,
including two teachers, before killing himself with                 a   pistol Overall he fired r54 rounds from the Bushmaster in
about five minutes.

Scherlach's husband, Bill, is one ofthe plaintiffs. In a statement released by a public relations firm, he said the
lawsuit is necessary "to ensure that the gun industry is held to the same rules as every other industry."

"These companies assume no responsibilþ for marketing and selling a product [to] the general population,
who are not trained to use it nor even understand the power of it," Scherlach said." I believe in the Second
Amendment but I also believe that the gun industry should be brought to bear the same business risk that every
other business assumes when it comes to producing, marketing, and selling a product."

The other plaintiffs are the families of eight others killed: teachers Victoria Soto and Lauren Rousseau; Rachel
 D'Avino, a special education teacher; and children Jesse Lewis, Dylan Hockìey, Benjamin Wheeler, Daniel
 Barden and Noah Pozner,

 Nicole Hockley, Dylan's mother, and Mark Barden, Daniel's father, declined to comment on the lawsuit during
 an appearance at the State Capitol with members of Congress to mark the second anniversary of the shootings
 and to reiterate the need for stronger federal gun laws.

 Hockley has traveled to the White House and the state Capitol in Hartford to push for legislation, and she says
 there have been too many tragedies since then from gun violence.

 "It's just not right," Hockley said Monday. "We are better than this as a people."

 The Protection of l¿\4¡fu1 Commerce in Arms Act, passed in zoo5, generaþ shields licensed manufacturers,
 dealers, and sellers of firearms or ammunition from civil action "resulting from the criminal or unlawful
 misuse" of a firea¡m or ammunition, according to the Congressional Research Service.

 There are six exceptions, including lawsuits brought against a seller for "negligent entrustment," defined in the
 law as "the suppþing of a qualified product by a seller for use by another person when the seller knows, or
 reasonably should know, the person to whom the product is supplied is likely to, and does, use the product in a
 manner involving unreasonable risk of physical injury to the person or others."

 The novel approach to suing the gun manufacturer in this case will surely be watched closely around the
 country and by lawmakers, Henigan said.

  "I hope the Connecticut courts find a way for this lawsuit to go forward but if they don't it will be a powerful
  example of why we need to repeal the federal law," Henigan said.




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Soto v. Bushmaster




May 30, 2017

Gun Owners of America and Gun Owners Foundation filed an amrcus brief in the Connecticut Supreme Court in support
of gun manufacturers Bushmaster and Remington, who had been sued by the famil¡es of the Sandy Hook shooting
v¡ctims.

Click here to read the Gun Owners' brief in Sofo y. 8us¡,masfer. (/images/pdf/Soto-v.-Bushmaster-Amicux-Brief.pdf)

The plaintiffs ¡n the case had brought a "negl¡gent entrustment" claim, ârguing that the AR-15 style rifle sold to Adam
Lânza's mother should never have been sold because it was forêseeable that it would be used in the crime. However, as
we pointed out, neither the manufacturer, distributor nor dealer did anything wrong with respect to this particular sale
                                                                                                                         -
the essênce of a legal negligent entrustment claim. Rather, the plaintiffs instead were making the policy argument that no
one should ever be permitted to sell anyAR-15. ln other words, they were asking judges to legislate to ban AR-15 style
rifles.

Our brief also dispelled the false cla¡ms made by the plaintiffs about AR-15 style rifles. The plaintiffs had argued that AR-
15s are "so powerful,'' yet as we pointed out, the .22315.56 cartridge is on the low to medium end of most centerfire rifle
calibers.

The plaintiffs had argued the AR-15 is "so accurale" that it's not even necessary to aim, but we argued that the platform ìs
not any more inherently accurate than most other modern rifles, and in fact the lightweight bullet means other calibers far
outclass it at distance.

The plaintiffs had argued that the AR-15 is "so destructive," yet as we argued, it doesn't hold a candle to most other
popular calibers like the .308 and the .30-06.

Finally, the Plaintiffs had argued the AR-15 is a "feat of human engineering." Of course, the AR-15 is a welþdesigned
and popular rifle, but it's nothing more than the latest in a long line of advancements in fìrearms technology. When the
semi-automatic firearm, the lever action firearm, and the breech loading fìrearm were developed, each one was capable
of much greater fìrepower than the firearms which proceeded them. Yet no one wants to ban the lever action .30-30.

ïhe Sandy Hook shooting was      a terrible tragedy. But the ARl5 is not to blame" Neither is Remington, Bushmaster, the
distributor, or the dealer who lawfully and responsibly sold one to Adam Lanza's mother years before her son murdered
her, stole her firearms, and used them for evil.
   Click here to read the Gun
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                          Doc#1-4           in Soto v. Bushmaster.
                                      brief 04/18/22               (/images/pdflSoto-v.-Bushmaster-Amicux-Brief.pdf)
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O 2018 Gun Owners Foundation                                                                                      Back to Top




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     Assault-Rifle Maker Asks Judge to Toss Sandy Hook
     Massacre Suit
     A 2005 federal law was des¡gned specifically to prevent gunmakers from being sued for mass k¡lllngs l¡ke the one at
     Sandy Hook Elementary School, lawyers for the maker of the AR-15 assault weapon used in the attack told a
     Connecticut judge,

     The su¡t over the massacre of 20 children and six educators hinges on an exception to the law that applies when                         a
     seller "negl¡gently entrusts" a weapon to a þuyer who is likely to use ¡t in a crime.

      Attorney James Vogt, a lawyer for the Remington Arms Co., said Monday in state court in Bridgeport that the
      exception is intended to apply to face-to-face retailers or ¡nd¡viduals who sell guns, It can't be applied to a
      manufacturer, he sa¡d. The question of whether the AR-15 should be sold to the publ¡c should be dealt with by
      legislators rather than juries, he sa¡d.

      The exception could only apply "¡f the retailer had known that Mrs. Lanza's son was mentally                   ¡11,"   Vogt said, referring
      to Nancy Lanza, the mother of shooter Adam Lanza.

      About a dozen family members attended the packed hearing, which took on fresh meaning in the wake of last week's
      massacre of 49 people at a gay nightclub in Orlando, Flor¡da, w¡th a s¡milar assault rifle -- the worst mass shoot¡ng in
      U.S. h¡story.

      'Unsafe But Legal'
      "Aren't there other things that are unsafe but legal?" Vogt asked, us¡ng cìgarettes as an example. He compared the
      situation to a car's be¡ng stolen and then used to run over a crowd of people, resulting in a suit aga¡nst the dealer and
      automaker.

      Bushmaster Flrearms International, maker of the rifle, and parent Remington should have known that mass shootings
      like the 2012 attack might result from selling military-grade weapons w¡th 3o-round cl¡ps to cìvilians, plaintiffs'
      attorney losh Koskoff said .



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 The AR-15 "was designed to be used in combat, and yet         692 it was on the floor, not of a battlefield, but of Vìck¡
                                                           ofthere
 Soto's first grade classroom, having been used by a civ¡lian," Koskoff said, referring to a 27-year-old teacher killed at
 Sandy Hook after attempting to hide her students in a closet and mislead the shooter. The r¡fle "did not get there by
 accident. "

 The Stakes
 A victory for the Sandy Hook families might provide a road map to success in court for victims in other mass
 shootìngs¡ desp¡te a var¡ety of laws in other states, includ¡ng Florida, that offer even greater immunity to gunmakers.

 Assault weapons were banned in Connecticut after the Sandy Hook assaults, and on lvlonday the U.S. Supreme Court
 decl¡ned to hear a challenge to the law. A federal ban on such weapons was passed ¡n 2004 and expired a decade
 later. Renewed efforts by mostly Democratic lawmakers have repeatedly failed,

 Congress in 2005 passed the Protect¡on of Lawful Commerce in Arms Act, which shields gun compan¡es from liability
 when cr¡mes are committed with their products. The statute, backed by the National Rifle Association, has helped the
 ¡ndustry win dismissal of other cases.

 At Monday's hearing, Koskoff referred to legislators as "sheep" who lack suff¡cient knowledge about sem¡automat¡c
 weapons that can be deadlier than fully automatic weapons banned in the U.S,

 Companies' Knowledge
 Bushmãster and Remington "know what these weapons can do more than any congressman," Koskoff said

 Judge Barbara Bellis may take as long as three months rule in the Connect¡cut case. The suit has already proceeded
 further than others like it, with Bushmaster's attempt to end case on jurisdict¡onal grounds rejected by Bellis in April.
 That ruling triggered a requirement for evidence to be exchanged, which may reveal Internal e-mails and other
 documents at Bushmaster and Remington.

 The case is Soto v. Bushmaster F¡rearms International LLC, 15-cv-6048103. Connecticut Superior Court (Bridgeport)




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  Scrving the Following Areas

  From offices in Br¡dgeport, New Haven and Danbury, the attorneys                  at   Koskoff Koskoff & B¡eder, pC, represent clients throughout
  Connect¡cut.

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  32.    Attached to this affidavit marked as Exhibit B-28 is a thumb drive

  containing a true and correct copy of   a   video of CBS This Morning posted at the

  following url address: htþs://www.youtube.com/watch?v:orh-btel9qA dated

  November 14,2017. This video is    a   true and correct copy of the video on that website as

  of the date of this affidavit.
71212018                          As Sandy Hook Famil¡es Await State Supreme   Couf Rul¡ng, Remington Files for Bankruptcy - Hartford Courant
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As Sandy Hook Families Await State Supreme
Court Ruling, Remington Files for Bankruptcy




 Stâle police Det. Barbara Mattson d¡splays a Bushmaster sem¡-automatìc weâpon at a 2013 hearing at thè Leg¡slative Office Bu¡lding.
 Remington, the måker of the weapon, f¡led fûr bankruptcy Sunday. (Hartford Courant fìle photo)




                     By Dave      Altimari
   *
 l\,{ÅRCl"1   26. 2018, 3ì5û PM


              he bankruptcy
                     filing by Remington Outdoor Inc., the company that makes the rifle used in the zorz
 fI    Sandy Hook Elementary School massacre, will force some of the victims' families to seek approval from                                    a
 bankruptcyjudge to let their legal fight against the nation's oldest gunmaker go forward.

 Remington's weekend filing, which will turn the company over to its creditors to now operate, automaticaþ
 "stays," or stops, any legal action against the company until it emerges from bankruptcy, experts said Monday.

 Late Monday Remington's attorneys filed a motion in Connecticut court acknowledging the bankruptcy filing
 and its implications.



http://www.courant.com/news/connecticuvhc-news-sandy-hook-lawsuit-bankruptcy-fll¡ng-20180326-story.htmt                                         1t4
71212018                     As Sandy Hook Famil¡es Await State Supreme Court Ruling, Remington Filôs for Bankruptcy - Hartford Courant
       22-01023-hcm Doc#1-4 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 286
"As a result ofthe aforementioned bankruptcy filings,
                                                   of proceedings
                                                      692         in this case are stayed," Stamford attorney
Scott Harrington wrote in the motion.

A copy ofthe bankruptcy filing was submitted in the Connecticut case. The Sandy Hook families are one of eight
pending litigations against Remington across the country.

The bankruptcy comes as the families of nine victims who were killed and a teacher who survived the shooting
wait for the state Supreme Court to decide whether to uphold a lower courtjudge's decision to dismiss the
lawsuit they brought against Remington or to ovemrle that decision and put the case back before a judge.

"We do not expect this filing to affect the families' case in any material way," said one of the families' lawyers,
Katie Mesner-Hage of Koskoff Koskoff & Beider, in a prepared statement.

But legal experts said beyond stopping litigation against the company, the filing raises the question about what
unsecured creditors, such as the families, could be âwarded shouìd they eventually win ajudgment against
Remington. Experts did say they believed the bankruptcy filing won't derail a decision by the state Supreme
Court-

"The Sandy Hook families will need to file a motion asking the bankruptcyjudge to lift the stay and to issue an
order allowing the case to proceed in Connecticut," said Matthew Beatman of Zeisle¡ & Zeisle¡ of Bridgeport.
"What often happens with cases like this is both parties will agree to let the case go forward and let the Supreme
Court decide the issue."

Aclam Lanza killed e6 people, including 20 first-graders, with a Bushmaster AR-IS after shooting his way
through the front window of the school before killing himself. Lanza had killed his mother before going to the
school.

The lawsuit was filed in January zor5 seeking to hold Remington liable, arguing it marketed the AR-IS to the
pubìic even though it knew it was designed for military use.

A Superior Courtjudge in Bridgeport dismissed the lawsuit in 2016, agreeing with attorneys for Remington that
the lawsuit "falls squarely within the broad immunity" provided to gun manufacturers and dealers by the
federal Protection of l¿wful Commerce in Arms Act, or PLCAA.

The lawsuit also named Camfour Holding LLP, the gun's distributor, and Riverview Gun Sales Inc., the East
Windsor gun shop where Nancy Lanza purchased the AR-r5 right around her son's rSth birthday.

Under the plan filed in bankruptcy court in Delaware, Cerberus Capital Management LP, the private equity firm
that controls Remington, will lose ownership and the creditors will take over the company.

Among its creditors are major financial institutions such as JPMorgan Asset Månagement and smaller
companies such as Microbest Inc., a Waterbury-based company that makes parts for Remington's guns.



http://www.courant.com/news/connecticuvhc-news-sandy-hook-lawsu¡t-bankruptcy-f¡l¡ng-20180326-story.html                                   2t4
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                                 Fam¡lies Await State Supreme Court Ruling, Rem¡ngton F¡les for Bankruptcy Hartford Courant
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                       Sandy
                                 Filed  04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 287
                                                         of 692 as are several others that have lawsuits pending
The Sandy Hook victims a¡e listed as an unsecu¡ed creditor,
against the company.

Beatman said, as an unsecured creditor, the Sandy Hook families will need to file a claim ofproofin bankruptcy
court   as   well as a statement estimating how much the lawsuit may be worth.

"Bankruptcy creates the ultimate concern of how much can you collect from                            a   claim," said Beatman. 'You don't
often get a full payment."

Georgetown Law Professor Heidi Feldman, who has been following the Sandy Hook lawsuit, said the timing of
the bankruptcy fiìing was interesting. With both sides awaiting what could be a monumental state Supreme
Court decision, Remington could use the bankruptry filing to try and settle the case.

"This hits the pause button and perhaps Remington would reach out for                          a   settlement rather than gamble on the
Supreme Court ruling in their favor. What Remington could be hoping is, if they settle then no court ruling
would be issued and they wouldn't have to worry about an unfavorable ruling that could impact gun companies
across the country or at the very least send the case back to the state court and allow discovery to begin, which
they also don't want," Feldman said.

Remington's attorneys have steadfastþ argued that PLCAA protects them from the families'lawsuit.

The bankruptcy filing comes about a month afte¡ the latest mass school shooting. The Parkland, Fla., shooting
that killed    17   has spurred an intense campaign for gun control, including marches across the country this past
weekend.

Some national companies, including Walmart and Dick's Sporling Goods, have announced they will not sell
semi-automatic weapons to anyone under the age of 21.

Remington, a North Carolina company with roots dating to 1816, has lined up $roo million with lenders to
continue operations. It remains unclear what will happen to its 3,5oo or so employees                            as    it reorganizes,

Panic sales that drove revenue for gunmakers ever higher evaporated with President Donald Trump's arrival in
the White House. Late Sunday, according to reco¡ds from the bankruptcy court ofthe district of Delaware,
Remington agreed to a prepackaged deal that would give holders ofthe company's $5So million term loan an
82.5 percent stake, according to a release. ThirdJien note holders will take 17.S percent of Remington and four-
year warrants get a 15 percent stake.

 Cerberus Capital Management, which acquired the company in eooT as gun sales began to boom, tried to sell                               it
less   tìan a week after the Sandy Hook shooting. There were no takers.

 ln 2or7, firearm bacþround checks, a good barometer of sales, declined faster than in                            any year since t998,
 when the FBI first began compiling that data.



http://www.courant.com/n€ws/connecticuvhc-news-sandy-hook-lawsuiþbankruptcy-f¡ling-20180326-story.html                                      3t4
71212018                     As Sandy Hook Famil¡es Awa¡t State Supreme Court Rul¡ng, Remìngton Files for Bankruptcy - Hartford Courant
      22-01023-hcm Doc#1-4 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 288
                                                     of 692 increased, were already in decline. That is partiaþ
But there were clear signs that gun saìes, even as production
because a larger percentage of guns in the U.S. are owned by an increasingly small group of people.

According to a recent study by Harvard University and Northeastern Universiþ, the number of privateþ-owned
guns in America grew by more than 7o million     to approximately 265 million  between 1994 and 2015. But
                                                              -                                          -
half ofthose guns are owned by only 3 percent of the population.

That smaller base of what are sometimes referred to as "super-owners" has made the industry more unstable.

In 2or5, Colt Holdings Co., another storied gunmaker, filed for Chapter rr bankruptcy protection.

Profit growth at Sturm, Ruger & Co, is under severe pressure and the company's shares are down 18 percent
this year.

Some of Wall Street's heaviest hitters are stepping into the national debate on guns as investment firms ask
ñrearms makers what they are doing about gun violence.

BlackRock is a major shareholder in gunmakers Sturm Ruger, American Outdoor Brands, and Vista Outdoor
B¡ands. About a week after the shooting in Parkland, BlackRock said it wanted to speak with the three firearms
makers about their responses to the tragedy. It's also looking into creating new investment funds for investors
that exclude fireaûns makers ând retailers.

Information Jrom the Associsted Press is included in this story                     .



C0pyr'ght O 2018, Hårtford Courânl


This article is related to: Adam Lanza




http://www.courant,com/newlaonnecticut/hc-news-sandy-hooklawsuit-bankruptcy-fi1¡ng-20180326-story.html                                    414
712t2018                                     Sandy Hook Fam¡l¡es Make Last-D¡tch ploa to Save Gun Lawsuit - Bloomberg
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    Politics

    Sandy Hook Families Make Last-Ditch Plea to
    Save Gun Lawsuit
    By Er¡k Larson
    November 14, 2012 10:44 AM CST
    Updated on November 14, 2012 3:16 PM CST

    >      Lawyer argues that case isn't covered by federal immunity
    >      Adam Lanza killed children, adults with an assault weapon


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     Guns in America


    Judges on Connecticut's highest court repeatedly pressed an attorney for Remington Arms Co.
    about why advertisements for its AR-15 semiautomatic rifle touted its ability to "single-handedly"
    overcome "forces of opposition."


     "If it's used for hunting or for target practice, what's the purpose of that?" Justice Richard Palmer
     asked Tuesday at a packed hearing in the Connecticut Supreme Court, where families seek to
     revive a lawsuit against the company over the 2Ol2 Sandy Hook                                              School massacre by
     Adam Lanza using the company's assault weapon.



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7   t2t2018                         Sandy Hook Families l\¡ake LasþDitch Ploa to Save Gun Lawsuit - Bloomberg
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       People speak on the steps of the Connecticut supreme court on Nov. 14 after a hearing to revive the¡r
       lawsuit. Phofographer: Erik Larson/Bloomberg


       "It's not clear to me what type of target practice requires one to really eviscerate a
       target," Palmer said, adding that the families described the weapon as a "killing machine."


       James Vogts, Remington's attorney, said that the ads were intended to build interest in the gun,
       which he said can also be used for self defense.


       "If I felt the need to have a firearm to protect myself and my family, I'd certainly want to choose
       the weapon that would force the opposition to bow down," Vogts said. He also said that the
       weapon is "being used to hunt deer at this very moment all across the country."


       The hearing in Hartford ended without a ruling. A decision in favor of the victims won't be a frnal
       victory      as   the case would be sent back to the lower court for further proceedings and eventuaþ
       a   trial.


        Family Position

                                                                                                                2t5
71212018                          Sandy Hook Famil¡es Make Last-D¡tch Plea to Save Gun Lawsuit - Bloomborg
      22-01023-hcm Doc#1-4 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 291
   After the hearing, some of the families gathered          on the courthouse steps. Ian Hockley, whose six-
                                                        of 692
   year-old son Dylan was killed in the attack, blasted Remington's sale of Bushmaster military-style
   weapons to civilians without the type of extensive training and psychological screening that's
   required for a soldier to be issued such a weapon in the military.


   "The manufacturer of the Bushmaster takes no such precautions when unleashing their product
   in the cMlian market," Hockley said. "They could not care less what happens to their guns once
   the cash is in the bank, showing their utter disregard for the lives this weapon takes."




    Lawyers for the family members have asked the court to revive the suit that was dismissed last
    year byJudge Barbara Bellis in Bridgeport, Connecticut. She ruled that it was blocked by the
    federal Protection of Lawful Commerce in Arms Act, or PLCAA, which bars gun companies from
    being held liable for crimes committed with their products.


    The statute, backed by the National Rifle Association, has helped the industry defeat similar
    cases, with the Sandy Hook suit perhaps the highest-profile example. Opponents say easy access
    to guns is to blame for continued mass shootings in the U.S., including the Oct. l massacre of 58
    people at a concert in Las Vegas and the slaughter just a month later of26 people in a Texas
    church.


    On Tuesday, at least five people are dead, including the gunman, after a shooting in Northern
    California's Tehama County, according to CNN.


    The Sandy Hook case hinges on an exception to the federal immunity law that applies when a
    seller "negliçntly entrusts" a weapon to a buyer who is likely to use it in a crime. Remington
    argues the exception is intended to apply to face-to-face transactions involving retailers and
    individuals -. not to manufacturers.

                                                                                                                315
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                                                       Last-Ditch                    Plea to           Lawsuit
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   The families' argument seeks a novel way around  of 692the federal immunity provision. Even by
   getting the suit to trial, the families hope to gain access to gunmakers' internal communications,
   which may aid others seeking to pursue similar suits $owing out of gun violence.


   The massacre at Sandy Hook was caused "solely by the criminal misuse of a weapon by Adam
   Lanza," Bellis said in last year's ruling. "This action falls squaiely within the broad immunity
   provided by PLCAA."


   The families have argued Bushmaster Firearms International LLC, maker of the rifle, and parent
   Remington should have known that mass shootings such as the attack at the Sandy Hook school
   might result from selling military-grade weapons with 3o-round clips to civilians.


   Connecticut Tustices to Hear High-Stakes Sandy Hook Gun Case


   The group contends that the gunmaker's disregard for what was likely to happen was equivalent
   to gun retailers selling weapons to customers who they knew were likely to commit a crime - a
    scenario that isn't protected by the 2OO5 federal law shielding gun manufacturers,


    "They marketed the weapon for exactly what it was," plaintiffs attorney Josh I(oskoff said in
    court, adding that Remington even used product placement to get its weapon in first-person-
    shooter video games played byLanza.


    I(oskoff said the use of the AR-15 in so many mass shootings was foreseeable by the company and
    that Remington sought to maximize sales by marketing them to susceptible young men such as
    Lanza, who killed 20 children and six adults at the school on Dec. 14,2012.


    When Lanza prepared for his massacre that morning, he put on tactical gear, taped 3o-round
    magazines together and reached for a weapon that Remington should never have made available
    to him, Ituskoffsaid.


    "The weapon he needed for his mission was never in doubt," he said, "Remington may never
    have known, but they had been courting him for years, The courtship between Remington and
    Adam Lanza is at the heart of this case,"


    The company has argued that the question of whether the AR-15 should be sold to the public
    should be dealt with by legislators rather than juries.




httpsr^ÀT/w.bloomberg.com/news/articles/2017¡ 1¡ 4/sandy-hook-famil¡es-make-last-d¡tch-plea-to-save-gunmaker-su¡t   4t5
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    Assault weapons were banned in Connecticutofafter
                                                  692 the Sandy Hook shooting. InJune, the U,S,
    Supreme Court declined to hear a challenge to the law. A federal ban on such weapons was
    passed in 2OO4 and expired a decade later. Renewed efforts by mostly Democratic lawmakers to
    reinstate it have repeatedly failed.


    The case is Soto v. Bushmaster Firearms International LLC, l5-cv-6048103, Connecticut Superior
    Court (Bridgeport).


    (Adds     C øliÍorniø      shooting.      )


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7   t2t2018                                                        Soto v. Bushmastor - CCDL BIogCCDL Blog
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         CCDL Blog
        Connecticut Cìtizens Defense League, lnc. Blog




                   Soto v. Bushmaster
                   Po$ted on June 20, 2017 by Chris

                   --FOR IMMEDIATE RELEASE--


                   Connecticut Cit¡zens Defense League F¡les Brief Oppos¡ng Lawsuit that Seeks to Make Gun
                   Manufacturers Liable for Gun Crimes Because Firearms are "too Dangerous" for Law-
                   abiding Citizens

                    June 20,2017 (Groton, CT)
                    The Connecticut Citizens Defense League (CCDL) has filed an amicus cuflae brief in the
                    Connecticut Supreme Court opposing an attempt to ¡mpose legal liability on the manufacturers and
                    sellers of the fìrearm used in the Sandy Hook tragedy. The Supreme Court case (Soto v
                    Sushmâstêù, brought by lawyers reprêsenting the estates of several victims of the shooting,                  ¡s

                    based on thê novel theory that the firearm used in the shooting is "too dangerous" to sell to
                    ordinary, law-ab¡ding citizens, and that the makers of the gun should thus be on the hook
                    whenever     ¡t is misused   to cause injury. But as CCDLs brief points out, the particular type of fìrearm
                    used by Adam Lanza at Sandy Hook in fact has about one-foufth as much firepower as many
                    ordinary hunting rifles, because it uses lightweight ammunition. And crime statistics show that
                    ord¡nary handguns aîe over fifteen times more likely lo me used by "mass shooters" than the
                    model of firearm chosen by Lanza. lf the defendants are held liable in this case, then, it will set a
                    precedent that would expose businesses             10 legal liability   each time they sell viftually any type of
                    f¡rearm in Connecticut.


                    The State Superior Court rejected the Plaintiffs' theory noting that it "would be a dramatic change
                    ¡n tort doctr¡ne." But the Plaintiffs have now appeåled to the Supreme Court.


                    "The implications of the rad¡cal theory of tort law advanced by Pla¡ntiffs' lawyers in this case are
                    dangerous and breathtaking," saìd Scott Wilson, President of CCDL. "When you realize that by
                    every empirical measure, the type of firearm at issue in this case is /ess dangerous and /ess likely
                    to be used in any kind of violent crime, including mass shootings, than an ordinary huntlng rifle or
                    handgun, it becomes clear that th¡s       ¡s   just the latest effort in the long-runn¡ng campaign by ant¡-gun
                    actÌvists to make the manufacturers of any lircarm liable simply because criminals or the mentally
                    unstable m¡suse their product." But the Second Amendment protects the right to sell f¡rearms to
    http/ccdl.us/blog/201 7/06/20/soto-v-bushmaster/                                                                                    113
7 t2t201a                                                            Soto     v   Bushmaster - CCDL BIogCCDL Blog
            22-01023-hcm Doc#1-4 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 295
                 laMul ciiizens, according to multiple federal court
                                                               of 692decisions; and a federâl statute also generally
                   forecloses attempts to make firearm manufactures and retailers l¡able for the m¡suse of the
                   firearms they sell, so long as the sale itself was lawful. "Plaintiffs' effort to choke off the sale of
                   virtually all ordinary firearms ¡s contrary to both the Constitution and federal law," Mr. Wilson sa¡d.
                   "CCDL hopes that ou¡ brief will help the Supreme Court to recogn¡ze the truly radical-and
                   unconstitutional-implicat¡ons of th¡s lawsuit."


                   The full brief can be downloaded here: CCDL-Amicus-AS-pltûD {pdf)


                   SHARE TH IS:

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                   Th¡s entry was pÕsted in L¡tigation, Press Releass ånd tagged .Amicus Cur¡ae, Scott W¡lsrn,
                   $oto v Sushmaster by Chris. Bookmârk the psrmal¡nk lhttp:llccdl,uslblogl20'l7r0612û/soto-v-
                   bu$hmastêr,l             .




                   4"rHÕUGHlS ON "SOtÖ V. BU$t{t\rAsl€R'




                                       richard430l
                                       0n June 20, 2017 ðl 7:51 pm sa¡d:


                             Good move, CCDL. Thank you, Scott, and supporting staff.




                                       R¡chard Burton
                                       on       J!nê:0,2017 at 10:55 pm   såidi


                             None of the parents from Sandy Hook should drive any car, because the car might commit
                             a cr¡me wh¡le thier behind the wheel         !




                                       Mark
                                       on Junê 21,20{7 ât 7:17 am said


                             What a great organization we have in CCDL! Thank you for helping protèct my/our right!
http://ccdl.us/blog/20   1   7/06/2o/soto-v-bushmaster/
7   t2t2018                                                Soto v. Bushmaster - CCDL BIogCCDL Blog
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                                chris
                                0n June 21, 2017 at 7:20 pm såid


                        N¡ce to see all the support Remington is getting! WTG everyone!




                                                   eomments are closed




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  36.      Attached hereto marked as Exhibit B-32 is a thumb drive containing a true and

  correct copy of a video of the Sessions Law Firm posted at

  https://www.thesessionslawfinn.com/takeawa),s-sand),-hook-victims-lawsuit-remington-

  bushmaster. This video is a true and correct copy of the video posted at that intemet site

  as   of the date of this affidavit.
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     LHONARD POZNF;R ANI)                            s                  lN DIS'l'RlC'f COUR'|   OÌ.'
     VERONTQUE DE L4 RoSÁ                            $
        Plaintffi                                    s
                                                     s                 TRAVIS COUNTY, TEXAS
     VS,                                             s
                                                     s               345TH
     ALEX E. JONES, INFOWARS, LLC,                   s                        DISTRICT COURT
     AND I.'R}i}ì SP¡ïF:CH SYST'ËMS, T,LC,           6
                                                                      ---__
        Defendants                                   5


            PLAINTIFFS'ORIGINAL PETITTON AND RNQUIST FOR DISCLOSURE


            Plaintiff^s LEONARD POZNER and VERONIQUË DE LA ROSA file this orig¡inal

      petition against Def'endants, ALEX JONES, INFOWARS, LLC, ånd FREE                  SPEECH

      SYSTEMS, LLC, allege as   follows:

                                   DISCOVERY CONTROL PLAN

            1"      Plaintiff.s intend to seek a customized discovery control Tllan un(ler

      Level 3 of Texas Rule of Civil Plocedure L90.4.

                                               I)Â DTTEC


            2.      Plaintiff Leonard Pozner is an individual resicling in the State r:f þ'lorida.

            3.      Plaintiff Veronique De La Rosa [forrnerly Veronique Poznel'l ìs an

      individual residing in the State of Fìorida.

            4..     Defendanr Alex E. Jones is a resident of Austin, Texas. He is the host of

      radio and web-base.l news programing, including "The Alex Jones Show," and he
22-01023-hcm Doc#1-4 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 299
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      owns and opcrates the wcbsite LTfoWars.com. Mr. Jones can bc sorvcci at his place of

      business, lnfoWars, 3019 Alvin Devane Blvcl., Suite :300-350, Austin,'llX 78741.

                 5.     Defènclant lnlÌrWars, LLC is a Texas limited liability corrpaìry l,vith

      princÍpal offices located in Austin, Texas.      lt   rnay be served at the address of its

      registered agent, Elizâbeth M. Schurig at 100 Congress Aveuue,22n¿ Hoor, Austin,

      'I',X   7870"t.

                 6.     Defendant Free Speech Systems, Ll,C         is a   'T'exas   limited liability

      company with principal ofTices located in Austin, Texas.          lt   måy be sewed at the

      address ol its registered agent, Eric Taube, at 100 Congress Avenue, l8tb Floor",

      Austin, TX 78701.

                                        IURISDICTION & VENUE

                 7.     'l'he damages sought in this case exceed the minimum jurisdictional

      limits of Travis County District Courts.

                 B,     Venue is propcr in Travis Counfy,'Iexas, because a suit for"clamages for

       defal¡atì0n may be brought in tihe county ìn which a clefendant residecl at the time

       of fìling, or the domicile of any corporate def'endant, at the election of the plaintiff.

      See Tex. Civ. Plac.    & Rem. Code 515.017,

                                        FACTUAL BACKGRO{JND

                 9.     Plaintiffs äre the parents of deceased mlnor N.P., a victim of the

       December 1,4,201.2 Sandy Hool< Iìle mentary School Shooting.
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                10.       This     ¿:ase aìrises        out of accusations rnade by lnfoWars itt            2ûL7,

      including the false daim that Plaintiff Veronique De t,a Rosa was än actor in a täked

      interview with CNN's Anderson Cooper used to cover up the "truth" about Sandy

      I'faok, as well as other statements meant fo support the underlying accusation thât

      the Sandy Hook pårcnts are liars anrl frauds.

                11..      'l'his conspiracy theory, which has been pushed by lnfoWars and Mr.

      fones since the clay of the shooting, alleges that the Sandy Hook massacre did not

      happen, ol' that         it was staged by the government and concealed using actors,                     and

      that the parents ofthe victims are participants in                   a   horrifying cover-up.

                L2.       0n April 22,201,7, Mr. loncs broadcast a video entitled "Sandy Hook

      Vatnpit'es Ë)xposecl."t Thc information presented wâs                           not now.   It   containecl   a


      continuatjon and elaboration ofthe same stale attacks Mr. Jones has made about the

      honesty ancl identity of the Sandy Hook parents fûr years.

                13.       During the April 22, ?01,7 broaclcast, Mr. Jones discussecl                      a   CNN

      interview with Plaintiff Veronique De La Rosa an(l Anderson Cooper, stâtiug:                             "So

      here are these holier than thou people, when we question CNN, who is supposedly at

      the site of Sandy l{oolç and they got in one shot leaves blowing, and the flowers that

      are around it, and yolr sec the leaves blowing and they go lgesturcs]. They glitch.

      They're recycling a greeu-screen behind them."z The gist of this statement by Mr.




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      2Id.
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      Jones is   that Mrs, De La Rosa's interview was faked and did not occttr ât the Edmond

      Town Hall in    N   ewtowll.

              14.    In the April 22,201"7 broadcast, Mr. |ones next showed video footage of

      Plaintiff Veronique De La Rosa speaking with Anderso¡r Cooper in her interview.

      Over this foolage, Mr. Jones stated: "And theu we've got Audcrson Cooper, famously,

      not just with the flowers blowing and a fal<e, hut wlìen he tttrns, his nose disappears

      re¡:eatedìy because the green-screen isn't set right. And they clon't like ttr do live

      I'eeds because somebody        rnight ì'un up. CNN did that in the Gulf War and admitted it'

      They iust got caught two weeks ago doing            it in supposedly   Syria. And all we're

      saying is, if these are knowu liars that liecl ab<¡ut WMDs, and lied to get us        ir   all

      these wârs, anc{ bacì<eci the Arab Spling, and Libya, and Syria, and flgypt, and

       everywhere else to overthrûw governn.lenls, ¿lnd pttt in radical Islamicists (sícJ,        if

       they do rhat and have blood on theil hancìs, and lied about the lraq War, and were

       for the sanctions that killed half a million kids, and let the Islamicists fsicJ attack

       Serbia, and lieel abc¡ut Serbia launching the attacì<, whell     it all came out later that

       Serbia didn't doit, how could you helieve any of     ítíf you have a memory? lf you're not

       Dory fiom 'Finding Ðory,'you know, the Disney movie. Thank god you're so srupid,

       thank god you have no menrory. It all goes back to that."¡

              15.     Based on the video footage of the Anderson Coopcr interview with Mrs.

       De La Rosa, Mr. fones sr:ught to cr:ttvitrse his auc{ie¡rce that they sht¡uld n<lt "believe




       'Id.
                                                      4
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      any ot' it."4 As will be cliscussed more fully below, Mr. Jones' allegation regarding

      Mrs. l)e        L,a Rosa's             participation in     ¿r   "faked interview" is a central pillar of'his years-

      long assertion that the Sandy Hook tragedy was fàl<ed and that the pat.ents are

      participants in a cover-up.

                   1.6.         Mr. jones'asseftion that Plaùrtiff Veronique De La Rosa participated in

      a faked blue-screen interview from a remote lr catir¡n is manifestly f'alse. Mr. Iones'

      âssertion that the interview did ncit take place in front of the Fldmeincl'l'own Hall is

      also manifestly talse. 'lhe visual effect clescribed by Mr. Jones is the result of motion

      compensation vicieo compression, which would have been readily ascertainable at

      the time Mr. Jones made his claims.s Nonetheless, aftcr fìve years, Mr.                                       Jones

      continues to push this sicì< lie about Ml's. De La Rosa ancl ìrer interview

                   17.          On the April 22,2017 broadcast, Mr. Junes and an lnfoWars pro(lucer

      also repeated other statements consistent                                   with their yearslong      campaign to

      convincc their audience that Sandy Hook was fal<cd and that the parents are lying.

      An lnfoWars producer stated: "They come out first day, have the wroug nâme of the

      sup¡rosed shooter. They have his olcler brother. And they've got guns that chey're

      calling out, ând chen they're pulling guns out of cars, they're finding people in the

      back woods who are dressed up in SWAT gear."e




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                    1il.   Mr. fones respoucìed t0 the producer's conunents by stating: "Arid

      that's on herlicopter footage, ând then they sây it never existerì, ancl l¿¡ter adlrit it

      does, and lhe schc¡ol was closed uncil thât yeãl',         in the vicleos it's all rotting alìd
      falling apart and nobody is even in it, and lhe kids are going in circles, in and out of

      thc buiiding with their hands up, and they nevcr called rescue choppers. I mean,

       exactly."T

                    1,9.   The lnfoWars producer responded       to   Mr. Jones by stâting: "'lhere's

      some supposed dash footage where the peopìe âre srniìing and getting their lunches

      ready, police officers. You think you'r'e going to have srniling police officers at a time

       when they're supposedly bringing out twenty dead kids? And they're smiling and

       getting their lunches r€ady."8

                    20.    Mr. Jones responded to the producer by stating: "Änd they had Port-A-

       Potties being delivered an hour after it happened, for the big rnedia event."e

                    21.    The InfoWars producer responded to Mr. Jories by stating: "We've

       never seen, there was never been ärly even blurred photos of any bodies or

       ânything,,,We didn't even get blurred images with the dead kids in Syria. We got

       crisp photos."lo

                    ZZ.    kì totality, the gist of the false comrnents in this one-hour broadcast on

        April 22, 2û1.7 is that thc Sandy Hook shooting was faked or staged, and that

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      Plaintiffs Veronique De La Rosa ancl Leonard Pozner are "Sancly Llook Valnpires"

      engagecl in a cover-up.1r Persons familiar                                           with the Plaintiffs would have understoûd

      ancl inferred Mr" Jones to be rnaking an allegãtion thât Mrs, De La ilosa's interview

      was fake and thât the Plaintiffs are lying about the circumstances of Sandy }Iook and

      thc cleatli of their son.

                    23.          On Apr:il 28,201,.7, Mr. Jones held a press conference in which he was

      askec{        if he believes that Sandy                         Hool< was a "false flag." Mr. Jones stâted:        "l thinl< we

      should investigate everything bec¿ìuse the govemment has staged so much stufl; ând

      then they lie and say that I said the whole thing was tolally fake when I was playing

      Devil's Advocate in a debate. I said maybe the whole thing is real, maybe the whole

      thing is làke. They were using l¡lue-screens out theì'e"..Yes, governmeuts                                               stage

      things."tz Mr, lones was agâin asserting that Plaindff Veronique De La                                                    Rosa

      participated in a f'ake blue-screen inlerview, and that this interview was part of                                            a


       massive criminal conspiracy orchcstrated by governmerìt ft¡t'ces. Iìoth assertions are

       manifcstly false.

                     24.         On June 1.3,2Qt7, Mr. frines posted a video to the lnfoWats Facebook

       page in which he once again promoted his defamatory lie about Mrs. De La Rosa's

       interview on CNN, Mr. lones stated: "But therc's been a coveL-up, Anderson Cooper

       go[ caught, faking where his location was with blue-screen. I mean, it's all there."l3



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                  25.   On June   1,.8, '201,7,   Megan Kelly airecl her interview with Mr. lones,

      during which he $tated:               "l do think thele's       some covel'-up and     sorne

      manipulation."l + The folìowing exchange took place:

                              MECYN KELLY: But Alex, the parents, one afier the
                              other, devastated. The dead bodies that the coroner
                              autopsied..,

                              ALHX J0NFìS: An<i they blocked all that. And rhey won't
                              release any ofit. 'l'hat's u nprecedentec[.ts

                  26.   Jones and Kelly then had the following exchange:

                              JONES: But then what do you do, when they've got the
                              kids going in circles, in and out of the building with
                              their hands up? I've watchecl the footage. Ancl it looks
                              like a drill.

                              MEGYN KlìLt,Y: When you say, "pârent$ faked their
                              children's cleath," people get very angry.

                              ALEX )ONES: Yeah, well, that's - oh, I know But they
                              don't get angry âbout the half million dead lraqis from
                              the sanctions, Or lhey don't get angry aboLrt all the
                              illegals pouring in.to

                  27.   During the fune 18, 2017 profiìe of fones for her NIIC show Su ddy

      Night with Me,gyn Kelþ, Ms. Kelìy interviewecl fellow Sandy Hook parent Neil Heslin

      about the claims made by Jones, including that "the whole thing was fake" and "a




       'o   kl.

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      giant lìoax."17 Aclclressing this hateful lie, Mr. Heslin told f(elly,                                                    "l lost my son, I
      buried rny son. I held my son with                           a   bullet hole through his head."1tr

                    28.        On June 26, 2017,lnfoWars' broadcasl featured a segment hcrsted by

      repofter 0wen Shroyer in which Shroyer claimed to have reviewed evidence

      showing it was impossible for Mr. Heslin to have held his son and see his in)ury. This

      broadcast was meant to reinforce and support the underlying lie that the Sanrìy

      Hook parents are fakes.

                     29.        During the broadcast, Shroyer said, "The statement IMr. Heslin'l made,

      fact-checkers on this have said cannot be accurate. Ile's claiming that he held his son

      and saw the bullet hole in his heacl. That is his claim. NoW according to a timeline of

      events and a coroner's testimony, that is not possible."le

                     30.        As support for these statements, Shroyer playecl video fcrotage wìrere

       the local medical examiner informed reporters that the slain students were initially

       iclentified using photographs rather than                                      in    person. However, the Sancly Hook

       pârents were permitted                     te.¡   see and hold         their chitdrelt soou thereafter.

                     31.        Shroyer stated, "You would remember il'you held your dead kid in your

       hands with a bullet hole, Thafs not something you would jt¡st tnisspeak on."20




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                   32.   Stroyer continìred by stating thät Mr. Heslin was "mal(ing        "1
                                                                                                pretty

      extreme claim that would be a very thing vivicl in your memory, holding his clead

      child,"zr

                   33.   Shroyer then stated: "The conspiracy theorists on the internet out

      therc havc a lot of questions that are yct to be answerecl. You say whatcver you

      want about the event, thãt's iusl a fact"z'¿

                   34. At the r:onclusion of his report, Shroyer stated, "Will there be a
      clarifìcation lrom Heslin or Megyn Kelly? I wouldn't hold your breath. [Laughl.               So

      now they're fueling the conspiracy theory claims, Unbelievable,"2:l

                   35.   The underlying point or gist of Shroyer's report is that Mr. lleslin was

      lying about the circìimstances of his son's tragic death because          it   dicin't happen,

      While not direcfly mentioning the Plaintilfis, Mr. Shroyer's statemenß are further

       evidence of lnfoWars' continuing malicious intent to convince the public that the

       Sandy flook parents are lying, and that their participation in mcdia interviews, such

       as Plaintiff Ve¡:onique De La R<¡sa's interview with Anderson Cooper, are fakecl acts

       of manipulation to cover up â horrible secret truth.

                    BACKGROUND TO INFOWARS' 2017 DEFAMATORY STATËMENTS

                   36.   ln order to fully âpprcciate the defamatory impact and the extent of the

       mentaì anguish caused by InfoWars'2017 statements, it is neccssary to unclerstand

       lnfoWars' long lristory of harassing the Sandy Hooì( parents with defãmatory lies.
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      Mr. Jones' 2017 statenients are but the latest in a selies of false, cruel,                                                        ancl

      clangerous assertions about the Plajtrtiffs ancl the parents ofthe other victjms.

                        37.       In 2013, Jones called the shooting "staged" and sâid, "lfs got inside job

      written all over                it."2a

                        38.       In March 2A'J-4, Mr. f ones debuted his allegation regarding a "faked"

      interview between Plaintiff Verouique De La Rosa and Anderson Coo¡rer. il'his

      alìegatir:n about a "blue-screen" became a ce)trtral pillar of his assertion that the

      incident was faked and nranipulated by the E¡crvernrnent through the use of so-callecl

      crisis actors. Mr'. |ones said on broadcast: "Folks, we've got video of Anderson

      Cooper with clear blue-ssreen out tllere. [Shaking head]. Hc's lrot there in the town

      square. We got people clearly coming up and ìaughing ancl then doing the                                                           fäl<e

      crying. We've clearly got people where it's actors playing different parts for cliflerent

      people, the building bulldozed, covering up everything, Adam Lanza trying to get

      guns five times we're told. The witnesses not saying it was him,..l've looked at it and

      undoubtedly, there's a cover-up, there's actors, they're manipulating, they've been

      caught lying, ancl they were pre-planning befbre it and rolled out wifh it."zs

                        39. ln May 2QL4, InfoWars published an article ritled: "CONNECTICUT
      TRIES TO HIDE SANDY HOOK TRUTI-I.'26




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                   40.      ln September 2014, InfoWars published an årticle titled: "FBI                                SAYS NO

      ONF: KII,I",F]D A1'SANDY HOOK^"27


                   41.      In December 20L4,.lones                        saicl ou his       radio program: "The wìtole thing

      is a giant hoax. [{ow do you deal with a total hoax?                                        lt took   rne about â year, with

      Sancly Hool<, to come to grips                       with the fact that the whole thing was fakc. I dicì deep

      resear^clr,"?18


                   42.       ln the same December 20L4 broadcast, Jones continuecl: "'l'he general

      public doesn't knr¡w the school was actually closecl the year hefore. They don't know

      they've sealed it all, demolished the ìruilding. They don't know that they had the kids

      going in circles in and out ofthe building as a photo-op. Blue-screen, green-screens,

      they got caught using,"?e

                    43"      fones made simiìar cr:mments in January 201"5, stating on InfoWars:

      "You learn the school had been closed and re-opened. And you've got video of the

      kids going in circles, in auci out of the building, and they don't call the rescue

      choppers for two hours, and then they teal the building down, and seal it. And they

      get caught using blue-screens, ancì an email by tsloomberg comes out in a lawsuit,

      where he's telling his people get ready in fhe next 24 hours lo capitalize on                                              a


       shooting. Yeah,            s<¡    Sandy l-look is a synthetic, completely fake with actors, in nly

       view, manufâctured.                    I   coultln't believe             it at first. I knew they         had actors therc,

       clear:ly, br.rt I thought they l<illed sonre real kicis. Ancl it just shows how bold they äre
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      thât thcy clearly used actors. I mean they even ended up using pìrotos of kids killed

      in     ma.ss shnotings here                  in a fal<e mass shooting in 'l'urhey, or Päldstân.'l-he              sl<y is

      now the limit."eo

                    44.             Mr. Jones' statement about Pakistan refers to a conspiracy theory Jones

      helped spread involving Plaintiffs' dcccasccl minor child N.P., whosc photogrâph

      appeared at vigil for children slain a schooì attack in Peshawar. On the day of the

      Peshawar incident, a Pakistani woman cre¿rted a collage of photographs of young

      people killed in scìrool attacks and posted                               it to Facebook with          the caption "They

      Went to School and Never Came Back":11 Because the Peshawar shooting occurled

      vely close to the anniversary of the Sandy Hook rìassacre, she included a picture

      of a child from the latter event, along with pictures of Peshawar victims.32 'l'hat

       collage was then printed out and cut up into the individual photographs displayed

       by mourners at a vigil for the Peshawar victirns.:l:j

                    +5.              [n lanuary 2015, lnfoWars publishecl an article about this event titled:

       "MYS'l'liRY: SANDY HOOK VlCl'lM DIHS (AGAINJ IN PAKISTAN.'34'l'he artide states:

       "Á lar"ge-scale attack ol1 a school in Peshawar, Pakistan, last rnonth left 132 school

       children and 10 teachers dead. Among the alìeged victims emer¡¡ed the familiar face

       of [N.P,], one of the childrcn supposedly killecl in the Decernber 2012 Sandy Hook



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      school shooting in Newtown, Connecticut.":ìs lnfoWars' stoty was n.leant to reinf<lrce

      Mr. ]ones' persistent lie thât N.P. and the other victims ofthe shooting are not real.

             46.    In fuly 201.5, Mr. fones    ergain ernphasized   Plaintifl Veronique De La

      Rosa's interview   with Anderson Cooper as evidence cf the hoax, stàting on               his

      broadcast: "But you'vc got green-scrcen with Anc{ers<¡n Cooper, where                I   was

      watching the video, and the flower arid platÌts were blowing in some of them, aficl

      then they bìow again the same way. tt's looperd. And then his nose disap¡:ears.             I


      nrean, it's fake.'l'he whole thing is.,.l don't knclw wilat happened, It's kind of lil<e    if
      you see ¿r hologram at Disney World in the }launtecì l{ouse. you know? I don't know

      how they do it, but it's not real. When you take your kids to see the Haunted House

      and ghosts are flying around, it's not real, foll<s. It's stâged, t meân, å magiciall gralls

      a rat¡bit out of his hat. I l<now he's got a hox under the table that he reaches in anrì

      gets the rabbit. I don't lcnow what the trick is here. I've got ã good suspicion. But

      when you've got Woìfgang Halbig...Fle bclievecl it was real. people called him,           He

      went and investigâted. No paperworlç no nothing. tt's bull. And now an          F'BI retirec{

      agent, who retireci, you know,     wilh decorations. I mean, [lnlbWars reporter          Rob]

      Dew, this unprecedented."36

             +7. In thât same month, llìfowars published an article titled: "MËGA
      MASSIVE COVER UP: RETIRED         rßl   AGENT INVÍìSTICATES SANDy H00K,"37




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                   48. In lanuary of 2oL6, Florida residcnt Lucy Richards left menacing
      voiceruail messages and sent violent online threats                               to Pläintiff Leonard Pozner,
      including lnessages stating: "you gonna die, death is coning to you real soon"                                          ancl

      "LOOK BEIf IND YOIJ IT IS DEATH.":8 When Richards was later senreDced, Senior U.S.

      District Judgc James Cohn stated: "l'm surc [Pìaintiff Leonard Pozncr] wishes this

      was false, and he could emblace [N.P.l, lrear [N,P.'s] heartbeat ând heâr lN.P.l say'l

      love you, Dad'.,.Your words were cruel ancl insensitive.'l'his is reality and there is no

      fictic¡n. There are ììo alternative f'acts."¡s As par[ of her sentence, Ms, Richarcls rvill

      not be permitted to access a list of conspiracy-based websites upon her release,

      including lnfoWars.ao Ms, Richard's arrest and sentencing are an ominot¡s relninder

      of the danger pcrsed by Mr" Jones' continuing lies about the Plaintifl.s' alleged role in

      fakirrg Sandy Hook.

                    49.     In November of 2016, Mr.                  Jones appeared on lnfoWars anci again

       ranted about false Sandy Hook claims for twenty minutes.4l

                    50.     During the Novemher 2016 video broadcast, Mr, jones again returnecl

       to the subject of Plaintiff Veronique De La Rosa's interview with Anderson Cooper,

       stating: "That shows some kind of cover-up happening. And then I saw Auderson

       Cooper -- I've been in TV for fvventy'something years,                                I know a blue-screeu or                 a



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      green-screcn       - turn and his nose disappeared.   'fhen I saw clearly that thcy were

      using footage on the green-screen looped, krecause it would show Uowers and other

      thinEJs     during other broadcasts tllat were moving, and then basicaìly cutting to the

      same piece of fbotage...Then we see footage of one of the leported fathers of the

      victims, Robbie Parker, doing classic act¡ng training."42

                  51..   'l'he gist r:f these statements was thât the Sandy Hook plaintiffs,

      iuclucling Plaintiffs Veronique De La Rosa and Leonard Pozner, are participating in a

      sÍnister manipulation plan to fool the public.

                  52.    During the November 2016 broadcast, Jones again played vicleo

      footage of Anderson Cooper interviewing Plaintiff Veronique De La Rosa, at which

      point Jones statecl: "We point out clear chromal<ey, also Imown as blue-scrcelÌ or

      green-screen being used, and we're demonízed. We point out that they're clearly

      doing take interviews."43 Despite his protestations, Mr. )ones is quite aware that he

      has been using Veronique De La Rosa's interview to spread his ìic about the Sandy

      Hook parents. Mr. |ones knows Veronique De La Rosa dicl not participate in a fäl<ed

      interview fro¡n a remote location" Mr, |ones knows that there was no blue-screen,

      and that Veronique De La Rosa and Anderson Cooper were standing in fiont of the

       Edmond Town Hall in Newtown. He does not care. He lies anyway.

                  53.    Towards the end of the November 20L6 broadcast, Mr. Jones statodi

       "Why should anybody feaf ân investigâtion? lf they have nothing to hide? ln fact,

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      isn't that in Shakespeale's l-lalnlct? Methinl<s you protest too much,,,'fhis particular

      case, they are so scared of ìnvestigation. Êverythin¡¡ they do eucis up lrìowing up in

      their face. So you guys are goirlg to   gec   what you want now. I'rn going to stâl't Ie-

      investigating Sândy FIook and everything else that happened with it."44

              54.     Mr, Jones concluded the video by stating: "So, if children were lost at

      Sancly Ho0k, rny heaì1t goes out    to each and every one of those parenls. And the

      people who say they're parents that I see on the news.'l'he only problem is, l've

      watched a lot of soap operas. And I've seen actors bef'ore. And        I know when I'm
      watching a movie and when I'm watching sometlring real."4ri

              55.     The November 2016 vicleo broadcast was entitled, "Alex Jones r-inal

      Statement on Sandy Hr:r.¡k." lt was Piaintiffs'hope that the title was accurate, and

      thal Mr. fones would finally encl his reckless attacks on the Sandy    Hooì< parents and

      his assertions    $at they were liars and actors engaged in a fraud     on the American

      peopìc.

              56.     As horrifying as the November 201-6 broadcast wari, its promise of

       being the "Finâl Statement" gave hope to the Plaintifl.s that their harassment and

       defamatìo¡r by Jones might be conìing to an end after four long years.

                57.   Those hopes were soon dashed. Instead, Mr. |ones and InfoWars madc

       contini¡ing defamatory comments in 201,7 as otttlined above. These comments in

       2017 repeated the clajtns which forrn the rickety structure of Mr" ftlnes' colt¡ssal lie


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      about Sandy flook, including the allegation that PlaincifÏ Veronique Dc La Rosa

      conclucted a fal<e intervÍew with Anderson Cooper to hide the truth, while telling his

      viewers not to "l¡elieve âny of it."46

                   58.       As such, the comments made by InfoWars in 20L7 did not occur in

      isolation. Rather, the staternents wcrc a continuation aud elaboration of a ycars-

      long carnpaign to firlsely attack the honesty ofthe Sandy Hook parents, c¿rsting thenì

      as    pârticipants in a ghastly conspir:acy and cover-up,

                   59.       By making renewed accusations about lhe Plaintifïs in '20L7,InfbWars

      breathed new iif'e into this conspiracy and caused intense emotionaì anguish and

      despair. For that reason, Plaintiffs bring this suit against Defendants.

                                                             CAUSE OF ACTION

      l.           Defamation and Defamation Per                      Se

                   60.       Âll previous allegations are incorporatecl by reference.

                   6t.        Plaintiffs are private individuals and are neither public officials nor

      public figures"

                   62.        Ilefendants' April 22, 2017, April 28, 2t77, and lune L8, 2017

      broadcasts described above were t'alse, both in their particular facts arld in the main

      point, essence, or gist in tl're context in which they were made.

                   63.        The April 22,20L7, April28,2AL7, and ]une tB,2017 broadcasts, while

      clefamatory            in their own right, were                aìso continuations and eìaborations of an


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      underlSri¡g clefamatory assertion which Defendants have advanced since 2013,

      nanrely that the Plaíntiffs have lied to the Americân people about the death of their

      son and hÐve pârticipated in a horrifying criminal cover-up.

             6+.    In viewÍng the April 22,2017, April 28, 2017, and june 18, 2017

      broadcasts, a reasc¡nable member of the public would bc iustified in inferring that

      the publications implicâted the Plaintifls.

             65.    [n viewing the April 22,'2A17, April 28, '2AL7, and lune 18, 2017

      broadcasts, individuals who know and were acquainted            with the Plaintiffs would
      unclerstand fïorn viewiDg the broadcasts that the allegedly detamâtory matter

      impìicated the Plaintiffs.

             ()6,   Defendants statements in 2017 were also defarnatory because they are

      reason;rbly susceptibìe to a def'amatory meaning by innuendo. A reasonahle person,

      reviewing the statements     in   question, could conclude the Plaintiffs were being

      accused of engaging in fraudulent      or illegal activity. ln context, the gist of thc
      sl.atements could be construed as clefamatory           to the PlâinLiffs by an    average

      member of general public.

             67.    Though he was not named              or   depicted   by image, Detèndants'
      broadcasts    in   2017 were defamatory        to Plaintiff   Leonard Pozner because      a

      reasonablc petsnn, reviewìng the broadcasts in question, could conclude that Mr'.

      Pozner w¡¡s likewise being accused of engaging           in fraudulent or iìlegal activity,
      whether directly or through innuendc¡. Indìviduals who know ancl were acquainted


                                                    19
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      with the Plaintiffs would unclcrstand from viewing the broadcasts that the allcgediy

      ciefamatory matter irîplicated Leonarcl Pozner as well.

             68.      Defendanls' defamatory publications were designed           to ham       the

      Plaintiffs' reputation and subject the PÌaintiffs to public contempt, disgrace, ridicule,

      0r attaclç

             69.      Ðefendants acted      with actual malìce. Defendants'         clefamatory

      statements were knowingly false or l¡ade with reckless disregard for the truth or

      f'alsify of the statements at the time the statements were made.

             70.      Defendants' defamatory publications were not privileged.

             7L.      Defendants' defamatory statelnents constitute defamation per se. The:

      harmful ìrature of the defamatory statemeltts is self-evident. '['he defamatory

      statements implicate the PtaintifTis in heinous criminal conduc!. Ëalse implications r:f

      criminal conduct are the classic example of defarnation per     se.


             72.      Defendants publicly clisseminated the defamatory publications to an

      enormous audience causing significant dâmages to the Pl¿lintiffs.

             73.      Defendants' defãmatory publicatic,ns ìrave injured          the   Plaintifïìs'

      reputärtion and image, and they have exposed the Plaintiffs to public and private

      hatrcd, contempt, and ridicule.

             7   4.   In Iight of thei r plior experiencc with these kind of rcckless stâtcments,

       Defendants lçnew      that their publication coulel câuse the Plaintiffs to           suffer

      harassmenf and potential violence.


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              75,    Def'endants' dofanatory publications have and     will continue to cause
      harm to lhe Plaintiffs. Due to Ðefendants' conduct, the Plaintiffs have sufferecl anrl

      continr¡e to suffer substantial damages in an anlount to he proven at trial.

      IL      Conspiracy

              76.    All previous allegations are incorporated by reference.

              77.    Defendants acted together, as a cabal, to accomplish their campaigu of

      defamatìon. Defendants had a meeting tif the minds on the obiect or course ofaction

      underìying lheir pattern of recklessìy defämatoty broadcasts.

              7Í1. As a result of this     meeting     of the minds, Defendants      collectively

      committed the unlawful over! acts detailed above.

              79"    Defendanls are jointly and severally liable for the iniuries Plaintiffs

       suitered due to Defendants'wrongful actions.

       Itl.   RespondeatSuperior

              80.    All previous alicgations are incorporated by reference.

              81..   When lnfoWars empkryees ac[ecl        in the   manner descriherl    in   this

       Petition, they did so as ilgents of lntoWars and within the scope of their authority

       from Mr. Jones,

              fjZ.   lnfoWars and Alex foncs are liable for the damages proxirnately caused

       by the conrluct of employees and agents pursuant to the doctrine of respondeat

       superior,




                                                  2T
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                                                DAMAGES

            83.    Plaintiffs have suffered general änd specjal dâmages, including a severe

      degree of mental stress and anguish which have disrupted their daily routine and

      caused a high degree of psychologicaÌ pain.

            84.    Plaintiffs have also suffored damage to their reput¿ìtion and image,

      both up to the present and into the future.

             85.   I3ecause Defendants' conduct amounts tr-¡ defamation per se, Plaintiffs

      are also entitled to an ¿ìward of presumed damages,

             86.   Plaintilïs are also entitled to an award of nominal damages and             a

      judgrnent clearing their narnes.

             87.   Plaintiffs are also eutitìed           to   exemplary darnages because the

      Def.endants acted   with malice.

             BB.   Plaintiffs are also entitled to pre-iudgment and post-judgment interest,

      costs 0f court, and attorney's fees.

             89.   Pursuånt to Rule 47 of the 'l'exas Rules of Civil Procedure, Plaintiffs are

      seeking relief in excess of$1,000,000.

                                              }URY DEMAND

             90.   Plaintiff clemands    a   jury trial and tenders the âppropriate fee with this

      petition.




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                                   REQUEST FOR D|SCL0SURE

            9T.    Plaintiffs request thât Defendânts clisclose, within 50 days of the

      service of this lequest, the infc¡rmalion or material described in Rule l-94.2.

                                              PRAYER

            WHERbIFORE PREMISES CONSIDERED, Plaùrtiffs Leonard Pozner and

      Veronique De La Rosa ask that the Coul't issìre citation for each Dcfendant to appear

      and answer, and that Plaintiffs be awardecl all the damages set folth abt¡ve, and to

      grant whatever further relief to which Plaintiflìs are )ustly entitled.




                                                Respectfully submittetl,

                                                KASTER I,YNCH FARRAR &          BAtt, LtP

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                                                MARK D. BANKSTON
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                                                Houston, Texas 77002
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  Exhibit B-34 is thumb drive containing    a   true and correct copy of the Defendants'

  Motion to Dismiss under the Texas Citizens' Participation Act filed in the 345ft District

  court, Travis county, Texas, in cause number D-1-GN-1g-001g42 on June 26,201g.
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  Speaker   1.:      00:00:02    Waging war on corruption. lt's Alex Jones. (singing)

  Alex Jones         00:00:09    Ladies and gentleman, th¡s is such an incredible time to be
                                 politically alive. So much change, so much being discovered, so
                                 much good happening, but also so much bad. Riveting!
                                 Amazingl We've seen the death of David Rockefeller. We've
                                 seen the death of Zbigniew Brzezinski. David

                                 Rockefeller was the modern architect of corporate world
                                 neocolonialism, crony capitalism, world government. Dead
                                 20U.   His top henchman, h¡s top operative Brzezinkski dead,
                                 and now John Mccain fighting for his life, whereas I never wish
                                 any harm on a livlng creature and have empathy. This is a man
                                 that funded Al-Qaeda ¡n Arab spring that killed over a million
                                 people and blew up hundreds of churches, killing hundreds of
                                 thousands of Christ¡ans. So he has lived a l¡fe of serving death
                                 and serving the destruct¡on of America, and now he is in line to
                                 meet his maker, and I hope he gets right with God.

                                 Talking about Russ¡a hyster¡a, Mueller's expanded probe to
                                 Trump businesses. Th¡s is a w¡tch hunt to inf¡nity and beyond.
                                 Here's some of the Democrats and Republicans in their hysteria.

  Bob Barr:          00:01:17     lf it weren't serlous it would be funny, uh, some of the what I
                                  call the, uh, the post-factual statements that. uh, that the left,
                                  uh, makes cont¡nuously. The problem partly is that if you say
                                  something, whether it is true or false, whether it is outrageous
                                  or rat¡onal, if you simply say someth¡ng over, and over, and over
                                  again people actually start to believe ¡t and will act on it.

  Speaker 2          00:01:45     Fox is a propaganda network. lt- it functions off of the idea of
                                  breaking people up ¡nto teams, so they are a¡ding and abetting
                                  the enemy. They are aid¡ng and abetting those people we are-
                                  are currently at war at with, uh, the Russians.

  Howard Stern:      00:02:00     lf I hear one more conservative talking about, like, all of this ..,   I

                                  don't know what happened to conservatives. They were the
                                  guys who were anti-Russia, who were like, "Well, it's not so ...
                                  The Russians aren't so bad." You know, because they're
                                  defending Trump, and I'm like, "Are you out of your ... m¡nd?
                                  This guy kills journalists for having an opinion or for d- digging
                                  into the facts or d¡sagreeing w¡th them.

  Speaker 3:         OO:O2:ZI     Icrosstalk oo:02:211

  Howard Stern       OOtO2i27     They back, uh, terrorist governments. They... hate us. They're
                                  our enemy.
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  Alex Jones:        OO:02:27    That's Mccain that backed the terrorists.

  Howard Stern:      00:02:29    And you know what? Do not be talk¡ng to Russians and getting
                                 any kind of help from them.

  Speaker 3:         00:02:33     That's the [crosstalk 00:02:33]

  Speaker 4:         00:02:34     How dare you take a phone call.

  Speaker 3:         00:02:35     You don't talk to them.

  Howard Stern:      00:02:35     Right.

  Speaker 3:         00:02:35     say-

  Speaker 5:         00:02:36     Ith¡nk what we're learning, uh, with the Trump Junior meeting
                                  is when you meet   with any Russians you're meet¡ng w¡th
                                  Russian Intelligence and therefore, Pres¡dent Put¡n.


  Speaker 6:         OOioz:47     This is a reality that will become the only real¡ty until this
                                  country rids ¡tself of Donald John Trump. He is not a President.
                                  He ¡s a puppet put ¡n power by Vladimir Putin.

  Maxine Waters:     00;03:00     Uh, so many of us are attempting in every way that we poss¡bly
                                  can-

  Alex Jones;        00:03:04     No, you're the puppets.


  Maxine Waters:     00:03:05     ... uh,   to-

  Alex Jones:        00:03:06     You're the enem¡es.

  Max¡ne Waters:     00:03:07     ... unveil the cr¡minal activity, the unconstitutional activity of
                                  this President and his family.

  Alex Jones:        00:03:15     Russia kicked out the oligarchs.


   Maxine Waters:    00:03:17     I have    dubbed them-

  Alex Jones:        00:03: 17    That's the only things we have in common.

   Maxine Waters:    00:03:19     ... the, uh, crim¡nal clan a long time ago, and as many of you
                                  know, I stepped out a long t¡me ago and said lthought he
                                  should be impeached.

   Speaker 7         00:03:28     The- the investigation, it- it's not... uh, nothing is proven yet,
                                  but we- we're now beyond obstruction of justice in terms of

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                                  what's be¡ng investigated. This is moving into perjury, false
                                  statement, uh, and even into potentially treason.

  Speaker 6:         00:03:41     The nation and all of our freedoms hang by a thread, and the
                                  military apparatus of the country is about to be handed over to
                                  scum who are beholden to scum. Russian scum.

  Alex Jones:        00:03:53     Yup, they had their foot on the neckof Russian for a long time,
                                  the Hollywood crowd, the globalists, and now they want us.

  Speaker 6:         00:04:01     Resist. Peace.

  Alex lones:        00:04:03     Ladies and gentlemen, thank you so much for joining us on this
                                  live Thursday global transm¡ssion. The 20th day of July 2017.
                                  We've known that Mueller is a operat¡ve of the deep state who
                                  covered up the Clinton's, the Bush's, and the globalists
                                  committing unbelievable crimes. He sat back as FBI Director, as
                                  did Comey, while the Clintons got tens of billions of dollars to
                                  specifically sell out US infrastructure, US minerals, US energy,
                                  US technology, including defense. We're talking about nuclear
                                  reactors, an ICBM launch and re-entry technology to China and
                                  North Korea, and that's all mainstream news. That's confirmed.

                                  lllegal servers. Unbelievable cr¡mes. Pedophile parties. None of
                                  it, none of it being prosecuted. And now Trump got the word
                                  yesterday, and he came out and he said, "Listen, your special
                                  council invest¡gative powers are to look into Russia collusion in
                                  the election," which there is none. lt's not collusion to have his
                                  son meeting with somebody about dirt on Hillary. That's called
                                  doing yourjob. The Democrats all did that and they admit that.
                                  But now Mueller announces this morning on the heels of
                                  Trump, Mueller expands probe to Trump business transactions,
                                  and now it's a criminal investigat¡on to find out if Trump or any
                                  of his associates ever had contact with a Russian, including
                                  rent¡ng Russians apartments in New York, DC, Miami, Florida.
                                  You name it.

                                  I mean, that's the proof now. Now it's gonna be they rented
                                  apartments or sold apafiments to Russians when Russia, since
                                  they become quasi-free-market have thousands and thousands
                                  of millionaires and close to 100 b¡ll¡onaires buying ships, buying
                                  yachts, buying hel¡copters. They've bought'em from all the
                                  different el¡tes. They gave Hillary Clinton 100 plus million dollars
                                  into her foundation. 30-something million to the Podestas for
                                  uranium, but none of that matters. Those are deals where
                                  Hillary's in the email saying, "l'm gonna meet w¡th the Chinese
                                  ambassador. Put the money ¡n the account, and I'll meet with


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                                 him on policy." Boom! Arrest her! That's when she was
                                 Secretary of State.

                                 lf Trump gets caught doing something l¡ke that, caught with the
                                 Chinese ambassador or the Russian ambassador saying, "Give
                                 me money." lf he ... Uh, if- if Rex Tillerson, the counterpart of
                                 Hillary, was in meetings and in- and in W¡kileaks saying, "You
                                 give the money to the foundation and I'll meet and get that
                                 pol¡cy done w¡th you next week," you put the money in and you
                                 get the policy out, classic bribery, I would call for Rex Tillerson
                                 to be put in prison for 50 years. lf you give somebody military
                                 secrets it's called treason and you get your next hung'til your
                                 vertebrae pop, until you crap your pants and d¡e.

                                  But ¡t doesn't matter. I've got three clips from yesterday, David
                                  Kn¡ght and Owen did a great job, I was listening to the show, uh,
                                  work¡ngcat¡on, and there are the clips w¡th Democrats on TV
                                  saying the entire administration, Rex Tillerson, you name it are
                                  all guilty of treason for trying to go into Russia and get great
                                  deals on all their rare earth minerals, their oil, their gas, their
                                  brains, their eng¡neers. Of course, we should be working with
                                  Russia! We're capital¡sts. That's what we do. They're capitalists
                                  now.

                                  But all the left that was always in love with Russia back when
                                  they were communist ... Hollywood, Howard Stern, all of it,
                                  literally say, "You don't talk to Russians. Any Russian is a Russian
                                  agent. Any Russ¡an is l¡ke talking to Putin." These are quotes
                                  from CNN, MSNBC, Congressman Qu¡gley, Howard Stern.

                                  And now Trump shuts down CIA program to arm Syrian rebels
                                  that the Pentagon five years ago told Obama to stop doing, and
                                  said, "We're not gôing to go along with your military invasion of
                                  Syria because you are putting in Al-Qaeda, Al-Nasra, which is all
                                  the same group, now lSlS. And you are throwing a quasi-
                                  Chr¡stian country, one of the only Muslim countries that actually
                                  is inclusive and is secular, you're go¡ng to overthrow that when
                                  they didn't attack us? An-" And does what the military, what the
                                  Pentagon is saying ... The Pentagon's telling him, "Sir, the ClA, at
                                  the top," not in the middle and the bottom, a lot ofthose folks
                                  are actually Patriots, but at the top is big globalist foundation,
                                  big New World Order, anti-America. Carnegie, Ford
                                  endowment, skull and bones, Yale, Harvard. That's who set up
                                  the clA in '47. lt's a shadow globalist government. That's
                                  declassified. That's admitted now.

                                  Barry Goldwater talked about it in the '50s and '60s. And so they
                                  said, "Mr. President, you wanna beat lSlS and not have our

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                                 soldiers, green berets, and people getting killed every week
                                 over there fighting ..." There's been lots of tra¡ning accidents
                                 with Navy SEALS and Army soldiers dying. Lots of plane loads
                                 going down and blowing up, which is a classic tactic to cover up
                                 the real number that are dead. I don't think ¡t's even needed to
                                 be done. Just report on what's happening. And Trump's like,
                                 "We still have agencies funding the rebels when 98% in
                                 congressional hearings they've confirmed 98%, the intel is
                                 unanimous, are Al-Qaeda, are Al-Nasra, are Wahhabists?"
                                 Wahhabists out of Saud¡ Arab¡a, the dominant religion of lslam,
                                 the dominant sect, that's what Al-Qaeda, Al-Nasra, lSlS is. lt's all
                                 the same black flag, all the same Arabic g- uh, writing. All the
                                 same slogans, the same people, the same system, the same
                                  plan, the same global operation, the same cancer.

                                  So Trump kills  that yesterday and they go even more ape. Look
                                  at this Wash¡ngton Post Headl¡ne. Trump Ends Covert CIA
                                  Program to Arm Anti-Assad Rebels in Syria: A Move Sought By
                                  Moscow. Yes, five years ago, General Dempsey, the Chairman of
                                  the Jo¡nt Chiefs, went to obama on Saturday night, we reported
                                  it a year before ¡t was in the news, it was confirmed, our
                                  sources, both on and off air. Colonel Shaffer was one of them.
                                  And they come to them and they say, "We're not gonna be the
                                  Al-Qaeda's air force," and then Senator Cruz comes out, and
                                   Rand Paul comes out and says the same th¡ng. And they say,
                                   "This is wrong. We've got a deal with the Russians to let them
                                   come in, kick Al-Qaeda and lSlS out, then they will remove
                                   themselves but they'll keep their deepwater port they've always
                                   had in the Mediterranean, their only one, and then Assad will
                                   step aside after elections."

                                  We're now five years later and Assad is now making noises of
                                  stepp¡ng aside after elections. They Eotta deal w¡th what's left
                                  of America in the Pentagon to not be immoral and to not put Al-
                                  Qaeda in charge of there. That's what happened, and then they
                                  turn around and act l¡ke Trump's a Russian again. Well, yes,
                                  they're ... A deal was made by our m¡litary and by people in our
                                  government w¡th Russ¡a. We told you first. Sy Hersh, Pul¡tzer
                                  Prize winner has been on three years after we broke it to say we
                                  broke it, we were right. I'm not bragg¡ng. lt's just that's a hat t¡p.
                                  Do you understand?


                                  They think you're stupid. They've launched a bunch offake
                                  chemical attacks to blame it on Assad. Because Obama said, "l'll
                                  go in if you use chemicals." Why would he ever do that when
                                  he's winning and now lSlS ¡s almost beaten? And now they're
                                  coming out pushing this garbage, and saying now they're
                                  looking into all his finances. Oh, did ... Was there any campaign

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                                 finance violations. The FBI's looking into that. Not about Russia
                                 They're looking at bank accounts. They're looking at
                                 transactions, they're looking at everything to "find money
                                 laundering", to find any discrepancies ¡n campaign money, and
                                 they'll call any mistakes they find money laundering.

                                 Hillary can openly commit mass crimes. Go to Morocco and get
                                 12 million and then sell out her whole phosphate industry, and
                                 use taxpayer money, as we reported, to send 90 million there to
                                 pay to move our jobs. That's okay, but Trump actually turns our
                                 economy on, restores our republic, follows what the Pentagon
                                 a- actually has a plan to defeat the globalists, and they call him a
                                 Russian agent. The only truth is Russia pulled out from the
                                 control of the global¡sts. Russia is breaking free of the New
                                 World Order partially, We are too and other nations are saying,
                                 like the UK, and lceland, and Sweden, and Denmark, and
                                 Australia, and Brazil, and all these other places are saying, "We
                                 wanna be free too ! We want a nation-state that's for our
                                 interest, not to be looted by robber barons like Zuckerberg and
                                  Bezos."


                                 And then they call it Russia. Russia, to make it something
                                 foreign so every nation try¡ng to pull out from globalism, be it
                                 Italy, Greece, Spain, Catalonia, they can say, "Oh, you don't
                                 really wanna pull out. The Russians made you do that." And
                                 they build the Russians up like they're superheroes. When we
                                 come back we're gonna look at McCain and his brain tumor.

  Speaker 1:         00:14:05     KDR-


  Alex Jones:        00:14:06     I'm gonna get into John Mccain and his fast-act¡ng, very
                                  aggressive brain tumor he had removed yesterday, and how Tim
                                  Kaine calls him the- the chairman of [inaudible 00:14:19]
                                  operations, uh, because that's exactly what- what he is. That's
                                  com¡ng up. But something lwanted to mention to everybody
                                  here and I want it to sink in for the listeners of this transmission,
                                  we're on over 200 radios stations, and we're on Facebook, and
                                  Google, and YouTube, and a lot of other video platforms, and on
                                  every platform the Democrats and the liberals have organized
                                  ¡nto groups that go around making false copyr¡ght cla¡ms and
                                  false community claims. Now, I've announced, and I don't
                                  wanna do this 'cause l'm litigious, I have to. The next person
                                  that files a slap su¡t, the next person that files a fake suit for
                                  publicity, I'm gonna come down on them like a ton of bricks to
                                  defend my free speech and my rights.

                                  'Cause people sue me to get publicity and then they wanna drop
                                  the suits right away. ln fact, they wanna pay me money to drop

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                                 the suits, but it has to all be secret. That's how this works. And
                                 then there's this whole meme put out that I'm fake news and all
                                 this garbage, so I understand now I can't get out of the su¡ts,
                                 l've gotta counter-sue people. So whoever wants to line up
                                 next, I'm going to sue you, and I mean really sue you.
                                 Depositions, everyth¡ng. And I'm gonna announce this. The next
                                 person puts a fake copyr¡ght strike, I swear to God on my
                                 children I am going to sue you and I'm gonna sue your
                                 companies, and I am gonna come after you pol¡tically with 100%
                                 of the law. You got that?

                                  'Cause during the break, they d¡dn't tell me when lwas doing
                                  my workcat¡on we had the community guidelines, a whole
                                 swarm offolks come through and they're,.. YouTube is
                                 announc¡ng that they're looking at shutting down and- and- and
                                 basically kicking us off YouTube for people complaining that I've
                                 reported on Sandy Hook and had Wolfgang Halbig, a former
                                 school, uh, safety administrator on, for a debate about whether
                                 the olficial story was true or not. Then the media misrepresents
                                 what I say, saying that I say ¡t never happened, when I've looked
                                 at both s¡des, but it doesn't matter.

                                  I have my right... lf lwas an idiot, black nationalist, racist, I
                                  could be a racist black person. lf lwanted to be a KKK person, an
                                  idiot, lcould be that as long as I don't hurt innocent people. And
                                  if I wanted to say that I don't believe that babies out of
                                  incubators and had their brains bashed out to get us ¡n the lraq
                                  war, which ¡s true, didn't happen, it's my right to say it. And
                                  then I can question big PR events like Sandy Hook when there
                                  are major anomalies like them saying none of the parents were
                                  allowed to see their kids that day at the school. Then they had
                                  people on NBC saying they held the¡r k¡d dead at the school.

                                  People see that. They see blue screens. They see kids going in
                                  circles in and out the building. They say ¡t looks like a drill. Why
                                  were no rescue choppers sent? why were port-a-potties there
                                  an hour later? Uh- uh- uh, I'm not saying it didn't happen
                                  because l'm not sure. I don't wanna go that far. l've gotta be
                                  sure. I have a right to quest¡on that. But regardless, they wanna
                                  shut our channel down because of three-year-old videos, but
                                  see, I can't find out who did that specifically. I can sue, and they
                                  know ... They know I've already got the law firm that's in DC and
                                  others ready. They know I'm going to sue whoever files a fake
                                  copyright cla¡m again.

                                  I am going to sue you. I cannot wa¡t. Because people put these
                                  fraudulent claims out constantly. lt's amazing, and I'm done. I'm
                                  done playing games with all these people because I'm gonna

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                                  defend the First Amendment and I'm going to come after the
                                  people that v¡olate it. Th¡s is a m¡crocosm, uh, going back 10
                                  years ago. I was even on access TV anymore here ¡n Austin
                                  where I started 2O-something years ago, but they were getting
                                  rid of free speech. They were banning libertarians and
                                  conservatives, and I sued them, got the ev¡dence what was
                                  happening, and out ofthat came a criminal investigation, and
                                  the director of it was found guilty of embezzling over $300,000
                                  and sent to the state pen in East Texas. Huntsville. He only
                                  spent a couple years, but ... And ¡t went higher than that ¡n the
                                  c¡ty, but they killed the ¡nvestigation.

                                  So I'm- I'm not a l¡tigious person, but if I do come   afteryou
                                 legally you're going to- you're going to understand. And Google
                                 got caught h¡ring a company to de-list us, and- and they got
                                 caught and they had to pull back. They admitted they did it, and
                                 they had us de-listed two weeks ago where you couldn't see
                                 lnfo Wars at the top. And I told them, "l'm gonna sue you
                                 privately," and they put it back up at the top because they
                                 understand I have the audience not just the money and we're
                                 gonna expose you bullies. You understand? Next person, you're
                                 sued, so line up. You wanna get in a big, fat lawsuit with me,
                                 whoeveryou are, I don't care who you are, you make up crap,
                                 you lie about us, you try to take my free speech and gag me,
                                 and take my speech so you can have your way with my family
                                 and my children, ¡t ¡sn't happening anymore.

                                  Now, we got a little comfortable around here too with just
                                  having our rights taken. We're like, "Yeah. Well, yeah, they're
                                  bullying us, saying we have no free speech. Let's just go back to
                                  sleep." Wake up everybody. We're in a fight against the
                                  globalists. They're trying to put our pri- our- our president in
                                  pÍ¡son. They're making up... They're firnding rädicãl lslamists
                                  and terrorists and saying our president's a Russian agent
                                  because he didn't wanna fund Al-Qaeda. lf they're able to shut
                                  us down, they're gonna shut everybody else down. lf they're
                                  able to say Trump's a Russian agent with no prool they're
                                  gonna go after everybody. lt's gonna be a new inquisition. This
                                  is a   total war, people!

                                  Lad¡es and gentlemen, the way the new global¡st system works
                                  ¡sif anyone ¡s offended by what you say or do, there's no judge,
                                  there's no jury, you're kicked off YouTube, you're kicked off
                                  Facebook, you're kicked off Twitter. And then under the Chinese
                                  model that's Zuckerberg's pushing, you have an internet lD that
                                  puts your real-world activities that are tracked digitally by
                                  companies and corporations, from your gas bill to, you know,


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                                 going to eat at McDonald's into an algorithm and then it gives
                                 you a score about what type of person you are.

                                  Last year they made a, uh, black mirror special, a show basically
                                 about how nightmarish that future would be, but th¡s is their
                                 plan. So later in the broadcast, we're gonna have an artlcle on
                                 infowars.com about strikes on lnfo Wars blocking our live
                                 streaming right now on YouTube, on our regular YouTube
                                 channel, the Alex Jones channel, with millions of views because
                                 we had the headline Zero Heads Discovers Anomaly in Alex
                                 Jones' Headpiece. And it's us showing Megyn Kelly talking to the
                                 father of one of the vlctims, saying he went and held his dead
                                 son there at the school. And then it cuts to the coroner and
                                 everybody saying no one was allowed to go in and see the kids.

                                  Now, we just said, "See, that's why people ask questions." lt's a
                                  very nice little p¡ece, but see, oh, you're not allowed to even sit
                                  there and point that out. And then there's other ones from
                                  years ago. Sandy Hook Vict¡m Dies Again in Pakistan, which
                                  shows the photo of one of the kids w¡th people in Pakistan
                                  holding up his picture saying he died in a terror attack over
                                  there. Clearly showing that was some PR event over there
                                  where they were just printing off ¡mages of kids and using it. We
                                  weren't even saying that- that man's child didn't die. We're
                                  saying, look at how there's these other PR events just like the
                                  dead babies in the incubators.

                                  But they're using Sandy Hook and they're us¡ng the victims and
                                  the¡r famil¡es as a way to get rid of free speech in America.
                                  That's the plan. Hillary sa¡d it back dur¡ng the campaign. She
                                  was gonna get into off¡ce. This was gonna be their move. They
                                  called for, you know, ongoing criminal investigations, uh, the FBI
                                  last week into myself, Matt Drudge, and Breitbart with no proof
                                  at the Federal Elections Commission. And then the Republicans
                                  on the commiss¡on killed the ongoing congressional hearings
                                  but still, they have the FBI going around doing a counter-
                                  espionage investigat¡on to see if we're funded by Russians.
                                  Welcome to the witch hunt, folks.

                                  People say, "Wow. How are you taking it?" I'm tak¡ng it great
                                  because the ... I mean, I'm engaging the globalists that have
                                  high-jacked our country. I'm engaging the globalists that are
                                  trying to bankrupt us, and turn our power off/ and- and jack up
                                  our prices, and make us feudal serfs. We're fighting for America
                                  in a 21st-century war, ladies and gentlemen, and it takes getting
                                  past the intimidation and getting in their face. That's where the
                                  victory is. Gett¡ng past the political correctness, getting past
                                  being called names.

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                                 It's not our fault they call us names. lt's the¡r fault. They
                                 discredit themselves. They're the scum. They're the anti-fallout
                                 beating up peaceful people in the streets of America and
                                 shooting cops in the back. They're the ones engaging in this, not
                                 us. They're the ones that wanna get r¡d of free-market. They're
                                 the ones that hate Christians. They're the ones that call us
                                 flyover country and better clingers. They're the ones push¡ng
                                 racial division, not us, and worldwide humanity's awakening.
                                 The tide of globalism's going out. Corrupt neoliberalism is hated
                                 worldwide and globalist owned publicat¡ons admit that they're
                                 in trouble, but they say, "We've gotta stir up even greater
                                 division now."

                                 This is a rearguard action while they basically escape the
                                 countries they've destroyed. The New World Order is dead and
                                 signifying that is David Rockefeller, Zbigniew Brzezinski, and
                                 now John McCain. I wonder if they'll announce soon that there's
                                 a very fast-acting brain tumor in George Soros.


                                 The world ¡s watch¡ng. The world is wa¡ting as the clock ticks
                                 down on judgment on these type of individuals. lwish no harm
                                 upon them, the¡r miserable souls, but they've dealt death.
                                 They've dealt corruption. They've dealt ant¡-American activities,
                                 anti-Christian activ¡t¡es. I mean, Mccain openly funded the Al-
                                 Qaeda lSlS rebels, met with them, and now he's got a fast-act¡ng
                                 brain tumor. l'm gonna talk about that in a few m¡nutes.

                                  But l¡sten, the fact that they're trying to shut us down, the fact
                                  that they're trying to ban our speech, the fact that they're trying
                                  to set those precedents, that's a badge of honor. That's a badge
                                  of courage. That will only make lnfo Wars bigger, this entire
                                  Streisand Effect. lf our enemies are successful shutting one of
                                  our big YouTube channels, I guarantee you it will only make
                                  everyth¡ng we do and everything we cover that much more
                                  explosive.

                                  Our YouTube channels, with a combined four billion views, and
                                  if you count all the other videos out there it's tens of billions
                                  that other people have on their platforms because l'm copyr¡ght
                                  free, you can post our material as long as you don't try to
                                  monetize it or take it out context. And l- and I even leave that
                                  alone 99% of the time. As long as you're fighting the globalists,
                                  l- I ... people post it. And every time they try to suppress us we
                                  only get b¡gger.

                                  I mean, just last week looking at six or seven v¡deos that we
                                  produced or videos I was ¡n, we had over 30 million views just of
                                  videos I was in last week. They don't have any way to compete

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                                 with that. They don't know what to do. Take PewD¡eP¡e, last
                                 time I checked he has close to 18 b¡llion views on one YouTube
                                 channel and almost 60 m¡llion subscr¡bers, and he was never
                                 pol¡tical but they tried to call him racists, and evil, and bad to-
                                 to- to prepare to shut h¡m down because the big network
                                 executives and folks are jealous that he is able to actually have
                                 his free speech and do what he wants. And they're scared he
                                 m¡ght start becoming political, he might do something.

                                 Just like in China they put you in prison or execute you if you're
                                 caught Photoshopping Winnie the Pooh w¡th the Chinese
                                 pres¡dent. That somehow became popular over there. lt was
                                 friendly. lt was nice. Folks thought ¡t was cute. You go to prison
                                 for that ¡n China. Well, they don't like PewDiePie, but his
                                 YouTube channels, one channel has almost 16 billion, the other
                                 has a couple more billion. Almost 18 b¡llion views. They are
                                 threatened by 18 billion views.

                                 Nickelodeon's average show only has a couple hundred
                                 thousand people viewing, but young people and teenagers
                                 watch PewD¡ePie. They don't watch all the Disney programming
                                 as much as they watch PewDiePie over in Sweden who's his
                                 own guy. Of course, PewDiePie's big crime is playing my videos
                                 and Paul Watson's videos, and that's the type of thing that
                                 scares them, so they say, "Oh, we're gonna demonetize you. Oh,
                                 we're not gonna let people share your videos," and it only
                                  backfires.

                                  So l'm gonna get into Mccain and the rest of it, but here's the
                                  bottom line. When I saw you need to sp- spread articles, and
                                  videos, and material, and information we put out, folks, it's a
                                  war. They're actively, in ma¡nstream news, talking about how
                                  they need to shut us down and how we're dangerous. They're in
                                  Wash¡ngton Post admitting yesterday that we're wildly popular
                                  and are exploding as old media's dying. They don't know what
                                  to do, and a lot of new media says, "Oh, great. We'll be bigger if
                                  Alex Jones isn't around."

                                  That is the most ignorant thinking on the planet. We're in a non-
                                  zero sum game, Everyone that is promoting libertarian free-
                                  market ideas is only expanding and making the world a better
                                  place culturally, economically, spiritually. We're in a war against
                                  authoritarianism. We're not in competition. l'm not in
                                  competit¡on with Sean Hannity. I'm not in competition, uh, with
                                  Matt Drudge. l'm not in competition with WorldNetDaily. I'm
                                  not in competition with Breitbart. l'm in a totalwar against the
                                  globalists allied with orthodox radical lslam that admits it wants


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                                  to extinguish the free-market open free societies classical
                                  liberalism, and they wrap it all ¡n the term liberalism.

                                  We're in a total and complete war and we're beginning to win,
                                  so the enemy's going from their stealth approaches to openly
                                  saying, "Silence us," openly saying they're gonna gin up
                                  ev¡dence the everybody that opposes them ¡s a Russian agent,
                                  or if you don't back Al-Qaeda or lSlS you're a Russ¡an agent.
                                  That's ¡n the Washington Post today, and you say ¡t doesn't
                                  make sense. They don't care. They only wanna cover for their
                                  own people to say we're outsiders and we're bad and to
                                  persecute us.

                                  This is classical author¡tar¡anism, so I'm gonna tellyou r¡ght
                                  now, if you wanna fight the globalists, take every article on
                                  infowars.com, take every video, copy them to your channel. put
                                  them on your own platform. Play them on your local radio
                                  stat¡on. You're a station owner, take our broadcast if you're- if
                                  you're re-airing it at n¡ght put it on primetime. And listeners,
                                  support those local stations. We're ¡n a war. Even if it's just
                                  calling them and letting them know or sending them S100 dona-

                                PART 1 OF 6 ENDS [00:30:04]


  Alex Jones:        00:30:00     More. Even if ¡t's just calling them and lett¡ng them know or
                                  send¡ng them S100 donation. And buy products at
                                  infowarstore.com so we can do more to have our own
                                  platforms. lt costs me like 50 grand a month on average just to
                                  stream out to millions of people every day at infowars.com with
                                  our own streams that we're about to upgrade and make even
                                  better. They're pretty good but I'm going to make it even better
                                  We're about to renegot¡ate a whole nother deal for our
                                  streams.

                                  And try to get a better price. The point is, it costs money. people
                                  say, "Oh, welljust have your own videos or have your own
                                  social network or do your own thing." We, we're, we're trying
                                  here, we're fighting as hard as we can but we need your
                                  fìnancial support and we make it easy. Great supplements, great
                                  nutraceuticals, great patriot apparel, great water filtration
                                  systems, great air pur¡f¡er systems, great game chang¡ng
                                  products at very compet¡tive prices, Most of it made right here
                                  in America. lnfowarsstore.com.

                                  And ladies and gentlemen, we have the summer mega specials
                                  that are go¡ng to have to end today. I have a whole new group
                                  of specials tomorrow, but ¡f you want DNA force's 2O% off, if
                                  you want X two, if you want these products, if I had the specials

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                                 I was going  to do, and Jiminy Cr¡cket, somebody came ¡n here
                                 and  got ¡n my pile, Here, lfound it right here, l'm in a bad mood
                                 right now folks. Super male vitality and survival shield X two
                                 specials are ending today. Quantities are running low so act
                                 now and save 30% off, and we have shipping through the month
                                 ofJuly, but ¡t's about to end, and I had to already end the
                                 product... the brain force plus. Already had to end that spec¡al
                                 because it was close to selling out. I'm going to have to end the
                                 super male vitality, or female vitality, the X two survivalshield,
                                 and a bunch of the other products that are 20 to 40% off right
                                 now at infowarsstore.com or by calling toll free triple 8, 253-
                                 3139.

                                 We have a little bit of brain force left, it'll be probably a month
                                 or so until more comes in so l, l, just before stuff sells out now I
                                 just go back to regular price, which is already discounted 10%.
                                 We've also got some other new products also now available at
                                 infowarslife.com, uh, like our new whey prote¡n that is made by
                                 the, one of the largest, biggest respected organ¡c suppl¡ers in
                                 the country and f¡ve to 10 dollars less that you'll find for the
                                 very same whey, we're pr¡vate labeling that you can buy in
                                  major health food stores. But whey is known as the best protein
                                 there ¡s from milk. lt's organic, it's supercharged, it's got the
                                 glutathione and some of the other amazing things in it, but it's
                                 got the type of glutathione you can actually absorb. Glutathione
                                  is absolutely critical. Find out why going back to the time of
                                  Hypocr¡tes, thousands of years ago, the father of modern
                                  medic¡ne, he said whey was the most important food and one
                                  he prescribed to his patients.

                                  True whey protein contains nine essential amino acids your
                                  body needs but cannot produce itself. So, check it out for
                                  yourself laeiies anci gentiemen, ¡t's got CLA, ¡t's got so many
                                  other great products and it's supporting American dalry farmers
                                  right here at home and ¡t's also grass fed w¡th non GMA RBGH,
                                  that's the growth hormone, free. lnfowarslife.com or triple 8
                                  253-3139. But as I said, we're going to have to end the specials,
                                  th¡s ¡s 25% a- off out of the gates with the new ¡nfo wars whey
                                  protein, we also have 25% off out of the gates of Cave Man, the
                                  ultimate bone broth formula that's been sold out for months,
                                  it's now back in stock as well and it's also, uh, chalk full of bee
                                  pollen, chocolate mushroom, tumeric root and many other
                                  super foods and it is the most concentrated, from our research,
                                  bone broth formula out there. The anc¡ents were obsessed with
                                  bone broth, this is truly amazing, ¡t comes from ch¡cken bones
                                  and th¡s is now the number one bone broth seller in the
                                  country. Research it for yourself, Cave Man is now back in stock


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                                 at lnfowa rsl¡fe.com or triple 8 253-3139. That's triple 8, 253-
                                 3139.

                                 We'll have some new specials tomorrow on some of the other
                                 supplements that we do have in stock, uh, but I'm going to have
                                 to end that spec¡al today. Again, ¡f you want the X two or if you
                                 want super male vitality or some of the other products that àre
                                 25lo 40% off, infowarslife.com or triple 8 253-3139. You can,
                                 uh, again, just know th¡s, they hate us, they hate our guts, Hilary
                                 hates our guts, Obama hates our guts, theyrre all coming after
                                 us, doing everything they can to destroy us and ljust have faith
                                 in God and I have faith in you, but beyond financially supporting
                                 us and getting great products you need, if you'll just commit on
                                 your email list and on Facebook and on Twitter and on YouTube
                                 and on every platform to just point out lnfo Wars is under
                                 attack, lnfo Wars ¡s the tip of the spear, ¡f they can shut them
                                 down, ¡f they can shut them up they'll shut everybody up.

                                 And in the face of this, that's why l'm launching all these new
                                 broadcasts and all these new shows and all these new Facebook
                                 channels and all these new YouTube channels and we're
                                 launching Periscope channels and we're launching other third
                                 party channels and we're keeping our video streams and
                                 expanding them and we're launching a new webs¡te tomorrow,
                                 l'm going to make that announcement now and I'm going to
                                 come back in the next segment and, uh, announce the 520,000
                                 winner of the meme contest, just to honor you, the great
                                 memes you've made that are fight¡ng the globalist.

                                  But whatever you do, get In the information war today, and
                                  expose these enemies because they are now openly expanding
                                  the, uh, quote espionage probe of Trump to all of his financials,
                                  all of his associates of financiais and saying anything, a check
                                  that bounced, they're going to try to move for impeachment
                                  against the president, but he has the house, the senate, the
                                  legislative, obviously the execut¡ve, the judicial, so these
                                  scumbags don't matter, unless they can brain wash us into
                                  accept it, he needs to move against them for their criminal
                                  act¡vities now. They're sell outs to commun¡st China, they're sell
                                  outs to Russia, he needs to take the gloves off r¡ght now and the
                                  word is, he's getting ready to.

                                  So Hillary and Obama and Clapper and Brendan, all you, you
                                  want to fight, get ready for a fight, Mccain.

  Speaker 8:         00:36:35     ln a land of timeless beauty, he was a man of piece.




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  Speaker 9:         00:36:42      Fake media tried to stop us from going to the White House but
                                   I'm president and they're not.

  Speaker 8          00:36:56      But when they threatened his world and the woman he loved,
                                   he was driven to war.

  Speaker 10:        OO:37:07      I don't like l¡naudible 00:37:16] they turned the freaking
                                   Iinaudible 00:37:19].

  Speaker 9:         00:37:07      Get them out of here. Get out.

  Speaker 11:        OO:37   i24   Go home to mommy. Go home. Bye.

  Speaker 9:         00:37:34      You are fake news.

  Alex Jones:        00:38:12      Trump Nation made both these great memes. [inaudible
                                   00:38:161 the winner. lf you're a radio listener,
                                   infowars.com/show.

  Speaker 12:        00:38:20      Super hero landing. You're going to do a super hero landing,
                                   Wait for ¡t.

  Alex Jones:        00:38:25      Remember, they're trying to sensor all this you're saying.

  Speaker L2:        00:38:28      Super hero landing. That's really hard on your knees. Very
                                   ¡mpracticable, they all do it. You're a lovely lady, but I'm saving
                                   myself for [inaudible 00:38:35] that's why I brought him.

  Speaker 13         00:38:36      I   prefer not to hit a woman, so please-

  Speaker 12         00:38:44      I mean, that's why I brought [inaudible 00:38:51]. Oh no, finish
                                   your Tweet. lt's na- that's fi- just give us a second. There you go,
                                   hash tag ¡t. Go get them, Tiger.

  Speaker 14:        00:39:04      The season premier begins tonight.

  Alex lones:        00:39:10      That's Trump Nat¡on and I want to get whoever made those
                                   videos on and lwant to hire you. ltold Paul Watson he could
                                   pick the winner and personally, I th¡nk the Brave hart one is the
                                   winner, I would say the one you're about to see that won is
                                   second place and then the last one, with the dead pool, that'd
                                   be third place, but Trump Nation did not win, but Trump Nation,
                                   I want to hire whoever did the editing. I want you working for
                                   us. You work for Trump Nation, too, they're great folks, but
                                   David Knight didn't win a report contest five years ago, but he
                                   did win a reporter job, now he's going to launch his big
                                   synd¡cated show that the word is, well over 50 stations are


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                                 ready to pick it up the first week when ¡t starts on August 22nd.
                                 It'll probably get hundreds of affiliates. So very, very excited.
                                 See where he is now? So just because you enter and don't win
                                 doesn't mean that you lose. So we're gong to go to break and
                                 come back and I'm going to play the winner, according to Paul
                                 Watson, and I think it's excellent, it's very well done, it's a very
                                 close second, I don't think ¡t's the best, but you know what?
                                 Paul Watson was the judge. Believe me, we got thousands and
                                 thousands of v¡deo memes, thousands and thousands more,
                                 someth¡ng like eight plus thousand once the contest, uh, you
                                 know, time ended last Wednesday. So we're going to now start
                                 going through all these and posting them, promoting them, and
                                 exposing the globalists and fìghting for free speech. The answer
                                 to them try¡ng to shut us up is to just ¡ntenslfy what you're
                                 doing.

                                 But listen, don't take the broadcast for granted. I keep
                                 explain¡ng that. They are doing everything they can to take our
                                 sponsors, to kick us off YouTube. lt, it, it ¡s just out of control
                                 what's going on. And then l'm going to get into Mcca¡n, all of it.
                                 There's these huge new second hour, tell everybody tune in, it's
                                 an active resistance. We can overpower them.

  Speaker 15         00:39:10     You are listening to GCA-

  Alex Jones:        00:41:08     But you've gotta take action, [crosstalk 00:41:11]- the animatlng
                                  [inaudible 00:41:12] of liberty. You are the resistance and I
                                  salute you. Feeling good, feeling right. All right, lgotta stop it.
                                  Yeah, these ladies, they had a plan. (laughs) Dennis Hastart had
                                  a plan too, didn't he? Grab your kids and rape them. So does the
                                  pope's deputy. He got over L00 kids reported. Procured them
                                  out to all the little devil worshiping rape gangs. Those devil
                                  wvr5rÍPr¡5 rvvc ru BÈr r,rru5ú pr rç51 ruuc> dllu r dPs r\ru5. rr 5 oll
                                  part of def¡ling everything, overthrow¡ng reality, destroying the,
                                  the flower of the youth.

                                  Until they die and enter hell. Now, let's get to the winner. Drum
                                  roll ladies and gentlemen. The w¡nner by contested decision,
                                  Chris Killer d¡d a great job putting th¡s together. He's launch¡ng a
                                  new YouTube channel, don't dox me, bro, that ¡s a great name. I
                                  want to work w¡th this guy. I want to work with h¡m, too. I want
                                  to tell you, he's a close second, but he, he's the w¡nner,520,000
                                  to don't dox me, bro.

                                  Name of the video, he only sent it to us, he never uploaded it
                                  yet, now he's doing what we did, uh, it is official lnfo wars cNN
                                  meme war 20k winner. I'm going to reupload it to Facebook
                                  with a cool name, I mean, what ¡s it? Trump is our Toto, Trump

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                                 broke the Matrix, um, Trump flipped the paradigm. Trump
                                 exposed that we're living in a false realty? I mean, I don't know
                                 Here is the winner of the 2017 round one meme war

                                 20K winner announced.


  Speaker 16:        00:43:39    [inaudible 00:43:39] You are fake news.

  Speaker 17:        00:43:40    How?

  Speaker 18:        00:43:40    He ¡s the one.


  Alex Jones:        OO:44i29    Once you know they're a joke, it's all over. You're a better
                                 cleaner. I'm just going to make sure you got sterilized. Break the
                                 floor up. No, who do you think you are? The world belongs to
                                 us. I went to this late. We're going to come back and play it all,
                                  we got a spec¡al guest, we got a ton of news, we'll talk about
                                  Mccain straight ahead.

                                  Micheal Snyder is with us for the next 30 minutes. The founder
                                  and one of the owners of Compound Media who just went to
                                  lraq to actually witness the fìnal days of AF Qaeda and lsis
                                  under President Trump and the military's bombardment. He'll
                                  be joining us as well. M¡cheal Snyder's written a story today
                                  that's up on infowars.com and on his webs¡te, Micheal Snyder
                                  for congress dot com. Getting Trump elected was not enough.
                                  We need 1000 liberty candidates to run for office all over the
                                  nat¡on and he's doing it. lth¡nk it's in utah. with his millions of
                                  readers and followers. And whether he wins or loses, he wins by
                                   participating, by educating people in the process.

                                  The democrats are in the news today swearing they're going to
                                  take Texas. Yeah, by fraud. So realize what we're going to live
                                  under if the globalists win, The republican establishment has
                                  killed the appeal of Obama care, because they wrote it.
                                  [inaudible 00:45:43] democrats. Big banks wrote Obama Care
                                  bipartisanly to screw you. They're on CSPAN bragging saying,
                                  "Thank God you're so dumb."

                                  Health care is worse than it's ever been. lt's designed to wreck
                                  it. ln fact, here's Senator Rand Paul talking about it.

   Rand Paul:        00:46:00     The insurance industry doubled their profit under Obama Care.
                                  They made six billion a year before obama Care, they now make
                                  15 billion. My concern is that we're go¡ng to pass a republican
                                  bill and we're go¡ng to make their prof¡ts 30 billion a year. lt's
                                  not the job of government to be dolling out money to private


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                                 ¡ndustry, so what I've said ¡s that, if you ins¡st that you want ¡t,
                                 they should put that on a separate bill that the democrats like,
                                 democrats typically like spending bills, put it on a spending bill
                                 and put the repeal, make it more of a repeal bill and I'll vote for
                                 it. But, uh, and lst¡ll think it's not perfect, but I'll vote for
                                 something less than perfect as long as it's not obnoxious, and
                                 obnox¡ous to me is subsidizing rich corporations.

  Alex Jones:        O0:46:41    That's right, that use government to make you buy it and then
                                 l¡mit competition to jack the price up and then the left runs
                                 around ... one year after Obama Care got partially ¡mplemented
                                 three years ago, I was reading the Wall Street Journal on an
                                 airplane and ¡t was, ¡t was insurance companies bragging. lt was
                                 like headline, "Lobbyist love Obama Care." lt was like, globally,
                                 our profit's up 47% just on the America people's backs.
                                 Worldwide,4T% increase in profits. lt was like 2015. I mean,
                                 galactic level screw jobs.

                                 Now joining us is Micheal Snyder who ¡s so on target. I mean, I
                                 saw CNN with the headlines, "Trump's done 900 plus tweets
                                 since he was elected six months ago but no major legislation."
                                 Because most of what they've done ¡s executive tyranny. TPP,
                                 open boarders, carbon taxes. He's devastated them. We've got
                                 a supreme court just¡ce that isn't a total communist. Werve got
                                 69%. lt was 63%, down illegals coming across and felons are
                                 down even more.

                                  Deportations of felons way up. Uh, the economy try¡ng to battle
                                  back. I mean, I don't want to just sit here and cheer lead Trump,
                                  but it's a total war. They have the FBl, former director, brought
                                  in by the democrats and the global¡sts, uh, put in there, uh, by
                                  Sess¡ons that lguess balked and chocked and I gotta agree with
                                  Trump. i mean, you know, Sess¡ons has been going after them
                                  for all the crimes they committed. We're a f¡ve or six special
                                  counsels or cr¡m¡nal counsels, uh, special prosecutors, not just
                                  counsels, should be all over Hilary because if Trump did
                                  something, which he hasn't, it, it, ¡t's like a microscope finding a
                                  little dot of d¡rt while a whole cess pool, uh, sewage treatment
                                  plant wh¡ch is oceans of sludge, uh, it, it, it makes the hedge
                                  spin.

                                  And now, Mueller is saying that they're locik¡ng at all the
                                  finances of all his campaign, all his associates, all his businesses,
                                  you're go¡ng to find something. l've got 70 something crew
                                  members, they're great people, I bet people bounce checks, I
                                  bet there's some folks smoking some pot, I bet somebody did
                                  something wrong before. I mean, imagine if you had tens of
                                  thousands of employees. This, this is a new word for dragnet,

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                                 fish¡ng exped¡tion, witch hunt to infinity, Micheal Snyder, this is
                                 an incredible time to be alive, is it not?

  Michael   Snyder:   00:49:10   It really is, Alex, and you know, people need to understand that
                                 we are in a war because the establishment, they want to
                                 destroy Donald Trump, ¡t's kind of like a foreign body has
                                 invaded the system and they want to get that foreign body out
                                 of their system-

  Alex Jones:         OO:49:22   And they know they're losing, they know they're losing, so
                                 they're going to go after everybody. Once they get him, it's
                                 everybody else. This is a death battle. Sorry.

  Michael   Snyder:   00:49:30    Oh you're r¡ght, Alex, that's why they're going after you. They
                                  want to shut lnfo Wars da- down because they know how
                                  effective you've been. They want to shut me down, the
                                  economic collapse blog, they want to shut all of us in the
                                  alternat¡ve media down. They want to get rid of us because they
                                  saw the power we had in the last elect¡on. So we're actually in a
                                  war for the future of this country and we don't have to settle for
                                  the future of the globalist. You know, I lik- | talked to a lot of
                                  people that are awake and they're saying, "Oh, the globalist,
                                  they're too, they're too powerful, we can't defeat them. One
                                  world government is com¡n9."

                                  Well you know what? We don't have to settle for that. We don't
                                  have to, we don't, we don't have to just sit back and take
                                  whatever they take. You know, our founding fathers, if, if we
                                  would have had a defeatist attitude back then, if our founding
                                  fathers had sald, "No, we can't take on the mighty British
                                  empire." The rest of the world thought we were crazy when our
                                  founding fathers said, "We're going to take on the mlghty
                                  Brit¡sh empire, we're going to declare independence." They put
                                  everyth¡ng on the line, and because they did, because they were
                                  willing to r¡sk it all, the United States of Amer¡ca exists today.

  Alex Jones:         00:50:24    Take, take, take V¡etnam. Ho, Ho Chi Mihn first wanted to be, be
                                  a, uh, capitalist, he was a communist, uh, during world wartwo,
                                  he was our ally, they didn't want to make a deal with him
                                  because the, the french and others wanted the opium and to
                                  exploit the classically free market, Vietnamese. And so despite
                                  the fact that we spent the equivalent of trillions of dollars, uh,
                                  hundreds of thousands of [inaudible 00:50:47], we couldn't beat
                                  them because they refused to submit and they had a
                                  communist ¡deology.

                                  lf you refuse to subm¡t with a Christian, conservative,
                                  libertarian, free market, Renascence, you cannot be defeated.

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  Michael   Snyder:   00:50:59   That, and that now, that's what we need to do, we need to work
                                 together and that's why I love lnfo Wars so much, because
                                 you're all about working together. Those that love l¡berty, those
                                 that love freedom, those that love the constitution. lf we work
                                 together, we can win. Donald Trump showed us that, that we
                                 can win the presidency. Here in ldaho, if everybody l¡stening to
                                 this program today that lives ¡n my d¡strict votes for me, I'm
                                 going to win no matter what. We just gotta get everybody out
                                 to the poles and involved because we are going to win because
                                 we have the numbers. We're waking more people up every day.
                                 My websites, your websites, your show, people all over the
                                 country, we're raising up an army and we can do this, if we work
                                 together.

  Alex Jones:         00:51:35   And by the way, uh, you know, I have a small crew, l've been
                                 meaning to do it, will you call my crew today? I want to carry
                                 your books, uh, because l've read several, they're all excellent,
                                 but, uh, you're living a life that really matters, things l¡ke that,
                                 and you're do¡ng just such important work and again, I'm so
                                 glad that despite the fact you had been successful in your own
                                 private bus¡ness and successful in education, and successful, uh,
                                 you know, ¡n news, that you're running for congress. I mean,
                                 this is really such a manly thing to do, and I don't mean to be
                                 cheesy, being manly means putting your family on the line,
                                 putting your name out there, and, and getting engaged and
                                  involved.

                                  Because you've got a great family, I know, so we just admire
                                 what you're doing, Micheal.

  Michael   Snyder:   00:52:13   Well thank you, Alex, and even though ljust announced l'm
                                 running officially two weeks ago, the attacks are already coming
                                 in. They're already attacking me, they're attacking the people
                                 I'm associated with, and, and so, I'm already... it's kind of like
                                 walking into a hornet's nest, but we've gottã do this, because,
                                 they, I believe th¡s ¡s the most critical time, il if, if they end up,
                                 if the democrats take control, if they impeach Trump, if they get
                                 rid of him and they, you know, they start shutt¡ng down
                                 alternat¡ve media, we could lose everything. But, il if 1000
                                 people all over the country start running for office, taking back
                                 state legislatures, taking back congress, tak¡ng back the powers
                                 of structure all over the country, we could have a revolution and
                                 turn this country back to l¡mited government, liberty, freedom,
                                 the second amendment, the things we care about, the things
                                 we've been fighting about for seven years.

                                  You know, Alex, my articles have been appearing on
                                  lnfowars.com for seven years now. We've been fighting

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                                 together, we've been fighting this battle, we've been trying to
                                 wake people up, you know, and now we need to go to the next
                                 stage because now the war has got hotter than ever before and
                                 ¡f we don't win, the, the, the elite, the global¡sts, they are going
                                 to try to en- entirely destroy us.

  Alex Jones:        00:53:24    You're absolutely r¡ght, Micheal Snyder, let's talk about the
                                 Mueller s¡tuation because Trump has gotta go with his instincts.
                                 He's absolutely right. They got bamboozled, they got
                                 hoodw¡nked, they got stampeded, and I really like Senator
                                 Sessions into this recusal so that his deputy could then put
                                 Mueller in. lf it was somebody else that wasn't best friends with
                                 Comey, didn't cover up for the Bush's and the Clintons, then I
                                 would say, "Okay, have a speciaIcounsel"

                                  lf Mueller presided for a decade over some of the greatest
                                  abuses b¡partisanly we've ever seen, he took off the list radical
                                  lslam and would not let the FBI investigate radicalJihadis and
                                  basically ordered them to stand down, that's confirmed, This
                                  guy is a globalist. You've got Brennan, you've got Clapper,
                                  they're alljust incredibly arrogant. I want to get into that, but
                                  first let's get into Mcca¡n.

                                  I don't wish harm on anybody and I've had family that have had
                                  cancer and brain tumors. lt's no joke. I also know from a friend
                                  who had a brain tumor and d¡dn't make ¡t, they got very
                                  aggressive, very paranoid the last year of the¡r life before they
                                  even knew they had a brain tumor and ¡t k¡lled them in about
                                  two months once they learned about ¡t. Uh, Mccain has been
                                  act¡ng very erratic the last year, he's been acting very crazy.
                                  Remember back at the Comey hearing people said, even his
                                  own supports said something's wrong with him.

                                  But this is a guy that was part of the Keating Five. This is a guy
                                  who want's to say that everybody that's against him is a Russian
                                  agent. This is a guy who funded Al-Nusra, Al-Qaeda, and lsis and
                                  went and met with them in Syria and admitted ¡t. This is a guy
                                  on the news who is prory saying Trump's a Russian agent. That's
                                  in the Washington Post today, uh, because he, eh, is working
                                  with Russia to take out lsis and Al-Qaeda, that predates Trump
                                  getting ¡n. The Pentagon made that deal. So now battling radical
                                  lslam and you're supposedly lsis, or, or, or battl¡ng radical lslam,
                                  you're supposedly, uh, a, a, a, a Russian agent, that's the
                                  Washington Post saying that today, this has reached new levels.
                                  He's got this brain tumor, some people might say it's foul play,
                                  they do have v¡ral based weaponized cancer. You can actually
                                  spray on somebody and they can breath and it actually does
                                  create these type of cancers in the cerebral context, but you

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                                 know, Mcca¡n's old, and, uh, this ¡s probably naturally occurring,
                                 uh, though bra¡n cancers of this type have magically increased.
                                 SV-40 that's ¡n a lot of the, uh, vaccines, uh, you know, has also
                                 been linked to this. That's one reason this cancer has increased.

                                 So we can use his tragedy    to hopefully inform some people you
                                 know, I hope Mccain get r¡ght with God, I don't wish any harm
                                 against any living thing. I don't take pleasure, uh, uh, you know,
                                 out of a cow dying even if I eat a steak. Uh, but you know, and,
                                 and I don't take pleasure in an evil person having a brain tumor
                                 because I still have empathy for them but talk about an omen.
                                 David Rockefeller, the founder of modern world government,
                                 founder of the modern UN, uh, David Rockefeller dead this year
                                 [inaudible 00:56:22] one of this generals, uh, for world
                                 Bovernment dead and, and now we see, uh, McCain, you know,
                                 the current ... Tim Cain called him the leader of their
                                 movement, their, their cha¡rman, and he his quarterbacking the
                                 attempt to stop, uh, the make Amer¡ca great again movement,
                                 so th¡s is an omen.


                                  What do you make, uh, and ljust wonder, will George Soros get
                                  fast acting cancer, not delivered by patriots and the ClA, but by
                                  God?

  Michael   Snyder:   00:56:51    Well Alex, a lot of these, linaud¡ble 00:56:52] comes a lot of
                                  these global¡sts, they are getting older, they're dinosaurs now
                                  and they, they're starting to die off, they're starting to retire
                                  and so we need to replace them w¡th fresh blood, with, but with
                                  Mcca¡n, I found it ¡nteresting that he has brain cancer because
                                  someth¡ng else that's been linked to cancer are cell phones and
                                  what I've been find¡ng out ¡s that, a- as I've been digging into
                                  th¡s a- you know, what you, members of congress, they spend
                                   more t¡me out of their day on the phone than anyth¡ng else. ln
                                  fact, when new members of congress, when they go, what
                                  they're told is they're supposed to spend about two hours a day
                                   on the floor and in committee actually doing their jobs, and
                                  they're actually supposed to spend about four hours a day on
                                  the phone, dial¡ng for dollars, 60 minutes did a big expose of
                                  this where what they do, they spend more, our members of
                                  congress, when they're working, they spend more time during
                                  the day, uh, d¡aling for dollars, they spend more time during the
                                  day, uh, calling people up asking for money than anythlng else.

                                  And that's when they're working. Members of congress only,
                                  uh, for example, the house will-


   Alex Jones:        00:57:50    Exactly, and Johnny Cochran died from the type of brain tumor
                                  that's associated with cell phones. lt was concerned decades
                                                                                                 .l1
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                                  ago in rat studies that it does heat up the DNA, it causes it to
                                  rattle and then it breaks the chains, then that causes mutations
                                  ¡n the brain tissue. Everybody should be using hands free. No
                                  one should let their kids, uh, you know, be on these unless
                                  they're us¡ng a hands free or blue tooth and ¡t's still dangerous.
                                  Uh, you're absolutely right, but notice, the Atlantic can say did ¡t
                                  give him a bra¡n tumor because they're establishment media. lf
                                  we say cell phones are linked, it's a conspiracy theory, but they
                                   are hav¡ng that debate now.

  M¡chael    Snyder:   00:58:24    Oh, it's very true. And, and so people, people need to be aware,
                                   when you're holding that cell phone up to your head for you
                                   know, endless hours, you're literally cook¡ng your brain on, at a
                                   very low level. But, uh, you know, me- but these members of
                                   congress, they spend more time on the phone than anything. lf
                                   that's when they're working. Er, the, the, the house of
                                   representat¡ves, Alex, will only be in session for 147 days this
                                   year. That means they have 218 days off. They work, they work
                                   for less than three days a week, and when they're working, like I
                                   sa¡d, most of the time they're on the phone. The republicans
                                   and the democrats, they're not allowed to make calls directly
                                   from the¡r own offices, so they've got these g¡ant call centers
                                   very close to the capital.

                                   And what they do, wa- the reason why you almost always see
                                   the house chamber or the senate chamber empty, because
                                   they're all over at these call centers, they're calling people
                                   trying to raise money for the el- next election, trying to keep the
                                   establ¡shment in power, that's how congress really works.

  Alex Jones:          00:59:16    That's right, and major courts have ruled that cell phones are
                                   causing brain cancer. lt's a fact, just like glyphosate literally
                                   grows cancer, but they told us it was healthy to drink. This is
                                   incredible. Why have the elites allowed glyphosate, cell phones,
                                   all of this, all this wifi, all of it, when they know specifically it
                                   rattles DNA ¡nto pieces, then when you have DNA in pieces, that
                                   is a mutat¡on, cancer of course ¡s the most classic mutation with
                                   malignant tumors.

   Michael   Snyder:   00:59:43    Well I think for the sa- some of the same reasons why they are
                                   putting fluoride in the water. They know fluoride is a
                                   neurotoxin. They know that ¡t has effects on the development
                                   of young children, they know that it's dumbing down the
                                   population but they're putting ¡t in there anyway. They say, oh,
                                   it's good for our teeth, when it shows no, it actually causes
                                   some very serious condit¡ons for teeth, now we-

                                  PART 2 OF 6 ENDS [01:00:04]

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  M¡chael   Snyder:   01;00:00   So, no, it actually causes some very serious conditions for teeth.
                                 Now we got children all over the country with those l¡ttle white
                                 spots on their teeth. That's from the fluoride ¡n the water.

  Alex Jones:         01:00:09   And the Amer¡can DentalAssociation says children under six
                                 should not brush their teeth with fluoride and the med¡a calls
                                 me a conspiracy theorist when that's the American Dental
                                 Associat¡on, six years ago, forced to come out and say that in
                                 like 2011. People can pull that up. And admitting it increases
                                 bone cancer in boys. Admittedly causes lower lQ's, Harvard
                                 study. But they don't care, they just call us conspiracy theorists.

  Michael   Snyder:   01:00:34   Yeah or Alex, vaccines in California, where they passed that bill
                                 making it mandatory to have vacc¡nes ¡f you want to go to a
                                 public school. Now they want to bring out ã bill where it's gonna
                                 make it mandatory for every ch¡ld in California to get vaccines.
                                 You know what, and these, these laws are start¡ng to spread all
                                 over the nation. There's talk that they want to start pushing 'em
                                 here, in ldaho a deeply red state. We've gotta fight th¡s we've
                                 gotta let people know. These vaccines, you know, uh, uh, that,
                                 why, why has autism just exploded because of these vaccines.
                                 K¡ds are getting shot with these, these vaccines, and one day-


  Alex Jones:         01:01:04   And by the way, there are thousands of studies admitting that
                                 Thimerosal causes auto¡mmune results in the bra¡n and other
                                 things and they just say conspiracy, conspiracy, our vaccine is
                                 safe and effective. Never hurt anybody. The, the, the insert say's
                                 it can kill you or cause an autoimmune disorder or give you type
                                 I d¡abetes by killing your pancreas. On and on and on and on
                                 and on and on and on. But people won't read the insert. They
                                 just say conspiracy theory! lt doesn't matter while you were
                                 talking we put Scientific American on. We put even the
                                 Washington Post on. Even CNN on. Even Newsweek, admit all
                                 this now. We've been totally vind¡cated.

                                 But they pre-tell you it won't hurt you to make you comfortable
                                 so that your bra¡n decides it's safe, like them tellin'folks
                                 cigarettes were good for your lungs in the forties and fift¡es.
                                 Even though they knew it caused cancer. So that you go ahead
                                 and get add¡cted to the cell phones. Go ahead and give em to
                                 your kids and then later to cover their ass, they tell you actually,
                                 it kills ya. So I tell ya, very diabolical plan by these lawyers.

  Michael   Snyder:   01:02:03   Yeah and then someth¡ng else that's in our water Alex is all the
                                 pharmaceutical drugs. Where, you know, We're the most
                                 drugged up society ¡n the history world. But all that gets in the
                                 water and so a major study was done not to long ago where
                                 they looked at the water, they looked for traces of

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                                 pharmaceutical drugs and they found that more than half of the
                                 water systems in the entire country have more than twenty four
                                 different pharm ... traces of pharmaceutical drugs in them.

  Alex Jones:         Ot:02:27   And it's causing massive mutat¡ons ¡n mam ... mammals,
                                 amphibians, fish, you name it. And they make big jokes out of
                                 that as well. Since you mentioned it, let's go ahead and go to
                                 this clip. Former director of National lntelligence, James Clapper
                                 totally sold out the country. Trump is making Russia great again.
                                 Uh, uh in, ¡n Ukraine, I mean, Soros overthrew an elected
                                 government. They started a civil war. Russia jut took control of
                                 the east and their pipel¡nes, this ¡s making Russia great again.
                                 Here it is.

  Chris Matthews:     01:02:55   Do you think, uh, our President's helping, uh Russ¡a be great
                                 again?

  James Clapper:      01:03:01    Uh, in a, in (laughs) yeah in a way lguess, he is. Uh, particularly,
                                  ii uh, as Putin, you know gets h¡s way in a Syr¡a. And if nothing
                                  is done to push back on the Russians in the Ukraine um, yes.


  Alex Jones:         01:03:21    Helping the Russians push back in Ukraine when George Soros
                                  and the State Department of Obama over-threw the elected
                                  government. Look at this Washington Post headline "Trump
                                  End's Covert CIA Program to Arm Ant¡ Assad Rebels in Syria, A
                                  Move Sought by Moscow." A, sought by our Pentagon that
                                  testifìed to Congress in close session fìve years ago, that we
                                  then had guests on and was later confirmed. Uh, yes. Russia is
                                  aga¡nst rad¡cal lslam too. Yes, we shouldn't be fund¡ng the very
                                  rebels were fighting. I mean, again, if Trump puts his shoes on
                                  right, they cla¡m the Russians did it. lf Trump doesn't want
                                  everybody to live under lslamic rule, it's the Russians. Yes the
                                  Russians are against radlcal lslam too. What do you make of
                                  th¡s, Michael Snyder?

  M¡chael   Snyder:   01:04:03    Well I'm so glad that Trump made that move. lt's a g¡ant step in
                                  the r¡ght direct¡on. But you know what the neo-cons, both
                                  Democrats and Republicans, they want us to be the police of
                                  the world. And that's why we need more people like Ron Paul
                                  who says we can't be the police of the world. First of all we can't
                                  afford to do that and secondly when we keep poking our nose in
                                  everywhere, then we have to send our boys and girls over there
                                  to bleed and die, and you know and, and, and the rest of the
                                  world starting to hate us'cause we're constantly interfering or
                                  constantly starting wars. Were constantly the military industrial
                                  com, com, complex, constantly wants more war. They
                                  constantly want more ...


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  Alex Jones:        0L:04:36    And finally Trump is over there clean¡ng up Obama's mess in the
                                 middle east, cleaning up the North Korean mess. lt's a pres¡dent
                                 pragmatically, actually pro free market and not ã pedophile and
                                 not out to get us. Michael Snyder for congress.com. Folks
                                 should support ya. And get involved ¡n that. lt's we the people
                                 that are backing you if you win, not the Russians. Aga¡n they're
                                 telling us we're all losers. You dldn't know the Russians had your
                                 wife have that baby too. And when you breathe Mr. Snyder, it's
                                 not you breathing, the respirator is provided by the Russians as
                                 well. And when I got up this morning and made eggs for my
                                 family, that was the Russians as well. Ladies and gentleman you
                                 didn't elect Trump, it was the Russians. Michael Snyder, thank
                                 you so much. We have the founder of the Rebel Media straight
                                 ahead, stay with us,

                                 (singing)

                                 Only way the globalist can w¡n is if you rema¡n asleep.

                                 (singing)

                                 I'm committed

                                 (singing)

                                 Sworn to avenge.

                                 (singing)

                                 I'm Alex Jones, your host.

                                 (singing)

                                 And I am the sentinel. We're all, no matter what color we are or
                                 where we came from. if we wa nt justice. lf we love truth. lf we
                                 love to take care of the innocent. lf we want to be honora ble. lf
                                 we wanna be strong. lf we wanna take on bullies. Then that's
                                 the sp¡rit God put ¡n ya. ThatÌs the light shining out in the dark.
                                 Were all brothers and s¡sters ¡n that fight.

                                 We're getting our next guest on. Got a bunch of other guests
                                 today. Ton of news to get to. But there's no doubt now, their
                                 comlng after Trump. The corrupt, evil Mueller, who covered up
                                 for just outrageous lslam¡c terror, crimes, Clinton corrupt¡on,
                                 espionage for the communist Chinese. ls now saying the¡r going
                                 to look into every bank account, every transaction stuff that's
                                 non-Russia related. Tryin to bring down President Trump,


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                                 because he told the special interest that had hijacked our
                                 country and transferred the power to the TPP and to NAFTA and
                                 GATT and these international agreements. He said "nol We're
                                 not turnin off all our coal when nobody else does. We're not
                                 gonna have wide open borders and order the border patrol not
                                 to stop people comin across illegally." And that's down s¡xty-
                                 nine pèrcent. And so they're panicking.

                                 Now briefly, we've got free sh¡pp¡ng until the end of July. And
                                 we're selling out a lot of the best selling items like Super-Male
                                 Vitality, uh, X2, Bra¡n Force Plus. So l'm already stopped selling
                                 Brain Force Plus at th¡rty percent off. I ju, just had to, 'cause
                                 we're about to sell out. Probably be out of it for like a month.
                                 Um, so those specials are gonna end today on Super Male on
                                 X2, the good halogen, that goes in and obviously blocks the bad
                                 halogen fluoride. lt's amaz¡ng. lt's the cleanest, purest lodine
                                 out there from deep earth crystal sources. We have Caveman
                                 ¡t's the ult¡mate bone broth, Paleo diet formula. And by Paleo
                                 diet, I mean what the ancients ate across the board knowing the
                                 bones, uh, had all the trace minerals, the elements in ¡t. The co-
                                 factors, the stem cells, all of it. Then you got the chaga
                                 mushroom and the rest of it ¡n there. lt's s¡mply the very best
                                 out there. The tumeric, the bee pollen and many other high
                                 quality ingredients that help. For healthy muscles, bones, fights
                                 free radicals and so much more.

                                 Caveman is back in stock after be¡ng sold out for months and
                                 this is now the top bone broth seller ¡n the country. And bone
                                 broth as you know is very, very hot. But compared to just
                                 something you cook on your stove this is very, many, many,
                                 many, many, many times more concentrated. lt is chocolate
                                 naturally flavored. lt's all organic. lnfowarslife.com. Caveman is
                                 back in stock and, and other brands of bone broth formulas are,
                                 in some cases twice as much. Usually about 20 percent more. So
                                 it's also a very, very good deal, then you're funding this
                                 operation, our expansion.

                                 lnfowarslife.com, infowarsstore.com or tr¡ple eight, two-five-
                                 three, three-one, three n¡ner. But a lot of the specials are going
                                 to have to end today, the free shipping continues throughout
                                 the month. Take advantage of that. We now have one of the
                                 top manufacturers of organic whey. From grass fed non GMO
                                 cattle. With none of the growth hormones, non of it. We now
                                 have one of the top brands in the country, lets us private label ¡t
                                 and again ¡t is way less expensive than it would be in stores.
                                 Buying it direct from us, private label, true whey protein.




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                                 We know we're under a microscope plus we want you to get
                                 great products so you come back and get em again. lt's a win-
                                 win. This is one of the top makers in the country. We private
                                 label it. lt's super h¡gh quality totally tested. True whey protein,
                                 premium quality w¡th nine essential amino acids just came out
                                 today. lnfowarslife.com or triple eight, two-five-three, three-
                                 one, three-nine.

                                 And they do have community guidelines, like the old Sov¡et
                                 Union. Oh the community doesn't like you, you're gone now.
                                 And, and, and google's ¡n trouble for doing this. They got anti-
                                 trust suits go¡ng on where they let left¡sts groups and they
                                 expunge the internet for Hillary and cover up all her corrupt¡on
                                 and Obama and the rest of it. Where they let these little
                                 knighted groups, these little super mods go round and say "oh
                                 we find this offensive," "we find that offensive." And then just
                                 put a strike on your account and their set to shut down our
                                 channel. Which is, l've already told google before and the last
                                 time they pulled this and they backed off. Lawsuits ready. We've
                                 got your internal documents, where you hired the company to
                                 de-list us, we've got a bunch of other stuff too. Which is fine.

                                 And I know it's a big, huge corporat¡on and everyth¡ng else, you
                                 let your little communist mods go around and do that. You give
                                 us the standing take down the channel with billions of views
                                 and you are going to have a big publicized, big fat juicy
                                 successful lawsuit on your butt. And you think the stuff in
                                 Europe's big, just get ready. And l, I don't want to sue people,
                                 but it's all ready and l'm done. So you people thinking your
                                 having a victory out there trying to shut us down, just get ready.
                                 And the next person puts a false copyright claim in too. l'm, l, l, I
                                 promised and it's ready. And I'm going to sue you. lt's gotta be
                                 done. I've made the decision. I'm done.

                                  Oh and people that l¡ke to sue us and then secretly pay us to, to
                                  drop the lawsuit. lf¡gured that scam out where you want to
                                  make it look like were fake news, you're gonna get sued too.
                                  Anybody else false lawsuits you're getting sued. Guaranteed!
                                  Set your watch and warrant by ¡t, put it ¡n the bank, you can
                                  guarantee it! You can guarantee ¡t!

                                  Now jo¡n¡ng us ¡s an ¡ndividual who was successful in libertarian,
                                  conservat¡ve media in Canada. And of course inside shenanigans
                                  went on to blow that up, uh and he joins us, Ezra Levant,
                                  founded therebel.med¡a. lt reaches hundreds of millions of
                                  people, now, every month. They've had the¡r share of folks tryin
                                  to censor them and shut em down. They're ¡nternational. I really
                                  admire their lineup of folks. From Tommy Morrison, r¡ght

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                                 through to Gavin Mclness and so many others. But again I'm not
                                 in competition with the rebel, I'm glad they're there. We're in
                                 this together. Therebel.media subscr¡ption base, just like you
                                 buy our products to support us, you just subscribe with them.
                                 And you're building a new media and the more of us there are
                                 the better. The safer it ¡s. (laughs)

                                 So he just got back. We almost sent Joe Biggs to do this but ¡t
                                 fell through. And, and, and other groups were involved. To go in
                                 with other former special forces and some patriots, we'lljust
                                 leave it at that. Uh, I don't know about other groups, not this
                                 particular one. Uh, but, I know for a fact Er¡c Pr¡nce does good
                                 stuff out there. They call him a mercenary, he's not in my v¡ew.
                                 To expose the pedophile rings, you name it. ldon't know if
                                 that's the group fìnanced him, but to go in and actually save
                                 Christians being murdered, slaughtered, put into sex slavery, in
                                 the few c¡ties left that lSlS slash Al Qaeda has control of, so
                                 that's something I know Erik Prince has been doing for years,
                                 behind the scenes. Saving thousands and thousands of
                                 Chr¡stians every few months. Well this gentleman went into lraq
                                 into the most dangerous areas. Ezra Levant, he just got back so
                                  uh we wanna thank him for his courage and what he's doing to
                                 talk about this.

                                 And the Washington Post say¡ng Trump's a Russian agent today,
                                 basically, for going along with the Pentagon program that's five
                                 years old, of not backing lSlS and telling em the Democrats "no."
                                 They're now saying that that's a Russian program help¡ng
                                 Moscow, that we're not backing the lobbyists, lSlS Al Nusra, Al
                                 Qaeda, Well you just came back from there, where they
                                 adm¡ttedly sometimes rape little girls to death ! So Ezra Levant
                                 founder of therebel.media, thanks for jo¡ning us.

  Erik Levant:       01:13:16    Well Alex, it's a pleasure to be here and, and first of all, thank
                                 you for your kind words about the rebel. You're a real trail
                                 blazer in alternative media and that's what we need these days.
                                 To cover stories that are off the offic¡al narrative. And Alex, the
                                 media and politicians and diplomats never stop talking about
                                 Muslim migrants, they call them Syrian refuges. Most aren't
                                 Syrian, most aren't true refugees. But ignored are the chr¡stian
                                 refuges who are actually at r¡sk of genocide. Here's a quick fact
                                 for ya. ln two-thousand seventeen, the off¡cial United Nations
                                 budget to help Muslim refugees is four point seven b¡ll¡on
                                 dollars. But no one is waging a genocide against Muslims.
                                 There's no ethnic cleansing of Muslims. But there is ethnic
                                 cleansing of Christians in the middle east. And they're not even
                                 allowed to go to these UN refugee camps'cause those UN
                                 refugee camps are dominated by Muslim extremists. The

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                                 Christians, if they flee there, will be violently assaulted there. 50
                                 these Christians are forgotten and we went to these ancient
                                 Christian towns where they're literally being ethnically cleansed
                                 by Muslim terrorists.

  Alex Jones:        Ot:1-4:32   Break it down because this is simply amazing. These are the
                                 forgotten people.

  Erik Levant:       01:14:36    Yeah. I mean these are ancient Chr¡stians who actually still pray
                                 in Aramaic, that is Jesus's language. Some of these Christian
                                 communities have been there for fourteen hundred, fifteen
                                 hundred, sixteen hundred years. And it used to be a Christian
                                 area. Just like Egypt used to be Chr¡stian, just like Turkey used to
                                 be Christian, lstanbul used to be called Constant¡nople. But over
                                 time, wave after wave of Muslim jihad, has ethnically cleansed
                                 the Christ¡ans. They kill the men and they take the women as
                                 rape slaves. Because that is officially perm¡tted in the Koran.
                                 And so we, I met a Yazidi woman in Germany, when I was on
                                 another trip, Yazidi's are not Christian's. They're not Muslim's
                                 they're, uh, uh individual ethn¡city. But they have blond hair and
                                 blue eyes, Alex. So the Muslim terrorists pr¡des these women as
                                 rape slaves. I met a Yazidi rape slave, who said she lost track
                                 after she was raped two hundred and forty times. And ya have
                                 to understand ¡n the lslamic state that's not a crime. That's
                                 actually offic¡ally sanctioned. That's one of the ways they pay
                                 their terrorists is ¡n stolen property-

  Alex Jones:        01:15:55    And Linda Sarsour won't even come out and critic¡ze it.

  Erik Levant:       01:15:59     No. And what breaks my heart Alex, is I went to these Chr¡stian
                                  towns and I saw these all Christian refugee camps. These people
                                  are completely ¡gnored. Pol¡tic¡ans, the media, d¡plomats, NGO's
                                  they favor the Muslim refugees but they ¡gnore the Chr¡stians. I
                                  say, we've gotta sort the lambs from the wolves, Alex. Most of
                                  the people flooding into Europe are not lambs. They're wolves.

  Alex lones:        07'.76:26    Well even lnterpol admitted eighty percent are military aged
                                  men, but expanding on that, l've seen the statistics. Where less
                                  than one percent, ¡n fact it was just a few sub-po¡nts of the
                                  refugees are Christian, and then Obama jokingly about a year
                                  ago, said "well we just can't only let in the Christians. We gotta
                                  let ¡n the Muslims." But ¡n truth he laughed about it, because he
                                  knows the U.N. program discriminates and doesn't even let
                                  Christians get out, because they're slated for extermination.
                                  Why is that?

  Erik Levant:       01:16:56     Well it goes back to the Koran, the Koran talks about converting
                                  any infidels. And so when we were in lraq we saw an lslam¡c

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                                 state edict. Remember the lslamic state is like a proto country,
                                 so they have judicial announcements they're called fatwas. And
                                 any Christians ¡n these little towns, these little towns that have
                                 been there for more than a thousand years, Alex, they, they're
                                 given an ultimatum. Either flee, uh, pay the jizya tax out of
                                 submission or be killed by the sword. So this is rooted in the
                                 Koran. And they kill the men, they rape the women. I went to a
                                 church in the little Chr¡stian town of Batnaia, that was
                                 conquered by lSlS, held by, for two years and only recently
                                 liberated. The Christians have not yet returned to this ancient
                                 town. lwent into the church and lsaw anti-Christian graffiti, like
                                 "we w¡ll kill you," "leave or be killed," " this is muslim property,"
                                 "there are no Christ¡ans allowed in the lslamic state." lt was
                                 written in arab¡c, but it was also written in German. And that
                                 tells me Alex that there were German muslims that went to lraq
                                 to rape and plunder and desecrate these churches.

  Alex Jones:        01:18:22    And under th¡s whole lslamic rebellion Arab spring that the
                                 democrats, the globalists, NATO and others, the UN have been
                                 behind publicly. Military aged men go like on hajj basically, but
                                 jihad were it's like a pillaging, raping vacat¡on where they go out
                                 to earn their bones and have their rights of passage, raping,
                                 killing, murdering. I mean this is all adm¡tted and the UN brags
                                 that this is all a part of the¡r replacement plan for Europeans. I
                                 mean, why is the left so in love with orthodox lslam?

  Erik Levant:       01:18:59    Well, I suppose ¡t's the same reason why the left was so
                                 sympathetic to the Soviets during the cold war. Leftists always
                                 side with the most acute enemy of western civilizat¡on. Until the
                                 fall of the Berlin wall, leftists sided with the Sov¡ets. Um,
                                 because they thought, wellthat's the counter-we¡ght to
                                 western c¡v¡lizat¡on. Today it's rad¡cal lslam. lt, so it's not just
                                 that the radical lslam is the enemy of the west, it also is an
                                 opportunity for these virtue signaling leftists to show how open
                                 minded they are that they will tolerate their own enemies.
                                 Which, so, what's so ¡ron¡c to me, and this is what I never
                                 understand Alex-

  Alex Jones:        01:19:38    That's why we've seen a lot of these left¡sts women go to be the
                                 sex pleasure objects. lncluding qu¡te attractive women from all
                                 over Europe and the US, go to literally live in fleas and ticks w¡th
                                 guys that wipe their butts with their left hands and just st¡nk like
                                 pig demons. But they just, women just go and worsh¡p the
                                 filthiness and worship the, the, the fleas and ticks and lice. l'm
                                 no- I mean I'm not kidding, these women are just lov¡ng this.
                                 Because lguess, their so cuckold from men groveling and kissing
                                 their butts in the west and putting em on a pedestal, they don't
                                 like that. But to be savagely just treated like slaves, they love ¡t.

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  Erik Levant:       OtiZO:t4    It's terr¡rying in Mosul, which ¡s the big city that the lslamic state
                                 recently lost to allied forces. There were some Canadian women
                                 who voluntarily went out there. They either go to be halal
                                 prostitutes to serv¡ce these men or their duped in some way or
                                 they're, or they want to be part of the j¡had. lt's really troubling,
                                 but you make a good point. A lot of these, uh, terror¡sts, they
                                 come from the west, go to Syr¡a and lraq. They get a taste of
                                 terrorism, rape, murder, defacing Christian objects-

  Alex Jones         01:20:50    And then they come back to Europe and go to the ant¡ racism
                                 concerts to openly rape and the police just stand there and
                                 guard the raping and then judges rule, well this is a muslim, he's
                                 allowed to rape it's h¡s culture.

  Er¡k Levant:       Otizt:OL    Well and the th¡ng is their coming back as battle hardened
                                 veterans in a way. Because they, they did it in lraq and Syr¡a, so
                                 they've tasted blood and whatever moral compunction they
                                 might have had, they're over it, so they're numb to violence,
                                 they, they love it, they practice it and now they've returned to
                                 the west. And throughout Europe and we've seen this terrorist
                                 attacks in Belgium and France in particular have been from lsis
                                 terrorists who learn their trade in lraq and Syria and have come
                                 back to the west-


  Alex Jones:        Ot:zt:34    And you know what's crazy? We have Ezra Levant the founder
                                 of the rebel.media, amaz¡ng uh, uh, television, rad¡o network,
                                 news-s¡te that's reaching tens of millions a day now. We were
                                 not exaggerating. I can't come up with words to describe how
                                 much worse it is than were saying because by the m¡nute more
                                 insanity comes out. I mean we have videos at ¡n Sweden and
                                 Germany of them holding women down and lines of men raping
                                 them and the police are fifty feet away and do nothing. I mean,
                                 it, it's, l, I mean they literally rape l¡ttle kids in pools and the
                                 police say well that's their culture. l, I mean it is just insane
                                 asylum. lns-eh-ye-l-l-l'm just wondering, and meanwhile, their
                                 saying Trump's a Russian agent because he just k¡lled the
                                 Obama program to arm lsis.

                                  We'll be right back, stay with us.

                                  Ezra Levant, (s¡ng¡ng) therebel.media, the founder of it. He's
                                  heading back on soon about his whole story, you know having
                                  his successful, uh, kind of the Fox news of Canada but more
                                  libertarian. Uh that all got shut down and then it was successful
                                  and he started this a year and a half ago or so. But, but just
                                  getting back to lraq and what's happening, as the final cities of
                                  the l¡beral globalists Saudi Arabian backed lSlS Fall. We have the
                                  Washington Post say¡ng "Trump Ends Covert CIA Program to

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                                  Arm Anti Assad Rebels in Syria, a Move Sought by Moscow."
                                  Well the Pentagon said stop doing it fìve years ago, to Obama.
                                  So, just because Russia is aligned, not wanting to back radical
                                  lslam, blowing up every church, sex slavery-ing everyone. How
                                  does that make Trump bad? l've got democrats all over the
                                  news saying no one is allowed to talk to Russ¡ans. Why Trump at
                                  a dinner at the G20 talked to Putin? lt was a dinner! They seated
                                  his wife by him! The G20 did it on purpose probably to say
                                  Trump was some agent. They're trying to paralyze the
                                  president. How do you think all this ¡s going?

  Erik Levant:       O1-:23:29    Yeah, well, I tell ya, it has been terrifying that all of these so-
                                  called militias in Syria, they have underm¡ned Basher Assad who
                                  I'm not gonna say he was a good man in any way, but he was at-
                                  at least a protector of the Christians. Same way, eh I mean,
                                  without him look at the anarchy. Same thing ¡n Libya. Muammar
                                  Qaddafi not a liberal civil-r¡ght's lover, like we expect in the
                                  west, but at least he held back the lslam¡st wave. Same w¡th
                                  Hosni Mubarak in Egypt. So we ... we made the perfect the
                                  enemy of the good. I'm not saying I would like to live under any
                                  of these Arab dictators. But the hell that was unleashed when
                                  they were toppled, was far worse, and let me say the Christ¡an
                                  community in lraq, it really ¡s being ethn¡cally cleansed. That's
                                  why we went over there. Alex, l'm a jew and so I looked at this
                                  ethn¡c genocide against Christians through the eyes of someone
                                  who understood the holocaust and I see so many analog¡es.
                                  And-

  Alex Jones:        07124i36    Or the Armenian genocide. lt touches everybody's heart to just
                                 see people being, whole families hunted down, the men killed
                                 the women raped, murdered thrown away.

  Erik Levant:       O]j.24:46   Well and that's the thing. Armen¡a was just north of there. So
                                 these Christians have a really tough go. So we went there to
                                 document the Christian genoc¡de and to bring a little bit of
                                 humanitarian relief. And if people want to see our videos they
                                 can go to savethechrist¡ans.com, we've put up about fifteen
                                 videos, including from these destroyed churches. You can see
                                 them at savethechristians.com and if you want to help with our
                                 humanitar¡an efforts, you can do that too. lt's a, and, and I want
                                 to tell the story ofthese Christians,'cause so many people
                                 ignore it. They're obsessed with the muslim refugees. No one's
                                 killing muslims in an-

  Alex Jones:        Ot:25i22    You're absolutely right and again, the UN ¡s basically not lett¡ng
                                 Christ¡ans get out. We should do another video, remember
                                 Obama laughing last year going "hah we can't let the Christians



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                                  out, we can't just take care of them." No he's blocking them on
                                  purpose, because he ¡s a closet lslamist. lt's been proven.

  Erik Levant:       01:25:39     Yup. Well, and, and hopefully those numbers will change now
                                  that Donald Trump is, a, choos¡ng the refugees, But so far-

  Alex Jones:        01:25:45     But like you said, the Christ¡ans can't go to refugee camps to
                                  beg¡n with, 'cause they'll be killed by the religion of peace!

  Erik Levant:       01:25:51.    Yeah, that's true. Well, listen Alex, l, I appreciate you spreading
                                  the word about this and thank you for your kind words. We're
                                  gonna keep up this f¡ght, because it's the one group it's okay to
                                  demonize in western civilization is Christians and it not, it ought
                                  not to be that way. And I know you stand up for their civil rights
                                  and we do to my friend.

  Alex Jones:        01:26:10     Absolutely. Well, uh folks can find out more again at
                                  therebel.media, and I absolutely for the nightly news wanna get
                                  you back on and review some of the boil down or h¡ghlights of
                                  the amazing v¡deo you've got posted, this is realjournalism and
                                  dangerous. So thanks for doing that, uh Ezra Levant.

  Erik Levant:       OI:26:29     Thank you my friend.

  Alex Jones:        O1-'.26:29   Alright, hour number three. Were gonna get to a ton of news
                                  items ahead, more on Mccain, more on the witch hunt against
                                  Trump. More on the economy, so much more-

  Speaker 19:        01:26:39     Thank you for listening to [inaudible 01:26:39].

  Alex Jones:        01:26:38     We've got john Rappaport comin up too, stay with us.

                                  At the bottom of the hour, I'm gonna take some of your phone
                                  calls. We're gonna be joined by Jon Rappaport comin up here in
                                  the next segment [inaudible OL:26:471and the host of Fourth
                                  Hour.

                                  John Mccain, you know l'm not a fake, and so, I'm not gonna s¡t
                                  here and tell you that I am hav¡ng n¡ghtmares over the fact that
                                  John McCa¡n has a big fat brain tumor, or had it removed and
                                  that it's probably not gonna be operable. And that he won't be
                                  with us for too much longer. So not gonna lie to you and tell you
                                  I'm losing sleep over it. But l'm also not gonna tell you I'm glad
                                  he's dying. 'cause l'm not. I'm very sad for John McCain. He's a
                                  very, very twisted person. He's been compromised since the
                                  Keating Five, which was totally ¡llegal. Ripping people off with
                                  fake bonds. And you go back to Hanoi Hilton where he was


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                                 taken care offor given em all the secrets. That's been
                                 confirmed. The guy is not a hero in my view. Of course Donald
                                 Trump knows that when he said that Mccain's no hero. H¡s dad
                                 was an admiral. The head of the pacific fleet. He's a
                                 consummate ¡nsider. But that said death is the great equalizer.
                                 And I don't take pleasure when I heard David Rockefeller died. I
                                 don't take pleasure when I heard Zb¡gn¡ew Brzezinski died. I
                                 won't take pleasure when I hear that George Soros ¡s dead. But
                                 l'll tell yeah this, lwill feel relief. Because these are very, very,
                                 very, very bad people.

                                 And l'm not gonna play along with everybody, that's virtue
                                 signaling saying oh, our hopes and prayers go out to John
                                 McCain ... and just for the mere reason of sounding like l'm a
                                 lov¡ng compassionate person, because its hard to say nice thlngs
                                 aboutjohn McCain when he's so evil and funded Al Qaeda and
                                 funded lsis and get all this. The bible says, pray for your
                                 enemies. So I can't help but say pray for John Mccain. But I
                                 don't even like saying ¡t, I'm just being honest. But lguess pray
                                 he wakes up. Pray he, ya know, jus, turns around, and that
                                 there's some good left in him. And that he, repents for funding
                                 and, and, and supporting the massive middle eastern
                                 destabilization turning radical lslam loose on other muslims
                                 Christians, you name it.

                                  I mean it's just, the guy he quarterback, as Tim Ca¡ne said, he
                                 was, is the cha¡rman. Let's pull up Tim Caine's tweet. I saw it last
                                 night at about seven thirty, right when ¡t went out. I was
                                 search¡ng Mccain news, when the bra¡n tumor news broke.
                                 There it is. Thinking about my hero. My chairman. My friend
                                 John Mccain. Stay strong. His chairman. 'Cause let me tellyou
                                 something. He is chairing, not just committees, he's cha¡r¡ng the
                                 operat¡on to bring down the Make America Great Movement
                                 and to put the deep state back in full control. And he's all about
                                 bringing in radical Muslims and going after our guns and he
                                 supported original Obama care.

                                  But of course we haven't seen obama care repealed. Because
                                  it's what the republican scumbags at the top wanted. They're
                                  the same ones aga¡nst Trump. The never-Trumper filth, The,
                                  the, they have some good rhetoric. They have some good talk.

                                PART 3 OF 6 ENDS [01:30:04]


  Alex Jones:        01:30:00     Th- th- th- they have some good rhetoric, they have some good
                                  talk, but they don't deliver. So, the media will probably edit
                                  what I've said about Mccain, take it out of context and say I'm
                                  glad he's dy¡ng. I'm not. I've told you what I reallythink. lt's

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                                 nuanced because it, the world is complex. I don't like Mccain,
                                 but on a sp¡ritual level, it feels like bad luck to me to say, you
                                 know, he's gett¡ng what's coming to him or someth¡ng like that
                                 hypothetically because I don't take pleasure in it, but when
                                 somebody is a convicted pedophile or been caught with
                                 hundreds of kids, like Sandusky, uh, and, and, and, and the
                                 deputy pope and people and they're particularly in priest robes
                                 because you know they love to care out the satanism that way
                                 because it's more blasphemous and ¡t, they're just such defilers
                                 that ... I mean, l'm glad when pedophiles d¡e.

                                 I'm glad when child kidnappers die. And I'm not a violent
                                 person, I don't enjoy violence but my very inst¡ncts are very
                                 sharp towards these people and I've always said, you know,
                                 when they convict these folks of pedophilia, they convict these
                                 people of kidnapping kids, I personally, I will flip the switch to
                                 run electric¡ty through the¡r brains.

                                 800-259-9231. Coming up at the start of the bottom of the hour
                                 segment, I will play a video that YouTube says violates their
                                 community standards for point¡ng out an article by Zero Hedge,
                                 that pointed out an anomaly in an NBC news report concerning
                                 Sandy Hook. And so l'm going to air this again and l'm going to
                                 challenge that it doesn't v¡olate, uh, the rules as being
                                 selectively enforced and that's it's a form of civil rights v¡olation
                                 of the first amendment and discriminat¡on. lt's just like a b¡9,
                                 uh, credit card process¡ng company that we're looking at suing, I
                                 just have to do this. I have to start some lawsuits against
                                 violators just to, just to fight for my rights.

                                 They told us, "We're not going to let you process credit cards
                                 and debit cards with us even though you have a, you know,
                                 Triple A standing, five star rating, absolutely established 22 year
                                 credit card processing company, that has the other big three
                                 credit card processors hooked into our system, not just PayPal,
                                 we're not going to let, do bus¡ness with you," and they were
                                 dumb enough ¡n emails to say, "Because of our pol¡tical views,"

                                 You think a gay couple can sue and win money because
                                 somebody wouldn't make a cake but then you guys say because
                                  of my pol¡t¡cal v¡ews and what's misrepresented that I am not
                                  allowed to engage in commerce? You people are crazy. I've run
                                  th¡s by l¡tigators, top law firms, it's win, win, win, win, win. And I
                                  don't want the money from these suits. I don't want two years
                                  and then they get to depose me and I get to depose them. But,
                                  I'm going to, l'm going to subpoena CEOs and people. I'm gonna
                                  start going after folks because I can't put up with it anymore.


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                                 So we're going   to air what YouTube says yourre not allowed to
                                 see. Coming up, ¡t's only four minutes long, it's Owen Shroyer
                                 with a zero hedge headline. And we're go¡ng to go to your
                                 phone calls w¡th our guests, John Avaport. But hey, good luck
                                 guys because l'm launching more shows, more video platforms,
                                 our own video platform has millions and millions of viewers,
                                 every few days, we're not backing down, werre not giving up,
                                 we're getting more affiliates across the Un¡ted States because
                                 America is done being intimidated. America is done bowing.
                                 America is done being called racists because you didn't want
                                 Obama Care written by insurance companies and republican fat
                                 cats to screw everybody over with the democrats.

                                 American's across the board of every political strip, of every skin
                                 color, of every rel¡gious background including Muslims that
                                 don't want to be under radical orthodox lslam are sick of
                                 oppress¡on and we want freedom and we want it now. Com¡ng
                                 up the bottom of the hour, l'll show you the letter from
                                 YouTube and what they say is not allowed. We're going to play
                                 the evil video. Zero Hedge d¡scoveries anomaly in Alex Jones's
                                 hit piece. And all it is is Owen Shroyer playing two cl¡ps off the
                                 news side by side. And ¡f they can sensor that and if they can
                                 shut us down for that, they can shut anybody down and Twitter
                                 announced today< "We've begun 10 times the censorship we
                                 were doing last year of anybody criticizing people we don't
                                 like." They can have the left sing kill Trump, kill me, whatever,
                                 but let me tell you, you call somebody a l¡ar, you call somebody
                                 an idiot, oh, they're going to shut you down. They got their
                                 trendy cEo up there. They got the¡r trendy ... yeah, click on that
                                 for TV v¡ewers. This is how ¡t's happening.

                                  Not¡ce YouTube and Twitter and Facebook are all announcing
                                  the massive censorship launces now. Well, Google, we have the
                                  internal purchase order, millions of dollars to shut down lnfo
                                  Wars, saying Ron Paul's not credible, saying that the Syrian
                                  rebels were caught launching their own chemical attack and
                                  reading a UN report. No, it's that Ron Paul is credible and they
                                  sa¡d,'Due to him opposing a Syrian war, and Jones having on
                                  these guests, we're going to delist him. But we're going to do it
                                  secretly because it's not credible.'And they listed Ron Paul and
                                  that I then played a clip of a congressman, and that ¡t was, that
                                  it was too influential. They said, "He, he plays a congressman
                                  and then he plays Ron Paul and then he, he has a Sy Hurst clip
                                  and it's just not credible."

                                  Because it's admitted that the Syrian rebels launched at least
                                  three chemical attacks. Congress has had hearings on it and
                                  confirmed ¡t. The UN adm¡ts it, be se- because it was so credible

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                                 that I went bam, bam, bam, here's the clips, and said, "We
                                 shouldn't get in a longer war and deep state wanted, that."
                                 Then they shut it down. There it is, Ron Paul, zero chance Asad
                                 behind chemical weapon's attack ¡n Syria, likely a false flag. I
                                 played that clip, I play Cy Hurst and I played a sitting
                                 congressman saying the same thing, and because ¡t had
                                 consensus and because they showed the UN report, and then
                                 we showed the rebels admitting they did it, because it was so
                                 credible, they put out a multimillion dollar contract to delist me
                                 And then guess what? Congress is investigating it and so is the
                                 White House for antitrust, that case.

                                 And you notice now, that contract's been canceled and google
                                 came out a week later and said, "We did that on acc¡dent, we're
                                 canceling that contract." And then they started relisting us.
                                 Well, does Google think I'm dumb? When you've got your little
                                 knighted socialjustice warr¡ors that are given these little
                                 chevrons? They actually g¡ve them little shield symbols and the¡r
                                 email that they're super mods and then they can go ban our
                                 videos. (laughs) I can't wait to depose them. I can't wait to get
                                 the¡r lSPs and drag them into court. You unamerican trash.

                                 You want to shut us up because we are credible. You want to
                                 shut us up because you know we're pulling back the curtain.
                                 Look right here, Trump ends covert CIA program to arm ant¡
                                 Asad rebels in Syria, a move sought by Moscow, the Wash¡ngton
                                 Post. Our pentagon five years ago on record, went to Obama
                                 and said, "We're not going to be part of being their air force."
                                 And said no, and then worked with the Russians to clear out the
                                 bad rebels and now Asad's preparlng to have elections and
                                 leave.

                                 And because our patriot military didn't go along with the deep
                                 state, we stopped a wider war. Now YouTube calls them
                                 YouTube heroes where you gain points go¡ng around shutt¡ng
                                 down free speech and you get d¡rectives, Google owns
                                 YouTube, they hire an outside group that then goes and then
                                 gives the orders to the mods so that Google can claim they
                                 weren't behind it. lt's like hiring somebody to rob your
                                 neighbor's house or I guess kill your wife or something.

                                  So, so, but you didn't do it yourself, you see. And they admit all
                                  this like we're ¡d¡ots. Don't you know people, even though these
                                  are encoded emails are giving us the informat¡on?
                                  Showtips@infowars.com, whistleblowers@infowars.com, if
                                  you're working as part of these groups to do this, send us the
                                  data. This is how we're going to defeat deep state.



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                                  (laughs) Joining us ¡s Jon Rappoport at nomorefakenews.com,
                                  he had that name L5 years ago for his website. He worked for
                                  some of the biggest TV and, uh, networks and news gathering
                                  and news papers as investigat¡ve journalist unt¡l he got de-
                                  disgusted with it over 20 years ago, he's a film maker, author,
                                  artist, you name ¡t, nomorefakenews.com, and he joins us to
                                  break this down. What do you call this moment we've reached?
                                  Because they're coming for us, but every time they do, it causes
                                  a Streisand effect.


  Jon Rappoport:     01:39:17     Yeah, that's exactly what ¡t is. And because more and more
                                  people are waking up, and com¡ng to the defense. You know,
                                  see¡ng what's really happening. They're fading. They keep trying
                                  and trying and try¡ng but you know, these poles that show that
                                  six percent of the people are really interested or concerned
                                  about this whole Russia collusion ¡nsan¡ty story that's being
                                  promoted and so on, all this give them a clue. They're operating
                                  in this gigant¡c echo chamber and hoping to convince people
                                  that because they all tell the same lies to each other, that other
                                  people are interested. Well it turns out that most of the people
                                  don't care.

  Alex Jones:        01:39:59     I have a name   for that. lt's called a circle jerk.

  Jon Rappoport:     01:40:01     Yeah. They don't give a crap about any of this. (laughs) You
                                  know? And so this gets exposed time and time again and the
                                  liars keep on ly¡ng. They can't turn back now. You know, it's like
                                  when you're, you've already jumped off the cliff and now you
                                  say, "Gee I wish I hadn't jumped off the cliff. I don't think that
                                  was such a great idea. ls there any way I can turn around in
                                  space and walk back up to ¡t?" No, you're already falling, So
                                  what are you going to do on the way down? You're just going to
                                  keep screaming the same lies over and over and over again until
                                  you h¡t bottom.

  Alex Jones:        01:40:34     So it's l¡ke Wiley Coyote when he runs out on the edge of a    cliff
                                  and realizes he's already run too far and a second later-

  Jon Rappoport:     01:40:40     Right.

  Alex Jones:        01:40:40     He drops. They've already kind of hit that point, but what do
                                  they have to lose?

  Jon Rappoport:     01:40:43     (laughs) Your guys are really quick here. They're putting it up
                                  and the screen already. Yeah. There is he ¡s off the, uh, too late
                                  Couldn't do it. Couldn't come back. Hovered in midair for a
                                  second.


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  Alex Jones:        OIi40:57      You said three or four years ago with Piers Morgan that it was a
                                   crack in the façade, it pulled back, people got deprogrammed
                                   for a moment, Trump's like a 10,000 t¡mes better than that
                                   moment, they are so panicked, don't they get that even if they
                                   destroy h¡m, Toto already pulled the curtain back?

  Jon Rappoport:     01:41:11      Yeah, they don't, they're hoping that's not true, but ¡t is, you
                                   see, because as I keep saying, time and time again, ¡t's, don't
                                   just think it's Trump. You know, it's everybody. lt's everybody
                                   who wants freedom and demands it, freedom from surveillance,
                                   censorship, oppressive laws, child protect¡ve serv¡ces, medical
                                   cartel, mandates that you have to get vaccinated w¡th poisons. I
                                    mean, you can just stretch out the whole nine yards. lt's
                                   everybody who's sick and t¡red of the government ¡ntrud¡ng on
                                   their l¡ves and causing them pain, suffering and death saying,
                                    "We've had enough. Now we want something positive," Those
                                    people, all of us, we're not going anywhere. Where is there to
                                   go?

  Alex Jones:        01:4L:58      And there's nothing the globalist can do to convince us to go
                                   back with them. lt's over.

  Jon Rappoport:     01:42:03      Yeah. There's no way that you know, they can say, "Well come
                                   back on our side because we didn't really mean that or you
                                   know, we're not as bad as you th¡nk." No, they're worse than
                                   we think and we know that. I mean, we've had them in our
                                   sights for a long time.

  Alex lones:        O'l-:42:.17   How many top Catholics and university heãds are caught
                                   running giant child rape operations?

  Jon Rappoport:     O7:42:23      Yeah, how many do we need before we understand the whole
                                   picture there?

  Alex Jones:        OI:42:26      These are literal devil worshiping pedophiles, folks. That's why
                                   they're into GMO and fluoride and poison and cancer and evil,
                                   because they literally are demon possessed. And I'm, l'm not
                                   kidd¡ng. I mean, it, when you come down to it, these are, these
                                   are just evil people. We'll be back.


                                   Ladies and gentleman, we are back live, l'm your host Alex
                                   Jones, Jon Rappoport's our guest, he's got a bunch of issues he
                                   wants to get into. You know, Bill Clinton ¡nvited Russia to
                                   interfere on a US pres¡dential election publicly. (laughs) Tell
                                   them to have the EU, the Saudi's, the pope, uh, all these foreign
                                   companies saying, "Don't elect Trump." I mean, it's just crazy
                                   that they keep pushing, pushing all of this, but just m¡nutes ago,


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                                 OJ Simpson walked    out of his parole hearing, it's over, uh, and
                                 the word is they're  probably   going to go in, deliberate and then
                                 decide to release him after nine years in prison for stealing back
                                 some of his me- memorabilia in a, in a robbery, and l, I'm not an
                                 OJ Simpson fan, l, I'm just telling you folks that he spends nine
                                 years, Dennis Hastart rapes l¡ttle boys, procures them for the
                                 republican party and others, they cover it up and he gets 13
                                 months in federal pr¡son and then is suing one of the people
                                 that he admittedly raped.

                                 He carried the kids across state lines, reportedly. Uh, but he
                                 wants his money back. So again, what's wrong with th¡s world?
                                 It's not that Simpson's black that he's been persecuted, uh,
                                 compared to Hastert, it's that he's not an elitist. You better
                                 believe if Simpson's crime was rapp¡ng little kids, he probably
                                 never even would have been in prison.

                                  lnstead, his crime is being an average citizen pretty much, uh,
                                  and not being involved in an elite type of criminal operat¡on.
                                  What do you make of all this, Jon Rappoport of No More Fake
                                  News?

  Jon Rappoport:     Ot:44:t9     Well lthink there's ... oh God, where do we start here? I mean,
                                  it's basically about Hastart and all the other pedophiles. They
                                  protect each other. They're in positions of power. They are the
                                  ones who can take a priest from here, uh, let's move him to
                                  Tasmania or you know, the arctic so that he's never prosecuted.
                                  Let's collude with politicians, fellow polit¡cians who are also
                                  involved in the pedophile networks so that the case never goes
                                  to court or some small time bit player gets sent to ja¡l but none
                                  of the elites ever get to jail.

  Alex Jones:        01:44:56     So it's a big club and we a¡n't in it-


  Jon Rappoport:     Ot:44:57     Exactly.


  Alex Jones:        o't].M.57    Why h¡storically in every ancient culture is there a cult that
                                  takes over, whether it's African, meso-america, Europe, Asia, in
                                  certain periods, cults take over, build temples, and then rape
                                  and kill children. You know, in the bible they talk about different
                                  tr¡bes taking virg¡ns and killing them. Well virgins just means
                                  children. Why does this keep, uh, through sociology,
                                  anthropology, psychology, archeology, why does it keep raising
                                  it's ugly head? What's at the bottom of the rabb¡t hole?

   Jon Rappoport:     OL:45:28    You know, you said these people are evil. I don't think you really
                                  have to go much further than that. I mean, you can analyze why


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                                 and so on and you can give lots of reasons, that's easy to do. But
                                 evil people turn out to be evil. That's what they are.

  Alex Jones:       01:45:46     And the more they Bet away with, the more they do.

  Jon Rappoport:    01:45:48     Yeah, of course. And then it piles up. ln other words, whatever
                                 thrill they get out of being evil, it's not enough so they have to
                                 go further. And they have to keep on going. This amount of
                                 control and destruction is not enough. We have to expand it.
                                 And that's where they actually commit suicide. Because it gets
                                 to a point where the people are fed up and have had enough
                                 because they see what's actually going on and we're at that
                                 cross road when we talk about what the globalists are doing.

  Alex Jones         01:46:18    I agree, because you sa¡d they're in their own echo chamber,
                                 they even admit that now. Everyone's even turn¡ng ... I mean it
                                 was like 20 something percent a few months ago thought Russia
                                 was important, now it's six percent ¡n their own Gallup poles,
                                 everyone I know knows it's a totaljoke and, and, and so what
                                 comes next? They're ¡n their echo chamber, they're getting
                                 more extreme, they're going to try to remove Trump, what's
                                 going to happen?

  Jon Rappoport:     01:46:39    Well they're just go¡ng to continue to beat the drum any
                                 possible way they can. l'm sure that they're going to get some
                                 more psychiatr¡sts to try to come forward and say that he's
                                 mental ill and he's incompetent to serve, uh, the reason that
                                 they're not filing impeachment proceedings is because they
                                 know they don't have a chance. So they're looking around
                                 desperately to try to fìnd something and all they can do right
                                 now is to keep on screaming about the Russia story because
                                 they don't really have anything else. And when it's reported that
                                 fewer people are coming across the southern border, for
                                 example, and certain you know, progress is being made along
                                 that front, because with open borders, you just can't vet who's
                                 coming into the country, uh, then there's a whole lot of people
                                 that are very, uh. ha- happy about that. So that makes it even
                                 worse for them. They don't know what to do.

  Alex Jones:        01-:47134   That's right, because, because, eh, they can't kill the economy
                                 quick enough to blame Trump, plus they now know they're
                                 gett¡ng the blame anyways for trying it, but they can't help
                                 themselves, like you sald, they're Wiley Coyote ran over the
                                 edge. When we come back though, Muller has said, "Okay, I
                                 can't find any Russia stuff." He's go¡ng to look at every Trump
                                 associate, every campaign person's finances, total drag net,
                                 total fishing expedition, what does Trump do at th¡s point with
                                 this rogue element, what do we do?

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                                 All r¡ght, we got well over two million subscribers on just one of
                                 our YouTube channels that a fan made f¡ve, s¡x years ago, Dave
                                 Thomas, not of Wendy's, his name's really Dave Thomas. Great
                                 guy, he, he works for us now. From Oregon where he's a
                                 chicken farmer with h¡s family. Who's your daddy. Does he live
                                 in a free country l¡ke me? lt always, during the break, I was
                                 talking to the crew, they're like, uh, we're, uh, they're glad I'm
                                 really considering hav¡ng to sue Google and YouTube and other
                                 people that put in false copyr¡ght cla¡ms because this isn't
                                 Russia during the old Soviet Union, this isn't communist china,
                                 we have free speech in th¡s country. And l'm sick of people with
                                 false copyright claims they never back up once lfile, once I file a
                                 challenge to it, they never put up or shut up and file suit on me.

                                 And then now they claim that I'm harassing Sandy Hook families
                                 because the media said I am and the media said I said go harass
                                 their families. And then they take down our videos where I
                                 actually clarify going back three, four years ago that I simple
                                 questioned because our media lied about dead babies in
                                 incubators and said they got their brains bashed out and so my
                                 l¡steners didn't buy the offic¡al story, so we looked at it and I
                                 said, "l don't know the truth." l'm not ready to say kids didn't
                                 die and point my finger at parents and say they're liars.

                                  lsthere a blue screen when Anderson Cooper's face
                                  disappear¡ng? Are there kids go¡ng ¡n circles in the video shots?
                                  Did they hold back the helicopters? Did they have porta pottys
                                  there ¡n an hour and a half? Did they run it like a big PR
                                  operation? Do they get all these conflicting stories in the
                                  media? Absolutely. And we have a right to question it. ll if they
                                  said there were new babies thrown out of incubators in some
                                  country and we questioned ¡t because they've lied before and it
                                  turned out that they did actually kill babies somewhere, would I
                                  then hate the families that lost their babies? No. l'm
                                  questioning known l¡ars in the media.

                                  But in the 1990 event where they sa¡d hundreds of babies had
                                  their brains bashed out and their skulls kicked in, there were no
                                  babies. There were no ¡ncubators. lt was a red shirt to br¡ng us
                                  into a war and now over a million lraqis have died of starvation,
                                  a half million under the Clinton's intensified sanct¡ons that were
                                  ch ild ren.


                                  But see, we don't human¡ze those lraqi children and we
                                  overthrew a secular government that had swimming pools and
                                  movie theaters and Play Boy sold in the stores. I'm not saying
                                  that's a great th¡ng or a good thing or a bad thing, the point was
                                  it was becoming westernized. The globalists don't want that.

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                                 They destroyed it. And they put radical lslamist in charge. But
                                 see, l'm not supposed to s¡t here and have a big thought like
                                 that. I looked at the five videos that they have said are evil and
                                 bad, and put a strike on us to shut the channel down, zero
                                 hedge discovered anomaly in Alex Jones hit p¡ece. That's what
                                 they're say¡ng we're not allowed to question. So let's play the
                                 censored report with Owen Shroyer analyzing other people's
                                 reports and playing the anomaly and asking the question and
                                 quite frankly, the father sees, he needs to clar¡fy, NBc needs to
                                 clarif, because the coroner said none ofthe parents were
                                 allowed to touch the kids or see the kids and maybe they
                                 meaning at the school, I'm sure later maybe the parents saw
                                 their children. The point is, is that because the media lies so
                                 much, you can't blame the public asking questions and you can't
                                  ban free speech of people that are asking questions and for us
                                 to simply look at the Megyn Kelly public even where someone
                                 sat down and was ¡nterviewed and to politely discuss it. lf you
                                  ban that, you ban free speech in total, very, very dangerous.
                                  Here it is.

  Owen Shroyer:      01:52:01    So folks now, here's another story. You know, I   don't even know
                                  if Alex knows about th¡s to be honest with you. Alex, if you're
                                  listening and you want to, uh, or if you just want to know what's
                                  going on, Zero Hedge has just published a story Megyn Kelly
                                  fails to fact check Sandy Hook, Sandy Hook father's
                                  contradictory claim ¡n Alex Jones' hit piece.

                                  Now again, this, this broke, I think ¡t broke today. ldon't know
                                  what tlme, but featured in Megyn Kelly's expose, Neil Heslin, a
                                  father of one of the v¡ctims, during the interview described
                                  what happened the day of the shoot¡ng and basically what he
                                  sa¡d, the statement he made, fact checkers on this have said
                                  cannot be accurate. He's claiming that he held his son and saw
                                  the bullet hole in his head. That is his cla¡m.

                                  Now, according to a timeline of events and a coroner's
                                  testimony, that is not possible. And so, one must look at Megyn
                                  Kelly and say, "Megyn, lthink it's time for you to expla¡n this
                                  contradict¡on ¡n the narrative because this is only going to fuel
                                  the consp¡racy theory that you're try¡ng to put out, in fact." So,
                                  and here's the thing, too.

                                  You would remember... let me see how long these clips are.
                                  You would remember if you held your dead kid in, in your hands
                                  with a bullet hole. That's not something that you would just
                                  misspeak on. So let's role the clip first, Neil Heslin tell¡ng Megyn
                                  Kelly of his experience with his, with, uh, with his kid.



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  Megyn Kelly:       01:53:52    At Sandy Hook elementary school, one ofthe darkest chapters
                                 in American h¡story, was a hoax.

  Ne¡l Heslin:       01:54:00    I lost my son. I buried my son. I held my son with a bullet hole
                                 through his head.

  Megyn Kelly:       01:54:07    Neil Heslin's son, Jesse, just six years old, was murdered, along
                                 with 19 of his classmates and s¡x adults on December 14, 2012
                                 ¡n Newton, Connect¡cut.

  Neil Heslin        01:54:19    I dropped him off at 9:04 that's when we dropped him off at
                                 school with his book bag. Um, hours later, I was picking him up
                                 in a body bag.

  Owen Shroyer:      01:54:33    Okay, so making a pretty extreme cl- claim that would be a very
                                 thing viv¡d in your memory, holding his dead child. Now here is
                                 an account from the coroner that does not collaborate with that
                                 narrat¡ve.

  Speaker 20:        01:54:49    Uh, we did not br¡ng the bodies and the families ¡nto contact.
                                 We took, uh, pictures of them, um, uh, of their facial features.
                                 You have, uh, uh, it's easier on the families when you do that.
                                 Uh, there is, uh, a time and a place for up close and personal in
                                 the grieving process, but to accomplish th¡s, uh, we felt it would
                                 be best, uh, to do it th¡s way and, uh, you can sort of, uh, you
                                 can control situation, uh, depending on your photographer and I
                                 have very good photographers. Uh, but, uh-

  Speaker 21:        01:55:28     It's gotta be hard not to have been able to actually see her

  Speaker 22:        01:55:34    Well, at first I thought that and I had questioned maybe wanting
                                 to see her.

  Owen Shroyer:      01:55:44    Okay. So just another question that people are now go¡ng to be
                                 asking about Sandy Hook. The conspiracy theorist on the
                                 internet out there that have a lot of questions that are yet to
                                 get answered, I mean, you can say whatever you want about
                                 the event, that's just a fact. So, there's another one. Will there
                                 be a clarification from Hesl¡n or Megyn Kelly? lwouldn't hold
                                 your breath. (laughs) So now they're fueling the conspiracy
                                 theory cla¡ms. Unbelievable. We'll be r¡ght back with more.

  Alex Jones:        01:56:10     All right, now that's the full clip that's been censored on
                                  YouTube that's hateful and evil they say and that we're
                                  harassing people with. lt's nationaltelevision. lt's a piece
                                  attacking me. Okay? That's a clip from a nat¡onal piece televised
                                  everywhere, misrepresented what I said about Sandy Hook. I'm


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                                   not allowed to respond to a report about me that isn't even
                                   accurate and then you've got CNN and MSNBC both with
                                   different groups of parents and the coroner saying we weren't
                                   allowed to see our kids basically ever, what they sound like
                                   they're saying, but we see a father, a grieving father saying that
                                   he dropped him off with a book bag, got him back in a body bag.

                                   And, and, and, you know, regardless, Bloomberg said they don't
                                   let a good crisis go to waste. 5o did the White House Chief of
                                   Staff Robert Manuel at the time. And, and bottom line there
                                   was massive PR around this. This was used to blame the
                                   Amer¡can people to say gun owners were at blame for this and
                                   to, and that we had k¡lled these children.50 that's why America
                                   rejected it and sa¡d ¡t was fake because in total, saying gun
                                   owners are responsible for what somebody on Prozac does is,
                                   is, is not true. lf I kill somebody with a car on purpose, it's not
                                   your fault because you own a car that I did something wrong
                                   with a car. Like, ¡f lstabbed my neighbor with a butcher knife, or
                                   you do, then we're not guilty for, for what another person does.
                                   So we're sick of th¡s.


                                   Do mass shootings happen? Absolutely. Can I prove that New
                                   Haven didn't happen? No. 50 l've said for years, we've had
                                   debates about it, that I don't know, but you can't blame people
                                   for asking. But now, in a national Megyn Kelly NBC headpiece
                                   that another publication, very respected, Zero Hedge, comes
                                   out and breaks, I'm not even allowed to report on a report
                                   about me from NBc and Zero Hedge w¡th my other reporter
                                   who didn't harass anybody. That was a month ago. He said, "l
                                   wouldn't hold my breath looking for a response." We've not
                                   seen a clar¡ficat¡on. I'm the one that called him up after I saw
                                   the show that night and I said, "You know Owen?" And we're
                                   going to go back to our guest, could be that, you know, we need
                                   to get clarifìcation on what went on, and I couldn't ever find
                                   out. The stuff lfound was they never let them see their bodies.
                                   That's kind of what's we¡rd about this, but maybe they did.

                                   So, l, l'm sure it's all real. But for some reason, they don't want
                                   you to see those clips together.

                                   Nomorefakenews.com, he hosted an hour a week, going to be
                                   hosting a lot more soon, lgotta get it set up with him, uh, but,
                                   uh, he's here with us, of course it's Jon Rappoport, Jon what do
                                   you make of this?

  Jon   Ra   ppoport:   01:58:54    (laughslJust, report on the report on the report on the report is
                                    suddenly you know, licenses to take away access, You can't do
                                    that. Absolutely not. Absolutely inappropriate. lnappropriate,

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                                 r¡ght? Because there is an unanswered question. So where does
                                 that leave us? Well, let's say that somebody decides to publish
                                 on YouTube a whole list of the ingredients in vaccines. You
                                 know, here it ¡s from the CDC. And I have a question because if
                                 you'll notice, there's aluminum, aluminum, aluminum,
                                 aluminum, aluminum, and now here is a statement from official
                                 organizat¡on, medical organizations about how neurotoxic
                                 aluminum is that's being injected this way and I'm asking
                                 questions about this. well, that ... let's throw that away, too.
                                 That's no good. We can't have a v¡deo like that. We can't have
                                 that either. I mean, as you say, if they're go¡ng to th- if they're
                                 going to throw out that-

                                PART 4 OF 6 ENDS [02:00:041


  Jon Rappoport:     02:00:00     That either. I mean, as you say. lf they're going to throw, if
                                  they're going to throw out that video by Shroyer, then
                                  everyth¡ng is up for grabs. You can't say anything that wouldn't
                                  be censored if somebody wants to censor it.

  Alex Jones:        02:00:14     Well, I'm not supposed to ask you because of th¡s intimidation.
                                  What do you think about Sandy Hook? I mean, I said it has more
                                  holes in it-

  lon Rappoport:     02:00:14     Yeah. Right.

  Alex Jones:        02:00:19     Than ... I said it has more holes than Sw¡ss cheese. I'm not
                                  personally attacking anybody. Just like, as I said, if a new baby
                                  incubator story came out, lwould question it. lt may come out
                                  that the new attack on babies is real. But am I bad? Am I
                                  attacking individual parents because lquestion the media that
                                  runs hoaxes?


  Jon Rappoport:     02:00:38     And here's the other thing because they have to find their hook
                                  to come after you. You know? You've covered what? ln all the
                                  years you've, you've been in in it for what it is? I don't know.
                                  15,000, 20,000 stories. Okay. So let's find one that we can twist.
                                  Make ¡t incredibly controversial. And make it sound like he's
                                  some sort of an inhuman monster. And now let's push that on
                                  national television. And say, "You see folks. You see what we're
                                  dealing with here. With the so called independent media." I
                                  mean, that's the other aspect of this. wh¡ch ¡s completely
                                  insane. You know?

                                   lf there was anybody rational at any of these networks, they
                                   would sit down with you and they would say, "Well, apparently
                                   you're a very controvers¡al f¡gure. And also apparently you have


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                                 untold millions. I mean, it just keeps getting bigger of listeners.
                                 So what is ¡t that you stand for? Why are you so popular? What
                                 are you saying?" And, you know, a long forum interview. And
                                 then they would bring in and say, "Well, here's a story you
                                 covered. And this is what you said."

  Alex Jones:        02:01:50    Listen I told them I thought the kids probably did die and that
                                 we were simply quest¡oning because the babies in the
                                 incubators, they wouldn't put it. They won't let me even say
                                 that-

  Jon Rappoport:     02:01:50    That's r¡ght.

  Alex Jones:        02:01:59    That, that, that they've tw¡sted it and l, because they want to
                                 take off what I really said. And then say false things about me so
                                  I   can't respond.

  Jon Rappoport:     02:O2:06    Exactly. So ¡f you say, "Well, lel's compare the Sandy Hook thing
                                 to the incubator baby thing." They're not even go¡ng to put that
                                 on telev¡s¡on. They don't want to hear that. They don't want to
                                 say, "Well, gee. He does have an analogy. No. No. We don't
                                 want to even consider that because people are go¡ng to realize
                                 hey. Well. Yeah. That was a totally fake story about how the, the
                                 war ¡n lraq was, uh, promoted and launched. So he has a right
                                 to question what happened at Sandy Hook or what happened
                                 anywhere about anything." I mean, come on. What's, what's the
                                 story here? You ask a question. You ask a number of questions.
                                 And all of a sudden you're censored for that.

                                  These people want you to get down on your hands and knees
                                  and pray to ABC, NBC, CBS, CNN. Etc. Etc. That's what they
                                  want. Just like Chris Como says on CNN, ¡n what has to be for
                                  me one of the most ¡nsane things ever uttered by anybody.
                                  "You the public don't have a right to look at these leaked emails.
                                  Only we the media can. And then we tell you what to think and
                                  then you accept it."

  Alex Jones:        02:03:18     (laughs). He actually sa¡d it just l¡ke that.

  Jon Rappoport:     02:03:20     Right. And people, you know? The, people all over the world.
                                  Like if I was walking through an airport where they have these
                                  contracts from cNN and I heard that, l'd say, "Forget about my
                                  flight. I'm dropping my bags. I got to watch th¡s idiot. Th¡s ¡s
                                  unbelievable." Right? You know? Where does this guy come
                                  from?




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  Alex Jones:           02:03:37   He goes further. He goes, "You're not allowed to. lt's illegal. No.
                                   No. We're allowed to and then you get it from us." I mean, he
                                   actually the most, when I saw that clip fìrst the day it happened,
                                   I thought it was a joke. And we went back and found the full
                                   context.

  Jon Rappoport:        02:03:50   (laughs).


  Alex Jones:           02:03:50   I mean he really   talked to them like they're three year olds.

  Jon   Ra   ppoport:   02:03:53   Yeah. He really means that. You say well, this is a guy that, you
                                   know? Megan. Hello. lnterview Chris Como. Okay? Find out
                                   what makes this incredible moron t¡ck. You know? I mean,
                                   where did you come up with this idea? We the med¡a will tell
                                   you what it means. Otherwise you have no access to ¡t. I mean,
                                   where did, where was he hatched? How did he come in to being
                                   as some sort of reporter? I mean, do they iust, I know his name
                                   ¡s Como so he's from the political famlly. Right? But I mean, they
                                   just grab them off the street and say, "You're our anchor."
                                   When you say something like that? I mean, there we see what
                                   the media is actually thinking about themselves.

  Alex Jones:           OZ:O4t40   Exactly. I want to go to some phone calls. l'm going to sk¡p this
                                   break so we have some more time with John Rappaport. But
                                   just briefly, Pooty Pie has like 15 plus billion views on one
                                   channel. And a couple billion on another. And other channels. I
                                    mean, it, it's, ¡t's 18 billion views. And it's bigger than all comedy
                                   channels, entertainment stufftogether. And he never was
                                    political. I'd only seen some of it. But they hate the fact that his
                                    main demograph¡c is about 18 and younger. But I've seen h¡s
                                    stuff. lt's pretty funny, Even when he makes fun of me.

                                    Uh. Regardless in the, in the, in the, ¡n the marketplace of ideas,
                                    he's winning. They beg¡n to call him racist, Hitler, say shut h¡m
                                    down. Because the big executives are jealous. The Zucker's of
                                    the world. That he has something they don't have. He has the
                                    real star appeal. They've all failed. Nothing they force feed
                                    works. So I've talked to a lot of these folks. Not Pooty P¡e. But
                                    others. All these big channels. lncluding a lot of big kind of main
                                    line, uh, liberal channels that are ¡ndependent. They're getting
                                    targeted and shut down. And it's a bullying. And then YouTube
                                    comes along behind the scenes and says, "Work with us Start
                                    doing a few th¡ngs we want. We'll fully monetize you and help
                                    you." So it's muscling. Stop saying that Pootie Pie and others.

                                    They're scared of you because they saw you putting down our
                                    stuff at Watson's. They know you could turn around and
                                    somebody like you could be a thousand times more successful

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                                 than even myself or Donald Trump. They don't know who the
                                 Pootie Pie is that's just kind of doing their own thing. Whose,
                                 who then clicks because there's this algo rhythm awaken¡ng. So
                                 Pootie Pie needs to know they're always going to envy you and
                                 try to shut you down. The answer is really take your destiny in
                                 your hands. Don't just be super popular and have all the super
                                 hot girlfriends. And make 30 million dollars a year. Or whatever.
                                 Really change the destiny ofthe world. And, and, and if it's not
                                 going to be Pootie Pie, it's going to be somebody else. Because I
                                 turned down 10 mill¡on dollars a year. 16, 17 years ago. Sounds
                                 like a lot of money. lt's noth¡ng. Money means noth¡ng once you
                                 get self sufficient.

                                 They use it to control you. To always feel like you're going to
                                 arrive someday if you were just with them. Now it's not saying
                                 money is bad to have. lt's just that it is not your God. They try to
                                 keep money limited. Resources l¡mited so they can be the
                                 gatekeeper between that, Right now though oJ's verdict is
                                 coming in. Dennis Hastert goes free after 13 months. We'll see
                                 if, uh, OJ does for, uh, robbery. Uh. Already serving nine years.
                                 Let's go to that feed live.

  Speaker 23:        O2:O7 tLO   And I concur with commissioner Corda. And grant parole. And
                                 in add¡tion, our decision, although difficult, is fair and just.

  Speaker 24:        O2:O7:22     Iconcur with the Commissioner, uh, Corda and agree to grant
                                  parole.

  Speaker 23         OZiOT:29     Um. M¡ster Simpson. Before I cast my vote. Um. I want to let
                                  you know that we believe that we're a fa¡r board. We believe
                                  that we're a consistent board. Um. I will let you know that that
                                  consistency also goes to parole. And, um, we do not look kindly
                                  upon parole violations. Um. And if I cast my vote to grant and it,
                                  and it concludes the hearing, uh, our expectation would be that
                                  you not violate even the simplest cond¡tion of parole. Having
                                  said that, um, I am prepared to cast the vote. I am prepared to
                                  ask the commiss¡oners to set cond¡t¡ons. Um. lf, if that happens,
                                  um, we will produce an order sometime in the next 15 to 20
                                  minutes that will be faxed to you or presented to you at the
                                  inst¡tut¡on. And ¡t will become a public record. So based on all of
                                  that, um, M¡ster simpson I do vote to grant parole when
                                  eligible. And that will conclude this hearing.

  OJ Simpson:        02:08:37     Thank you.

  Alex Jones:        02:08:37     You know? Simpson looked arrogant and somewhat corrupt
                                  before. But after nine years in pr¡son, he looks very genuine
                                  Very contrite. And he looks very, like he has a lot of, I never

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                                 studied his genetic background. But I think he has a lot of native
                                 american in him or something. Because he looks, uh, a lot of
                                 native amer¡can now that he's lost a lot of weight. Uh. But, uh,
                                 but there you go. Nine years ¡n prison for robbing back some of
                                 his own memorabilia. I'm not defending what he did. But there
                                 was a dispute. Um. And then l've never done it myself. But
                                 sometimes in business you get a little bit mad. People screw you
                                 over. And I'm not saying that's what happened there. The wife
                                 thing. All that, Both sides. They tried to set him up. He probably
                                 did it. lt's just a mess.

                                 Cr¡me of passion. Yeah. I mean, bas¡cally cut their heads off. Or I
                                 mean he was found civilly guilty. The point is it's hard to hate
                                 him when these globalists are committing all these crimes. John
                                 McCa¡n's fund¡ng Al Qaeda and lSlS. They're murdering
                                 Christ¡ans by the hundreds of thousands. And then all these
                                 pedophiles are going free. Um. We haven't scr¡pted this. We're
                                 live. We're going to go to your phone calls. Shawn, Josh,
                                 Andrew, Dust¡n, and others. But what is your v¡ew John
                                 Rappaport?

  Jon Rappoport:     02:09:45    You know ljust thought what would happen if he put up a
                                 YouTube video with Hastert being released. Next to OJ. See
                                 maybe that would be censored too. Oh. Oh. Oh. Oh. We don't
                                 want any comparisons of this. No. No. Just side by side. The last
                                 two minutes of this from Simpson. And Hastert pedophile, he
                                 gets off. Let's present that. Let's show, you know? What do you
                                 th¡nk of th¡s folks? You thlnk this sounds fair? Does th¡s sound
                                 equitable? Does this sound like the justice system is actually
                                 working? When this guy serves nine years and this guy serves,
                                 what? 13 months? Really. Unbelievable.

  Alex Jones:        O2:\O:27     Well, I know if you look at Simpson, you can't fake that. He
                                  looked real humanity, really upset. Really wanting to get out.   I

                                  mean, you, you can't hide that. That was real. And then you
                                  look at somebody like, like, uh, you know? Mister blue eyes
                                  over there. At, at the republican party. Paul Ryan. He just
                                  rad¡ates I'm a psychopath.

  Jon Rappoport:     O2:!O:44     (laughs). Yeah

  Alex Jones:        OZ.tO:47     We're going to go to break here in a moment and take a few
                                  calls. John Rappaport. No more fake news dot com. Before we
                                  go any further, ladies and gentlemen, we need your financial
                                  support. They're trying to shut us down. I want to expand. Not
                                  just stay the same s¡ze. Because we're go¡ng to expand or be
                                  destroyed. lt, it, there is no staying the same size. We need you
                                  to go to infowarstore.com. Where we have amazing [inaudible

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                                 O2:tt:O41. Free shipping for another 10 days or so, And a bunch
                                 of the stuff. Like super male, which is this great concentrated
                                 herbs. The X2. The amazing good, uh, halogen. Uh the deep
                                 Earth clean iodine. Not the garbage ¡odine that you get in the
                                 store. You know? Probably eat holes in your belly.
                                 lnfowarslive.com has ¡t all but it a lot of the specials got to end
                                 today. Just like brain force had to end a few days ago because
                                 it's about to sell out.

                                 I'll have some new specials tomorrow. But these are our best
                                 sellers. They're still no sale right now ¡nfowarsl¡ve.com. Or tr¡ple
                                 8-2-5-3-3-1-3-9, But that's how we fund ourselves. Over 75
                                 percent of the funding is you buy¡ng products. cNN is fake
                                 news. On the back, infowars is real news. Great shirt to meet
                                 like minded people, to spread the word, to stand up for free
                                 speech. Caveman is back in stock. [inaudible 02:11:52]. Knock
                                 out the fungus and stuff in your gut. [inaudible 02:11:55] the
                                 prob¡otic. lt's back. Now we've got our new super h¡gh quality
                                 whey. That I haven't even had time to get into yet today. lt's our
                                 new product launch today. Haven't even launched it because so
                                 much is happening.

                                 So  we'll take your phone calls coming up. lapprec¡ate you
                                 holding. We don't get to everybody, I'm go¡ng to send
                                 everybody a keg of this, uh, new premium whey prolein. lt's
                                 from one of the biggest high quality manufacturers. Hormone
                                 free, grass fed, uh, cows would produce the milk. True whey,
                                 uh, protein. Super high qual¡ty. lnfowarslive.com. Or triple 8-2-
                                 5-3-3-1-3-9. No reviews yet because it just came out today. But
                                 we have tens of thousands of reviews by th¡rd party site power
                                 reviews and others. on average four polnt eight stars. No one
                                 else that we've seen has ¡t. lnfowarslive.com.
                                  lnfowardsstore.com is the umbrella site.

                                  But even if you can't buy the product from us to help support
                                  the broadcast, just spread the link. Spread the articles. Spread
                                  the videos because we are fight¡ng everyday to simply stay here
                                  and keep putting the truth out. And we'll change the world
                                  because of your support. Hour number four. W¡th your calls.
                                  Anthony Cumia. The conclusion of no more fake news dot com
                                  w¡th John Rappaport. Stay with us.

                                  Alright look. I hogged the airtime. lgave the number out 30
                                  m¡nutes âgo. I haven't gone to your calls. I apologlze. lt's
                                  Rappoport is our guest. Let's talk to Shawn in New York then
                                  Josh in other. Shawn, you're on the air. Shawn? We're go¡ng to
                                  let you go. Let's go to Josh in Colorado. Josh, you're on the air.


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  Bob Barr:          02:13:28    Hey guys. Uh. Long time l¡stener. Um. ljust wanted to talk to
                                 you about future technology. Um. l'm an independent
                                 researcher. I led an energy movement. And l, I'm seeing
                                 something that's coming. Um. There's a break away civilization.
                                 And they have revolutionary energy technologies. They're going
                                 to build three printed robots. They're engineering robots into
                                 bio mechanical with dogs. I had to leave the movement because
                                 of the weird stuff I was starting to hear. There is something
                                 really strange going on in this world. And-

  Alex Jones:        OZ:t4iOZ    Yeah. I know. They got computers that predict the future, I
                                 mean they've got computers that pred¡ct the future. Then you
                                 can control the future. They've had linaudible 02:14:09] for 30
                                 plus years they admit. And, and now they're adm¡tting it all but,
                                 but not showing ¡t so that's the big question. Have we already
                                 reached the Atlantean moment? Whatever they've discovered
                                 they're on such power trips. They act like we just don't even
                                 exist anymore. Then there's Trump in the middle of it try¡ng to
                                 rally billions of people against it. Uh.

                                  Rappaport what do you th¡nk is going on?

  Jon Rappoport:     O2:I4:32    They have tremendously advanced art¡fic¡al ¡ntelligence in terms
                                 of systems. Because that's what they're trying to do to the
                                 planet. Here we've got these systems and we're going to impose
                                 them on you. You are the l¡ttle units that we put in to the slots
                                 of our systems. So naturally when you have that viewpoint and
                                 that's what you want to make the world into. One gigant¡c
                                 machine. Then you're going to use artificial intelligence and
                                 robots and androids and everything automatic that you can get
                                 your hands on.

  Alex Jones:        02:15:04     And I said they're using the artif¡cial replacement of us to make
                                  us obsolete as a way to dictate the terms of our surrender to
                                  the technocracy. This has been designed to make us obsolete.
                                  To dictate what's left of the middle class. Accepting the
                                  exterminat¡on and phase out of the general public. And that's
                                  the admitted plan. Josh?

  Bob Barr:          O2:t5:24     Well, it's, it's be¡ng shown in Hollywood if you have the eyes to
                                  see what the new energy technologies are going to be. And how
                                  actual natural energy works. They, uh, they've actually really
                                  engineered it. They don't want anybody that's done it
                                  independently to be funded. They're funding their own people
                                  to come up through this system. And they're go¡ng to put the
                                  information out that the, the way they want it to-



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  Alex Jones            02115t47    Sure. I mean, that's what they do. They always have quote, you
                                    know, the billionaire guy. The Bill Gates. The whatever. The
                                    Zuckerberg. That pops up. That's been partially declassified as
                                    the free market front so people don't even understand what's
                                    happening. lt's all Trojan horsed.

  Bob Barr:             02:16:00    They can actually synthetically create most elements nowadays
                                    w¡th nano technology and nano super [crosstalk 02:16:071.

  Alex Jones:           02:76tO7    Well, when I was a kid, in, in, in third grade they talked about
                                    those big machines they've got that create the new elements.       I

                                    mean, alchemy is now real. You want to comment on that
                                    Rappaport?

  Jon Rappoport:        02:16:16    Yeah. You can go all they way back to lG carbon. The infamous
                                    Naz¡ cartel of the 1930's. That was their whole program. To be
                                    able to synthesize, you know? They were talking about oil and
                                    rubber and so forth. But basically these guys that they had over
                                    there wanted to synthes¡ze anything from anything else. That
                                    was their plan. That was their program. That's the whole idea is
                                    the synthes¡ze existence basically.

  Alex Jones:           O7:t6:43    We're seen as like an infestation of weavles or something that's
                                    eating their resources. But then they've trained us to be like the
                                    weavles. So that, so that we follow that form. And I'm just like,
                                    whoa. This is uncool.

  Jon   Ra   ppoport:   02:76:.54   Yeah. Who wants that? We want individuals who are free,
                                    strong, alert, creat¡ve, independent.

  Alex Jones:           O2:L7:Ot    Hey Josh. Give us your name and number. lf you want to give us
                                    documentation because I want to start talklng to more deep
                                    tech people not just deep state. Because deep tech ¡s the
                                    bottom of deep state. So if you want to give us your info I'd like
                                    to see documentation and have you on. I mean, hell. They tried
                                    to hire my dad to build cyborg's in the 80's. lt wasn't even that
                                    special. They were trying to hire all the top oral surgeons that
                                    were doing implants at the t¡me because that was new. Uh. Am-
                                    , amazing John Rappaport. Thank you so much my friend. We'll
                                    talk to you soon.

  Jon Rappoport:        Oz:U:26     Thank you Alex.

  Alex Jones:           O2:L7:27    Powerful always to have him on bantering back and forth. I'm
                                    going to introduce Anthony Cum¡a. Of the Anthony Cumia show
                                    on Twittercompoundmedia.com. You know? He had big popular
                                    linaudible 02:17:431 synd¡cated radio. And got kicked off that.


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                                 And then of course he, uh, hosted the Opie and Anthony show
                                 and he critic¡zed Black Lives Matter. Killing cops literally. And he
                                 was fired off of that. So now he's got his own compound media
                                 w¡th a lot of other hosts that's very, very popular and successful
                                 but the reason I ra¡se that is YouTube, for us showing Megan
                                 Kelly interviewing one of the fathers of a Sa ndy Hook victim
                                 saying he held his son after he was shot. Then we show CNN
                                 and MSNBC saying the coroners didn't let people get to the¡r
                                 kids. And we said, "That's why people question."

                                 We're not even questioning that kids died. That's been
                                 questioned. Our listeners question it. We're s¡mply saying this is
                                 why people question it. Showing a zero edge story. That's been
                                 removed. And they said they're looking at banning us on
                                 YouTube. That story is up on infowars.com. lf they do that to us,
                                 they can do it to anybody. So we've got to stand up against th¡s,
                                 And we've got to understand they're doing this because we're
                                 destroying them because of their own lies.

                                 Six percent of Americans in a big gallop poll think Russia's a big
                                 story but th¡s global¡st that took radical lslam off of the FBI's list
                                 when they're ¡nvest¡gat¡ng a mosque or Al Qaeda or lSlS. They
                                 can't even say they're investigating an lslamic group. Mueller
                                 who covered for the Clintons, All of it. Bush. All of it. Saudl role
                                 9-11. All of ¡t. He now has expanded ¡t to all of Trump's
                                 associates. All h¡s businesses. All of his buildings to see quote if
                                 they rent any condos or sold stuff to Russians. Or campaign
                                 money. Or just money laundering period. Which they could call
                                  bouncing a check.

                                 So it's gone from witch hunt to the greatest f¡sh¡ng expedition
                                 that history has ever seen. And our pentagon five years ago
                                 came to Obama when we first broke this. They said we're not
                                 going to be Al Qaeda's air force. This is lSlS. And Trump comes in
                                 and he's like we're going to defeat lSlS, which he said he'd do in
                                 2016. Now six months in, it's basically in two cities. 95 percent
                                 defeated. Trump ends covert CIA program that was Obama and
                                 McCain funding these cribs to arm anti Assad rebels in Syria. A
                                 move sought by Moscow. And of course they said that at the
                                 G20 event two days of dinners and lunches, that G20 sat
                                 Melania next to Putin. And then Trump came over and talked to
                                 h¡m ¡n front of world leaders with a Japanese, uh, interpreter
                                 that could speak Russian and English. And asked a few
                                 questions. And, and, you know? Talked to him. And they're
                                 calling that a secret Russian meeting.

                                  That's what you do at diplomatic d¡nners. And so now the new
                                  talking point from Howard Stern, heaven love him. Not a bad

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                                 guy. Been on h¡s show. Whatever. To CNN and NBC is you don't
                                 talk to Russ¡ans. lf you talk to a Russian, close quote. That's the
                                 talking points. All over the news. You're a Russian agent. So this
                                 ¡s the, meant to paralyze Trump. Anthony I want you to take
                                 over and host this hour. lt's why you're here. [inaudible
                                 02:20:541 media dot com. But it's not working. But they don't
                                 care. They're just going to continue to move forward to try to
                                 impeach the president. And I agree with him.

                                 Sess¡ons, you know, shouldn't have recused himself. And
                                 Sess¡ons has been a good guy on many fronts. But I mean where
                                 are his juevos? Why aren't we seeing special prosecutors or
                                 ind¡ctments of the Clintons when they got money from Russ¡a? I
                                 mean, I've got an article right here. Bill Clinton, remember back
                                 when he called for Russia to interfere in our elections? l, I mean
                                 these, everyth¡ng they say Trump's done, they've done. And l'm
                                 sick of putting up w¡th them and almost no one supports him.
                                 You know?

                                 It came out that the bots, the computers, the Google algo
                                 rhythms knew thal Trump was going to w¡n. He was 15 points
                                 ahead. H¡llary tried to steal it but failed, And now they're saying,
                                 "Oh he's only, you know, 55 po¡nts of 50. Or 47 points in the
                                 polls." You know it's 60, 65. ln fact the corporate bots show he's
                                  at about 60.

                                 They have put a dent on him with some people. But ¡t doesn't
                                 matter. I mean, this is so ep¡c, what do you expect him to do
                                 now? And l'm turning it over to you. Go ahead my friend.

  Owen Shroyer:      02:2I:56     I'm stunned that anybody st¡ll looks at what is main stream
                                  media traditional news. Wh¡ch, uh, by the way is
                                  newsertainment. Uh. That anybody believes this is news
                                  anymore. What, what has to happen before everybody in this
                                  country says, "We are being so bamboozled by mainstream
                                  media that I w¡ll not accept one th¡ng." lf I saw something
                                  transpire in front of me that is, uh, classified as news. And then
                                  saw an accurate depiction of it on mainstream media, I still
                                  wouldn't believe ¡t. We need people to realize at th¡s po¡nt that
                                  they are feed¡ng you. They are feeding you an agenda driven
                                  menu.

  Alex lones:        02:27'.47    Well, they sa¡d the sky was blue. I would go out and look at it
                                  for myself.

  Owen Shroyer:      02'22:45     I sta-, and   if lsaw it was blue, lstill wouldn't believe it.



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  Alex Jones:        02:22i48     (la ughs).


  Owen Shroyer:      02:22i49    They're prov¡ng themselves on a daily basis that they are, uh,
                                 fake news.

  Alex Jones:        02:22:55     So where do they go now? Because I really want to know your
                                  opinion on this. l, ljust, where do they go now that's six percent
                                  believe their BS?

  Owen Shroyer:      02:23:00     Uh. Uh. I honestly think people need to go to alternative
                                  sources for, for the¡r news. And, and are we supposed to believe
                                  the polls? Are we supposed to believe the news after they were
                                  proven, uh, l¡ars over the course of the ent¡re campaign and
                                  election? Now we're supposed to believe that that Trump is 50
                                  percent or under 50 percent? Or 30 percent I hear in certain,
                                  uh, circles? And, and we're supposed to go, "Oh. Oh yeah.
                                  Su re.   "

                                  When, when will we all realize that th¡s   ¡s a TV show?   All news
                                  shows are a TV show.

  Alex lones         02:23:37     It's the Truman Show.

  Owen Shroyer:      02:23:38     Just like Game of Thrones. And everything else you enjoy to
                                  watch. They're making money. Putting on a program. And that
                                  program is driven by what more people w¡ll watch. Has nothing
                                  to do w¡th fact anymore. Noth¡ng.

  Alex Jones:        OZi23:57     I agree. Butit's also what the corporations own¡ng that media
                                  want because sure. Some of it's for rat¡ngs but, and that's come
                                  out in the memos. You're right. But ¡t's also about what will get
                                  them ratings that the boss's are author¡zing? Kind ofthose two
                                  points go together. Because I mean imagine. Uh. True
                                  information is super popular. Or people w¡ll at least trying to tell
                                  the truth. So I think what really handicaps them is they're trying
                                  to get ratings with a few things they're allowed to do.

  Owen Shroyer:      OZi2421-6    Yeah. Well, when you see something l¡ke, uh, what? Kate, Kat¡e
                                  Couric is saying fake news is ripp¡ng apart, uh, Amer¡ca at the
                                  seams. She's part of it. How, how, they're try¡ng to-

  Alex Jones:        OZi24:29     They had an MSNBC piece a month ago-

  Owen Shroyer:      02:24:32     Take all the¡r personal¡ties because they know-

  Alex Jones:        02:24:33     They had, uh, and I'm leaving because ijust can't stop listen¡ng
                                  to you. But ljust got to make this point, A month ago they had


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                                 Brian W¡ll¡ams w¡th a report on fake news on MSNBC. This is the
                                 king of fake. lt's like having H¡tler running a holocaust museum.
                                 I'm sorry. Go ahead and take over Anthony.

  Owen Shroyer:     O2:24:49     (laughs). Absolutely Alex. lt's insanity. The hypocrisy. The, the
                                 blatant ¡nsult to the American people that they do certain th¡ngs
                                 to say look how stupld you are. That you're actually buying th¡s.
                                 And we keep pumping out this garbage. And, and you will buy L
                                 Uh. lts ¡nsulting. lt's, it's blatant, uh, dishonesty to the American
                                 people. Yet so many still eat it up. Uh. And, and, and it, like I
                                 said, Katie Couric saying that fake news is ripping, uh, America
                                 apart at the seams. Katie Couric was the one, uh, doing, uh, a
                                 special on guns in this country. That edited, uh, and took a, uh,
                                 comment uh from a panelist that was, uh, in the documentary
                                 completely out of context. To change. Absolutely change what
                                 the person was saying.

                                 That is fake news. And now she's saying that ¡t's ripping Amer¡ca
                                 apart? Their only defense ¡s to go out there and try to make the
                                 people believe they're the ones that aren't fake news. And
                                 people like Alex. And myself. And, uh, Gavin McGinnis and all
                                 the other people that are presenting facts to you and allowing
                                 you to vo¡ce your opin¡ons on them are the fake news. And
                                 we're the dangerous ones. We're dangerous to them, I agree
                                 with that. We're dangerous to them. But how ¡s it dangerous to
                                 ¡nform the American people. Give them the absolute facts and
                                 then let them build their own opinions on it. When you watch
                                 mainstream media these days, you don't get the news. You get
                                  people's, uh, uh, interpretation based on the company that
                                 owns that, uh, news organization. Uh. And what their agenda ¡s.

                                  That's what you're getting. And, uh, believe me it is a far cry
                                  from the facts when it finally, uh, reaches, uh, the Amerlcan
                                  people. Uh. And l'm talking about everything. Look, I appear on
                                  Fox News. Uh. On, uh, various programs over there. But I am
                                  not, uh, one of these people that take everything that goes on
                                  over there as gospel either. They have their agenda. Just like
                                  CNN and MSNBC and all of them. We really need to separate
                                  ourselves from ma¡nstream media. And, and look elsewhere for,
                                  uh, uh, the facts of a story. lt's not easy. lt's not easy to find, uh,
                                  factual ¡nformation on a lot of stories.

                                  But look. That's part of it. lt's very easy to sit down and watch
                                  some of these shows and see these, uh, uh, beautiful, beautiful
                                  stunning talking heads. Uh. Blathering on. Uh. Uh. About uh
                                  what, what they, uh, are feeding you as news. Uh. But you're
                                  not getting the full story. Uh. Donald Trump's presidency has
                                  been, uh, the campaign and the presidency has been just an

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                                 amazing example ol uh, the mainstream media saying, "Well,
                                 throw it all out the window. We don't care about cred,
                                 credibility anymore. What we care about is our agenda. And
                                 putting it across."

                                 So when years ago there was this plausible deniability   that
                                 there was some type of journalistic integrity. Uh. Now it's
                                 completely Bone. There is no. I can't imagine anyone with any
                                 sense or brains in their head actually believing that it's the
                                 news. 50 what you get. Yes. Absolutely. The greatest witch hunt
                                 in American political history. We, uh, listen to people. Um. That
                                 have, that have absorbed what mainstream media is feeding
                                 them on, uh, Trump, the election, what he's done since he's
                                 been elected. H¡s accomplishments. He Russia thing. And people
                                 actually believe this speculation and innuendo, and outright lies.
                                 They believe it as fact. They go on social media. lt spreads it's
                                 tentacles. And, uh, it becomes the new truth.

                                 And, and people w¡ll argue and debate you based on absolute
                                 lies. And you try to, uh, uh, inform them. Uh. Because you've
                                 done your research. And, and, uh, they don't want to believe it
                                 because they've been infected, infected by mainstream media
                                 and the, the crap that they're spreading around as, uh, as real
                                 news. Uh. Back in a couple ol uh, seconds. Don't go anywhere.
                                 Anthony Cumia for infowars.

                                 Thank you. Hey summer specials ending soon. Super male
                                 vitality and survival shield. X2 specials ending today. Quantities
                                 are running low. So act now to save 30 percent off each
                                 product. Caveman ¡s back at 25 percent off. Secret 12 is back.25
                                 percent off. DNA force is back at 20 percent off. Get, uh, health
                                 support pack micro, m¡cro, uh, uh, ZX and biome defense 50.
                                 That's 30 percent off. Liv¡ng defense. 20 percent off. Pro pure
                                 G2.0 traveler ¡s 30 percent off Z shield 30 percent off. [inaudible
                                 02:29:551 select stor able food 30 to 40 percent off. Plus free
                                 shipp¡ng store wide. Many of these products are going to sell
                                 out soon so now is the t-

                                PART 5 OF 6 ENDS [02:30:04]


  Owen Shroyer:      02:30:00     ...store-wide. Many of these products are gonna sell out soon,
                                  so now is the time to secure your order at infowarsstore.com.


  Owen Shroyer:      02:30:10     Hello, people. How you doing? Um, man, il il if, if you need any
                                  proof that, uh, the media will do anything to make Donald
                                  Trump look bad, um you're out of your mind. lt's, it's all out
                                  there. We see it. Uh, this is no longer, um, uh, uh, a fact finding.
                                  Th¡s ¡s a, l¡ke they said, a witch hunt, a fish¡ng expedition, um,

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                                 but something a little more light, something lighter transpired
                                 last week when Trump complimented Emanuel, uh, Macron, uh,
                                 complimented his wife, the, um, of course, uh, French
                                 Pres¡dent, Emanuel Macron. Uh, they were together, over there
                                 in uh, in uh, France. And Donald Trump told uh, his wife, uh,
                                 told Macron's wife, "Hey, you look good! You're in good shape.
                                 Beautiful."

                                 And the media loses ¡ts mind. Loses ¡ts mind, saying that th¡s
                                 was terrible, this was uh, inappropriate, my god, sexist,
                                 misogynistic, blah, blah, blah. Um, get this, get this, it's 2017, I
                                 bel¡eve, right? Yeah,2Ol7 , Compllment¡ng a woman ¡s now just
                                 completely off l¡mits. what, does, does it take a lot to really
                                 think this through and see how insane this has gotten? And,
                                 and, and, and try your hardest to reverse this? I do believe ...
                                 now I haven't done much research on this, but ldo believe men
                                 have been complimenting women for millennia. I honestly
                                 believe ... now you could, you could uh, argue why. You could
                                 argue, hey is the guy, uh, complimenting the woman uh,
                                 because she's uh, beautiful? That he apprec¡ates this? ls he
                                 trying uh, does he has some nefarious uh, ideas perhaps? He's
                                 trying to uh, go out with her or someth¡ng?

                                 That's up for debate. But the, the, what isn't up for debate is
                                 that for the existence of man and women, men have been
                                 complimenting women, I'm sure it happened in a cave
                                 somewhere, "oh dear, you look wonderful. That pelt, that pelt
                                 is marvelous on you." Uh, but, but here ¡n 2017 we've reached
                                 an insane crescendo of, of political correctness garbage that a
                                 world leader can no longer compliment the uh, beauty of
                                 another world's, lea- worl- world leader's wife. Uh, so the media
                                 lost ¡ts mlnd.

                                  When, when are we all gonna see this? l, look, I'm no amazing
                                  visionary here. l, I don't believe I'm seeing things long before,
                                  uh, the rest of humanity. So when I see something like this, and
                                  see the level of madness that we've reached, uh, not only in this
                                  country but in the, in the whole world, uh, l, l, lwonder how
                                  many people are also seeing this and what we are gonna do to
                                  combat it. Because th¡s ¡s, if this was just one instance, uh, you
                                  know, it would be a funny laugh and you'd blow it off and be
                                  like, okay. But th¡s is a symptom of a disease that is going on in,
                                  in uh, th¡s country and, and the world, of politicalcorrectness
                                  run amok, fake news, and this, uh, uh, crucifixion of our
                                  president, Donald Trump.

                                  Uh, you know when they get to the level of "Donald Trump
                                  complimented a woman and that's a problem," that they really

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                                 have run out of things to uh, to say about him. Uh, you know,
                                 they're still going with the Russia thing, which we'll get into in,
                                 in a moment. I love how Trump is handling that. Um, I don't like
                                 how he's handling some other th¡ngs, we'll also uh, get into
                                 that. I uh, I enjoy the, the uh, dressing down he's giv¡ng
                                 Sessions, I like that whole thing. But uh, if you can't compliment
                                 a woman in 2017, we're done. We're done as a race of, of, uh,
                                 people and humans. Be back in a second, don't go anywhere.
                                 Anthony Cumia in for lnfoWars.com.

  Owen Shroyer:      OZi34:46    Welcome back.

  Owen Shroyer:      02:34:.49   Bad bad thing. Welcome back, uh, Anthony Cumia,
                                 lnfowars.com, uh, lwanna talk about um, Trump blasting Jeff
                                 Sess¡ons, Attorney General uh, Jeff Sess¡ons. Uh, Trump sa¡d if
                                 he knew Jeff Sessions was gonna recuse himself from this Russia
                                 investigation, he wouldn't have hired him. And again, ah I
                                 They're losing their minds in the media, losing their minds, Uh,
                                 isn't it refreshing to have, uh, an honest politic¡an at the helm in
                                 the presidency? lsn't it refreshing? Uh, the media would have
                                 you believe this is one of the uh, biggest liars that's ever held
                                 office, uh, Donald Trump. I see h¡m as one of the most honest
                                 people ever to hold the off¡ce, because he will say, "Look, this
                                 Jeff Sessions, if I knew he wasn't gonna be uh, loyal and uh, he
                                 was gonna recuse himself, I never would've hired him."

                                 And a lot of people would th¡nk, "Wow, maybe you should've
                                 kept that under wraps, maybe you shouldn't have said that." I
                                 love ¡t. I love that uh, he's speaking his mind and telling the
                                 Amer¡can people how he feels about certain things. And you
                                 know what? He's right! You hire a guy as your Attorney General
                                 who is supposed to look ¡nto uh, he's, he's like the head, uh,
                                 muckity muck as far as law goes in the, in th¡s country. And now
                                 you have an investigation about Russian collusion, and again
                                 there has never been any proof that Donald Trump was
                                 involved in any collusion uh, with Russia, to um, influence the
                                 election in any way.

                                  So why recuse yourself? lt's another instance that we have
                                  seen, uh, oh my god so many times, ofthe GOP bowing down
                                  uh, to the Left and the media, and the uh, the mob, the
                                  pitchfork and torch wielding mob that uh, will never be
                                  satisfied. "Oh you recused yourself, and we'll put this guy in.
                                  Yeah, we're still not satisfied." Uh, wow, uh, lam convinced
                                  Donald Trump could come up with a cure for cancer, and the
                                  headline would be, "Donald Trump Puts Millions of Doctors Out
                                  of Work." That seems to be, uh, his destiny, is to just be


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                                 criticized on every single thing he's done or wants to do uh, in
                                 this country.

                                 But yeah, you got an Attorney General that you uh, you give the
                                 job to, you want something called loyalty. Now that is a d¡rty
                                 word I guess, in Washington, I don't know why. Um, it, it, if you
                                 put a team together, just calling it a team kind of, uh, makes you
                                 think that they would be loyal to, to the, the team, um. You put
                                 a team together, you want everyone on that team to be loyal.
                                 Not to a point where they're go¡ng to break the law for you, uh,
                                 or cover up any, anything you've done, but was there any proof
                                 that Donald Trump was involved in, in any kind of collusion with
                                 the Russian government uh, for the election? To, to influence
                                 the election? No.

                                 So  then why would Jeff Sessions recuse himself if not for one
                                 thing, the pressure from people that want to see Donald Trump
                                 fail ... fail. They wanna see him arrested, they wanna see him
                                 strung up, um, in some cases I guess uh, thrown off a cliff? ls
                                 that what Rosie O'Donnell uh, was doing? She was saying that
                                 Donald Trump should be thrown off a cliff and apparently there
                                 was some type of um, game where uh, Donald Trump gets
                                 pushed off of a, a cliff and uh, she was, she was very excited
                                 about that. Again, the hypocrisy on the Left is insane.

                                  Um, but you want loyalty. You want uh, your team to back you
                                  and back your uh, policies and ideas. But for some reason, uh,
                                  the left sees that as some type of Naz¡ Hitler thing to do. I don't,
                                  I don't know. Things hãve become bad words. Loyalty,
                                  nationalism. Nationalism is horrible. This used to be something
                                  that was looked at with pride, there was a pr¡de in your nation.
                                  Uh, every day ... I remember going to school, you would never
                                  dream of not putt¡ng your hand on your heart and, and, and
                                  pledging your allegiance to the flag. I didn't even know what it
                                  meant as a kid, uh, "And to the republic for which it stands." I
                                  used to think, for which it stands was one word. lt sound like
                                  someplace in Russia, for which it stands.

                                  But I d¡dn't know what it meant, like, word for word, but I knew
                                  it, uh, ¡t, it, its essence was that uh, we lived in America, it was a
                                  great nation, and we were proud of uh, our country. Well, now
                                  uh, that's a bad word too. That's a bad word, to be proud of
                                  your country, to be proud that you're American, to be proud of
                                  your heritage, for certa¡n people is uh, a bad thing. You're not,
                                  you're not allowed to be proud of um, of uh, achievements that
                                  people of your heritage have made over the years, because
                                  that's, yes, very good everyone, racist. lt's rac¡st to be uh, proud
                                  of things that your ancestors have uh, have achieved.

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                                 We are only supposed to look at the horribleness, uh, and, and
                                 pain that we have dished out over uh, uh, the course of our, our
                                 history. Um, other people though have free reign to just uh, talk
                                 about the¡r, their pride and their culture. Um, which brings me
                                 to something else that uh, ljust, just remembered that ¡s
                                 absolutely insane.

                                 There is a uh, a movie coming out that looks fantastic, Dunkirk.
                                 This is the story uh, in 1940, r¡ght about, it's uh, you know, sort
                                 of the beginning of World War ll, um, British sol- soldiers were
                                 trapped on the beach by the Nazis, and um, uh, it was about uh,
                                 400 thousand of them. And they were, their backs to the ocean
                                 man. That is the worst position you wanna be in. And uh, and uh
                                 ... people from England, from uh, the U.K. came over, on their
                                 own personal boats and anything they could carry people in and
                                 evacuated all those British uh, soldiers, off of the beach. J ust an
                                 amazing story, I'm so glad it's being told and done, uh, in this
                                 fashion. I love h¡stor¡c movies like this.

                                  Well, there's a problem folks, there's a problem. Uh, the
                                  problem is, not enough diversity in the cast! No women, and no
                                  people of color. Someone in USA today actually wrote this as a
                                  review of the movie, that that was an issue. Again, we've
                                  reached this ¡nsane point in our, uh, uh, history where an
                                  accurate depiction of a historical event is not good enough
                                  because it's being portrayed accurately. (Laughs) ls this a hate
                                  movie? ls th¡s hate cinema because there aren't enough women
                                  or people of color in it?

                                  I gotta tell ya, I wasn't there, but I've uh, done a lot of uh,
                                  research on old W W ll, and um, that beach was full of a lot of
                                  pasty skinned Brits that uh, needed to get off the beach. And a
                                  lot of pasty skinned Br¡ts went and got them, that's about it.
                                  And as far as the enemy goes, well, they were Nazis. Not gonna
                                  find a lot of uh, people of color, uh in that Messerschmitt,
                                  Messerschmitt that's uh, flying over the uh, beach. But again,
                                  ¡t's a problem.

                                  Diversity for the sake of diversity. lt ... they, it makes no sense,
                                  uh, especially with a, a movle that is trying to uh, base itself in
                                  fact. Um, but again, that's where we are. That's where we are.
                                  We, we ... we are constantly told that we need diversity, that
                                  d¡versity is our greatest strength, and um, if it, if something
                                  works out well with a diverse group of people, that's wonderful.
                                  But that isn't because it was diverse (laughs), you see. Why are
                                  we, uh, always being led to believe that that's um, that's the
                                  truth.


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                                 Uh, yeah, there it is, the complaints that people again- look at
                                 that picture, uh, let me try to see, that's an actual picture of
                                 some of the soldiers from, uh, back in L940. Uh, yeah, I don't
                                 see many women, I don't see many people of color. Yeah, yeah,
                                 wow, an accurate depiction is now a terrible th¡ng. Do you see
                                 how we're being lied to? And do you see this indoctrine- we
                                 always think of college campuses as being the place that this
                                 ¡ndoctrination is going on, and oh it is. But college kids, let's be
                                 real, are stupid.

                                 They're kids. Uh, they're gonna say dumb things. I never went to
                                 college, but I was a dopey kid, and ldid stupid things, I believed
                                 stupid stuff, and I said stupid stuff. So you can almost cut them
                                 some slack for their moronic statements, and this, the¡r moron¡c
                                 belief system, uh, of what this country and world is all about.

                                 When you see things l¡ke this, and things that are advertised on
                                 uh, uh, TV commercials, TV shows, that is an indoctrination that
                                 is being fed to everyone, not just impressionable children. We
                                 are being told that um, straight white men are the dumbest
                                 people you'll ever find. I have uh, wonderful, uh, evening text
                                 sessions, w¡th the, uh, inimitable Gavin Mclnnes. On a nightly
                                 basis we trade videos (laughs) and uh, texts of commercials and
                                 TV shows and stuff that just depict straight white men as the
                                 world's idiotic little clowns, walking around incapable of doing
                                  anything.

                                 Something as s¡mple, I believe there's an insurance company,
                                 uh, that's doing a commercial now, where a guy suggests this ...
                                 obviously he's married to the woman, he's white and he's a
                                 man. Straight white male. He makes this insane assumpt¡on that
                                 he m¡ght've been able to fix a leaky pipe in the ceiling. Well his
                                 w¡fe has to say, "No!" Cuts him off, yells "No" at him, and he's
                                 just kinda, "Yeah. Yeah I'm a guy, I couldn't possibly fix a pipe or
                                 paint a ce¡l¡ng."

                                  And again, you might go, "Oh Anthony, why be so serious?
                                  Whey get so worked up over?" Because it's constantly
                                  happening. There it is. Look, look, he's just trying ... he looks at
                                  the pipe, with a dumb face of course, he's like, "l m¡ght be able
                                  to fix that." And then "No!" She jusl yells no. Like he's gonna try
                                  to perform brain surgery. "Maybe I could cut our kid's head
                                  open and perform brJ"'No!" lt's a p¡pe, lady, relax.

                                  But this is constant. lt's a constant, uh, uh, nonstop buffet we're
                                  being fed ofthis uh, propaganda and indoctrination. Nothing
                                  and no one could be honest to, uh, the Amer¡can people. Uh,
                                  another prime example of this, uh, John McCa¡n. John McCain

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                                  is, l'll say it, pretty ill. (Laughs) he's pretty s¡ck. Um, we just
                                  learned he has brain cancer, Uh, God bless. Uh, he's got brain
                                  cancer.

                                  Now, every single time a politician goes into the hospital, for
                                  anything, we are told, "Everything's fine. He has a splinter in his
                                  head, we pulled it out and he's joking with the staff already."
                                  You know, it's always some nice, funny scenario. And then as
                                  time goes by, they feed us the ¡nevitable horrid truth that uh,
                                  you know, he's got one foot in the grave and another on a
                                  skateboard.

                                  Uh, but they cannot be honest with us. The politic¡ans and the
                                  mainstream media are incapable of being honest with us, and I
                                  feel it's because they deem us too stupid, and uh, sensitive to
                                  accept the truth about anwh¡ng, so it has to be fed to us in, in
                                  stages l¡ke you would, like you would tell a, uh, a child about an
                                  impending divorce oftheir parents. You don'tjust go, "Yeah!
                                  Me and your mom are spl¡tting up." lt's gotta be done gently,
                                  They treat us l¡ke children.

                                  Um, and this has been done constantly. lf you remember when
                                  um, Ronnie Reagan was shot, uh, years ago, we uh, we were
                                  pretty much told, "You know, he caught the bullet, he threw it,
                                  he joked with the staff and uh, was back at the White House."
                                  Uh, for a while, for a while we were, we were told that. And it
                                  turns out that guy was just about dead. Uh, when you watch
                                  documentaries on the Reagan uh, attempted assassinat¡on now,
                                  you realize it was a grave s¡tuation. But even as far back as that,
                                  theyjust lied to us and um ... it hasn't stopped, it has only
                                  gotten worse. Only gotten worse.

                                  The invest¡gation that's go¡ng on, the Russia investigation by
                                  um, Mueller, the um, guy in charge, the, the uh, guy in charge of
                                  the invest¡gation, there he is, Robert Mueller. Um, he's now
                                  invest¡gating Trump's business dealings and uh, business
                                  transactions. Where did th¡s come from? How is this relevant
                                  uh, to the invest¡gat¡on? D¡d they fÌnd something that made ¡t
                                  relevant to the invest¡gation? That's, that's important, I believe,
                                  Uh, if they did find something, oh, uh, Trump colluded, he said,
                                  uh, "We'll take this info and l'll give you this, and we will
                                  exchange, uh, th¡ngs that are valuable to each other, and uh,
                                  that'll be great." Yeah, that would be a problem.

                                  I've heard or seen nothing that proves that happened between
                                  him, or Trump Junior, or anyone else in Trump's organization
                                  that that happened. You'd be hard pressed to um, to find that
                                  on mainstream media though, they're making all kinds of uh,

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                                 accusations and speculations that are being fed to you on social
                                 media as fact. But uh, now they're looking into business
                                 dealings. Does anyone remember uh, what Trump did before he
                                 was presldent? Anyone? You? Who should I pick, you, alright
                                 you, who? What did he do?

                                 That's right, he was a business man ! He did business! He wasn't
                                 a career politician, that's why he won the election by the way.
                                 Being a businessman, a world, global businessman, he did
                                 business with, anyone? Yes, world leaders and world
                                 organizationsl Absolutely, very good. So (laughs) so you can't
                                 then say he was uh, doing anything inappropriate just for doing
                                 business with other uh, countries. That's what business people
                                 do. Now again if there were any um, illicit or ¡nappropr¡ate
                                 dealings, that's another thing. Again, nothing has come forward
                                 that shows there was.

                                 So if you have a life politician, lifetime politician that is doing
                                 bus¡ness with foreign governments, that m¡ght get you like,
                                 "Huh, maybe someth¡ng's going on here." But if you have a
                                 businessman doing business, that's called success. That's called
                                 doing what he was supposed to do. And the fact that they are
                                 now, they got their grimy, uh, paws in, ¡n that whole thing is
                                 um, par for the course, and astounding. But typ¡calofwhat
                                 we've seen. Uh, we'll be back in a very short moment, don't go
                                 anywhere. Anthony Cumia ¡n at lnfowars.com.

                                 Thank you so much, deep voice guy. Love that guy. Uh, yes,
                                 welcome back, Anthony Cumia in at lnfoWars.com. Uh, lwanna
                                 finish up uh, today with uh, praise the Lord and pass the
                                 ammunitlon, OJ's out. The Juice ¡s loose, ha ha! Uh, he's not out
                                 yet, I believe uh, they have to ... boy that's gotta be tough, huh?
                                 Like you know you're out, I believe October, beginning of
                                 October OJ will be released. He's been paroled after nine years
                                 ¡n prison for um, armed robbery, kidnapping, knocking down
                                 people's mailboxes, driving through back yards. Got a girl in the
                                 car, that's a [inaudible 02:53:04]. Uh, Sheriff [inaudible
                                 02:53:061 Just¡ce. Uh, yeah, he's um, he's gonna get out, he's
                                 been paroled.

                                 Uh, the parole hearing was interesting. Uh, OJ does not shut up.
                                 He's gonna, he's gonna be arrested for talking people to death
                                 uh, when he gets out, it must be um, it must be odd after nine
                                 years you're gonna be out and about and famous. Like you
                                 know, most people, they get out of prison and uh, m¡ght
                                 remember an old guy named Brooks. They put h¡m in the uh, in
                                 the grocery store, he was bagg¡ng groceries. Then he went back


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                                 to his house and uh, carved "Brooks was here," and then hung
                                 himself. Uh, I don't see OJ doing that.

                                 But it's gotta be weird, you get out of prison, you're on parole, a
                                 probation, um, and, uh, uh, and your paroled, and um, you're
                                 famous, you're OJ. That's crazy! But uh, he is out and he's gotta
                                 wa¡t now, what ¡s ¡t July through August, september... he's
                                 gotta wait like a couple of months. That's gotta be the hardest
                                 time. Remember when Qu¡nt in Jaws was talking about when
                                 uh, that big old PBY came flying down, and he goes, "That's
                                 when I was most scared. Thinking it was my turn." Like, right
                                 before you get on the plane you think that last, you're the last
                                 one the shark's gonna get? Like, OJ's gotta be scared that he's
                                 gonna get shanked or something.

                                 He better not skew, steal any um, any of the white
                                 supremac¡st's cookies or an¡hing in, in prison. He just better do
                                 some, some easy time. or could you see ¡f he gets in a fight and
                                 winds up killing somebody? Like OJ has to kill somebody in
                                 prison, and they're just like, "Yeah, you're in there forever now
                                 OJ, sorry. You killed someone." Um, well OJ Simpson paroled
                                 after nine years, uh, the, the humorous note, he did kill two
                                 people, remember? Remember when he killed two people?

                                  Uh, l, I d¡dn't th¡nk he was gonna get out, I was watching the
                                  hearing and uh, OJ does not seem to place uh, responsibility on
                                  himself. He went off about the episode that happened in that
                                  Las Vegas hotel room where him and uh, a bunch of other guys
                                  uh, burst in the room to co- reclaim what he said was his sports
                                  memorabilia, uh, with a guy with a gun, uh, they held people
                                  against their will, and uh, took this merchandise back. Um, and
                                  from what I was watching on the hearing, OJ seemed to blame
                                  everyone in the room except OJ (laughs).

                                  But, you know, in the uh, w¡sdom of the uh, panel, that uh, was
                                  in front of OJ, uh, they let him go. His uh, daughter made a
                                  statement saying that uh, OJ is um, a great guy, just wants to
                                  spend t¡me with hls k¡ds. And the vict¡m of the crime test¡fied in
                                  OJ's defense, and said that in the interim between the crime
                                  and now they have, re uh, kindled their friendship and
                                  everything is uh, hunky dory. 50 I am really looking forward to
                                  oJ on Twitter, Facebook oJ. oJ actually said, uh, he might do a
                                  podcast or uh, a web, uh, show of some sort. A bl, b- a vlog. I am
                                  ... lam there, regardless ofwhat th¡s maniac, murderer does, I
                                  will watch.

                                  Uh, thank you so much for tuning in. Thank you to Alex Jones
                                  for having me. Um, Anthony Cumia, over at

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                                  compoundmedia.com, in right now and uh, loving every minute
                                  of it at lnfowars.com, I'll see you in a couple of weeks.

                                PART 6 OF 6 ENDS [02:56:46]




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  41.   Attached hereto marked as Exhibit B-36 is a thumb drive containing   a   video of a

 true and correct copy ofthe entire Owen Shroyer broadcast on June 26,2017 that is the

  subject of Plaintifls defamation claim.
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  42.    Attached hereto marked as Exhibit B-37 is a thumb drive containing a video of a

  true and correct copy ofthe entire Alex Jones broadcast on July 20, 2017 that is the

  subj ect   of Plaintifls defamation claim.
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  Speaker   1        You've found it: the tip of the spear. lt is the Alex Jones Show with Owen
                     Shroyer.

  Owen Shroyer:      This ¡s Sunday broadcast of the Alex Jones Show. Alex Jones is out today. Owen
                     Shroyer filling in. All kinds of news to go through today. We'll take some of your
                     calls. We've got some guests: Roger Stone and Shiva, who is running aga¡nst
                     Elizabeth Warren. Dr. Sh¡va is going to be joining us, both of those guys, in the
                     second hour.5o, you've got the Þemocrats that are absolutely fa¡ling right now.
                     You've got the left med¡a, specifically CNN, that is absolutely failing right now.
                     Totally in a tailspin. You've got the Russia narrative that ¡s not only collapsing on
                     ¡ts face, it is now being looked at to be dropped.


                     So you say, "Well, wait a second ..." And I was talking with Alex about this
                     before the show. Obama, they printed a big story talking about how Obama
                     blocked the Russia investigation. The Democrats tried to use th¡s to say, "Oh my
                     gosh, there could've been more there." Now they're scapegoating Obama. lt
                     was smarter for him to drop the investigation or stop any investigation at that
                     time because ¡t was the Democrats that were actually collud¡ng with Russia. So
                     they're going to play this thing off slowly but surely and the Russia narrative will
                     die. Then there might be some hearings for some other collusion that might be
                     go¡ng on.

                     Soon, Loretta Lynch, maybe John Podesta, and then the l¡st goes on and on. l'd
                     l¡ke to get Obama, Hillary Clinton. I mean, I don't understand this. lf Russia is
                     hacking into our infrastructure while Barrack Obama was pres¡dent and while
                     Hillary Clinton had a private server w¡th classified documents that was probably
                     easily accessible and access to those accounts, why aren't they being
                     investigated? Of course, you know the answer to that. The deep state doesn't
                     want to ¡nvestigate that. The whole investigation is a w¡tch hunt into Donald
                     Trump. So keep your eyes for not just the Russia narrative to continue to fail,
                     but also to be dropped in the Senate and in the House and all of these
                     comm¡ttees and all of these hearings.

                     So you've got  that, and meanwhile, you've got Trump who is returning the
                     energy sector to the United States, saying that he wants to be the global
                     dominating force ¡n energy. The Democrats can't have a v¡ctory. This is all going
                     on and you wouldn't even know it. You wouldn't even know it if you watched
                     liberal media. You wouldn't even know that any of this is going on if you
                     watched televislon news. They're going to tell you Trump's getting impeached.
                     They're go¡ng to push propaganda to assassinate Trump. That continues to
                     happen. The investigation is ongoing. Trump colluded ! None of it's true !

                     Meanwhile, this is actually the biggest PSYOP I th¡nk that's going on right now.
                     You have mainstream news that is trying to not only portray an inaccurate
                     picture of Donald Trump. We already know that that's going on. But they also
                     want to dominate you and intimidate you from believing in yourself, from
                     believing in the movement, from believing ¡n Donald Trump. That's what they're
                     try¡ng to do. They're trying to oppress our victor¡es. They're try¡ng to oppress
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                     Donald Trump's victories. They're trying to oppress the fact that we are tak¡ng
                     this country back. We are going in the right direction.

                     It might be small steps here or there. There might be some big steps here or
                     there. There might be some leaves, There might be some knocks back, but we're
                     going in the right direction and Trump ¡s leading it, but they don't want you to
                     know that. They don't want you to believe that. They want to oppress you. They
                     want to ¡ntimidate you. They want to bully you with fake news and they want to
                     tell you that you're not w¡nn¡ng, Trump's not winning, the investigation is
                     ongoing, Trump colluded, he's getting impeached, assassinate here, assassinate
                     there, and it's all failing. lt's all failing, folks, so just remember that. Fellow
                     Americans, we are winning right now. We are kicking ass. The Democrats are
                     failing. CNN is failing. Trump ¡s w¡nning. We are w¡nning. That's the story, not
                     what they try to tell you on the fake news.

  Alex iones:        Look, I'm not go¡ng to s¡t here and say, "See, I told you so," that commun¡st
                     Chinese-style net censorship was coming to the web because it's already here.
                     It's being announced. The way you keep the internet open and free is you get
                     involved more than ever. Go to lnfowars.com/app, the new battleship ¡n the
                     fight. lnfowars live, available right now. We're looking for a crew to to manage.
                     You want to sit down and play games and be a trendy or are you going to be a
                     part of history? Don't sit by and let the ¡nternet and free speech be stolen from
                     you. Take action!

  Speaker   1        And now the tip of the spear, lead¡ng the f¡ght to take back the nation. lt's Owen
                     Shroyer. You're listening to the Alex Jones Show.

  Owen Shroyer:      Do not, do not let the fake news get you down, Do not let the fake news control
                     the way you think, feel, and see the way pol¡tics are going, the way this country
                     is go¡ng because they want to paint an inaccurate p¡cture. They want to bully
                     you. They want to suppress the victor¡es that we're hav¡ng. This is proven in
                     spades, folks, when you just look at the amount of coverage and the type of
                     coverage that Donald Trump gets.

                     Now, I tweeted this out on Friday night because I just noticed it's just
                     unbelievable because this is probably what the vast major¡ty of the sheeple are
                     ingesting to get their view of reality. lf you open up the "news app," it's Apple's
                     factory news app. lf you would've opened it on Friday night, you would've had a
                     extremely inaccurate picture of reality. Their top story was, first of all, from
                     BuzzFeed. BuzzFeed gets the¡r top story: in days before election Democrat
                     lawmakers urged Obama to retaliate against Russia. Again, Obama didn't want
                     to do anything because he knew a real investigation would show collusion w¡th
                     Clinton and Podesta and the Democrats.

                     Even so, though, even so, they still run that headlineto pretend like, "Oh,
                     there's someth¡ng there!" well yeah, there is something there. lt's on the
                     Democrat's side, though. See, that's how they tw¡st ¡t. That's how they twist
                     their narrative, that's BuzzFeed, and then the Apple News app puts that as their
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                     top story; a total fake news sp¡n. But it gets worse. Then you have other l¡nks up
                     there, "Extreme Heatwaves Will Change How We Live: We're Not Ready," as ¡f
                     anthropogenic global warming is going to kill you when there's real
                     anthropogenic climate change going on. lt's called chem trails in the sky. Then
                     you've got "Conservatives Turn on Trumpcare," demonizing Trumpcare,
                     demoniz¡ng everything Trump is doing.

                     Then the trending stor¡es, the trend¡ng stories, who's shocked by this? lmag¡ne
                     Paul Joseph Watson's shock. Trending stories number one: CNN. Number two:
                     New York Times, Number three: The Washington CIA Amazon Post. Number
                     four: Huffìngton Post, the most discred¡ted, literally ... lf you had to say the four
                     most discredited, disgraced news websites on the internet, even, I mean ... lt's
                     CNN, New York Times, Washington Post, HuffPost. Literally the most discredited
                     fake news on the planet and the Apple News app runs it as their trend¡ng
                     stories, folks. This is the deep state working to control your optics, to control the
                     narrative. lt's all fake. lt's a façade. They are losing. They are losing desperately,
                     and that's why they're shov¡ng it in your face to make it look like you're not
                     winning when you are. This is the great PSYOP that's going on right now and the
                     Russia narrat¡ve is a part of it.


                     Alright. I need to g¡ve out the phone line. We're going to take your phone calls.
                     L-877-789-2539. Ta77 -789-2539. We're go¡ng to take your calls ¡n the next
                     couple of segments. l've got some stor¡es here. Where to begin? Let's start w¡th
                     some news here. Aga¡n, from Bloomberg, Trump to call for US dominance in
                     global energy production. This ¡s Donald Trump. lthink he actually tweeted
                     about this too today. And energy week. Trump is dubbing it energy week, and
                     he's going to dedicate, lguess, this week to the United States dom¡nating the
                     global energy production. I wonder if he'll talk about the solar wall.

                     A liberal would literally put a solar panel anywhere except on the border. Then
                     this new study comes out actually from the head of a solar department that says
                     solar panels on the roof actually are not energy effic¡ent, so how do you like
                     them apples? I'm just pointing out facts here. l'm not staking my claim into
                     either side. Now apparently, we have a vote coming up on the healthcare bill
                     this week. Maybe it's go¡ng to be July 4th. Even the Republican side, Ron
                     Johnson and then crazy Bernie Sanders who, by the way, you know what? Real
                     quick on the healthcare.

                     We'll see if they vote th¡s week. I th¡nk it's going to lose. I don't see how this
                     pass is. There's too much opposit¡on on the Republican side, which I don't like
                     this bill anyway. I don't know why. Why do we have to replace? Why can't we
                     just repeal? I really don't understand. Why isn't somebody saying that? How
                     about just repeal? That'd be a n¡ce start. But you know, I mean hey, we got to
                     worry. We don't want to take healthcare away from the poor. We don't want
                     this bill. This is a death bill. The Republicans are the death party. Folks, we are
                     taking money from the poor and giv¡ng ¡t to the rich with this bill.




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                     Elizabeth Warren says that this bill is blood money. But wait a second. Wasn't it
                     the Democrats that just spent close to 5200 mill¡on to lose for special elect¡ons?
                     Was that the Democrats or was the that Republicans? Who do you think, in thal
                     equat¡on, between the people that donate to the Democrat party and the
                     people that receive the donations, who on that end of the spectrum do you
                     th¡nk you would consider poor and who do you think you would consider rich?
                     The Democrats are the ones that take from the poor and give to the rich.

                     So just like the whole Russia thing, the Democrats are the ones colluding. The
                     people, like John Podesta and Hillary Clinton are the ones that colluded with
                     Russia, so then they blame Trump, say he did it when they d¡d ¡t. They're the
                     ones that rigged the election. The Democrats are the ones that r¡gged ¡t for
                     Hillary Clinton, so they turn around and say Russia rigged it for Trump. This is
                     how they operate. The Democrats are the party that bleeds the poor dry to get
                     them more desperate, to turn them ¡nto victims to get their vote. So the
                     Democrats take from the poor and give to the rich, folks.

                     Now, how about th¡s? Again. Where's the real collusion? Where is the real
                     corrupt¡on? Why are we talking about President Trump being the bad guy? FBI
                     opens investigat¡on into Bern¡e Sanders and his wife for bank fraud. So this
                     continues to go on and on and on and on. This lawsuit is ongoing. Just to put
                     things in perspective: Donald Trump gets a mill¡on-dollar loan from his dad and
                     turns that ¡nto a billion-dollar empire and a very successful family and a
                     successful run to the Un¡ted States' presldency. A cap¡tal¡st, an American,     a
                     winner.

                     Bern¡e Sanders, a socialist, a loser, gets a $10 million bank loan, his wife gets
                     bank loans to run schools and then the schools get shut down, Bernie Sanders
                     loses his run for presidency, and now they're being investigated by the FBl.
                     That's just a n¡ce little ditty, isn't it? lt's l¡terally all the Democrats. Everything
                     that they're say¡ng about Trump ¡s l¡terally the Democrats, so from now on, if
                     they look at the TV, whatever they say about Trump, you can assume that the
                     Democrats are do¡ng that. We'll be right back with your phone calls on the other
                     side. More news.

  Speaker 1:         Waging war on corrupt¡on. lt's Alex Jones coming to you live from the front lines
                     of the info war. And now your host, Owen Shroyer.

  Owen Shroyer:      Alright. I've got so much I want to cover. I don't even know where to begin.
                     Because of the PSYOP that they're trying to force down our throats right now,
                     trying to steal our victories, trying to pretend that we're not winning, that's why
                     Donald Trump, ¡n my opinion, needs to keep tweeting. lf you notice, some of
                     the things that Donald Trump tweets actually end up pigeonholing his enem¡es. I
                     mean, just look at how brilliant that tape sweep looks still to this day. lt's aged
                     quite nicely. Also a tweet that he made, he predicted to a T on the date when
                     the housing bubble would return. Pretty ¡ncred¡ble, and you wonder if those
                     internet theories that Donald Trump ¡s a time traveler are true.


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                     But anyway, that's why I like the fact that Donald Trump is tweeting and putting
                     out the victories on Twitter because they're not going to report the victories on
                     the mainstream news. And they're not going to tellyou that Trump is the
                     pres¡dent of the United States because we haven't had a president of the United
                     States in some time. lt's been the president of foreign conglomerates, private
                     internat¡onal groups, the Bilderberg Groups electing presidents. I mean, it just
                     goes on and on. But no, Trump actually wants to be the pres¡dent ofthe United
                     States and he wants to make America great again, That's why this story is so
                     key, and you can see it already happening in the coal ¡ndustry.

                     Trump to Call for US Dominance in Global Energy Production. So lthink r¡ght
                     now, lhaven't actually broken this down based on the tim¡ng, but lwould say if
                     you want to make a baseball analogy, we're probably starting the second inning
                     r¡ght now of Trump's first term. We're just start¡ng the second inning and ¡t's off
                     to a nice start. The first inning came to a bad close for us. We had Steve Scalise
                     get shot by a leftist terrorist. lt was terrible, but that's how the first inning
                     ended, and lthink now we're moved onto the second inning. Steve Scalise, by
                     the way, has been released from the hospital, I bel¡eve, and Trump is now
                     call¡ng for US dominance in global energy production and we probably could do
                     that, folks. Then more people will have jobs.

                     Rush L¡mbaugh just had a classic line and I just have to say ¡t. Because they're
                     talking about Obama saying people ... They're all saying thisl H¡llary Cl¡nton is
                     say¡ng that the Republicans are the death party now. Elizabeth Warren says that
                     this healthcare bill is a blood bill or there's blood on their hands or something,
                     blood in the water, El¡zabeth Warren. Then you have Obama coming out say¡ng,
                     "This ¡s just taking from the poor to give to the rich." What money are the poor
                     gettin8? What is this money that the poor is receiving r¡ght now that they need
                     so much that ¡s being taken from them ând given to the rich because of this bill?
                     I would like to know that. What is that money? What is that money? Where is
                     that money?

                     "This is a bill. This is a Republican b¡ll that's going to take from the poor and give
                     to the richl I can't believe Donald Trump would ..." How? How then? Please,
                     explain that. Nobody's ever asked Barrack Obama this. What money is being
                     taken from the poor and g¡ven to the rich? Where is this money? Where ¡s this
                     healthcare? Because if you notice, Donald Trump brought people into the White
                     House. He brought people to Washington, D.C. He brought people from the
                     private industry, small business owners, individuals, families; mothers, fathers
                     to talk about their experience w¡th Obamacare, and all of the¡r premiums went
                     up. Some of them couldn't afford healthcare. The White House is tweeting out
                     how many of these states now, the majority of counties, you only have one or
                     two prov¡ders to choose from.

                     So Obamacare has       turned into monopoly-care, meant to rob you and take your
                     money, bleed    you   dry, and they're s¡tting here saying, "The Republ¡can bill is
                     going to take from the poor and give to the rich. The Republican b¡ll is a death
                     bill." You're just sitting here looking at the facts of Obamacare, looking at the

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                     fact that they said you have to pass the bill to see what's in it, then the
                     Democrats complain and say, "How dare the Republicans want to pass a bill we
                     haven't seen?" Then the Republ¡cans actually release the bill and the left ¡s
                     silent, and then they twist their narrative to call it a death bill.

                     See, first ¡t was, "Release your bill. Release your bill. What do you have to hide?"
                     Then they release the bill and they say, "Oh, it's a death bill. lt's the death
                     partyl" lmean, unbelievable. Hillary Clinton, El¡zabeth Warren. Not even a
                     month after Steve Scalise is shot, these people get r¡ght back on the attack.
                     That's why Donald Trump needs to go on the attack. That's why we need to start
                     getting some of these people like Hillary Cl¡nton, Barrack Obama, John Podesta,
                     upcoming Loretta Lynch ¡n front of a Senate committee to ask them some
                     questions. They're ask¡ng quest¡ons left and right about Russian collusion. Well,
                     let's ask Podesta what he knows. Let's ask Clinton. Let's ask Obama. I mean,
                     after all, don't we want to know what's going on here?

                     So folks now, here's another story. I  don't even know if Alex knows about th¡s to
                     be honest w¡th you. Alex, if you're listening and you want to ... or if you just
                     want to know what's going on, Zero Hedge has just published a story: "Megyn
                     Kelly fails to fact check Sandy Hook father's contrad¡ctory claim in Alex Jones' hit
                     piece." Now again, this broke .., lthink ¡t broke today. I don't know what time.
                     Featured in Megyn Kelly's expose, Neil Heslin, a father of one of the victims
                     during the interview described what happened the day of the shooting.
                     Basically, what he said, the statement he made, fact checkers on this have said
                     cannot be accurate.

                     He's claiming that he held his son and saw the bullet hole in h¡s head. That is h¡s
                     claim. Now, according to a timeline of events and a coroner's test¡mony, that is
                     not possible. One must look at Megyn Kelly and say, "Megyn, I th¡nk it's time for
                     you to explain th¡s contradiction in the narrat¡ve because this is only going to
                     fuel the conspiracy theory that you're trying to put out, ¡n fact." Here's the th¡ng
                     too, you would remember... Let me see how long these cl¡ps are. You would
                     remember if you held your dead kid in your hands with a bullet hole. That's not
                     something that you would just misspeak on. Let's roll the clip first. Neil Heslin
                     telling Megyn Kelly of his experience with his kid.

  Speaker 4          At Sandy Hook Elementary School, one of the darkest chapters in American
                     History was a hoax.

  Neil Heslin:       I   lost my son. I buried my son. I held my son with a bullet hole through his head

  Spea ker 4         Neil Heslin's son, Jessie, just six years old, was murdered along with 19 of his
                     classmates and six adults on December 14th, 2012 in Newtown, Connecticut.

  Neil Heslin:       I dropped him off at 9:04. That's when we dropped h¡m off at school w¡th his
                     book bag. Hours later, lwas picking him up in a body bag.



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  Owen Shroyer:      okay, so making a pretty extreme claim that would be a very thing vivid in your
                     memory, holding his dead child. Now, here is an account from the coroner that
                     does not cooperate with that narrative.

  Spea ker 6         linaud¡ble 00:22:191 for the bod¡es that famil¡es [¡naudible 00:22:21].

  Speaker 7          We did not bring the bodies and the families into contact. We took pictures of
                     them, of their facial features. lt's easier on the families when you do that. There
                     is a t¡me and a place for up close and personal in the grieving process, but to
                     accomplish th¡s, we felt it would be best to do it this way. You can control the
                     situation depending on your photographer, and I have very good
                     photographers.

  Anderson Cooper:   It's got to be hard not to have been able to actually see her

  Speaker 9:         Well, at first I thought that and I had questioned maybe wanting to see her

  Owen Shroyer:      Okay, so just another question that people are now going to be asking about
                     Sandy Hook, they conspiracy theorists out there that have a lot of quest¡ons that
                     are yet to get answered. I mean, you can say whatever you want about the
                     event. Thatis just a fact. So there's another one. Will there be a clarification
                     from Heslin or Megyn Kelly? lwouldn't hold your breath. Now they're fueling
                     the conspiracy theory claims. Unbelievable. We'll be right back with more.

                     Welcome back to the Alex Jones Show. Thanks to your support out there, we
                     are able to expand this broadcast and expand our store as well.
                     lnfowarsstore.com is constantly expanding, gett¡ng new products. Right now,
                     we have a 4th of July summer mega spec¡al going on. Free shipp¡ng store-wide.
                     You've got to love that, folks. Free sh¡pping store-wide, espec¡ally when you're
                     getting some of those b¡g ticket ¡tems like emergency food supplies. But how
                     about coming up for the 4th qf July, you're going to be out. You're going to be
                     out on a lake. You're going to be out camping. You're going to be out shooting
                     f¡reworks. About how the Emric's Essent¡al Outdoor Pack, which ¡s 40% off right
                     now? You can get your bug spray and you can make sure you're not getting b¡t
                     by bugs when you're out shooting out fireworks at the lake or the camp or
                     whatever it is with the kids.

                     That's not all too. 30% off Bra¡n Force. 30% off Super Male Vital¡ty. 30% off
                     Survival Shield X2. 30% offZ-Shield, and that storable food, that emergency
                     food that I mentioned earlier, which ¡s imperative. We also have 30 to 40% o'fi
                     of reta¡l on that as well. Again, you combine that w¡th the free shipping. You're
                     saving hundreds of dollars. Hundreds of dollars of savings for the 4th of July
                     Summer Special, mega special to lnfowarsstore.com. Support th¡s broadcast.
                     Celebrate free speech. Help us blow up like ramparts, l¡ke fireworks on the 4th
                     of July right ¡n the face of the globalists. Be sure to get to lnfowarsstore.com.
                     Take advantage ofthose specials while they last and while supplies last and
                     check out the whole store. Tee-shirts, all kinds of household items, coffee mugs,


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                     patriot attire. lt all goes towards supporting what we do here at lnfowars.com
                     and expanding to the next level.

                     Alright, we'rè going to get to some of your calls here in this segment and in the
                     next. But it is not an exaggerat¡on to talk about the complete miserable failure
                     that is the Democrats, that is CNN right now. Even BuzzFeed ¡s now hav¡ng to
                     admit it. CNN is ¡mposing str¡ct new rules on its Russia coverage. cNN ¡s just a
                     absolute dumpster fire right now, and they're retracting news, apologizing for
                     fake news, deleting stories entirely. All of their narrat¡ves are just fall¡ng on their
                     face. Now that even BuzzFeed is calling them out, lthink that really shows you
                     that CNN is an absolute dumpster f¡re right now.

                     As are the Democrats. You have Nancy Pelosi who's up there try¡ng to expla¡n
                     how successful she is. She's literally in the face of ultimate defeat. L¡terally. The
                     Democrats are getting crushed and they're losing seats in the House, they're
                     losing seats ¡n the Senate. They lost the presidency. They've lost their minds.
                     Then Pelosi gets up there when these rumors start to swirl about her being
                     relieved from her post. She comes out and ihe's like, "l'm a great legislator. l've
                     done so much for the Democrats. Look at all the victor¡es l've brought us."
                     People are scratching their heads like, "What planet do you live on, woman?"

                     You don't even l¡ve in reality. She's still stuck in 2004. She st¡ll thinks Bush is
                     president. She doesn't even know what's going on. But that's the Democrat
                     leadership, you see. Then Trump trolls them on Twitter like, "Oh, I hope Pelosi
                     doesn't go anywhere. She's great for the Republican party." oh, and then, by
                     the way, the continued failure of the fake dossier against Donald Trump.
                     Sketchy f¡rm behind Trump dossier is stalling investigators. Well yeah, it's a
                     totally fake dossier and probably, depending on Trump's urge to litigate, you
                     could have some serious, perhaps, libel and slander lawsu¡ts for this dossier.
                     That'll be interesting to keep an eye on, Aga¡n, Trump calling for US dominance
                     ¡n global energy product¡on, a b¡g story.


                     Alr¡ght, so we've got some other news we'll get to. We're going to be joined by
                     Dr. Sh¡va who's running aga¡nst Elizabeth Warren. We're also go¡ng to be joined
                     by Roger Stone as well. But let's take a couple phone calls here. Let's go to David
                     in San Francisco, Go ahead, David.

  David              Yeah, I've told my wife to buy that shampoo and those of us, especially myself,
                     I've never bought anything from lnfowars. I'm going to start buying the
                     shampoo, the toothpaste and stuff because it's something you always use.

  Owen Shroyer:      Yeah. lt's a household ¡tem and I've got to tell you. You're not just purchasing a
                     product to help us. You're go¡ng to get a great product. lt'll be the last
                     toothpaste you ever use. ldon't know how people are about shampoo. Maybe
                     it's a little d¡fferent there, but I use the shampoo and the toothpaste. Both great
                     products. I'll continue to use both of them.



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  David              Well, good, Now, itrs interesting in regards to Oklahoma City. I had some shirts
                     made up asking people to Google Alex Jones, John Decamp, and the Frankl¡n
                     coverup. Two guys played a very, very important role. lt wasJohn Decamp and
                     Alex Jones in Oklahoma City. lt's really interesting because Senator Decamp,
                     who represented several of the patriots that were falsely accused, he saw the
                     building being brought down. He said, "Man, I didn't author¡ze that." He was
                     shocked by it himself. He didn't authorize the destruction of the crime scene like
                     that. lt was Alex Jones, not Sean. Sean Hannlty's doing a great job, and Rush and
                     Michael Savage are doing a great job and all that, but ¡t was Alex Jones that
                     interviewed Officer John Browning and the other cops that were there firsthand
                     knowledge. [crosstalk 00:29:55]

  Owen Shroyer:      Well, if you want to share some stories, you can tweet at me. Tweet at me some
                     links or some stories if you want me to cover that or get more into that. But you
                     ment¡oned something there. You ment¡oned some of the names in the
                     conservative media, really pro-America media. Alex Jones, Sean Hannity,
                     Michael Savage, Rush Limbaugh, peoplè that people would say are on the right
                     wing or you'd call it conservative media. You think about those people.
                     Regardless of what you think about their polit¡cal v¡ews, these are people that
                     have captured the minds, captured the hearts of many and they're leaders in a
                     sense. They're leaders. You can just look at the th¡ngs that callers say about Alex
                     Jones when they call into this show and they thank him, and the support that
                     they give to this production.

                     The left doesn't have that. They have nothing. Who are you going to go to if
                     you're going to leadership on the left? Lena Dunham? Oh my gosh. What, are
                     you going to go to Max¡ne Waters? Kieth Olbermann? So they have absolutely
                     nothing and they have no future, to be perfectly honest with you. Thank you,
                     David, for the call. Let's go to Will quickly in Rhode lsland. Will.

  will:              Yes. I know you guys were cover¡ng Bilderberg. I was down there for Demand
                     the Truth. We had Wilbur Ross, McMaster going down there. What's your
                     takeaway on that? What do you think Trump thinks of Bilderberg? Was he
                     ¡nfìltrat¡ng? Are these guys part of the swamp? What's your takeaway from the
                     Bilderberg group? Then also, as far as all the conspiracies that we're always
                     bringing up, how is it not possible that Chr¡st¡an¡ty is a conspiracy theory
                     perpetuated by an elite, then, to just control us? I mean, we've never had any
                     evidence.

  Owen Shroyer:      I'm sorry. Say that again. What a conspiracy theory?

  wiil:              Christianity itself. lt could've just been a control theory created by somebody
                     thousands of years ago just to trick us just as well.

  Owen Shroyer:      You're just talking about overall religion as a conspiracy to control the masses,
                     which I think is absolutely the case. Just look at the Catholic Church and the
                     Vatican, so I'm not going to argue w¡th you on that, but I'm certainly not going
                     to say Christianity or the Christian faith is a conspiracy theory. As far as Trump

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                     and infiltration into the Bilderberg group or the members of his staff and
                     cab¡net that went to the Bilderberg meetings, we never really heard much from
                     that. We never heard them talk about it. Trump never ment¡oned ¡t, so any
                     opinion or any feelings I express are really based in absolutely nothing. lguess
                     there's just nothing there.

                     I don't know if McMaster's reported back to Trump. I don't know if Trump was
                     ¡nterested ¡n what went on in the Bilderberg meeting. There's literally been
                     nothing, no coverage of it, no questions, no ¡nterviews, absolutely zip, z¡lch,
                     nata. Unfortunately, there is nothing for me to even create a hypothetical off of.
                     Which is unfortunate, which is unfortunate. I th¡nk Trump could've had a major
                     win to call out the Bilderberg group or to ask those people what they've done in
                     those meetings that come from Amer¡ca to make the country great again. We'll
                     be right back w¡th more of your calls. Alex Jones Show. Sunday show.

  Juliet Huddy:      Talk show host is Alex Jones. He's a conspiracy theorist.

  Speaker 13:        Radio talk show host Alex Jones.

  Speaker 14:        Alex Jones.

  Speaker 15:        Jones is the wildly popular conspiracy theorist.


  Conan O'Brien:     Rad¡o talk show host and consp¡racy theor¡st Alex Jones.


  Speaker 17:        Deeply, I think, racist.

  Alex Jones:        I   just got called racist by MSNBC.

  Speaker 18:        I   don't want that man to have a gun.

  Alex Jones:        1776 will commence again if you try to take our firearms!

  Speaker L9:        The Alex Jones Show. Watch the free stream live at lnfowars.com/show.


  Speaker 1:         You're listen¡ng to the antidote for fake news. lt's Alex jones.

  Owen Shroyer:      Remember what I said earlier about the Democrats and everyth¡ng that they
                     accuse Trump of they're guilty of? Just more proof in the pudding. Now, they
                     want to say that Trump is try¡ng to obstruct justice. Trump is an obstructionist.
                     No, ¡t's actually you, the Democrats, that are the obstructionists. Here's Donald
                     Trump addressing that.

  Donald Trump:      Their theme is resist. The¡r theme should be, "Let's get together, envelop. Let's
                     get together." But the theme is res¡st. lt's obstruction. The problem is they
                     become obstructionists and the voters .., I happen to like it from the standpo¡nt
                     of running for office, but I think it's a terrible theme in terms of getting elected.


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                      More importantly, I th¡nk it's a terrible thing for the people of this country.
                      Resist. Obstruct¡on. That's not what they want.


  owen Shroyer:       Well, we wanted to resist Hillary Clinton and obstruct the globalist res¡st to try
                      to bring this country to thls knees. But that's why we elected Trump. Again, they
                      try to spin that and try to steal it from us, but they have no momentum and
                      they've completely failed. What Trump is try¡ng to say is ¡t's not help¡ng the
                      country. You're resisting yourself, basically, when you try to res¡st Trump. You're
                      only handicapping yoursell but you're handicapping everybody else with you.
                      When you've been vict¡m¡zed your whole life, when you believe you're the
                      victim, of course, wouldn't you want that then? Of course you would. That's the
                      state of the left right now. Let's go to Harold in Texas who wants to talk about
                      the obstructionist party, the Democrats. Go ahead, Harold.

  Harold:             Hey. lt's good to see the wild man besides Alex there. I l¡ke the way you deliver
                      the news. I also wanted to talk about two th¡ngs, if you don't mind. First of all ...
                      Yeah, I can hear you. I want to talk about your nutraceutical. I want to talk about
                      Brain Force. My mother was in dementia. She couldn't remember nothing. I
                      went and ltook a chance and I bought her some Brain Force. She can think now.
                      She can remember things. she's got her mind about her again. She's also tak¡ng
                      the iodine and it's working wonders on her. ljust wanted to thank you all for
                      doing that because ¡t gave me my mom back. The only thing is that I ordered
                      some-

  Owen     Shroyer:   Wow, what a powerful testimony, guys. Cut that out. Cl¡p that out.

  Harold              I ordered some on the 6th of June. I got my order but she never got her order.     I

                      had an order sent to her place too and she never got it.

  Owen Shroyer:       I actually get this complaint a lot from people. Sometimes when you order
                      th¡ngs on the same day, depend¡ng on the product, that it might to arrive the
                      same day. lf there's an order that you haven't gotten yet, just be pat¡ent. lt's
                      probably on its way. That's been the case, I think, a hundred percent of the t¡me
                      when people address me this issue. lwould just be patient on that. We have a
                      customer serv¡ce, here, department. Great people. They'll take care of you if
                      you st¡ll haven't gotten it after a while. An¡hing else you want to talk about?
                      You said you'd called about the obstruct¡onist party.


  Harold:             I do. I'm very upset now. I understand the Democrats. They're trying to do their
                      job. I don't like the way they're doing it, but they're try¡ng to do theirjob. But
                      these turncoat Republicans who think that he ran on their party and they're
                      over there, never Trump and gettlng ¡n the way of everything. Especially that
                      kinky John Mccain. I hate his guts and I really wish that he would just...

  Owen Shroyer:       Yeah, he's terrible


  Harold:             I'm sorry. I'm be¡ng terrible.


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  Owen Shroyer:      No, he's absolutely wretched. I honestly bel¡eve that the guy is colluding with
                     lSlS. I mean, my god.


  Harold:            Also Iinaudible 00:38:17]. I don't remember what [crosstalk 00:38:19]

  Owen Shroyer:      But here's the thing about what you're addressing, the Republicans, and thank
                     you for the call. Thank you for that testimony. That was great. I'm so glad to
                     hear that your mother back to a good state of m¡nd. Here's the th¡ng about
                     these Republicans that Harold was talking about. I think that they're falling for
                     the fake news. lthink they're falling vict¡m to the PSYOP that we're talking about
                     here on today's show. The Reince Priebuses, the Paul Ryans, these people, I
                     guess they aren't cr¡tlcal thinkers or they're not really inc¡sive. They're just soft
                     as butter people. I don't know how to really explain it, but I th¡nk that they fall
                     for it. I th¡nk that they see all the mainstream news. I th¡nk that they see the
                     fake news on the Apple App. They see all of this just flooding them constantly.

                     They're scare for their own political wellbeing. They don't get it yet. They don't
                     have the fundamental understanding that the status quo of this country has
                     changed. They have not understood yet that the Trump movement is real, that
                     the Trump movement, the MAGA movement is real and ¡s the majority. They
                     don't know it yet. They cannot accept it. They fall vlctim to the PSYoP. They see
                     the fake news, and they don't understand America doesn't fall for it. That's not
                     what America is thinking. That's what I think the problem with some of these
                     Republicans are. You know what the answer is? Get them out. Get them outl
                     The mid-term elections in 2018 will be just as important now that Trump is in as
                     the presidential election was for our movement. You don't want soft-as-butter
                     Paul Ryan? Vote for Paul Nehlen in Wisconsin. That's how you do that.


                     oh, oh and don't you worry. Don't you worry. The Democrats will be dealt such
                     serious defeat in 2018 if they continue the path that they're on. They might
                     even be dead before the 2020 election. They already tried to run a corpse, but
                     they might actually be a dead party now try¡ng to run a president in 2020. We'll
                     cont¡nue to see how that goes, but that's the answer for the soft-as-butter
                     Republicans right now thatjust do not understand the heart and soul of
                     America right now. Let's go to Frank in North Carol¡na. I like Frank's idea. He
                     says, "Call into shows and call them fake news." Call into th.e radio shows that
                     want to hate on Trump. Ask them to expla¡n their claims. Call ¡nto C-Span and
                     talk to those people. Let your voice be heard. Go ahead, Frank.

   Frank:            Yeah, and call into your local media as well, like your local talk radio shows that
                     are part of the deep state that support ... You know, the deep state and all the
                     propaganda media that's being put out, and also that attack and try and defend
                     the l¡es that come out.

   Owen Shroyer:     It's amazing that you say that. I am honestly one of the biggest news and radio
                     junkies probably on earth. I have to tell you that here in Aust¡n, I won't say their
                     names, but there's a couple local radio hosts. They've had some changes here
                     on the local conservative station. They changed the morning show. lt was a

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                     terrible decision. Now you've got Michael Kilmeade on there who's milktoast on
                     Trump at best. Then in the afternoon, you've got an absolute loon who doesn't
                     even belong on the radio. Then you've got a evening slot that you have some
                     conservatives on that, from my measurement, were always straight shooting. I
                     always enjoyed the¡r content, didn't always get along, but felt that they had the
                     right ideas.

                     Then all of a sudden, out of nowhere, once the station started making some
                     changes, now theyrre anti-Trump. Now they want to call out Trump. Now, I'm
                     even hearing people in local radio that are responding to Rush Limbaugh's show
                     and calling out Rush Limbaugh. Folks, Rush Limbaugh has never been more
                     accurate, in my measurement, in h¡s history of broadcasting except maybe since
                     Clinton was in office. lt's just really weird what's happening. I guess that's why
                     you're offering the answer, which ls call in. Take the narrative over. Challenge
                     them on the¡r ¡deas.

  Fra n k:           Yeah. Even if you can get through to the people working behind the scenes, the
                     guy answering the phone, let them know, "Hey. You work for fake news." One
                     other thing, two bones of contention. I'm really disappointed in it, but we're not
                     covering the 50th anniversary of the attack on the USS Liberty. I mean, thât was
                     the predecessor to the attack of 9/11. Also, I want to disagree with something
                     that I heard Alex say recently. I've been trying to get through to him. I disagree. I
                     have never heard Duke, David Duke, say anything hateful towards Alex. He's
                     only opened h¡s arms. He just wants to talk to Alex. lcrosstalk 00:43:23]

  Owen Shroyer:      Unfortunately, I am just not the person to address that. I don't know anyth¡ng
                     about David Duke or his relationship with Alex, and I'm not Alex, so I don't even
                     want to comment on that and I don't follow David Duke. So lcan't really
                     corroborate anything you're saying. Thank you so much for the call, Frank ¡n
                     North Carolina, though. I do like the idea that Frank has to steal the narrative of
                     some of these local talk shows or to steal the narrative from people that are
                     spout¡ng fake news on C-Span. I've got to tell you, and again, ¡t's part of the
                     PSYOP that we have to defeat. We have to remain with the ideas of victory in
                     our head and that vision. lt's just amaz¡ng.

                     You hear these people call ¡nto local radio or call ¡nto C-Span and they literally
                     spout fake news. They literally spout it's the hearsay mafia and you just shake
                     your head and you're like, "Oh my gosh. ljust want to save your soul! ljust want
                     to save your mind ! I just want to bring you back to reality." Roger Stone on the
                     other side. This ¡s the Alex Jones Show, Owen Shroyer filling in on a Sunday.
                     We'll be right back.

                     Welcome back to the Alex Jones show. Free sh¡pping right now at
                     lnfowarsstore.com. Take advantage of the July 4th specials. I am now joined by
                     Roger Stone, who had an interesting cameo at a free speech rally earlier today.
                     We'll talk about that in a minute, but let's bring Roger on. Roger, what ¡s the
                     b¡ggest thing on your m¡nd as you join me on this Sunday evening? Nice hat, by
                     the way,

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  Roger Stone:       Thank you. We're in the seersucker season, so if one does not do it now, when
                     would one do it? First of all, let me say, that your caller Frank is absolutely right.
                     The USS Liberty was attacked by the United States government ¡n cooperation
                     to a reluctant lsraeli government with the approval of President Linden Baines
                     Johnson. This is a lunatic move that would cost the lives of Amer¡cans, but it was
                     a false flag that was intended to inspire a war. The caller ¡s absolutely right and
                     the mainstream media has blocked this p¡ece of h¡story out. There's an excellent
                     new book out by Philip Nelson, the man who wrote the quintessential two-
                     volume biography of Linden Johnson, very much like my own book, The Man
                     Who Killed Kennedy: The Case Against LBJ, which in the paperback edition has
                     two chapter on this woeful and disgraceful chapter in American history.

  Owen Shroyer:      That ceftainly sheds more l¡ght on the reason as to why they had to remove       JFK
                     from office as well.

  Roger Stone:       It does. lt's interest¡ng because CNN has egg on the¡r face this week. Being
                     forced to essentially retract a story that alleged improper influence pedaling or
                     maneuvering for favor between Trump assoc¡ate Anthony Scaramucci and the
                     pres¡dent himself. The CNN had to completely withdraw their question.
                     Scaramucc¡, who was widely admired and liked among conservatives and among
                     the Trump movement leaders was blocked, initially, by Reince Priebus who
                     clashed with h¡m dur¡ng the campaign. I think Pr¡ebus' problem was Anthony's
                     direct access and the great affection that the president has for him. He is now
                     demanded th¡s retraction, and congratulations to him. I expect him to be now
                     moved to a suitable government position. That's the genesis of this
                     embarrassment for CNN. Meanwhile, there is chaos at Fox. You were just talking
                     a few minutes ago about that other cable news network, Owen.


  Owen Shroyer:      Well, want to hear your take on a narrative that I'm building up during this
                     show. I think that there's a big PSYOP going on right now in the ma¡nstream
                     med¡a colluding with the Democrats to, with fake news, try to oppress our
                     victories, suppress our victories, suppress our momentum, suppress everything
                     that we're doing to think that we're not w¡nning, we're failing, when we are
                     kicking ass right now. I'm think¡ng that certain ¡nstallments of the Republican
                     party with now, specifically Re¡nce Pr¡ebus and Paul Ryan are fall¡ng for that
                     narrative, falling for that fake news, and thus not getting behind President
                     Trump. What do you think of that?

   Roger Stone:      Well, ¡t's possible or they are aware that Trump may be more popular with the
                     grassroots than they concede but that he's just bad for business long-term and
                     short. There's a lot of egos here.

  Owen Shroyer:      There's maybe a little greediness involved as well

   Roger Stone:      The point here ¡s that Donald Trump never kissed the da¡ry a¡rs of these exalted
                     leaders, harrumph. I mean, Washington is broken. The best thing for a majority
                     congressional Republican would be to have a Democratic president. Now, you're
                     an actual player.

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  Owen Shroyer:      The Democrats are hopeless right now. They're eating their own. CNN is failing.
                     Nancy Pelosi is failing. We're winning. We're literally winning and they're trying
                     to tell us we're not! lt's unbelievable. Devastat¡ng victories left and r¡ght with
                     every hearing and they still don't get it folks. We'll be right back with Roger
                     Stone.

  Speaker 1          You've found it, the tip of the spear. lt   ¡s   the Alex Jones Show w¡th Owen
                     Shroyer.

  Owen Shroyer:      Well, there was a free speech rally today, patriots marching against political
                     v¡olence. To no one's surprise, Antifa wanted no part of that. The Democrats
                     wanted no part of that. They're actually pushing political violence right now,
                     endorsing that. Roger, you actually had a bit of a cameo at that rally. Roger, I'm
                     glad that you stand against polit¡cal violence. Thank you for that.

  Roger Stone:       l, unfortunately, based on some conversat¡ons w¡th those in law enforcement,
                     decided now to go because of planned violence. Yes.

  owen Shroyer:      Are you saying you had some ¡ntel that there might've been somebody planning
                     some violence against you?

  Roger Stone:       We believe that based on some conversations I had w¡th law enforcement, and I
                     frankly don't want to endanger other people. Then we do have, I must tell you,
                     an exponential sp¡ke in the number of weekly death threats I get since the
                     success of the Netflix documentary Get Me Roger Stone. lt ¡s a manifestat¡on of
                     that. There's a very, very ugly piece by some woman at The Huffington Post this
                     week. I won't tell you her name or the name of the piece, you might go read it,
                     but it's horrific and vicious in ¡ts scope. An ugly piece by a fellow name Kelly,
                     Mike Kelly at the [¡naudible 00:50:50]. When people start to resent our success,
                     and this case lthink my role in helping the pres¡dent, the crazies come out.

  Owen Shroyer:      Well, it's pretty obvious and when you can't even go to a free speech rally
                     because of violence threats from the left, we've reached a tipping po¡nt here
                     and I think something needs to be done. Who knows where this goes next? We
                     rolled the b-roll of you being on the phone with Jack Posobiec actually. You're
                     still able to make your speech, but it's just amazing to me that we can have all of
                     these people in Hollywood, all of this media portraying the assassination of
                     Trump. I think the final showing of Julius Caesar is ton¡ght. Presldent Trump
                     getting assassinate every night for l¡ke two weeks straight in that desp¡cable
                     performance. Where does this end, Roger?

   Roger Stone:      No, I mean, it is naked in their use of the media to inc¡te, to provoke, and to
                     promulgate violence. You're a hard charger. You remind me very much of a
                     young Richard Dickson when he had communist spy [inaudible 00:52:00] in his
                     sights. I think you understand th¡s is a two-pronged punch. First, they
                     promulgate this lie that ¡s consistent with radical lslam, then they censor our
                     ability through the internet, through their entire Isur-pus-sion 00:52:16]


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                     campaign to censor the internet. Miranda says fake news and use other
                     manipulations of our algorithms, a dozen other smart computer tricks to limit
                     our reach to the patr¡ots out there who would rise up and support a Donald
                     Trump.

  Owen Shroyer:      It's so true. I mean, what you sa¡d ¡s so true, but ¡t goes beyond that. Not just
                     trying to suppress the truth on the internet or suppress and censor patr¡ots on
                     the ¡nternet. They are literally trying to suppress reality. They are literally trying
                     to censor reality. They are l¡terally trying to intimidate us from bringing real¡ty to
                     the people. Roger, we're actually joined by Alex Jones now. We've got a master
                     Jedi council on board now as Alex Jones joins us. Alex, what's on your mind this
                     evening?

  Alex Jones:        Well, I'm just here w¡th my family half-way taking the day off and listening to
                     you guys. ljust wanted to call ¡n. When we won the election on November 8th, I
                     looked at Roger and I said, "The war has just begun." So I'm not somebody that's
                     overly positive. Roger's like, "Hey, celebrate a little bit." I said, "No' Now they're
                     going to h¡t us with everything they've got." They've been arrogant before,
                     putt¡ng out their fake polls, believing their own propaganda. But I can tellyou,
                     Trump killing PPP, Trump killing the carbon tax, the Paris Accords, Trump cutting
                     back the illegal coming across 43%. That's the old number. The new numbers
                     are even higher, reportedly coming out next week, expos¡ng the election fraud,
                     making the big banks loan to small businesses and individual people, bringing 3
                     trillion plus back on the stock market. Now it's 400 billion in new jobs ¡n just five
                     months. Six months.

                     This is unprecedented. So I'm not some love affair with Donald Trump. Qu¡te
                     frankly, when I used to half-way pay attention to him, lthought he was some
                     hotel owner and some guy that was hang¡ng with the Clintons. I d¡dn't like it. lt's
                     what's being delivered and how the enemies are so upset and how they're
                     panicking and how they're go¡ng crazy and how they're go¡ng insane' I called
                     Roger this morning and I said, "Will you come on with Owen?" He said, "Sure." I
                     said, "This is a big victory laugh." They're say¡ng ¡n major news articles,
                     Associated Press, Philadelphia.com that yeah, okay, Roger Stone wasn't a
                      Russ¡an agent. The Democrats want the Russian agent stuff dropped' They know
                     it's killing him.

                     scaramucc¡ they sa¡d was with Stone and some Russian agent totally made up.
                     The Pissgate deal is totally fake. The Democrats won't give the FBI any of the
                     info because it's all fake. They're the ones. lt's coming out that they were the
                     ones. lt's coming out Obama wouldn't allow the ¡nvestigation because he knew
                     that Hillary and himself were up to their eyeballs in it. This is huge victory laugh.
                     Our problem is, as libertar¡ans, as patriots, as conservatives, we don't victory
                     laugh. We're always moving onto the next thing, but we have to sit through and
                     celebrate this, We hear allthis news that we're being defeated and we're being
                     shut down. That's the last gasp of them trying to affect the weak-m¡nded. We're
                     having absolute devastating victories r¡ght now across the board.


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                     American energy's coming way back. That devastates. I'm not aga¡nst Russia,
                     but l'm sorry. lt's bus¡ness. That hurts the Russian economy, helps ours. lt hurts
                     Saudi Arabia, helps ours. Trumps doing everything for America. That's why the
                     globalists are so absolutely, completely pissed. lt's all these spec¡al interests that
                     thought they had dominated America, mounted our head on the wall. They're
                     just mad that we have a president that isn't out to get us. This is a time for
                     celebrat¡on. This is a really b¡g deal happening, and of course they're doubling
                     down and saying that it's the end of the world for us and it's all over and blah,
                     blah, blah.

                     We have more l¡steners and more revenue than we had a month ago before the
                     stupid Megyn Kelly all-out media assault. They h¡t us with everyth¡ng they've
                     got. They're hated. They're despised. The American people have broken with
                     them. They're like desperate clowns pushing all the rape narratives and the rest
                     of ¡t. Back to you guys break¡ng all this down, but this is a really, really important
                     time. The problem is they may launch some big false flag to try to blame the
                     patriot movement and some other things. Back to Roger Stone, Owen Shroyer,
                     and all lnfoWars family.

  Owen Shroyer:      That is  a typical move if you look at h¡story. lf you're facing in an absolute defeat
                     in illegal activity that you've been do¡ng, you try to stage some big event or start
                     a war ¡n order to deflect the attention away from you. Roger, I want to hear
                     your op¡n¡on on this that Alex just brought up talking about the DNC, not will¡ng
                     to cooperate with the FBI or the DHS. How is it? I mean, have you ever seen in
                     your h¡story of being involved in American politics, have you ever seen a
                     situation where if you're looking at something, say Russian hacking or Russian
                     collusion and you separate things onto a partisan level, and you have one side
                     waging against the other side, pointing the finger saying, "Russian hacking,
                     Russian collusion," when there's none there; meanwhile it's all sitting on their
                     side. They're the ones obstructing justice. Based on all the testimonies,
                     everything we've heard, the DNC won't cooperate with DHS or FBI into the
                     ¡nvestigat¡on of this, but they want to find out about this Russia thing, when is
                     reality going to hit home? When is the DNC going to be called to task?

  Alex Jones:        Well, lthink ¡t's a superb question. Also extraordinary this week, stunn¡ng really
                     Bombshell proof of Russian influence in the presidential campaign of John
                     Mccain. Seems that accord¡ng to Circuit News, in a stunning p¡ece, they learned
                     from multiple credible sources that the intelligence services twice warned the
                     presidential candidate McCa¡n not to meet with a certain individual that they
                     deemed to be a Russian asset. ihe gentleman was brought to the table by none
                     other than Rick Dav¡s, Mccain's campaign manager, and former associate of my
                     friend Paul Manafort. Later on, a Russian asset would end up at the Republican
                     ¡nstitution under John McCain, and ultimately, when this became public, would
                     be discharged. John McCain has been a harsh cr¡tic of Donald Trump say¡ng that
                     there's collusion by the Russians in the Trump campaign. I think he's driven by
                     bitterness and a demand for revenge because I really saw the CNN story and
                     this story on Mccain in the two big stories this week.


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  Owen Shroyer:      Well, McCain meets with Russians. Mccain meets w¡th "moderate rebels" in
                     Syria. Who else is John Mccain meeting with? What else don't we know about
                     John McCain? Maybe ¡t's time for Mcca¡n to take the stand.

                     I'm now joined by Dr. Shiva Ayyadura¡. He is running aga¡nst swamp creature
                     El¡zabeth Warren, a real lndian versus a fake lndian. lt is quite a story go¡ng on
                     there, and Dr. Shiva is going to help us dra¡n that swamp. ShivaforSenate.com,
                     VAshiva.com. I would read you his resume, but it would take the entire
                     segment, so I'm just go¡ng to br¡ng Dr. Shiva on with me. Doctor, the last time
                     we spoke last week, it feels like it was light years ago now, the way that I'm like
                     a speeding bullet through the news t¡meline. ljust want to bring you on and
                     let's get to it. What do you th¡nk is the biggest thing? What do you want to talk
                     about? ln fact, how about this? The last t¡me we spoke on air, you issued
                     multiple challenges to Elizabeth Warren. You offered to challenge her to a
                     debate. You offered to donate your lab to her team to prove her claims or at
                     least the claims being made by some of her donors about GMOS. Have you
                     gotten a response from Elizabeth yet?

  Dr. Sh¡va A:       No, we've gotten not response, Owen, because the real¡ty ¡s I think she's
                     extremely afraid of a competitor like me. She would rather have some career
                     politician go head-on-head against her. I think the word you use, dra¡n the
                     swamp, and it means really dra¡ning the swamp of Elizabeth Warren, lawyer,
                     lobby¡st, career politician, fake, a liar who essentially presents herself as a
                     fighter but hasn't really fought for anyone except herself. Then similarly, you
                     have the career politicians who do the exact same thing. I think Massachusetts
                     is literally, and I say we're behind enemy lines here. Our office ¡s l¡terally in
                     Cambridge. I have this beautiful building that I own. ln fact, downstairs, we rent
                     it to a Democrat, Katherine Clark, I'm happy to take her money, but the reality is
                     we're literally behind enemy lines.

  Owen Shroyer:      How dare you, you evil cap¡talist?

  Dr. Shiva A:       We did th¡s before I decided to run, but I think the key point here is that
                     cambridge, Massachusetts, which is sort of the center of the global elite in
                     many ways and delivering a blow to them right here aga¡nst Elizabeth Warren I
                     think is really go¡ng to help what Pres¡dent Trump is trying to do at the national
                     level. The fight that's going on between the establishment and against Trump I
                     think is a h¡storic one, and I think we'd really like to support that. The fact that a
                     entrepreneur, inventor, a scientist, not a career pol¡tician ¡s running against
                     Elizabeth Warren is a significant one because it basically goes back to the
                     founders of this country. The founders of this country were not career
                     politicians. They were soldiers. They were blacksmiths. They were art¡sans. They
                     were entrepreneurs and they really wanted to create a country for all of us.
                     What we now have is a forgotten people whose voice is not being heard. By
                     beating Elizabeth Warren right here in Massachusetts, lthink we deliver a
                     signifÌcant blow right into the belly of the beast.



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  owen Shroyer:      Yeah. I don't know if you saw her recent comment calling the Republican
                     healthcare bill a bill for blood money. Did you see that?

  Dr. Shiva A:       Isaw that. Th¡s woman has no solut¡ons for anything. lt's purely just random
                     attacks and I really wonder if everything's okay ¡n her mind because if you read
                     her attacks, it's all about spending money, ranting on what we are, werre not
                     doing against the Russians and the use of allegory, which is about blood and et
                     cetera. I think the woman ¡s actually off her rocker and ¡s becoming unhinged,
                     which is a good thing for us.

  Owen Shroyer:      Yeah, I completely agree. lcompletely agree. She's completely lost her mind. A
                     lot of the Democrats really have. You're see¡ng this. I don't know ¡f that's fear of
                     them losing their command post that they've never really had or it's fear that
                     maybe there's some justice that might be coming down on them, but it really is
                     despicable for these people for Elizabeth Warren to come out and say blood
                     money. I mean, agaln, especially ¡n the midst of all this political violence being
                     done aga¡nst conservatives, I mean, Steve Scal¡se just gets shot. He was just
                     released from the hospital. I willjust say this.

                     I really believe that, and I know that we d¡scussed this. You were born outside of
                     the country, but I believe that you would actually be president of the United
                     States material. I mean, your resume, everyth¡ng you've done, the views you
                     have on this country. To get you in to replàce Warren would not just be getting
                     a swamp creature out. I mea n, I'm not just here to fluff your feathers. I think it
                     would be great to get a mind like you in there, someone l¡ke you in there, an
                     ideas person. For example, I don't think Elizabeth Warren has the capability to
                     offer her lab for science to anyone. Does Elizabeth Warren have a lab that she's
                     going to run the testing on the GMOs?

  Dr. Shiva A:       Ithink what Elizabeth Warren has is basically the backing of the Hollywood
                     elites and the academic el¡tes who, really, the anger that we see from El¡zabeth
                     Warren and the "liberal Democrats," the anger is not really against Donald
                     Trump but what he represents. He represents the fact that everyday people, the
                     forgotten people rose up and they voted for a guy who's actually done th¡ngs.
                     That's bugs them because they've lost control over their narrative. This is a
                     fundamental problem that they have. Getting to solutions, owen, our campa¡gn


                     By   the way, we're coming to our end of June 30th deadline. Elizabeth Warren
                     has raised close to 56 million. She already has a little mini war chest. We are out
                     there doing direct to people, so anyone who wants to support us, whatever you
                     want to g¡ve, ¡t's at Shivaforsenate.com. Pr¡mar¡ly, we are running our campaign
                     as an entrepreneur would do. We're not pay¡ng high paid consultants. We're not
                     going to go do massive ads on TV, which we know most people do not trust ry
                     anymore. Fox News, what Alex does is probably the last beacon of truth that's
                     out there, at least certain elements of Fox News.




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                     Our view  ¡s th¡s campaign is really about winning the future for you. Winning the
                     future for you, what does that mean? As you said, Owen, myjourney, everyone
                     who's listening's journey, it was my parents were poor, low-caste lndians from
                     lndia. We came here. lcame here as a seven-year-old, went through the publ¡c
                     school systems of New Jersey, amazing public school, dedicated teachers, great
                     mentors, great coaches, like every American out there has exper¡enced. That's
                     what makes America great. Fortunate to go to MlT, did a bunch of degrees, four
                     degrees, got my PhD. More importantly, I had the opportunity to create jobs
                     and give back.

                     What we're see¡ng r¡ght now ¡s we have ... You look at the resume of Elizabeth
                     Warren, You look at the resume of any of these career polit¡cians. lt's incredible
                     that they go out there and have the audacity to say, "l'm going to create jobs.
                     l'm go¡ng to fix things." None of these people have done any of that, so I find it
                     very hard that they can do any of those thlngs because they haven't had an
                     exper¡ence doing that. I think the opportunity is one of the things, when we look
                     at th¡s ent¡re campaign that we're fostering, we want to bring a lot of people
                     into th¡s, Owen. Even people in the Warren camp and the Bernie camp. People
                     have been disenfranchised, have been completely sold out. Both of these
                     people voted for crooked H¡llary completely. Hillary should be in jail.

                     Sanders voted for her, want   to remind everyone listening, plus Elizabeth
                     Warren. Both supported her and sold out their base. One of the key areas we're
                     looking at is clean food. Clean food, clean air. Elizabeth Warren voted for the
                     Monsanto Protection Act, which allows the executive division of this country
                     under Obama, Department of Agriculture, to overrule federal court judges who
                     want to impose injunctions on genetically enBineered food, ¡f they're found to
                     be bad for us, which they have been through [inaudible 01:06:45] et cetera.
                     Elizabeth Warren, l'll repeated, voted for the Monsanto Protection Act. All of
                     you people in Hollywood who eat your organic foods ¡n Mal¡bu, all of you people
                     go to the organ¡c farming out there know this candidate, who you may have
                     been bamboozled into giving money, actually supported the Monsanto
                     Protection Act.

                     l, on the other s¡de, my entire life has been spent learning how you integrate
                     traditional and lndian medic¡nes. One of the key things we're looking at is, we've
                     actually shown, as Owen has pointed out, that Monsanto and genetically
                     engineered foods actually hurt us and we've shown that-

  Owen Shroyer:      Hold it right there. We'll be back with Dr. Shiva on the other side of this break.

  Speaker 1:         As First Lady and co-president, did Hillary Clinton order the Waco siege that left
                     18 children dead? Find out in The Clinton's War on Women.


  Owen Shroyer:      lnfowarsstore.com 4th of July summer mega specials. Store free shipping store-
                     wide free shipping r¡ght now. Rainforest plus 30% off, Super Male Vitality 30%
                     off. Survival ShieldX2,30% off.¿-Shield 30% off. Our storable food , 30 to 4oo/o
                     off. The Emr¡c's Essential Outdoor Pack,40% off retail. That's a very timely

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                     special right now with 4th of July coming up, summer activities. Get the bug
                     spray. Get the SPF30 sunscreen. All natural products. Really think about the bug
                     spray that you put on you, folks. lf you look into the ingredients in bug spray ...

                     Look. I had a buddy who worked at the engineer¡ng plant that manufactured, I
                     won't say what bug spray, but the b¡g leading bug sprays, and he said that
                     work¡ng there, he never went anywhere near bug spray again because you see
                     the chemicals that they put in there. Well, let's see. The bug spray is meant to, I
                     guess, ¡t's so disgusting that the bugs don't want it. Why would you want it on
                     your skin? That's why Emric's Essential B-Away Spray is all natural ingredients,
                     not the toxic chemicals that they put into the mainstream bug spray. Get your
                     outdoor pack 40% off right now. lf you order that today, you could probably
                     have it def¡nitely by the 4th of July. Pretty timely getting these products to you.
                     Take advantage of the 4th of July mega specials. Take advantage of the 40% off
                     of the Emr¡c's Essent¡als Outdoor Pack, and stop putt¡ng toxic bug spray on you
                     and your kids'skin. Use the Emric's Essential B-Away Spray.

                     Alright. I'm joined again by Dr. Shiva. He said something to me that actually
                     creates a new story, to be honest with you in my mind. I'd like to hear him
                     clariry. He talked about how he's running his campaign from an entrepreneurial
                     point of view, not wanting to spend a bunch of money in TV ads, not wanting to
                     spend a bunch of money on advisers, this, that and the other thing. l'm just
                     curious. Are you looking at ... I don't know if you want to phrase it thls way. I'll
                     phrase ¡t th¡s way, and then l'd like to hear what you think. You're looking at a
                     low-budget campaign.

                     You're not really looking at ¡t from the standpoint of "we need to spend all this
                     money on advertising and everything." What you're going to see here is, if
                     you're successful, and we're already starting to see this, but ¡f you dole it out to
                     be, "Hey, we're going to do a low-budget campaign because we're not going to
                     waste the excess dollars, like the m¡llions that the Democrats are, on W ads, on
                     the advisors, on the th¡s, on the that, on the lawyers." Now you have a situation
                     where, if you're successful at running a campa¡gn low-budget, I think that scares
                     these polit¡cians. lthink that scares the mainstream lifelong politicians because
                     that's their bread and butter, baby! That's their bread and butter. They need
                     that big money campaign. You could smash that entire thing is what you're
                     saying.

   Speaker 1         Yeah. Look, owen, the opportunity here, many of the businesses l've started
                     ult¡mately, to technology, that brings ¡n many ways ... levels the playing field.
                     What you have right now, if anyone in the audience wants to run for office, they
                     will right away get hit by the small clique of local consultants. I mean, we've
                     been hit by them all here, all tell¡ng how they can do th¡s, that for us. All
                     attempt¡ng to essentially sleaze their way ¡n to get their next g¡9. As a part of
                     that getting their next gig, they start conv¡ncing you how much money you have
                     to spend. Part of what we're doing with this campaign is we're us¡ng technology.
                     Modern technology, some of the stuff I've built, that, in fact, technology that I


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                     did called EchoMa¡1, which actually helped the Bush campaign baçk ¡n 2000
                     which we've advanced.

                     The issue is these tools, if we really want democracy, should be made accessible
                     to anyone who runs. But what these guys do, they own their intellectual
                     property of mailing lists, they Own ¡ntellectual property oftechnology and all
                     the little methods on how you actually even get on the ballot. ln Massachusetts,
                     we have th¡s whole delegate process that you even have to get on. lt's all
                     controlled in little fìefdoms. The reality is we're coming in as outs¡ders, we get in
                     front of many of these town committees and people are wondering, "Where
                     have you been? You're the only one who can beat Elizabeth Warren." ln fact,
                     the establishment is getting very, very concerned about it, but it's very excit¡ng
                     because what I see happening out of th¡s, not only we're going to beat Elizabeth
                     Warren, but the tools and methodologies we create, we want to give them back
                     to the people on how we won because we need to really completely
                     revolutionize the way these campaigns are run.

                     To your po¡nt, Owen, it's a rigged system, and Elizabeth Warren ¡s part of   that
                     rigged system. Establishment politicians are part of that. None of them ever talk
                     about any significant issues. Yes, we need lower taxes. I mean, this is duh. That's
                     all they do. Lower taxes, higher taxes. lf you take the situation all over this
                     country, wh¡ch Pres¡dent Trump ¡s starting to address, same situation ¡n
                     Massachusetts, and that's this situation. We have a solution for that. For every
                     17 skilled job openings, Owen, only one skilled person can show up. Think about
                     that. We have millennials who are listen¡ng to this. Many of you know you have
                     30, 50, 5100000 loans that somehow you were bamboozled to go to college,
                     take "student loans," which never went into your bank account. They went into
                     the pockets of your university officials. Then you graduate, and what skills do
                     you have? You're not even employable.

                     What we've done ¡n America is created an uneducated, or educated bunch of
                     idiots in many ways, unfortunately. That's what's happened in this country.
                     Many of those people, millennials are waking up and they're saylng, "Why did I
                     do this?" One of the big opportunit¡es is going back to the good old days of how
                     work got done. You d¡d apprenticeships, which Pres¡dent Trump is promoting.
                     Here, we believe we need to unleash vo-tech schools. ln many ways, the school I
                     went to, MlT, was really a high-tech vo-tech school. We need to make sure
                     people have skills. lf we don't do that, they're going to go to China and other
                     countries. That's the fundamentals of increasing the economic base of a
                     country. You need skilled people.

                     The other piece that we're talking about is we need to unleash technology. You
                     look at the way in Massachusetts, Owen, what's phenomenal ¡s at the state
                     convent¡on, which ¡s com¡ng up in April, where they nominate the¡r candidates,
                     you'll be amazed to know st¡ll done all paper. All paper, which means the local
                     politicians manipulate things, make things up. ln the last state convention, as we
                     understand, paper ballots were being shredded. Things were being rewritten.
                     This is how politicians are runn¡ng, as though they own the politics of what goes

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                     on and not we as people. We don't really have democracy in this country, and
                     Trump's winning was a big win for that.

                     My winning, and us going on this journey together is going to be a big win for all
                     of us, so we have to beat Elizabeth Warren. She's raised 6 million bucks. We
                     want to ra¡se more. We're doing it organically. We believe we can do it at one-
                     tenth ¡n which she's done it. So anyone who's listening out there, whatever you
                     can give, f¡ve bucks, one buck, go to Shivaforsenator and donate because this is
                     really about us and this ¡s really about winn¡ng the future for all of us.

  Owen Shroyer:      Yeah, and you getting ¡n there is a representat¡on of us infiltrating that rigged
                     system. That's what they hate. They hate the outsider even being able to get in
                     I think that they're scared of that. Bernie Sanders tweets out this weekend
                     saying, "Why can't government come together on healthcare?"

  Speaker 1:         He's a complete idiot.

  Owen Shroyer:      As he's literally stealing money. But they don't understand this not¡on, and it
                     goes along with what you were say¡ng about the higher education in America
                     fa¡l¡ng r¡ght now. People don't even understand. America is running ¡nto   a
                     shortage of doctors r¡ght now. Alr¡ght?

  Speaker 1:         Exactly.

  Owen Shroyer:      This whole healthcare thing, this whole magical unicorn healthcare plan that
                     you think everybody can just go to the hospital, see a doctor and get healthcare
                     is completely ludicrous. We don't have the doctors. lf we had an excess of
                     doctors, maybe we could solve that problem. That is not the case. F¡nal word
                     from Dr. Shiva.

  Speaker 1:         Yeah. lthink you sa¡d it. El¡zabeth Warren's out there talking about a healthcare
                     is a human right. What's a human right is choice. The reality is because of the
                     Obamacare bill, tens of thousands of doctors have gone out of business. The
                     private practice where your doctor sees you, looks at your hands, looks at your
                     tongue. That's where healthcare happens. Most of those doctors have gone out
                     of business and have had to jo¡n large hospitals. We all know, you go into a
                     hosp¡tal. There's a two out of f¡ve, three out of five chance you're golng to get
                     unhealthy. We're not discussing healthcare. lt is through food, nutrit¡on, not
                     eating pesticide-ridden products. That's how we get healthy.

  Owen Shroyer:      Exactly. Dr. Shiva, thank you so much. ShivaforSenate.com. Support the outsider
                     gett¡ng ¡n.

  Alex Jones:        Dr. Shiva Ayyadurai is our guest. He's got four degrees from MIT and others as
                     well, patr¡ot, and he's running for senate against the fake Native American. Of
                     course, they thought they found lndia so they called the Native Americans
                     lndians, but he's actually an lnd¡an, so he's the real lndian running against the


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                     imposter. He's kind of used that as one of his slogans. Gett¡ng into the campa¡gn
                     to run against this lady, let's break down her record and what she's really up up.

  Dr. Sh¡va A:       As you may know, Alex, lndia has a very oppressive caste system. My parents
                     had this very futuristic vision and they made it out of there and they came to
                     America because the founders of this country had a very different vision for
                     America, wh¡ch was through your hard work, through your bravery, through
                     your resilience, you've created things. That's what this country is about. The
                     idea of the founders was that between us and our Creator was not supposed to
                     be monarchs, the nobles, the priesthood. lt was about us having a direct
                     connection to our God and our Creator. That's what makes this country great.

                     Elizabeth Warren and the self-serving elit¡sts, Harvard and all these lvy League
                     Inst¡tutions and the big institutions, fundamentally believe that they know
                     better, Alex. I know you know better. I know we know better. But that's a
                     fundamental reason, so my journey as an entrepreneur, sc¡entist, engineer has
                     shown me that, ultimately, those people who actually work for a living, produce
                     things, entrepreneurs, people like yourself who create things are the ones who
                     make this country great. People like Elizabeth Warren, the establishment
                     politicians and political hacks, they fundamentally add zero value.

                     I've been fortunate, because of this great country, Alex, to have accumulated
                     wealth. I've been able to get educated. I could not have done that in the
                     oppressive caste system of lndia, so I bel¡eve I owe someth¡ng back. I love this
                     country, and Elizabeth Warren ¡s what I call the not-so-obvious establishment.
                     When we look at the arc of pol¡tical history, we have the establishment, the
                     populace movement, those people on the streets wanting a better day for
                     themselves and their family. Then you have the not-so-obvious establishment,
                     which ¡s what El¡zabeth Warren, Bern¡e Sanders, these people represent. They
                     speak a good game. As you talk about, they're very, very clever with pR.
                     Revolution, hope, change.

                     But fundamentally, they want to suck out the populace movement and dr¡ve it
                     back to the establishment. As a student of systems, as a student of science, I
                     fundamentally want to stop these guys. More ¡mportantly, I want to drive a
                     massive defeat to Warren. ln know I can do this right here in Massachusetts. I
                     think people l¡ke Elizabeth Warren need to be stopped and I believe that lwas,
                     in many ways, my hard working grandparents sending my parents and this great
                     country and the fathers of th¡s country put me and gave me this opportunity,
                     this point ¡n history, to stop someone l¡ke Warren, to basically support this new
                     American revolution.

  Owen Shroyer:      Alright. We're going to do a news blitz here in the final segment. Please support
                     lnfoWars. Got to lnfowarsstore.com. Take advantage of all the mega specials
                     right now at the store, including free shipp¡ng store-w¡de. lnfowarsstore,com.
                     Alr¡ght, l'm just go¡ng to do a news blltz all across the board here. Let's start
                     here. Sadiq Khan, the mayor of London, London-¡stan, that says terrorism is just
                     part and parcel to your life, get used to it backs amnesty on GrenfellTower

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                     illegal immigrants. This story just gets weird and more ¡nterest¡ng. lt's really just
                     sad as that build¡ng stands there in London.


                     Somehow, this bu¡lding was a raging inferno for, what, hours and hours and
                     didn't fall, hint-h¡nt, wink-wink. But now it just stands there, a burned carcass of
                     its former   sell an eyesore that stands in London. Maybe     a sign. Maybe a sign.
                     Think about it. This is a building filling with immigrants, gets burned, torched.
                     They claim it's from a refr¡gerator. I don't buy that from a second. Then
                     magically, all the ¡mmigrants that were living there are now about to become
                     legal citizens because Khan is go¡ng to give them amnesty. And then on top of
                     that, you have a nice eyesore, a nice building burned sitting there in London.
                     Part and parcel, folks. All part and parcel.

                     Yeah, how about this? Now, I saw this earlier. "lran unveils countdown clock to
                     the destruction of lsrael," so apparently now, lran ¡s just openly runn¡ng a
                     countdown clock to when they're go¡ng to destroy lsrael. Then you see this story
                     in the Jerusalem Post. "Massive lranian funding for anti-lsrael terror groups
                     revealed." Now, l'm not go¡ng to take any political stance on this, okay? Where
                     do you th¡nk they got that money? Where do you think that massive funding
                     came from? $400 m¡llion cash from Barrack Hussein Obama? Think about that,
                     folks. You want to talk about an investigation, how can we not get Obama on
                     the stand for a cash deal to lran that is now funding terror groups and claiming
                     they're going to destroy lsrael? Now matter what you th¡nk about these
                     countries polit¡cally, this is sick. This ¡s twisted. Th¡s has Barrack Obama's
                     fingerprints all over it. All over itlWow.

                     Fake hate: Muslim arrested for torching her own mosque in lowa. Honestly, ¡t's
                     strange because think about it. The multiple t¡mes now that we've had these
                     mosque attacks, the story gets buried real quickly. Have you noticed that? I
                     think that's because we continue to see this trend, that they're staging these
                     hate attacks, folks. Th¡s is like the fifth story I've seen of this now. They all end
                     up being staged.

                     Now just to go back and remind you, the FBI is st¡ll ¡nvestigating Bernie Sanders
                     and his wife for bank fraud. This is the same Bernie Sanders that called Donald
                     Trump a fraud. You are the fraud, Bernie Sanders, and your wife. That's why
                     you're being investigated. I hope justice befalls the Sanders family. They would
                     like that, though. Sanders are for justice. Right, Bernie? You're all about justice.
                     You're all aboutjust¡ce, Bernie. Bernie! Oh, Bern¡e! lsn't Bernie Sanders all
                     about justice? "l mean, folks, we've got people that are poor. We've got the
                     poor people out there, and then we've got the millionaires and billionaires. The
                     millionaires and billionaires are aga¡nst the poor people, and so I'm for justice
                     for anyone that would ever take advantage of poor people and keep poor
                     people down that has millions of dollars. I'm Bernie Sanders, and anyone that
                     would try to obstruct justice from coming down on somebody that wants to
                     steal from the r¡ch and give to the millionaires and bill¡onaires, well, we're going
                     to stop that."


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                     Hey, Bernie, you're a millionaire and you're being investigated for bank fraud.
                     "Noth¡ng to see here. Noth¡ng to see here. This is just a minor mistake. Minor
                     mistake here. The FBI will find nothing." Bernie, do you want justice in the FBI
                     investigation into you? lwonder. I'd l¡ke to hear someone ask that, Bernie.
                     Bernie, would you like to have justice into the fraud investigation that is being
                     looked into you and your wife right now? Would you like to see justice in that?
                     For some reason, I highly doubt ¡t. I th¡nk Bernie doesn't want that justice. Then,
                     of course, you've got the story that broke on Zero Hedge.

                      Megyn Kelly fails to fact check Sandy Hooks father contradictory claim in Alex
                     Jones'p¡ece. Yes, that's r¡ght. Ne¡l Heslin made a statement ¡n the Megyn Kelly
                     h¡t piece on Alex Jones about an experience he had after the Sandy Hook
                     shoot¡ng that does not corroborate with fact checkers, does not make sense.
                     Now you have Megyn Kelly, folks, who did a h¡t piece on Alex Jones to try to
                     smear Alex Jones and paint an inaccurate picture using Sandy Hook about Alex
                     Jones to demonize him to the public, and then in the attempt of doing that,
                     Megyn Kelly actually adds to the conspiracy theory! So Megyn Kelly is now
                     fanning the flames of conspiracy theory w¡th Sandy Hook with Ne¡l Heslin's
                     account say¡ng he held his son, which according to coroners and past reports is
                     impossible. That's not just something you misremember, is it? Holding your
                     dead child. Somehow, I don't think you misremember that.

                     Meanwhile, in Venezuela, the communist haven, more riots, more protestors,
                     oh by the way ,.. By the way, folks. The millionaires and billionaires in the
                     commun¡st haven ofVenezuela are still eat¡ng lobster, still eating steak, still
                     going about their lives while the rest of the public in the magical communist
                     land ofVenezuela ¡s literally eating pasta with crap. That's not a figure of
                     speech. lt's now In the news, People in Venezuela are using excrement to eat
                     pasta. That's nice.

                     I just wanted to remind our friends right now that are missing Barrack Obama.

                     They're missing Barrack Obama. "We're miss¡ng Obamal', Look at these charts,
                     folks. Look at these n¡ne charts right here. This tells you the Obama legacy.
                     Student loans skyrocket. Food stamps skyrocket. Federal debt skyrockets.
                     Money print¡ng skyrockets. Health insurance costs skyrockets. All record highs.
                     All record highs. Labor force part¡cipat¡on rate drops. Worker,s share of
                     economy drops significantly. Median family income drops s¡gnificantly. Home
                     ownership falls off the grid. That's Obama's legacy. That,s from the federal
                     reserve bank ¡n St. Louis. There's your Obama Legacy, and now Trump has called
                     for US dominance in global energy production. Now, I want to play this clip
                     before we get out of here. Rand Paul talking about the "Trumpcare bill', being
                     worse than actual Obamacare. Roll Rand paul. Do we have-

  Rand Paul:        Well, what we can do is, ¡f they cannot get 50 votes, if they get to ¡mpasse, I've
                    been telling leadership for months now that lwill vote for a repeal. lt doesn,t
                    have to be 100% repeal. For example, I'm for j.00yo repeal. That's what lwant.
                    But if you offer me 90% repeal, l'd probably vote for it. I might vote for gO%
                    repeal.

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  Speaker 26:        What percent    ¡s   it now?

  Rand Paul:         But real¡ze, hey just one second. Realize that the Obamacare subs¡dies in this bill
                     are actually greater under the Republican bill than they are under the current
                     Obamacare law. That is not anywhere close to repeal.

  owen Shroyer:      You know, it's almost ... I'll try to put a silver lining on this. I'm hoping that this is
                     literally a troll bill. See, I don't think there's going to be any victory with this bill
                     I don't think it really has a shot, even though the Republicans celebrated it. I
                     really don't think there's a shot at victory. Now Rand Paul points out that this
                     bill in some ways is actually worse than Obamacare, so why would Republicans
                     be pass¡ng it? Maybe this is a way for Trump to identify the people inside the
                     party that are really frauds or really ignorant or ... Because it doesn't make
                     sense. lt's not going to pass, and you know that Donald Trump always l¡kes to
                     have victories and he's basically setting himself up for failure w¡th this bill. So
                     ¡t'll be interesting to see what happens. Apparently, they're going to vote th¡s
                     week. lt will fail. I don't see any way that that vote is successful.

                     Alr¡ght. Well, thanks to everybody who tuned ¡t. Thanks to everybody who goes
                     to the story, lnfowarsstore.com. Please take advantage of of our specials, folks,
                     the best products, the best prices. We're trying to get you bug spray and
                     sunscreen that's all natural, trying to get you bug spray for the 4th of July
                     celebrations, fireworks, your fam¡ly that's not go¡ng to force you to rub toxic
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                     More than anyth¡ng, this is how we're able to be a free and independent media
                     company because we answer to you, who buy our products, and then we get
                     f¡ve-star reviews on everything. By the way, before we go, who knows what's
                     go¡ng to happen w¡th this? Anonymous now claims NASA is about to announce
                     evidence of alien life. Based on my understanding, they've already declassified
                     many of those documents, We'll see if there's anything there, Could be a P5YOP

  Speaker 27         Protect your sk¡n with SPF30 sunscreen lot¡on by Emric's Essentials. Perfect for
                     face and body, this natural, unscented sunscreen can be worn at all times of the
                     day whenever you need sun protection. We source ingredients from nature,
                     producing a product free of harmful chemicals and toxins. This natural lotion
                     contains 21% z¡nc oxide, which is the largest particle size used, and we do not
                     use nano-particles. The larger the part¡cle, the safer it ¡s for your body. The
                     organic oils help hydrate the skin, leaving ¡t nice and smooth. The truly natural,
                     fragrance-free sunscreen for the most sensitive skin. Emric's Essentials wants
                     you to enjoy the sun and strives to being you organic products to enhance your
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7   t3t201a                                    Sandy Hook parents suo Texas conspiracy extrem¡st for defamatìon - NewsT¡mes
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                Sandy Hook parents sue Texas consp¡racy extrem¡st
                for defamation
                By Rob   Ryser Updated 11:00 pm, Tuesday, April17, ZO1g
                ÄDVËRTISËIVËNT




                IMAGE 1 OF 4

                Alex Jones




                         NEWTOWN       -   The defamation lawsuits filed this week against conspiracy theory
                         extrem¡st Alex Jones by parents who lost children in the Sandy Hook shootings
                represent an escalation in the families' years-long fight against major crime deniers.




    https://www.newstimes.com/local/art¡cle/Sandy-Hook{arents-sue-Texas-consp¡racy-extremist-12841014.php                     1t6
7   t3t2018                                    Sandy Hook parents sue Texas conspiracy extrem¡st for defamat¡on - NewsTimes
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            For the first time, families are seeking millions of dollars in civil damages from the Texas
              man, who has called the worst crime in modern Connecticut history,,staged," ,,synthetic,"
              "manufactured," "a giant hoax" and "completely fake with actors,', with ,,inside job written
              all over it."


              Although the two defamation cases filed in a Houston distr¡ct court on Monday deal with
              specific statements Jones made about two Sandy Hook parents in 20.l 7 on his web-
              based program lnfoWars, the cases cite what the families' lawyers call ,,a long history of
              harassing the Sandy Hook families with defamatory lies."


              "This heartless and vile act of defamation re-ignited the Sandy Hook,false flag'
              conspiracy and tore open the emotional wounds that plaintiff has tr¡ed so desperately to
              heal," reads one of the lawsuits. "This conspiracy theory, which has been pushed by
              lnfoWars and Mr. Jones since the day ofthe shooting, alleges that the Sandy Hook
              massacre did not happen, or that it was staged by the government and concealed using
              actors, and that the parents or the victims are participants in a honifying cover-up."


              The lawsuits come two weeks after a Massachusetts man sued Jones for defamation for
              falsely identifying him as the shooter in the valentine's Day massacre of I7 students and
              staff at a Florida high school. The Florida shooting was the deadliest school shooting in
              the united states since the sandy Hook shooting of 26 first-graders and educators in
              20't2.



              ADVÊIì] ISËI\¡IINT




              Neil Heslin, the father of slain student Jesse Lewis, and Leonard pozner and Veronique De
              La Rosa, the parents of slain student Noah Pozner, are seeking more than Sl mill¡on in
              damages.


                                                                                               Jones is accused of saying on
                   :.. ?..   ,,....i..,   ,r... 1,..,,_ ,,.i-",:*S                             his program that Heslin "was
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                                                                                               lying about the circumstances
                                                                                               of his son's tragic death for a
                                                                                               nefarious and criminal


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7 t3t201A                                  Sandy Hook parents sue Texas conspiracy extrem¡st for defamat¡on - News'Iimes
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                                                 of 692        r last summer, accord¡ng to




                                                                     program that De La Rosa ,,was
              an actor in a faked interview with CNN's Anderson Cooper used to cover up the ,truth'
              about Sandy Hook," Pozner and De La Bosa's lawsuit reads.


              AOVËRTISÊI\IËN]'




              Jones did not respond to a request for comment on Tuesday.


              Although families that lost loved ones in the Sandy Hook shootings have been harassed
              by lone extremists in the past, Jones became the focus early last year after the election of
              Donald Trump, when Jones bragged the new president had called to thank him for his
              support.


              ln response, the Newtown Board of Education wrote to Trump for his help to "stop Jones
              and other hoaxers like him."


              The White House did not respond.


              Then in June, Jones made headlines again in Newtown when he was booked to speak
              with Kelly on a prime time Sunday night show.


              The homegrown nonprofit Sandy Hook Promise took the lead in calling for NBC to cancel
              the show to "keep Jones' extremist views from gaining prime time exposure."


              Sandy Hook Promise dropped Kelly as the emcee of its Washington, D.C. gala, but Jones
              went on as scheduled.


              An attorney representing some of the families said Jones "has weaponized his radio show
              to publish false and defamatory statements about our clients; chief among them that they


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          are actors perpetuat¡ng a massive fraud on the American public by faking the deaths of
            their loved ones."


            The defamation lawsuits filed this week noted the case of Lucy Richards, a Sandy Hook
            conspiracy theor¡st, who was sentenced to five months in prison in June for sending
            threats to Pozner and Heslin.


            "There are no alternative facts," Senior u.s. District Judge James cohn told Richards at
            her sentencing.


            As part of her sentence, Richards was barred from viewing a list of conspiracy websites,
            including lnfoWars, the lawsuits sa¡d.




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         Megyn Kelly Defends Interview With Infowars Host Alex Jones


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         Megyn Kelly Defends Interview With Infowars Host Alex Jones
         by Erik Ortiz / Jun- 13.2017 I 9:36 AMET / Updated Jun.13.2017 / I t:04 AM ET




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                                                                                                                         Economic Forum in St. Petersburg, Russia-NBC News
              Megyn Kelly moderates the plenary session as Russian President Putin hosts the S1. Petersburg Intemational


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                                                                                                                                host Alex Jones, saying in     a statement   that she sat down
              NBC News anchor Megin Kelly on Tuesday defended her upcoming ioterview with the conspiracy theorist and tnfo\dars
              with him "to shine a light" about thc "considerable falsehoods" he peddles.
                                                                                                                                      to giving a platform to Jones, who has previously
              Families ofthe victims ofthe Sandv Hook Elementarv School shootins in Newtown, Connecticut, have vocally objected
              asserted that the massacre that claimed 26 lives was concocted by the govemment. They also criticized
                                                                                                                    the planned airing ofthe interview with Jones on "sunday Night with
              Meg¡rn Kelly" as being in poor taste because it coincides with Father's Day'




                 &      Megyn Kelly
                        @megynkelly

                 Next Sunday, I sit down with conservatìve rad¡o host
                 @Reâ14¡exJones to discuss controvers¡es and conspiracies
                 #SundayNight June '18 on NBC
                 6:59 PM - Jun 11.2017

                    5,459     16.4K people are lalking about this




              Uûited States and a growing audience of millions?"




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         She said that Jones has been elevared by praise     from President Donald Trump, who has appeared on his show and granted his outlet Whitç House press crede¡tials-

         Related: Dåughter of Sandv Hook Victim Demands Donald Trümo Disown Alex Jon€s

                                                                        asjoumalists are supposed to do        on this influential figure, and yes       to discuss the considerable falsehoods he has
         ',Our goal in sitting down with him was to shine a light                                         -                                          -
         promoted with near impunity," Kelly said.
                                                                    -

         She also said that she respects the decision by the   nonp¡ofit Sandy Hook Promise to drop her       as the host   of its Promise Champions Gala on Wednesday night in Washington, D'C'

         ,'Sandy Hook promise cannot support the decisioa by Megyn or NBC to give any form ofvoice or platfom to Alex Jones and have asked Megyn Kelly to step down as our
         promíse Champion Gala host," Nicole Hockley, co-founder and managing director ofthe organiztion, said in a statement. Hockley's 6-year-old son, Dylan, was killed at Sandy
         Hook.



             :1r:j
                     Sandy Hook Promise
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                                  Sandy Hook Prom¡se Statement on Megyn K.
                                  sandyhookPromise.org




                142      112 people are talk¡ng about this



         Kelly said Tuesday that she is "ofcourse disappointed that I won't    be there   to support t¡em." Here is her full statement;




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            I understand and respect the decision of the event
           organizers but l'm of course disappointed that I wo¡'t
           be there to suppof them on Wednesday night. I lind
           Alex Jones's suggestion that Sandy Hook was
           "a hoax* as personally revolting as every other
           rational person does. lt left me, and rnany other
           Ameritâtrs, asking the very question that prompted
           thìs interview: How dces Jones, who trafic$ in these
           outrageous consp¡racy theories, have the respect of
           the president of the United Siates and a growing
           audience of millicns?
           President Trump, by praising and citing him,
           appearing on his show, and giving him White House
           press credentials, has helped elevate Jones, tc the
           alarm of many. Our goal in sitting down with him was
           to shine a tight - as joumalists are supposed to dc -
           on this infl¡:entiaf f¡gure, and yes - tro discuss the
           conside¡'able fâlsehoods he has promoted with near
           impunity.


            &      Megyn Kelly
                   @megynkelly

            Here is my statement regarding Sundây n¡ght's interview:
            10:28 AM - Jun 13,2017

               5,839      7,556 people are talk¡ng about th¡s


                                                                                                                                                   platform would only encourage
         Nelba Marquez-Greene, whose 6-year-old daughter, Ana Grace, was killed at Sandy Hook, told The Associated Press that giving Jones a wider
         his followers to harass her further

         ,'You can'tjust put him in a box and say he'sjust a cha.ractel," Marquez-Greene said. "He's really hurting people."




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         ln a preview of Kelly's interview with Jones, she asks the fa.r-right radio host ifhe considers himself   a   paranoid person.



         communists at point-blank range."

         He also called the 9/ I I attacks an "inside job" and said the Sandy Hook shooting was "complex."

         Recommended




         'I'm a very     stable genius.' Trump says as NÄTO summit ends

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         Peter Strzok on anti-Trumn texts:              'I   do not have bias'

         When Kelly asked him about his falsehood that the Sandy Hook pa¡ents faked their children's deaths, as he ctaimed in the wake ofthe rampage, he changed
                                                                                                                                                                 the subject.


         Related: Infowårs' Alex Jones Savs Trumo Made Thank You Call

         "Thal's not   a dodge," Jones said.   "The media never covers all the evil wa¡s it's ptomoted."

         "That doesn't excuse what you did and said about Newtown," Kelly said. "You know it."

                                                                                                                                                issue that people should be concemed about
         "I looked at all the angles ofNewtown and I made my statements long before the media even picked up on it," he said, adding that the
         are "animal-human     hybrids."

         The early outcry over the interview prompted JPMo¡gan Chase to drop its ads su¡rounding the show's airing and has created a storm on social media.

                                                                                                                                     give a second of airtime" to Jones.
         JpMorgan Chase's chiefmarketing ofrcer, Kristi[ Lemkau, tweeted that "as an advertiser, I'm repulsed that Megyn Kelly would

         But Liz Cole, the executive producer of"sunday Night with Megyn Kelly," asked thal critics look at how the entire interview is presented on TV.
                                                                                                                                                                         said. "Until
         Jones is
                  ,,a
                      cont¡ove¡sial figure, but asjoumalists, it's ourjob ø interview newsmakers and people ofinfuence no matter how abhorrent their views may be," Cole
         you see the full program, in proper context, I would withhold judgment."



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   Bum Rap for Rahm
   By Viveca Novak

   Posted on January 13, 2017




    Sen. Rand Paul distorted an old quote from Rahm Emanuel during an appearance on Fox
    Business, as he disparaged the reaction of liberals to last weekend's shootings in Tucson.

    The Kentucþ Republican, who took office just this month, was asked on Wednesday by
    Fox host Andrew Napolitano how pundits (Paul Krugman, a liberal columnist for the Ne¡ø
    York Times, was mentioned) could rrget away with blaming murder on political
    discourse.rr Paul responded:



               Rand PauI,  tan.72: WeII, these are the kind oÍ things that I think some on the
               Ieft decide and manufacture even before the events occur. I mean, this Ís part
               of the playbook of Rahm Emanuel where they say any crisis should be used to
               their advantage to further their agenda. So I'm not surprised that they do it, I
               do think they should be ashamed of themselves for doing it.




    Paul was referring to comments that Emanuel made at a WalI Street /ournalconf.erence of
    corporate chief executives in November 2oo8, days after Barack Obama won the
    presidential election and in the thick of the financial crisis. (Emanuel went on to serye as
    Obama's chief of staff.) Part of what Emanuel said frequently has been cited by
    conservatives to show that the left supposedly wants to exploit circumstances to ram its
    agenda through. lhat Emanuel quote is: "You never want a serious crisis to go to waste.r'

    In context, though, Emanuel wasn't talking about partisan gain or advancing any
    particular "agenda," as Paul claimed. Emanuel specifÍcally urged addressing longstanding
    problems with "ideas from both parties'r when a crisis presents the             He used
    the energy crisis of the 197os as an example of an opportunity lost:

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              Emanuel, Nov. 79, 2oo8: You never want a serious crisis to go to waste. And
              what I mean by that is an opportunity to do things that you thinkyou could
              not do before. I thinkAmerica as a whole in tgß and tg74, and not just my
              uiew but obuiously the administration's, missed the opportunity to deal with
              the energy crisis that was before us. For a long time our entire energy policy
              came down to cheap oil. This is an opportunity, what used to be long-term
              problems, be they in the health care area, energy area, education area, fiscal
              area, tax area, regulatory reform area, things that we have postponed for too
              Iong, that were long-term, are now immediate and must be dealt with. This
              crisis provides the opportunity, for us, as I would say, the opportunity to do
              things thatyou could not do before. The good news, I suppose, ifyou want to
               see a silver lining, is the problems are big enough that they lend themselves
              to ideas from both parties for the solution.




    Emanuel then talked in broad strokes about Obama's priorities in the areas he'd
    mentioned.

    This week, Ë,manuel was asked about the fact that bloggers and editorial writers were
    repeating the statement in blaming others for exploiting the shooting incident.




https://www.factcheck.org/201 1/01/bum-rap-forrahm/                                                  2t3
7   t4/2018                                                                       Bum Rap for Rahm - Factcheck.org
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                  Emanuel, fan. fi: First af all, what I said was, never allow a good crÍsis to go to
                  waste when it's an opportunity to do things that you had never considered, or
                  that you didn't thÍnk were possible. Thatts not intended for this moment, nor
                  does it apply to this moment.




       That didn't stop Paul from twisting the quote again.



        Categories The Wire
        Tags Crisis
        People RahmEmanuel RandPaul



                                      PREVIOUS STORY                                                                            NEXT STORY
              FactCheck Mailbag, Week of Jan. 4-Jan.                                                 Obama, Guns and'The Untouchables'
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  44.     Attached hereto marked as Exhibit B-42 is a thumb drive containing a true and
  correct copy ofa video ofRahm Emmanuel posted at the url address:
  https://www.youtube.com/watch?v:Pb-YuhFWCr4. The video on this thumb drive is a
  true and correct copy of the video posted at that address as of the date of this affidavit.
  This video and Mr. Emmanuel's quote has been used by Alex Jones many times on his
  broadcasts and has been used and quoted many times by others who likewise question
  government and media reports.
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  45.     Attached hereto marked as Exhibit B-43 is a thumb drive containing a true and
  correct copy of a video of NBC's and Megyn Kelly's interview of Alex Jones posted at
  the url address: https://www.nbcnews.com/megyn-kelly/video/megyn-kelly-reports-on-
  alex-jones-and-infowars-970743875859. The video on this thumb drive is a true and
  correct copy of the video posted at that address as of the date of this affidavit.
Megyn Kelly, Alex Jones lnterview: Controversy and Leaks             hÍtpJ /time.com/ 4821 906/megyn-kelly-alex-jones-interview-leaks/
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                  Megyn Kelly, Alex Jones Interview:
                  Controversy and Leaks
                  Melissa Chan


                  Conservative radio host Alex Jones leaked audio clips of conversations he said
                  he had with NBC News anchor Megy'n Kelly amid a fìrestorm over their
                  controversial interview that is set to air Sunday.

                  Kelly faced backlash this week for giving Jones a national television platform to
                  share his far-right beliefs beyond his more than z million "InfoWars" radio show
                  subscribers. The conspiracy theorist has previously suggested the Sandy Hook
                  elementary school shooting was a hoax.

                  Jones tweeted Friday that he released the recordings of his conversations with
                  Keþ because she "lied about the nature of this interview." "I want to set the
                  record straight," he said.

                  Here's what to know about the controver$y surrounding the interview:


                   How did the Megyn Kelly-Alex Jones
                   controversy unfold?
                  Kelly interviewed Jones for a segment on NBC airing Sunday night that dives
                  into Jones' thoughts on "controversies and conspiracies," she tweeted earlier this
                  week. In an NBC promotional video, Keþ can be seen asking Jones about his
                  theories on Sept. rr and the Sandy Hook elementary school shooting. Jones said
                  he beiieves the Sept. u terrorist attack was an "inside job" and he questioned
                  facts about the deadly zorz school shooting.

                   The interview clips quickly sparked outrage and prompted Sandy Hook Promise,
                   a gun violence prevention organization founded by some family members of
                   Sandy Hook victims, to dump Kelly as the host of their annual gala.

                   "Sandy Hook Promise cannot support the decision by Meg¡'n or NBC to give any
                   form of voice or platform to Alex Jones and have asked Megyn Kelly to step
                   down as our Promise Champion Gala host," Nicole Hockley, the group's co-
                   founder, said in a statement. "It is our hope that Megyn and NBC reconsider and
                   not broadcast tlis interview."

                   In response, Kelly issued      a statement, saying she was
                                                                           "disappointed" at the event
                   organizers' decision. She also bashed Jones' Sandy Hook theory as "revolting"
                   but said she needed to "shine a light" on "this influential figure" as a journalist,



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                Jones appeared to take offense to Kelly's response, as well as how he's portrayed
                in NBC's promotional clip. He said he released audio clips to prove Kelly lied to
                him when she was convincing him in phone calls to agree to the interview.

                  What was in the audio leaks?
                  Jones on Friday published a 3o-minute YouTube video that included a mash-up
                  of audio clips purportedly of Kelly explaining why she wanted to feature Jones in
                  an in-depth profile. She can be heard promising Jones that she would be fair and
                  balanced. According to the tape, she said Jones was at the top ofher list of
                  "interesting" people she wanted to have on her new Sunday newsmagazine
                  program at NBC.

                  "AIl I can do is give you my word and tell you if there's one thing about me, I do
                  what I say I'm going to do and I don't double-cross," she tells him, according to
                  the tape. "It's not going to be some 'gotcha' hit piece. I promise you that."

                  Kelly has not confirmed the authenticþ of the tape.


                  Why did Jones release the recordings?
                  Jones claims Kelly did not stand by her word when she said her segment would
                  not be a hit piece. "She did the opposite of what she said," Jones told his
                  "InfoWars" viewers Friday. "So I was recording the whole time. We have a
                  record of it."

                  Jones said he told Kelly in the interview that he believes Sandy Hook "probably
                  happened." But he said NBC did not include that soundbite in their promotional
                  piece. Jones has asked the news station not to air the interview "because they're
                  misrepresenting who I am," he said in a video posted on TWitter.

                  "Niegm Keììy is a puppei. Sire is a'ueautifui woman who lhe corporate strucinre
                  uses to push their agenda," Jones said.


                  What happens next?
                   NBC News still plans to air the interview Sunday night, saying it remains
                   "committed to giving viewers context and insight into a controversial and
                   polarizing figure, how he relates to the president of the United States and
                   influences others, and to getting this serious story right," according to a
                   statement obtained by the Associated Press.

                  However, Connecticut's NBC affiliate WVIT will not air the interview, the
                  Hartford Couranf reported. In a memo obtained by the Courant, the station's
                  general manager and president Susan Tully said they would not air the segment
                  because the wounds of residents after the Sandy Hook shooting are
                  "understandably still so raw. "


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Megyn Kelly, Alex Jones Interview: Controversy and Leaks   hW / ltime.com/ 4821 906/megyn-kelly-alex-jones-interview-leaks/
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                Jones teased on Twitter that he would "leak more" ofthe interview during a live
                radio show Friday afternoon. However, during the show, he lralked that
                statement back, saying he was thinking about releasing more.




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          June 19, 2017 . 5:OO AM ET
          Heard on Morning Edition


                   DAVID FOLKENFLIK



          Megyn Kelly's show carried a lengtþ interview with right-wing Internet sensation
          Alex Jones,     a   figure who routinely circulates hateful conspiracy theories, Critieism
          rolled in ahead ofthe broadcast.




           DAVID GREENE, HOST:

           Last night marked a fraught moment for the newest star at NBC News, Meg¡'n Kelly
           Her new news masazine carried this lensthv interview with the riøht-wing intprnet
           sensation Alex Jones, a figure who routinely circulates hateful conspiracy theories.
           Critics attacked NBC and         Keþfor giving         Jones airtime. NPR media correspondent
           David Folkenflik reports on the network's decision.

           DAVID FOLKENFLIK, BYLINE: The backlash built up before the show even aired.                                      It
           included some parents of children slain at the Sandy Hook Elementary School in
           Connecticut. Jones had argued the killings were faked. Kelly's critics condemned her
           for giving Jones a major national platform.

           In recent days, Keþ sought to ease those concerns and fold tlem into her broadcast.
           One surviving Sandy Hook father participated. A mother refused. She tweeted she


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          needed three showers and a glass of wine after talking to Kelly. Yet Kelly didn't hold
          back last night.

          (SOUNDBITE OF TV SH OW,'SUNDAY NIGHT WITH MEGYN KELLY)


          MEGYN KELLY: That pattern - reckless accusation followed by equivocations and
          excuses is classic Alex Jones.


          (SOUNDBITE OF RADIO SHOW 'THE ALEX JONES SHOW')

          ALBX JONES: They can just carte blanche, go an),'!vhere they want.

          KELLY: He has spent nearly two decades on tlre fringe, shouting his conspiracy
          tleories into any microphone he could get in front of.

          FOLKENFLIK: In the TV news business, often the get is tlre point of the operation. Did
          you get a big-name guest who can make waves and draw viewers? And what should be
          a starting       point often becomes the end in itself. Keþ and NBC clearly thought they
          Ianded      a   big get in Alex Jones. Yet she did seek to shed light, as she had promised. And
           Kelly made the case last night for interviewing him.

           (SOUNDBITE OF TV SHOW, ''SUNDAY NIGHT \4'ITH MEGYN KBLLY')

           KF,T,T   Y: Sorne thnrr ohl we shnr rl dn't hrnerl¡e ct thi c intarr¡iar,r¡        Ìranq rrca h ic lro col o"o

           allegations aren't just offensive. They're dangerous. But here's the tling. Alex Jones
           isn't going away. Over the years, his YouTube channel has racked up r.3 billion views.
           He has millions of listeners and the ear of our current president


           FOLKENFLIK: Kelly's team neatþ demonstrated some of the consequences, tracking
           how groundless claims migrated from Jones' rants to Trump's speeches.

           (SOUNDBITE OF TV SHOW, ''SUNDAY NIGHT WITH MBGYN KELLY-)


           KELLY: This was Infowars previewing the first presidentiaì debate between Donald
           Trump and Hillary Clinton...


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          (SOUNDBITE OF RADIO SHOW, "THE AIEX JONES SHOW)


          JONES: I think she's going to show up and - on drugs, though.

          UNIDENTIFIBD WOMAN: (Laughter).

          JONES: She's going to be whacked out.

          KELLY: ...And Mr. Trump's take notlong after.

          (SOUNDBITE OF ARCHIVED RECORDING)


          PRBSIDENT DONALD TRUMP: We should take a drug test prior because I don't
          know what's going on with her.

          FOLKBNFLIK: Jones loves to bash the mainstream media. He posted audio tapes of a
          pre-interview telephone conversation to undercut Kelly, as she promised, to illuminate
          his human side.

          (SOUNDBITE OF ARCHIVED RECORDING)


          KELLY: This is your chanee to tell people who you are and..

          FOLKENFLIK: This is Keþ's voice.

          (SOUNDBITE OF ARCHIVED RECORDING)


          KELLY: In the same way, like, you're talking about re-inventing yourself - me, too, in a
          way, you know? L.,


          FOLKENFLIK: Kelly had moved to NBC from Fox News, a network                    tlat   also at times
          traffics in conspiracy theories that have little basis in fact. For NBC, Kelly, not Jones,
          was the big get. NBC hopes to capture her star power and heat and cache with many
          conservative viewers, Sunday's interview gave wider play to a right-wing conspiracist
          just as some Sandy Hook parents feared. Yet undoubtedly spurred in part by the
          backlash, Kelly and NBC did not let Jones reinvent himself. They defined him fairly


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           damningly. David Folkenflik, NPR News.

           (SOUNDBITE OF PUFF DRAGON SONG, ''CHINESE RADIO'')

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        3-Year-Old ln ldaho Dies After She Was Stabbed At Her Birthday Party




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        Facing An Uphill Battle, Activists Race To Oppose Trump's Supreme Court
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        Polish Supreme Court Head Defies Ruling Party As Crisis Deepens




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            Conspiracy Theories




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                  Review: Megyn Kelly makes the case for
                  Alex Jones interview
                   Brian Lowry


                  Megyn Kelly stepped into a hornet's nest with
                  her Alex Jones interview, seemingly placing
                  NBC News and its new star in a no-win
                  situation. Arnid that controversy, the piece
                  that aired Sunday crediblyjustified covering
                  the Infowars phenomenon, which was the bar
                  that "Sunday Night With Megyn Kelly"
                  ultimately had to clear.
                   Jones' influence clearþ merits examination, especially given his periodic access
                   to the Trump administration and their overlapping constituencies. The fringe
                   element that Jones represents needs to be understood, which isn't the same as
                   needing to be condoned.

                   Keþ struck that point right up front on "Sunday Night. " Addressing advance
                   criticism of the interview she said, "Here's the thing: Alex Jones isn't going
                   away," adding that the conspiracy theorist "has millions oflisteners, and the ear
                   of our current president."

                   Keiìy an<i NBC neveriheiess appeared to be caught äatfoote<i by the viscerai
                   response providing Jones such a plaüorm would trigger, which they shouldn't
                   have. Not only is Jones a deeply divisive figure, but Kelþ -- a former Fox News
                   anchor -- is still toting around baggage from her lastjob, with many progressives
                   eager to dredge up moments like her assurance to kids that Santa Claus is white.

                   Complaints from Newtown families due to Jones' odious assertions that Sandy
                   Hook was a hoax heightened the pressure. Jones, meanwhile, did all he could to
                   taint the piece in advance, surreptitiousþ taping their conversations and
                   releasing them prior to the broadcast.

                   Setting the cautionary aspects of dealing with such a personality aside, "Sunday
                   Night" can only be judged by what made it onto the screen, which began with
                   Kelly promising to "confront Uonesl on his notorious lie about the Sandy Hook
                   massacre."

                   Related: How NBC botched the Meevn Kellv rollout


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                Moving into a prosecutorial mode that was frequently her strength on Fox, Kelly
                did press him, enlisting a Newtorryn parent and MSNBC contributor Charlie
                Sykes to help contexlualize the "toxic paranoia" that he spreads among his
                listeners.

                  That has incìuded notjust Sandy Hook, Kelly noted, but also baseless allegations
                  regarding "Pizzagate" and Chobani yogr-rrt. Those stories eventually elicited
                  forced apologies from Jones -- part ofa pattern, the NBC anchor said, of
                  "reckless accusation, followed by equivocation and excuses.t'

                  Not surprisingly, Jones proved difficult to pin down, expressing ambivalence or
                  seeking to deflect responsibility for certain views without renouncing them.

                  Ifthis had been a "6o Minutes" interview, Jones did enough shuffling to look
                  plenty squirrelly, without delivering what might be called a classic Mike Wallace
                  moment. The main test, which the segment passed, was whether "Sunday Night"
                  articulated a tough enough case and cross-examination to demonstrate that this
                  was a legitimate topic -- even at the risk of providing Infowars wider mainstream
                  exposure.

                  Mindful of the blowback, NBC made what was surely          atactical maneuver by
                  enlisting the gravitas of Tom Brokaw to share thoughts about "hate speech" in
                  the digital age. What the former "Nightly News" anchor said was perfectly fine,
                  but it felt like an additional level of cover -- a window, perhaps, into just how
                  nervous NBC brass were after a week's worth of second-guessing.

                   From that perspective, Kelly's handling of the interview should calm some
                   nerves, even if it won't quiet all the dissenting voices. While it might sound like
                   strange advice regarding an anchor who has spent the past year in the spotlight,
                   NBC's best hope would be to fìnish "Sunday Night's" summer run without any
                   more major waves, and hope for a fresh start when her morning program makes
                   its debut in the fall.

                   CNNMoney (Los Angeles) First published June 18, zorT: 8:3r PM ET




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Megyn Kelly Interview With Alex Jones Draws 3.5 Million Viewers - The New York     I of
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                                     @be   NetuSork@imep

Megtn Kelly Interuíeu With Alex Jones
Drøws 3.5 Millíon Víeuers
By John Kobl¡n


June 19, 2017


It apparently wasn't must-see TV

Despite days of controversy leading up to it, "Sunday Night With Megyn Kelly," which
featured an interview with the conspiracy theorist Alex Jones, earned just 3.5 miltion
viewers, the lowest total of its three-week run.

The show had       million fewer viewers than a repeat of "60 Minutes" and a slightly
                 1.3

smaller audience than ABC's "America's Funniest Home Videos." The show was up
against coverage of the final round of the U.S. Open on Fox, which had about six million
viewers in its final hour, according to early Nielsen figures.

In the 25-to-54-year-old demographic important to advertisers, Ms. Kelly's
newsmagazine show tied "60 Minutes" with a 0,7 rating,

Ms. Kelly and NBC generated a wave of criticism last week for even airing the segment
with Mr. Jones, who has called the Sandy Hook school massacre a hoax. She defended
the interview as important journalism, citing the growing size of Mr. Jones's audience
and his influence with President Trump.

Ms. Kelly's premiere episode, which featured an interview with President Vladimir V
Putin of Russia, had   6.1   million viewers.




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                                                                       Times Page I of
Megyn Kelly, and Network That Bet on Her, Land on the Hot Seat - The New York
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Megtn Kelly, qnd Networh Thqt Bet on
Her, Lønd on the Hot Seøt
By Michael M. Grynbaum and John Kobl¡n


June 16, 2017


Until Megyn Kelly, no prime-time Fox News anchor had tried to leap from partisan basic
cable to the more pedigreed world of network news.

Less than a month into her tenure at NBC, Ms. Kelly and her new employer                    which has
                                                                                      -
placed a multimillion-dollar bet on her success            are learning just how daunting the
                                                       -
transition can be.

Even before it airs on Sunday, Ms. Kelly's interview with Alex Jones, the conspiracy-
monger and influential voice of the so-called alt-right, a far-right, white nationalist
movement, has generated a fierce backlash, just as the anchor is introducing herself to a
broader audience.

Parents of children killed in thez}LZ Sandy Hook elementary school shooting, which Mr
Jones called a hoax, asked NBC to spike the interview, saying it was extremely hurtful
for her to offer a platform for Mr. Jones's views. Ms. Kelly was disinvited from a Sandy
rruur( errarrly everrL   i   ru accuseu uy surüe vrewers ur cnasllrt, r-a[rnBs uy rnrecunt    r\ÞL
with Fox News-style conseryatism.

On Friday, NBC's Connecticut affiliate said it would not broadcast Ms. Kelly's show this
Sunday, citing community concerns. In an internal memo obtained by The New York
Times, the station, WVIT, said that for many of its viewers and employees, including
Sandy Hook parents, "those wounds are understandably still so raw,"

Earlier in the day, Mr. Jones's website, InfoWars, published audio of Ms. Kelly cajoling
and flattering her interview subject as she tried to secure his cooperation for the
segment. "I'm not looking to portray you as some boogeyman," Ms. Kelly can be heard




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Megyn Kelly, and Network That Bet on Her, Land on the Hot Seat - The New York Times Page 2 of      5
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saying. Assurances of fair coverage are standard practice in television journalism, where
anchors seeking access routinely present their intentions in the best possible light. NBC
is standing by Ms. Kelly, urging viewers to withhold judgment until the segment airs.

But the firestorm has been an unwelcome surprise at the network. NBC is banking on
Ms. Kelly, who is drawing a salary reported to be about $15 million, as its next flagship
star.

Her new show already faced an uphill fight against CBS's "60 Minutes," the No. I show in
television news. And Ms. Kelly is about three months away from taking over the g a.m.
hour on the "Today" show, a coveted soft-news time slot.

No TV personality wants to face the wrath of families of victims of a school shooting. And
Ms. Kelly, who is predominantly known as a face of a conservative-leaning cable news
network, does not have a reservoir of good will with NBC's bigger audience to fall back
on.

"It's Jimmy Fallon tousling Trump's hair," said Martin Kaplan, director           of the Norman
Lear Center for media and society at the University of Southern California, likening the
Kelly-Jones tempest to the moment last fall that is widely considered to have caused
lasting damage to Mr. Fallon, NBC's "Tonight Show" host.




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     Ms. Kelly on the set of "Sunday Night With Megyn   Kely."   Brian Doben/NBc News




Journalists, by and large, have offered support for Ms. Kelly, saying that Mr. Jones, who
has spoken to President Trump and offered him advice, is certainly a worthy subject for
journalistic scrutiny. Mr. Jones's beliefs, however suspect or offensive, reach a sizable
audience around the country thanks to his popular radio show and website.

Other shows, iike Piers Morgan's prime-time CNN show anci ABC's "Nightiine," t'eatureci
interviews with Mr. Jones in 2013.

"Megyn is a very good journalist, and I expect, especially in light of everything that's
been said this week, that he will be held to account," Jeff Zucker, the president of CNN
and former chief executive of NBC, said during a question-and-answer session with
journalists this week. But Mr. Zucker added that NBC executives had "done themselves
no favors" in the way the segment has been marketed to viewers,




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He also cited a damaging photograph of Ms. Kelly wearing sunglasses and smiling
alongside Mr. Jones on the day of their interview. The image was distributed by Mr.
Jones, not NBC, but by posing for it, Ms. Kelly conveyed the sense of a cozy encounter
rather than a cross-examination.

"If you are going to do this story, the tease needs to be you holding up a picture of the
dead kids at Sandy Hook and saying,'How dare you?'And that's what you need to do,"
Mr. Zucker said.

NBC has not released a transcript of Ms. Kelly's interview, leading some to speculate
that her interrogation of Mr. Jones over hÍs more contentious views for instance, that
                                                                              -
Sandy Hook was a hoax and the Sept. l1 terrorist attacks were carried out by the United
States government      was less than ferocious,
                      -
NBC executives were retooling the segment in light of the criticism, and Ms. Kelly has
contacted parents of Sandy Hook victims in recent days, asking if they would be willing
to speak on-camera to respond to Mr. Jones.

Nicole Hockley and Mark Barden, parents of two of the 20 children who died at the
school in Newtown, Conn., spoke with Ms. Kelly this week about an appearance on her
show. "We declined to participate," Ms. Hockley wrote in a text message on Friday.

Another Sandy Hook parent, who requested anonymity because of privacy concerns,
said Ms. Kelly had made the case this week that by coming on her show, families could
best explain to viewers how Mr. Jones's actions had hurt them. The parent declined to
participate, saying it would create a sense of false equivalence with what they
considered Mr. Jones's outrageous perspective.

NBC said on Friday that at least one Sandy Hook parent was expected to appear in the
segment. "We remain committed to giving viewers context and insight into a
controversial and polarizing figure, how he relates to the president of t¡e United States
and influences others, and to getting this serious story right," the network said in a
statement. "Tune in Sunday."




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The storm shows few signs of abating. Late Thursday, a law firm representing several
Sandy Hook families sent a letter to NBC warning that "airing the interview will cause
serious emotional distress to dozens of Sandy Hook families." At least one advertiser,
JPMorgan Chase, has pulled its sponsorship of Sunday night's show, and Ms. Kelly said
this week that she was taken aback by tìe level of backlash at the Jones segment.

Chris Cuomo, the CNN anchor, said he believed network executives would be toiling until
the last minute to ensure that Sunday's segment was seen as being responsive to the
public criticism. "Coming from that world, I do not envy the job those producers and
editors have right now," Mr. Cuomo said,


Kristin Hussey and Maya Salam contributed reporting.

Aversion of this art¡cle appears ¡n print on June 16, 2017, on Page B3 of the New York edition w¡th the headline: Kelly and NBC Quickly l-and on
the Hot Seat




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                                  'Sunday Night w¡th Megyn Kell
                                  ends limited summer run
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                                    Megyn Kelly's Sunday n¡ght newsmagazine show on NBC is ending its
    Ex-m¡l¡tary offic¡als 6ign
                                    summer run after eight ep¡sodes, but ¡t ìs scheduled to return in the
    on to oppos€ Trump'9
    transgender troqps ban          spring.
    t !t$NgE-.53tn4åsÂ6l}
                                    "That's all for tonight, ând for the summer run of this program," said Kelly
                                    to close the show on Sunday night.
    comey shôres family's
    July 4 trad¡t¡on of             "But soon, l'll be see¡ng you ìn the morn¡ngs! l'll be on at 9 a.m,, right after
    read¡ng Declarat¡on of
    lndopendence out loud
                                    lvìatt and Savannah
                                                          - on our new show, 'Megyn Ke!!y Todey.' starting on
                                    September 25th," she added. "And l'll be back right here Sunday nights in
                                    the spring. We are so gratefulto you for watching. l'm Megyn Kelly, For all
                                    of us here at NBC News.., goodn¡ght."

                                    "Sunday Night w¡th lvegyn Kelly" del¡vered 6.2 million v¡ewers with its
    stâtehood to truly
    celêbrate                       debut on June 4 featurìng an interview with Russian President Vlad¡mir
    lndependence Day                Putin.
                                    V¡ewership dropped to 3.51 miìlìon viewers last n¡ght, which was the
                                    show's best total aud¡ence since a June 18 episode w¡th controversial
                                    conspÌracy theor¡st Alex Jones.
     Greenpeâce ôctlvlsts f ly
     'Superman' drone ¡n to
     French nuclear site
                                    lhe network had €nnounced before Kelly's Sunday program debuted in
                                    early June that it would be go off the air until the spring to mêke way for
                                    the top"rated "Sunday Night Football" after L3bor Day.

                                     Kelly's newsmagazine ¡s slated to return after the NFL season and NBC's
     Amer¡câ ls lndsôd
     different       and that's      coverage of the winter olympics.
     why I'm here
                 -
                                    The former Fox News star w¡ll now turn her attention to "Megyn Kelly
                                    Today," wh¡ch is set to debut on Sept, 25 at I a.m. ET.




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    VIEWALL                        The program repiaces "Todêy's Take," hosted by Al Roker ênd Tamron
                                   Hall, which regularly won its t¡me slot against ABC and CBS,

                                   Hall, the first black female anchor ¡n the 65-year history of the "Today
                                   Show," parted ways with NBC after her program was canceled, She has
                                   since s¡gned w¡th the Weinstein Company to executive produce ônd host
                                   a daytime talk show on an as-yet-to-be'determìned network.

                                   Kelly came to NBC News in lênuâry after lurnìng down a reported $25
    Re¡ated News    bv             million annual salary to stay at Fox News. The onetime attorney reportedly
                                   makes $17 mill¡on per year at NBC.




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    Glenn Beck walks out of
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                   Megyn Kelly's return to television gets a
                   lukewarm reception
                   By Kelsey Sutton I June 5, zotT


                   The premiere of Megm Keþ's Sunday night news magazine program, which was
                   supposed to be a triumphant return to the air for the ex-Fox News host, feÌl flat
                   with media critics, foreign policy aficionados and political news junkies.

                   Kelly's first big "get" for the program    a one-on-one interview with Russian
                   President Vladimir Putin
                                                           -
                                                 - had been widely hyped by NBC News as a
                   reinvention of sorts for the often-controversial news show host, who left Fox
                   abruptly in January after it was revealed that she was one of several current and
                   former Fox News employees alleging sexual harassment from former Fox News
                   chairman and CEO Roger Ailes.

                   For NBC News, the hire seemed to be an indication that the network wanted to
                   attract a more conservative audience, the likes of which loyally watched Keþ
                   while she was at Fox News, and that the network intended to compete with
                   CBS's long-running news magazine 6o Minutes. Kelly's NBC program, Sundcy
                   Night With Megyn Kelly, runs at the same time as 6o Minutes, and Sunday's
                   program went head to head with a re-run of the CBS program.

                   The big takeawalzs of Kelly's interview with Putin were somewhat expected:
                   Putin denied that Russia influenced the U.S. election, which is the consensus
                   view of U.S. intelligence, and pushed back on various other reporls asserting ties
                   between members of Donald Tlump's presidential campaign and Russian
                   ofñcials.

                   Some people ptaisc<!_thc-iute¡¿iclrL acknowledging the challenge of interviewing
                   Putin. But other reviewers were less than impressed, with much of the criticism
                   hinging on the questions Keþ did not ask, and the answers she failed to elicit
                   from Putin. NPR called the program "tepid," and Varietv described the show as
                   "a long way from must-see TV." VanitA Fair called the entire interview "boring,"
                   and. HoIIAwood Reporter television critic Frank Scheck wrote, sardonically, that
                   Kelly gave Putin was given "time enough to say nothing at all."

                    The program, which also featured a segment on saving African elephants and an
                    interview with a whistleblower who exposed fraud at a drug company, attracted
                    6.r million viewers, coming in behind both the 6o Minutes re-run and the NBA
                    finals game. Among viewers 25 to 54 years old, Keþ's program beat 6o Minutes
                    by zB%.

                    Kelly's highly anticipated return had already faced a few bumps before airing on



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                Sunday. The liberal media watchdog Media Matters criticized Keþ for not
                identifiiing a member of Russian state media as such during an on-air interview
                in St. Petersburg, and Kelly was roundll¡ criticized the following day for asking
                Indian Prime Minister Narendra Modi, who has been described as one of the
                most influential people on Twitter, whether he was on the social media site.




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                  Did NBC's Meg¡nr Kelly promise no 6hit
                  piece' on conspiracy-monger Alex Jones?
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                   Infowars host Alex Jones goes after Megyn Kelly

                   (Peter Stevenson/The Washington Post)

                   Alex Jones, tlre conspiracy theorist and founder of the far-right Infowars media
                   operation, has nosted excerpts of his                       ith NBC News's Meg¡'n
                   Keþ in which she appears to promise that she will go easy on him in their
                   upcoming television interview.

                   Jones, who agreed to the interview but has since demanded the segment not air,
                   leaked audio of the surreptitiously recorded calls on YouT\rbe and Infowars.com
                   in an apparent effort to hold Keþ to her promise of a softer approach.

                   "My goal is for your listeners and the left, you know, who will be watching some
                   on NBC, to say, 'Wow, that's reaþ interesting," she says on one of the
                   recordings, which were edited by Jones. "It's not going to be some 'gotcha' hit
                   piece, I promise you that."

                   tAotu etex ,lones               is   prEar¡ng hß base
                   Kelly's interview with Jones, scheduled for Sunday night on her new magazine-
                   style program, has been the subject of controversy for the past week. NBC and
                   Keþ have been under fire for giving Jones the progenitor of many bogus and
                                                                               -
                   outlan¿lish claims
                                        - e nrime-time snot to air his wier¡¡s Brrt NRC caìls.Tnnes a
                   newsworthy figure who has received the endorsement of President Trump and
                   that its report will accurateþ portray him.

                   Kelly said in one of the calls that she would allow Jones to see interview footage
                   in advance, an unusual offer. TV journalists typically don't show interviews to
                   their sources before they air.

                   In Jones's case, however, the suggestion is moot since he recorded the interview
                   with his own cameras in an effort, he said, to hold NBC News accountable.

                   On his radio program and Internet platforms, Jones has made assertions that
                   the U,S. government was involved in the Sept. 11, 2oo1, terrorist attacks and that
                   Hillary Clinton masterminded a pedophile ring out of a District pizza restaurant.
                   He has also pushed the false notion that the murder of zo first-graders and six
                   educators at Sandy Hook Elementary School in Newtown, Conn., was a hoax.




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                As a candidate in zor5, President Trump appeared on Jones's program and
                praised the host, saying, "Your reputation is amazing. I will not let you down."

                   Jones has apologized for his "Pizzagate" claims under threat ofa lawsuit from
                   the restaurant's owner. He has not backed down from other, widely discredited
                   claims, although he has tried to temper his assertiens about Sandy Hook. In one
                   of the calls with Kelly, he says, "In hindsight, I think it probably did happen." He
                   also says, "I have had debates where I showed both sides. I believe people died
                   there."

                   An NBC executive who spoke on the condition of anonymity said Friday that
                   Jones's release ofthe calls wont change the network's plans. He characterized
                   Kelly's preliminary conversations with Jones as standard for reporters
                                                                                          - an
                   attempt to make a reluctant interview subject comfortable, and not a promise to
                   portray Jones in any particular light.

                   A network statement said: "Despite Alex Jones' efforts to distract from and
                   ultimately prevent the airing of our report, we remain committed to giving
                   viewers context and insight into a more controversial figure, how he relates to
                   the president ofthe United States and influences others, and to getting this
                   serious story right."

                   One national advertiser, JPMorgan Chase, has pulled out ofthe Jones-Kelly
                   broadcast, but NBC hasn't faced a widespread sponsor boycott, despite calls for
                   one from advocates of the families of Sandy Hook victims. The families have
                   threatened legal action against NBC News if the interview airs.

                   An NBC station in Connecticut whose viewing area includes Newtown has
                   decided not to air the program, according to an internal station memo obtained
                   by TVNewser.

                   Jones's lawyer, Randall Wilhite, asserted during a court hearing in April as part
                   of Jones's custody battle with his ex-wife that Jones is "playing a character" and
                   is "a performance artist." He compared him to Jack Nicholson playing the Joker
                   in a "Batman" movie.

                   Kelly references the custody trial in one of her calls to Jones: "The comments I
                   heard from you during the course of that trial and the plea to the media to be
                   respectful to you and your kids just reminded me you're just like anybody," she
                   says. "You're a dad. You go through the same things we go through."

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                     &
                   Paul Farhi Paul Farhi is The Washington Post's media reporter. He started at
                   The Post in 1988 and has been a financial reporter, a political reporter and a
                   Style reporter. Folìow

                   The Post Recommends

                   One of the tournament's cruelest losses was followed by one of the tournament's
                   most sparkling sights.

                   23 hours ago

                   In a study of collective narcissism, Virginia and Massachusetts ranked first. But
                   almost every state felt self-important.

                   I day ago

                   The president asked players for names worthy of clemency. Four players
                   responded with a much bigger request.

                   Jun zt




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              But the controversy was never really about him.
              By JACK SHAFER I June 18, 2017


              The censorious powers of the heckler's veto have evolved now to the point that people
              are willing to call for the banning and shunning of works ofjournalism nof yef
              published. Former Fox News Channel and current NBC News anchor Megyn Kelly got
              the treatment this week as news of her Sundag Night With Megyn Kelly interview with
              Infowars mainspring Alex Jones, well before it was scheduled to air June 18, made the
              rounds. At least the Ayatollah Ktromeini waited for the publication of Satanic Verses
              before he issued a fatwa ordering the murder of its author, Salman Rushdie.

              Sandy Hook Elementary families implored NBC News to dump the segment because




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              Jones has called the Newtown, Connecticut, school killings a      hoax-by actors, not real
              people-designed, Jones said, to encourage new gun control laws. New York City
              Mayor Bill de Blasio concurred, writing, "Pull the segment." The NBC afüliate in
              nearby Hartford refused to air the episode because the "wounds ofthat day that have
              yet to heal." Fleeing from the controversy, advertiser JPMorgan Chase dropped its
              spots from the show, and the usual voices damned Kelly for giving Jones "a platform."

              Not to be outshone, Jones performed some culture jamming of his own, releasing his
              own secretly recorded audio of the pre-interview in which Kelly buttered him up. "It's
              not going to be some gotcha hit piece, I can promise you that," Kelly told Jones on the
              tape. Predictably, Jones made his own call for a boycott, hveeting, "I'm calling for
              @megl,nkelly to canceÌ the airing of our interview for misrepresenting my views on
              Sandy Hook."

              When Kelly's show finally aired, she took the mendacious Jones apart in such a
              textbook manner you had to wonder what all the shouting had been about. The Jones
              pattern, she said at the segment's top, is making "reckless accusations followed by
              equivocations and excuses" when questioned. The two best examples of this are his
              promotion ofthe "Pizzagate" lies about a satanic child porn ring and his wild allegation
              that Chobani was "importing Migrant Rapists," as Infowars hyped its report on
              T\ritter. In both cases, lawsuits have forced Jones to retract and apologize for aiúng
              these dishonest stories, and yet in conversation with Kelly he still hedges and quibbles
              like a con artist in an effort to have his conspiracy pizza and keep his yogurt, too.
              Likewise with the pathetic claims about the Sandy Hook killings. He's still throwing
              the see-through drapery of devil's advocacy to blur the fact that on most subjects he's
              talking out ofhis tinfoil hat.

              Short of waterboarding him, I don't know what more Kelly could have done to expose
              Jones' dark methods. She was needlessly defensive in her presentation, acknowledging
              that some people thought the segment shouldn't have been broadcast because it would
              increase Jones' profile. But as she pointed out, Jones isn't going away, and his
              audience is growing. What's more, Jones "has the ear of our president," and spurious
              things Infowars says have a way of getting repeated by his phone-pal President Donald
              Trump, who has saluted the Infowars host in the past. She didn't take Jones down, but
              reaþ, who could have in a newsmagazine segment? But she did do a credible job of
              exposing his lies. Give her a B+.




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              Friday morning.




              Then why all the pre-show uproar? Isn't the press supposed to throw the disinfectant
              of light on the darkness? How, exactþ, can you examine a nensworthy subject-and
              like it or not, somebody the president talks to and cites is newsworthy-without giving
              him some sort of a platform? There's an unspoken assumption that instead of
              reporting on the politicaþ deformed-people like Sen. Joe McCarthy, George Lincoln
              Rockwell, Gov. George Wallace, Charles Manson, Timothy McVeigh, Alex Jones, and
              others-tfre press should quarantine such figures from readers' and viewers' eyes lest
              their contagion spread.

              Maybe this is the way they did journalism in the former Soviet Union, but American
              journalism has never operated like that. We don't avoid gnarþ, complicated stories
              because they'll hurt somebody's feelings. We don't abandon free thought and press
              freedom just because there's an outside chance that a piece ofjournalism like Kelly's
              mrght fall to the advantage of a sordid manipulator or a demagogue. Nor does the
              unspeakable pain the Sandy Hook parents have endured because ofJones mean we
              must cleanse the nens sphere of coverage that might further upset them. Sureþ it
              makes more sense to deai straight on with tin-pots iike Jones than cover our eyes an<i
              ears in hopes he'lI vanish by himself.

              The publicity campaign against Kelly is easier to explain than the insistence that Jones
              shouldn't be covered. As anyone who has watched Keþ on Fox knows, she brings to
              NBC a mixed record. Yes, she gave Trump no quarter in that earþ primary debate, but
              she was also the Fox anchor who insisted that Santa-a fictional character, to the best
              of my knowledge-is white. (Jesus, too.) When University of California-Davis cops
              pepper-sprayed protesters, she underplayed the episode, saying, "It's a food product,
              essentiaþ." She exaggerated the dangers posed by the New Black Panther Party. She
              made ridiculous claims about the ease of voter fraud in Colorado. And so on.




 3   of4                                                                                                         7 /412018,   l:08 PM
Megyn Kelly Pantses Alex Jones - POLITICO Magazine          https://www.politico.com/magazine/story
                                                                                            lmeg¡'n-kelly-pa.
                                                                                                      I 20 17 I 06 / 1 8
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              Most viewers extend to broadcasters like Anderson Cooper, Chris Wallace, Jake
              Tapper and Erin Burnett the sort of goodwill they draw on to tackle fraught topics and
              subjects that will end up upsetting somebody. Due to her Fox background, Kelly
              doesn't command that sort of goodwill-the protests against her show are more about
              her than they are Alex Jones or Sandy Hook. Kelly's enemies, places like liberal
              agiþrop outfit Media Matters for America, which has been riding this story hard,
              would likely be raising a ruckus if she went to work as a ?oday co-host and did
              celebrity fluff

              Would the calls for a KelÌy boycott be so insistent if a similar technique hadn't
              succeeded in driving Fox's Bill O'Reilly off his network? My guess is that they wouldn't.
              Kelly won this round, but she wasn't the only one to pay the price. If you like edgy,
              truth-telling journalism, the spirited campaign against her has written a hecHer's veto
              playbook that future activists and scolds will eventually apply to your preferred
              anchor, be it Rachel Maddow or Sean Hannity. You've been warned.

              lftÉtt***


              I don't much mind that KeIIy sweet-talked Jones     to get the interuiew.      I don't work
              that way, but plentg of journalísts do. Send suteets to Shafer.Politico@gmail.com. My
              email alerts seII testosterone boosters, my Tlaitter feed neuer taears a shirt, and my
              RSS feed has   pqranoidal tendencies.




4of4                                                                                                                       7/412018, l:08 PM
Inside the List - The 25 Best Financial Blogs                         http://content.time.com/time/specials/packagesladticle/0,28804,20571..
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                    Inside the List - The 25 Best Financial
                    Blogs




                           Spark            Getty Images

                    The financial crisis was horrible for the economy, but it was a great for fìnancial
                    blogs. In the past three years, dozens have popped up to debate the recovery,
                    economic policy and who was at fault in the market meìtdown. Consumer-
                    finance blogs are jam-packed with advice on how you can live your life more
                    cheaply. We combed through all manner of financial blogs, from those that
                    debate macroeconomic policy to those that point out the day's coupons. We
                    started by asking TIME's team of business writers and editors what business
                    blogs they visit the most. We then took a look at what blogs were popular with
                    general readers and what blogs registered the most links from other bloggers.
                    And we headed over to the blogs for a test drive, These are the ones that we
                    thought offered the most useful financial advice, offered the best insight into the
                    state of the economy or were just fun.
                    ¡'\-^^ tL^ I:-r ---^^ -----:l-l      -- :-  :r-l  tr    rl
                    \Jllçç  Lllc rrìJL !ryas curuprreu -we  rflvlle(l  [Jre IJroBBeIs on Lne llsl Io revlew Inetr
                    fellow bloggers. Many took us up on that offer. The list and ranking is TIME's.
                    The reviews are theirs. The result is our list of the z¡ best financial blogs.




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Zero Hedge - The 25 Best Financial Blogs                     http://content.time.com/time/specials/packages/article/0,28804,20571
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                   Zero Hedge - Ttre 25 Best Financial Blogs
                          dek

                   Here is how I can telì when I've been reading Zero Hedge too much. I find myself
                   rolling my eyes at CNBC or the WaII Street Journcl while saying things like
                   "There's more to it than thatl" or "Suuuure, it may seem that way." I know
                   Canadian equity strategist David Rosenberg's latest perma-bearish musings, and
                   the same from the preternaturally gloomy Albert Edwards of Société Générale.
                   After prolonged exposure, I have to turn off my wi-fi not to sell all my U.S.
                   dollars for physical gold, start an anti-Goldman Sachs blog and buy a Kansas
                   soybean farm protected by a moat.

                   But here is the crazy thing: Zero Hedge a morning zoo of pessimistic financial
                                                            -
                   blogging - is fun. Granted, you (O.f., ¡ can't read it for long without the
                   aforementioned soybean-farmer effect, but the downbeat site has found an
                   entertaining niche at the intersection of The X-Fíles, finance and tireless anti-
                   Goldman Sachs-ishness.

                   So while I don't read Zero Hedge regularly - it's too bearish, too conspiratorial
                   and too much of an intellectual monoculture - I like knowing that it exists. Any
                   time I'm feeling like things might just turn out O.K. on planet Economic Earth, I
                   know where to turn to be disabused of that stupid idea.

                   Kedrosky is a columnist for Bloomberg and the author of the blogs Infectious
                   Greed and PauI Kedrosku on Bloomberg.com.

                   Next Planet Money




 I of   I                                                                                                         7/42018,2:14 PM
These underdog stocks have everything going for them, but no one is   ...   https://www.marketwatch.com/story/these-stocks-have-everlthing-go.
           22-01023-hcm Doc#1-4 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 475
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                   These underdog stocks have everything
                   going for them, but no one is paying
                   attention
                   Barbara Kollmeyer


                   Some people will be relieved to see some boring screens out there this morning.
                   And that could be tlre theme in days to come, as the bobbing Fed heads go into a
                   blackout period ahead of next week's meeting.

                   A breather might be welcome after Tuesday's bone shaker, in which the S&P 5oo
                   unloaded r.5%, making it three days in a row that we've had a r% swing either
                   way. Here's a layout of the swings on the S&P 5oo from Crossing Wall Street's
                   Eddy Elfenbein:

                   That comes with a warning. "Volatile days are not evenly spread out. They tend
                   to travel in wolf packs. Once you think the market can't be more complacent, the
                   dramatic days come," cautions Elfenbein.

                   There's been plenty of gloom lately. At Tiresday's Delivering Alpha conference,
                   billionaire investors lined up to squawk about "dangerous markets." Adding to
                   t}le chorus, M&G Investments, one of the U.K,'s biggest bond funds, said
                   yesterday that really cash is the best place to be parked right now.

                   Maybe it's easier for billionaires   who probably have their retirements tucked
                                                      -
                   away - to stand and scream from their soapboxes. Mere mortals may not be
                   able to leave the trenches.

                   Some food for thought from iBankCoin's ever-fearless The Fly, who says the
                   "unforgiving" downturn in stocks may actually be giving a contrarian signal and
                   is "robustþ bullish for stocks." All the way back to zorz, whenever breadth has
                   started to float around the ro%o tange, the market has rallied shortly thereafter,
                   says the blogger.

                   "If I was running public money today, I'd advise against shorting or selling into
                   the hole here. Bear markets are rarely starting like this. The sort of action you're
                   bearing witness to now is more of a trap than anything else," The FIy says in the
                   post.

                   For those who want to park their cash somewhere besides their mattress, then
                   our call of the day has a sector that was a superstar in the latest reporting
                   but hasn't been on too many radars it seems.

                    Our chart takes     a   look at the historv ofthe end of the bond market.


I of4                                                                                                                        7/5/2018, l0:03 AM
These underdog stocks have everything going for them, but no one is   ...   https://w\v\v.marketwatch.com/story/these-stocks-have-everything-go..
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                   Key market gauges


                   S&P 5oo US:ESU6 Dow industrials US:YMU6 and Nasdaq-roo US:NQU6
                   futures are slightþ higher. Asia ADOW, -o.Sz% finished mostly lower. In Europe
                   SXXP. +o.27yo French and German stocks are moderateþ higher.

                   Crude oil CLV6. +o.oo% is seeing a bit of a rebound after a big drop Tuesday.
                   Initial U.S. supply data was positive, but bigger EIA data is coming Wednesday.
                   Gold US:GCU6 is flat. The yenJJSDJPY,:oOZ% is pulling back as speculation
                   swirls the Bank of Japan may cut rates further into negative territory.

                   The call


                   "It's not too late to like semiconductors," says S&P Global Market Intelligence's
                   senior analyst Lindsey Bell. "We ultimately believe that the technologr sector
                   has been underappreciated this year, and despite recent price appreciation,
                   opportunities remain."

                   For starters, semiconductors delivered a solid z.z% year-over-year earnings-per-
                   share gain in the second quarter. That soundly beat forecasts and marked the
                   second-biggest improvement in the S&P 5oo. Analysts have also been ratcheting
                   up expectations for tlre group since mid-July, Bell says.

                   And Bell notes that semiconductor stocks are trading at a gg% discount to their
                   lo-year average, even as prices have risen r5% year-to-date. An estimated price-
                   to-earnings ratio of r5.r times on a forward rz-month basis beats r7.r for tlre
                   information technolog' sector overall and r7.4 times for the S&P 5oo.

                   "We view the semiconductor industry group as having the most upside potential,
                   given underlying strength in cloud, memory, mobile, China and opportunities
                   for M&4. The prospect of an improving globaÌ economic environment should
                   further support price appreciation in semiconductors and technology alike," says
                   Bell.

                   Broadcom AVGO. +o.7o% is the top pick in the S&P's semi universe.

                   Th€ chart


                   Fears about a bond-bubble bursting are nothing new, says Société Générale's
                   chief currency strategist Kit Juckes.

                   In his 3z years in markets, Juckes says this is the "roth opportunity to declare
                   the raþ over," that he's seen. Those points in history include 1986, when
                   interest rates fell by ne arly 6% and oil was at g9 a barrel and then they both
                   started to rise, and it became a one-way street for bonds.
                                                                               -
                   He also says 1994 was "the stuff oflegends," and then there was the "monetary
                   policy bubble" of zoo3. Here's his chart:



2of4                                                                                                                          7/5/2018, 10:03 AM
These underdog stocks have everything going for them, but no one is   ...   htçs://www.marketwatch.com/story/these-stocks-have-ever).thing-go...
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                          Déjàlu
                   What's different this time? No bubble, but Juckes says we're still at a big point in
                   markets history to watch, and there's no reason to tfiink the sell-off is finished.

                   Ttre buzz



                          Let's make a deal

                   Germany's Bayer BAYN, -o.24% says it's agreed a buyout of U.S. seed giant
                   Monsanto US:MON for $rz8 a share, ending months of talks, say media
                   reports. Monsanto is up about 2.7yo ptemarket on that.

                   New York City says Verizon VZ. -o.16% broke an agreement over building Fios
                   cable connections.

                   Activist investor Carl Icahn says he asked the FTC for the go-ahead to buy So%
                   of Herbalife HLF. -o.24% He revealed that in comments late Tuesday at the
                   Delivering Alpha conference in New York.

                   California has banned killer whale shows and captive breeding, practices
                   formerþ used by SeaWorld SEAS. +o.66%

                   Wells Fargo WFC, -o.SS% CEO John Stumpf has blamed his employees for
                   allegedly illegal sales practices that have sparked outrage. "There was no
                   incentive to do bad things," he told The Wall Street Journal in an interview.

                    Samsung oosggo. -0.65% is scrambling after a massive recall of its Galaxy Note
                    7 smartphones prompted by reports of exploding batteries.

                   The quote


                           -WATCH: "They're absoiuteÌy magicai." -
                                                                   @,"rppìe CEO @,Tim Cook
                           on #AirPods. More TOMORROW exclusiveþ on @GMA.
                           pic.twitter.com/ZnToJHBELt

                           -   Good Morning America (@GMA) September rg. zo16

                    "I've never personally had one fall out since ITe been using them. They're
                    absolutely magical, as well." - Apple AAPL. +o.42% CEO Tim Cook on the
                    iPhone 7's wire-free ear buds, speaking in an ABC interview due to air later
                    Wednesday.

                    Apple shares got a nice boost Tuesday from upbeat carrier reports on iPhone 7
                    Some earl]¡ reviews say the upgrade may not be worth the trouble. As for those
                    ear phones, this $ro wire could fix any worries about losing them.

                    Check out: This analJ¡st gives five reasons wh]¡ Apple is a screaming bu)¡



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These underdog stocks have ever)4hing going for them, but no one is   ...   https://www.marketwatch.com/story/these-stocks-have-everything-go..
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                   The economy


                   It'sa quiet day for data, with just August import prices coming at B:Bo a.m.
                   Eastern. Check out our roundup ofthe week's data to come, including retail
                   sales. No Fed speakers, of course, with the blackout in place.

                   The stat


                          North Korea's leader Kim Jong Un back in zor4

                   zo - That's how many nuclear bombs North Korea could assemble by the end of
                   this year, based on a fresh look at the country's capabilities by weapons experts.
                   They say the counüy has plentv of plutonium a

                   RâJrdom reads


                   New York's attorney general has opened a                 @
                   Foundation

                   Colin Powell called Trump a "national disgrace" in emails leaked by hackers

                    Russian hackers stole and posted medical records of U.S. Olympic athletes such
                    as Simone Biles.

                    Donations have poured in for an elderþ man seen pushing an ice loþ cart in
                    Chicago. It took just one guy to stop and ask why.

                    Just when you thought all hope was lost:

                    Need to Know starts earþ and is updated until the opening bell, but
                    sign up here to get it delivered once to your email box. Be sure to check
                    the Need to Know item. Ttre emailed version will be sent out at about
                    7:3o a.m. Eastern.




 4of4                                                                                                                         7/5/2018, l0:03 AM
NBC holding crisis meetings over Megyn Kelly                  https:/þagesix.com /2017106/13lnbc-holding-crisis-meetings-over-me...
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                  NBC holding crisis meetings over Megyn
                  Kelly
                  Bg Carlos Greer


                  As famiÌies of the SandLHook victims continue to pressure NBC to ax Meg]¡n
                  Kell)"s Sunday interview with conspirqcy theorist Alex Jones, the network has
                  been holding crisis meetings about how to handle the backlash.

                  Insiders told us that staff were in panicked meetings all day on Monday. "It's a s
                  - - t show. No one wants to withstand a whole week of criticism over this. There
                  are a number of people who want to pull the interview."

                  But another source told us NBC needs the controversy to shake up their Sunday
                  night and to bring new viewers. "No one expected sponsors to pull out, but this
                  is why they hired Megyn. They expect to lose and gain viewers and they want the
                  btzz."

                  The interview has left many at the network scratching their heads, but NBC
                  News chairman Andy Lack was overheard telling fellow journaÌists at Tuesday's
                  Mirror Awards that the interview will air.
                   "There's been a lot of confusion, but as of now, they are not pulling the
                   interview," another insider said.




                   Kelly addressed the backlash on Thesday. "I find Alex Jones' suggestion that
                   Sandy Hook was 'a hoax' as personally revolting as every other rational person
                   does. It left me, and many other Americans, asking the very question that
                   prompted this interview: How does Jones, who traffics in these outrageous
                   conspiracy theories, have the respect of the president ofthe United States and a
                   growing audience of millions?"




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Megyn Kelly completely overhauls Alex Jones interview              https:þagesix.com   120   1   1 I0 6I   1   5   lmegyn-kelly-interview-completely-o...
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                  Megyn Kelly completely overhauls Alex
                  Jones interview
                  Emily Smith


                  Me$'n Kell)' has completely overhauled her Sunday night show featuring Alex
                  Jones, inviting Sandy Hook families on the program and editing her interview
                  with Jones to be tougher on him, following all the bacHash this week.

                  NBC News execs were scrambling following the furor over Kelly's decision to
                  give a pìatform to the controversial Infowars host, who claimed the Sandy Hook
                  massacre was a hoax.

                  A contrite Kelly personally called the Sandy Hook families, we're told, to invite
                  them on the show to counter Jones' rhetoric.

                  A source told us, "NBC was scrambling to find a way out of this mess without
                  having to back dorryn and cancel Sunday's episode of Megm's show. Megm and
                  her producers made numerous calls to the Sandy Hook families this week to ask
                  them to appear on the show. Some refused because they didn't think appearing
                  on her show would do enough to counter Alex Jones' venom."

                   Another source added, "Everyone on the show believes it's vitally important that
                   the piece conveys the immense pain that Jones has caused the Sandy Hook
                   families." The source added it was normal to be editing right up until airtime.

                   Page Six has learned that Neil Heslin, the father of 6-year-old Jesse Lewis, who
                   was slain in the Sandy Hook massacre in Nervtown, Conn., has agreed to be
                                                                        - ,-,,--J
                   lllLcl vIcWEU Uf ¡ Nelly ¡j 5tlUW. lll ZlJLö, tlts AppEATCLr   AL ¿ !)çll¿11ç çulllllllLLçç
                   hearing and pleaded with senators to ban assault weapons such as the gun that
                   killed his son.

                   Reps for NBC and       Keþ didn't comment on Thursday night.
                   Even Jones himself thinks the piece will be deliberately cut to make him look
                   cfazy.

                   He spent 13 hours with Kelly, but says he expects producers to pick the parts
                   that make him look bad, to prove to Kelly's critics that she is a serious journalist.




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Meg¡.n Kelly completely overhauls Alex Jones interview     https:/þagesix.com /20   1   7/   06/   1   5   lmegyn-kelÌy-interview-completely-o...
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                   Jones now doesn't want the piece to air because "from the promos NBC has run,
                   Megzn is distorting me," Jones told The Holl)'wood Reporter. "It has all the
                   markings of a PR stunt." He added, "They just want me to be the devil because
                   I'm the alternative media ... Fake news lives at NBC. They basically made me
                   Iook like a Halloween character."




2of2                                                                                                                            7/4/2018,4:41 PM
Newtown Families' Gun Control Ad                            http://www.businessinsider.com/newtown-gun-control-ad-bloomberg..
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                 Newtown Families' Gun Control Ad
                 Brett LoGíurato


                 New York City Mayor Michael Bloomberg's gun control group released a new ad
                 Thursday morning featuring family members of those killed in the elementary-
                 school massacre in Newtorvn, Conn.

                 The ad comes on the heels of a $rz million ad bu)¡ aimed at persuading Senators
                 in key states to support key measures to reduce gun violence. This ad will air in
                 Connecticut and is aimed at the state's gun control proposals. A source told
                 Business Insider that a national version ofthe ad is being planned.

                 The new ad is the first to feature family members of those killed in the Nen'torvn
                 massacre. It features Neil Heslin, the father of Jesse Lewis; Chris and Lynn
                 McDonnell, the parents of Grace McDonnell; Jillian Soto, the sister of teacher
                 Vicþ Soto; and Terri and Gilles Rousseau, the parents of Lauren Rousseau.
                 Politico's Mike Allen reported Thursday that Heslin, Rousseau, and the
                 McDonnells will attend President Barack Obama's event on gun violence later
                 Thursday morning in the White House. Obama is set to begin speaking at 11:40
                 a.m., the White House said.

                 The ad is part of the group's "National Day of Action," which features more than
                 12o events nationwide.

                  Here's the ad:

                 And here's the longer version:




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Connecticut
 22-01023-hcm     Releases the
            Carry Doc#1-4      Troubled
                            Filed            of Neil Heslin
                                        Past Entered
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                      ffi * *' tH=ïf;Í Ë [Tf i"Åt E * i                      ffi
 Connecticut Carry Releases the Troubled Past of Neil Heslin
 Anmolând lnc. Poslê.j on May 8- 20'13 by Ammolãnd




                           Vice President Joe Biden shakes hands with Neil Heslin,
                            center,and New York Mayor Michael Bloomberg right.




         .'{.r:r¡\
htçs://www.ammoland.com/2013/05/connecticut-carry-releases'the-troubled-past-of-neil-h...    71212018
Connecticut Carry Releases the Troubled Past of Neil Heslin                         2 of 8
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         YY                              Connecticut --(Ammoland.com)- A felon w¡th a long
                                         rap sheet offraud, substance abuse and reckless
                                         behavior is the poster boy for background checks and
                                         gun bans. But not in the way he thinks he is.

         ;                               Connecticut Carry has released the rap sheet and
                                         troubled past of Gun Ban Lobbyist Neil Heslin in
                                         response to an article published by News Times which
                                         failed to go into any significant journalistic depth on
          Connecticut Carry              his troubled past, and only discussed his current
                                         criminal troubles including his failure to appear in
                                         court while he was in Washington D.C. lobbying.


 The article by News Times failed to report the fact that records from the Connecticut
 Department of Emergency Services and Public Protection show a long history of criminal
 behavior and that Neil Heslin is a felon. All of which means that Neil Heslin is not allowed
 per State and Federal law to purchase, own or possess any firearms. So often we find that
 the strongest critics of the r¡ght to bear arms are those people who cannot be trusted with
 firearms themselves.

 ln fact, despite multiple convictions for drunk driving and losing his license, Mr. Heslin
 continued to drive and was eventually charged with driving under suspension.


    Mr. Heslin is living proof that the criminals we need to be concemed with do
    not follow permitting laws and that people who so caltously risk other people's
    lives continue fo do so without regard for the laws.

 "ln 201 0, 21 1 children were killed in drunk driving crashes. Out of those 21 1 deaths, 131 (62
 percent) were riding with the drunk driver."      National Highway Traffic Safety
                                               -
 Administration . "Traffic Safety Facts 2010: Alcohol lmpaired Driving" Washington
 DC: National Hig hway Traffic Safety Administration, 20 1 1 .


 Another major issue left out of the reporting so far has been Heslin's financial and civil
 issues. He has been sued several times for not paying his bills through his businesses and
 for not paying child support as well. Now, Mr. Heslin has found the employment he has
 needed for so long lobbying against the rights of the citizens of Connecticut and the rest of
 the country as well.




https://www.ammoland.com/2013/05/connecticut-carry-releases-the-troubled-past-of-neil-h...    7121201&
Connecticut Carry Releases the Troubled Past of Neil Heslin                         3 of 8
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 while we all, as humans, share in the sorrow and outrage of Mr. Heslin's tragic loss, as well
 as everyone who lost someone on that terrible day; we don't all have to feel ok with Mr.
 Heslin profiting off of the tragedy and hurt¡ng the gun owning, law abiding citizens who did
 nothing wrong that day.


 ln lobbying for gun bans applicable only to people that can actually pass a background,
 unlike himself, Neil Heslin has had many opportunities to preach to politicians including
 President Obama himself. ln fact, it is not difficult at all to find pictures of Neil Heslin
 standing within arm's reach of President Obama and the first lady.


 A felon within arm's reach of the President of the administration so dead set on
 background checks. No better testimony to how ineffective background checks are needs to
 be presented.


               Ne¡l Hesl¡n's conviction history: http:l/ctcarry.com/DocumenUDownloadffccf3833-2f3-4f54-b804-
               1   53496b02154

               Neil Heslin's troubled past: http://ctcârry.com/Document/Download/d8e27119-ZZa6-437 c-8577 -
               63f032b9a085

               News Time article on Neil Heslin's newest criminal charges:

               http://www.newst¡mes.oom/pol¡cereports/art¡cle/Away-from-the-spofl¡ght-Sandy-Hook-parent-
               4496775.php




 tvture   tf   of   frìaüon on Ints tssue can oe Touno on nllp://clcarry.com


 Connecticut Carry is dedicated to advancing and protecting the fundamental civil rights of
 the men and women of Connecticut to keep and bear arms for defense of themselves and
 the state as guaranteed by the United States Constitution and the Constitution of
 Connecticut.




                                                            EIEBrnA ¡{ I0
                                                                 HEAR!HG


htçs://www.ammoland.com/2013/05/comecticut-carry-releases-the-troubled-past-of-neil-h...                       7   /2/2018
Connecticut Carry Releases the Troubled Past ofNeil Heslin                          4 of 8
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                                                     Smith&l,lbss,an



   I S thou$hts 0n    "tonn*ct¡cut Cârry Roleases the Iroubled Past of Neil Heslin"


          Peter M says:
          July 22, 2016 ât   11   ì41 AM


  Heslin should be out giving speeches on the tragic deaths caused by drunk driving in this
  country, and the hardships caused to children because of dead-beat dads !


  Reply

      .   Bubba says:
          June '16,2013 at l:26 PM


  It's a shame these children weren't all armed. lt would have prevented this whole tragedy


  Reply

          M Silver says:
          May 15, 2013 at 8:55 PM


  The "SAFE" (Secure Ammuniiion anci Firearms Eniorcemeni) Act was cjebateci in ciosecj
  session without committee hearings, and Gov. Andrew Cuomo signed it into law within an
  hour of its passage  after waiving the requ¡red three-day public comment period. This 80
                                  -
  page legislation was passed late into the night... literally and figuratively under the cover
  of darkness. There existed no exigent need as claimed, of the Act's 60 sections, only three
  took effect on its adoption into law.
  This legislation does not have the support of our law enforcement community, which the
  legislature failed to consult or exempt, despite being tasked with its enforcement. ln fact,
  the NY State Sheriffs Association has specifically opposed the act, which criminalizes
  heretofore legal arms, magazines, and heavily restricts ammunition purchases, leaving NY
  state residents without legal access to, or unknowingly subject to criminal penalty for
  possession of, ¡tems that can be purchased over-the-counter in each of NY's contiguous
  states. The New York State Association of County Clerks and the New York State



https:/iwww.ammoland.com/2013/05/connecticut-carry-releases-the-troubled-past-of-neil-h...   71212018
Connecticut Carry Releases the T¡oubled Past ofNeil Heslin                         5 of
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  Association of Counties have also passed resolutions opposing the Ny SAFE act
  ln the wake of this legislation being signed into law, b0 of New york,s 62 counties have
  either passed, or are in the process of passing, resolutions calling for the repeal of the
  SAFE Act.
  whatever your position may be on the sAFE Act itself, NY sports men and women should
  support legislative and court efforts calling for its repeal due to the nature in which the
  SAFE Act was passed. NY State citizens should have the voice that Governor Cuomo and
  the state legislature silenced.

  Reply

        Chris M says:
        May 11, 2013 ar 6:11 P[/

  "Rich Whiteman on May 10,2013 al 12:42 AM said:
  It appears there are public records available for the other Adam Lanza Shooting shill Mark
  Barden, I wonder what that p¡ece of crap is hiding.


  Iwonder if we looked into your life what we would find? Other than your a piece of moldy
  shit!


  Reply


        James Scott says:
        May 10, 2013 at l0:54 AM


  keep up the good work!

  Reply

        R¡ch Wh¡teman says:
        May 10, 2013 at 12:42 AM


  It appears there are public records available for the other Ad am Lanza Shooting shill Mark
  Barden, I wonder what that piece of crap is hiding.


  Reply

        VT Patriot says:
        May 9, 2013 at 6:49   PN4




https://www.ammoland.com/2013/05/connecticut-cany'releases-the-houbled-past-of-neil-h...   712/2018
Connecticut Carry Releases the Troubled Past of Neil Heslin                   Page 6 of                     8
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  Hey, can't blame the guy for trying to profit off h¡s sons death. Maybe he could use the
  money to pay back some of the debts. That, and a book deal, this guy could really come
  out on top. Can't see where anything could go wrong with this..........


  Reply

        Carlos Wu says:
        May 9, 2013 at 5:29 PM


  So, Mr. Heslin had 3 DUI's within a year, plus a couple of bad checks. We are supposed to
  feel sorry for a guy who didn't think his child was worth pay¡ng child support? He didn't
  think enough of his own child to pay for care, but now he's standing on his son's grave
  preaching that people must give up something for the child he neglected?


  And if this man has felony convictions, plus outstanding charges, who overrode the Secret
  Service's policies about allowing such persons in close proximity to the President and VP?

  Reply

        Becker says:
        May 9, 2013 at 2:24 PM


  Sounds l¡ke Obama and the gun grabbers are keeping the same company that they are.
  You have Obama and Holder who have broken gun laws by gun running into Mexico, so
  they could blame us. Sounds about right. Time they were prosecuted and brought to
  justice.


   Reply

         Rob says:
         May 9, 2013 at 12:45 PM


   lf this bill will save one child life its worth it. Well by his actions he risk the life of a child by
   driving drunk. He should practice what he is preaching. I really feel for these family but
   what there are doing is wrong. I do hope they soon see this.

   Reply

         TJ sâys:
          May 9, 2013 al 7:37 AM




https://www.ammoland.com/2013/05/connecticut-carry-releases-the-troubled-past-of-neil-h,..          71212018
Connecticut Carry Releases the Troubled Past ofNeil Heslin
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                                                                               Pg 489                I
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  You people are scum..."profiting off the tragedy"...PROFlTlNG??? He lost his child!

  Reply

          jh says:
           May 9, 2013 at 7:22 AM


  How is it attacking the parent ? they are just telling the truth . Don't Act like you are hol¡er
  than thou while breaking the law yourself and trying to tell me what to do with my rights.
  wh¡le you are out driving drunk and wr¡ting bad checks and not paying you sons child
  support . He is hardly the model dad he makes himself out to be.
  What did he think he was special and that no one would check his past . he should have
  laid low and took the money, but he got up on the soap box and tried to profit off his sons
  death. How ¡s he gett¡ng all over the country someone or some company must be paying
  his bills. May iwont have to see this drunk crook on tv every ten minutes any more


  Reply

           Chucky_Dee says:
          ' May 9, 2013 åt 8:12 AM


  Yeah but listen to what he says not what he does - Obviously GUNS are serious and
  cr¡minals will obey those laws; his violations are just cars and they never hurt anyone.


   Reply

      :    John says:
           l\4ay   9, 2013 at 4:36 AM


   lnteresting that this felon is getting so much headline. I can see why now the real parent
   divorced this felon and had the son (Jesse Lewis) take a different last name than the
   drugged drunk stealing Heslin.


   Shouldn't the real parent (Lewis) being getting part of the 7-11 million? What about her
   pain, her loss?


   Reply

           Nina says:
           May 9, 2013 at 2:18 AM




htþs://www.ammoland.com/2013/05/connecticut-carry-releases-the-troubled-past-of-neil-h...     712/2018
Con¡ecticut Carry Releases the Troubled Past ofNeil Heslin                         8 of
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  Yep, let's elevate the conversat¡on by trying to attack the parent of a child who was shot in
  a school.
  Seriously, this is the sort of thing that delivers serious blowback.


     Reply


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                  Neil Heslin Smeared By Connecticut Carry
                  Gun Lobbying Group
                  WASHINGTON          A Connecticut gun lobbying group on Wednesday personally
                                    -
                  attacked the father ofa Sandy Hook school massacre victim, accusing him of
                  "profitting offof the tragedy" and saying a decade-old drug arrest makes him a
                  "poster boy" for bacþround check ineffectiveness.

                  Connecticut Carry, a nonprofit gun lobbying organization, singled out Neil
                  Heslin, whose son Jesse læwis was killed in the December school shooting, in a
                  prcss¡cþasç. Heslin has testi{ìed before Congress and attended events at the
                  White House with President Baraçk Obama in support of increased bacþround
                  checks for gun purchasers.

                  Heslin was scheduled to appear in court Wednesday to answer charges related to
                  driving with a suspended license and writing bad checks. He has pleaded not
                  guilty, the News Times reported. Heslin was convicted of felony narcotics
                  possession more than a decade ago, around the same period he was arrested
                  multiple times for driving under the influence. Aüempts to reach Heslin
                  Wednesday were unsuccessful.

                  Referring to Heslin's White House visits, the gun lobby group said, "A felon
                  within arm's reach of the president of the administration so dead set on
                  background checks. No better testimony to how ineffective bacþround checks
                  are needs to be presented."

                  Heslin made national headlines in late February, when he testiñed before the
                  Senate Judiciary Committee while holding up a portrait of his son Jesse. Heslin
                  wept openly as he described his last moments with his son. "I have to go home at
                  night to an empty house, without my son," he told the senators.

                  Connecticut Carry charged that Heslin is "profìting" from his advocacy for
                  increased gun control.

                  "Mr. Heslin has found the employrnent he has needed for         long lobbying
                                                                                    so
                  against the rights of the citizens of Connecticut and the rest of the country, " the
                  group said. Heslin is a self-employed contractor and has had fìnancial problems
                  in the past, including a zorr foreclosure, Connecticut Carry pointed out in its
                  press release,

                  Asked for details of the group's allegation that Heslin had found employment
                  lobbying for gun control, Rich Burgess, the founder of Connecticut Carry, sent a
                  link to an ad produced by Mayors Against Illegal Guns, which featured Heslin
                  with several other parents of Sandy Hook victims.



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                  Erika Soto lamb, a spokeswoman for Mayors Against Illegal Guns, said, "Neil is
                  not empÌoyed by Mayors Against Illegal Guns nor was he compensated for his
                  participation in the ad featuring family members of Newtown shooting victims.

                  "Newtown opened Americans' eyes to tìe epidemic of gun violence that plagues
                  our country," Lamb continued. "We are grateful to Neil for his - entirely unpaid
                  - efforts to make sure that no other parent suffers the unspeakable tragedy of
                  having their child killed by gun violence."

                  The Hufñngton Post contacted other prominent gun control groups, including
                  the Brady Campaign, Americans for Responsible Solutions, and the Newtown-
                  based nonprofìt Sandy Hook Promise. Aìl said they have not employed Heslin.

                  This qrtícle has been updated to íncfude the comment of Erika Soto Lamb,
                  spokeswoman for Mayors Agaínst lllegal Guns.




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uPr
Sandy Hook dad offered plea deal on bad-
check, driving charges
 Published: May 8, 2Oì3 at lO:'l7 PM

 MILFORD, Conn., May I {UPl) -- A judge in Connecticut Wednesday offered the father of a child slain in the
 Newtown massacre a plea deal to resolve his bad-checks and motor vehicle case.
Thejudge gave Neil Heslìn of Shelton, who has become an advocate for gun controt since the Dec.             14   shooting
at Sandy Hook Elementary School, unt¡l July 9 to accept ¡t, the Danbury News-Times Íeported.
Judge Frank lannott¡ said the So-year-old, self-employed contractor would have to serve a mìn¡mum of 30 days
in ja il if he pleads to two counts of operating under suspension.

 lannotti said Heslin would receive a condit¡onal discharge on the bad-checks charges and avoid jail time if he
 meets yet-to-be-determ ¡ned conditions, the newspaper said.
 He would also serve two years probation and pay a $I,OOO f ine plus court costs.

 Heslin has made good on the bad checks he wrote to three victìms last year, the newspaper saìd.

 Heslin didn't speak during his brief court appearance and his attorneys had no comment to reporters
 afterward, the News-Times said.
 Heslìn is accused of writing about $3,600 in bad checks and drìvìng while under suspensìon ìn 2oll. He had lost
 hìs license for a previous drunken driving inc¡dent, the newspaper said.

 Heslin came under attack Wednesday f rom the gun r¡ghts group Connecticut Carry, which said he has
 "multiple convìctions for drunk drìving" that make him a felon and "the poster boy for background checks and
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 "All of whìch means that Neil Heslin is not allowed per state and federal law to purchase, own or possess any
 fìrearms," the group said. "So often we f ind that the strongest critics of the right to bear arms are those people
 who cannot be trusted with f irearms themselves.
 "Whiie we all, as humans, share ¡n the sorrow and outrage of Mr. Heslin's tragic loss, as well as everyone who
 lost someone on that terrible day; we don't all have to feel OK with Mr. Heslin prof ¡ting off of the tragedy and
 hurting the gun own¡ng, law abiding citizens who did nothing wrong that day.
 "ln lobbying for gun bans applicable only to people that can actually pass a background, unlike himself, Neil
 Heslin has had many opportunities to preach to politicians, including President Obama himself. ln fact, it is not
 diff icult at allto f ind pictures of Neil Heslin standing with¡n arm's reach of President Obama and the f irst lady.

 "A felon withln arm's reach of the president of the administration so dead set on background checks. No better
 testimony to how ineffective background checks are needs to be presented."



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         Group Calls on Pryor to Drop Opposition To
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         By MALCoLM GLOVER      .   JUN27,2013

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        A bus for the "No More Names: Nationol Drive to Reduce Gun Violence" campaign arr¡ves ¡n Little Rock.
        MALCOLM GLOVER/ KUAR




                  Listen
                  2t5B



          Listen to the full story.


        Advocates encouraging state and federal officials to support what they call "sens¡ble gun laws"
        held a rally in downtown Little Rock Thursday.


        The attendees included area res¡dents, faith leaders, survivors of gun violence, and the family
        members of v¡ctims killed during the shooting at Sandy Hook Elementary in Newtown,
        Connecticut.

        Bill Branham is a gun owner and an avid target shooter. He's lived in Arkansas since 1972 and
        decided to participate in the event.


        "l support everything this group is doing. I support enhanced background checks. I support
        limiting gun magazines to five or ten rounds - no more thirty-round magazinesj'said Branham.
        "My daughter was killed by a gun in December 2007...1hope some good can come out of this
        rally and other rallies across the country."


         Reverend Elliott Blocker said he has always been concerned about the high crime-rate in parts of
         the greater Little Rock area that negatively impact allfamilies.

         "l believe that we, as a people, should unite and it doesn't matter what your background is, what
         yOUi- egucationai ievei ¡S, O¡- yOUr linãnc¡âi SÎä¡US; 5åiü biocKer. vve å¡¡ silã¡'e tne Sãme COnCe¡-nS
         when it comes to gun control. A bullet doesn't have a name and it doesn't have a respect of
         person... various communities should come together and let politicians know our concerns about
         gun violenceJ'


         The "No More Names: National Drive to Reduce Gun Violence (http://nomorenames.orgl)" is
         expected to continue its 25-state bus tour after the Little Rock event. Supporters say they want
         to encourage Congress to pass bipartisan background check legislation.

         Mayors Against lllegal Guns has been targeting Pryor for weeks in various ads. Pryor responded
         last month with a television ad in which he said, "No one from New York or Washington tells me
         what to do. I listen to Arkansas."




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          .d",     leull Nam* . 5 years ago
         ïtr
          tn$¡!
                   "Gun control" is a DEAD ISSUE. LET lT GO. MOVE ON, and find a better cause to which to
        *ffi"      devote your time. One that will do actual good, is not based on magical thinking, and will not
                   iust end in frustration.
                   ^ v . Reply . Share)
                   Sam.5yearsago
          w
         ffi"      Your daughter was killed by a gun? #1. She wasn't killed by a bad guy? #2. Maybe if she had
                   a gun, she would be alive.

                   Hate to be harsh, but get a brain.
                   Ã V ¡ RePIY .       Share   )



                   Andrew R$thman . 5 years ago
          *aF
                   This article says noth¡ng about the turnout. Can you tell us how many people (not including
         dffi!'    press, or people from the bus) attended?

                    lf not, and this was just a press event, is it newsworthy?
                    1 ^ \,. . Reply . Share I


          gh        brôåyTT.Syearsago
          wl$,
                    Ënhanced background checks? Really? How stupid is that waste of tax payeß money? What
         i$W,
                    does it cost each year to support a flawed system? There are 77 guns per 100 Americans.
                    Majority of gun violence was created by guns illegally obtained where no background check
                    would have been done.

                    A much smarter and cheaper solution is to do away with background checks and save that
                    money" Replace it with a ATF stamp on your drivers l¡cense. You commit any felony and the
                    stamp comes off. Without the stamp you can't buy Alcohol, Tobacco, Bullets, or Guns for 10
                    years.

                    I think it is nuts that an ex-felon can go have a beer still but can't legally buy a gun. So they
                    just get drunk and steal one. Alcohol industry has more power then the NRA does I guess as
                    they make you ignore the fact Alcohol has killed more then guns have. Tobacco has killed
                    more then guns have. And neither Tobacco or Alcohol has saved a life unlike guns.

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                                     m Father of Newtown v¡ct¡m and others rally for
                                              common sense gun laws in NoLA
                                              Posted on 6128/20L3 4:30:00 PM.
                                                                         The father of a child who was killed in the deadly

         t@                                                              Sandy Hook Elementary School massacre, faith leaders
                                                                         and local advocates will be in New Orleans Saturday to
                                                                         voice support of "common-sense" gun policies' Ne¡l
                                                                         Heslin's 6-year-old son Jesse was gunned down in
                                              Newtown

                                              Heslin and others are coming together Saturday to voice th,e¡r continued
                                              support for comprehensive and enforceable background chelcks. The
                                              grieving dad says it's part of a tour called "No More Names: Nat¡ona¡
                                              Dr¡ve to Reduce Gun v¡olence".
                                                                                                                                          EETBMS!$
                                              "My son's name is on the bus..he's one of the victims," Heslin says. "There
                                              are 6600 other names of v¡ctims who have died as a result of unnecessary
                                                                                                                                          .   All   12   boys and coach successfull!
                                                                                                                                              Thailand cave
                                              gun violence. "
                                                                                                                                              Three boys and their coach rema¡ned
                                              Heslin says he supports the second amendment and he's not trying to take
                                                                                                                                              Tuesday.
                                              anyone's guns away. But background checks are already in place for dealers                  .   The boys trapped ¡n the Tha¡land c
                                              and he'd like to see that expanded to ¡nclude ALL gun sales.                                    an unusual disease
                                                                              no more names, newtown
                                                                                                                                              The env¡ronment ¡ns¡de the cave incr¡




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                                                                                                                                  th¡s rare disease.
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           @LaÊadìoNetwÊrk
                                                                                                                                  They're out of a cave in Tha¡land but


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           H¡gh¡y antic¡pated U.S.
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                                                                                                                                  remain out of reach for relieved parer
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                                                                                                                                  T¡ump's former national security a,
                                                                                                                                  court, still awa¡ting sentenc¡ng
           Supreme Court nominat¡on will
           be announced tonight                                                                                                   President Donald Trump's former nat¡
           lou¡s¡anaradionetwork.com/blog                                                                                         adv¡ser M¡chael Flynn will be ¡n court
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           room' that allows customers to
           let out the¡r frustrat¡ons



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                 Father Of Newtown Victim,
                 Survivors Of Tucson Mass
                 Shooting,And Mayor
                 Rothsch¡ld Cather ln Tucson
                 To Back Common-sense Cun
                 Laws, Urge Senator Flake To
                 Su pport Background Checks

                 NEWS PROVIDED BY
                 Mayors Against lllegal     Guns{
                 Jul 05, 2013, IO:OO ET




                 Floke Voted Agd¡nst the 90 Percent of Arizonons Who Support
                 Bockground Checks; Participrrnts Coll on Him to Tqke A.nother Look at
                  Bipartison legis/otion thot Would Help Sove Lives


                  Event is Port of "No More Nomes Notlono/ Drive to Reduce Gun Violence"
                  Bu s Tou r; wvvw. N o   MoreNornes.org


                  TUCSON, Ariz., July 5,20"13 /PRNewswire-USNewswirel               --fl¡e father of a
                  6-year-old Newtown victim, survivors of the 2O1l mass shooting in Tucson,
                  Mayor Jonathan Rothschild, City Council members, law enforcement, faith
                  leaders, and local advocates gathered at St. Odilia Church in Tucson today
                  as part of the "No More Names: National Drive to Reduce Gun Violence" - a

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               2S-state national bus tour over a per¡od of lOO days aimed at urging
                America's leaders to support common-sense gun polic¡es. Participants
                voiced the¡r continued support for comprehens¡ve and enforceable
                background checks, and they called on Senator Jeff Flake to reconsider his
                position on this life-saving measure and take another look at bipartisan
                background checks legislation.


                Participants and attendees included: Neil Heslin, whose 6-year-old son
                Jesse Lewis was murdered in the Newtown massacre; Bill Badger, Pat
                 Maisch, and Suzi Hileman, all of whom are survivors of the 2Oll Tucson
                 mass shoot¡ng; Tucson Mayor Jonathan Rothschild, a member of Mayors
                Against lllegal Cuns; Captain Perry Tarrant of the Tucson Police
                 Department; City Council Members Steve Kozachik and Karin Uhlich;
                 Randy Friese, trauma surgeon to Congresswoman Gabrielle Giffords; Lisa
                 Kiser, a survivor of the University of Arizona School of Nursing shooting;
                 Jocelyn Strauss of Moms Demand Action for Gun Sense in America; Clark
                 Romans of the National Association of Mental lllness; and Father Troutman
                 of St. Odilia Church.


                 It remains far too easy for criminals, domestic abusers, the seriously
                 mentally ill, and other dangerous individuals - people who know they can't
                 oass a background check - to skirt the law and obtain _ouns by purchasing
                 them online or at gun shows, where background checks are not required
                 under federal law Bipartisan legislation sponsored by NRA A-rated
                 Senators Joe Manchin and Pat Toomey- and supported by Senator McCain
                 - would have closed this dangerous loophole by extending background
                 checks to commercial gun sales. But Senator Flake voted to block this
                 sensible legislation, despite the fuct that 90 percent of Arizonans support
                 background checks for all gun sales.


                 "From Tucson to Newtown, our country has seen far too many tragic
                 shootings and far too many lives lost to the epidemic of gun violence in
                 America," said Neil Heslin, whose 6-year-old son Jesse Lewis was

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Father Of Newtown Victim, Survivors Of Tucson Mass
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              mutdered in the Newtown massacre.of 692"People across the nat¡on are
                demanding action from our leaders in Washington. lt's time they act to
                stem the bloodshed and help save lives."


                "After all this country has gone through regarding gun v¡olence, it is an
                outrageous shame that Congress failed to pass comprehensive background
                checks in April," said Pat Maisch, who wrestled the Tucson gunman,s
                ammun¡tion mag¿¡z¡ne äway from him. "senator McCain showed
                leadership by supporting sensible gun v¡olence prevention legislation. Now
                it's time for Senator Flake to stand up for the countless survivors of gun
                violence and Íamilies of victims who demand meaningful action from their
                leaders in Washington. American lives are at stake."


                "Not a day goes by that I'm not thinking about how close I came to being
                killed that fateful Saturday mornlng," said B¡ll Badger, a retired Army
                colonel who helped tackle the Tucson gunman wh¡le he was attempt¡ng
                to reload his weapon. "We need stronger gun laws in this country that help
                keep firearms out of the wrong hands. This isn't a political issue - it's about
                saving lives and preventing future tragedies."


                "Like the rest of the country, Tucson has been devastated by far too many
                horrific acts of oun violence -'lârìuãrv    I   2Oll   rruas   one of orrr.itv's.lârkêçt
                days," said Tucson Mayor Jonathan Rothschild, a member of Mayors
                Against lllegal Guns. "Our leaders in Washington must put politics aside
                and public safety first by enacting common-sense gun laws that will help
                keep guns out of the wrong hands. I thank and applaud Senator McCain for
                working across party lines to vote the way Arizonans demand and deserve
                in April - it's time for his colleagues to follow su¡t."


                "l have seen firsthand the tragic toll that gun violence can take on
                communities across the country," said Daniel Hernandez, a survivor of the
                2oll Tucson mass shooting who was then serv¡ng                    as an ¡ntern   to
                Congresswoman Gabrielle Giffords and helped save her life. "Americans
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Father Of Newtown Victim, Su¡vivors Of Tucson Mass
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               ever)                                of 692
                             are call¡ng on our leaders to take meaningful action to reduce
                     ^r'here
               gun violence and help save lives. lt's time they listen. With 33 people being
                murdered with guns each and every day in this country, we can no longer
                afford to sit idly by."


                Rates of gun violence in Arizona are higher than in the rest of the country:
                ln 2011, Arizona's rate of aggravated assault with firearms was l3 percent
                higher than the national average, and 25 percent more than in states that
                                                                                                              '
                require background checks for private handgun salesfll; in 2OlO, the rate of
                women shot to death by intimate partners in Arizona was 29 percent
                higher than the national average, and 40 percent more than in states tl¡at
                require background checks for private handgun sales[2]; and the number of
                police officers killed with handguns in the state was nearly double the
                national rate.[3]


                The No More Names tour will prov¡de an opportunity for the more than 90
                 percent of Americans who support background checks to drive home                       a

                 message to our elected officials that our country needs common-sense gun
                 laws. At each stop, partic¡pants       will hold rallies with a broad coalition of
                supporters - including police, survivors, domestic violence prevention
                advocates, mayors, and other elected officials - to commemorate those
                we've lost and call on our leaders to stand with the American people on
                 sensible gun pol¡cies. They will both applaud senators who voted to
                 support comprehensive and enforceable background checks, and urge
                 those who opposed this measure to take a second look.


                 States on the tour include: Arizona, Arkansas, Colorado, Connecticut,
                 Ceorgia, lllinois, lndiana, lowa, Louisiana, Maine, Maryland, Massachusetts,
                 Minnesota, Montana, Nevada, New Hampshire, New Jersey, New York, North
                 Carolina, North Dakota, Ohio, Pennsylvania, Tennessee, Virginia, Wisconsin.
                 For more information, please visit wwwNoMoreNames.org,



                 Evidence demonstrates that background checks help save lives. ln states

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Father Of Newtown Victim, Survivors Of Tucson Mass
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              that already requ¡re background checks for all handgun sales:


                      .   Cun trafficking was 48 percent lower than ¡n states that fail to require
                          background checks for all handgun sales,[4]
                      .   The rate of women murdered by an intimate partner with a gun was
                          38 percent lower than in other states, while the rate murdered by
                          other means was nearly identical.[5]
                      .   The firearm suicide rate was 49 percent lower than ¡n other states,
                          even though people committed suicide in other ways at almost
                          precisely the same rate.[6]
                      ¡   Thirty-nine percent fewer law enforcement officers were shot to death
                          with handguns.[7]


                About Moyors Agoinst lllegol Guns


                Since its creation in April 2006, Mayors Aga¡nst lllegal Guns has grown from
                15members to more than 95O mayors from across the country. We have
                          .l.5
                more than      million grassroots supporters, making us the largest gun
                violence prevention advocacy organization in the country. The bipartisan
                coalition, co-chaired by New York City Mayor Michael Bloomberg and
                 Boston Mayor Thomas Menino, has united the nation's mayors around
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                accountable; demanding access to crime gun trace data that                       ¡s   critical to
                 law enforcement efforts to combat gun trafficking; and working with
                 legislators to fix weaknesses and loopholes in the law that make it far too
                 easy for criminals and other dangerous people to get guns. Learn more
                 at www.mayorsagai nstil legalguns.org


                 []   Federal Bureau of lnvestigat¡on. Uniform Crime Reports.2O1l. Available
                 at: http:/¡.usa.govfi lJYssw
                 [2] U.S. Department of Justice, Federal Bureau of lnvestigation,
                 Supplementary Homicide Reports,                2011.   Available at http://bit.ly^nCvfe.
                 Florida Department of Law Enforcement. Supplementary Homicide Report.

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               2OlO. Excludes New York due to incomplete data.

                [3] Federal Bureau of lnvestigation, 2OOl-20ll. Law enforcement killed with
                handguns that were not the¡r own.
                [4] Daniel Webster, Jon Vernick, and Maria Bulzacchelli, "Effects of State-
                Level Firearm Seller Accountability Policies on Firearm Trafficking," Journal
                of Urban Health, July 2OO9.
                tsl U.S. Department of Justice, Federal Bureau of lnvestigation,
                Supplementary Homicide Reports, 2OlO.
                [6] Centers for Disease Control and Prevention, National Center for lnjury
                Prevention and Control. Web-Based lnjury Statistics Query and Reporting
                System (WISQARS) [online]. (2OO5) [cited 2012Dec.2Ol.
                Fl Federal Bureau of lnvestigation.        LEOKA Database,2OOl-2Oll (Accessed
                Mar.2O13).


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                John Duckwitz: duckwitz@homefrontdc.com or 54O-878-1136
                 Christina Martinez: christina@adelantepublicaffairs.com or 6O2-316-9732


                 SOURCE Mayors Against lllegal Guns




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                Father Of Newtown Victim,
                Congressman Price,
                Morrisvi I le Mayor Holcombe,
                And Local Cun Owners To
                Hold Rally ln Raleigh To Voice
                Support For Common-sense
                Cun Laws That Help Save
                 Lives
                90 Percent of North Carolinians Support Background Checks That
                Help Keep Guns Out of the Hands of Criminals, Domestic Abusers,
                and the Severely Mentally lll



                NEWS PROVIDED BY
                Mayors Against lllegal     cuns+
                Jun 20 , 2013 , o3:29 Ef




                 RALEICH, North Carolina, June 20, 2Ol3 /PRNewswire-USNewswire/ -- On
                 Saturday, June 22nd, advocates for common-sense gun laws will hold a rally
                 in Raleigh, North Carolina as part of the "No More Names: National Drive to
                 Reduce Gun Violence" - a 25-state national bus tour over a period of ìOO
                 days aimed at urging America's leaders to support sensible gun safety
                 measures. Participants will come together Saturday to voice their
                 continued support for comprehensive and enforceable background checks.
                 They   will also thank Senator Kay Hagan for voting to support this life-saving

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              measure, and they will urge Senator
                                               of 692
                                                  Richard Burr to reconsider his position
                and take another look at bipartisan legislation sponsored by two NRA
                A-rated lawmakers that would help keep guns out of the wrong hands.


                Part¡c¡pants will include: Neil Heslin, the father of 6-year-old Newtown
                victim Jesse Lewis; U.S. Congressman David Price; Morrisville Mayor Jackie
                Holcombe; Joslin Simms, whose son Rayburn was murdered with a gun in
                Durham in 2OO5; Brinda Sousley, Moms Demand Action for Cun Sense in
                America; and Hilton Cancel, a local gun owner, former police officer, and
                board member of North Carolinians Against Gun Violence.


                Every day,33 Americans are murdered with guns in this country. "No More
                Names: National Drive to Reduce Gun Violence" is part of Mayors Aga¡nst
                lllegal Cuns'ongo¡ng, national effort to continue raising awareness to the
                issue of gun violence ¡n America - and most importantly, to urge elected
                officials to act on behalf of the people they represent.


                What:              Advocates to gather in Raleigh to voice support for common-
                 sense gun laws that        will keep guns out of the wrong hands and help                        save
                 lives


                 Who:


                     ¡   Neil Heslin, whose 6-year-old son Jesse was murdered in Newtown
                     .   U.S.   Congressman David Price
                     r   Morrisville Mayor Jackie Holcombe
                     o Joslin Simms, whose son Rayburn was murdered with a gun in
                         Durham in 2OO5
                     ¡   Brinda Sousley, Moms Demand Action for Cun Sense in America
                     o Hilton Cancel, Cun Owner, Former Police Officer, Board Member of
                         North Carolinians Against Cun Violence




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Father Of Newtown Victim, Congressman Price, Morrisville Mayor
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                Where:    Moore Square Park    of 692

                                     2OO S            Blount Street
                                     Raleigh, North Carolin a 27601


                When:                    Saturday, June 22nd
                                     Press Conference Time: lO:OO a.m.
                                     Name-Reading to Begin After Press Conference


                *All participants will be available to speak with med¡a throughout the
                day, For interview requests in advance and on-site, please contact John
                Duckwitz at 540-878-1156.


                                                       About Moyors Agoinst lllegol Guns


                S¡nce its creation in April 2006, Mayors Against lllegal Cuns has grown from
                l5 members to more than                           95O mayors from across the country. We have
                 more than 1.5 million grassroots supporters, making us the largest gun
                violence prevention advocacy organization in the country. The bipartisan
                 coalition, co-chaired by New York City Mayor Michael Bloomberg and
                 Boston Mayor Thomas Menino, has united the nation's mayors around
                 these common goals: protecting communities by holding gun offenders
                 accountabie; ciemanciing access to crime gun trace cjata that                        ¡s   cr¡t¡cai to
                 law enforcement efforts to combat gun traffick¡ng; and work¡ng with
                 legislators to fix weaknesses and loopholes in the law that make it far too
                 easy for criminals and other dangerous people to get                          guns. Learn more
                 at www. mayorsa gai nsti I lega                       I   gu   ns.org


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                 John Duckwitz: duckwitz@homefrontdc.com or 54O-878-1                              136

                 Lizzie   U   l   mer:   l   u   l   mer@ma   i   g   .org or 269 -271 -2331




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              SOURCE Mayors Against lllegal Guns




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         EEtrtatNPR Srauon
         There are      least two stations nearby

   shoot¡ngs in newtownr conn.
           NEWSCAST                                                  LIVE   RADIO                            SHOWS


   Transcript: President Obama At Sandy Hook
   Prayer Vigil
   December '16,2Ol2 - lO:39 PM ET




    President Obama speaks at an interfaith vigil for the shooting vict¡ms from Sandy Hook Elementary School on Sunday at
    NeMown High School in NeMown, Connecticut.
    GeW lmages




    Transcript of President Obama's speech at the interfaith uigíl ín Neutoun, Conn.,
    Dec. t6 ín honor of the uíctims of the shootings at Sandy HiII Elementary. Source:
    I,Nhite House




 httpsr/www.npr.org/2012,1211611674'l299sllranscript-pres¡dent-obama-at-sandy-hook-p¡ayer-vigil                             1t12
7l5l211a                                                Ìranscdpt: President Oþama At Sandy Hook Prayor Vig¡l : NPR
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  Thank you. (Applause.) Thank you, Gevernor. To all the families, first responders, to
  the community of Newtown, clergy, guests                               -   Scripture tells us: "...do not lose heart.
  Though outwardly we are wasting away...inwardly we are being renewed day by day.
  For our light and momentary troubles are achieving for us an eternal glory that far
  outweighs them all. So we fix our eyes not on what is seen, but on what is unseen,
  since what is seen is temporary, but what is unseen is eternal, For we know that if the
  earthly tent we live in is destroyed, we have a truilding from God, an eternal house in
  heaven, not built by human hands."


                                                           we gather here in memory of twenty beautiful
   Listen: president
                                                           children and six remarkable adults. They lost their
   Obama at
   NeWtOWn, COnn.,                                         lives in a school that could have been any school; in
   Memorial Service                                        a quiet town          full of good and decent people that
                                                            could be any town in America'
     LrsrEN ouEUE
   Download                                                 Here in Newtown, I come to offer the love and
                                                            prayers of a nation. I am very mindful that mere
                                                            words cannot match the depths ofyour sorrow, nor
   can they heal your wounded hearts. I can only hope it helps for you to know that you're
   not alone in your grief; that our world too has been torn apart; that all across this land
   of ours, we have wept with you, we've pulled our children tight. And you must know
   that whatever measure of comfort we can provide, we will provide; whatever portion of
   sadness that we can share with )¡ou to ease this heavy load, we                                      will gladly   Ltea.r   it.
   Newtown              you are not alone,
                    -
   As these       difficult days have unfolded, you've also inspired                              us   with stories of strength
   and resolve and sacrifice. We know that when danger arrived in the halls of Sandy
   Hook Elementary, the school's staffdid not flinch, they did not hesitate. Dar,rm
   Hochsprung and Mary Sherlach, Vicki Soto, Lauren Rousseau, Rachel Davino and
   Anne Marie Murphy                  -   they responded as we all hope we might respond in such
   terrifying circumstances                 -   with courage and with love, giving their lives to protect the
   children in their care.

   We know that there were other teachers who barricaded themselves inside classrooms,
    and kept steady through                 it all, and reassured their students by saying "wait for the
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   good guys, they're coming"; "show me your of 692
                                             smile."

   And we know that good guys came. The first responders who raced to the scene,
   helping to guide those in harm's way to safety, and comfort those in need, holding at
   bay their own shock and trauma because they had ajob to do, and others needed them
   more.

   And then there were the scenes of the schoolchildren, helping one another, holding
   each other,        dutifuþ following instructions in the way that young children sometimes
   do; one child even trying to encourage a grown-up by saying, "I know karate. So it's
   okay.     I'll lead the way out." (Laughter.)

   As a community, you've inspired us, Newtown. In the face of indescribable violence,                                       in
   the face of unconscionable evil, you've looked out for each other, and you've cared for
    one another, and you've loved one another. This is how Newtown will be remembered.
   And with time, and God's grace, that love will see you through.

    But we, as a nation, we are left with some hard questions. Someone once described the
   joy and anxiety of parenthood                       as the equivalent         ofhaving your heart outside ofyour
    body all the time, walking around. With their very first cry, this most precious, vital
    part of ourselves          -   our child       -    is suddenly exposed to the world, to possible mishap
    or malice. And every parent knows there is nothing we will not do to shield our
    children from harm. And yet, we also know that with that child's very first step, and
    each step after that, they are separating ftom us; that we won't                                       that we can't always
                                                                                                       -
    be there for them. They'll suffer sickness and setbacks and broken hearts and
    disappointments. And we learn that our most important job is to give them what they
    need to become self-reliant and capable and resilient, ready to face the world without
    fear.

    And we know we can't do this by ourselves. It comes as a shock at a certain point
    where you realize, no matter how much you love these kids, you can't do it by yourself.
    That this job of keeping our children safe, and teaching them well, is something we can
    only do together, with the help of friends and neighbors, the help of a community, and
    the help of a nation. And in that way, we come to realize that we bear a responsibility


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   for every child because we're counting on everybody else to help look after ours; that
   we're all parents; that they're all our children.

   This is our first task
                                    -   caring for our children. It's our first job. If we don't get that
   right, we don't get anything right. That's how, as a society, we will be judged.

   And by that measure, can we truly say, as a nation, that we are meeting our
   obligations? Can we honestly say that we're doing enough to keep our children                                           all of
                                                                                                                       -
   them     -   safe from harm? Can we claim, as a nation, that we're all together there,
   letting them know that they are loved, and teaching them to love in return? Can we say
   that we're truly doing enough to give all the children of this country the chance they
   deserve to live out their lives in happiness and with purpose?


   I've been reflecting on this the last few days, and if we're honest with ourselves, the
   answer is no. We're not doing enough. And we will have to change.


   Since I've been President, this is the fourth time we have come together to comfort a
   grieving communþ torn apart by a mass shooting. The fourth time we've hugged
   suryivors. The fourth time we've consoled the families of victims. And in between,
   there have been an endless series of deadly shootings across the country, almost daily
   reports of victims, many of them children, in small towns and big cities all across
   America        -   victims whose          -   much of the time, their only fault was being in the wrong
   place at the wrong time.


   We can't tolerate this anymore. These tragedies must end, And to end them, we must
   change. We will be told that the causes of such violence are complex, and that is true.
   No single law          -   no set of laws can eliminate evil from the world, or prevent every
   senseless act ofviolence in our societv.


   But that can't be an excuse for inaction. Surely, we can do better than this. If there is
   even one step we can take to save another child, or another parent, or another town,
   from the grief that has visited Tucson, and Aurora, and Oak Creek, and Newtown, and
   communities from Columbine to Blacksburg before that                                             then surely we have an
                                                                                                -
   obligation to try.



httpsJ/www.npr.org/20121121161167412995ltranscript-president-obama-at-sandy-hook-prayer-v¡gil                                       4t't2
7l5l2O1B                                            Transcriptr president Obama At Sandy Hook prayer V¡gil I NpR
       22-01023-hcm Doc#1-4 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 518
   In the coming weeks, I will use whatever power
                                              of 692
                                                   this office holds to engage my fellow
   citizens    -   from law enforcement to mental health professionals to parents and
   educators
                   -   in an effort aimed at preventing more tragedies like this. Because what
   choice do we have? We can't accept events like this as routine. Are we                                    reaþ prepared
   to say that we're powerless in the face of such carnage, that the politics are too hard?
  Are we prepared to say that such violence visited on our children year after year after
  year is somehow the price of our freedom?


   All the world's religions               so many of them represented here today                            start with a
                                       -                                                                -
   simple question: Why are we here? What gives our life meaning? What gives our acts
   purpose? We know our time on this Earth is fleeting. We know that we will each have
   our share of pleasure and pain; that even after we chase after some earthly goal,
   whether it's wealth or power or fame, or just simple comfort, we will, in some fashion,
   fall short of what we had hoped. We know that no matter how good our intentions, we
   will all stumble sometimes, in some way. We will make mistakes, we will experience
   hardships. And even when we're trying to do the right thing, we know that much of our
   time will be spent groping through the darkness, so often unable to discern God's
   heavenly plans.


   There's only one thing we can be sure of, and that is the love that we have                                         for our
                                                                                                                   -
   children, for our families, for each other. The warmth of a small child's embrace that
                                                                                      -
   is true. The memories we have of them, the    joy that they bring, the wonder we see
   through their eyes, that fierce and boundless love we feel for them.                                a.   love tha-t tak-es us
   out of ourselves, and binds us to something larger                              we know that's what matters. We
                                                                               -
   know we're always doing right when we're taking care of them, when we're teaching
   them well, when we're showing acts of kindness. We don't go wrong when we do that.

   That's what we can be sure of. And that's what you, the people of Newtown, have
   reminded us. That's how you've inspired us. You remind us what matters. And that's
   what should drive us forward in everything we do, for as long as God sees fìt to keep us
   on this Earth.


   "Let the little children come to me," Jesus said, "and do not hinder them                                           for to such
                                                                                                                   -
   belongs the kingdom ofheaven."


https:/Adww.npr.org/2012112l161167412995llranscript-president-obama€t-sandy-hook-prayer-vigil                                        5t12
71512014                            Transcript: President Obama At Sandy Hook prayer V¡g¡l I NpR
     22-01023-hcm Doc#1-4 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 519
  Charlotte. Daniel. Olivia. Josephine. Ana. Dylan.  of 692Madeleine. Catherine. Chase. Jesse.
  James. Grace. Emilie. Jack. Noah. Caroline. Jessica. Benjamin. Avietle. Allison.


  God has called them all home. For those of us who remain, let us find the strength to
  carry on, and make our country worthy of their memory.

  May God bless and keep those we've lost in His heavenly place. May He grace those we
  still have with His holy comfort. And may He bless and watch over this community,
   and the United States of America. (Applause.)




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7t5t2018                                                 Transcipt: Presidont Obama At Sandy Hook Prayer Vigil I NPR
           22-01023-hcm Doc#1-4 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 520
                                                of 692




 Sandy Hook Killer's Father Wishes His Son Hadn't Been Born




  ln Newtown, Making Promises To Transform A Tragedy

  Popular on NPR.org
 https://!,vww.npr.org/2012l121161167412995llranscript-president-obama€t-sandy-hook-prayer-vigil                       7t12
7t5t2018                                           ObamaTranscr¡pt: President         At Sandy Hook Prayer V¡gil : NPR
           22-01023-hcm Doc#1-4 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 521
                                                of 692




 Read 'The Cabin At The End Of The World'And You Won't Sleep For A Week




 Activists Arrested At Statue Of Liberty After Protesting Trump's lmmigration
  Policies


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7t5t201a                                                Transcriptr Pres¡dent Obama At Sandy Hook Prayer Vig¡l : NPR
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 NAT IO    N   AL
 181-Year-Old Lockkeeper's Ti                                House Ready For lts Next Chapter




 Trapped Thai Boys Appear ln Good Spirits ln New Video From Cave

 NPR Editors'Picks
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7t5t2018                                           Transcript: Pres¡dent Obama At Sandy Hook Prayer Vigil : NPR
           22-01023-hcm Doc#1-4 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 523
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 SCIEN CE

 When Spiders Go Airborne, lt's Electric                               -   Literally




  EDUCATION
  For Teens, Dystopian Fiction Seems Pretty Real * And That's Why They Like lt



 https://wwwnpr.org/20121121161161412995^ranscript-presiden!obama-at-sandy-hook-prayer-vìgil                      10t12
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        K REVIEWS
  'How To Be Famous' Says: Don't Hide Your Love Away
    shootings ¡n newtown, conn.

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7t5t2018                         Transcript: Pres¡dont Obama At Sandy Hook Prayer Vigil : NPR
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James Comey castigates NRA in new
interview: Organization'sells fear' in wake of
mass murders
Jul z, zor8 rz:28 pm




Former FBI Director James Comey takes aim at the National Rifle Association in a new interview, saying
the organization capitalizes on mass murders. (Getty Images)



Sarah Tayior Staff         Wiiter
(http : //www.theblaze. com/author/sarahtaylor/)

Political View
       Christian Libertarian
Values
       Faith, Family
Hero
       John the Baptist

Mi"le GoãIttfo.trt
Former FBI Director James Comey condemned the National Rifle Association in an interview
(hapsJlinc¡¡sæg¡khercllgng-reads/james-comey-interview-donald-trum ) published last week,
saying that the organization capitalizes on mass murders.

\¡Vhat are the details of his remarks?
nIlps;//www,tneotaze.com/news/zu I ð/u / /uz4ames-comey-casfrgatos-nra-rn-new-rnlorvlew-organlzallon-sells_fear-ln-waKe-of-mass-muroers
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        intt rview with the UnitedFiled 04/18/22
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                                                     (https://inews.co.ukfnews/long-reads/james-comey-
                                                   of 692
interview-donald-trump-fbi/), Comey called the NRA "one of the worst things that goes on in the US"
and said that even though he owns guns he believes in gun control.

"I'm comfortable around guns, I own guns," Comey told the outlet. "surely there are things we can agree
upon that relate to who is able to buy a weapon, what kind ofweapon and at what age, what the
capabilities of the weapon are, how many rounds does it hold, and things like that, that in no way
threaten the rights under the U.S. Constitution of people to keep and bear arms."

Comey went on to attack the NRA and condemned the group's "current voice" that "sells fear."

"One of the worst things that goes on in the US is the current voice of the National Rifle Association,
because it sells fear in the wake of any incident," Comey explained, invoking the tragedy¡lSagdy_HSgk
Elementarv School in Cpnnecticut (h!!ps: //www.ttrebtazp.co                 3/orl23lthis-is-theblazes-
point-by-point-sandy-hook-co                                                    ).

"The single largest gun sale month in the history of the U.S. was the month after the [zo] children were
butchered in Sandy Hook, Connecticut, on December t4, 2cl2," Comey recalled. "I remember the date
because it was my birthday and I was living in Connecticut."

Comey told the publication that the reason he believed gun sales spiked to "incredible rates" after the
mass murder of elementary school students was because the "NRA turned around in the wake of that and
said, 'They're coming for your guns."'

"They sold fear to the American people," the former FBI director added.

What is Comey's perspective?
Comey offered his own perspective on gun control in the U.S.

"[The NRA's] constant argument is: 'It's a slippery slope. If we restrict a particular kind of weapon or
raise the age of purchase, it means the end of gun ownership in the U.S.' And that argument is a lie," he
said.

"There's no slippery slope in America when it comes to guns," Çomey added. "It's a concrete staircase,
which is our Constitution ... We just have to decide should we go up a stair or down a stair."




httpsr//www.theblaze.comlnewsl2olSl0Tl021ames-comey-castigales-nra-in-new-interview-organ¡zat¡on-sells-fear-¡n-wake-of-mass-murders
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                                      Megyn Kelly Dropped From 04/18/22
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     Sandy Hool< Nonproflt Drops Vlegyn
     Kellv As Gala Host Because of Her Alex
     .lones Interview
     By    Cabriella Paiella


           rtar




                        Alex lones, lvegyn Kelly, Pholo: AP;   Celly lmaåes


                    Onsundaynight, Irf,qrr,K.lir.s         ,wNtl( \lìrìu is plânning to air an interview she conducted wi th lrom inent
                    conspiracy thðo.ist anä Infowars foundcr rl¡ r ,r, r¡^-:.. Tlnidccision has alrcady caused immcnsc blowback: many
                                                                 .


                    (inclùdinã ,]ornrrì hirìrseil) have called on Kelly to rot run the i¡¡terview, .1.P. Motg¡¡1 Chasc pûlled their NBC
                    News advirtisilg, and Kelly has been dropped as the host for all anti-8un-violer¡ce grouP's event,


                    Kelly was slated to host the Sandy Hook Promise Fouudation's annual Promise Champioûs Gala orì- Wedne_sday
                    nigút. In a statc,ureut released on Monday evening, tlÌe r¡onprofit s co-founder, Nicole Hockley, expìained that,-
                    "Sändy Hook Promise caÌuìol support th¿ decision by Megin or NBC to give any form of voice or platform to Alex
                    Jones."

                                                                                                                                          1115
  https:/A¡vww.thecut.com/2017/06/megyn-kelly-alex-joneslropped-hosGsandy-hook-gala.html
7   t5t2018                                          Megyn Kelly Dropped From Sandy Hook Event Over Alex Jones
              22-01023-hcm Doc#1-4 Filed 04/18/22                  Entered 04/18/22 14:16:53 Exhibit B contd. Pg 529
                    Jones has been instrumental in promoting the coNpirâcy
                                                                      of 692 theory thât 2012's Sandy Hook Elemertary School
                    shooting - in which 20 children were killed - was a hoax, He's both inspired and given â platform to fellow
                    truthe¡s, some of whom have gone oû to harass the families who lost their children, rs dclâi¡ed ììì this 2()I6 Nûr'
                       l orL- ${.lg¡zinc stùr'y.


                       On Tuesday moming, CNN s ll ian Slehel poste(l iì statoùeùa f¡oln l(el lt' regardir¡g the gala ¡ews, in which she
                       says thât she is "disappointed" that she wo['t be at the eve¡t. Still, she goes on to defend her interview with the
                       explanation that, "Our goal in sitting down with him was to shine a light âs joumalists are supposed to do
                                                                                                 -                                   -
                       on this i¡fluential figu¡e, and yes
                                                         -   to discuss the considerable falsehoods he has promoted with ûear impunity."


       Sources: THE wASHrNcroN Posr




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    https://www.thecut.com/2017l06/megyn-kelly-alex-jones-dropped-host-sandy-hook-gala.html                                                  2t15
7t5t2018                              Mogyn Kelly Oropped From Sandy Hook Evont Over Alex Jones
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 PROTESTS        I 14 MINS      ACO




                                                                                                   She
  was arrested on the Fourth of July after a three-hour standoffwith police.
  ßy Lisa    Rya n




 https://www.thecut.comi 2017/06/megyn-kelly-alex-jones-dropped-host-sandy-hook-gala.html                3t15
7t5t2018                              l\¡egyn Kelly Dropped From Sandy Hook Event Over Alex Jonss
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10r33 A.M




  MY   TllO CENTS I 9:56.4.M
                                                                                    It's easy to get hooked on free stuff
  By   Çhârlotte Cowles
 https://www.thecut.com/2017l06/megyn-kelly-alex-jones-dropped-host-sandy-hook{ala.html                                     4t15
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715t201A                        N4egyn Kolly Dropped From Sandy Hook Event Over Alex Jones
     22-01023-hcm Doc#1-4 Filed 04/18/22      Entered 04/18/22 14:16:53 Exhibit B contd. Pg 533
                                                 of 692
                                                              Lots of grill pictures, one campaign trail,
and one proposal
By Sarah Spellings




  scoTUs I 9:07        A. M.

                                                                           Since others have ensured
  that all the candidates are sufficiently conservative, Trump is said to be weighing which finalists
  have the right image.
 https://www.thecut.com/2017l06/megyn-kelly-alex-jones-dropped-host-sandy-hook-gala.html                    6¡5
7t5t2018                                            Megyn Kelly Dropped From Sandy Hook Êvent Over Alex Jones
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By N,l a rga ret Hartmann                     of 692




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 rT's coMPLTcATED            |   8;18 A.M.
                                                          "Ryan," who I had met online and grown close
 with, didn't exist. But still, I couldn't cut the relationship out of my life.
 By E rìn Browne




 https://wwwthecut.comi2017106/mogyn-kelly-alex-jones-dropped-host-sandy-hook{ala.html                          7115
7t.5t2018                              Megyn Keìly Dropped From Sandy Hook Event Over Alex Jones
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                                                       of 692
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  dog.
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By   Cari Romm                                      of 692




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 YESTËRDAY AT 3: O4 P.M




 YESTERDAY       Af 2t24     P.M


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 YËSTERD^Y AT'1 1:34 A.M




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71.5t2018                              Megyn Kelly Dropped From Sandy Hook Event Over Alex Jones
            22-01023-hcm Doc#1-4 Filed 04/18/22     Entered 04/18/22 14:16:53 Exhibit B contd. Pg 537
                                                       of 692




 MICRO SALES            I   YISTERDAY AT 11:12 A.M
                                                                                             Featuring lots and lots   of
 things that are 7O percent              off
  By The Ed     ¡lors




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                                ^
 httpsi//ww\,v.thecut.com/2017l06/megyn-kelly-€lex-jones-dropped-host-sandy-hook-gala.html                              10/15
7151201A                              Megyn Kelly Dropped
           22-01023-hcm Doc#1-4 Filed 04/18/22     EnteredFrom Sandy Hook Event Over Alex Jones
                                                              04/18/22 14:16:53 Exhibit B contd. Pg 538
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  ASK POLLY              I   YTSTERDAY AT 6:OO A,M
                                                                                        You have to accept that
  other people have different priorities, values, and rules from yours.
 httpsJ vww.thecut.com/2017l06/megyn-kelly-alex-jonesdropped-hoslsandy-hook-gala.html                             11t15
715t2018                              Megyn Kelly Dropped From Sandy Hook Event Over Alex Jones
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By       Healher Havrilesky                           of 692




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  By L. isa   Rya n




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  edition of i Love This Songi
   By   Allisofl   P,   D¡vis




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7t5t2018                     J.P. l\4organ Removes NBC News Ads Over N¡egyn Kelly lnterview W¡th Alex Jones - WSJ
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J.P. Morgan Remoras NBC News,{ds Over                                                                                                       S99!r?e!!x
Megyn K"lly Interview Wittr AlexJones
 Sofat àdvertisers-with one nota             b   le   exception-have remained quietas Sandy Hookfamiliescriticize
the NBC host for her sit-down with the lnfowars founder




   Megyn Kelly, shown i¡ 2016. Ms. Kelly hdsdefeñdedthêlnre.viewwith      alêxJonês. PHoTo:cHRr5 PrzzELLo/aSsocraTED
   PRESS


 By Suzqnne Vrqnica
 )úe12,2017       7155   p.m.Eî


                                       interview with right-wing provocatew Alex Jones has
 NBC ânchor Megyn Kelly's plan to ai¡ an
 caused a ñrestormto erupt on sociâlmedia, but so far advertísers have remained quiet-with at
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 J.P Morgan chase             ll'J{jgel3]!       & co. has asked for its local TV ads and digital ads                  tobe
 removed ftom Ms. Kelly's showandflom all NBc news programming until after the show airs,
 according to a person familiar with the matter. The company doesn't want any of its ads to
 appear adjacent to anypromotions for the interview, theperson added,

 NBC declined to comment,

 On Monday,  Kdstin Lelllkau, J.P. Morgan's chief marketing oficer, questioned why Ms, (elly
 would conduct the iûterview, 'As aû adve¡tiser, I'm repulsed that @megynlelly would give a
 second ofairtime to someone who says sandy Hook and Au¡ora are hoaxes," she tweeted.

                                     Jones-the ¡adio host, founder of tle Infowa6 website and
         Ms. Kelly's interview with Mr.
     well-known conspiracy theorist who has previously calledthe 2012 massacre at sandy
 HookElementary school a hoax-is scheduled to aiI Sur¡day onher NBC News magâzine show,
 "Sunday Night with Megvn Kelly." Ms. Kelly left FoxNews earlierthis year forNBC, where heÌ
 new showwill be ai¡ing onìy its third episode this coming sunday.

 The interview drew harsh criticism ftom the families ofvictims ofthe Sardy Hook massacre on
 socialmediâ, with people usinghashtags like #shameonNBc to express thei¡ outrage. The
 schooÌ shootingfow and a halfyears ago left 20 children and six stafers dead.



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                                            Filed Removes
                                                    04/18/22 NBC Entered
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                                                                                                         Exhibit       - WSJ
                                                                                                                    B contd. Pg 544
On his ¡âdio program Mondat Mr. Jones said that he thinks sa[dyHook of 692 o¡ at least
                                                                    happened,
'inat chiid¡en died, though there a¡e anomalies about the event. However, he saidthatwas
edited from the NBC promotiol. "l'm tired ofbeilg misrepresented," Mr. Jones said, Mr. Jones
demandedMs, Kelly's "hitpiece" not ai¡ onlather's Day.

NBC News declined to comment          onMr. Jones'remarks.

The sit-downhas been promoted as      discussion about "controversies and conspi¡acies." In a
                                               a
video promoting the interview, Mr. Jones talks about the 9/ll attacks as an "insidejob." Inthe
cìip, Ms. Kelly also brings up SandyHook, saying: "when you sayparents faked theù children's
deaths, peopleget very angry." Mr. Jones replies: "But theydon't get angry about half-a-million
dead lraqis from the sânctions."

    Ms. Kelly defended the interview sunday night oû T\^/itter, saying that viewers need to
    understandwho Mr. Jones is because President Donald Trump has appeared on his show
andpraisedMr. Jones. Plus, she notes that Infowars has received a \ ¡hite House press
credential. "Many don't know him; oul job is 2 shine a light," she tweeted.

 other NBc advertisers have stayedmum onthe planned episode, at least publicly.

 Sleeping Giants, the anonl¡mous Twitter account known for shaming marketers into pulling
 their ads from sites like Breitbart News, criticizedt¡e NBC interview as a "naked grab for
 ratings." Wlile the âccount said âdvertisers will know to avoid tlle show it said it wasn't
 launching an active câmpaign togo after the program's sponsors.

   Joe   Flínt contributed to thís artícle.

 Write to Suzanne Vranica at suzanne.vranica@wsj.com



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       HOMË > TV > TV NEWS                                                                            JUNE 1Q 2O17 3:48PM ET



       Whaü NBC'S Alex Jones Intelvieur                                                 Sap About Megyn
       Kelly
       Her one-on-one with conspiracy theorist was uncompromising - and a reminder that she helped
       foster the culture that made him a good subject

       By CARI A otlOCnno           I+l




       Megyn Kelly's interview with Alex Jones was uncompromising - why it's also a reminder that she helped
       foster the culture that made him a star.

       'l'he thing about marriages of convenience is that the people in them are frequentþ
       inconvenienced. That's what happens when you put money over compatibility and shared values,


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    Megyn Kelly's interview last night with unhinged conspiracy peddler Alex Jones threatened to
    be one of those times, especially coming on heels c¡f her softball sit-down with Vladimir Putín.
    The backlash, as such things always seem tn be now, was fierce and preemptive. Kelly was accused
    of "normalizing" Jones, the man responsible for such timeless postulates as g/11 was an inside job,
    $andy Hook was a hoax and Democrats ran â child sex ring out of a D.C. pizza joint.
    Advertisers dropped c¡ut. A Connecticut affiliate refused to air the show. The Sandy Hook Promise
    gala fundraiser coordinators disinvited Keþ as their host.



                                                                  AOVERTISEIVENÏ




     NBC took the point. As the network reportedly scrambled to re-edit the interview, Jones released
     ä tãpe of his pre-show conversâtion w¡th Kelly, in which she expressed her desire to make their
    sit-down "fun" and show "the left" another side ofhis execrable personality. She also promised not
    to make him into "some kind of bogeyman." By the time it aired, the interview had been
    transformcd into a sober warning on the dangers of lctting liars have platforms. Kelly introduced
    Jones as "a radical conspiracy theorist" and a liar. She acknowledged the backlash upfront, saying,
    "Some thought we shouldn't broadcast this interview because his baseless alÌegations aren't just
    offensive, they're dangerous." She then justified the broadcast by pointing out that "Alex Jones isn't
     going away" and his audience is only getting bigger, emboldened by the open support of the
     president, who has consistently praised Jones and appears to rely on him for information -
     echoing things the radio host says in his own speeches, granting InfoWars a temporary White
     iìouse press pass and receniìy inciuding a Ìink io one oíthe siie's ariicies in an emaiÌ to staff.




      You could grudg¡ngly respect both Kelly and her report - in some ways,
       she was the onlyperaon for the iob, g¡ven that Trump's liberal use of
                                Jones'ag¡tprop made him a su¡table sub¡ect.

     Framed this way          - as a report on the dangerous liar who has the ear ofthe president - the segment
     felt relevant, even slyly subversive. After all, to shed light on Alex Jones's operation, which she
     summed up as "garbage in, garbage out" is to shed light on Tmmp's inner world. And given how
     low the expectations and how loud the alarm, the whole thing came off as rather anticlimactically
     level-headed and justified. The segment was capped by a Tom Brokaw essay on the breakdown of
     civil cliscourse on the Internet, and what are we to do. Perhaps the most interesting thing about the

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    eating it, too, and covering your ass after having had your filì.


    As she pinned an agitatecl, equivocating ,Iones to his lies and their consequences, it was hard not to
    think about hel own tactics at her former employer, where she regularly impugned Black Lives
    Matter and infamously declared that Santa Claus and Jesus were white. Or about the fragile
    alliance between conservative women and the right. Kelly's reputation as a journalist was salvaged
    by her firrmer boss Roger Ailes' mistreatment, followed by Þonald Trump's similarly gendered
    disrespect. (Remember the Presidential debate she moderated?) As ever, Kelly saw an
    opportunity and took it. She clearly had a talent for not letting her own beliefs stancl in the way of
    her career. Kelly grew up apolitical in a Democratic householcl, and went out for ajob at Fox
    because they tended to prefer journalists without journalistic experience. A lackluster student
    turned corporate attorney, she was motivated mostly by money and a belief in her own specialness.



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     IIer transition from Fox News attack clog to authoritative network blonde was further smoothed
     with an empowerment memoir, Settle for More, which seems to have been conceived as a
     rebranding campaign ahead ofher reinvention as a realjournalist. As Caitlin Flanagan points out
     in her Aflantic review, the book fails to mention that Fox was a platform for a very specific kind of
     idea, and that, as one of its biggest stars, she helped shape a discourse and iegitimize a mindset
     Lhat eventually elected Dor"rald Trump. But, as Flanagan writes, "writing a book about a career at
     Fox without mentioning its conservative agenda is like writing a book about a career at the Vatican
     without mentioning its Catholic agenda." It's fundamentally dishonest, in other words, even if
     technicaily truthful.




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    certain people fnr the schatlenfreude-y viewing pleasure of others. At NBC, she seerns to be doing
    the same thing, only for the other teâm. 'lhere was nothing really objectionable about the Jones
    interview as it turnecl out. Kelly was uncompromising. She pressed him on questions and called out
    evasiveness. She produced - or her producers produced - either an effective takedown or a
    disquisition on the obvious ... you can't quite tell. In any case, it worked. You could find yourself
    grudgingly respecting both Kelly and her report - and argue that, in some ways, she was the only
    person for the job, given that Trump's liberal use of Jones's agitprop made him a suitable subject.


    On the one hand, with her Fox News bacþround, Kelly seems like the only person to credibìy take
    on an "alternate" media figure who trades in denying reality. On the other, she was active in
    helping create the cuìture thât resulted in a guy like him entering the mainstream. The fact that she
     appears credible as a journalist is in some ways an indictment of TV journalism itself. If you didn't
     know better, you might be forgiven for thinking that Kelly did a goodjob in the public interest. But
     you get the sense she's willing to compromise here. She's just in it to win it.



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     Carina Chctcano is the author o/You Play the Girl: On Playboy Bunnies, Steplord Wives, Train
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             Report of the State's Attorney for the
               Judicial District of Danbury on the
        Shootings at Sandy Hook Elementary School and
                      36 Yogananda Street,
                   Newtown, Connecticut on
                             December l4r2012



                OFFICE OF TIIE STATE'S ATTORÀIEY
                 JUDICIAL DISTRICT OF DANBURY
                   Stephen J. Sedensky     III,   State's Attorney

                                November 25,2013
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    of Information Act, prctect the identity of\¡¡itnesses, protect reco¡ds ofchild abuse or personal identiñcation
    informati on.



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                                    EXECUTIVE SUMMARY
    The purpose of this report is to identifu the person or persons criminally responsible for the
    twenty-seven homicides that occurred in Newtown, Connecticut, on the moming of December
    14,2012, to determine what crimes were committed, and to indicate if there will be any state
    prosecutions as a result of the incident.

    The State's Attomey for the Judicial District of Danbury is charged, pursuant to Article IV,
    Section 27 of the Constitution of the State of Connecticut and Connecticut General Statutes
    (C.G.S.) Sec. 51-276 et seq., with the investigation and prosecution of all øiminal offenses
    occurring within the Judicial District of Danbury. The Connecticut State Police have the
    responsibílity to prevent and detect violations of the law and this State's Attomey has worked
    with and relied upon the Connecticut State Police since the incident occurred.

    Since December 14,2012, the Connecticut State Police and the State's Attomey's Office have
    worked with the federal authorities sharing responsibilities for various aspects of this
    investigation. Numerous other municipal, state and federal agencies assisted in the investigation.
    The investigation materials reflect thousands of law enforcement and prosecutor hours. Apart
    from physical evidence, the materials consist of more than seven-hundred individual files that
    include reports, statements, interviews, videos, laboratory tests and results, photographs,
    diagrams, search wa¡rants and retums, as well as evaluations of those items.

    In the course of the investigation, both state and federal law enforcement personnel received a
    large number of contacts purporting to provide information on the shootings and the shooter.
    Although many times these "leads" would go nowhere, each one was evaluated and often
    required substantial law enforcement time to pursue. An abundance of caution was used during
    the investigation to ensure that all leads were looked into, despite the fact that more than 40 such
    "leads" proved, after investigation, to be unsubstantiated. Information that was substantiated and
    relevant was made part ofthe investigation.

    It is not tle  intent of this report to con.rej/ e','ery piece of infolmation ccntained in r"he
    voluminous investigation materials developed by the Connecticut State Police a¡d other law
    enforcement agencies, but to provide information relevant to the purposes of this report. While
    no report is statutorily required of the State's Attomey once an investigation is complete, it has
    been the practice of State's Attomeys to issue reports on criminal investigations where there is
    no arrest and prosecution if the State's Attomey determines that some type ofpublic statement is
    necessary. Given the gravity of the crimes committed on December 14,2012, a report is in order.

    On the morning of December 14,2012, the shooter, age 20, heavily armed, went to Sandy Hook
    Elementary School (SHES) in Newtown, where he shot his way into the locked school building
    with a Bushmaster Model XMI5-E2S rifle. He then shot and killed the principal and school
    psychologist as they were in the north hallway of the school responding to the noise of the
    shooter coming into the school. The shooter also shot aad injured two other staff members who
    were also in the hallway.
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    The shooter then went into the main office, apparently did not see the staff who were hiding
    there, and retumed to the hallwav.

    After leaving the main office, the shooter then went down the same hallway in which he had just
    killed two people and entered first grade classrooms I and i0, the order in which is unknown.
    While in those rooms he killed the two adults in each room, fifteen children in classroom 8 and
    five in classroom 10. All of the killings were done with the Bushmaster rifle.

    He then took his own life with a single shot from a Glock 20,    l0 mm pistol in classroom   10.

    Prior to going to the school, the shooter used a .22 caliber Savage Mark II rifle to shoot and kill
    his mother in her bed at the home where they lived at 36 Yogananda Street in Newtown.

    The response to these crimes began unfolding at 9:35t39 a.m. when the first 9l I call was
    received by the Newtown Police Department. With the receipt of that call, the dispatching and
    the arrival of the police, the law enforcement response to the shootings began. It was fewer than
    four minutes fiom the time the frrst 9l I call was received until the first police officer arrived at
    the school. It was fewer than five minutes from the first 911 call, and one minute after the arrival
    of the first officsr, that the shooter killed himself. It was fewer than six minutes from the time the
    first police offrcer arrived on SHES property to the time the first police officer entered the school
    building. ln fewer than I I minutes twenty first-grade pupils and six adults had lost their lives.

    The following weapons were recovered in the course of this investigation: (1) a Bushmaster
    Model XMl5-E2S semi-automatic rifle, found in the same classroom as the shooter's body. All
    ofthe 5.56 mm shell casings from the school that \¡/çre tested were found to have been fired from
    this rifle. (2) a Glock 20, l0 mm semi-automatic pistol found near the shooter's body and
    determined to have been the source ofthe self-inflicted gunshot wound by which he took his own
    life. (3) a Sig Sauer P226, 9 mm semi-automatic pistol found on the shooter's person. There is no
    evidence this weapon had been fired. (4) a Izhmash Saiga-l2, 12 gauge semi-automatic shotgun
    found in the shooter's car in the parking lot outside the school, and which was secured in the
    vehicle's trunk by police responding to the scene. There is no evidence this weapon had been
    fired. (5) a Savage Mark II rifle found at 36 Yogananda Street on the floor of the master
    bedroom near the bed where the body of the shooter's mother was found. This rifle also was
    found to have fired the four bullets recovered during the autopsy ofthe shooter's mother.

    All of the firearms were legally
                                   purchased by the shooter's mother. Additionally, ammunition of
    the types found had been purchased by the mother in the past, and there is no evidence that the
    ammunition was purchased by anyone else, including the shooter.

    At the date of this writing, there is no evidence to suggest that anyone other than the shooter was
    aware of or involved in the planning and execution of the crimes that were committed on
    December 14,2012, at Sandy Hook Elementary School and 36 Yogananda Street. From the time
    an unknown male was encountered by the Newtown police outside of the school during the
    initial response, until well after the staff and child¡en had been evacuated, the thought fhat thcre
    may have been more than one shooter was a condition all responding law enfo¡cement worked
    under as they cleared the school. Individuals located in the wooded areas surrounding the school



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   as the searches and evacuations were taking place were  initially treated as suspect and handled
   accordingly (including being handcuffed) until their identity could be determined. The
   circumstances sunounding all of these individuals were fully investigated and revealed no
   additional shooters. DNA testing of evidence recovered from both the school and 36 Yogananda
    Street also revealed no potential accessories or co-conspirators.

   It is the conclusion of this St¿te's Attomey that the shooter acted alone and was solely criminally
   responsible for his actions of that day. Moreover, none of the evidence developed to date
   demonstrates probable cause to believe that any other person conspired with the shooter to
   commit these crimes or aided and abetted him in doing so.

   Unless additional     -                                        *
                                                          evidence is developed, there will be no state
                             and at this time unanticipated
    criminal prosecution as result of these crimes. With the issuance of this report, the investigation
    is closed. Should additional reliable information related to the existence of accessories or ço-
    conspirators come to the attention ofthe investigators, the investigation will be reopened.2

    In the course of his rampage the shooter committed a number of crimes in violation of our
    Connecticut Penal Code. The most significant are those where lives were taken and people were
    physically injured. In Sandy Hook Elementary School, the crime of Murder under Special
    Circumstances, in violation of C.G.S. Sec. 53a-54b, was committed twenty-six times a¡d
    Attempted Murder under Special Circumstances in violation of C.G.S. Secs. 53a-49 and 53a-54b
    was committed twice as it relates to the two individuals who were shot by the shooter and
    survived. The crime of Murder in violation of C.G.S. Sec. 53a-54 was committed by the shooter
    in killing his mother.

    The obvious question that remains is: "Why did the shooter murder twenty-seven people,
    including twenty children?" Unfortunately, that question may never be answered conclusively,
    despite the collection of extensive background information on the shooter through a multitude of
    interviews and other sources. The evidence clearly shows that the shooter planned his actions,
    including the taking of his own life, but there is no clear indication why he did so, or why he
    targeted Sandy Hook Elementary School.

    It is known that the shooter had significant mental health issues that affected his ability to live a
    normal life and to interact with others, even those to whom he should have been close. As an
    adult he did not recognize or help himself deal with those issues. What contribution this made to
    the shootings, if any, is unknown as those mental health professionals who saw him did not see
    an)'thing that would have predicted his future behavior. He had a familiarity with and access to
    firearms and ammunition and an obsession with mass murders, in particular the April 1999
    shootings at Columbine High School in Colorado. Investigators however, have not discovered
    any evidence that the shooter voiced or gave any indication to ot}lers that he intended to corünit
    such a crime himself.



    2
      It should be noted that potentially impo ant evidence, i,e., a cqmputar hard drive recovered f¡om the shooter's
    home, as of this date remains unreadable, Additional insight could be gained should efforts to recover data from the
    ha¡d d¡ive ever prove successful, which at this time appears highly improbable. [t is because ofthis improbability,
    coupled with the current determination ofno accessories or co-conspirators that the case is being closed.



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   This State's Attomey expresses his sincere sympathy and condolences to the victims of the
   incident of December 14, 2012, and to their families. He also expresses his appreciation for their
   continued patience and understanding during the course of the investigation and preparation of
   this report. He acknowledges and thanks law enforcement, which responded to Sandy Hook
   Elementary School in minutes and entered the building believing someone could be there ready
   to take their lives as well. He also acknowledges and thanks the staff of the Sandy Hook
   Elementary School who acted heroically. The combination saved many children's lives.

   This report would not have been possible ifnot for the assistance and cooperation of numerous
   agencies at the state, local and federal levels of govemment. The State's Attomey expresses his
   sincere gratitude and appreciation to all of these agencies and to all ofthe men and women who
   contributed so much to this investigation. The assistance of federal authorities has been
   invaluable. Particularly worthy of special note are the men and women of the Connecticut State
   Police, and in particular, the Westem Dishict Major Crime Squad. The thorougbless and
   sensitivity with v/hich they conducted their investigation is unmatched in my experience.




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    INTRODUCTION

   On the moming of December 14, 2012, Adam Lanza, the shooter,3 age 20, went to Sandy Hook
   Elementary School (also SHES) in Newtown, Connecticut, where he shot his way into the
   building and killed twenty children and six adults and wounded two other adults, all with a
   Bushmaster Model XMl5-E2S rifle. The shooter then took his own life with a single shot from a
   Glock 20, 10 mm handgun. From the time the doors of the school were locked at 9:30 a.m. until
   the time it is believed the shooter killed himself at 9:40:03, fewer than 1l minutes had elapsed.

    Prior to going to the school, the shooter used a .22 caliber Savage Mark II rifle to shoot and kill
    his mother in her bed. This occurred at the home where they lived at 36 Yogananda street, also
    in Newtown.

    With these unprecedented horrific crimes came a responsibility for an investigation to determine
    what crimes were committed and, more importantly, if the shooter acted alone. Any person who
    aided and abetted the shooter or who conspired with hinr had to be held accountable.

    Beginning on December '14,2Q12, the Connecticut State Police and the State's Attomey's Office
    worked in cooperation with the federal authorities sharing responsibilities for various aspects of
    the case. The federal involvement has been invaluablç. Though some evidence is still being
    examined, there is no indication in the investigation by either statc or federal authorities to date
    that the shooter acted with anyone on December 14,2012, or had co-conspirators or accessories
    who could be prosecuted.

    In  addition to physical evidence,a the investigation materials contain over seven-hundred
    individual files that include reports, statements, interviews, videos, laboratory tests and results,
    photographs, diagrams, search warrants and search warrant returns as well as evaluations of
    those items. Investigators interviewed individuals who were present at SHES on December 14,
    2012, and witnessed the incident, among them students, staff members, parents of students and
    neighbors. Special attention and consideration was given to the interviewing of child wiûresses,
    given their traumatic experience. Also interviewed were police officers and other first responders
    who were nresenl at SHES dlrrinq fhe corrrqe ol the incident it<elf ân.t in the r'nrrrce nf the
    subsequent search, evacuation of the school and processing ofthe scenes.

    Investigators attempted to obtain as much information about the shooter's life as possible in an
    effort to determine the reasons or motives for his actions on December 14, 2012.Interviews were
    conducted with members of the shooter's family, those who knew the shooter or his family
    throughout his life, as well as teachers and school personnel who had been involved with him
    and his family over his time in Newtown.

    Efforts were made within the limits of privacy laws to gather information on medical
    consult¿tions and/or treatments the shooter was involved with over the course of his years in
    NeMown. In doing so, investigators found no evidence to suggest the shooter had taken any

    3
        Throughout the remainder ofthis report Adam Lanza will be reforred to as "the shooter,"

    a
        Over 270 evidence designations were used, many grouping related items as one number.



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    medication that would affect his behavior or by any means to explain his actions on December
    14,2012.

    An investigation of this magnitude requires careful planning and review. The interviews took
    substantial time, first to identifu which individuals should be interviewed and then to conduct the
    actual interviews. Physical evidence had to be examined and forensically reviewed. This
    included ballistics, fingerprint and DNA analysis. Additionally, all of the information collected
    had to be reviewed and summarized in written statements that have since become a part of the
    investigation, reflecting thousands of dedicated law enforcement and prosecutor hours.

    I had been working closely with the Connecticut St¿te Police, who conducted the state
    investigation, and federal law enforcement officers since December 2012. Once the
    investigation was delivered for my review, I took the time to read, digest, evaluate and
    summarize the material, mindful of the privacy interests involved and the approaching December
    14,2012, anniversary.

    The federal authorities have stated that under federal law many of their reports and materials
    cannot become part of the public record due to rules regarding the dissemination of information
    obtained pursuant to grand jury subpoenas, sealed search warrants, and federal Freedom of
    Information law. Therefore, information obtained by federal authorities will not, for the most
    part, be incorporated into the Connecticut State Police criminal investigation file.

    While the reports and materials will not be part ofthe state investigation record, such materials
    have been examined and considered by state law enforcement authorities. Based upon a review
    of all of the documentation, both state and federal, we a¡e left confident at this time that the
    evidence developed to date does not reveal co-conspirators or accessories. Accordingly, as a
    result of the investigation to date, there will be no state criminal prosecution of anyone.

    PURPOSE AND SCOPE OF REPORT

    The State's Attorney's Office for the Judicial District ofDanbury is charged, pursuant to Article
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                                                                                             \r,v,J../
    Sec. 5l-2766 et seq., with the investigation and prosecution of all criminal offenses occuring
    within the Judicial District of Danbury. The Connecticut Ståte Police have the responsibility to
    prevent and detect violations of the law and this State's Attomey has worked with and relied
    upon the Connecticut State Police since the incident occurred. The investigation has been

    5
     Comecticut Constitution Article 4, Sec. 27. The¡e shall be established within the executive department a division
    of criminal i\sliÇe whìch shall be ín charge of the investígetíon and prcsecut¡on of all criminal mqîters, Said
    division shall include the chief state's attorney, who shall be its administrative head, and tho statç's attomeys for eaah
    judicial district, which dishicts shatl be established by law. The prosecutorial power ofthe state shall be vested in    a
    ahiefstate's attomey aûd the statc's attomey for eachjudiciat district,

    6 Sec. 5l-276. Division
                            ostablished. There is hereby established the Division of Criminal Justiae within the
    Exçcutive Depafment, which shall be in charge of the investigation and prosecution of all criminal matt€rs in the
    Superior Court. The Division of Criminal Justice shall be an agency within the Executive Departmert with all
    management rights €xcept appointment     ofall   state's attomeys.




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    tirelessly conducted by the Connecticut State Police (also CSP) with the assistance of multiple
    local, state and federal agencies, both in and out of Connecticut.

    While no report is statutorily required of the State's Attorney onco the investigation is complete,
    it has been the practice ofstate's attomeys to issue reports on criminal investigations where there
    is no arrest and prosecution if the state's attorney determines that some type of public statement
    is necessary.T Given the gravity of the crimes committed on December 14,20i2, a report is in
    order.

    The purpose of this report is to identi$r the person or persons criminally responsible for the
    twenty-seven homicides that occurred in Newtown, Connecticut,8 on the morning of December
    14,2012, to determine what crimes were committed, and to indicate if there will be any state
    prosecutions as a result ofthe incident.

    Many witnesses to this case have expressed great concem that their identities will be disclosed
    publicly and make them susceptible to threats or intimidation as a result of their cooperation or
    connection with the investigation.e This cooperation has been essential and greatly appreciated.
    As a result of the witnesses' concerns, this repoÍ will not identify lay witnesses, except where
    necessary.

    Consistent with Public Act 13-311,t0 exceptions to the state Freedom of Information Actrl and
    C.G.S. Sec. l7a-101k(a) 12 this report wii not list the names of the twenty children killed in

    TSee
          for example: Statement of David l. Coheu, Stete's Attomey for the Judicial District of Stamford,t¡orwalk, in
    reference to the February 16, 2009, attaçk on Cha¡la Nash by the Chimpanzee Named Travis, Issued December 7,
    2009; Statement ofthe State's Attomey for the Judicial District of Stamford-Norwalk Conceming the Fatal Fire on
    Decembe¡ 25,201l, at 2267 Shippan Avenue, Stamford, Issued June 8,2012; and R€po¡t ofthe State's Attomey for
    the Judicial District of Ansonia-Milford on the Murder of Shangyl Rasim on January 17, 2010, Issued May 24,
    2010.

    8
        Newtown, Connecticut is within the Judicial District of Danbury.
    q
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                                                 ^^^"r
    r0
      An Act Limiting thc Disclosure of Certain Rccords of Law Enforcement Agencies and Establishing a Task Force
    Conceming Victim Pdvacy Under the Freedom of lnformation Act,

    Ìr
         See C.G.S. Sec. 1-210.

    12
      Sec. l7a-101k. Registry of ñndings of abuse or neglect of chil&en maintained by Commissioner of Child¡en and
    Families. Notica of finding ofabuse or neglect ofahild. Appeal offinding. Hearing procedure. Appeal after hearing,
    Confidentiality. Regulations. (a) The Commissioner of Childrcn and Families shall mainøin a rcgisty of the
    commissioner's findings of abuse or ¡loglect of children pusuant to section l7a-l0lg that conforms to the
    requirements ofthis seclion. The regulations adopted pursuant to subsection (i) ofthis section shall provide for the
    use of the registry on a twenty-four-hour daily basis to prevent or discover abuse of children and the establishment
    of a hearing process for any appeal by a person of thc çommissioner's determination that such person is responsible
    fo¡ the abuse or neglect of a child pursuant to subsection (b) of section l7a-101g. The information contained in the
    registry and any other infomation relalive to child abuse, wherever located, shall be confidential, subject to such
    statutes and regulations goveming their use and access as shall conform to the requirements of fede¡al law or
    regulations. Any violation ofthis section or the regulations adopted by the commissioner unde¡ this section shall be
    punishable by a fine ofnot more than one thousa¡d dollaß or imprisonment for not more tha¡ one year.



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    Sandy Hook Elementary School, nor will it recìte 9l I calls made fiom within the school on that
    moming or describe information provided by witnesses who were in the classrooms or heard
    what was occurring in the classrooms.

    It is not the intent of this report to convey every piece of information contained in the
    voluminous investigation materials developed by the Connecticut State Police and other law
    enforcement agencies, but to provide information relevant to the purposes of this report.




    To conclude that a// such information, including the basic facts of the incident itself is confidential would prohibit
    even the disclosure ofthe children being killed. Such an interpretation would be unworkable and is uot take¡ here. I1
    is concluded though that the C.G.S. Sec. l7a-101k(a) is applicable in the present case and will be applied in the
    manne¡ described.




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    SANDY HOOK ELEMENTARY SCHOOL - INCIDENT AND RESPONSE

   Incident

    On the moming of December 14,2012, the shooter parked his 2010 Honda Civic next to a "No
    Parking" zone outside of Sandy Hook Elementary School in Ner town, Connecticut.ls Shortly
    after 9:30 a.m. he approached the front entrarice to the school.la He was armed with a
    Bushmaster Model XMl5-E2S rifle (also Bushmaster rifle), a Glock 20, 10 mm pistol and a Sig
    Sauer P226, 9 mm pistol and a large supply of ammunition.

    The doors to the school were locked, as they customarily were at this time, the school day having
    already begun. The shooter proceeded to shoot his way into the school building through the plate
    glass window to the right ofthe front lobby doors.

    The main office staff reported hearing noises and glass breaking at approximately 9:35 a.m. and
    saw the shooter, a white male with a hat and sunglasses, come into the school building with a
    rifìe type gun. The shooter walked normally, did not say anything and appeared to be breathing
    normally. He was seen shooting the rifle down the hallway,

    Just down the hallway from the main office, in the direction that the shooter was to be seen
    firing, a 9:30 a.m. Planning and Placement Team (PPT) meeting was being held in room 9, a
    conference room. It was attended by Principal Dawn Hochsprung and School Psychologist Mary
    Sherlach, together with a parent a¡d other school staff. Shortly after the meeting started, the
    attendees heard loud banging. The principal and school psychologist then left the room followed
    shortly after by a staff member. After leaving the room, Mrs. Hochsprung yelled "Stay put!"

    As the staff member left the room, the staff member heard gunshots and saw Mrs. Hochsprung
    and Mrs. Sherlach fall down in front of the staff member. The staff member felt a gunshot hit the
    staff member's leg. Once down, the staff member was struck again by additional gunfire, but laid
    still in the hallway. Not seeing anyone in the hallway, the staff member crawled back into room
    O ^-.t L-l,I +L- ¡^^- -L.,+ ^ ^^ll +^ all I ..,^^ ^^A^ ^^A:-ur rL^
                                                                   u'u ^-^,.:--
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                                                                                 +L^ rv¡vP"u¡¡! ¡¡¡
    ¡oom 9 was also used to turn on the school wide intercom system. This appears to have been
    done inadvertently, but provided notice to other portions ofthe building.15




    l3
      On D"""-b", 13,2012, the student enrollment rvas 489, Official attendance had not yet been recorded as of9:30
    a.m. on December 14,2012. The staff for thc school is 91, but on Decembe¡ 14,2012, there were nine staff
    members absçnt. The staffing was at 82 for the day.

    ra
       A more complete description of the school building an<l the front entrance starts on page Al   lg of   the Appendix.
    For the purposes ofthis report, thc front ofSHES faces north.

    15
       Intercom system could be accessed from nine phones located in seven rooms. Those telephones and rooms were
    three phones in the main office, the principal's office, th€ nurse's office (room 57), room 9 conference room, room
    29, rcom 32 and room 60. The "All Call" which opens the intercom to the entire school was accessed by pressing
    "#0" fiom the telephones mentioned, The All Call-except quiet rooms was accessed by pressing "#1."


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    At the same time the shooter was firing in the hallway, another staff member was at the far east
    end of the hallway near classroom l. The staff member was sfuck by a bullet in the foot and
    retreated into a classroom.

    Both Dawn Hochsprung, age 47, and Mary Sherlach, age 56, died as a result ofbeing shot. Both
    wounded staff members shot in the hallway were later evacuated to the hospital and survived.

    After shooting and killing the two adults and wounding the two others, the shooter entered the
    main office. The office staff had taken shelter in the office. They heard sounds of the office door
    opening, footsteps walking inside the office and then back toward the office door. Staff members
    heard the door open a second time and then heard more gunfire ffom outside the office. They
    called 91      1.


    where the shooter specifica.lly went nçxt is unclear. The evidence and witness statements
    establish the shooter went down the hallway in an easterly direction ultimately entering first
    grade classrooms 8 and 10. The order is not definitively known. while in classrooms 8 and 10,
    the shooter shot and killed four adults and twenty children with the Bushmaster rifle. Twelve
    children survived, one f¡om classroom 8 and eleven from classroom 10.

    The shooter finally killed himself in classroom 10 with one gunshot to his head from a Glock 20,
    l0 mm pistol. This is believed to have occurred at 9:40:03.r6

    Classroom 8's substitute teacher was Lauren Rousseau, age 30, who was assisted by Rachel
    D'Avino,  age 29, a behavioral therapist. Fifteen children were found by police. Fourteen who
    were deceased and one who was transported to Danbury Hospiøl and later pronounced dead.
    The two adults were found deceased close to the children, In all, seventeen people were killed in
    classroom 8. A sixteenth child survived and exited classroom 8 after the police a¡rived.

    Classroom 10's teacher was Victoria Soto, age 27. Working with her was Anne Marie Murphy,
    age 52, a behavioral therapist. Five children were found, with Mrs. Murphy partially covering
    one child. Four of the five children were deceased. One of the five children was transported to
    the hospital and pronounced dead. Miss Soto was fou-nd decea,sed in the room nea¡ the nortå wal!
    with a set of keys nearby. Nine children had run out of the room and survived. A police officer
    found two uninjured children in the class restroom.

    In all, eighteen children and six adult school staff members were found deceased within         the
    school. Two more children were pronounced dead at Danbury Hospital. Two other adult school
    staff members were injured and were treated at nearby hospitals and survived.

    The two classrooms on either side of 8 and 10 were numbered 6 and 12. Classroom 6 was on the
    eastem side ofclassroom 8 and classroom 12 was on the western side ofclassroom 10. Staff and
    students hid in the class restrooms, locking the restroom doors from the inside.




    ¡ó
         Sce the   time line in the Appendix starting at page 484,


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    Throughout the rest of the school, staff ancl students hid themselves wherever they happened to
    be at the time they became aware of gunfire. The staff used various ways to keep the children
    calm, from reading to having them color or draw pictures. Those hiding in rooms closest to the
    shooter kept silent. Some people were able to escape out ofthe building prior to the police arrival
    and went to Sandy Hook center, nearby residences, or received rides from parents going to the
    school or from passersby.

    One staff member heard a loud crashing noise and ran toward the front lobby. As the staff
    member got closer, bullet holes could be seen and gun powder smelled. Realizing what was
    going on, the staff member immediately called 9l l, hrmed and went back down the hall from
    where the staff member had come. During the incident, while staying on the line with the 911
    operator, this staff member sent other staff to theit rooms or had them stay in their rooms and
    this st¿flf member went about locking doors. The staff member remained in the hallway on the
    telephone with the 91 1 operator until the police arrived.

    Response

    Upon the receipt ofthe first 911 call, law enforcement was immediately dispatched to the school.
    It was fewer than four minutes from the time the first 9l I call was received until the first police
    officer arrived at SHES. It was fewer than five minutes from the time the first 911 call was
    received until the shooter killed himself. It was fewer tha¡ six minutes from the time the first
    police officer arrived on SHES property to the time the first police officer entered the school
    building.

    Below is an abbreviated time line from the first 9l         I   call received to the time the police entered
    the school building.rT

             9:35:39      -   First 911 call to Newtown Police Deparhnent is received.

             9:36:06 - Newto\ryn Police Department dispatcher broadcasts that there is a shooting at
                        Sandy Hook Elementary School.

             9:37:38      -   Connecticut State Police are dispatched to SHES for active shooter.

             9:38:50      -   CSP a¡e informed that SHES is in lockdown.

             9:39:00      -   First Newtown police officer arrives behind SHES on Crestwood Rd.

             9:39:   l3   -   Two more Newtown officers arrive at SHES and park on the driveway near the
                               ball field. Gunshots are heard in the background.




    't See page 484 of the Appendix for full time line put together by the Connecticut State Police Westem District
    Major Crime Squad. This time line was compiled from 911 calls, witness statements, police car cameras, police
    radio and police dispatch transmissions.




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              9:39:34    -   Newtown officer encounters unknown male running along the east side of
                             SHES with something in his hand.

              9:40:03    -   Last gunshot is heard. This is believed to be the final suicide shot from the
                             shooter in classroom 10.

              9:41:0'7   -   Information is relayed as to the location of the last known gunshots heard
                             within SHES, the front of the building.

              9'.41:24   -   Newto'"vn officer has unknown male prone on ground, starting information
                             relay regarding possibly more than one shooter.

             9:42:39   -     Newtown officer calls out the license plate ofthe shooter's car

              9:44:47    -   Newtown officers enter SHES.

              9:46:23    -    CSP arrive at SHES.

              9:46:48    -    CSP enter SHES

    As the gravity ofthe situation became known, local, state and federal agencies responded to the
    scene to assist.

    From the time the unknown male was encountered by the Newtown police outside of SHES until
    after the staff and children were evacuated, all responding law enforcement operated under the
    beliefthat there may have been more than one shooter and acted accotdingly.18

    For example, K-9 units were brought in to search the area and officers were posted to act as
    lookouts to ensure the safety ofthose evacuating the school building. Some people were located
    in the areas surrounding the school as the searches and evacuations were taking place. Some of
    those individuals were treated initially as suspects and handled accordingly, including being
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    Some ofthese detentions included:

               L    The initial unknown male who tumed out to be a parent with a cell telephone in his
                    hand;
              2.    Two repoÍers located in the woods a¡ound SHES, who were held at gun point by
                    Department of Energy and Environmental Protection (DEEP) police officers until
                    their identities could be determined; and
               3.   A man from New York who was working in a nearby tow¡ and went to SHES after
                    an application on his cell telephone alerted him to the situation at the school. He
                    drove to the fi¡ehouse and went up to the school on foot. He was taken from the scene

    l8
         In fact, the possibility that the¡e was more than one shooter remained a considerution beyond December 14, 2012,
    It was only after potential leads were investigated tbat investigators became confident that the shooter was not aided
    in any way by others and that no one k¡e\À' ofthe shooter's plan prior to December 14,2012.


                                                              t2
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                     of the school in handcuffs and later to Newtown Police Department. It was later
                     determined that he did not have a coûtection to the shooting and had gone to SHES to
                     see what was going on.


    As noted above, on December 14,2012, there was a concem that there may have been more than
    one shooter. This was based upon a number offactors:

                1.   The initial police encounter with the unknown male outside SHES;re
               2.    Reports by school personnel during the shooting on a 9ll call of seeing someone
                     running outside the school while the shooting was ongoing;
               3.    The location of two black zip up sweat jackets on the ground outside ofthe shooter's
                     caf;
               4.    The discovery of an Izhmash Saìga-I2, 12 gatge shotgun and ammunition in the
                     passenger compartment of the shooter's car. A police ofñcer moved this shotgun and
                     ammunition to the car's trunk for safety purposes;
               5.    Shell casings that were located outside ofthe school; and
               6.    The apparent sound of gunfire coming from outside of the school;

    The subsequent investigation revealed there were no additional shooters based upon:

               1. Searches ofthe area and examinations oflocal business security surveillance videos;
               2. Persons detained revealed they were not connected to the shootings. In the case of the
                     initial unknown male, he       \ryas   identified as the parent of a student and had a cell
                     telephone, rather than a weapon, in his hand;
                3.Witness interviews which indicated that no witness saw anyone other than the
                  shooter, with a firearm;
               4. Witness interviews in which it was determined that a number of SHES staff had
                  escaped from the school through a window and had been running outside the school
                  building during the shootings;
               5. The shotgun located in the shooter's car had been purchased by the shooter's mother
                  previously;
               ¿ -rL^ ¡..,^ ^..,^^+ :^^1.^¡^ ..,^-^ L^.L \--oprrl r ur¿uru urauN ¿rp up ¡tuurlsu swçat j¿rLifçrs
                            ¡wrør J4vÀ!.s
                  wilh no size listed and were located immediately outside the shooter's car;20 Both are
                  believed to have been brought there by the shooter;2]
               7. The live shotgun shells (other than the one found on the shooter and the ones found in
                  the shooter's car) that were located inside and outside of the school were in locations
                  where first responders had been. Additionally, there were first responders who


    rn
       The man was later determined to be tha parent ofone      ofthe school's children   and thc itom in his hand was a cell
    telephone.

    20
          See the Appendix   at page A174.

      A parent who anived at SHES as th€ shooting was taking place saw t¡e shooter's car parked in tont ofthe school
    '?ì
    with the passenger side door open and the hvo sweat jackets on the ground near the car. To the parent, the jackets
    looked like two black blankets on the ground.




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                   reported missing live shotgun rounds. Moreover, the shçlls were found in locations
                   where there had not been reported sightings ofany nonJaw enforcement individuals;
               8. 'l'here were no expended shotgun shells found in t¡e actual crime scene nor were any
                   expended 12 gauge shotgun pellets or slugs recovered;
               9. The only expended casings located outside of the school building were 5.56 mm
                   casings located just outside the school's front entrance, consistent with the shooter's
                   entry into the school; and
               10. The officer who heard what he believed to be outside gunfire was in a position to
                   have heard the shooter's gunfire coming from window openings in the classroom in
                   which the shootet was firing.

    Stopping the actìve shooter was the first priority. Once that occurred, the location and treatment
    of the victims, the search for additional shooters, and the safe evacuation of the school were of
    primary importance.22 The collection of evidence and the proservation and documentation ofthe
    crime scene, while important, came second.

    Two command centers were set up, one at the firehouse on Riverside Road and the other at
    Newtown's Emergency Operations Center, located on the Newtown Fairfield Hills Campus. In
    the week immediately after the shootings, services to victims' families and victims, as well as
    support to the investigators in the school werc handled out of the firehouse. All other aspects of
    the investigation not related to the school itself were run out ofthe Emergency Operations
    Center.

    Investigation responsibilities were handled as follows:23

    Connecticut State Police (CSP)

               CSP-Western District Major Crime (WDMC) squad was the lead CSP unit for the
               entire investigation and acted as the coordinating law enforcement agency for other
               agencies and units of the CSP.'" The van unit processed the interior ofSHES.

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               SHES, including the shooter's car, and established the temporary morguezs with the

    22
         Onç ofthe difliculties encountered was the inability of state police radios to operate within SHES.

    23
        This repof does not include a listing ofall ofthe law-enforcement and non-law enforcement sarviae providers and
    their actions. In the days and weeks that followed the tragedy, local, state and federal agencies provided help to the
    Town ofNewtown and its families through counseling, ñmeral protection, traffic control, haudling bomb threats as
    \¡r'ell as many other services. Additionally, the CSP sct up an invaluable law enforcement liaison program with the
    families ofthe dcceased victims in which a state or local police officer was specifically assigned to the family ofa
    deceased victi[r to provide communication and protoction in the days and weeks that followed Decembcr 14ü.


    'o WDMC Squad and Van, as the lead CSP unit, ovar the course ofthe week that followçd was there for seven days
    processing the interior scene, the shooter and victims' pçßonal effects, including assisting with the packing and
    ¡enoval of fumiture Íìom the imnrediate scctre.

    25
         The Dapartment ofPublic Health providçd and set up the portable tent used for the temporary morgue,




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             OCME to identifu and document the decedents prior to their being moved to the OCME
             in Farmington.'o CDMC also attended the autopsies at the OCME and did a secondary
             search of36 Yogananda Street, as well as photographing doors and locks in SHES.

             Eastern District Major Crime (EDMC) squad processed the scene at 36 Yogananda
             Street and were the investigators for the shooting ofNancy Lanza, the shooter's mother.

             CSP-Emergency Services Unit @SU), Tactical Teams, were assigned to both SHES
             and 36 Yogananda Street to handle the clearing ofthe scenes and rendering them safe.z7

             CSP    - Troop A, Southbury ¿nd CSP from other troops and units, in addition to being
             first responders, worked to secure the scene and \¡r'orked with WDMC and the OCME.

             Computer Crimes and Electronic Evidence Unit handled the seizure and examination
             of additional electronic evidence from 36 Yogananda Street together with EDMC,
             CDMC and WDMC.

             CSP - Collision, Analysis and Reconstruction Squad (CARS) was assigned to produce
             the sketch maps for both the interior and exterior ofthe school.

             CSP - On December 14,2012, virtually every âspect of the CSP was engaged in the
             response to SHES and 36 Yogananda Street. For example, included in the first responders
             were troopers and detectives, not only from Troop A in Southbury, but other troops and
             units as well, including the Statewide Narcotics Task Force.

    Department of Energy and Environmental Protection (DEEP) provided first responders at
    SHES.

    Forensic Science Laboratory, Division of Scientific Services, Department of Emergency
    services and Public Protection (DESPP) examined items seized and collected from SHES and
    36 Yogananda Street.

    Ofïice of the Chief Medical Examiner (OCME) was responsible for investigating the cause
    and manner of the deaths involved in this case and worked with the CSP in setting up the
    temporary morgue at SHES that was used to identify and document the deceased prior to their
    being moved to Farmington.

    Bureau ofAlcohol, Tobacco, Firearms and Explosives (ATF) in addition to responding to
    both scenes, worked on the firearms aspect ofthe investigation.


    'u WDMC and CDMC           personnel were also assigned and paired        with the FBI to conduct interviews and
    neighborhood calvasses as well as assist with the identification of victims, iûvestigate a report of
                                                                                                   anoth shooter at
    a hospital, as well as prepare search warrarts aIld attend autopsies.

    tt There were numerous law
                               enforcement     agencies that worked on the clearing of SHES and the protection of those
    who were doing the clearing.




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   Federal Bureau of Investigation (FBI) * in addition to responding to the scenes, handled
   interviewing of witnesses and investigation both at a local level and on a national level. The
   Tactical Team assisted with the clearing ol'the school. The Behavioral Analysis Unit (BAU), as
   part ofthe search warrant execution for 36 Yogananda Street, was provided with materials for
   review. They provided their expertise in the preparation of witness interviews. The Victim
   Assistance Unit worked with victims' families, victims and wiûresses.

    United States Attorney's Office was stationed at the Emergency Operations Center overseeing
    the investigation into the possible commission of federal crimes and the issuance of federal legal
    process, as well as coordinating the various federal agencies involved in assisting with the state
    investigation.

    United States Marsh¿ls Service, Technicâl Operations Group provided technical and
    investigation assistance.

    United States Postal Service looked fo¡ mail that may have been relevant to the investigation.

    Municipal Police Departments from around the state assisted throughout the Town of
    Newtown, including being first responders at SHES, handling calls in town and the tremendous
    inflow of media and visitors to the Town in the weeks after December 14,2012.

    Newtown Police Department in addition to being first responders, worked to secure the scene
    and assisted WDMC.

    Office ofthe State's Attorney, Judicial District ofDanbury (SAO) * oversaw the ståte
    investigation, working with the Connecticut State Police. Together with the assistance of the
    Office ofthe ChiefState's Attorney, the SAO was stationed at the Emergency Operations Center
    starting December 14,2012, and oversaw the legal issues and state aspect ofthe investigation
    including search warrant review, child witness issues, working with the federal authorities, etc.


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    On the aftemoon of December 14,2012, the WDMC and CDMC van units began documenting
    the crime scene and collecting evidence. The units could not begin this process until the scene
    was declared safe. The scene processing took seven days.

    The scene was thoroughly processed, with the WDMC van unit handling the interior of SHES
    and the CDMC van unit covering the exterior. This processing included extensive written
    documentation as well as taking videos and thousands of photographs and measurements. In
    addition to the recovery ofevidence, bullet trajectories were analyzed and documented.

    My description of the scene processing starts with the ÍÌont entrance and moves into the school
    building itself. This does not necessarily reflect the actual order in which the crime scene was
    processed. Many descriptions come directly from the investigation reports but are not in
    quotation marks to ease reading.



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   The conditions of windows and doors were documented, but some may have been disturbed by
   police and emergency personnel during the emergency response and protective sweep of the
   building. Similarly, other items of evidence, such as shell casings, may not have been found in
   their original positions because, as mentioned previously, the first priority was to locate aûd
   neutralize any active shooter, followed by the location and treatment of the victims, the search
   for additional shooters and the safe evacuation ofthe school. Only then could evidence collection
   begin.

    Interior

    Sandy Hook Elementary School was28 a one story brick public school building of approximately
    66,000 square feet, built in 1954. The building was on Dickinson Drive offof Riverside Road in
    the Sandy Hook section of Newtown. The fiont of the building sat in a magretic northeast
    direction, but will be considered north for the purposes of this report. See the diagram at page 19.

    SHES was rectangular in shape with fow hallways in the main building and portable classrooms
    attached to the rear (south) side which were accessed fíom the south side of the main building.
    Classrooms on the exterior walls had even numbers and interior classrooms had odd numbers.

              Main entrance

    The main entrance to the school was located next to the large glass window that the shooter shot
    out to enter the school. A patio area was just before the entrance doors. The entranca to the lobby
    consisted of two sets of locked full glass doors that opened outwardly using a pull handle. They
    were separated by a small vestibule. The doors were secured with an electronic locking
    mechanism. The doors could be opened from the inside with a horizontal push bar across the
    middle of the door.

    The broken area of the window that the shooter shot out measured approximately 35.33 inches
    wide and 42.5 inches high.2e

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    The call box was installed in 2005. The video camera did not record, but the video could be
    viewed live on three monitoring systems on the secretaries' desks in the main offtce, with no
    recording capabilities. The electronic unlocking of the front doors was done by using a "key
    button" on any of the three monitoring systems.

    Glass shards were located just before and to the side of the outside entrance doors on the patio
    and plantings in the area and also on the floor in the lobby.3O Eight expended brass colored 5.56




    28
         SHES was demolished in october and November 2013.

    2e
         See the Appendix   stafing at page 4168.
    30
         See the Appendix at page   4169 and A171.


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    mm bullet casings stamped with "S&B 60 5.56x45"3r were located in the a.rea outside the broken
    window and ffont entrance doors. These were seized.

    The front entrance led into the school's lobby. The lobby measured approximately 28 feet north
    to south and 36 feet east to west. The southeast corner of the lobby allowed open access to the
    north hallway of the school. Sixteen brass colored expended 5.56 mm bullet casings were located
    on the floor within the lobby area and were seized. Furniture in the lobby area had holes
    consistent with having been struck by a bullet. There were eleven damaged areas consistent with
    bullet strikes in the lobby.

          -    North Hallway

    The hallway on the north side of the building, where the shootings occurred, ran east to west and
    contained the lobby and main office, inside of which was the nurse's office. The hallway also
    contained rooms numbered l-10, 114-5 and 12. The bulk of the scene processing occurred in
    this area. See the diagram on page 19.

    The ceiling as in the lobby was 8 feet high. And the width of the hall was 8.5 feet. The even
    numbered rooms were on the north side of the hallway with classroom l2 being the western most
    classroom and classroom 2 being the eastern most. The odd numbered rooms we¡e on the south
    side of the hallway with the main office being the westem most room and classroom I being the
    eastem most. East of the main office was a closet labeled "l1A-5 storage" and the east of the
    closet was a conference room identified as Room 9.

    The doors in the hallway all locked from the outside with a key. The interior door handles had no
    locking mechanism. All of the doors opened outwardly toward the hallway. AII doors were solid
    wood with a circular window in the upper half of the door.rz

    All classrooms in the north hallway had a restroom a¡d a closet. The restrooms were uniformly
    designed, approximately 4 feet 7 inches by 3 feet 6 inches with a solid wood door. The door of
    each restroom opened inward and away fiom the toilet. Each restroom door had a knob push
    button lock on the inside handle and a key lock on the outsidc ha¡dle.33 The eonferenee room did
    not have a restroom.

    Classrooms in the north hallway 12 and 10, 8 and 6, 6 and 4, and 3 and 5 respectively had an
    interior door that was shared by the two classrooms.



    3ì
        The ammunition used by lbe shooter in the Bushmaster rifle has been described as .223 caliber, 5.5ó mm NATO
    and 5.56 X 45. AII ofthese descriptions are for similar bullets (carhidges) that can be fired from the Bushmastçr
    rifle. The ammunition that the shooter used in this case for the Bushmaster bore the stamp "S&B 60 5.56 X 45" on
    the basç ofthe cartridges and will be refened to as a 5.5ó mm ¡ound. The distinction between a.223 cal. and a 5.56
    mm is not releva¡t to this rcport.
    32
         See the Appendix at page   4178 for an example ofclassroom door locks.
    33
         See the   Appendix at pøEe Al77 for an example ofresÍoom door locks.
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                                         "' was found in the north hallway and was later identified
                                   "'"" casing
                                r shell
                                                                                                                     as


                                    Glock zõ'-t   O   mm pistot found near the shooter'
                              'he

                          Àoom (Room 9)
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                                                                                              of the
                       .r 9 was on the south side of the
                                                         -no¡tlr                    had a telephone
                     proximately 16 feetïast       àoo' for classroom 12 The room
                                                      ãrãt
                   .e center of the west wall'


             ¿ssroom 12
                                                                         was the first classroom east
                            on  the north side of the north ha'llway and
       :om 12  was  located
                                                       23 feet east of the lobby
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     r front lobby. The  clatstoom   ãåä' ïãt  i""ut"¿
                                                                     that was there from a prevrous
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   rr was covered o,, ttte t'attwayiiã;
 ,ckdown drill.

    -      Classroom 10
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                                        south side of the east '¡¿]]
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  ;;"';;;.y                route for this classroom'
                    evacuation

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                   Appendix starting at page Al30
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         See the


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    someone outside ofthe building. There was no indication that any shots through the window area
    of classroom l0 came from outside of the school. All of the evidence indicates that shots went
    out ofthe window area ofclassroom 10 and into the parking area north ofthe school.

    Classroom l0 evidence is further described below.

           Classroom    I
    Classroom 8 was located on the north side of the north hallway and was the third classroom east
    ofthe front lobby, with its entrance door approximately 27 feet east of classroom 10. As with the
    others, its classroom door opened out into the hallway and could only be locked ffom the
    hallway side with a key. The window was not covered. The classroom door to the hallway was
    unlocked with no signs of forced entry.

    The room dimensions and construction were similar to those of classrooms l0 and 12. There was
    also a restroom in this classroom. The closet door in classroom 8 had no locking device. There
    were also large glass windows across the north wall providing a view into the front (north)
    parking lot of the school. There was a wall telephone in the room on the south side of the east
    wall, north of the closet. An "Emergency Response Plan" packet was hanging on the south wall
    adjacent to the east side of the entrance door. This packet was above a map depicting the
    emelgency evacuation route for the classroom.

    The door that connected into classroom 6 was on the north side ofthe east wall, had key locks on
    both sides ofthe door. The door was unlocked.

    Ballistic evidence located in classroom 8 is described in the Appendix at page 4134, which
    includes a total of twenty-four rounds of 5.56 mm ammunition found, of which ten rounds were
    in one PMAG 30 magazine, thifeen rounds were in another such magazine and one live round
    was on the floor, There was a third empty PMAG 30 magazine seized. There were a total of
    eighty expended 5.56 mm casings seized from classroom 8.

           ñt----^^--       <   ^-¡ ,

    Located on the floor of classroom 6 was one live round "Federal Tactical" 12 gauge shotgun slug
    shell (Exhibit 49). This shotgun shell was made of clearJike plastic and was different in color
    from the shotgun shell that was seized on the shooter's person. On the floor of classroom 4 was a
    blue colored 12 gauge slug shotgun shell with the word "Federal Premium Tactical Rifled slug"
    ståmped on the side and "12 GA Made in USA stamped on the head of the shell (Exhibit 99).
    This shotgun shell was made of a blue colored plastic and also was different in color fiom the
    shotgun gun shell that was seized from the shooter's person.

    As mentioned previously, the loose shotgun shells not found on the shooter were in locations
    where first responders had been and had reported missing shotgun shells. Additionally, there
    were no witness reports of any persons being seen with firearms other than first responders in
    those locations, there were no expended shotgun shell casings or projectiles recovered at the
    scene and the live shotgun shell on the shooter's person and those recovered from his car did not



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   match any of those recovered from the three locations. No shotgun was recovered from the
   school. It is believed that these live shells were dropped by first responders.

            Shooter

    Responding police officers fourd the shooter in classroom 10 northwest of the hallway entrance
    dead fíom a self-inflicted gunshot wound to the head. He was wearing a pale green pocket vest
    over a black polo style short sleeve shirt over a black t-shirt. He had yellow colored earplugs in
    each ear. He was wearing black cargo pocket pants, black socks, black sneakers, a black canvas
    belt and black frngerless gloves on each hand. He had an empty camouflage drop holster that was
    affixed to his right thigh.

    After all of the victims were removed íÌom the school, the shoÕter's body was removed once all
    firearms and ballistic evidence were recovered from his person. The body was moved to the
    OCME on f)ecember 15,2012.

            \üeapons on Shooter and Ammunition in Cl¿ssroom 10

    The weapons on the shooter together with a description of items seized related to the shooting
    are contained in the Appendix starting at page 4136. On the shooter's person was a loaded semi-
    automatic Sig Sauer P226, 9 mm pistol and additional ammunition. Located near the shooter was
    a partially loaded Glock 20, 10 urm semi-automatic pistol that appeared to be jammed.


    A Bushmaster Model XM15-E2S rifle was located some distance away from the shooter. The
    rifle's shoulder strap was attached in the front but disconnected at the butt of the rifle. The
    disconnected rear portion was the result ofa failed nut attachment. It is unknown if the nut failed
    while the rífle was being used or as the result ofbeing dropped or thrown to the floor,

    The Bushmaster rifle was found with the safety in the "fire" position. There was one live 5.56
    mm round in the chamber a¡d one PMAG 30 magazine in the magazine well. The magazine
    contained fouteen live 5.56 mm rounds of ammunition. The rifle did not appear to have
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                                                                                       ^cD
    weapon as appearing to have jammed. When tested later, the rifle functioned properly.

    Two empty PMAG 30 magazines that were duct-taped together in a tactical configuration and
    one live 5.56 mm round were found near the rifle.

    Officers found two-hundred-fìfty-three live rounds on the shooter's body: one-hundred-sixteen 9
    mm rounds, seventy-five rounds of 10 mm, sixty-one rounds of 5.56 mm and one 12 gauge
    shotgun shell. Officers also seized forty-six 5.56 mm live rounds. This consisted of fifteen from
    the rifle, one from the floor and thirty from the magazine under the body of the shooter, as well
    as thirteen 10 mm live rounds (nine from the Glock and four from the floor). There were forty-
    nine expended 5.56 mm casings seized and one 10 mm casing from classroom 10. Total live
    rounds seized were three-hundred-twelve and total expended casings seized from classroom 10
    were fifty.




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    Exterior

    CDMC processed the exterior of SHES.

          -   Shooter's Car

    The shooter's car was found parked in Íìont of the school, west of the front entrance, next to a
    "No Parking" zone. It was a black 2010 Honda Civic with Connecticut registration 872YEO.
    The car was registered to his mother, Nancy Lanza, but had been purchased for him.

    Recovered      fiom the car was an Izhmash Saiga-l2, 12 gauge shotgun with two magazines
    containing     a total of twenty rounds of ammunition.35 The shotgun and ammunition were
    originally seen in the passenger aompartment of the car and were moved by police to the car's
    trunk for safekeeping during the initial response and evacuation.

          -   Parking Lot

    There were a number of cars parked in the north parking lot of SHES. Three of these cars were
    struck by gunfire. None of the cars struck belonged to law enforcement. A total of five strikes to
    those three cars were identified as having come from classroom 10. It could not be determined
    whether these shots were intended to go outside ofthe classroom.

    Also found in the north parking lot, was a shotgun shell that was dropped by a frrst responder.


    SANDY HOOK ELEMENTARY SCHOOL -AUTOPSY INFORMATION

    Deceased victirns were removed from the school building to a large military-style tent located in
    the no¡th parking lot, near the front of the school. The Office of the Chief Medical Examiner
    sought to make positive identification ofthe victims through photos, school records and personal
    and clothing descriptions.

    On Saturday, December 15,2012, all of the victims were transported to the OCME in
    Farmington for autopsies; autopsies were performed the same day. The cause of death for all of
    the victims was determined to have been gunshot wounds; t}re manner of death was determined
    to have been homicide.36

    Evidence collected during the autopsies was tumed over to CDMC and forwarded to the Divrsion
    of Scientific Services for examination. The Evidence Examination section ofthis report contains
    a summary of the results.



    15
      A search wa.rra¡t was obtainçd for the car. The search warrant retum originally reported the amount         of
    ammunition as seventy rounds. This was corected to twenty rounds and tbe search warrant return was amended.

    3ó
         Our law defines homicide as the killing ofone human being by another human being.




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    36 YOGANANDA STREET. NEWTOWN. CT                                - INCIDENT AND RESPONSE
    Incident

    Sometime on the moming of December 14,2012, before 9:30 a.m., the shooter shot and killed
    his mother, Nancy Lanza, in her bed at 36 Yogananda Street, Ne.,vtown. The weapon used was a
    .22 callbq Savage Mark II rifle. Someone in the area reported hearing "two or three" gunshots in
    the neighborhood between 8:00 a.m. and 9:00 a.m. That person thought them to be from hunters,
    though the person indicated the shots did "sound unusually close."

    Between 9:30 a.m. and 10:00 a.m. there was a delivery made to the house. The delivery driver
    saw no one, did not see any vehicles in the driveway and the garage door was closed. A delivery
    slip was left and the driver continued on.

    The mother was found by police dead in her bed when they entered the house. The rifle was
    found on the floor next to the bed.

    Response

    Once it was determined that the shooter's car was registered to his mother at 36 Yogananda
    Street, Newtown, Connecticut, the Newtown police went to the house and evacuated the
    surrounding homes. The CSP-ESU came to the scene to clear the residence of potential hazards,
    such as booby traps or trip wires.



    36    YOGANANDA STREET. NEWTOWN. CT* SCENE INVESTIGATION

    After the body of the shooter's mother was for¡nd and the scene declared safe, the process of
    obtaining search warrants for the house began, with the first warrant being reviewed and signed
    by a judge of the Superior Court at 5:29 p.m. on December 14, 2012, at the Emergency
    Operations Center.37

    Additional search warrants were approved and issued as the search disclosed additional
    evidence. The investigation of the shooter's mother's killing and the scene processing was done
    by EDMC and the search for evidence at 36 Yogananda Street related to the shootings at SHES
    was investigated by both CDMC and WDMC. A list of the items seized from the home is
    contained in the search warant retums in the Appendix, with some descriptions in the "Digital
    Image Repof ," sta.rting at page Al88 in the Appendix.3s




    " The Judicial Branch and the Honorable John F. Blawie are to be conurended for their response to the SHES
    shootings. Judge Blawie was available at the Emclgency Operations Center to review sçarch warlants.

    38
         A description ofthe home is also in the Appendix starting at page 4181.



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   The weapon used to kill Nancy Lanza, lhe .22 cal. Savage Mark II rifle, was found near her bed
   and seized. In the chamber of the rifle was a spent .22 cal. shell casing and three live rounds were
   in the magazine. Three other spent .22 cal. shell casings were found in the room and seized.

   The shooter's second floor bedroom windows were taped over with black trash bags. The second
   floor computer room also had its windows covered. There, investigators found a computer hard
   drive that appeared to have been intentionally damaged. To date, because of the extensive
   damage, forensic experts have not yet been able to recover any information from that hard dnve.

   In a typical criminal  case, the investigation would remain open when potentially important
   evidence was still being examined. Given the improbability of any information being ¡ecovered
   from the damaged hard drive, this outstanding piece of evidence is not preventing the closure of
   this case now. Should any relevant information related to the existence of any accessory or co-
   conspirator be obtained from the hard drive, the case will be reopened.

    Investigators found a large number of firearms and related items in the home. All firearms
    involved in these incidents were legally purchased by the shooter's mother over the years. The
    home also contained many edged weapons, knives, swords, spears, etc. A prescription bottle in
    the shooter's name for acetaminophen with codeine was found in the mother's bathroom, which
    was part of the master bedroom.

    During the search of36 Yogananda Street, a global positioning system (GPS) device was located
    in the shooter's room with various routes in the memory from April 25, 2012, through December
    13,2012. lnvestigation revealed that the GPS was purchased for the shooter.

    The routes taken indicate a number of trips from 36 Yogananda Street to the area of a local
    theater where a commercial version of the game "Dance Dance Revolution" is located. Over that
    time period, trips were made that took the driver in the vicinity of some schools in Newtown,
    including SHES. On December 13,2012, a trip was recorded from 2:09 p.m. to 2:32 p.m.
    starting and ending on Yogananda Street and driving in Sandy Hook, which is in the area of
    SHES, though the route does not indicate the shooter drove up to the school.

    Numerous video games were located in the basement computer/gaming area. The list of video
    games includes, but is not limited to:

           -"Left for Dead"                                      ;'Grand Theft Auto"
           -"Metal Gear Solid"                                   -"Shin Megami Tensei"
           -"Dead Rising"                                        -"Dynasty Warriors"
           -"Half Life"                                          -"Vice City''
           -"Battlefield"                                        -"Team Fortress"
           -"Call of Duty"                                       J'Doom"




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    Other items found and noted for this report are:

          -   A Christmas check from the mother to the shooter to purchase a CZ 83 firearm;3e
          -   A New York Times article from February 18, 2008, regarding the school shooting at
              Nothern Illinois University;
          -   Three photographs of what appear to be a dead human, covered in blood and wrapped in
              plastic;
          -   The book Amish Grace: How Forgiveness Transcended Tragedy, Jossey-Bass, 2007, by
              Donald B. Kraybill, Steven Nolt a¡d David Weaver-Zercher;4o and
          -   Photocopied newspaper articles from 1891 pertaining to the shooting ofschool children

    While the vast majority of persons interviewed had no explanation for the shooter's actions, a
    review of electronic evidence or digital media that appeared to belong to the shooter, revealed
    that the sìooter had a preoccupation with mass shootings, in particular the Columbine
    shootingso' and a strong interest in firearms. For example, there was a spreadsheet with mass
    mwders over the years listing information about each shooting.

    The review of the electronic evidence also found many things that are on a typical hard drive or
    memory card that would probably have no relevance to the investigation either because of
    creation date or subject matter. That being said, the following selected topics or items were
    found within the digital evidence seized:

              Bookmarks pertaining to firearms, military, politics, mass murder, video games, music,
              books, Army Ranger, computers and programs, ammunition, candy, economic books
              Web page design folders
              Two videos showing suicide by gunshot
              Commercial movies depicting mass shootings
              The computer game titled "School Shooting" where the player controls a character who
              enters a school and shoots at students
              Screen shots (172) of the online game "Combat Arms"
              "Dance Dance Revolution" (DDR) game screen shots
               v ruçus ur sl|UurEr prayr¡rB r-r¡-r^
              Images ofthe shooter holding a handgun to his head
              Images of the shooter holding a rifle to his head
              Five-second video (dramatization) depicting children being shot
              Images ofshooter with a rifle, shotgun and numerous magazines in his pockets
              Documents on weapons and magazine capacity

    re
       The retum for the December 16, 2012, search wa¡rant indioates that Exhibit #612 was a check for a "C183." A
    closer inspection ofthe check makes it clea¡ that "CZ83" is writter ACZ 83 is a type ofpistol.
    The check reads "Chdstmas Day' in the check's date section,

    a0
         In October 2006 a gunman ente¡ed a one-room A¡¡rish school in Permsylvania, killcd fivc children and leaving
    others wounded.

    ar
      The Columbine High School shootings occwred in April 1999 at Columbine High School in Colorado. Two
    shoote$, in a planned attack, killed a numbçr of studcnts and a teaÇhü and inju¡ed others.




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              A document written showing the prerequisites for a mass murder spreadsheet
              A spreadsheet listing mass murders by name and information about the incident
              Materials regarding-the topic of pedophilia and advocating for rights for pedophiles (not
              chitd pornography)42
              Large amount of materials relating to Columbine shootings and docume¡ts on mass
              murders
              Large amount of materials on firearms
              Comedy videos
              Music
              Images of hamsters
              Images of Lego creations


    36   YOGANANDA STREET. NE\üTOWN. CT - AUTOPSY INFORMÄTION

    The OCME performed an autopsy on the body of Na¡cy Lanza, age 52, on December 16, 2012,
    at the OCME. The cause ol death was determined to be multiple gunshots to the head. The
    manner of death was homicide.


    SHOOTER - AUTOPSY INFORMATION

    The autopsy of the shooter was conducted on December 16,2012, at the OCME. The shooter,
    age 20, was 72 inches tall and weighed 112 pounds. No drugs were found in the shooter's
    system. The cause of death was determined to be a gunshot wound to the head. The manner of
    death was suicide.



    INVESTIGATION TO DETERMINE ACCESSORIES AND/OR CO-CONSPIRATORS

    The investigation sought to determine if the shooter was aided by or had conspired with anyone
    to commit these crirnes. As detailed abo.,'e, none of the persons fo'¿nd in the','icinity of SI{ES on
    December 14,2012, played any role in the shootings. Most were attempting to escape The arca;
    othels were responding to the school after leaming of the shootings. None had any association
    with the shooter.

    Investigators then sought to determine if anyone had conspired with or aided the shooter before
    the shootings. To that end, investigatots examined social contacts, writings, e-mails, internet
    blogs, telephone records and his general intemet presence. One ofthe intemet blogs on which the
    shooter posted focused on mass shootings and in particular the Columbine shootings. The
    shooter also excha¡ged e-mails with others who were interested in the topic of mass shootings.
    None of these communications, however, related to SHES or in any way suggested that the
    shooter intended to commit a mass shooting. Thus, the evidence as developed to date, does not
    demonstrate that any of those with whom he communicated conspired with the shooter or
    criminally aided and abetted him in committing the mu¡ders on December 14,2012.
    a2
         No child pomography was seen on any oftho digital media.


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   EVENTS AND BACKGROUND INI'ORMATION LEADING UP TO DECEMBER 14.20T2

   Recent Background Information

   As of December 14, 2012, the shooter and his mother lived at 36 Yogananda Street. This had
   been the family home for years, although only the shooter and his mother had resided in the
   house for an extended time.

   Both the shooter's and his mother's bedrooms were on the second floor; the mother occupied the
   master bedroom.

    In November 2012, the mother sought to buy the shooter another computer or parts for a
    computer for the shooter to build one himself. She was concerned about him and said that he
    hadn't gone anywhere in three months and would only communicate with her by e-mail, though
    they were living in the same house. The mother never expressed fear of the shooter, for her own
    safety or that of anyone else.

    The mother said that she had plans to sell her home in Newtown and move to either Washington
    state or NoÍh Carolina. She reportedly had told the shooter of this plan and he apparently stated
    that he wanted to move to Washington. The intention was for the shooter to go to a special
    school in Washington or get a computer job in North Carolina. In order to effectuate the move,
    the mother planned to purchase a recreational vehicle (RV) to facilitate the showing and sale of
    the house and the eventual move to another state. The RV would provide the shooter with a place
    to sleep as he would not sleep in a hotel. In fact, during Hurricane Sandy in October 2012, wìth
    no power in the house, the shooter refused to leave the home and go to a hotel.

    The mother wanted to buy the shooter a CZ 83 pistol for Christmas and had prepared a check for
    that purchase to give the shooter.

    On December 10,2012, the mother indicated to a friend that the shooter had bumped his head
    badly, there was some bleeding, but he was okay. This appeated to have occurred at 5:30 a.m.
    She then prepared for her trip to Ì.iew Íiampshire and cooked for iire sirooier before si-re ieft,
    leaving him his favorites.

    During the week of December 10,2012, the shooter's mother was out of town in New
    Hampshire. She arrived home Thwsday evening Decembet 73, 2012, at approximately 10:00
    p.m.

    As mentioned above, the GPS found in the home, revçaled that on Thursday, December 13,
    2012, the device was used. It recorded a trip from and back to 36 Yogananda Street with a route
    in the Sandy Hook area of Newtown between 2:09 p.m. and 2:32 p.m. The GPS did not report
    that the driver drove up to SHES. Presumably this was the shooter driving the black Honda Civic
    as this would have been the only car available to the shooter and it was reportedly his, having
    been purchased for him.




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    General Background Information

    Investigators conducted many interviews with persons who knew the shooter and members ofhis
    family. As explained above, they did so principally to determine if anyone had conspired with
    the shooter or aided his crimes. But they also sought to ascertain what might have motivated him
    to murder children and their teachers and his mofher.

    The first question was whether the shooter had a reason specifically to tårget SHES or any
    student, teacher, or employee. No evidence suggests that he did. In fact, as best as can be
    determined, the shooter had no prior contact with anyone in the school that day. And, apart from
    having attended the school as a child, he appears to have had no continuing involvement with
    SHES.

    More generally, those who knew the shooter describe him in contradictory ways. He was
    undoubtedly afflicted with mental health problems; yet despite a fascination with mass shootings
    and firearms, he displayed no aggtessive or threatening tendencies. In some contexts he was
    viewed as having above-average intelligence; in others below-average. Some recalled that the
    shooter had been bullied; but others - including many teachers - saw nothing of the sort. With
    some people he could talk with them and be humorous; but many others saw the shooter as
    unemotional, distant, and remote.

    What follows are some observations that investigators developed in attempting to dete¡mine the
    shooter's motive.

    Pârents

    The shooter's mother and father Peter La¡za had been manied to each other. They moved fiom
    New Hampshire to the Sandy Hook section of Newtown in 1998. In addition to the shooter, they
    had another son Ryan Lanza, who was four years older than the shooter.a3 In 2001 the shooter's
    parents separated. The children continued to reside with the mother. The parents subsequently
    divorced. The father remarried in 201l; the mother never remarried.

    After college, the brother moved out of state. He reached out to the shooter a few times but the
    shooter did not respond. As ofDecember 14,2012, the older brother had not had contact with the
    shooter since 2010. The brother believed that the shooter and his mother had a close relationship.
    After his older brother left for college, the shooter reportedly became interested in fìrearms and
    at one point considered joining the military.

    Both the shooter's mother and father indicated that the shooter was bullied growing up. The
    father indicated that it was not excessive and concemed his social awkwardness and physical
    gait. As expanded upon in the Education and Mental Health section below, other witnesses did
    not recall the shooter being overtly bullied. Nonetheless, the shooter appears to have had few
    fliends growing up.



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         Both the shooter's fatier and b¡other cooperated fully with the investigation.



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    The shooter's father saw him regularly until he tumed 18. They would go hiking, play video
    games and other activities. They went shooting twice. The shooter had a cell phone but never
    used it. Calls all went to voice mail. I{is father would just e-mail him when he wanted to reach
    him.

    The shooter's relationship with his father deteriorated in the last quarter of 2010 and the father
    last saw the shooter in that year. After that the father would reach out to the shooter by mail or
    through e-mails regularly, asking him to join him at various places for different activities. The
    shooter stopped responding at some point prior to December 2012.

    One witness who knew the shooter in 2011 and 2012 said that he rarely mentioned his father or
    his brother; though he would mention briefly something he did with his father or brother in the
    past.

    While it appears that the shooter's mother did volunteer at SHES, it was when the shooter was           a
    student. There is no indication that she volunteered there in recent years.

    The mother took care of all of the shooter's needs. The mother indicated that she did not work
    because of her son's condition. She worried about what would happen to the shooter if anything
    happened to her.

    One witness indicated that the shooter did not have an emotional connection to his mother.
    Recently when his mother asked him if he would feel bad if an1'thing happened to her, he
    replied, "No." Others, however, have indicated that they thought the shooter was close to his
    mother and she was the only person to whom the shooter would talk.

    A person who knew the shooter in 2011 a\d 2012 said the shooter described his relationship with
    his mother as strained because the shooter said her behavior was not rational.

    The shooter was particular about the food that he ate and its arrangement on a plate in relation to
    other foods on the plate. Certain types of dishware could not be used for particular foods. The
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                   s¡r\rP     L:- ¡^--J
                          rur r¡r¡rr    ^^^r- ru Lrlç SllUU|Et s sPEctl¡uaLlu[s! utuuBU SutltgutI¡ç5 Itg wuulu
                                     ru ruun
    cook for himself. Reportedly the shooter did not drink alcohol, t¿ke drugs, prescription or
    otherwise, and hated the thought of doing any of those things.

    The mother did the shooter's laundry on a daily basis as the shooter often changed clothing
    during the day. She was not allowed in the shooter's room, however, eveû to clean, No one was
    allowed in his room.

    The shooter disliked birthdays, Christmas and holidays. He would not allow his mother to put up
    a Christmas tree. The mother explained it by saying that shooter had no emotions or feelings.
    The mother also got rid of a cat because the shooter did not \¡/ant it in the house.




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    People Outside the Family

   When the shooter had his hair cut, he did not like to be touched a¡d did not like the sound of
   clippers, so they were not used much. He would sit with his hands in his lap and always look
   down, giving one word answers if the cutter tried to engage him in conversation.

    Those who worked on the property at 36 Yogananda Street never entered the home. They spoke
    with the mother outside in the yard or at the bottom of driveway. They were instructed never to
    ring the doorbell and to make prior arrangements before using power equipment as her son had
    issues with loud noises. The shooter was observed at times coming and going from the residence.

    There were a number of people who knew the mother over the years, some fairly well, who had
    never met the shooter - although \ryere aware of his existence - and had never been inside her
    residence.

    Shooter's Interests

    Over the years his hobbies included building computers,4a writing poetry and hiking. The shooter
    worked briefly at a computer repaiÌ shop. When he was younger he played the saxophone. The
    shooter had a cell phone but never used it.

    Shooting was a pastime in which the family engaged. Over the years the shooter enjoyed t¿rget
    shooting and would go to a range with his brother and mother. The mother had grown up with
    firearms and had a pistol permit. The shooter did not. Both the mother and the shooter took
    National Rifle Association (NRA) safety courses. The mother thought it was good to learn
    responsibility for guns. Both would shoot pistols and rifles at a local range and the shooter was
    described as quiet and polite.

    He played video games often, both solo at home and online. They could be described as both
    violent and non-violent. One person described the shooter as spending the majority of his time
    playing non-violent video games all day, with his favorite at one point being "Super Mario


    Another said he used the computer to play games online and communicate. Sometimes the
    shooter would not respond to e-mails and be unavailable for a couple of weeks. The shooter
    explained that he was "moping around." The shooter frequently formatted the hard drive of his
    computer as a way of "staying off the grid' and minimizing his internet trace.

    Initially the shooter did not drive but he eventually got a driver's license and the Honda   was
    purchased for  him. The shooter was issued a driver's license in July 2010.

    The shooter liked to play a game called "Dance Dance Revolution" (DDR), which is a music
    video game in which the player stands on a platform, watches a video screen and moves his feet


    4 By alì   accounts tlìe shooter was extremely computer savvy




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    as directed by the video. A home version of this was seen and photographed in the shooter's
    home.o) Several videos of him playing DDR were found on digital media taken from the home.

    The GPS found in the home and reportedly belonging to the shooter indicated that he regularly
    went to the area of a theater that had a commercial version of the DDR game in the lobby. In
    201 1 and up until a month before December 14,2012, the shooter went to the theater and played
    the game. He went most every Friday through Sunday and played the game for four to ten hours.

    The shooter was specific about the clothes he wore. He typically wore the same clothing when at
    the theater: a grey hoodie and slacks. After a snowstorm in 2011 the shooter was not seen at the
    theater until about February 2012. At that time he seemed more anti-social and no longer played
    DDR with others.

    An acquaintance of the shooter from 2011 to June 2012 said that the shooter and the
    acquaintance played DDR quite a bit. They woutd play the game and occasionally see a movie.
    They did not play first person shooter games at the theater.a6 The shooter had stamina for DDR
    and never appeared winded unless really exhausted.

    The acquaintance said the shooter seemed to enjoy nature and mentioned the possibility ofgoing
    hiking more than once. The shooter was capable of laughing, smiling and making jokes, though
    always in a dry fashion. The shooter never mentioned being bullied while growing up. Topics of
    conversation included world a¡d current events, a¡d included chimpanzee society and how they
    interacted.

    In the course oftheir conversations, the shooter indicatçd that he had an interest in mass mwders
    and serial killing. They never spent a lot of time discussing them, but it would be a topic of
    conversation."' There were no conversations about \¡/eapons or shooting at a gun range.

    Shooter        - Education and Mental Health
    The following background information is compiled from a variety of sou¡ces and may at tmes
                               -rLi. i. - A,^^+i^-
    4yl,vo¡ !w t- i-^^-.i-+--+                     ^f +r.- ,lìff-.i-^ ^--.^-^rì.,-. ^f+k^"- i^+--,i--,aÁ
    The information also varied based upon the time period during which the witness knew or
    associated with the shooter or his family.

    The shooter went through the Newtown public school system, though part of seventh grade and
    part ofeighth grade were done at St. Rose of Lima School in Newtown.


    a5
         See the   Appendix at page 4197.
    aó
      Online first penon shooter games that the shooter did play as determined by a search of the digital mcdia in the
    home, "Combat Arms" and "World of Warc¡aft' were played on t¡e oomputer using a keyboard to co[trol the
    player.

    a?
       The shooter also wrote about all of these topics. Other topics of discussion included human natwe, perception,
    judgment, morality, lack of control, prejudice, empathy, suicide, mental illness, existential crisis, urban exploration
     olabandoned areas. hiking and cookies.


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    While the shooter did attend SHES from 1998 to 2003, the first through fifth grade, he was never
    assigned to the classrooms where the shootings occurred. The shooter went for walks \Ã/ith his
    family around and near SHES after he had gotten out ofthe school. The shooter indicated that he
    loved the school and liked to go there.

    According to some, the shooter was more social when he first moved to Connecticut and was
    youngel. He would attend play groups and parties. The early school years have him portrayed as
    a nice kid, though sort of withdrawn. He loved music and played saxophone.

    As he got older his condition seemed to worsen, he became more of a loner. As the shooter got
    into the higher grades of rniddle school, he did not like noise and confusion and began to have
    issues when he had to walk to different classes. As a result, in high school, the shooter was home
    schooled for a period of time. Though not in a mainstream setting, he could sit through a quiet
    lecture. The mother drove the shooter where he needed to go. He did not want to go to events
    with crowds.

    He attended Newtown High School (NHS) with a combination of home schooling, tutoring and
    classes at NHS and Westem Connecticut State University (WCSU). At NHS he was considered a
    special education student. Having enough credits, the shooter graduated from NHS in 2009. He
    continued to take classes at WCSU after high school graduation.

    Various witnesses made the following obsewations about the shooter through his school years:

           L   In the 2002-2003 school year, when the shooter was in the fifth grade, he was quiet,
               reluctant, very bright and had good ideas regarding creative writing. He wouldn't
               necessarily engage in conversation, but wouldn't ignore one. There was no recollection of
             him being bullied or teased.
          2. The fifth grade was also the year that, related to a class project, the shooter produced the
             "Big Book of Granny" in which the main character has a gun in her cane and shoots
             people. The story includes violence against children. There is no indication this was ever
             handed in to the school.a8
          1 In tLa fìÊh         rhê ch^^fêr i-.1ì^.t.,1 tlrot ha ¡lirl ¡n+ liLp cnnrrc din ñ^l rhi-L hidhl., ^l
                          -"¡.
             himself and believed that everyone else in the world deserved more than he did.
          4. In intermediate school from 2002-2004 he was a quiet shy boy who participated in class
             and listened. He did not shovr' enthusiasm, extreme happiness or extreme sadness. He was
             neutral.
          5. In the fifth and sixth grades from 2003 to 2004 the shooter participated in conçerts at
             school. He was not remembered by the teacher as having been bullied and the shooter had
             at least one füend.
          6. A sixth grade teacher described the shoote¡ as an average student with A's and B's;
             homework \ryas never an issue. The shooter never made trouble or distracted others. He
             had friends and was friendly to others. He was a normal child with no oddities and there
             were no reports of bullying or teasing.


    a8
         See the   Appendix starting at page 4220.




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           7. ln 2004 while at the intermediate           school he was described as respectfi-rl and cooperated
                with others.
           8. one person who remembered him from the middle school never saw the shooter bullied.
           9. In seventh grade, a teacher described the shooter as intelligent but not normal, with anti-
                social issues. He was quiet, barely spoke and did not want to par-ticipate in anything. His
                \¡/riting assignments obsessed aL')out battles, destruction and war, far more than others his
                age. The level of violence in the writing was disturbing. At the same time, when asked to
                write a poem, he was able to write a beautiful one and presented it in public.
           10. In the ninth and tenth grades the shooter was reclusive, shutting himself in the bedroom
                and playing video games all day. In the upper classes the shooter compiled a joumal
                instead of attending physical education.
           I l. In high school the shooter did not have good social skills. He did not show any signs of
               violence.
           12. In high school the shooter would have "episodes"ae and his mother would be called to the
               school. The episodes would last about fifteen minutes each. There were no signs of
               violence during any of these episodes and the shooter was more likely to be victimized
               than to açt in violence against another.
           13. In high school the shooter was not willing to talk much, hard to communicate with and
               had poor social skills. He often became withdrawn in a social environment. The shooter
               would have both inclusive class time and leave the class for specialized sessions.
           14. At NHS the shooter was in the "Tech Club" in 2007-2008. He was remembered in a
               variety of ways including as a quiet person who was smart. He wore the same clothing
               repeatedly and might not speak to you, even if you were talking to him. He was not
               remembered to have been bullied or to have spoken about violence. The advisor looked
               out for him and tried to have him included wherever possible. He was also remembered
               for pulling his sleeves over his hand to touch something. He was not known to be a
               violent kid at all and never spoke of violence.
           15. The shooter had a LAN partyso at his home in 2008 with Tech Club members; no
               frrearms were seen at the shooter's home.
           16. ln terms ofvideo games, the shooter liked to play "Phantasy Star Online" (a role playing
               game), "Paper Mario," "Luigi's Mansion" and "Pikmin." He also liked Japanese
               animated films and television.

    Over the years from the late 1990s and into the 2000s, the shooter had evaluations of various
    types, some of which were available to the investigators. In the late 1990s he was described as
    having speech and language needs. At that time he was also being followed medically for seizure
    activitics. In preschool his conduct included repetitive behaviors, temper tantrums, smelling
    things that were not there, excessive hand washing and eating idiosytcrasies.

    ln 2005, the shooter was diagnosed with Asperger's Disorder and was described as presenting
    with significant social impairments and extreme anxiety. It was also noted that he lacked
    empathy and had very rigid thought processes. He had a literal interpretation of w¡itten and

    ae
         What these episodes were was unclear.

    t0
         This is a party where attendees eat pizza and play video games,




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    verbal material. In the school setting, the shooter had extreme anxiety and discomfort with
    changes, noise, and physical contact with others.

    In 2006 the shooter had an overall IQ in the average range. He hacl no leaming disability.
    Depending on the psychological test taken he could be average, below average or above average.
    Testing that required the touching of objects could not be done. It was reported that his school
    issues related to his identified emotional and,/or Pervasive Developmental Disorder (pDD)
    spectrum behaviors. His high level of anxiety, Asperger's characteristics, obsessive compulsive
    Disorder (ocD) concems and sensory issues all impacted his performance to a signifìcant
    degree, limiting his participation in a general education curriculum. Tutoring, desensitization and
    medication were recommended. It was suggested that he would benefit by continuing to be eased
    into more regular classroom time and increasing exposure to routine events at school.

    The shooter refused to take suggesled medication and did not engage in suggested behavior
    therapies.

    Over the years his mother consistently described the shooter as having Asperger's s¡'ndrome.
    She had a number of books in the home on the topic. she also described the shooter as being
    unable to make eye contact, sensitive to light and couldn't stand to be touched. Over time he had
    multiple daily rituals, an inability to touch door knobs,sl repeated hand washing and obsessive
    clothes changing, to the point that his mother was frequently doing laundry.

    In 2006, the shooter's mother noted that there were marked      changes to the shooter's behavior
    around the seventh grade. Prior to that, he would ride his bike and do adventu¡ous things such as
    climbing trees or climbing a mountain. He had stopped plalng the saxophone. He had been in a
    school band but dropped out. He had withdrawn from playing soccer or baseball which he said
    he did not enjoy.

    It is important to note that it is unknown, what contribution, if an¡ the shooter's mental                  health
    issues made to his attack on SHES. Those mental health professionals who saw him did not see
    anything that would have predicted his future behavior.

    EVIDENCE EXAMINATION

    Electronics

    Examinations of the follov/ing seized items were done by the Vr'DMC squad and the Computer
    Crimes and Electronic Evidence Laboratory of the Department of Emergency Services and
    Public Protection (DESPP).

    Sony PlayStation 2: An older games history was found. Games located included "D),nasty
    Tactics," "Kingdom Hearts," "Kingdom Hearts 2," "Onimusha," "D)¡nasty Warriors," and "The
    Two Towers." The PlayStation 2 games could not be played with others over the intemet.


    rr This included not
                         opening doors for himself    because he did not like touching the doo¡ handle   or other metal
    objects, often going through a box oftissues a day to avoid the co[tact,



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    Xbox: A game history for the console and an indication of an Xbox Live user account were
    found. Games found in the gaming history included "Call of Duty 2: Big Red One," ,,Call of
    Duty: Finest Hour," "Dead or Alive 3," "Halo," "Halo 2," "Lego Star Wars," ,.MechAssault,"
    "Mercenaries," "MGS2 Substa¡ce," "Panzer Dragoon ORTA," ,,pSO," ,,Shenmue II,"
    "Spiderman," "Splinter Cell 2," "Splinter Cell-CT," "Star Wars Battlefront,,' ,,Star Wars
    Republic Commando," "Tenchu: Retum from Darkness," "The Retum of the King," and
    "Worms Forts Under Seige."

    It was noted on both of the above items that the gaming history found may not be the complete
    history of those actually played. No evidence regarding the existence of any accessories or co-
    co-conspirators was found.

    Xbox 360: Found to be damaged and inoperable.

    Firearms and Related Evidence

    Of the firearms seized in this case, five are directly involved, four from SHES and one fiom 36
    Yogananda Street.

              History

    All of the firearms belowand involved in these cases were legally purchased by the shooter's
    mother. Additionally, ammunition of the type used in these cases had been purchased by the
    shooter's motler in the past. There is no reason to believe the ammunition used here was
    purchased by anyone else. The evidence does not show any ammunition purchases by the
    shooter.

    The shooter did not have a permit to carry a pistol, nor had he ever had one. His mother had a
    valid pistol permit.

    A pistol is defined as ". . . any firearm having a barrel less than twelve inches."s2 Both the Glock
    20. l0 mm and the Sig Sauer P226. 9 mm qrraìifii âs nistols. Thev are firearms and rfeir tra¡re!
    lengths were less than 12 inches.

              Firearms, Recovered Bullets and Fragments

    Recovered from Shooter's llonda Civic Outside of SHES

    Izhmash Saiga-l2, 12 gattge, semiautomatic shotgun: The Izhmash Saiga-I2 was found in the
    shooter's Honda Civic that was parked outside SHES. It was tested and found to be operable
    without malfunction. There was no physical evidence indicating this weapon had been fired at
    SHES, i.e., the bullets, bullet fragments and expended shell casings recovered at the scene and
    from the OCME could not have been fired from this weapon.


    "   C.c.s. sec. 53a-3(1s).



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    Recovered from Classroom 10, SHES

    Bushmaster Model XMI5-E2S semiautomatic rifle: The Bushmaster rifle was found in
    classroom 10. The Bushmastet was tested and found to be operable without malfunction. All of
    the 5.56 mm shell casings from SHES that were tested were found to have been fired from this
    rifle. All of the bullets and fragments, recovered from SHES and the ocME that were tested,
    with the exception of those,_mentioned immediately below, are consistent with having been fired
    from the Bushmaster rifle.53 They could not have teen fired from the saiga-l2, the ólock 20 or
    the Sig Sauer P226.

    Glock 20, l0 mm, semiautomatic pistol: The Glock 20 was found in classroom l0 near the
    shooter's body' The Glock 20 was tested and found to be operable without malflmction. It was
    found to have fired both of the 10 mm shell casings recovered at SHES. It was consistent with
    having frred the bullet that was recovered from the ceiling of classroom 8 in a location along the
    trajectory of the suicide shot of the shooter in classroom 10. It could have fired the three bullet
    fragments recovered from classroom 10. The three fragments together weigh less than one bullet
    and are presumed to have been parts of the same one bullet. Though all laiked sufficient striate
    for a positive identification, all had polygonal rifling consistent with the Glock 20. They could
    not have been fired from the Saiga-l2, the Bushmaster or the Sig Sauer p226

    Sig Sauer P226,9 mm, semiautomatic pistol: The sig Sauer p226 was found in classroom l0 on
    the shooter's person. The sig Sauer P226 was tested and found to be operable without
    malfunction. There was no physical evidence found indicating that this weapon had been fired at
    sHES, i.e. casings, bullets and bullet fragments recovered at the scene and from the ocME
    could not have been fired fiom this weapon.

    The total weight of the guns and ammunition from the shooter at SHES was 30.47 lbs.sa

    Recovered fiom 36 Yogananda Street, Newtown, CT

    savage Mark rr, .22 cal. Long Rifle, bolt action: The savage Mark II rifle was found on the floor
    of the master bedroom near the bed where the body ofthe shooter's mother was found. The rifle
    was found to be operable without malfunction. The rifle was found to have fired the .22 cal.
    casing recovered fíom the rifle's chamber and the three .22 cal. casings found in the master
    bedroom. The rifle also was found to have fired the four bullets recovered during the autopsy of
    the shooter's mother.




    53
      "No positive idcntification could be made to any of the bullet evidence submissions noted ... ... in 5.56 mm
    caliber. The physicaÌ condition of the bullet jacket sr¡rfaces were severely damaged and corroded. They all lacked
    individual striated marks of sufficient agreement for the identification process. The t€st fires also cxhibitecl a lack of
    individual striated ma¡ks on the bullot surface for comparison purposes. This çondition can be caused by fouling in
    the bar¡el ofthe rifle and the ammùnition itself. The Bushmaster rifle cannot be eliminated as having lired tho 5.56
    caliber bullet evidence examined," quoting from the 6/19/13 Forensic Science l¿boratory report.

    5a
         See the   Appendix at page 4141.




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              Both ofthese leads were immediately investigated by federal law enforcement and found
              to have no validity and no relation to NeMown.56

         2.   A December 14, 2012, search of the Stamford residence of Peter Lanza, the father of the
              shooter, was conducted with the FBI. Some illegal fireworks were seized and secured.
              After consultation with David I. cohen, the ståte's Attomey for the Judicial District of
              Stamford,4\orwalk, and based on all of the circumstances involved, this state's attomey
              has decided to exercise his discretion and not prosecute Mr. Lanza for possession of the
              fireworks, which are in no way related to the events of December 14,Z}tZ.
         3. Dick's    Sporting Goods - Police received a lead that the shooter had tried to buy
              ammunition at a Dick's Sporting Goods store. Store security surveilla¡ce videos were
              recovered and reviewed. None of the individuals depicted in the videos appear to be the
              shooter or connected to shooter.
         4.   A person called the police indicating that the shooter had tried to rent a room from her
              and indicated he was having problerns with his mother. This proved to be unsubstantiated
              after an investigation.
         5.   Some callers indicated that they chatted with the shooter online in postings. These
              postings were determined to be false.
         6.   Numerous citizens in Newtown received calls on their telephones with messages leÍÌ
              saying "I am [the shooter's name] and I am going to kill you." It was determined that
              these calls were made from out of state and the investigation is ongoing. preliminary
              investigation results establish that the callers were not associated with the shooter.
         7.   CSP investigated a lead that the shooter went to Newtown High School before going to
              SHES. ln the course of this investigation one parent refused to let her high school child
              be intcrviewed by police and related that a friend of the child had told the child they saw
              the shooter in the parking lot before the shooting. A review of Newtown High School
              video did not substantiate this claim.
         8.   Tlrere were reports of the shooter being at SHES on December 12, 2012, that vr'ere
              investigated and found not to be substantiated.
         9.   A report that a man claimed that while in Oklahoma a woman told him about the planned
              shooting before the shooting occurred. Federal law enforcement investigated this and
              found that it could not be true.




    5ó
      These sea¡ch warranls were applied for with information that was available at the   time.   Some   ofthe information
    was later detgrmined to be inaccurate.




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    DETERMINATIONS OF CRIMES COMMITTED

    In the   course of his rampage the shooter committed a number of state crimes. The most
    significant are those where lives were taken and people were specifically injured.

   At Sandy Hook Elementary School, the crime of Murder under Special Circumsta¡cess7 in
   violation of C.G.S. Sec. 53a-54b was committed twenty-six times. Attempted Murder under
   Special Circumstancesss in violation of C.G.S. Secs. 53a-49 and 53a-54b was committed twice
   as it relates to the two individuals who were shot and survived. These crimes reflect the killings
   of the children and adults, as well as those physically injured.se The crime of Murder in
   violation of C.G.S. Sec. 53a-54a was committed by the shooter in kìlling his mother at 36
    Yogananda Street.60

    Also listed are other major crimes conrmitted by the shooter on f)ec ember 14,2012.61

    The major felonies62 committed by the shooter in this case are:

               Murder with Special Circumstances
               Attempted Murder with Special Circumstances
               Assault in the First Degree63

    '' Sec. 53a-54b. Murde¡ with special circumstances. A person is guilty of murder with special circumstances who is
    convicted ofany ofthe following: ( 1)... ... (7) rnurder of two or more persons at the same time or in the cou$e ofa
    single transaction; or (8) murder ofa person und€r sixteen years ofage.

    58
       Sec. 53a-49. Cdminal attempt: Sufüciency of conduct; rcnunciation as defense. (a) A person is guilty of an
    attempt to commit a c¡ime ilì âcting with the kind of mental state requited fo¡ commission of the crime, he: ,.. ...
    (2) intentionally does or omits to do anything which, under the circumstances as hc belicves them to be, is an act or
    omission constitutil¡g a substantial step in a course ofconduct plauned to culminate in his commission ofthe crime.

    5e
      Though state law as to who is a "victim" in a criminal câse is very broad, only those victims mentioned above will
    be discussed. Connecticut defines a "victim of crime" as an individual who suffers direct or threa,tened physical,
    emotional or financial harm as a result of a crime and includes immediate family members of a miuor, inçompctent
    individuai or homici<ie victim anci a person designated by a ho[ucide victim in acco¡dance with section l-56r. See
    C.G.S. Sec. 1-lk.

    60
       Sec. 53a-54a. Murder. (a) A pe$on is guilty of murder when, with intent to cause the death of another person, he
    causes thc death of such person or of a third person or causes a suicide by force, dwess or deceptioû: except that in
    any prosecution under this subsection, it shall be an affrrmative defensa that the defendant committed the proscribed
    act or acts under the influencç of extreme emotional disturbance for which the¡e was a reasonable explanation or
    excuse, the reasonableness of which is to be determined Íiom the viewpoint ofa person in the defendant's situation
    under the circurnstancçs as the defe¡dant believed them to be, provided nothing contained in this subsection shall
    constitutc a defense to a prosecution foÎ, or preclude a conviction of, manslaughter in t¡e first degree or any otler
    crime.

    6r
         The investigation has not discovçred any evideûce that Nancy Lanza was in any way aware ofher son's plans.

    62
       In any given situation, the facts giving rise to the comr¡ission of one crime will suff¡ce to meet the elements of
     additional crimes. Here the focus will be on the major crimes committed and not go into €v€ry possible felony
    justified by the evidence.




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             Burglary in the First Degree6a
             Risk of Injury to a Minor65
             Possession of a Weapon on School Grounds6ó
             Carrying a Pistol Without a Permit,67

   The crimes listed above all require some type of mental state whether                         it is a specific intent,
   knowledge or a general intent to do the prohibited act.

    The intent to kill for the crime of murder can be seen in the circumstantial evidence such as the
    type of weapon used, the manner in which it was used, the type of wounds inflicted and the
    events leading to and immediately following the deaths, as well as with the shooter intending the
    natural consequences ol his voluntary acts.6E

    Here the intent is clear fiom the evidence that the shooter intentionally armed himself heavily,
    drove 1o SHES, parked in a manner out of direct sight of the front door, shot his way into the
    building and immediately killed those who confronted him as well as those in classrooms 8 and
    10. The evidence found at his home on the digital media further support his intentions to kill,
    both at the school and with his mother. Further the manner in which he killed his mother reflects
    the shooter's intent to kill her.


    6  Sec. 53a-59. Assault in t}re first degree: Class B felony: Nonsuspendable sentences. (a) A person is guilty of
    assault in the first degree when: (l ) With intent to cause serious physical injury to another person, he causes such
    injury to such person or to a third pe¡son by means ofa deadly weapon or a dangerous instrument;... ... or (5) with
    intent to cause physical injury to another person, he causes such injury to such pqson or to a third person by means
    of the discharge of a firearm.

    s  Sec. 53a-101. Burglary in the first degroe; Class B felony. (a) A person is guilty of bruglary in the first degree
    when (l) such person enters or remains unlawfully in a building with iltent to commit a crime therein and is armcd
    with explosives or a deadly weapon or dangerous instrument, or (2) such person enters or remains unlawfully in a
    building with intent to commit a crime therein and, in the course of committing the offens€, intentionally, knowingly
    or recklessly inflicts or attempts to inflict bodily injury on anyonc, or ,....

    ó5
       Sec. 53-21. Injury or risk of injury to, or impairing morals of, children. Sale of children. (a) Any person who (l )
    wilfully or unlawfully  causes or permits any child under the age of sixteen years to be placed in such a situation that
    the life or limb of such child is endangered, the health of such child is tikely to be injured o¡ the morals of such child
    are likely to be iurpaired, or docs any act likely to impair the health or morals ofany such child, or ... ..., shall be
    guilty of a class C felony for a violation of subdivision (1) . . ..

    66
      Sec. 53a-217b. Possession ofa weapon on school grounds: Class D felony. (a) A person is guilty ofpossession of
    a weapon on school grounds when, knowing that sucb person is not licensed or privileged to do so, such person
    possesses a firearm or deadly vr'eapon, as defined in section 53a-3, (l) in or on the real property comprising a public
    or pdvate elementary or secondary school, or .. ,.

    67
       Sec. 29-35, Carrying of pistol or revolver without permit prohibited. Exceptions. (a) No person shall carry irny
    pistol or revolver upon his or her person, except when such pe¡son is within the dwelling house or place ofbusiness
    ofsuch person, without a permit to carry the same issued as provided in section 29-28.

    68
         State v. Otto,305 Conn. 51,66-67 (2012).




                                                               4I
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    Murder wth Special Circumstances is met both in the killing of the children and in the killing                      of
    more than one person at the same time.

    In this case the shooter's mentål status is no defense to his conduct as the evidence shows he
    knew his conduct to be against the law. He had the ability to control his behavior to obtain the
    results he wanted, including his own death. This evidence includes his possession of materials
    related to mass murders, his removal of the GPS from his car, his utilization of ear plugs, the
    damaging of the hard drive and waiting for his mother's return from New Hampshire.6,

    The existence of an extreme emotional disturbance for which there is a reasonable explanation or
    excuse is also not present in this case.?o It is clear that the shooter planned his crimes in advance
    and was under no extreme emotional disturbance for which there was a reasonable explanation or
    excuse.




    6e
       Sec. 53a-13. Lack of capacity due to mental dis€ase or defect as affi¡mative defense. (a) In any prosecution for an
    offense, it shall be an affirmative defeüse that the defendant, at the tin.lç he committed the proscribed act or acts,
    lacked substa¡tial capacity, as a result of mental disease o¡ defect, either to appreciate thè wrongfulness of his
    conduct or to contlol his conduct within tre requirements of the law.

    70
        Sec. 53a-54a. Murder. (a) A person is guilty of murder when, ... ...',vith intent to cause the death of another
    person, he causes the death of such person or of a third person or causes a suicide by force, duress or deception;
    except that in any proseçution under this subsection, it shall be an affirmative def€nsç that the defendant committed
    the proscribçd act or acts under the influcnce of exficme emotional distubance for which there was a ¡casonable
    explanation or exçuse, the reasonableness of which is to be dctermined ftom the viewpoint of a petson in the
    defendant's situation under the circumsta¡ces as the d€fendant believed them to be, provided nothing contained in
    this subsection shall constitute a defense to a prosecution for, or preclude a conviation of, manslaughter in the first
    degree or any other crirne.




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                                                        CONCI,USION

     With the issuance of this report, the investigation is closed.Tr lf additional ¡eliable inf'ormation,
     related to the existence of others' involvement il the case, comes to the attention of tåe
     investigators, ít ís subjecf to being reopened. I do not anticipare that occur¡ing. As ol now, the¡e
     will be no state prosecution ofanyone as m. accessory or co-conspirator.

     Many people have asked why the shooter did what he did on December 14,2012. Or, in the
     veLnacular of the crinri¡ral justice sysfem, "Djd he have a motÌve to do what he did?" This
     investigation, wrth thc substaÌìtial information ava.ilable, does not cstablish a conclusive motive.

     Wfnt we do know is that the shooter had significant mental heålth issues that. whiJe not aft'ecting
     the crimiaality of the shooter's mental staÞ for the crimes or his criminal responsibility for ther¡,
     did atïect lris ability to live a normal lifE and to interact wilh others, even those to wk¡n he
     should have been close. 'Wbether this contributed in any wa¡, is unknown. The shootcr did not
     recognize or help himself deal with those issues. He had a farniliarity with and access tô firealrns
     and ammunition and an obsession wilh mass murders, in particular ttre Colrrmbine shootings.

     There ìs no clear indícation why Sandy Hook Elernentary School was selected, otier than
     perhaps ìts close proxinity to the shooter's home.

     What is clear is that ôo. the moming of Decernber 14, 2012, the shootEr intentionally courmitted
     horrendous crimes, murdering 20 childlen and 6 adults in a mafi€r of mornents" wirh the ability
     and ì¡tention of killiog even mo¡e. He committed these heinous acts after killing his own mother.
     The evidence indicates thi shooter planned his actions, i:rcluding the taking ofhis own life.

     It is equally clear that law enf'orcement adved at Sandy Hook Elernentary School within minutes
     of the first shots being fued. They went into the school to save those inside with the krowledge
     that someone migbt be waiting to take their [ves. it is also olcar that the staff of Sandy Hoolr
     E)ernentary School acted heroically ilr n'ying to prctect the ohil&en. The conbination saved
     many childr:en's lives.




     November 25, 20Ì3
                                                                                        TII
                                                                                                                     .(
                                                               State's   Attomey /
                                                               Judicial Distict r¡f Danbwy




      /' Thc¡o ¡smaùx some ouXstatrdilrg rcporÎs,   rctLu'¡ls and ân evidcnç€ examination ewlùatioD   to be filed.


                                                                  43
22-01023-hcm Doc#1-4 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 600
                                     of 692



                                                 ACKNO}VLEDGEMENTS

   Over the course of the last eleven months many agencies, governmental and private, have come
   together to assist the victims' families, victims, first responders, others affected by the crimes, the
   Connecticut State Police and the State's Attomey's Office fbr the Judicial District of Danbury.

    I wish to thank the below agencies, listed alphabetically, for their investigatrve \¡/ork, cooperation and
    assistance in this investigation. Though I have tried to list all ofthe agencies that provided assistance
    to the investigation, I suspect some will be inadvertently left out. For this I apologize.

          .      Connecticut State Police and in particular Westem District Major Crime Squa¿72*
          o      Connecticut Intelligence Center (CTIC)
          .      Bureau ofAlcohol, Tobacco, Firearms and Explosives
          .      Department of Emergency Services and Public Protection Forensic Science Laboratory
          o      Faculty ofFinding Words-Connecticut, A ChildFirst StateTl
          .      Family & Children's Aid of Danbury?a
          o      Federal Bureau of Investigation,Ts including Victim Services and Behavior Analysis units
          o      Gundersen Health System's National Child Protection Training Center
          o      Hoboken, New Jersey, Police Departrnent
          ¡      Homeland Secudty
          .      Municipal police deparûnents in Connecticut
          o      Newtown Police Department
          o      Office of the Chief Medical Examiner
          .      Office of the Chief State's AttomeyTó*
          o      State of Connecticut Judicial Branch
          o      United States Attomey's Office for the District of Connecticut*
          o      United States Drug Enforcement Agency
          o      United States Marshals Service

    Iwould also like to thank the members of the Danbury Stâte's Attomey's Offrce, in particular,
    Supervisory Assistant State's Attomey Warren Murray and lnspectors Donald Brown and John
    Mahoney for their assistance and support.


    72
         The westem District Major Crime Squad under the leadership of Lt. David Delvecchia inv€stigated t¡is        case
    ïvith   a   thoroughness and sensitivity that is unmatched in my experience.

    73
      Connecticut is a ChildFirst state whose one week program Finding Words Connecticut, lnterviewing Children and
    Preparing for Court is funded by the Governor's Task Force on Justice for Abused Children.

    to
         Fa-ily & Child.en's Aid of Danbury      hosts the Multidisciplinary Investigation Team.

    75
         This includes FBI agents across the country who sought out evidence and interviewed witnesses in many states.

    tu
      Chief State's Attorney Kevin T. Kane's counsel a¡d assistance has been a¡ invaluable asset to me and this case,
    together with fhe assistance ofthose in his office who wo¡ked on the case.

    * I am grateful for the suggestions, editing and reviews ofthe drafts ofthis report provided by these organizations.
    Any errors that remain are mine.


                                                                  44
7t5t2018                                                 Register Your Megyn Kelly Compla¡nts With the Wh¡te House
           22-01023-hcm Doc#1-4 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 601
                                                of 692
                                                                                                                                suBscRrBE   î:
  ",NvurYonX


                   June 13, 2017 6137 pm


                   Register Your Meg¡.n               Keþ Complaints With                  the White House
                   By   Olivia Nuzzi

                   snare    ll   Share     ffi   Tweet   H    pin   tr,    Comment




                         Photo: Brooks Kraft/Getty lmages; Dimitr¡os Kambour¡s/cêtty lmages


                   Whose fault is it that you ktow who Alex Jones is, some of what he believes, and what he looks like without a
                   shirt oû?

                   Is it the fault ofthe president ofthe United States, who appeared on Jores's show, Infowars, during the
                   eampaign-and t iilled Jones åfter !'-inning {be eleclìon to thank him for his support? Or is it the fauli ofJones's
                   fans and followe¡s, who banded together on the murky fringes of civitized diicãurse last year and pushed
                   conspilacies like Pizzagate or the ootion that Hilla¡y Cìinton was secredy on the brink of death? Oì is all ofthat
                   really tìe fault ofthe press, who totic€d how influential Infowars had become, and reported on it
                   that sometimes requi¡ed speaking with Alex Jones and people like him?                                  - an endeavor

                    I am tot defending Me8Jm Kelly's intewiew with Alex Jones, because how could I it hasn't even aircd. That
                                                                                                           -
                   happen$ on Sulday. And yet, the very idea ofthe interview has been broadly condemned, including by many
                   joumâlists. Kelly's new Sunday night news progran on NBC has aÌready lost at least one advertise¡.

                    I(eìly, critios argue, is "legitimizing Jones by allowing him ontoher program. And this wouldbe t¡ue, cedainly, if
                    she we¡e Martha Stewart and Jones came o¡I the show exclusively to barbecue ribs. We don't yet kÌrow what
                    Kelly's interview with Jones covers in its enti¡ety, but frcm the preview released by NBC, we ão know that she
                    questio¡s him about his belief that the Sandy Hook massacre añd the septembe¡ ll terror attacks were false-flag
                    operations conducted by Sovernment actors. It seems likely, then, that the rest of the coDversation will involve
                    challenges to the legitimacy of his worldview.


                    On his show Monday, Jones said, "Have you seen how the presideot sounds just like me? Have you seen how
                    Steven Bannon soundsjustlike me? Have you seen how the whole paradigm's globally shifting and you can't hold
                    it back?" I don't think big pharma is trying to make fish gay, but Jones is ;ight in at least one iespeci: When
http://nymag.com/da¡ly/intell¡gencer/2017106/megyn-kelly-isnt-the-first-reporter-to-interview€tox-jones.htmt                                     '15
7t5t2018                                                  Register Your Megyn Kelly Complaints Wilh the White House
           22-01023-hcm       Doc#1-4 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 602
                 ùhange occurs, as it surely is in Ame can politi( s in l he Trump era, it isn't going to be stopped byjoumalists
                                                                      of 692åd;sounded likeion;s. He has parroieä some of his
                 refusing to âcknowledge it. And the truth is, the president
                 beliefs. His longtime adviser, Roger Stone, evctì glrosi hosìs l¡lfirrram. Should Kelly and ihould you
                 that? Is television such a sacred medium all of a suddeû that tlìe only people who õan                      - ignore
                                                                                                          - go on it have to be -
                    ceûifiably sane? In that case, it wouldjust be PBS aud Golden Girls reìunì with Rose edited out.

                    Kelly, likeìer or not, is ajournâlist, and in 2o12, that means interr'iewing people whose ideas might be
                    reprehensible or flat-out insâ¡e when those people stand to influence polióy, ór when they have a-direct line to
                    the White House. Not everyone is happy aboirt this, of couNe. Over th¿ lasifew months, i,ve heard the argument
                    over and over, sometimes in response to my own work, that taking time to understand individuals whoseideas,
                    beliefs, or actions may threaten harm to others is a form of improperly .humanizing" them. Something ..trad,,,
                    this thinking goes, is easy to objectively identify, and deservesìo àttention <¡r iutellectual debate. Bì¡t
                    understandirg the complexities ofthe people who shape our lives, for better or worse, is whât news, i¡ part, is
                    sr¡pposed to do. As my Ne¡, York colleague Jesse Singal rii\.tr re¡ cnr h, "lt's good Lo normalize evil, in the sense
                    of showing how otherwise normal people and institutions can perpetlate evi-i acts. and every attempt should be
                    made to do so, That's how you prevent more evil from happeûing in the future."

                    And all of that asi¿e, it's not as though Megyr¡ Kelly is introducing the wo d to Alex Jones. In fact, NBC is late.
                    Jones was covered extensively by major news publications throughout the campaign. He was also covered at
                    length for-years prior. In 2o08, when the libe$arian congressman non taul ran foi presideût, Jo[es, who
                    suppoÉed lrim and intewiewed him on his show, drew sónre lrlediå âtteììlion. ?e.xú¡s Monfl¡¡y devôlrd more than
                    6,('00 wo¡ds to Jones in 2()1(). Iî 2()!., Ntgrñtlin¿ col.cred hiln. That same year, he \,\,as pr.ofiied by this very
                    publication. Subsequently, h( iAl dl J rouìdlablc on ?trc t/ieur where he, among other things, definded Charlie
                    Sbeen; he debated Piers Morgan ,ì'ìout tr¡llrs on his CNN p¡ogr¡lî; he taiked {iì;hours to fliward lìtcrn. ln zor4,
                    when Ron Paul's son Rand began floating a trial balloon ior his eventual campaign, Jones got a renewed wave oT
                    coverage. Before endorsing Trump, in fact, Jones harl endorse<l R¡¡rd. He's bée¡ around, in other words, and he's
                    been popular * he just may not have beer on your ¡adâr, And the answerto the question did all ofthis media
                    covelâge create Jones's support? - is â resounding no. The people who watch him and who           - read lnfowars.com
                    and buy the protective iodine dÌoplets and end-of-the-wotld survival kits he sells? they're not exactly the core
                    demographic for ?ñe yí,eu. It's possible to be exposed to bad or dumb or crazy ideas and not become a convert.

                    Ofcourse, Meg¡n Kelly's tenure at Fox News was punctuated by mome¡ts she likely regrets in hindsight.
                    Referring to peppel spray, used against p¡otesters, as "a too<i pì oduct" stands out. Likewise he¡ adheience to a
                    generaì, on-brard glibness about race. As she's remade her imãge âmid her fight with Trump, the release of her
                    book, and her departurc fiom partisan cable, she's offered no mãa culpa, She literalìy said that, actually
                    h¿ve no mea_cuìpa to offèr"     durìng  an  illerv¡e1Ì last month. There     plenty of reãsons people
                                                                                                                                - "Ì
                                                                                                                              ãislike
                                                 -                                           are                          who
                    Kelly can and do point to as justificaLio[. And becâuse olall that, when she does fumble in her new role, she's
                    likelyto be dragged for it harder thar¡ anotler Tvjourraìist might be. For instance, she has a friendly way of
                    broaching even difücult questior¡s that cån feeÌ a little incongruous with healy subject matter. A¡d sLe m;de
                    what I think was the wlong call to agree to pose for a photo with Jones while ¡he tiailed him for her feâtuÌe. He
                    posted it to his website, complete with the Infowars logo, and it quickly became a meme. I can see why she might
                    Dot hav€ thought twice aboì¡t it at the time, but optics-wise, it only sewed to confirm the worst assumþtions -
                    about the interview that we have¡'t seen. But Kelly's also not the filstjoumalist to do this lecall thit, after the
                                                                                                                   -
                    eÌection, a group of Irump reporters crowded around hi¡n l¡.rr a çh!ìmntt pictìtm ù1 Mâr-â-1,âg(,.

                     But does Meglm Kelly's past mean that herjournalistic conüibutions should be discounted befoÌe we even see
                     them? Is er€rlthing she does with her show every Sunday evening inhere¡tly worthless? I think looking at it that
                     way wouìd be a waste, and for the people who loathe her, a form of letting her off the hook. Kelly has an
                     opportunity here to do what she didn't or she couldû't at Fox News, and goodjournalisrn is good for everyone.
                     We should want that from her and f¡om anyone else witì such a platfom. A¡d the fact remãiûs that in the
                     cìnnlô â^t ^frôlLiñd                Ãi dv¡rc., r\rrrr                                         car 5purr¡6¡¡L I'rdl
                     rendeß him mainstream. She's doing herjob, which means addressing uncomfortable truihs, lilie thãt the
                     president knows Alex Jones. Any probÌems with that fact should be diiected at the Wïite House, not a news
                     network.




                                                                 LATEST NEWS
 1Z   MINS AGO
 On Eve of Trade War, China Warns That Trump's Tariffs
 Bacldre
                                                                                                               Will
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 9r48 Â.M
 Ttvo More Britons Poisoned by Nerve Agent Used on Ex-Spy

httpJ/nymag.com/daily/intelligencer/2017l06/megyn-kelly-isnt-the-fìrst-reporter-to-interview-alex-jones.html
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7t5t2O18                                                   Register Your l\¡egyn Kelly Complaints With the White House
           22-01023-hcm Doc#1-4 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 603
                                                of 692
6:26 A.M
Tbump's Supreme Court Pageant Could Come Down to Looks
                                                                                                                             T


3:37 A.M.
AMLO Isn't Mexico's Trump                                     Nor Is He Trump's Natural Enemy
                                                         -


r2:08 A.M.                                                                                                                             ti$ ì
                                                                                                                                       '9f \
                                                                                                                                       rs,¡r
Woman Climbs Statue of Liberty to Protest Famiþ Separations,                                                                      -JHdHrt
Island Shut Down
                                                                                                                                 -"ü

YESTBRDAY AT 2r33 P.M.

Michael Cohen Deletes Tfump From T\n¡itter Bio, Fueling Flip
Rumors


YESTERDAY AT r2t4Z P.M.

Cops Called on Black Lalvmaker Campaigning in Her Ovyn                                                            District


YESTERDAY AT ro:2S A.M

Report: TTump Had to Be Convinced Not to Invade Venezuela
                                                                                                                             hm
                                                                                                                             ÇHH
7    /3/zotA AT 5:46 P.M.
Why Hasn't Tfump Fired Scott Prritt? Because Pruitt Can Fire
RobertMueller.

     /3l2018 AT S:41


                                                                                                                             W
 7                     P.   M.
 Powerful House Republican Implicatedin College Sex-Abuse
 Scandal




http://nymag.com/daily/inlelligence120'17/06/me9yn-kelly-isnt-the-first-reporter-to-interv¡ew-alex-jones.html                                  3/5
715t2018                                                  Register Your l\¡egyn Kelìy Compla¡nts W¡th the White Hous€
             22-01023-hcm Doc#1-4 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 604
               AT oo P,M
                                                  of 692
7    /B/20]18         4:

Trump Administration Calls On Colleges to End Afñrmative Action


j l3l2otA AT 3:41 P.M.
T[ump Insists No Other Americans Allowed Into His Putin Meeting


7ls/2o!8 AT g:33 P.M.
Maybe Republicans Just Don't Do Policy


 7   /B l20tA AT 2:1S        P.   M.
 New Study: Trump's Immigration Agenda May Have Hurt Him                                                                 in
 zot6


 z   /B /2018 AT 1:13 P.M.

 Are Democrats CryingWolf on Threat to Abortion Rights?


 7       /S/2ot9 AT    11:20 A.M.

 How Democrats Plan to Thrn Kennedy's Retirement Into a Political
 Win


    j l3/2or8 AT 10:13 A.M.
    The Anti-Trump Right IIas Become Ttump's Base



    7    /SlzotS AT 9r09 A,M.
    A Look at Ttump's Shortlist for ReplacingAnthony Kennedy


     7   /g/2or8 AT    8:   oo A.M.
     Ocasio-Cortez's Socialism Can Work in the Midwest                                                    -     With a
     Rebrand

                                                                                                                              JeI{$-
 http://nymag.com/daily/intolligencer/2017/06/megyn-kelly-isnt.the-first-reporter{o-interview-alex-jones.html                          4t5
7151201þ                           Register Your Megyn Kelly Complaints Wilh lhe White House
       22-01023-hcm Doc#1-4 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 605
7lSl2o!B AT 7:24 A.M.                             of 692
Despite H¡reraggressive Talk, Trump's MS-4 Stratery Isn't Very
Comprehensive


                                                                  S¡gn ln to Comment




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       NEWSLETTERS                 ABOUT US              CONTACT        US         MEDIA KIT              WE'RE   HIRING      TRADEMARK

                      PRIVACY                                           TERMS                                      AD   CH OI CES



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http J/nymag.com/daily/intelligenceri20l T/06/megyn-kelly-isnt-the-firsÞreporterlo-interview-alex-jones.html                              5/5
7t5t2018                                             NBC News Overhaul¡ng Megyn Kelly's lnterv¡ew With Alôx Jones
           22-01023-hcm Doc#1-4 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 606
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                                                   THE
                                                               CTJT

    IUNË 16, 2o17 9:03 AM


    Megyn Kelly's Interview With Alex Jones
    Is Reportedly Getting'Completely
    Overhauled"
    By L ¡sa Ryan



       fJgF




                      Megyn Kelly ileft), Alex lones (r¡ghl). Photo: Cetly lfrlages; AP


                  After the backl¿rsl¡ over Megyn Kelly's üpcoming Sì.¡lìday ìuiervicw with conspirâcy theorist and Infowars founde¡
                  AÌex Jones, NBC News exccutives have ¡eportedly been "scrambling" to overhaul Kelly's intcrview with the Sa¡dy
                  Hook rnassacre deuier, According to "Piìgc Six," NBC News has reedited the intewiew with Jones ir an altempt
                  to be "tougher" on him, and has also invited Sandy Hook families onto the program.

                  As "Page Six" repo¡ts, Kelly personally called Sandy Hook families to a$k them to appear on her program as a
                  way to couûter Joûes's clalm that the mâssacre was a hoax. The move coües shortly after many (iDcluding .Iouos
                  IiiÌrs.¡lf) called on Kelìy not to ¡un the interview, .I.P. Morgar pulled out as an advertiser, and Keþ was dropped
                  as a host for the Saudy Hook Promise Foundation's amrual anti-gurr-r't'olence gala.


httpsJ/www.thecut.com/2017106/megyn-kelly€lex-jones-interview-overhauled.html                                                           1115
715t2018                                                                       Megyn Kelly's lnterview
           22-01023-hcm Doc#1-4 Filed 04/18/22Overhaulìng
                                                       NBC News                                  With Alex Jones
                                                                 Entered 04/18/22 14:16:53               Exhibit B contd. Pg 607
                 The upcoming episode of Sunday Night Wíth Megan KeW ñll ûow reporte<ìly incìude an interview with Neil
                                                                   of  692
                 Heslin, the falher of6-year-old Jesse Lewis, who was killed iu the massacre. However, other SaÌ¡dy Hook parents
                   reportedly refused to appear on her program, as they "didn't think appearing on her show would do enough to
                   counter Alex Jones' veûom." Yet, a souÌce told the gossip column, "Everyone on the show believes it's vitally
                   importarìt that the piece convey"s the immense pâiû that Jones has caused the Sandy Hook families."

                   Jones ha.s been instrumental in spreâding the conspilacy theory that the 2012 shooting at Sandy Hook
                   Elementary School in Connecticut       in which zo children were killed was a hoax. He's also played a key role in
                                                        -                                   -
                   inspiring and giving a platform to other tmthers, many ofwhom have harassed tlle families ofthe victims, as
                   detailed in a 2016 rv(ip !ir.k Magilzinc story.


                    Jones reportedly took issue with Kelly's interview, as he thinks it makes him look bad. "Pâ¡ic Six" reports that he
                    announced on Thu¡sday night that he secretly recorded the sitdown with KelÌybecause he "knew it was all crap."
                    A few hours Ìater, he released the ¡ecording in a video online, after explainìng, "I've ¡rever done this in 22 years,
                    I've neve¡ recorded another journalist, but I knew it was a fraud, that it was a lie."


    Sources: PAGE srx



                                                              TH E LATEST

 5 SlCOl.lDS      ACCJ




 https://www.thecut.cgm/2017l06/megyn-kelly-alex-jones-interview-overhauled.html
7t5t2018                                               NBC News Overhauling Megyn Kelly's lnterview W¡th Alex Jones
           22-01023-hcm Doc#1-4 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 608
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  PROTESTS        I   11 rVtNS ACO
                                                                                                                      She
  was arrested on the Fourth of July after a three-hour standoffwith police.
  By Liss Ry¡n




 https://www.thecut.com/2017106/megyn-kelly-alex-jones-¡nterview-overhauled.html
7t5t2018                                  News Overhauling Megyn Kelly's lntsrv¡ew With Alex Jones
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                                      04/18/22    Entered 04/18/22 14:16:53 Exhibit B contd. Pg 609
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  MY   Tlvo CENTS I 9i56 A.M
                                                                                 It's easy to get hooked on free stuff.
  8y Charloite Cowles
 httpsJ/wwwthecut.com/2017l06/mo9yn-kelly-alex-jones-interview-overhauled.html                                            4t15
7t5t2018                                            NBC News Overhauling Megyn Kelly's lnterview With Alex Jones
           22-01023-hcm Doc#1-4 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 610
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9:42 A.M




 https://www.thecut.com/2017106/môgyn-kelly€lex-jonos-interview-overhauied.html                                    5t15
7t5t2018                                                NBC News Overhauling Megyn Kelly's lnterview With Alex Jones
     22-01023-hcm Doc#1-4 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 611
                                          of 692
                                                     Lots of grill pictures, one campaign trail,
and one proposal.
8y Sarah Spellings




  scoTUs I 9:07           A. M.

                                                                           Since others have ensured
  that all the candidates are sufficiently conservative,'lrump is said to be weighing which finalists
  have the right image.
  https://www.thecut.com/2017l06i   megyn-kelly-alex-jones-intorview-overhauled.html                                   6/15
7,t5t2018                                             NBC News Ovôrhaul¡ng Megyn Kolly's lnterview With Alex Jones
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By   M a rgã Íet Hâttmann                     of 692




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 lT's COMPLICATED I 8:18 A.M.
                                                          "Ryan," who Ihad met online and grown close
 with, didn't exist. But still, I couldn't cut the relationship out of my life.
  By t   Íin   Brown   e




 https://!vww.thecut.com/2017l06/megyn-kelly-alex-jones-interview-overhauled.html                                    7t15
7t5/2018                                             NBC News Overhauling Megyn Kelly's lnteN¡ew With Alex Jones
           22-01023-hcm Doc#1-4 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 613
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7:37
       ^.M




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                                                                                               This   is   not   a   time for hair of the
  dog.
 https://www.thecut.com/2017l06/megyn-kelly-alex-jones-interview-overhauled.html                                                            8/15
7t5t201A                                             NBC News Overhauling Megyn Kelly's lnterv¡ew W¡th Alex Jones
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YLSTERDAY        AT,ri06        l'.M


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 YES I I RDAY AT 3:0        ¡   P.]V




 YES-ttRDAY      AI 2124        P.L1




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 YESTERD^Y AT         1'1   :34 A.M




 https://www.thecut.com/2017l06/megyn-kelly-alex-jones-interview-overhauled.html                                                    9/'15
7t5t2018                                             NBC News Overhauling Megyn Kelly's lntervi€w With Alex Jones
           22-01023-hcm Doc#1-4 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 615
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 MICRO SALES            I   YESTERDAY AT.I 1:12 A.M
                                                                                                            Featuring lots and lots   of
 things that are 7O percent off.
 By The     Edìtors




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                  ^_r            ^
 https://wwwthecut.comi2017i06lmegyn-kelly-alex-jones-interview-overhauled.html                                                        10/'15
715t2018                                                 NBC
                                         News Overhauling Megyn Kelly's lnterview With Alex Jones
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                                                   of 692




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                   j
                   .J




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  ASK POLLY             I   YÊSTERDAY AT 6:OO A.M
                                                                                     You have to accept that
  other people have different priorities, values, and rules from yours.
 https:/A¡wvw.thecut.com/20'17l06/mogyn-kolly-alex'jones-interview-overhauled.html                             't1t15
715t201a                                             NBC News Overhauling Megyn Kelly's lnterview With Alex Jones
       22-01023-hcm Doc#1-4 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 617
By   Heãlher Havrilesky                     of 692




7   /3/2o18 AT 4:03      P.M




 https://www.thecut.com/2017l06/megyn-kelly-êlox-jones-intorvìew-overhauled.html                                    12t15
7t512018                                                NBC News Overhauling M6gyn Kelly's lnterview With Alex Jones
           22-01023-hcm Doc#1-4 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 618
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 sHE'S FINE         |   71312O18 AT 3:Og P.M

                                                                                                                       She's ¡1ne
 By L¡sa Rya    n




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 GALLTIP-
            $rPTËNl9ÊR 14, 2016




            Americans'Trust in Mass Media Sinks
            to New Low
            byArt Swift

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            o   3290 say they have "a great deal" or "a fair amount" of           trust
            .   1   4yo of Republicans express trust, down from 32yo last year
            .   Confidence drops among younger and older Americans




            WASHINGTON, D.C. -- Americans'trust and confidence ¡n the mass media "to report the
            news fully, accurately and fairly" has dropped to its lowest level in Gallup polling history,
            with 32% saying they have a great deal or fair amount of trust in the media. This is down
            eight percentage points from lasi year.




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7t12t2018                                                                Amer¡cans'Trust in Mass Med¡a Sinks to New Low
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            Gallup began asking this question in 1972, and on a yearly basis since 1997. Over the
            history of the entire trend, Americans'trust and conf¡dence hit its highest po¡nt in 1976, at
            72o/o,in the wake of widely lauded examples of investigative journalism regard¡ng Vietnam
            and the Watergate scandal. After staying in the low to mid-sos through the late 1990s and
            into the early years of the new century, Americans'trust in the media has fallen slowly and
            steadily. lt has consistently been below a majority level since 2007.

            Republicans Fuel Drop in Media Trust

            While it is clear Americans'trust in the medla has been eroding over time, the election
            campa¡gn may be the reason that it has fallen so sharply this year. With many Republican
            leaders and conservat¡ve pundits saying Hillary Clinton has received overly posit¡ve media
            attent¡on, wh¡le Donald ïrump has been receiving unfair or negative attention, this may be
            the prime reason their relâtlvely low trust in the media has evaporated even more. lt is also
            possible that Republicans th¡nk less of the media as a result of Trump's sharp criticisms of
            the press. Republicans who say they have trust in the media has plummeted to 14olo from
            32o/o    ayear ago. This is easily the lowest confidence among Republicans in 20 years.




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            Democrats' and independents' trust ¡n the media has declined only marginally, with 51olo
            of Democrats (compared with 55o/o last year) and 30o/o of independents (versus 33o/o last
            year) expressing trust. over the past 20 years, Democrats have generally expressed more
            trust than Republicans in the media, although in 2000, the two parties were most closely
            aligned, with 53o/o of Democrats and 47o/o of Republicans profess¡ng trust.

            Trust ¡n Mass Media Falls Across Age Groups

            older Americans are more likely than younger Americans to say they trust the media, but
            trust has declined among both age groups th¡s year. currenily, 260lo of those aged 'l g to
            49 (down from                        360/o        last year) and 38Vo of those aged 50 and older (down from 45olo) say
            they have a great deal or fair amount of trust in the med¡a.




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             ln 2001 , younger Americans (55o/o) were more likely than older Americans (50o/o) to
             express trust and confidence in mass media. This gap emerged again in 2005 when 53o/o
             of 18- to 49-year-olds had trust and                               45olo of     those 50 and older expressed the same
             sentiment. Yet in the past decade, older Americans have mostly had more confidence
             than younger Americans, and this year, the gap between these age groups is 12 points.
             And 2016 marks the first time that confidence among older Americans has dropped
             below 40olo in polling since 2001.

             Bottom Line

             The divisive president¡al election this year may be corroding Amer¡cans'trust and
             confidence in the media, part¡cularly among Republicans who may believe the
             "mainstream media" are too hyperfocused on every controversial statement or policy
             proposal from Trump while devoting far less attention to controversies surrounding the
             Clinton campaign. However, the slide in med¡a trust has been happening for the past
             decade. Before 2004, it was common for a majority of Americans to profess at least some
             trust in the mass media, but since then, less than half of Americans feel that way. Now
             only about a third of the U.S. has any trust                               ¡n   the Fourth Estate,      a   stunning development
             for an inst¡tution designed to inform the public.

             With the explosion of the mass media in recent years, especially the prevalence of blogs,
             vlogs and social media, perhaps Americans decry lower standards for journalism. When
             opinion-driven writing becomes something                                        l¡ke   the norm, Americans may be wary of

 https://news.gallup.com/poll/'19592/amer¡cans-trust-mass-media-sinks-new]ow.aspx                                                                       4tB
711212018                                                     Americans'trust in t\¡ass Media S¡nks to New Low
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                                                     of 692that have less rigorous reporting criteria
          placing trust on the work of media institutions
          than in the past. On the other hand, as blogs and social media "mature," they may improve
          in the American public's eyes. This could, in turn, elevate Americans'trust and confidence
          in the mass media as a whole.


          Historical data are available in Gallup Analytics.

          Survey Methods

          Results for this Gallup poll are based on telephone interviews conducted Sept. 7-1 1,
          2016, with a random sample of 1,020 adults, aged 18 and older, living in all 50 U.S. states
          and the District of Columbia. For results based on the total sample of national adults, the
          margin of sampling error is               t4 percentage points              at the 95o/o confidence level. All reported
          margins of sampling error include computed design effects for weighting.

          Each sample of national adults includes a minimum quota of 600/o cellphone respondents
          and 4Oo/o landline respondents, w¡th additional minimum quotas by time zone within
          region. Landline and cellular telephone numbers are selected using random-digit-dial
          methods.

          View complete question responses and trends.

          Learn more about how the Gallup Poll Social Series works.




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  Attached hereto marked as Exhibit B-74 is a thumb drive containing a true and correct
  copy of a video news conference of Chief Medical Examiner Wayne Carver on
  December 15,2012 regarding the Sandy Hook shootings posted at
  https://www.youtube.com./watch?v:zE0OT5od9DA. This exhibit contains       a   true and
  accurate copy of this video as ofthe date of this affidavit.
                                                                banned
Facebook touts fight on fake news, but struggles to explain why InfoWa¡s isn't
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  Facebook touts fight on fake news, but
  struggles to explain why InfoWars isn't
  banned
  by Oliver   Darcy    (@oìiverdarcy
     July 11, 2018: 11:59 PM ET                                                                  T-T;;;ffiä'lãil x                 f        f       in



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    Parents ol Sandy Hook victims sue Alôx Jones
                                                                                                                                 Credit Cards Charging
                                                                                                                                 0% lnterest Until2020
  Facebook offic¡als struggled on Wednesday to explain why it permits lnfowars, a media
  organizat¡on that is one of the world's leading purveyors of conspiracy theories, to have a page
  on ts platform.                                                                                                                Texas: Gov't \vill Pay
                                                                                                                                 S3ss/N¡onth Off Your
  The company's failure to produce a satisfactory answer on the matter came at an event                                          [4ortgage lfYou...
  Facebook organized in its Manhattan offices where the company aimed to tout its commìtment
  to combating fake news and misinformation.
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  After a short presentation showcadng Facebook's effons to filtht misinformation, John                 lltog                    Your Baby
  Hegeman, the head of Facebook's News Feed, and Sara Su, a Facebook product speclalist for




                                                                                                      ffi
  News Feed, took questions from reporters.
                                                                                                                                 See This List Of The
  When asked by this reporter how the company could claim it was serious about tackling the                                      Worst Movies Ever
  problem of misinformation online while simultaneously allowing lnfowars to maintain a page with                                Fitmed

  nearly one million followers on its website, Hegeman said that the company does not "take
  down false news."




                                                                                                      ffi
                                                                                                       lvlore from CNNn¡oney
   'l guess just for being false that doesn't vlolate the community standards," Hegeman said,
   explaining that lnfowars has "not violated something that would result in them being taken                                    Journalist reveals she
                                                                                                                                 provided source's
                                                                                                                                 idenuty to rhe FBI -.,.
   Hegeman added, "l think part of the fundamental thing here is that we created Facebook to be a
   place where different people can have a voice. And different publishers have very different
                                                                                                                                  Business lnsider
   points of view."
                                                                                                           "   i¡l'   r¡¡¡
                                                                                                                                  introduces new




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 While publishers may c¿rtaiÌ¡ly have a different poiÍt ofview, lnfowars is no o¡dinary publisher, and the                             The truth about the
 contenl it prodùces does notjust offer "different points ofview,' The media organization is notorioùs for                             retail apocalypse
 spreâdiÍg demonstmbly false information and conspiracy theories on a host ofissues, including suggesting
 thât the Sa¡dy Hook måssacre was a hoax staged by child actors. Earli€r this yeâl, the outlet smeared
 student survivors of the Parkland shooting wilh baseless attacks, portraying them in one video as actors.


 Even on Wednesday, before and after Facebook defended its decisìon to allow tnfowars to
 operate on its website, lnfowars used the social media platform to spread baseless conspiracy
 theories. ln one video posted to Facebook, Infowars claimed b¡ ionaire ceorge Soros wanted to
 "seize l.lS voting machines." h another post, tnfowars, which has suggested that the September
                                                                                                                    W                  Papa John's founder
                                                                                                                                       apologizes for using
                                                                                                                                       N-word


                                                                                                                                       Disney would control
                                                                                                                                       40% of the us box
 11 terrorist attacks were an inside job, asked, "Will Trump expose the truth behind 9/11?'
                                                                                                                    *                  office if it buys Fox

 Pressed for more answerc on its position on Infowars, Su said at the event that Facebook hos thus far
 chosen to focus o¡ tackling posts on its platform that can be proven beyond a doubt to be demonstrably
 false.                                                                                                             Mor.   aN\Nk èÌ Lì{q,

                                                                                                                                       see starbuclG' straw-
 "There's a ton of sfuff-- conspimcy theories, misleading claims, cherry pioking - that we k¡¡ow can be
 really proble¡¡atic aíd it bugs me too," Su said. "But we need to figure out aÌvay to reatly defiìe that h a                          free lid
 clear way, a¡d then figure out what our policy and our produot positions are about that.,'


 Emailed for any additior¡âl comment after the event, Facebook spokeswomû¡ Lauretr Sv€nsson said
 qùestions about lnfowars hit "on a very real tension" at the social mediâ company.

                                                                                                                    ffi                Stelter Trump-Fox
                                                                                                                                       alliance is
                                                                                                                                       unprecedeñted




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 "We work hald to find the dght bala¡ce between encouraging ftee expression a¡d promoting a safe and
 authentic community, and we believe that down-ranking inauthentic content strikes fhat balanoe,', she said.                           Giulianli could have
 "ln other words, we allow pçople to post it as a form ofexpression, but we'ae not going to sho\'r' it at the top                      I\¡ueller subpoena
 ofNews Feed."                                                                                                                         'squashed'


  Svensson added, "That said: while sharing fale r¡ews doesn't violate our Community Standa¡ds set of
                                                                                                                    . -Lrfu            Retfiinking how
  policies, we do have stmt€gies in place to deal with actors who rcpeâtedly sha¡e false news. Ifcontent from
  a Page or domain is repeâtedly given a'false' rating 1¡oûl oü third-party fact-checkers ._. we remove thei¡
                                                                                                                    ::,?åg?;:#"---     Trump's rallies are
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  monetizâtion and advertising privileges to cut off financial inceÍtives, and &amatioally reduce the
  dist bution ofall oftheir Pagelevel or domainlevel content on Facebook."

  It should be noted that Facebook has taken actìon ûgainst pages that have spread false news n
  the påst. ln October 2017, when CNN notified Facebook that t\ivo pages had shared a debunked
  story about a Seattle Seahawks player, a spokesperson for Facebook totd CNN it had removed
  the pages for violating its policies. The spokesperson at the time did not sây which poticies had
  been violated, but added, "All posts that have been re-shared from the Pages we unpublished
  wlll also be removed (as a result ofthe Page being taken down)."                                                  Top Bank Announces 1.ó5% APY
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  In reoent mor¡ths, Infowa¡s has been dr¡wn into the spodight. For yea¡s, the outlet opsrated in th€ da¡k
  come¡s ofthe Internet, spreading conspiracy theories without facing much scrutiny. But as tech giants now         Want a st¡ess-free retirement? Talk to a
  grappl€ with how to prevent their platfoms ftom being used to spread fake news a¡d false info¡mâtion,             fi¡ancial advisor
  Infowars has found itselfunder pressure.
                                                                                                                    ls a Money Market Account or CD Right
  Eârlier this year, YouTub€ gave the oudet at least one fomal strike ¡gainst its la¡gest aooount, warûi¡g that     for You?
  ifit rec€ives three sfikes the social video company will ban it from its platform.

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  black people barbecuing. This is...                        major financ¡al mistake




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 Glasses-Wearers Are                        Crazy                 Top 5 Trusted Antiv¡rus
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       NEIL HESLIN,                                 s                     IN DISTRICT COURT OF
         Plaintiff                                  s
                                                    s
       VS.                                          s                  TRAVIS COUNTY, TEXAS
                                                    s
       ALEX E, IONES, INFOWARS, LLC,                s
                                                                      291sf- orsrnrcr couRT
       FREE SPEECH SYSTEMS, LLC, and                s
       OWEN SHROYE&                                 s
         Defendants                                 s


              PLAINTIFF'S ORIGINAL PETITION AND REQUEST FOR DISCLOSURE


             Plaintiff NEIL HESLIN files this original petition against Defendants, ALEX

       IONES, INFOWARS, LtC, FREE SPEECH SYSTEMS, LLC, and OWEN SHROYER, and

       alleges as follows:

                                     DISCOVERY CONTROL PLAN

              1.     Plaintiff intends to seek a customized discovery control plan under

       Level 3 of Texas Rule of Civil Procedure 190'4'

                                                PARTIES

              2.      Plaintiff Neil Heslin in an individual residing in the State ofConnecticut.

              3.      Defendant Alex E. fones is a resident ofAustin, Texas' He is the host of

       radio and web-based news programing, including "The Alex Jones Show," and he

       owns and operates the website InfoWars.com. Mr. Jones can be served at his place of

       business, InfoWars,30L9 Alvin Devane Blvd., Suite 300-350, Austin, TX 78741.




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               4.     Defendant lnfoWars, LLC is a Texas limited liability company with

       principal offices located in Austin, Texas.    It   may be served at the address of its

       attorney, Eric Taube, at 1.00 Congress Avenue, l8t¡ Floor, Austin, TX 78701.

               5.     Defendant Free Speech Systems, LLC          is a Texas limited liability
       company with principal offices located in Austin, Texas.        It may be served at the
      address of its registered agen! Eric Taube, at 100 Congress Avenue, 18th Floor,

      Austin, TX 78701".

               6.     Defendant Owen Shroyer is an individual residing in Travis County. At

      all times relevani to this suit, Mr. Daniels has been a reporter for lnfoWars, Mr.

      Shroyer can be served at the address of his employer, lnfoWars, 3019 Alvin Devane

       Blvd., Suite 300-350, Austin,TX   7   87 41.


                                       JURISDICTION & VENUE

               7.     The damages sought in this case exceed the minimum jurisdictional

      limits of Travis County District Courts.

               B.     Venue is proper in Travis County, Texas, because a suit for damages for

      defamation may be brought in the county in which a defendant resided at the time

      of filing, or the domicile of any corporate defendant, at the election of the plaintiff.

      .9ee   Tex. Civ. Prac. & Rem. Code 515.017,

                                      FACTUAL BACKGROUND

               9.     Plaintiff Neil Heslin is the father of deceased minor   J.L., a   victim of the

      December 14, 2012 Sandy Hook Elementary School Shooting.
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                10.     This case arises out of accusations by InfoWars in the summer of 2017

      that Plaintiff was lying about whether he actually held his son's body and observed                                   a

      bullet hoìe in his head. This heartless and vile act of defamation re-ignited the Sandy

      Hook "false flag" conspiracy and tore open the emotional wounds that Plaintiff has

      tried so desperately to heal.

                11.     This conspiracy theory, which has been pushed by InfoWars and Mr.

      Jones since the day of the shooting, alleges that the Sandy Hook massacre did not

      happen, or that        it was staged by the government and concealed using actors,                             and

      that the parents ofthe victims are participants in                  a   horri$ring cover-up.

                t2.     During the June 18, 2Qt7 proftle of Jones for her NBC show .9unday

      Níght with Megyn Kelþ, Ms. Kelly interviewed Plaintiff about the cìaims made by

      lones in the past, including that "the whole thing was fake" and "a giant hoax."r

      Addressing this hateful lie, Plaintiff told Kelly, "l lost my son. I buried my son. I held

      my son with a bullet hole through his head."z

                13.     0n June 26, 201,7, InfoWars' broadcast featured a segment hosted by

      reporter Owen Shroyer in which Shroyer claimed to have reviewed evidence

      showing it was impossible for Plaintiff to have held his son and see his injury.

                14.     During the broadcast, Shroyer said, "The statement [Plaintiffl made,

      fact-checkers on this have said cannot be accurate. He's claiming that he held his son




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       and saw the bullet hole in his head. That is his claim. Now, according to a timeline of

       events and a coroner's testimony, that is not possible."3

                  15.      As support for these defamatory statements, Shroyer played video

       footage where the local medical examiner informed reporters that the slain students

       were initially identified using photographs rather tlran in person.

                  16.      Shroyer also stated, "You would remember ifyou held your dead kid in

       your hands with a bullet hole. That's not something you would iust misspeak on."4

                  L7,      Stroyer continued by stating that Plaintiff was "making                  a   pretty

       extreme claim that would be a very thing vivid in your memory, holding his dead

       child."s

                  18.      "The conspiracy theorists on the internet out there have a lot of

       questions are that are yet to be answered. You say whatever you want about the

       event, that's just a fact"a

                  19. At the conclusion of his report, Shroyer stated, "Will there be a
       clarification from Heslin or Megyn Kelly? I wouldn't hold your breath. [Laugh].                     So

       now they're fueling the conspiracy theory claims. Unbelievable."T

                  20.      The underlying point or gist of Shroyer's report is that Plaintiffs

       version "is not possible" and "cannot be accurate," and that Plaintiff was lying about

       the circumstances ofhis son's tragic death for a nefarious and criminal purpose.

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                      21.            Shroyer's report was manifestly false. In addition, a minimal amount of

      research would have caused any competent iournalist not to publish the defamatory

      accusation. According                                to contemporary news accounts, the bodies of the victims

      were released from the medical examiner into the custody ofthe families.B Funerals

      where the children's bodies were in the custody of their parents were widely

      reported on by the press.e

                      22.            On July 20, InfoWars programming featured a segment hosted by Alex

      Jones          in which Shroyer's report was re-broadcast in full. When introducing the

      segmen! Jones demanded that Plaintiff "clarifli" what actually happened.

                     23.             After showing the segment, fones said he told Shroyer, "l could never

      find out. The stuff I found was they never let them see their bodies. That's kind of

      what's weird about this. But maybe they did. So I'm sure ids all real, But for some

      reason they don't want you to see [Shroyer's segment].'10

                     24.             Regarding the Sandy Hook shooting, Jones said, "Can I prove that New

      Haven [sic] didn't happen? No. So I've said, for years, we've had debates about it,

      that I don't know. But you can't blame people for asking."rr

                     25.             Mr. |ones was lying. [n the five years following the tragedy, he             has

      repeatedly and unequivocally called the Sandy Hook shooting a hoax.


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                BACKGROUND TO INFOWARS' 2017 DEFAMATORY STATEMENTS

               26.      In order to appreciate the full defamatory impact and the extent ofthe

       mental anguish caused by InfoWars' 2017 statements, it is necessary to understand

       InfoWars' long history of harassing the Sandy Hook parents with defamatory lies.

       InfoWars' 2017 statements are but the latest                          in a series of     false, hurtful, and

       dangerous assertions about Plaintiff and the parents of the other victims.

               27.      In 2013, Jones called the shooting "staged" and said, "lt's got inside job

       written all over     it."12

               28.      In March 2014, Jones said, "Folks, we've gotvideo of Anderson Cooper

       with clear blue-screen out there. [Shaking head], He's not there in the town square.

       We got people clearly coming up and laughing and then doing the fake crying. We've

       clearly got peopìe.where it's actors playing different parts for different people, the

       building bulldozed, covering up everything. Adam Lanza trying to get guns five

       times we're told. The witnesses not saying                       it   was him...l've looked at             it   and

       undoubtedly, there's a cover-up, there's actors, they're manipulating, they've been

       caught lying, and they were pre-planning before it and rolled out with iL"ts

                29.     In May 2014, InfoWars published an article titled:                         "CONNECTICUT

       TRIES TO HIDE SANDY HOOK TRUTH.,l4




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               30.     In September 2014, InfoWars published an article titled: "FBl SAYS NO

       ONE KILLED AT SANDY HOOK."1s

               3I.     ln December 2014, fones said on his radio program, "The whole thing

       is a giant hoax, How do you deal with a total hoax? It took me about a year, with

       Sandy Hook, to come to grips with the fact that the whole thing was fake. I did deep

       research."16

               32,     In the same December 20L4 broadcast, Iones continued: "The general

       public doesn't know the school was actually closed the year before. They don't l<rtow

       they've sealed it all, demolished the building. They don't know that they had the kids

       going in circles in and out ofthe building as a photo-op. Blue screen, green screens,

       they got caught using,"17

               33.     Jones made similar comments               in January 2015, stating on InfoWars:

       "You learn the school had been closed and re-opened. And you've got video of the

       kids going in circles, in and out of the building, and they don't call the rescue

       choppers for two hours, and then they tear the building down, and seal it. And they

       get caught using blue-screens, and an email by Bloomberg comes out in a lawsuit,

       where he's telling his people get ready in the next 24 hours to capitalize on                               a

       shooting. Yeah, so Sandy Hook is a synthetic, completely fake                        witl   actors, in my

       view, manufactured.         I   couldn't believe      it at first. I knew they         had actors there,

       clearly, but I thought they killed some real kids. And it iust shows how bold they are

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      that they clearly used actors. I mean they even ended up using photos ofkids killed

      in mass shootings here in a fake mass shooting in Turkey, or Pakistan. The sky                                           is

      now the limit."18

                     34.     Mr. Jones' statement about Pakistan refers to a conspiracy theory fones

      helped spread involving deceased minor child N.P., a Sandy Hook victim whose

      photograph appeared at vigil for children slain a school attack in Peshawar. On the

      day of the Peshawar incidenl a Pakistani woman created a collage of photographs

      ofyoung people killed in school attacks and posted it to Facebook with the caption

      "They Went to School and Never Came Back."ls Because the Peshawar shooting

      occurred very close to the anniversary ofthe Sandy Hook massacre, she included a

      picture of a child from the latter even! along with pictures of Peshawar victims.zo

      That collage was then printed out and cut up into the individual photographs

      displayed by mourners at a vigil for the Peshawar victims.zl

                     35.    In the same month, January of 2015, InfoWars published an article

      titled: "MYSTERY: SANDY HOOK VICTIM DIES (AGAINJ IN PAKISTAN."2z The arricle

      states: "A large-scaìe attack on a school in Peshawaç Pakistan, last month left L32

      school children and 10 teachers dead. Among the alleged victims emerged the

       familiar face of [deceased minor N.P.], one of the children supposedly killed in the

       December 2012 Sandy Hook school shooting in Newtown, Connecticut" InfoWars'

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      story was meant to reinforce Mr. f ones'persistent lie that N.P. and the other victims

      ofthe shooting, such as Plaintiffs son              J.L., are   not real.

                 36.      In July 2015, Mr, fones stated on InfoWars: "But you've got green-

      screen with Anderson Coope¡ where I was watching the video, and the flower and

      plants were blowing in some of them, and then they blow again the same way. It's

      looped. And then his nose disappears. I mean, it's fake. The whole thing is...l don't

      know what happened. It's kind of like if you see a hologram at Disney World in the

      Haunted House. You know? I don't know how they do it, but it's not real. When you

      take your kids to see the Haunted House and ghosts are flying around it's not real,

      folks. It's staged. I mean, a magician grabs a rabbit out of his hat. I know he's got a

      box under the table that he reaches in and gets the rabbit. I don't know what the

      trick is here. I've got a good suspicion. But when you've got Wolfgang Halbig.,.He

      believed it was real. People called him. He went and investigated. No paperworþ no

      nothing. It's bull. And now an FBI retired agent, who retired, you know, with

      decorations. I mean, InfoWars reporter Rob] Dew, this unprecedented."23

                 37. In the same month, InfoWars                       published an article titled: "MEGA

      MASSIVE COVER UP: RETIRED FBI AGENT INVESTIGATES SANDY HOOK.,,24

                 38.     In January of 20L6, Florida resident Lucy Richards left threatening

      voicemail messages and sent violent emails to Leonard Pozner, a fellow Sandy Hook

      parent and personal friend of Plaintiff Neil Heslin. The threats included messages


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      stating: "you gonna die, death is coming to you real soon" and "LOOK BEHIND YOU

      IT IS DEATH."25 When Richards was later sentenced, Senior                               U.S.     District Judge James

      Cohn stated: "l'm sure [Leonard Pozner] wishes this was false, and he could

      embrace [N.P.], hear [N.P.'s] heartbeat and hear [N.P,] say                               'l    love you, Dad'...Your

      words were cruel and insensitive. This is reality and there is no fiction. There are no

      alternative facts."26 As part of her sentence, Ms. Richards will not be permitted to

      access a list of conspiracy-based websites upon her release, including InfoWars.zT

      Ms. Richard's arrest and sentencing are an ominous reminder to the Plaintiff of the

      danger posed by InfoWars' continuing lies about Sandy Hook.

                     39.     In November 2016, Mr. Jones appeared on InfoWars and ranted about

      false Sandy Hook claims for twenty minutes,28

                     40.     During the November 20L6 video broadcast, Mr. fones stated: "That

      shows some kind of cover-up happening. And then I saw Anderson Cooper                                              -     I've

      been in TV for twenty-something years, I know a blue-screen or a green-screen --

      turn and his nose disappeared. Then I saw clearly that they were using footage on

      the green-screen looped, because it would show flowers and other things during

      other broadcasts that were moving and then basically cutting to the same piece of




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       footage..,Then we see footage of one of the reported fatlers of the victims, Robbie

       Parker, doing classic acting training."zs

                 47.   The gist of these statements was that the Sandy Hook parents,

       including Plaintiff Neil Heslin, are participating in a sinister manipulation plan to

       fool the public.

                 42.   During the November 2016 broadcast, Jones played video footage of

      Anderson Cooper interviewing Sandy Hook parent Veronique De La Rosa, at which

      point Jones stated: "We point out clear chromakey, also known as blue-screen or

      greenscreen being used, and we're demonized. We point out that they're clearly

       doing fake interviews."3o This false statement was likewise used to support Mr.

      Jones' vicious lie.

                 43.   Towards the end of the November 2016 broadcast, Mr. Jones stated:

      "Why should anybody fear an investigation? If they have nothing to hide? In fact,

      isn't that in Shakespeare's Hamlet? Methinks you protest too much...This particular

      case, they are so scared of investigation. Everything they do ends up blowing up      in

      their face, so guys are going to get what you want now. I'm going to start re-

      investigating Sandy Hook and ever¡hing else that happened with it,"31

                 44.   Mr. lones concluded the video by stating: "So, if children were lost at

      Sandy Hook, my heart goes out to each and every one of those parents, And the

      people who say they're parents that I see on the news. The only problem is, I've

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      watched a lot of soap operas. And I've seen actors before. And I know when I'm

      watching         a   movie and when ['m watching something real,"az

                  45.       The November 2016 video broadcast was entitled, "Alex Jones Final

      Statement on Sandy Hook " It was Plaintiffs hope that the title was accurate, and

      that Mr, Jones would fìnally end his reckless attacks on the Sandy Hook parents and

      his assertions that they were liars and actors engaged in a fraud on the American

      people.

                  46.       As horrifying as the November 20L6 broadcast was, its promise of

      being the "Final Statement" gave hope                                   to Plaintíff that his harassment   and

      defamation by Mr. f ones might be coming to an end after four long years.

                  47.       Those hopes were soon dashed. Instead, InfoWars made continuing

      defamatory comments in 20L7 as outlined above,

                  48.       Mr. fones also made additional comments in April of 2017 which

      repeated the claims which form the rickety structure of Mr. Jones' colossal lie about

      Sandy Hook including the allegation that fellow Sandy Hook parent Veronique De La

      Rosa conducted a fake interview with Anderson Cooper                                 to hide the truth, while
      telling his viewers not to "belÍeve any of it,"33




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                                     of 692




                  49.     On June 78, 2017, Mr. Jones made additional comments when

      interviewed by Megyn Kelly, during which he stated: "l do think there's some cover-

      up and some manipulation."34 The following exchange took place:

                                  MEGYN KELLY: But AleX the parents, one after the
                                  other, devastated. The dead bodies that the coroner
                                  autopsied...

                                  ALEX JONES: And they blocked all that. And they won't
                                  release any of it. That's unprecedented.3s

                 50.      Jones and Kelly also had the following exchange;

                                  JONES: But then  what do you do, when they've got the
                                  kids going in circles, in and out of the building with
                                  their hands up? I've watched the footage. And it looks
                                  like a driìI.

                                  MEGYN KELLY: When you say, "parents faked their
                                  children's death," people get very angry.

                                  ALEX f0NES: Yeah, well, thât's - oh, I know. But they
                                  don't get angry about the half million dead lraqis from
                                  the sanctions. Or they don't get angry about all the
                                  íllegals pouring ín.ro

                 51.     Shortly following the Megyn Kelly interview, on June 26, Z0t7,

      lnfoWars reporter Owen Shroyer made the defamatory statements referenced

      above,

                 52.     As such, the broadcasts made by InfoWars on June 26,20IT and July

      20,20L7 defaming Mr. Heslin did not occur in isolation. Rather, the statements were

      a continuation and elaboration of a years-long campaign to falsely attack                                   the

      3a   https://www,.oalclearpditics.corr/yide(V2   0] 7 /06/18/tulÌ videÐ me.gyn keÌly illteqviCws alex jones.htm¡
      3s ld.
      36 Id,



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      honesty of the Sandy Hook parents, casting them as participants             in a   ghastly

      conspiracy and cover-up.

             53.       By making renewed accusations about Plaintiff in 2017, InfoWars

      breathed new life into this conspiracy and caused intense emotional anguish and

      despair. For that reason, Plaintiff brings this suit against Defendants.

                                          CAUSE OF ACTION

      I.     Defamation and Defamation Per.Se

             54.    AII previous allegations are incorporated by reference.

             55.       Plaintiff is a private individual and is neither a public official nor   a

      public figure.

             56.    The fune 26,2017 and July 20,20L7 broadcasts by Defendants were

      false, both in their particular facts and in the main point, essence, or gist in the

      context in which they were made.

             57.    The June 26, 2017 and July 20, 2017 broadcasts by Defendants, while

      defamatory in their own right, were also continuations and elaborations of an

      underlying defamatory assertion which Defendants have advanced since 2013,

      namely that Plaintiff has lied to the American people about the death of his son and

      has participated in a horri$ring criminal cover-up.

             58. In viewing the fune 26, 2Ol7 and fuly 20, 2017 broadcasts, a
      reasonable member of the public would be justified in inferring that the publications

      implicated the Plaintiff.


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             59.      The June 26,20L7 and July 20,20L7 broadcasts were also defamatory

      because they are reasonably susceptible to a defamatory meaning by innuendo. A

      reasonable person, reviewing the statements         in   question, could conclude the

      Plaintiff was being accused of engaging in fraudulent or illegal activity. In context,

      the gist of the statements could be construed as defamatory to the Plaintiff by an

      average member of general public.

             60.      Defendants' defamatory publications were designed to harm Plaintiffls

      reputation and subiect the Plaintiff to public contemp! disgrace, ridicule, or attack.

             6L.      Defendants acted     with actual malice.     Defendants' defamatory

      statements were knowingly false or made with reckless disregard for the truth or

      falsity of the statements at the time the statements were made.

             62.      Defendants' defamatory statements were not privileged.

             63.      Defendants' defamatory statements constitute defamation per se. The

      harmful nature of the defamatory statements is self-evident. The defamatory

      statements implicate the Plaintiff in heinous criminal conduct. False implications of

      criminal conduct are the classic example of defamation per   se.


             64.      Defendants publicly disseminated the defamatory publications to an

      enormous audience causing significant damages to the Plaintiff.

             65.      Defendants' defamatory publications have injured Plaintiffs reputation

      and image, and they have exposed Plaintiff to public and private hatred, contempt,

      and ridicule.


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            66.    In light oftheir prior experience with these kind ofreckless statements,

      Defendants knew that their publication could cause Plaintiff to suffer harassment

      and potential violence.

            67.    Defendants' defamatory publications have and will continue to cause

      harm to Plaintiff. Due to Defendants' conduct, the Plaintiff has suffered and

      continues to suffer substantiâl damages in an amount to be proven at triâl.

      In.   Conspiracy

            68.    All previous allegations are incorporated by reference.

             69.   Defendants acted togethe¡ as a cabal, to accomplish their campaign of

      defamation. Defendants had a meeting of tle minds on the obiect or course of action

      underlying their pattern of recklessly defamatory publications.

            70.    As a result of this meeting of the minds, Defendants collectively

      committed the unlawful overt acts detailed above.

            7I.    Defendants are jointly and severally liable for the iniuries Mr. Heslin

      suffered due to Defendants' wrongful actions,

      lV.   RespondeatSuperior

            72.    Alì previous allegations are incorporated by reference.

            73.    When InfoWars employees acted        in the manner    described   in   this

      Petition, they did so as agents of InfoWars and within the scope of their authority

      from Mr. Jones.




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             74.    InfoWars and Alex Jones are liable for the damages proximately caused

      by the conduct of employees and agents, including Owen Shroyer, pursuant to the

      doctrine oÎ respondeat superior,

                                                DAMAGES

             75,    Plaintiff has suffered general and special damages, including a severe

      degree of mental stress and anguish which has disrupted his daily routine and

      caused a high degree of psychological pain.

             76.    Plaintiff has also suffered damage to his reputation and image, both up

      to the present and into the future.

             77.    Because Defendants' conduct amounts to defamation per se, Plaintiffis

      also entitled to an award of presumed damages.

             78.    Plaintiff is also entitled to an award of nominal damages and         a


      iudgment clearing his name.

             79.    Plaintiff is also entitled to exemplary damages because the Defendants

      acted with malice.

            80.     Plaintiff is also entitled to pre-judgment and post-judgment interest,

      costs of court, and attorney's fees,

            81.     Pursuant to Rule 47 of the Texas Rules of Civil Procedure, Plaintiff is

      seeking relief in excess of $1,000,000.




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                                                  JURY DEMAND

              82.    Plaintiff demands       a   iury trial and tenders the appropriate fee with this

       petition.

                                     REQUEST FOR DISCLOSURE

              83.    Plaintiff requests that Defendants disclose, within 50 days of the

       service ofthis request, the information or material described in Rule 194.2.

                                                     PRAYER

              WHEREFORE PREMISES CONSIDERED, Plaintiff Neil Heslin asks that the

       Court issue citation for each Defendant to appear and answer, and that Plaintiff be

       awarded all the damages set forth above, and to grant whatever further relief to

       which Plaintiff is justly entitled.



                                                      Respectfully submitted,

                                                      KASTER LYNCH FARRAR & BALL,          LtP


                                                         lflw¿
                                                      MARK D. BANKSTON
                                                      srate Bar No, 2407L066
                                                      KYLE W, FARRAR
                                                      State Bar No. 24034824
                                                      WILLIAM R. OGDEN
                                                      stare Bar No. 24073531,
                                                      1010 Lamar, Suite 1"600
                                                      Houston, Texas 77002
                                                      7 L3.22L"83 0 0 Telephone
                                                      7L3.22L830LFax



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      WATCH ] Speaker Ryan is open               t.'.=o.'      eu'!'l,.rv!^ vo',

      Shônnon Watts, a mother of five who became ô gun conlrol activist ¡n the wake of the shooting at Sôndy Hook Elementary School,
      thought her ddvocacy work was goÌng lo be over shortly ôfter it began.


                                                                                            On Dec. 15,2012, the day ôfter 20 students and six educators were
      lnterested in Gun Control?                                                            killed by a shooter in Newtown, Connect¡cut, she started a Facebook
      ad.t GLn Cont.ol ôe ân i¡teresl to sl¡y Lrp lo dnte on liìe latest   GLrn Control     group that eventuôlly becðme Moms Demand Act¡on for Gun Sense         ¡n

      rìew!, video. and ¿ñôlysìs from ÂaC News                                              Amer¡ca.
                                                                           + aod lnlc¡egr

                                                                                            "l have never been impacted by gun violence personally''' Watts' who
                                                                                            lives in Colorado, told ABC News. "l was just incredibìy angry after the
                                                                          Sôndy Hook shooting because lwas seeing pundits on television
      saying the solution to the horrif¡c tragedy there was arming teachers. And just as an Amerícan and as a mom, I knew that wêsn't right"


                    thought the kill¡ng of children and teachers would be a turning point in the fight for gun control. But months lêter' two
      N¡any, like her.
      major pieces of legislôtion - the Assault Weapons Ban of 2013 and the Manchìn-Ioomey Amendment, which would have required
      universal background checks for firearm sales - failed to pass the Senate.



  https://abcnews.go.com/US/gunlaws-changed-years-sandy-hook/story?¡d=51668726                                                                                     1t22
7t12t2018                       How       have       in the 5gun laws         changed             years since Sandy Hook - ABC News
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    "t cðn remember th¡nkin9, 'Our        work here is done. We trìed really hard, ônd we weren't able to pass this lôw,"' Wôtts sa¡d of the l\4anch¡n-
    Toomey Amendment's fa¡lure.


    But rather than quit the fìght, she sa¡d, her group and "all of these br¡lliant, type-A women" who were motivated to change lôws after the
    shootìng instead "started pivoting to the states."


    Tðking it to the states

    The state level ¡s where the mðjority of the act¡on on gun legislation hês happened ìn the pâst five yeârs. All told, since Sandy Hook,
    there have been 210 laws enacted to strengthen gun safety, accordìng to the Giffords Law Center to Prevent Gun Violence.


    That includes background check laws ¡n four stôtes thôt didn't have ihem before ênd expansions of ex¡sting background check laws in
    seven others, bringing the total to 18 states ônd the D¡strict Õf Columb¡a with background checks ¡n place, according to the center.




  https://abcnews.go.com/US/gun-ìaws-changed-years-sandy-hooldslory?id=5166872ô                                                                           tDt
7t12t2018                                                                  How gun laws have changed in the 5 years since Sandy Hook - ABC News
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    "Now 49 percent of Amer¡cans l¡ve in stôtes with expanded background check laws," sðid Avery Gard¡ner, a co-pres¡dent ofthe Brady
    C<lmpaign tg Prevent Gun V¡olence.


    "ln some stales, people are considerôbly safer thên they were five years ago from gun violence, but that's not true ôt the federal level.
    Overôll as a nation, people are dylng at far too greôt a rate," Gardiner ãdded.


    Watts is far from alone ¡n being motivated to act ôfter Sandy Hook. Chris Murphy, D-Conn., was elected to move up from the House of
    Representatives to the Senate five weeks before the shooting. He sa¡d he was standing on a train platform on his way to Manhatlan to
    têke his young children to see the Rockettes when he learned what happened,


    "lvy l¡fe changed in December 2012. lt's not that I wêsn't emotionôlly connected to the ¡ssues I worked on prior to Sandy Hook, but there's
    someth¡ng diflerent when 2O schoolk¡ds are murdered in your backyard," he told ABC News.




 https://abcnews.go.com/US/gunlaws-changed-yôars-sandy-hooldstory?id=51668726                                                                           3t22
7t12t2018                              laws  changed ¡n the 5          How gun            have
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   "l\4y kids were        just a little bit younger than the kids thôt were killed, so this was personal," he added.


   Over the course of the past five years, Murphy has been outspoken in his calls for gun sôfety. ln the last                                          '12   months alone, he has
   sponsored one piece of federôl legislôt¡on and co-sponsored nine other bills related to guns.


   But federal legìslation ¡s not where gun control advocates have seen the most success. He pointed to state-level lôws, elêct;ng politicians
   who support tightened gun laws, and ballot referendums as meaningful wðys thôt changes have been made.




      HOW BACKGROUND CHECKS CHANGED
             AFTER SANDY HOOK
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                           *   ruevaon pAssED BACKGRoUND cHEcK MEAsuRes tN 2016 BUT THEv HAVE
                               NOT YET BEEN ENACTED.

     GNpws                                                         ant ¡r¡a.
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7t12t2018                                                How gun laws have changed in the 5 years since Sandy Hook - ABC Nows
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                                               of 692
    -^
  "We've found tl-ìat referendums are a very potent tool," Murphy sa¡d.


  Referendums ernd ballot initiatives were what led to major chônges in certôin states, with all but one gun regulation relaled measure
  pôssing.


   Bôckground checks were pâssed in Wêshington and Nevôda, ôlthough the Nevôda lôw has yet to be enacted. A referendum in Côlifornia
   led to ô number of regulôtion expansions, including background checks on certaìn ammunìt¡on purchases and requirements for reportÍng
   lost or stolen fìreêrms. The referendum that failed was a bôckground check meôsure in Maine.


   "Change is going to be very hard in Washington, ônd I think ìt's likely that werre going to cont¡nue to look at referendums as a way to
   make change," Murphy said.




    anveálvewofrhe.rh'blloofôrtheN¡lo.ôlRillcassocôl¡.¡s(NRA)ð¡{ràrmeetrngtândexhibrrsshow¡Lorr¡s!¡lleKenl!.,,m.ro1.



    Wns for Second Amêndment ådvocôtes

    lhe   2O13 fôilures of the Assault Weapons Ban and              the lvlanchin-Toomey Amendment stônd out as the tvvo biggest blows to federal 9un
    control leqislation, but guD rights advocates have celebrated other leg¡slative wins since the Sandy Hook shooting as well.


    A Nôtionâl Rifle Association spokesperson said that while the group and its members feìt that they were playing defense during the
    Obama adminÌskation, they now can switch to offense w¡th the Republicôn major¡ties ìn the House and Senôte and Donald Trump in the


 https://abcnews.go.com/US/gun-laws-changed-years-sandy-hook/slory?¡d=51668726                                                                          6t22
711212018                                                              How gun lawð have changed in the 5 years since Sandy Hook - ABC News
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 White House, Trump has mêde hìs support of the NRA ¿lear, becoming
                                                              of 692the first president since Ronald Re.rgan to acldress the group as
 president.


 N4ost recently, the House of Representatives passed the Concealecl Cðrry Recip.ocity Act, allowing people who hôve ô concealed carry
 perr¡it from one stôte to use it ¡n all other states. The NRA hô¡led ¡t as ô vìctery on Dec. 6.


 "This vote marks a wôtershed rnoment for Second Amendment rights," Chris Cox, the executive dìrector of the NRAs lnstitute for
 Legislat¡ve Actìon, saicl in ô statement.




  Pr.s'dÉnt Þo¡ôid T uñp srândr w I ì Nâlro   È   R   I e /\ssociðuo r (NRAI Pres .ren1 Wâynô   LaPierc.   r¡Oht,   ðnd NRA ILA [xccufve Þk,,, morê +




  He went on to côll the act's pôssêge in the House "the culm¡nation of a 3o-year movement recogniz¡ng the rìght of all law-abiding
  Americans to defend themselves and their loved ones, ìnclud¡ng when they cross state lines."


  Aside from the Concealed Carry Reciprocity Act, an NRA spokesperson told ABC News, lrump's appointment of Supreme Court Just¡ce
  Neil Gorsuch, Attorney Generol Jeff Sessions ônd lnterior Secretary Ryan Zinke were ôll victorìes for Second Amendment supporters.


  Gorsuch's appointment is seen as ô w¡n in that during his 2017 conf¡rmation hearÌng, he called the Supreme Court's decìsion in District of
  Colunìbia v. Heller "the law of the land." ln that case the Supreme Court ruled in 2008 that a handgun ban in Washington, D.C., stipulating
  th.ìt guns be kept unloaded ând dìsassembled vìolðted residents' rights to bear arms in their homes for self-defense. Gun rights
  advocates worried before the 2016 pres¡dential election that if Hillôry Clinton won, she would appoint a justice w¡th a nôrrower v¡ew of
  the Second Amendûìent.



httpsrl/abcnews.go.com/US/gun-laws-changed-years-sandy-hoaUstory?¡d=51668726                                                                            7t22
7l'l2l2Ù1A                                   How gun laws havo changed in the 5 years since Sandy Hook - ABC News
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   Zinke and Sessions have rolled back gun regulations ¡n their departments.
                                                                  of 692

  Zinke signod an order in September thôt expanded hunting and fishing and types of ômmunition âllowed on federðl lands. The order wôs
  met with praise from gun rights groups.


  ln October, Sessions' Justice Department nðrrowed the federal definilion of "fugit¡ve from justice" to ôpply only to people with
  outstênding arrest warranìs who cross statê lines, as opposed to those who rema¡n ¡n the slôte where they êre wanted, according to a
  memo that has been verified by a DOJ officiôl for ABC News.


  With thôt narrower def¡nition, tens of thousônds of names were removed from the FBI's Nôtional lnstanl Crimìnal Bôckground Check
  System, or NICS, which ¡s used to determine whether someone is prohibited under federal law from buying firearms.


  A DOJ off¡cial told ABC News that since chônging the def¡nition, the FBI's criminaljustice information systems div¡sion has issued further
  guidance to those who ¡nput fugitive dôta into the bôckground check system.


  "The Justice Department is committed to working w¡th law enforcement partners across the country to help ensure that all those who côn
  legally be determined 10 be prohibited from receiving or possessing a fìrearm be included in federal cr¡minal databases," the officìal said.


  GL¡n   control advocates, like Gardiner at the Brady Campêi9n, are opposed to the change to the def¡nition of   a   fugitive.


  "Why would you make it eôsier for people who are fleeing pol¡ce to buy guns?" Gard¡ner asked.




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                                                                     ABC                                                                                         News
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 Rate of change                            of 692
 Laura Cutillettê has worked ôt the Law Center to Prevenl Gun Violence for '15 yeôrs. The group joined with former Rep. Gôbby Giffords in
 the wôke of Sandy Hook ênd is now known as the Giffords Law Center to Prevent Gun Vìolence. Cutìlletta said she has notìced a definite
 chônge ¡n attitudes about guns the lôst five yeôrs.


 "The public, even though they've always been in support of strengthening gun laws, it hasn't aìwâys been obvious to the publ¡c just how
 bêd our gun laws ôre," Culilletta told ABC News. "So when Newtown happened, people couldn't help but notice because it wôs such ô
 horrific event, and people became more educated, more ôware, and became mobilized to do something about it."


 Thôt was the case for Wôtts, whose group, Mgms Demônd Action for Gun Sense in America, now has 4 mìllion members ônd chapters in
 each stête.


 And it was the case for Murphy.


 "l'm embarrassed by the fact lhôt I didn't work on the issue of gun violence before Sandy Hookl' he said, adding that it makes him want to
 "k¡ck himself" for not act¡ng on the ¡ssue sooner.


 "My eyes were opened to the broôder ep¡demìc atter Sandy Hook," lvlurphy added.


 Coïect¡an: A prev¡ous verslon of th¡s story m¡sstated the name of Watts' gtoup. lt                                             ¡s   Moms Demond Act¡on for Gun Sense ¡n Amer¡co.



 Sponsored Stqrles




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                  Could Prês¡deñt Trump
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                                               NATO members




   FBI agent who sent anti-Trump texts defiantly fends off GOP
   attacks
   By LUCIEN BRUGGEMAN, aENJAMIN SlEgEl.nd MIKE LEVINE

   .ll¡ 12 2018 8:?0   PN4   Ef




    WAÎCH       i   FBI ðgent test¡f¡es on Câp¡tol          Hillover ônti-Trump texts


    F       Strzok, the Fgl agent who senl anti-Trump lexts, engaged in ôngry exchanges with House Republicans Thursday ês he testified for
    the rirst time in publ¡c at          a   joint hearÌng before the House Jud¡ciary ônd Overs¡ght committees,


                                                                                            One of the flrst exchônges begôn when Rep. Trey Gowdy, A South
    lntérested ¡n Russla             lnvestlgat¡on?                                         Carolina Republ¡can, said he "d¡dn't give a dômn" as Strzok tried to
    aad Rrs! ô |nve$¡g¿r¡on os ar illeresi lo sray up !o dare on     The tôtesr   Rlssiâ    explôin thê "context" around the texts inclu(ling onethatsôìd "wewill
    rìvesl,galro ì ne'ws, vicle.o. ô¡d anãlys$ ùorn        Ne',s.                           slop it," referr¡ng to then-candídate Donald frum   p.
                                                    ^BC
     ¡       ¡Jè-n¡i¡:c      r                                         {   Actd   lnloc<t
                                                                                            "l don't appreciâte having an FBI agent w¡th an unprecedented level of
                                                                                            animus working on two major ¡nvestigations ¡n 2016,,'Gowdy sa¡d.


    "What I can tell you is that text ¡n no way suggested that I or the Fgl would tôke any ôction to influence the candidacy of côndidate
    Trump," an an9ry Slrzok replied,


    ln h¡s opening remarks, Strzok told lawmakers that his texts "hôve created confusion and caused pain for people I love" ônd "hêve
    provided ômmL¡nition for misguided attacks against the FBl, an inst¡tul¡on I love deeply and hôve served proudly for more than 20 years."




 https://âbcnews.go.com/US/gun-laws-changed-years-sandy-hook/story?id=51668726                                                                                  10t22
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                                                                        s¡nce Sandy Hook - ABC News                                        years
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              ^:is,sl.


   As he concluded the remarks, he took a shol at Republicôns who hôve harshly cril¡cized him, sôying they were helping Russiðn Pres¡dent
   Vlêdìm¡r Putin.


   "l understônd we ôre living in a political era in which ¡nsults ônd insinuôt¡on often drown out honesty and integrity," Strzok said.


   "l have the utmost respecl for Congress's oversight role, but I strongly believe that todây's hearing                                                         is   just another victory notch in Put¡n's
   belt and ênother milestone in our enemies' campô¡gn to tear America apart," he sô¡d.


   The comm¡ttees êre looking at the actions of the FBI and Justice Depêrtment during the 2016 presidential campaign.


   (MORE: FBI ðgent Peter Strzok to publ¡cly testify on Cap¡tol H¡ll about anti.Trump texts)


   President Donald Truryìp and his supporters have cited Strzok's texts with his former FBI colleague Lisa Page, with whom Strzok was
   having an extrêmarital affair, as evìdence of polit¡cal bias within the FBI during thê 2016 presidential campðign.


   Strzok's ôppearance cême as House Republ¡cans have demanded testimony from Page after she did not comply with a subpoena to
   appear before the comm¡ttee for a closed-door ¡ntervìew on Wednesday. She is scheduled to appear Fr¡day behind ciosed doors. Strzok,
   who led the Hillary Clinton email investigation, spoke to the committee behind closed doors lêst month for almost 1'l hours.


   8:OO p.m. -                 Heôring concludes



 https://abcn€ws.go.com/US/guniaws-changed-years-sandy-hooldstory?id=51668726                                                                                                                             11t22
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                                                              of 692 R-Vo., gaveled out, ending the 10-hour morathon hearing.
 Jusl shy of 8r00 p.m., Judiciary Committee Chairmðn Rep. Bob Goodlatte,


 ,As the hearing wrðpped, the rônklng Democrats on the Judiciary and Oversight Committeos, Rep. Elijah Cumm¡ngs, D-Md., and Rep.
 Jerry Nðdler, D-NY, released a statement côlling Thursday's pðrtisên spectacle "ô giant love letter to President Trump".


 7:30 p.m.   -    Strzok explains '¡nsurðnce policy'têxt


 ln a repr¡eve from the mudslinging that has lôrgely defined the hear¡ng, Strzok took a moment to explain the meaning of ê part¡culafly
 ponderous text he sent Lisa Pôge that has come under scrutìny from those across the political spectrum.


 The text refers to ân "insurônce policy," but lðcks the context neçessary to understand its meanìng    -   mêking it fert¡le ground for part¡sôns
 on both s¡des ot the aisle.


 "l want to belìeve the pôth you threw out for considerôt¡on ìn Andy's office" - the text reôds, referring to then-FBl Deputy Þirector
 Andrew Mccôbe - "that there's no way he gets electêd," - referring to Trump - "But l'm ôfra¡d we can't take that r¡sk. lt's lìke an insurance
 policy in the unlikely evenl you d¡e before you're 40..."


 l\4any Republicans, supporters of President Trump, and even the president, h¡msell have suggested thôt Strzok's "insurance pol¡cy" text
 referred to an FBI plot to prevent Trump from wìnning the 2016 election.


 "The '¡nsurance policy' text that has come up before   that text represented ô debate on information we had received from an
                                                           -
 extrêordinôrily sensitive source ênd method," Strzok sô¡d, going on to descrlbe how one faction of the FBI advocated a measured
 êpproach to investigating poss¡ble Russian collusion.


 "Some people said, 'hey, look, every poll is saying candidôte Trump is likely not to win,"' Strzok said. "Some people said, 'as ô result of
 that, let's not risk that source."'


 Strzok says he represented the other faction within the FBl, advocalìng to ôggressìvely investigate possible connectÌons between
  members of the Trump cêmp and Russians ìn côse Trump won.


  "lf candidate Trump is elected, there might be people we need to be investigatìng that might be nom¡nated to important nðtionðl security
  positions. Everybody in Americô would want to know that. Candidate Trump would want to know thôt, " Strzok sa¡d, concluding lhðt,
  "much like you probably won't die before you're 40, that's the meaning."


  7:OO p.m.   -   Nine hours later, Strzok, GOP members show no s¡gn of letting up


  Nearly nine hours into Thursday's hearing, neither Strzok nor congress¡onal Republ¡cans seem to be letlìng up, continuing to trôde barbs,
  ôccLrsations, and shouts.


  An accusôtion from GOP congressman Rep. Môrk Walker, R-N.C., reign¡ted what has already been an unusually fiery grilling           *   even by
  House hearing h stôndards.


  "This is ân integrity issue," Rep. Walker sêid, discussing the content and volume of Strzok's text messôges,


  When he had a chance to respond, Strzok slammed Rep. Walker's assertion, rô¡sing his voice yet ôga¡n


  "l õm here under oath. I âm not lying. I lìave never lied under oôlh and I never will," Strzok said, "The insìnuat¡on*not even the
  insinuation, the direct comment that you somehow say I have an integrity ¡ssue is insulling. I tðke offense- ll is incorrect."


  With â handful of lawmakers still waiting for their tìme to question the beleôguered former FBI agent, we may very well stretch ¡nto a
  tenth hour.



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  4;45 p.m. - Strzok says Steele dosç¡er wss net the genes¡s of of 692
                                                                FBI's Russia-Trump prqbe


  As the hearing grinds on, members ôppear to be more ¡nterested ¡n pontif¡cat¡ng than asking Strzok any meôn¡ngful questions. One
  moment worth noting, however, was Strzok's response to a quest¡on about how the FBI côme to lôunch their investigation ínto poss¡ble
  connections between some members of the Trump campaign ônd Russ¡a.


  "Was the lsteelel dossier a pêrt ol why you opened up the investigation?" Rep. Ron Desantis, R-Florida, asked.


  "No," Strzok said, before refusing to ônswer follow-up questions regard¡ng other suggested beginnings of the investigat¡on, on the advÌce
  of FBI counsel.


  The so-called Steele dossier is a 35-page document contð¡ning raw intellìgence compiled by former Brit¡sh ¡ntelligence agent
  Christopher Steele,


  Strzok's assertion thôt the Steele dossier was not the reôson why federal authorities opened their investigation underm¡nes whôt many
  Trump supporters hôve claimed and ôffirmed what former FBI D¡rector James Comey told ABC News in an interview earlÌer this yeôr.


  Comey told ABC News the investigêtion began "becôuse of rel¡able information that George Papadopoulos wôs having conversations
  about obtaining informôtion from the Russians."


  Pðpðdopoulos pleôded guilty in October 2017 to rnaking false stðtements and mater¡al omìssions to invest¡gators probìng intelerence in
  the 2016 presiclential election, ¡n relation to his contacts w¡th a London-bôsed professor w¡th t¡es to the Russìan government,


  3:15 p.m.   -   Dems erupt when GOP member discusses Strzok's inf¡delity


   ln perhôps the most contentìous moment of the heôring thus far, Rep, Louìe Gohmert, R-Texas, got personal with Strzok about his affô¡r
   w¡th L¡sa Page   -   ond Democrats cr¡ed foul.




 https://abcnews.go.com/US/gunlaws-changed-years-sandy-hooldstory?id=51668726                                                               13t22
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   "He's ly¡ng. He knows we know he's ìying," Gohmert said. "l've talked to FBI agents around the country. You've embarrassed them. You've
   embârrassed yoursell And I can't help but wonder when I see you looking there wlth a little smìrk is how many times did you look so
   ¡nnocent into your wife's eye and lìe to her ôbout Lisa Page."


   Ìhe Depôrtment of Justice's ìnspector general concluded ¡n their June report that Strzok and                                                               Pôge hôd engaged in ôn extramarital atfa¡r.


   A çhorus of Democrats objected to Rep. Gohmert's remark.


    "Shðme on you," one shouted. "Whêt ls wrong w¡th you?" ônother added. "This ls intolerable," and f¡nôlly "You need your med¡cation.




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       As for Strzok, âll he said was, "Sir, that is quite a set of stôtenìents."


       "l have always told the truth," Strzok added, "The fact that you would accuse me otherw¡se, the fact that you would question whether that
       is the sort of look I would engage in w¡th a fômily member who I have acknowledged hurting goes more to a d¡scussion about your
       charôcter ônd what you stand for."


       2:45 p.m,        *   Tempers flâre âs Dem suggests Strzok deserves a Purple Heârt


       As Republicans continue battering the former FBI agent, at least one Democrat ¡s suggestìng Strzok's performance in front of the
       comm¡ttee wôrrônts commendôtion.


       "lf I could give you a Purple Heôrt, lwould," Rep. Steve Cohen, D-Ienn., said. "You deserve one. This is ôn attack on you and Mr. l\4ueller
       of the investigation thêt's to get Russiô of collusion and fall on our election."


       Moments Iater, after an exchange regarding the so-called Steele dossier, Rep. Jim Jordan, R-Ohio, expressed his frustration when Strzok
       declined to ðnswer.




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      "This is unbelievable," Rep. Jordan sô¡d. "lt's as frustrating as it can get."


      "S¡r, ¡l is as frustrating      to me as it     ¡s   ìo you," Strzok responded, grinning, adding that he wanted to answer the question but could not
      comment on an ongoing investigalion.


      2:15 p.m.      -   cOP's lssô asks Strzok to reâd texts ðloud, Strzok cites Trump NATO comments as the rationðle for 2016 text


       After an hour-long intermission for House votes, members trickled back into the chamber to resume questìoning.


       Only about ô dozen of the 76-member panel have hôd a chônce to question Strzok, thus far.


       ln the first question¡ng after returning from the break, Rep. Darrell lssa, R-Calii, asked Strzok to read aloud from ô selection of his ênti-
       Trump texts handed over to the committee.


       Strzok obliged, delìvering the texts ¡n a monotone voice, adding that "these texts represent personal beliefs" and agô¡n implorlng the
       committee to read the texts within the context of whât Trump was sôying at the time.


       "When I make the comment about Trump having no idea how destabilizìng his presidency would be," Strzok said, "that came on the heels
       of a speech where then-candidate Trump said he didn't know whether the United States should honor its commitmenl to mutuðl defense
       under NATO."



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   lrOO p.m.    -   Hearing continues w¡th contentious question¡n9 fall¡ng âlong pârty l¡nes


   As Thursday's joint hearing grinds on into the afternoon, the content of questioning d¡verges shorply ôlong party lines, w¡th Republicans
   borâting Strzok over his text messages and Þemocrôts lamenting GOP colieagues' accusations of FBI biôs aga¡nst President Trump.


   Ouestioning from both s¡des, however, remôins contentious.


    During his allotted time, Rep. John Ratcliffe, R-Texas, accused Strzok of "hating" pres¡dent Trump, asking:            ?re you starling to understand
    why some folks oul there don't believe a word you say?"


    Before Strzok fin¡shed responding, Ratcliffe stood up ðnd left lhe committee room.


    At one po¡nt, o frustrated GOP Rep. Goodlatte pressed Strzok to release additional text messages from h¡s personal device. Strzok said
    he would not.




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   Rep. Sheilð Jackson Lee, Þ-Texas, took a moment out of her quest¡on¡ng to show the committee a recently-released mugshot of former
   lrump campa¡9n ch¡ef Paul lvlênafort as evidence thôt the investigation into Russian meddling is not, she sa¡d, unfounded.

   '11:2O   ê.m.   -   Str¿ok slams Trump, Dems applêud


   Strzok gðve an Ìmpassioned defense of himself and of the FBI


   It began by Strzok say¡ng he didn't ôppreciate how Rep. Trey Gowdy has twisted h¡s words, espec¡aily about two text messages: the one
   sôying "we wìll stop ìt" about lrump, and one say¡ng H¡llary Clinton should win                                          1OO    million to zero.


   Gowdy responded: "l don't give ð damn whôt you ôppreciate, agent Strzok. I don't ôppreciate hôving an FBI ôgent with ôn unprecedented
   level of animus work¡ng on tlvo mõjor invest¡gat¡ons ìn 2016."


   Then, in a drðmôtic monologue applauded by Democrats, Strzok ôsked the panelto "understand the context ¡n wh¡ch" his texts were
   sent, cit¡ng what he called ïrump's "horrible" treatment of ô Goìd Star father on the campaign trðil.




 https://abcnews.go.com/US/gun-laws-changed-years-sandy-hook/story?id=51668726                                                                        18t22
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   "ln terms of the texts lhôt 'we will stop it"'                *
                                                    referring to a text Strzok sent Page during the cômpaign - "you need to understand thôt that
   was written lôte at night, off the cuff, and it wês in response to a ser¡es of events that included then-cand¡date Trump insulting the
   irnmigrânt fêm¡ly of a fallen war hero, and my presumption llðsed on that horrible, disgustìng behðv¡or that the American population
   wou¡d not elect somebody demonstratìng that behavior to be Pres¡dent of the United States."


    Strzok sa¡d it was "my sense that the Amer¡can populat¡on wouldn't vote hìm into office." "l don't recôll writing that text ... what I cên têll
    you is that text ¡n no way suggested that I or the FBI would take any act¡on to influence the cand¡dacy of côndidate Trump."


    Rep. Trey Gowdy,          who had said he d¡dn't côre about Strzok's explanations of "context" respondedi "That is â fantastÌc answer to   a
    question nobody ôsked.




 https://abcnews.go.com/uS/gunlaws-changed-years-sandy-hooUstoqflid=51668726                                                                          19t22
7t12t20't8                         How gun laws have changed ìn the 5 years since Sandy Hook - ABC News
           22-01023-hcm Doc#1-4 Filed  04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 672
                                                       of 692




    Êc¡   !rcyGowdy qùcr¡¡ons Deonyasesta.l FalDrorlor PêÎêr   sl?ôko!rn! ¡joint   conm¡tlre heðri¡g ir lre Râyhrn liôlse   o,   6ore+



    Strzok reiterated his insistence that, despite the sentiment expressed in h¡s texts, the FBI's investigðtion wês not politically motivated ônd
    his views hðd no impôct on the probe.


    "l take great offense ând I take great disagreement to your assertion" thðt "the FBI would tôke any action whatsoever to improperly
    im¡lact the electoral process for any cônd¡date."


    "Furthermore, this isn't just me sitting here telling you
                                                            - you don't have to take my word for it," Stt'z ok sðid. "At every step - at every
    ¡nvestigêtìve decision  - there were multiple layers of people above me: the ass¡stônt director, the deputy assistant director, deputy
    d¡rectÕr, ðnd director ofthe FBI- and multìple layers of  people below me: section chiefs, supervisors, unit chÌefs, case agenìs, and
    analysts. Ail of whom were involved in all of these dec¡sions. They would not tolerate any improper behavior in me any more than I would
    toìerate    ¡t in   them."


    Strzok made an inpêssioned plea for lawmakers to understônd thãt the FBI carries no b¡as.


     "lhat       we are ôs the FBI and the suggestion that I in some dark chêmber somewhere would somehow cast aside all of these
             is who
     procedures all of these safeguards and somehow be able to do this ¡s êstounding to me," Slrzok said. "lt simply couldn't happen."


     Strzok's comments garnerecl rðucous applause from Democrats on the panel ônd some supporters in the room.


     tt:OO a.m,     -   Committee chairmân threatens to hold Strzok in contempt of Congress



  https://abcnews.go.com/US/guniaws-ahanged-years-sandy-hooUstory?id=51 668726                                                                  20t22
711212018                                     How           gun
                                                       laws have changed in the 5 years since Sandy Hook - ABC News
       22-01023-hcm Doc#1-4 Filed                 04/18/22      Entered 04/18/22 14:16:53 Exhibit B contd. Pg 673
                                                                   of 692 between Rep, Trey Gowdy, R-S.C., and Strzok ended w¡th
 Within minutes of the slart of questioning, a highly content¡ous exchange
 Judiciary Committee chairman Rep. Bob Goodlatte, R-Vô., saying thôt the panel will consider whether to find Strzok in contempt of
 Congress.


 Strzok, asked by Rep. Gowdy how many peopie he interv¡ewed ôs part of the FBI's Russia probe, refused to ônswet cìtlng FBI counsel
 advising h¡m not to comment an ongoing investigationi After a back and forth, Rep. Goodlatte warned Strzok that he had two choicesl
 answer the question, or refuse to answer and be "at risk of a contempt citôtion and potential criminôl liab¡lity."




  Hù se O\€ßiahiôù liovêrrrent Rdó rriorñineèùìô¡rmônlreyGowdyôrivcsfr¡rontheôrnqofhscornrillc+ârìctlre,,,more+



  Rep. Nôdler, Þ-NY, the rônking Democrôt on the pônel, then read from U.S. Attorney's manuaì ênd cited FBI polìcy telling DOJ personnel
  not to answer questions ðbout ongoing ¡nvestigations. "The quest¡on being d¡rectecl at the wìtness is out of order," Nadle. insisted.


  After an even more ônimaled bðck and forth ¡nvolv¡ng Goodìêtte, Gowdy, Strzok, and ô chorus of Democrats, Goodlôtte insisted that
  Strzok answer Gowdy's quest¡on.


  After convenìng briefly with his ôttorney, Strzok maintained that he could not answer the question, to whìch Goodlatte ðsserted, "ôt the
  conclusion of the day we will be recess¡ng the hearing and you will be subject to recall, to allow the committee to consider proceeding
  w¡th a contempt citation."


  10:55 å.m.    -   Strzok; Todây's hearing a'v¡ctory notch in Put¡n's belt'




https://abcnews.go.com/US/gun-laws-changed-years-sandy-hook/slory?id=51668726                                                                21t22
711212018                                         How gun laws have changed ¡n the 5 years since Sandy Hook - ABC News
        22-01023-hcm Doc#1-4 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 674
 ln his opening statement to the comm¡ttee, Peter Strzok conceded
                                                               of that
                                                                  692text messages he sent during the campaign contained
 characterizations of Donôld "trump that were "not always expressecl in terms lôm proud of," but stood by the ÊBl's work in conducting its
 invest¡gôtion into Russian meddling.


 "Thìs ìnvestigation is not pol¡tically motivôted. lt ìs not a w¡tch hunt, it ìs nol a hoax," Strzok sa¡d. "l'm proud of our work on the Russ¡an
 interference investigat¡on."


 Strzok, who sðys he wôs one of only ô hêndful of people âwore of Russia's alleged actions in 2016, warned that the Russian operal¡ons
 during the election were "a grave attack on our democracy" that Americans "should be alarmed by."


 "l hôve the utmost respect for Congress's oversight role," Strzok sôid, "but I truly believe that today's hearìng    is   just another victory notch
 in Pul¡n's belt and another milestone in our enemÌes' campaign to tear America apart."


 The FBI ôgent defended h¡s investigative record and insisted hìs personal opinions did not influence his work at the FBl.


 "Let me be clear, unequivocêlly and under oath: not once in my 26 years of defending my nat¡on dìd my personôl opìnions impact any
 officiôl êction ltook," Slrzok sô¡d.


 'tO:25 a.m.    -   Comm¡ttee chairman tears into Strzok texts in open¡ng statement


 ln his opening statement, Judiciary Committee Chairman Rep. Bob Goodlatte, R-Va., ripped both Strzok ônd others at the FBl, claim¡ng
 they comprom¡sed the publìc's faith ¡n the nation's top law enforcement agency.


  "Mr. Slrzok and others inside the FBI and DOJ turned our system ofjustice on its head," Goodlatte said. "That ¡s why we're here and why
 this matters."


  Goodlatte encouraged Democrats on the joint panelto "replace President Trump's nôme with your own name in a small sample ofth¡ngs
  Mr. Strzok has said,"    before reading off a lÌst of some of Strzok's most controversìal texts.


  '"F Trump,' 'ïrump is a dìsaster,' .just went to a southern V¡rgìnia Walmart. I could SMELL the Trump support'     -   or, perhðps most ôlôrmingly
  and revealingly, 'We'll stop it' - referr¡ng directly to Mr Trump's candìdacy for Presidenu' Goodlêtte saìd.


  The ranking Democrat on the House Judiciary Committee, Rep. Jerry Nadler, D-NY, shot back at Goodlatte, ôrguing that the committee
  should be spending its t¡me focused on what he says are "other emergencies" the nation faces.


  "We ought to be holding heôrìngs" on fam¡l¡es separated ôt U,S. border, Nadler said. "lt's of more ¡mmediate concern than th¡s heôring,
  certêinly."




https://abcnews.go.com/US/gun-laws-changed-years-sandy-hook/story?¡d=51668726                                                                       22t22
22-01023-hcm Doc#1-4 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 675
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                                                NO. D-r-GN-18-001835

     NEIL HESI,IN                                              $              IN THË DIST'RIC1'COUR'I- OI.
                                                                $
            Plaint¡ll,                                          $
                                                                ö
                                                                $             TRAVIS COUNTY, TEXAS
                                                                $
     ALEX E. JONES, INFO\\/ARS, LLC,                            $
     FREII SPEECI{ SYSTEMS, LLC, and                            $
     OWEN StIROYER,                                             s
                                                                                    SI
            Defendants                                          $             26I        JUDIC]AL DISTRICl'


                                        AF'FIDAVIT OF N,RIC.I, TAUBE
     STATE OF'I'Ë,XAS                    $
                                         $
     COI.INTY OF TRAVIS                  $



            BEFORE ME, the undersigned notary public, on this day personally appeared

     Eric J. 'l-aube, known to ûìe to be the person whose name is subscribed below, and who

     on his oath, deposed and stated as follows:

                I   .      My na¡us is Eric   .T,   Taube, I am over tlre age of 21 ycars, have never       been


     convicfed of a felony or crime involving rnoral turpitude, am of sound rnind, and arn fully

     oompetent to make this aflfìdavit.               I   have personal knowledge of the facts herein stated

     and they are         Í'ue and correct.

                2.         I   am the registered agent of Frce Speech Systems, LLC and InfoWars,

     LLC,       On May 25. 2018, as registered agent, I was served with the petition in this case.

      Beoausc           of my involvement as regislered agent and because of rny                 discussion with

      Íepresentatives          of Plaínti|'s law firm, I have        personal knowledge       of the facts stated

      herein.
22-01023-hcm Doc#1-4 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 676
                                     of 692




             3.            Attached hereto and marked as Exhibit           I   is a true and correcl oopy of   a


    letter I received on         April I l,2018 from Plaintiffs counsel Mark Ilankston.

             Further Afhant Sayeth Not.




                                                               Rric   .T




             SWORN TO and SIIBSCRIBIID before me by Eric.T. l'aube on                       June{f      ,

     2018,


                      ANN MARIE JEZISEl(
                  Nolory Public, Slote ol lexos
                    IvlY   Commr6sion Expires
                           Morch 22,20ì9

             a\                                                  Notary Public i
                                                                    the State of Texas

     My Comrnission Expires:
        B    /.;æ-/r.i




      AFFIDAVIT OF ERIC J. TATJBE                 -   Paee 2
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                                     of 692




    KASTER LYNCH
    F,a.nnnn,lopALL"n
    IEXÀS   I   FLORIDA
                                                                                                                        April 1l , 2018

       Via Eleclronic Maíl: Eric,Taube@wallerlaw,c?m
       Alex Jones
       Free Speech Systems,          LLC
       InfoWan, LLC
       o/o Eric Taube
       t00 Congrcss Avenue, l Sth Floor
       Austin, TX 78701

                                                 Re : Defirmatory Publications

       To Whoul It May Concern:

              I rvrile to inf(¡ffn you that oul office rcpresents Neil Heslin in a ciai¡n for damages against
       Alex Jones, Free Speech Systems LLC, InfoWars LLC, and Owen Shroyer arising frorn
       clefamatory statements. Mr. Heslin is the fathel of Jcsse Lewis, a victim of the Sandy Hook
       massacre       .



                 On Jr.rne 26, 2017, InfoVy'ars' broådcast fcotured a segment hosted by reporter Owen
        Shroyer in which Shroyer claimed 10 have reviewod evidence showing it was impossible for Mr.
        I'lcslin to have held his son's body and see his injury. This broadcast was meant to reinforce and
        suppoñ the ruderlying lie that the Sandy Hook parenfs are i'akes. TLis assertion was manifestly
        false.

                Or¡er the past l'our years, lnfoWars has also made slatements -- far too numerous to
        effecrively discover and catalog -- which are consistent with Mr, Shroyer's statements in 2017,
        including repeated refcrences to the allcgcd faked "blue-screen" interview, rcfercnccs to a
        sinisler re-opening of the school, references to individuals found in the woods with SWAT gear,
        allegations casting doubt on the death of certain victims, ôs well as gencral allegalions that
        nobody died, The gist of these slaternents is thaf my client is a liar, These prior stale¡nents arc
        evidence of lnfoWars' egregious defanratory intent when it later made statements in 2017. We
        are aware ofsuch notable pdor statemeûfs liom April 2013, March 2014, May 2014, September
        2014, December 2014, January 2015, July 2015, and November 2016, although we are sure thcre
        are f'nany olhers as yel unknown. Each ol theso state¡neots addresses the sanre coÌe set of false
        statements conveyed by the 2017 state¡ncnts, which rny clienl now dcnancls you conect as
         provided by Sec. 73.055 of the Texas Civil Pracfice & Remedies Code.

                Specilìcaìly, my client demands tlìat hrfoWars imnrediately and publìcly acknowledge
        thåt it has spread false informatio$ about him and made false accusations about his conduct
        lollowing the tragedy. My client dqmands that lnfoWars publicly admit it made t'alse statements
        about Mr. Heslin holding his son's body and seeing his iujury. My client also denrands that




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      lnfoWa¡s publicly adnrit that Mr, lleslin is not a "crisis ector" or otherwise involved in any kind
      ofconspiracy to cover up the truth about the Sandy Hook massacre o¡ the death of his son,

             Firrally, my client demands that you taks immediate steps to ensure the preservation of
      the following items:

                  All    co:nmunications   within lnfoWa¡s relafing to my client, the      above
                  broadcasts, or the Sandy Hook shooting.

                  All communicâtions between any employee or representative of'hfoWa¡s
                  and any thild parties relating to my olient, the above broadcasts, or the
                  Sandy Hook shooting.

                  All notes, drafts, or documents relating to my client, the above broadcasts, or
                  the Sandy Hook shooting.


              '   All documents reflecting policies or edito¡ial standards for the fadual vetl¡ng
                  of irìformation published by InfoWars, as in effect on April 22 - June 26,
                  z0t7   .


              You a¡e further notifiqd that the destruction or loss of these items may consfitute
       spoliation of evidence uuder Texas law.

              I ask that you respond immediately, detailing the steps InfoWars will be taking to comply
       with each ofthe obove demands.



                                                            Most sincerely,



                                                          lilM
                                                            Mark Bankslon
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                                        NO. D-1-GN-18-001835

  NEIL HESLIN"                                                        IN THE DISTRICT COURT OF

         PIaintffi

                                                                      TRAVIS COLINTY, TEXAS

  ALEX E. JONES, INFOWARS, LLC,
  FREE SPEECH SYSTEMS, LLC, and
  OV/EN SHROYER,
       Defendanfs                                                     261St   JUDICIAL DISTRICT

                                 AT'FIDAVIT OF OWEN SHROYER

  STATE OF TEXAS                  $
                                  $
  COLTNTY OF TRAVIS               $



         BEFORE ME, the undersigned notary public, on this day personally appeared Owen

  Shroyer, known to me to be the person whose name is subscribed below, and who on his oath,

  deposed a¡d stated as follows:

          L       My name is Owen Shroyer. I am over the age of 21 years, have never             been

  convicted of a felony or crime involving moral t.urpitude, am <¡f sound mind, and am fully

  competent to make this affidavit. I have personal knowledge of the facts herein st¿ted and they

  are true and correct.

          2.      I have been   a frequent   critic ofthe governnent for using tragedies such as Sandy

  Hook to manipulate public opinion in order to, among other things, further reshict gun dghts in

  this country.   I   believe the mainsheam media used the Sandy Hook tragedy to utilize and

  transform the public's sympathy for the victims and their families into an issue of gun rights. I

  believe the mainst¡eam media, instead of blaming the shooter, portrayed all gun owners and gun

  rights activists as the cause of what happened at Sandy Hook.
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            3.     I   have also been a frequent critic of the mainstream corporate media companies

  for their bias and inaccurate reporting in cooperation with govemment attempts to limit our

  rights and otherwise advance political goals. I also believe that the mainstream media also uses

  tragedies like Sandy Hook to manipulate public opinion and limit the public's ability to draw

  their own conclusions from what has transpired. It is my opinion that mainstream media is not

  trustworthy and does not want their listener's to form their own opinions, but instead, want their

  listeners to simply accept what is reported as the absolute truth.

            4.     Plaintiff has alleged that      I   hosted an Infowars broadcast on June 26,2017 in

  which I defamed him. This allegation is not true. I did not do that broadcast on June 26, 2017 .

  The segment about which Plaintiff complains was part of a larger two hour broadcast entitled

  "Exclusive Feds Plan to Drop Russia Investigation Left Plans to Riot" that I did on Sunday, June

  25,2017 that was originally published on that date. I know that the June 25,2017 Stnday

  broadcast was posted on the Alex Jones channel on YouTube on June 25,2017 but                      I did not
  place or post any part or segnent of that Sunday broadcast, including that                paÍ claimed to be

  defamatory, on that website or any other website on June 25,2017 or any date thereafter. Neither

  did   I   direct or authorize any such posting. That Sunday June 25,2017 broadcast has been

  continuously on the Alex Jones channel on YouTube since that date where it was and is presently

  posted on that website at: https://www.youtube.com/watch?v=YpS4bZwZcMQ


             5.    During the June 25, 2017 Sunday broadcast about which Plaintiff complains, I did

  not know that any fact      I   stated was false nor did      I   intend to convey any false impression with

  regard to Neil Heslin. Prior to the broadcast,          I   became awa¡e of a¡d read an aficle published

  online by Zerc Hedge entitled "Meg1,n Kelly Fails To Fact Check Sandy Hook Father's

  Contradictory Claim In Alex Jones Hit Piece." I did not intend to adopt the truth and accuracy of



  AFFIDAVIT OF OWEN SHROYER               -   Page 2
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  the facts, statements and allegations contained in the Zero Hedge and iBankCoin articles. I, like

  so many others, simply reviewed the articles, watched the videos cited in the a¡ticles, and formed

  and shared my comments and opinions with regard to those reports.

          6.       I   believe that the Megyn Kelly interview with Alex Jones, which was aired by

  NBC, was a highly edited piece that was clearly slanted in a way to create a false impression to

  Alex Jones' viewpoints as I know them and have personal knowledge of them. I also believe that

  Megyn Kelly and NBC, as well as all other mainstream media, view me, Alex Jones, and all

  other platforms like ours as a threat and attempted to use the highly edited interview to discredit

  our reliability in the eyes of Americans.

          7.       The substance of this article had previously been published and reported by

  iBankcoin.com and it pointed out what the author considered to be bias ofNBC and inaccuracies

  and inadequate preparation by Ms. Kelly. A true and correct copy of the iBankcoin.com article

  dated June 25,2017 and published at 2:25 EST as                it   appeared on ibankcoin.com on June 25,

  2017 and as it remains on that website as of the date of this affidavit is attached hereto ma¡ked as

  Exhibit D- 1 .l A true and correct copy of the later zerohedge.com article which I described in the

  broadcast segment and which is dated June 25,2017 as                 it   appeared on zerohedge.com on June

  25, 2017 and as it remains on that website as of the date of this affidavit is attached hereto
                              2
  marked as Exhibit D-2.

          8.       Both of these articles had been published before my broadcast and both quoted

  Jim Fetzer, Professor Emeritus at the University of Minnesota (who had written a book about

  Sandy Hook being a "conspiracy") as saying that "Heslin's statement" on NBC's broadcast


   t
    The URL address for this articìe is: htþ://ibankcoin.com lzeropointnowl20l7 106/25/megyn-kelly-fails-to-fact-
  check-sandy-hook-fathers-contradictory-claim-in-alex-jones-hit-piece/#sthash.Uypr0bJE.dpbs
  ':The URL address for this article is: https://www.zerohedge.com/news/2017-06-25/megyn-kelly-fails-fact-cbeck-
  sandy-hook-fathers-conf adictory-claim-alex-jones-hit-p



   AFFIDAVIT OF OWEN SHROYER               -   Page 3
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  about holding his son "could not have happened." The articles further described other facts about

  the medical examiner's statements and an interview of some of the parents who lost children as

  bases   for Fetzer's, iBankCoin's and Zero Hedge's opinions that they contradicted Mr. Heslin's

  statement on NBC.

           9.     During the June 25, 2017 broadcast,    I   stated that other people had reported that

  Mr. Heslin's claim could not be accurate. I then showed the Zero Hedge article to the viewer. In

  particular, I discussed the Zero Hedge article, summarized its points, showed substantial portions

  of it to the viewer including the portions showing the original publication at iBankCoin          and

  describing the views    of Jim Fetzer and even highlighted in orange the Zero Hedge article's

  description of Mr. Fetzer's views with its bold typed words "could not have happened" while I

  was discussing this article.

           10.    During the June 25,2017 broadcast, I showed video of part ofthe Kelly interview

  of Mr. Heslin, That video was a true and correct excerpt of her interview a¡d was not altered. I

  then played the referenced unaltered widely-distributed video clip of a news conference with the

  medical examiner cited in which he told reporters that parents were not given access to their

  children.

           11.    Immediately after the video of the medical examiner's news conference, I played

  the referenced video   ofa CNN interview by Anderson Cooper of two parents ofone of the Sandy

  Hook victims. In it, Mr. Cooper and the parents discussed how hard            it   was for the parents

  because they had been unable to see their daughter after the shootings. That clip was not altered.

           12.    Because the Zero Hedge article stated that    Kelly and NBC had a responsibility to

  address the contradiction between      Mr. Heslin's account and the medical examiner's and other




  AFFIDAVIT OF OWEN SHROYER          -   Pase 4
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       parerìts' åcôûunts,   I   then asketl if'lhere rvould bc u clalilìcetion antl stattd n1\.'oÞirìioll thal I

       doubted that rvould happerr.

               13.     Prior     10 the broadcasl   I salv no repofls thâl s.âted the bodies h¡td bccn released [o

       the fâmilies in connacliclion to the repons I desc¡ ibed and ¡ele¡red to in thè Zer'ô lledge           alicle or

       the videos lhat ìshowed.          I   dirl not knolv lhùl the ariitle's reporting (lr tììâ{ lvlÌ. lìercher's

       tep0t'ting was f'ðlse \\,hetì I discûssed and shorvctl thcrn during tlìc bro¿r(lcrìsl :ìor al lhc time ofthe

       June 25, 2017 broaclcast did I have an¡, seriertrs doubts as lo their \,cr¿rcity. I simplv r'eponed whal

       Zero l{edge ancì ilJankCoin had published and provided ìn) cotnmrnlar)r on those publicatiÕns.

                14.     I based nty stâtcments ultÌon thcs¡j ¡clcrcnced lÌìots. sìirrcnìÈrìrs lncl repons and rtty

       comrnents about tlrem wele fäir. trus and re¡sonablo.




        Further Aliìant Snycth Not,




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                                                                                              Pìlblic. Süts ol
                                                                                          Coñm. Êxp¡r€8 04.21.2022



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         MTGYN KETLY TAILS TO FACT CHESK SAÍ{BY HÛf}K FATHER'S OO¡ITRADICTORY
         CLAIM IN ALEX JONT$ HIT PIETE
         ¡¡ zerqpointnou,/ Q Sun Ju¡ 25, ?n17 2.25Fm ÊST
         Last Su¡day's e)(po$é olAlex Jones gr NBC'$ Sû/Ìral ÀJiglìt tyitå ¡,regyÐ Koíi,waÊ ccnsidêrf(j ljy                                                  ¡ïent     to be a ta$tctoss and hôåvity

         ed¡led ?l(grnpl to srlìeaf the lrif{iwârs horii êrìd v{)c¡l suppodar ol Oorrald                               ]i!rìlp. Deipiie      a wridi( ol húây\, ÊfÍJlnolÌon, thô sggrrlônt




          åo encovñlc. whjch dircclor ûl¡ver Ston€                       srid she v,ae Ì¡r¡ í)rorr¡f.:{ ltn


         Thi$ lack of prcparalior'r r,¡ts 9bv¡Ous tn lhû JOlres                     rìleniêw *    aS   l(slly      it¡i l'$C     ¡[e.C iocì¡!ì{ ol tlro        çìr
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         rìâgsacrç   rìcliIì which cr$l€rns             â mq,gr         contradlct¡o¡ to      rhe olliclaì        !to'j-.


          Neil Hêsll¡t


          promlñently fesìured in lhe gJ(poEé                   iË   lìír,l I l(¡Jr¡¡ -. a fellìar cl soc ct lho       vicirg      0ilr n9         Ìì1.r!roì'r lidh Mcgyfl Kclty, Hcsl;n described
                                                                                                                                             '!s
          whât hqppsned lhe c8y çl lho shoôli¡ìg .,l/hö.¡ 30 year old AdaÍì t.anzå .n,Jrdirèd ?0 chllai.er. ãnrì sr{ âdults                                                ar   saôdy Hook Éleme¡lary

          school bef ore cor-.ìÍnitlirìg ruicida.




                 I d|oppr$        n:û¡    Ðîì ¡t ti8¡. Irrålis vrhrn r+                        d.oÞp\",1      hir e;a J::iahôÒj *:trl \rr                            hoók Ira¡, llnt:rs later.              I
                 vir!¡ Þl(kinB) l\:rìì       rrf ir lody )â9.

                 J lost      my    son, I bunica Íy 5or!, I held |ny 50ñ r.¡ith à b{,llet holr th.oüßh hlg                                                           heód,
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                                                   -fo Facl
  7   ilìt2t18                   Mogyn Kcllt ¡9i15          ôh€a¡ Sandy irgoh f:¡j1ìlt s Cr.fed,,i!$r')r Chjiìl jr      Åì€>,.   J.¡?s Hii Fisce - ZeroPoinlNovJ




         Exsôpt thls doôs not comport wllh thç ofrlclsl gtory


         Jìm Fèt¿cr, P.olesçot Emerilus al lhq tJnjvqrÊily of Mlr¡ngsoìa wlìo lvr()tû a i)ool1 Ctår$ùÌU Sn',d! Hock                 v,/å1,   st¡g€(j"   ,ìc!:t Ih¡t b¡scd   On

         lhs fscls of tns ca6e, Hl3slr4's slôlerneùl lhaì he 'ho¡d his son wl¡h a bull6t hðlo r¡l|Õugh his hôad could not lrãw happonod. AÊcording

         lc Coroacr \{¡8y¡e Carver. M.0., ihe parenl$ of Iho rictr'¡g v.,or8r:'l âllow't r. çe! {'ì¡}¡r cþrldrgr' s cÕd¡eË             - ¡rt     .r¡gr0 i¡sì6ad sho$n

          pict!ru9 {o identity llìô ds{ea€ed" Anderron Coopèfeven in{orviot¡i€d lh3 påfs¡rig         Ol il¿ìa   ól   lhi !)iljrns    ébôut !lal being âble lo gse tiæ¡r

          ot\ild.
22-01023-hcm Doc#1-4 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 686
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  ?¡5i   ¿   c18                         Meçyn l(etly Failg To   lrcl   Chôc¡( Såndy   rl¡to[ Fåthsr'¡ ,;.:¡rlrrttrrn) Crsiri      :l:   ¡\tr,   -rc;¿,s |'iii Fls(r1- Z6rcpo,nf,¡aù




                        rrl vihrôn
         'lìâ5sôc"rJ
                                     ers¡'y d.s¡¡ocl of thc cgsc hi¡s bc'ûn ilclreìl ovê¡ tr¡d î133ûclric     -   it \aas incúml¡€ût upon Mogyn Kolly *nd NBC to

         fam¡liâd¿e thomsolves with all sìdes gf the a.gurnen! so thcy could nâve                           lde    ¡{ied snd cx¡tl¡iñ6d H6slln,s statôm€n!,


         By airing guch sñ ohvious fonl{ari¡clion lo iho oificì¿ìl nãrrative, Meûyn Kolly arìr NBC .ì¡ìvê lent crt3ì¡}dìlt la Frt¡rr¡                                  ãñaj   alhet consp¡racy

         r6scârcbers who ofter Þoìnl to irconsisìenl reÉorts fren, tbê MSM lo :iuppcjr.t                   !l€i    Þlrles

         She ltod.


         While N.legyrì l(ell!¡ can be ¡eatú v¡eeks bôiofe ihe lnlêrvrevi oñ a lo¡rkf(j               Lrco(ii,Ìa Þro                                                       ,hll
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         jol''' o Ftgnlc r0ioa3€d Þy NSC revo8lec chc llcd - âs ¡l $,as Õbvio!i Kelty                    vr¿s !.Jìì,|} tu   f¡r!r        cJr   slal,)ùr!ì)lr   û1¿(.t(, sr1 lt{o.,/vcrc   ðUaul

             t'ìe 2012 masssc¡f, ât Sãndy Hook Èlernôntãry Sshool ¡û Ne,¡4c\.¡n. tr:Â cçnm¡lted b,l q$â.i                                L   àrz¡¡.




                   5lrcj5 ¡ì liri{yCa, l1 },ù5 ã tltth! çrot5-t,xr{r!j'ìrf ìor, And whni t s¡id fh¡1 I Þ}tìeve ah¡Ldreô diêd ¡t
                   S¡rìdy Hookr ¿s I'vê s¡id for ycår$, 5he kep! {orâing Ua(k hi(t¡ ¡nsue¡r rôylô& ¿'ycu bùllicv¡ nobody
                   dlcd! Yo! belleve Ànate¡so¡ çooter ì{ai inr,olvedl¡, d,J I !¡jd..liçt Ly i¡ritry¡ì., irrÉitlo¡èrl ¡\, I h:d
                    dfbôtÈs witlt both slrtrrr¡ ¡ñd              I ÞI¡yèd dêvi¡,! nd\,oL¿.t{.,, -.1¡1                ;ôi¡e:,



             A3 â resqll çf NEIç't decis¡on 10 arr lhe piece, seveiat cêrocrål* sooo$cr9 pù11c0 ôdyûrlisoùrr¡r¡. r'/egfrì K.rll!¡ wôs dirirvrÌgd lo an er¡i

             2nd Ar¡e¡dmenl ûvcn!, ¡¡rìd Jor.ì*!r iñrFlarcd liÛC nol            n airlhe scgmen: ôn !àlhcr           s Dat     -    ¡:rlrrg ìhe       r:nt¡rorrjãte lioing,


             S¡ndy Hôok Qlresilons


             T¡e   r¡r¡irl r{,porr oô the Sandy Ho.rk    shootirg çonçludes lllai Adâm LaÍ¿a, 20. wâs a soaiolty a!vk{/ái(J gno gunmE.i with unflodicat€d

             Obge$sive CAmpijlsive ÐisOrdor $¡hOAe mothêr gale                rì1ï nog[g8rì{    âCCeSs lÊ    lilaÉÍ¡$ * lcweve. soverãl i.ìaonllsteôCìes in th8 ott¡clal
             rÊllotl have led many to gfr€cul?le rhåi thê ì¡crJenl waa a hOð)! ôr              â latsê lt6g' s:ag*d     to ¡rsiify q(¡û ûânirol ÍìeâÊ¡rrçs.


             Amaog lhe queslonc poop¡e håvG:



             '   Why were the re rçpofis ûf men dressed iÍÌ canrouflage who llsd inlc the waods                                                       -   one of yrhom pol¡cs
                 åll€gedly dstã¡ned?

             .   Why does Såndy Hook fâthÊ¡ Robllie Parker appëar to 'ql"Ji llì!r,                                 ¡.itì¿r:.r{)1¡ìl

             .   Why does the Sandy Hriok Fltlmenlary v(ehltìte iiåve rr: ,rìlÈ'iì,.:i                              .Ìciri!,; for lôìir yêärs? Was the school
                 çvûn cpên?

             .   Why döes it åppea| thål ssvêtâl {h¿iriti.rÌi t,,,$ro                    tì01 t¡fr   before fh€ Decenìþer 1{th shooting?

             .   Why wereÍì'i the Vìctìr's' parents sllowed to see lhe¡r ch¡ldren's bociËse

                                                                                                                                                                                                  3¡S
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  ?   !5t2ç14                        iúeç! n Kelly Fårl$ To i:ècl Ch{rck     Sðr
                                                                                   '¡Jy
                                                                                          lloek               C¡¡lrad€tc¡y Clelf     llr Aie    ¡   Jorles   fìr   PLéCÊ --   ZôrcgdinlNo\!
                                                                                                  'tather"'
       Whilo 6rvefâlSandy Hook gussl¡qns have                   hco     rloþvnkod " !ìucll ns tho m!99ìnl Ìlr'r't¡! rir¡:il ,,r!. ihe r]tasiåcrê rçn$¡rs                               e   holly

       corìloÉ1ect   $pio aÈrôt$ ttlÈ inlonìet


       Alex Joñes'oÍlici¡l Þoriìliorls lha{ he lleliqvgs rhildrerì dìo{ iri l¡e s¡rctíì19                          -   n fact, ajçr'¡nc   a:11!(¡ rarìrJ.rìrolê hear¡ng beiote th€

       Newlð\,ifl tso¿¡d Õl Edúcêl¡on, ¿¡ì lnfowam ,aü,¡al$1"dld ¡rol dlspç10 (h¿l Adaft Larì¿a had liçrpgtrated the shÐôth|g,"




        Yel desplê Jones' off¡qel          poslicn, he a¡Ìd   ¡'1f(¡vrors   hals 0lâyed cåìriis aCvocale ðtcnt the r¡¡1r                    .       trêserlìqg lacrs åîid ¡analives

        \rhich disågrÊe vr'ith lhe ofliçiâl slor/.


        Ând whil€ Joncs ha$ prcseotod s r,t,nlber ol ångles to !h€ Sanoy Hco{ massêrre. i{egy.r KÊll}' â¡.d ì(8C chcse lo disloÍl liß facls

        through the,r lsnÊ al p¡gpaganda lo fit lllfiir câse å0êìû$t the lìrfowdö no5i. wlìil€ falr¡r.{¡ t(, l6c', al',cüÌ{                            T   gaping nûlo yì thà story in their

        qvûrt tc dostroy Alex Jories.




        Ey failing io 'dgnlìly tlìô ob¡rioi¡s conlrad¡djo'r bel\¡¿Èen N€iì l-leslìñ's                    arcs!frl *.d llìe rfi:ial rlûi        v, Keliy      ar* lìbr ûqlr¡;ork    havB lannBd lh€

        v{,iry   ll¡mes ofdoubl     ¿rnd   colsl)it8cy lhey sþugh! to $¡lônte. creå1iñ9 more qi¡cilorr lì¿'ì ¡ôsrr¡ls


         flrx    Lhe $ekè   cl all r¡e S¡ndy ,.{oo{ pû.qnr$ wno wsren'1 ðlle\red l) see lherr Lieç€aå.rd çi\iil,gr. ¿rñl tc $rflle lh¡9 4€y{                                     F}roce of lodcjer   lof

         çonspfâcy ìe0f$lc          wlrrclr lhûy âlred, tolegyr Kelly añd NBC f,6vc                  ¡   re59e,¡1Èrblljry tcr ârld:.lss lxrt, ür41.1 .or1l.!¡diEl¡on l9           üo olñoìal ûtory


         It you en!Õy lhe cantenl al iBankgùrñ, p/ease íollolv r¡s                                       on    ¡!r"fl{.'l
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  }5r2¿r   1E      I'ltjÞyf   ¡q{:lry !:åils   'lb !âcl C¡3ck Srrìdy llool{ iilhâr's tonlm'ir.lory C¡r¡Ír   l¡, Ài'rx JLrñes l-H Piêi6   - ZeroFojnttioyl
                  Ubor Jusl LoÊl lts             th   rd Execufivc ln Sovêrðl llroekç
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  6/16/2ü18                     tqgy!ì Kcl¡y lã, $ _T¡r Fêc! Clrecl Sâ:rrji ttaoi F¿ttrg¡s Cù¡tLar:iclojy Cia]'r trì ¡ìt6^ -icDrs   1.r.t   Þijìõj I Zrìrc H€C!ìt lZøo Hoqge




       Megyn Kelly Fails To Fact Cheçk Sancly Hook tather's Contrac{ictory Claim ln
       Alex Jones l-l it Piece


         s       Sq6,ltr¿5/¡0¡? -       lr:l\




        Co:rrcnt qrig¡o¡llv pul¡li!h¡d Àt ilJân¡(Crrit.corì
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         lnâtt¡çre Írltim w,ìiôh coñlnlìlr ã rîdo. {o¡tr¡di(tio't lo tlÌ€ ofli(rsl Sri¡ìj,,
         N$ll Heil¡n


         l{;hsí}i bèforq 1:ofi rn;rli'x.) !u¡<ido.




              t lo!!   ay   s¿n. ¡ br¡r¡f;.J t,-tz   to!1 I hald èty tþt1 y'ltlt à þulîet høle thtough h¡t hedrt.

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  sllô/?t18                 i\4êgy¡r l(èlly   Fôìlô'fc fåcl cleot{ s¿ì¡riy hoo; Failìcr'\ co¡llrôdrclor} cranr   In All¡r   çinss fit pie¡ê lz€roHêdgê lzè¡E' Hedge




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       the la(¡t of lþc case, ll!sl¡n's ttôlçrïent !t1¡l hc 'hold bt! ro¡ wlth ¡ bull€l holÈ {hro1¡0¡ hir rrâd crrulil {ot tûüe h¡ppéned. Accûrdlng
       1o Coroner W¡VÍ\e C¡tut', tr4.û., the f,årêittt of tl'tê vicÍrìri ,?reran't âllcwed tr) ree l¡qr¡ (¡ildr+n Í t oclieg - å¡r.j ÌÌsle ln9ìead ihown

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        fônllllari?€ rhe'ttrelres wkh all tldag ól thè àrgumêrt rú lhcy (ould hôve iõentlf,êd À¡ìrl expliì'ìed Hérl¡n'g âtêmént.
        8y trrins surh Àñ obv¡o.¡s (.rnriadirlron {.r lhe offi<lnl n¡ry¡lìVl}. Megyn ltrll,¡, ¡¡c |ltc h¡,/c jrrìt rredih,ìty to t¿t¡Ër itnd orh6r (ô¡1rrrf¡cy
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        ich,'¡ P(,rìo rcle¡5cd[)y ¡{lJC rcv€alcd 5h! l¡ed - ås h !iô5 olry¡our (elly çðr {oini 1o fÍauJ ¡r                    .f¡t
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             jt1{, Aû1lndù¡ùnl Èvsñr. ¡nd
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             SÀbdy       liaok Qíc$¡ioñ!
             l-lìe     fì¡¡l r(lporr   on rhL' S¡ndy Hook shoôr¡rìg con(ludrs rh¡r                    Adiù t¿nzû.       ¿{1,   w¡!   tì   !oc;ûil! ,ìv.,k!¿ÌÌt l0¡( gunfl¡a v¡ih urr¡ecjlcût{d
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                     . Vilìy vrcr?¡rl lhc Vir i¡mr' pôrenls ¡{.rt{,fd ro ,er rhç¡r ritdforì.5 ba¿iiei¡
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             d(lit¡oy Âh),i loô4s
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              thc vêry fi¡rììûs olúloullr         il d (olÌrÞr.¡(y lhêy          sûrghl1o fjlcn(e, c.fa1l^q ftnfr ojcstrclrt iìrÁn Jr!!4{i|'
              ì:ol     $e t¡l(t ofùlllhe S¡!!dy Hook p¡r(tls trho rn{fir\'i nllôned to                        sec thr¡r aie(a¡ìEat c¡,tc¡en              ií,d   ti ietrl!       rhis ncw pjgcc      offorider'or


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               Sponsored Storiet




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